Case 21-03005-sgj Doc 29 Filed 05/24/21                    Entered 05/24/21 10:22:39              Page 1 of 600




PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward, Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable, Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
In re:
                                                                 §   Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                                 §   Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                               §
                                                                 §
                                    Plaintiff,                   §   Adversary Proceeding No.
                                                                 §
vs.                                                              §   21-03005-sgj
                                                                 §
NEXPOINT ADVISORS, L.P.,                                         §
                                                                 §
                                    Defendant.                   §



1 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                                             PAGE 1 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39           Page 2 of 600




                  DEBTOR’S AMENDED WITNESS AND EXHIBIT LIST
               WITH RESPECT TO HEARING TO BE HELD ON MAY 25, 2021

         Highland Capital Management, L.P. (the “Debtor”) submits the following amended

witness and exhibit list with respect to Defendant’s Motion to Withdraw the Reference [Docket

No. 19] (status conference) which the Court has set for hearing at 1:30 p.m. (Central Time) on

May 25, 2021 (the “Hearing”) in the above-styled adversary proceeding (the “Adversary

Proceeding”)

         A.      Witnesses:

                 1.         Any witness identified by or called by any other party; and

                 2.         Any witness necessary for rebuttal.

         B.      Exhibits:

Letter                                      Exhibit                                Offered       Admitted


 1.           NexPoint Advisors, L.P. Note ($30.7 Million)

              Highland Capital Management Fund Advisors, L.P. Note (2.4
 2.
              Million)
              Highland Capital Management Fund Advisors, L.P. Note ($5
 3.
              Million)

 4.           Dondero First Note ($3.825 Million)

 5.           Dondero Second Note ($2.5 Million)


 6.           Dondero Third Note ($2.5 Million)


 7.           NexPoint Advisors, L.P. Demand Letter

 8.           Response Letter to NexPoint Advisors, L.P. re Partial Payment

              Highland Capital Management Fund Advisors, L.P. Demand
 9.
              Letter


AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                                  PAGE 2 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39   Page 3 of 600




Letter                                   Exhibit                            Offered      Admitted


 10.         James Dondero Demand Letter

 11.         NexPoint Advisors, L.P.’s Original Answer [Docket No. 6]

             Highland Capital Management Fund Advisors, L.P.’s Original
 12.
             Answer [Docket No. 6]

 13.         Defendant James Dondero’s Original Answer [Docket No. 6]

             Defendant James Dondero’s Amended Answer [Docket No.
 14.
             16]
             NexPoint Advisors, L.P’s Objections and Responses to
 15.         Plaintiff’s Requests for Admissions, Interrogatories, and
             Requests for Production
             Defendant James Dondero’s Objections and Responses to
 16.         Highland Capital Management, L.P.’s Second Request for
             Production of Documents
             Defendant James Dondero’s Objections and Responses to
 17.         Highland Capital Management, L.P.’s First Request for
             Admissions
             Defendant James Dondero’s Objections and Responses to
 18.         Highland Capital Management, L.P.’s Second Request for
             Admissions
             Defendant James Dondero’s Objections and Responses to
 19.         Highland Capital Management, L.P.’s First Set of
             Interrogatories
             Defendant James Dondero’s Objections and Responses to
 20.         Highland Capital Management, L.P.’s Second Set of
             Interrogatories

             Email chain dated February 2, 2018 re $3.825 million loan to
 21.
             Dondero

             Wire transfer confirmation dared February 2, 2018
 22.
             [REDACTED]

             Email chain dated August 1, 2018 re $2.5 million loan to
 23.
             Dondero



AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                          PAGE 3 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39     Page 4 of 600




Letter                                  Exhibit                              Offered      Admitted


             Bank statement confirming August 1, 2018 and August 13,
 24.
             2018 wire transfers to James Dondero [REDACTED]

             Email chain dated August 13, 2018 re $2.5 million loan to
 25.
             Dondero

             Complaint for (I) Breach of Contract and (II) Turnover of
 26.
             Property of the Debtor’s Estate [Docket No. 1]

             Order Regarding Adversary Proceedings Trial Setting and
 27.
             Alternative Scheduling Order [Docket No. 3]

             Excerpts from Debtor’s Schedules of Assets and Liabilities
 28.
             [Docket No. 247, Case No. 19-34054]

             Debtor’s Amended Schedules of Assets and Liabilities
 29.
             [Docket No. 1082, Case No. 19-34054]

             Debtor’s Statement of Financial Affairs [Docket No. 248, Case
 30.
             No. 19-34054]

             Highland Capital Management Fund Advisors, LP
 31.
             Incumbency Certificate

             Highland Capital Management Fund Advisors, LP
 32.
             Consolidated Financial Statements dated December 31, 2018

             SEC Deficiency Letter to Highland Capital Management Fund
 33.
             Advisors, LP dated February 27, 2019


 34.         Response to SEC Deficiency Letter dated March 29, 2019


             Supplemental Response to SEC Deficiency Letter dated May
 35.
             3, 2019




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                           PAGE 4 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39     Page 5 of 600




Letter                                 Exhibit                              Offered      Admitted


 36.         SEC Closeout Letter dated May 22, 2019

             Memo dated May 28, 2019 from HCMFA to Highland Global
 37.         Allocation Fund re: Resolution of the Fund’s Net Asset Value
             Error

             Letter dated June 3, 2019 to PricewaterhouseCoopers LLP re
 38.
             audit of Highland Capital Management Fund Advisors, LP


 39.         Form N-CSR of Highland Global Allocation Fund


             NexPoint Advisors, L.P. Amended and Restated Shared
 40.
             Services Agreement

             Order on Debtor’s Emergency Motion for a Mandatory
             Injunction Requiring the Advisors to Adopt and Implement a
 41.
             Plan for the Transition of Services by February 28, 2021
             [Docket No. 25, Adv. Pro. No. 21-03010]

             Debtor’s February 2018 internal monthly close package
 42.
             [REDACTED]

             Debtor’s August 2018 internal monthly close package
 43.
             [REDACTED]


 44.         Initial Monthly Operating Report [Docket No. 82]



 45.         October 2019 Monthly Operating Report [Docket No. 405]



 46.         November 2019 Monthly Operating Report [Docket No. 289]



 47.         December 2019 Monthly Operating Report [Docket 418]




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                          PAGE 5 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39   Page 6 of 600




Letter                                Exhibit                           Offered      Admitted


 48.         Debtor’s back-up for December Monthly Operating Report



 49.         January 2020 Monthly Operating Report [Docket 497]



 50.         February 2020 Monthly Operating Report [Docket 558]



 51.         March 2020 Monthly Operating Report [Docket 634]



 52.         April 2020 Monthly Operating Report [Docket 686]



 53.         May 2020 Monthly Operating Report [Docket 800]



 54.         Amended May 2020 Monthly Operating Report [Docket 905]



 55.         June 2020 Monthly Operating Report [Docket 913]



 56.         July 2020 Monthly Operating Report [Docket 1014]



 57.         August 2020 Monthly Operating Report [Docket 1115]



 58.         September 2020 Monthly Operating Report [Docket 1329]



 59.         Debtor’s back-up for September Monthly Operating Report




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                      PAGE 6 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39     Page 7 of 600




Letter                                   Exhibit                               Offered      Admitted


 60.         October 2020 Monthly Operating Report [Docket 1493]



 61.         November 2020 Monthly Operating Report [Docket 1710]



 62.         December 2020 Monthly Operating Report [Docket 1949]



 63.         Debtor’s January 2021 Monthly Operating Report


             Debtor’s back-up for the January 2021 Monthly Operating
 64.
             Report


 65.         Debtor’s January 2021 Affiliates Loan Receivables Summary

             Any document entered or filed in the Adversary Proceeding,
 66.
             including any exhibits thereto
             Any document entered or filed in the Debtor’s chapter 11
 67.
             bankruptcy case, including any exhibits thereto
             All exhibits necessary for impeachment and/or rebuttal
 68.
             purposes
             All exhibits identified by or offered by any other party at the
 69.
             Hearing




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                             PAGE 7 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39   Page 8 of 600




Dated: May 25, 2021.                      PACHULSKI STANG ZIEHL & JONES LLP

                                          Jeffrey N. Pomerantz (CA Bar No.143717)
                                          Ira D. Kharasch (CA Bar No. 109084)
                                          John A. Morris (NY Bar No. 2405397)
                                          Gregory V. Demo (NY Bar 5371992)
                                          Hayley R. Winograd (NY Bar No. 5612569)
                                          10100 Santa Monica Blvd., 13th Floor
                                          Los Angeles, CA 90067
                                          Telephone: (310) 277-6910
                                          Facsimile: (310) 201-0760
                                          E-mail:    jpomerantz@pszjlaw.com
                                                     ikharasch@pszjlaw.com
                                                     jmorris@pszjlaw.com
                                                     gdemo@pszjlaw.com


                                          -and-

                                          HAYWARD PLLC

                                          /s/ Zachery Z. Annable
                                          Melissa S. Hayward
                                          Texas Bar No. 24044908
                                          MHayward@HaywardFirm.com
                                          Zachery Z. Annable
                                          Texas Bar No. 24053075
                                          ZAnnable@HaywardFirm.com
                                          10501 N. Central Expy, Ste. 106
                                          Dallas, Texas 75231
                                          Tel: (972) 755-7100
                                          Fax: (972) 755-7110

                                         Counsel for Highland Capital Management, L.P.




AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                      PAGE 8 OF 8
DOCS_NY:43235.1 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 9 of 600




                               EXHIBIT 21
                Case 21-03005-sgj Doc 29 Filed 05/24/21                         Entered 05/24/21 10:22:39   Page 10 of 600




From:                                                  David Klos <DKlos@HighlandCapital.com>
Sent:                                                  Friday, February 02, 2018 2:16 PM
To:                                                    Corporate Accounting
Cc:                                                    Melissa Schroth
Subject:                                               $3.825mm to Jim


Blair,
Please set up $3.825mm to go to Jim this afternoon. Frank has approved.

Drew, this is a new loan.



DAVID KLOS | CONTROLLER




300 Crescent Court | Suite 700 | Dallas, Texas 75201
C: 214.674.2926 | O: 972.419.4478 | F: 972.628.4147
dklos@highlandcapital.com | www.highlandcapital.com




                                                                                1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 11 of 600




                                EXHIBIT 2
         Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39   Page 12 of 600




From: wiremail@bbvacompass.com <wiremail@bbvacompass.com>
Sent: Friday, February 2, 2018 1:35 PM
To: Corporate Accounting <CorporateAccounting@hcmlp.com>
Subject: Compass Bank [Texas Bank Outgoing] Message ID:180202133456H400 Advice Code:TxBkOut

Compass Bank Wire Transfer Dept.
701 S 32nd Street
Birmingham, AL 35233

Outgoing Wire - Advice of Debit

Date: 2018-02-02 00:00:00         Wire Create Time 13:34:57

    Account #    :
    Account Name : HIGHLAND CAPITAL MANAGEMENT LP
    Amount          : $3,825,000.00
    GFX Reference      : 180202133456H400
    Receiving Bank : 311973208
    Recv BK Name       : NEXBANK SSB

    Originator     : HIGHLAND CAPITAL MANAGEMENT LP

    Beneficiary     : James Dondero
    Bene Acct #      :     884

    Beneficiary Info (OBI):
    2/2/2018 Loan

    Reference for Beneficiary (RFB):


    FED Reference Number (IMAD):
    20180202F2QCZ60C002532




                                                        1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 13 of 600




                                EXHIBIT 23
                Case 21-03005-sgj Doc 29 Filed 05/24/21                            Entered 05/24/21 10:22:39   Page 14 of 600




From:                                                  Blair Hillis <BHillis@HighlandCapital.com>
Sent:                                                  Wednesday, August 01, 2018 1:12 PM
To:                                                    David Klos; Corporate Accounting
Cc:                                                    Melissa Schroth
Subject:                                               RE: $2.5mm loan to Dondero


Funds have been transferred to Jim’s account. Thanks!

Kind Regards,
Blair Roeber

From: David Klos
Sent: Wednesday, August 1, 2018 10:47 AM
To: Corporate Accounting
Cc: Melissa Schroth
Subject: $2.5mm loan to Dondero

Jim has authorized a $2.5mm loan from HCMLP to Dondero.

Blair, can you please set up this wire today?
Drew, can you please draw up loan docs for execution?



DAVID KLOS | CONTROLLER




300 Crescent Court | Suite 700 | Dallas, Texas 75201
C: 214.674.2926 | O: 972.419.4478 | F: 972.628.4147
dklos@highlandcapital.com | www.highlandcapital.com




                                                                                   1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 15 of 600




                                EXHIBIT 24
3/27/2021   Case 21-03005-sgj Doc 29 Filed 05/24/21                        Entered  05/24/21 10:22:39
                                                                            NexBank SSB                               Page 16 of 600



                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                       Date 8/31/18                  Page     1
                                                                                       Primary Account
                                                                                       Enclosures




                                  Highland Capital Management LP
                                  300 Crescent Court Suite 700
                                  Dallas TX 75201




                     NexBank's Privacy Notice, which has not changed, is available on our website
                     at www.NexBank.com/files/privacynotice.pdf. If you would like a copy of our
                     Privacy Notice mailed to you, please call us at 972-934-4700.

                     Checking Account/s

                                   Account Type:      Highland Capital Management LP

                     Analysis Checking w/ Interest
                     Account Number                                           Statement Dates    8/01/18 thru 9/03/18
                     Last Statement Balance      4,354,207.26                 Days in the statement period          34
                         6 Deposits/Credits      1,108,935.70                 Average Ledger              1,205,562.01
                         3 Checks/Debits         5,144,963.28                 Average Collected           1,205,562.01
                     Service Charge                       .00                 Interest Earned                   617.68
                     Interest Paid                     603.26                 Annual Percentage Yield Earned      0.55%
                     This Statement Balance        318,782.94                 2018 Interest Paid              8,245.45



                     -----------------------------------------------------------------------------------

                     Deposits and Additions
                     Date      Description                                                   Amount
                      8/01     IB Transfer from          D ****415 to                    416,000.00
                               D ****130
                      8/01     IB Transfer from          D ****171 to                    420,000.00
                               D ****130
                      8/01     Misc Credit                                               130,000.00
                      8/02     IB Transfer from          D ****672 to                      2,935.70
                               D ****130
                      8/27     IB Transfer from          D ****672 to                      10,000.00
                               D ****130
                      8/30     Misc Credit                                               130,000.00
                      8/31     Interest Deposit                                              603.26

                     -----------------------------------------------------------------------------------




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///C:/Users/lsc/AppData/Local/Microsoft/Windows/Temporary Internet Files/Content.Outlook/J88ZPLWR/08-18 HCM MM NexBank 130.html   1/3
3/27/2021   Case 21-03005-sgj Doc 29 Filed 05/24/21                        Entered  05/24/21 10:22:39
                                                                            NexBank SSB                               Page 17 of 600


                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                       Date 8/31/18                  Page     2
                                                                                       Primary Account
                                                                                       Enclosures




                     Analysis Checking w/ Interest                                       (Continued)

                     Checks and Withdrawals
                     Date      Description                                                   Amount
                      8/01     IB Transfer from D ****130 to                           2,500,000.00-
                               D ****884
                      8/13     IB Transfer from D ****130 to                           2,500,000.00-
                               D ****884
                      8/30     IB Transfer from D ****130 to                             144,963.28-
                               D ****513

                     -----------------------------------------------------------------------------------

                     Daily Balance Information
                     Date          Balance                Date              Balance            Date              Balance
                      8/01         2,820,207.26            8/13               323,142.96        8/30               318,179.68
                      8/02         2,823,142.96            8/27               333,142.96        8/31               318,782.94

                     -----------------------------------------------------------------------------------

                                                        Interest Rate Summary
                                                      Date               Rate
                                                       7/31                0.550000%

                     End of Statement




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///C:/Users/lsc/AppData/Local/Microsoft/Windows/Temporary Internet Files/Content.Outlook/J88ZPLWR/08-18 HCM MM NexBank 130.html   2/3
3/27/2021   Case 21-03005-sgj Doc 29 Filed 05/24/21                                          Entered  05/24/21 10:22:39
                                                                                              NexBank SSB                                         Page 18 of 600
                                     OUTSTANDING CHECKS                                                              RECONCILIATION INSTRUCTIONS
                   Reconciliation of Account                                                   Date ___________________________
                              CHECKS WRITTEN BUT NOT PAID
                       NUMBER                  AMOUNT                                             Please examine this statement and
                                                                                               items at once and refer any exceptions
                                                                                               immediately.

                                                                                                  Sort your checks numerically or by
                                                                                               date issued.

                                                                                                  Mark off in your checkbook each of
                                                                                               your checks paid by the bank and list the
                                                                                               numbers and amounts of those not paid in
                                                                                               the space provided at the left. Include any
                                                                                               checks still not paid from previous
                                                                                               statements.

                                                                                                  Subtract from your checkbook
                                                                                               balance any SERVICE CHARGE (S.C.) or
                                                                                               bank charge appearing on this statement.

                                                                                                  Reconcile your statement in the
                                                                                               space provided below.



                                                                                               Enter bank balance
                                                                                                 from statement
                                                                                                 Add deposits not
                                                                                                 credited by bank
                                                                                                      (if any)

                                                                                                                         TOTAL

                      Total of Checks                                                            Subtract total of
                          not paid                                                               checks not paid

                                                        THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                  Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                   Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.

                                           EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

         We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the "daily
         balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance charges and any
         payments or credits. This gives us the daily balance.


                                               WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
         If you think there is an error on your statement, write to us at:
         NexBank
         2515 McKinney Avenue, 11th Floor
         Dallas, Texas 75201
         You may also contact us on the Web: www.nexbank.com
         In your letter, give us the following information:
                    Account Information: Your name and account number.
                    Dollar Amount: The dollar amount of the suspected error.
                    Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
         You must contact us within 60 days after the error appeared on your statement.
         You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors and you
         may have to pay the amount in question.
         While we investigate whether or not there has been an error, the following are true:
                    We cannot try to collect the amount in question, or report you as delinquent on that amount.
                    The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a
                    mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                    While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                    We can apply any unpaid amount against your credit limit.
                                           IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
         In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor, Dallas,
         Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
         must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
            (1) Tell us your name and account number (if any).
            (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
            an error or why you need more information.
            (3) Tell us the dollar amount of the suspected error.
            We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
         amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




file:///C:/Users/lsc/AppData/Local/Microsoft/Windows/Temporary Internet Files/Content.Outlook/J88ZPLWR/08-18 HCM MM NexBank 130.html                                               3/3
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 19 of 600




                                EXHIBIT 25
                Case 21-03005-sgj Doc 29 Filed 05/24/21                           Entered 05/24/21 10:22:39   Page 20 of 600




From:                                                  Blair Hillis <BHillis@HighlandCapital.com>
Sent:                                                  Monday, August 13, 2018 11:44 AM
To:                                                    Drew Wilson; David Klos; Corporate Accounting
Cc:                                                    Melissa Schroth
Subject:                                               RE: $2.5mm loan to Dondero


Funds have been transferred to Jim’s account ending in *884.

Thanks!

Kind Regards,
Blair Roeber

From: Drew Wilson
Sent: Monday, August 13, 2018 9:52 AM
To: Blair Roeber ; David Klos ; Corporate Accounting
Cc: Melissa Schroth
Subject: $2.5mm loan to Dondero

Jim has authorized a $2.5mm loan from HCMLP to Dondero.

Blair, can you please set up this wire today? We should receive the funds from Select shortly. Loan docs are attached.

Drew Wilson | Senior Corporate Accountant




300 Crescent Court | Suite 700 | Dallas, Texas 75201
C: 314.369.7116 | O: 972.419.4465 | F: 972.628.4147
dwilson@hcmlp.com | www.hcmlp.com




                                                                                  1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 21 of 600




                                EXHIBIT 26
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page22
                                                                          1 of 9
                                                                               600
                                                                                  Docket #0001 Date Filed: 1/22/2021




PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

In re:                                                       §
                                                             §   Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                             §
                                 Plaintiff,                  §   Adversary Proceeding No.
                                                             §
vs.                                                          §   ______________________
                                                             §
JAMES DONDERO,                                               §
                                                             §
                                 Defendant.                  §
1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


DOCS_NY:41770.7 36027/002                                              ¨1¤}HV5!;                  '@«
                                                                           1934054210127000000000007
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page23
                                                                          2 of 9
                                                                               600




                      COMPLAINT FOR (I) BREACH OF CONTRACT
             AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

        Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

and for its complaint (the “Complaint”) against defendant, Mr. James Dondero (“Mr. Dondero”

or “Defendant”), alleges upon knowledge of its own actions and upon information and belief as

to other matters as follows:

                                 PRELIMINARY STATEMENT

        1.         The Debtor brings this action against Mr. Dondero as a result of Mr. Dondero’s

defaults under three promissory notes executed by Mr. Dondero in favor of the Debtor in the

aggregate original principal amount of $8,825,000 and payable upon the Debtor’s demand.

Despite due demand, Mr. Dondero has failed to pay amounts due and owing under the notes and

the accrued but unpaid interest thereon.

        2.         Through this Complaint, the Debtor seeks (a) damages from Mr. Dondero in an

amount equal to (i) the aggregate outstanding principal due under the Notes (as defined below),

plus (ii) all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount

equal to the Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees

and expenses, as provided for in the notes) for Mr. Dondero’s breach of his obligations under the

Notes, and (b) turnover by Mr. Dondero to the Debtor of the foregoing amounts.




                                                 2
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page24
                                                                          3 of 9
                                                                               600




                                  JURISDICTION AND VENUE

        3.         This adversary proceeding arises in and relates to the Debtor’s case pending

before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

(the “Court”) under chapter 11 of the Bankruptcy Code.

        4.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

        5.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

by the Court in the event that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

        6.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          THE PARTIES

        7.         The Debtor is a limited liability partnership formed under the laws of Delaware

with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

        8.         Upon information and belief, Mr. Dondero is an individual residing in Dallas,

Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief Executive

Officer until his resignation on January 9, 2020.

                                      CASE BACKGROUND

        9.         On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

        10.        On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

                                                    3
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page25
                                                                          4 of 9
                                                                               600




Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.

           11.        On December 4, 2019, the Delaware Court entered an order transferring venue

of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

           12.        The Debtor has continued in the possession of its property and has continued to

operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                           STATEMENT OF FACTS

A.         The Dondero Notes

           13.        Mr. Dondero, in his personal capacity, is the maker under a series of promissory

notes in favor of the Debtor.

           14.        Specifically, on February 2, 2018, Mr. Dondero executed a promissory note in

favor of the Debtor, as payee, in the original principal amount of $3,825,000 (“Dondero’s First

Note”). A true and correct copy of Dondero’s First Note is attached hereto as Exhibit 1.

           15.        On August 1, 2018, Mr. Dondero executed a promissory note in favor of the

Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Second Note”). A

true and correct copy of Dondero’s Second Note is attached hereto as Exhibit 2.

           16.        On August 13, 2018, Mr. Dondero executed a promissory note in favor of the

Debtor, as payee, in the original principal amount of $2,500,000 (“Dondero’s Third Note” and

collectively, with Dondero’s First Note and Dondero’s Second Note, the “Notes”). A true and

correct copy of Dondero’s Third Note is attached hereto as Exhibit 3.

           17.        Section 2 of each Note provides: “Payment of Principal and Interest. The

accrued interest and principal of this Note shall be due and payable on demand of the Payee.”

2
    All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

                                                          4
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page26
                                                                          5 of 9
                                                                               600




        18.        Section 4 of each Note provides:

        Acceleration Upon Default. Failure to pay this Note or any installment
        hereunder as it becomes due shall, at the election of the holder hereof, without
        notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
        or any other notice of any kind which are hereby waived, mature the principal of
        this Note and all interest then accrued, if any, and the same shall at once become
        due and payable and subject to those remedies of the holder hereof. No failure or
        delay on the part of the Payee in exercising any right, power, or privilege
        hereunder shall operate as a waiver hereof.

        19.        Section 6 of each Note provides:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other
                 court after maturity, the Maker shall pay, in addition to all other amounts
                 owing hereunder, all actual expenses of collection, all court costs and
                 reasonable attorneys’ fees and expenses incurred by the holder hereof.

B.      Mr. Dondero Defaults under Each Note

        20.        By letter dated December 3, 2020, the Debtor made demand on Mr. Dondero for

payment under the Notes by December 11, 2020 (the “Demand Letter”). A true and correct copy

of the Demand Letter is attached hereto as Exhibit 4. The Demand Letter provided:

        By this letter, Payee is demanding payment of the accrued interest and principal
        due and payable on the Notes in the aggregate amount of $9,004,013.07, which
        represents all accrued interest and principal through and including December 11,
        2020.

        Payment is due on December 11, 2020, and failure to make payment in full
        on such date will constitute an event of default under the Notes.

Demand Letter (emphasis in the original).

        21.        Despite the Debtor’s demand, Mr. Dondero did not pay all or any portion of the

amounts demanded by the Debtor on December 11, 2020, or at any time thereafter.

        22.        As of December 11, 2020, there was an outstanding principal amount of

$3,687,269.71 on Dondero’s First Note and accrued but unpaid interest in the amount of

$21,003.70, resulting in a total outstanding amount as of that date of $3,708,273.41.

                                                  5
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page27
                                                                          6 of 9
                                                                               600




        23.        As of December 11, 2020, there was an outstanding principal balance of

$2,619,929.42 on Dondero’s Second Note and accrued but unpaid interest in the amount of

$27,950.70, resulting in a total outstanding amount as of that date of $2,647,880.12.

        24.        As of December 11, 2020, there was an outstanding principal balance of

$2,622,425.61 on Dondero’s Third Note and accrued but unpaid interest in the amount of

$25,433.94, resulting in a total outstanding amount as of that date of $2,647,859.55.

        25.        Thus, as of December 11, 2020, the total outstanding principal and accrued but

unpaid interest due under the Notes was $9,004,013.07.

        26.        Pursuant to Section 4 of each Note, each Note is in default and is currently due

and payable.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        27.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

        28.        Each Note is a binding and enforceable contract.

        29.        Mr. Dondero breached each Note by failing to pay all amounts due to the

Debtor upon the Debtor’s demand.

        30.        Pursuant to each Note, the Debtor is entitled to damages from Mr. Dondero in

an amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all

accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

expenses) for Mr. Dondero’s breach of his obligations under each of the Notes.

        31.        As a direct and proximate cause of Mr. Dondero’s breach of each Note, the

Debtor has suffered damages in the total amount of at least $9,004,013.07 as of December 11,


                                                 6
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page28
                                                                          7 of 9
                                                                               600




2020, plus an amount equal to all accrued but unpaid interest from that date plus the Debtor’s

cost of collection.

                                   SECOND CLAIM FOR RELIEF
                       (Turnover by Mr. Dondero Pursuant to 11 U.S.C. § 542(b))

         32.       The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

         33.       Mr. Dondero owes the Debtor an amount equal to (i) the aggregate outstanding

principal due under each Note, plus (ii) all accrued and unpaid interest thereon until the date of

payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court costs

and reasonable attorneys’ fees and expenses) for Mr. Dondero’s breach of his obligations under

each of the Notes.

         34.       Each Note is property of the Debtor’s estate, and the amounts due under each

Note are matured and payable upon demand.

         35.       Mr. Dondero has not paid the amounts dues under each Note to the Debtor.

         36.       The Debtor has made demand for the turnover of the amounts due under each

Note.

         37.       As of the date of filing of this Complaint, Mr. Dondero has not turned over to

the Debtor all or any of the amounts due under each of the Notes.

         38.       The Debtor is entitled to the turnover of all amounts due under each of the

Notes.

         WHEREFORE, the Debtor prays for judgment as follows:

                 (i)        On its First Claim for Relief, damages in an amount to be determined at

                 trial, including, among other things, (a) the aggregate outstanding principal due

                 under each Note, plus (b) all accrued and unpaid interest thereon until the date of


                                                    7
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page29
                                                                          8 of 9
                                                                               600




                 payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                 all court costs and reasonable attorneys’ fees and expenses);

                 (ii)       On its Second Claim for Relief, ordering turnover by Mr. Dondero to the

                 Debtor of an amount equal to (a) the aggregate outstanding principal due under

                 each Note, plus (b) all accrued and unpaid interest thereon until the date of

                 payment, plus (c) an amount equal to the Debtor’s costs of collection (including

                 all court costs and reasonable attorneys’ fees and expenses); and

                 (iii)      Such other and further relief as this Court deems just and proper.




                                                      8
DOCS_NY:41770.7 36027/002
  Case
Case   21-03003-sgj
     21-03005-sgj   Doc
                  Doc 291Filed
                          Filed05/24/21
                                01/22/21 Entered
                                          Entered05/24/21
                                                  01/22/2110:22:39
                                                           17:50:01 Page
                                                                     Page30
                                                                          9 of 9
                                                                               600




Dated: January 22, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

                                  Jeffrey N. Pomerantz (CA Bar No.143717)
                                  Ira D. Kharasch (CA Bar No. 109084)
                                  John A. Morris (NY Bar No. 2405397)
                                  Gregory V. Demo (NY Bar No. 5371992)
                                  Hayley R. Winograd (NY Bar No. 5612569)
                                  10100 Santa Monica Blvd., 13th Floor
                                  Los Angeles, CA 90067
                                  Telephone: (310) 277-6910
                                  Facsimile: (310) 201-0760
                                  E-mail:     jpomerantz@pszjlaw.com
                                              ikharasch@pszjlaw.com
                                              jmorris@pszjlaw.com
                                              gdemo@pszjlaw.com
                                              hwinograd@pszjlaw.com

                                  -and-

                                  HAYWARD PLLC

                                  /s/ Zachery Z. Annable
                                  Melissa S. Hayward
                                  Texas Bar No. 24044908
                                  MHayward@HaywardFirm.com
                                  Zachery Z. Annable
                                  Texas Bar No. 24053075
                                  ZAnnable@HaywardFirm.com
                                  10501 N. Central Expy, Ste. 106
                                  Dallas, Texas 75231
                                  Tel: (972) 755-7100
                                  Fax: (972) 755-7110

                                  Counsel for Highland Capital Management, L.P.




                                          9
DOCS_NY:41770.7 36027/002
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-1  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             311ofof600
                                                                                     3




                     EXHIBIT 1




EXHIBIT 1
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-1  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             322ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-1  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             333ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-2  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             341ofof600
                                                                                     3




                     EXHIBIT 2




EXHIBIT 2
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-2  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             352ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-2  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             363ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-3  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             371ofof600
                                                                                     3




                     EXHIBIT 3




EXHIBIT 3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-3  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             382ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-3  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             393ofof600
                                                                                     3
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-4  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             401ofof600
                                                                                     4




                     EXHIBIT 4




EXHIBIT 4
  Case21-03005-sgj
 Case  21-03003-sgjDoc
                    Doc291-4  Filed
                           Filed    01/22/21 Entered
                                  05/24/21     Entered 01/22/21
                                                     05/24/21   17:50:01 Page
                                                              10:22:39     Page
                                                                              412ofof600
                                                                                      4

                                  HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020



 James Dondero
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201

         Re: Demand on Promissory Notes:

 Dear Mr. Dondero,

 You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
 Capital Management, L.P. (“Payee”):

Date Issued      Original Principal    Outstanding Principal    Accrued But            Total Amount
                      Amount            Amount (12/11/20)      Unpaid Interest     Outstanding (12/11/20)
                                                                 (12/11/20)
   2/2/18            $3,825,000            $3,687,269.71         $21,003.70            $3,708,273.41
   8/1/18            $2,500,000            $2,619,929.42         $27,950.70            $2,647,880.12
  8/13/18            $2,500,000            $2,622,425.61         $25,433.94            $2,647,859.55
  TOTALS            $16,725,000            $8,929,624.74         $74,388.33            $9,004,013.07

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain your obligation.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



 DOCS_NY:41660.1 36027/002
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-4  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             423ofof600
                                                                                     4




cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        D. Michael Lynn




DOCS_NY:41660.1 36027/002                 2
 Case21-03005-sgj
Case  21-03003-sgjDoc
                   Doc291-4  Filed
                          Filed    01/22/21 Entered
                                 05/24/21     Entered 01/22/21
                                                    05/24/21   17:50:01 Page
                                                             10:22:39     Page
                                                                             434ofof600
                                                                                     4




                                     Appendix A


                   ABA #:          322070381
                   Bank Name:      East West Bank
                   Account Name:   Highland Capital Management, LP
                   Account #:      5500014686
        Case21-03005-sgj
       Case  21-03003-sgjDoc
                          Doc291-5  Filed
                                 Filed    01/22/21 Entered
                                        05/24/21     Entered 01/22/21
                                                           05/24/21   17:50:01 Page
                                                                    10:22:39     Page
                                                                                    441ofof600
                                                                                            2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                                   James Dondero



ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC                                                                    Bonds Ellis Eppich Schafer Jones LLP
10501 N. Central Expressway, Suite 106                                          420 Throckmorton Street, Suite 1000
Dallas, Texas 75231 Tel.: (972) 755-7100                                        Fort Worth, Texas 76102 Tel.: (817) 405-6900
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ'HEWRU    Ƒ86 Trustee/Bankruptcy Admin        ƑDebtor      ƑU.S. Trustee/Bankruptcy Admin
Ƒ&UHGLWRU  Ƒ2WKHU                                ƑCreditor    ƑOther
Ƒ7UXVWHH                                          ƑTrustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Count 1: Breach of contract; Count 2: Turnover of estate property pursuant to 11 U.S.C. 542




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


Ƒ2 11-Recovery of money/property - §542 turnover of property                    Ƒ
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                   61-Dischargeability - §523(a)(5), domestic support

Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

Ƒ 14-Recovery of money/property - other                                         Ƒ
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                Ƒ
                                                                                      (other than domestic support)

Ƒ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                Ƒ
                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property
                                                                                Ƒ
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                Ƒ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



Ƒ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                Ƒ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              Ƒ
                                                                              FRBP 7001(10) Determination of Removed Action

Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ1 SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
ƑCheck if this case involves a substantive issue of state law                  ƑCheck if this is asserted to be a class action under FRCP 23
Ƒ&KHFNLIDMXU\trial is demanded in complaint                                Demand $ 9,004,013.07 plus interest, fees, and expenses
Other Relief Sought
      Case21-03005-sgj
     Case  21-03003-sgjDoc
                        Doc291-5  Filed
                               Filed    01/22/21 Entered
                                      05/24/21     Entered 01/22/21
                                                         05/24/21   17:50:01 Page
                                                                  10:22:39     Page
                                                                                  452ofof600
                                                                                          2
 B1040 (FORM 1040) (12/15)

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                        BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                        19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING                     DIVISION OFFICE     NAME OF JUDGE
 Northern District of Texas                               Dallas          Stacey G. C. Jernigan
                                  RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                   DEFENDANT                     ADVERSARY
                                                                          PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

   January 22, 2021                                                           Zachery Z. Annable




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 46 of 600




                                EXHIBIT 27
         Case
       Case   21-03003-sgj
            21-03005-sgj   Doc
                         Doc 293Filed
                                 Filed05/24/21
                                       01/25/21 Entered
                                                 Entered05/24/21
                                                         01/25/2110:22:39
                                                                  08:46:05 Page
                                                                            Page47
                                                                                 1 of 2
                                                                                      600
                                                                                                       Docket #0003 Date Filed: 1/25/2021
BTXN 090 (rev. 12/09)
                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS


In Re:                                                                §
Highland Capital Management, L.P.                                     §
                                                                      §     Case No.: 19−34054−sgj11
                                                Debtor(s)             §     Chapter No.: 11
Highland Capital Management, L.P.                                     §
                                                Plaintiff(s)          §     Adversary No.:        21−03003−sgj
     vs.                                                              §
James Dondero                                                         §
                                                Defendant(s)          §


         ORDER REGARDING ADVERSARY PROCEEDINGS TRIAL SETTING AND
                     ALTERNATIVE SCHEDULING ORDER
    An adversary complaint is set for trial routinely at the time of its filing. Special settings or pretrial conferences
may be scheduled by contacting the appropriate Courtroom Deputy.

     TRIAL is set before the Honorable Stacey G. Jernigan at 1100 Commerce Street, 14th Floor, Courtroom
#1, Dallas, Texas 75242 the week of June 21, 2021. Docket call for this trial will be held on June 14, 2021 at 01:30
pm at 1100 Commerce Street, 14th Floor, Courtroom #1, Dallas, Texas 75242. A pretrial conference shall be
scheduled by the parties at least seven (7) calendar days prior to trial docket call in a complex adversary proceeding if
the parties anticipate that trial will exceed one day or if there are preliminary matters that should be addressed by the
Court prior to the commencement of trial.

PART I: INSTRUCTIONS
1. Plaintiff is responsible for ensuring that proper service is provided to each defendant. The Clerk shall issue one original summons, which
shall be conformed by the plaintiff for service on multiple defendants. Federal Bankruptcy Rule 7004(e) requires you to serve the fully
completed SUMMONS form and a copy of the COMPLAINT on each defendant within seven (7) days of issuance. In addition, the Court
also directs that this ORDER be served with the SUMMONS and COMPLAINT.

2. Plaintiff shall file a RETURN on the SUMMONS with a CERTIFICATE OF SERVICE that provides the name
and address of each party served and the manner of service.

3. If a trial setting is passed for settlement at trial docket call and no written request is filed to retain the case on the
Court's docket, an automatic Dismissal Without Prejudice shall be entered on or after four (4) weeks. The Court's
Trial Calendar is available on the court's web site at www.txnb.uscourts.gov.

PART II: GENERAL PROVISIONS GOVERNING DISCOVERY
1. Unless otherwise ordered by the Court, the disclosures required by Federal Bankruptcy Rule 7026(a) shall be made within fourteen (14)
days of the entry of a scheduling order, including the Alternative Scheduling Order contained in Part III below (which shall become effective
on the forty−sixth day following the entry of this Order.

2. Unless the parties agree or the Court orders otherwise, Federal Bankruptcy Rule 7026(f) requires that parties shall
confer to consider the nature and basis of their claims and defenses and the possibilities for a prompt settlement or
resolution of the case, to make or arrange for the disclosures required by Federal Bankruptcy Rule 7026(a)(1), to
develop a proposed discovery plan, and to submit a proposed scheduling order. The parties shall confer with each
other regarding these matters within thirty (30) days of the service of the Summons unless the Court orders otherwise.

3. During such conference, the parties may agree to waive the requirement of submitting their own proposed
scheduling order and may follow the terms and deadlines contained in the Alternative Scheduling Order set forth in
Part III below (the "Alternative Scheduling Order"). If the parties do not submit a proposed scheduling order or do
not schedule a status conference with the Court to discuss the provisions and deadlines of a scheduling order within
forty−five days of the filing of this adversary proceeding, then the parties are deemed to have consented to the terms
of the Alternative Scheduling Order.

PART III: ALTERNATIVE SCHEDULING ORDER

The Court directs compliance with the following schedule:
                                                                                          ¨1¤}HV5!;                  )\«
                                                                                              1934054210127000000000009
        Case
      Case   21-03003-sgj
           21-03005-sgj   Doc
                        Doc 293Filed
                                Filed05/24/21
                                      01/25/21 Entered
                                                Entered05/24/21
                                                        01/25/2110:22:39
                                                                 08:46:05 Page
                                                                           Page48
                                                                                2 of 2
                                                                                     600

1. Discovery must be completed forty−five (45) days prior to Docket Call. The names and addresses of experts must
be exchanged sixty (60) days prior to Docket Call.

2. A Joint Pretrial Order in compliance with Local District Court Rule 16.4 shall be filed, served, and uploaded for
Court entry seven (7) days prior to Docket Call. All counsel (or a pro se party) are responsible for preparing the Joint
Pretrial Order, which shall contain the following: (a) a summary of the claims and defenses of each party; (b) a
statement of stipulated facts; (c) a list of the contested issues of fact; (d) a list of contested issues of law; (e) an
estimate of the length of trial; (f) a list of additional matters which would aid in the disposition of the case; and (g) the
signature of each attorney (or pro se party).
3. Each exhibit shall be marked with an exhibit label. Except for impeachment documents, all exhibits, along with a list of witnesses to be
called, shall be exchanged with opposing counsel (or pro se party) fourteen (14) days prior to Docket Call. Each party shall also file a list of
exhibits and witnesses fourteen (14) days prior to Docket Call. All exhibits not objected to in writing by Docket Call shall be admitted into
evidence at trial without further proof, except for objections to relevance. Written objections to exhibits will be taken up either at the
beginning or during the course of the actual trial or at any pretrial conference.

4. Written Proposed Findings of Fact and Conclusions of Law shall be filed seven (7) days prior to Docket Call. Trial
briefs shall be filed addressing contested issues of law seven (7) days prior to Docket Call.
5. Unless otherwise directed by the Presiding Judge, all dispositive motions must be heard no later than fourteen (14) days prior to Docket
Call. Accordingly, all dispositive motions must be filed no later than forty−five (45) days prior to Docket Call, unless the Court modifies this
deadline.

6. All parties and counsel must certify to full compliance with this Order at Docket Call. If a resetting is allowed by
the Court, the plaintiff or plaintiff's attorney shall notify all other parties and shall file with the Clerk a certificate of
service indicating the manner, date, and to whom notice was given.

7. If the case is reset, all the deadlines in Part III nos. 1 through 5 will be shifted to the newly scheduled Docket Call
date in the absence of a contrary Court order.

8. Sanctions may be imposed for failure to comply with this Order.



DATED: 1/25/21                                            FOR THE COURT:
                                                          Robert P. Colwell, Clerk of Court

                                                          by: /s/Michael Edmond, Deputy Clerk
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 49 of 600




                                EXHIBIT 28
           Case
           Case19-34054-sgj11 Doc
                21-03005-sgj Doc 29247  Filed
                                    Filed     12/13/19Entered
                                           05/24/21      Entered 12/13/19
                                                              05/24/21    22:32:34Page
                                                                       10:22:39     Page  1 of
                                                                                       50 of   74
                                                                                             600

 Fill in this information to identify the case:

 Debtor name            Highland Capital Management, L.P.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               19-34054-SGJ
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           523,970.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $     409,580,813.30

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $     410,104,783.30


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       34,862,225.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            Unknown

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     244,455,350.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        279,317,576.72




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
          Case
          Case19-34054-sgj11 Doc
               21-03005-sgj Doc 29247  Filed
                                   Filed     12/13/19Entered
                                          05/24/21      Entered 12/13/19
                                                             05/24/21    22:32:34Page
                                                                      10:22:39     Page  7 of
                                                                                      51 of   74
                                                                                            600

 Debtor         Highland Capital Management, L.P.                                              Case number (If known) 19-34054-SGJ
                Name



            General description                                                Net book value of       Valuation method used     Current value of
                                                                               debtor's interest       for current value         debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            139 Domain Names                                                                 $0.00     N/A                                   Unknown



 62.        Licenses, franchises, and royalties
            3rd Party Private Equity Management
            Company                                                                          $0.00     N/A                                   Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                             Unknown
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                        150,331,222.61 -                             Unknown =
            Notes Receivable (Exhibit D)                              Total face amount     doubtful or uncollectible amount                 Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
   Case
    Case19-34054-sgj11 Doc29
         21-03005-sgj Doc  247  Filed
                             Filed    12/13/19Entered
                                   05/24/21     Entered 12/13/19
                                                      05/24/21   22:32:34Page
                                                               10:22:39    Page
                                                                              5213 of 74
                                                                                of 600


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit D ‐ Schedule 71A


Notes Receivable                                              Total Face Amount [1]
Hunter Mountain Investment Trust                          $               56,873,209.22
Affiliate Note Receivable ‐ A                                             24,534,644.03
The Dugaboy Investment Trust                                              18,286,268.16
Affiliate Note Receivable ‐ B                                             10,413,539.53
Affiliate Note Receivable ‐ C                                             10,394,680.47
James Dondero                                                              9,334,012.00
Highland Capital Management Services, Inc.                                 7,482,480.88
Siepe                                                                      2,019,256.35
Highland Mult Strategy Credit Fund, LP                                     3,269,000.00
Highland Capital Management Korea Ltd. [2]                                 3,132,278.05
Private Portfolio Company ‐ A                                              2,198,610.05
Mark Okada                                                                 1,336,287.84
Private Portfolio Company ‐ B                                              1,056,956.03
Total                                                     $             150,331,222.61

[1]Doubtful or Uncollectible accounts are evaluated at year end.
[2] Includes $72,278.05 of intercompany receivable.




                                                                                          1 of 1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 53 of 600




                                EXHIBIT 29
Case
Case19-34054-sgj11 Doc
     21-03005-sgj Doc 291082
                         FiledFiled 09/22/20
                               05/24/21       Entered
                                          Entered     09/22/20
                                                  05/24/21     16:32:20
                                                           10:22:39  PagePage
                                                                          54 of1600
                                                                                 of 3
                                                                                 Docket #1082 Date Filed: 09/22/2020




PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
Maxim B. Litvak (Texas Bar No. 24002482)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD & ASSOCIATES PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                             )
In re:                                                       )   Chapter 11
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                             )
                                 Debtor.                     )   Re: Docket No. 247
                                                             )

                NOTICE OF FILING OF DEBTOR’S AMENDED SCHEDULES

         PLEASE TAKE NOTICE that the above-captioned debtor and debtor-in-possession

(the “Debtor”) hereby files its Amended Schedules of Assets and Liabilities – Schedule E-F (the

“Amended Schedules”).


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


DOCS_DE:230474.1 36027/002                                             ¨1¤}HV4)6                  !]«
                                                                           1934054200922000000000001
Case
Case19-34054-sgj11 Doc
     21-03005-sgj Doc 291082
                         FiledFiled 09/22/20
                               05/24/21       Entered
                                          Entered     09/22/20
                                                  05/24/21     16:32:20
                                                           10:22:39  PagePage
                                                                          55 of2600
                                                                                 of 3




        PLEASE TAKE FURTHER NOTICE that the following changes were made to the

Amended Schedules attached hereto as Exhibit 1:

        •        Schedule E/F – add claims of Andrew Parmentier (E-2.2; F-3.15)

        •        Schedule E/F – Change name from Highland CLO Holdco (previously F-3.64 &
                 F-3.65) to Highland CLO Management, Ltd. (F-3.65 & F-3.66).

        PLEASE TAKE FURTHER NOTICE that, other than the changes listed above, there are

no other changes to the Debtor’s Schedules.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Order (I) Establishing

Bar Dates for Filing Claims and (II) Approving the Form and Manner of Notice Thereof [Docket

No. 488], any creditor affected by this notice may file a proof of claim no later than thirty (30)

days after the date that the notice of the Amended Schedules is served on the entity.

        PLEASE TAKE FURTHER NOTICE that, notwithstanding the filing of the Amended

Schedules, the Debtor reserves the right to further amend, in any way and at any time, the

schedules of assets and liabilities filed in this chapter 11 case, consistent with the provisions of

title 11 of the United States Code (the “Bankruptcy Code”) and the Federal Rules of Bankruptcy

Procedure.

                             [Remainder of Page Intentionally Left Blank]




DOCS_DE:230474.1 36027/002                        2
Case
Case19-34054-sgj11 Doc
     21-03005-sgj Doc 291082
                         FiledFiled 09/22/20
                               05/24/21       Entered
                                          Entered     09/22/20
                                                  05/24/21     16:32:20
                                                           10:22:39  PagePage
                                                                          56 of3600
                                                                                 of 3




Dated: September 22, 2020.              PACHULSKI STANG ZIEHL & JONES LLP

                                        Jeffrey N. Pomerantz (CA Bar No.143717)
                                        Ira D. Kharasch (CA Bar No. 109084)
                                        Maxim B. Litvak (TX Bar No. 24002482)
                                        Gregory V. Demo (NY Bar No. 5371992)
                                        10100 Santa Monica Boulevard, 13th Floor
                                        Los Angeles, CA 90067
                                        Telephone: (310) 277-6910
                                        Facsimile: (310) 201-0760
                                        Email:      jpomerantz@pszjlaw.com
                                                    ikharasch@pcszjlaw.com
                                                    mlitvak@pszjlaw.com
                                                    gdemo@pszjlaw.com

                                        -and-

                                        HAYWARD & ASSOCIATES PLLC

                                        /s/ Zachery Z. Annable
                                        Melissa S. Hayward
                                        Texas Bar No. 24044908
                                        MHayward@HaywardFirm.com
                                        Zachery Z. Annable
                                        Texas Bar No. 24053075
                                        ZAnnable@HaywardFirm.com
                                        10501 N. Central Expy, Ste. 106
                                        Dallas, Texas 75231
                                        Tel: (972) 755-7100
                                        Fax: (972) 755-7110

                                        Counsel for the Debtor and Debtor-in-Possession




DOCS_DE:230474.1 36027/002               3
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            57 of1600
                                                                                   of 26




                                       Exhibit 1




  DOCS_DE:230474.1 36027/002
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            58 of2600
                                                                                   of 26




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  In re:                                                            §    Chapter 11
                                                                    §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,1                               §    Case No. 19-34054-sgj11
                                                                    §
                                      Debtor.                       §
                                                                    §

                GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
      METHODS, AND DISCLAIMER REGARDING DEBTOR’S AMENDED SCHEDULES
                         OF ASSETS AND LIABILITIES

                  Highland Capital Management, L.P. (the “Debtor”) submits its Amended
  Schedules of Assets and Liabilities (the “Schedules”) in the United States Bankruptcy Court for
  the Northern District of Texas, Dallas Division (the “Bankruptcy Court”). The Debtor, with the
  assistance of its advisors and management, prepared the Schedules in accordance with section
  521 title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and Rule
  1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
                  These Global Notes and Statement of Limitations, Methods, and Disclaimer
  Regarding the Debtor’s Schedules (collectively, the “Global Notes”) pertain to, are incorporated
  by reference in, and comprise an integral part of the Schedules. These Global Notes should be
  referred to, and reviewed in connection with any review of the Schedules.2 These Global Notes
  are intended to supplement the Global Notes filed at Docket No. 247 and 248 which remain
  applicable to the Schedules and Statement of Financial Affairs (“SoFA”) filed at Docket No. 247
  and 248, respectively and, to the extent not revised, shall be applicable to the attached Schedules.
                  The Schedules have been prepared by the Debtor with the assistance of its
  professionals and are unaudited and subject to further review and potential adjustment and
  amendment. In preparing the Schedules, the Debtor and its professionals relied on financial data
  derived from the Debtor’s books and records that was available at the time of preparation. The
  Debtor and its professionals have made reasonable efforts to ensure the accuracy and
  completeness of such financial information, however, subsequent information or discovery of
  other relevant facts may result in material changes to the Schedules and inadvertent errors,
  omissions, or inaccuracies may exist. The Debtor reserves all rights to amend or supplement its
  Schedules and SoFA.



  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
  2
    These Global Notes are in addition to any specific notes contained in the Debtor’s Schedules or SoFA. The fact
  that the Debtor has prepared a “general note” with respect to any of the Schedules and SoFA and not to others
  should not be interpreted as a decision by the Debtor to exclude the applicability of such general note to any of the
  Debtor’s remaining Schedules and SoFA, as appropriate.

                                                             1
  DOCS_DE:230758.1 36027/002
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            59 of3600
                                                                                   of 26




                  Reservation of Rights. The Debtor reserves all rights to amend the SoFA and
  Schedules in all respects, as may be necessary or appropriate, including, but not limited to, the
  right to dispute or to assert offsets or defenses to any claim reflected on the SoFA and Schedules
  as to amount, liability or classification of the claim, or to otherwise subsequently designate any
  claim as “disputed,” “contingent” or “unliquidated.” Furthermore, nothing contained in the
  SoFA and Schedules shall constitute a waiver of rights by the Debtor involving any present or
  future causes of action, contested matters or other issues under the provisions of the Bankruptcy
  Code or other applicable non-bankruptcy laws.
                  Description of the Case and “As Is” Information Date. On October 16, 2019
  (the “Petition Date”), the Debtor filed a voluntary petition for relief with the United States
  Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”) under Chapter
  11 of the Bankruptcy Code. The Debtor is managing its assets as a debtor in possession pursuant
  to sections 1107(a) and 1108 of the Bankruptcy Code. On December 4, 2019, the Delaware
  Bankruptcy Court entered an Order transferring this case to the Bankruptcy Court [Docket No.
  1].
                  Asset information in the Schedules reflects the Debtor’s best estimate of asset
  values as of the Petition Date, unless otherwise noted. No independent valuation has been
  obtained.
                  Basis of Presentation. The Schedules and SoFA do not purport to represent
  financial statements prepared in accordance with Generally Accepted Accounting Principles
  (“GAAP”), nor are they intended to fully reconcile to any financial statements otherwise
  prepared and/or distributed by the Debtor.
                    Although these Schedules and SoFA may, at times, incorporate information
  prepared in accordance with GAAP, the Schedules and SoFA neither purport to represent nor
  reconcile to financial statements prepared and/or distributed by the Debtor in accordance with
  GAAP or otherwise. Moreover, given, among other things, the valuation and nature of certain
  liabilities, to the extent that the Debtor shows more assets than liabilities, this is not a conclusion
  that the Debtor was solvent at the Petition Date. Likewise, to the extent that the Debtor shows
  more liabilities than assets, this is not a conclusion that the Debtor was insolvent at the Petition
  Date or any time prior to the Petition Date.
                  Estimates. To timely close the books and records of the Debtor, the Debtor and
  its professionals must make certain estimates and assumptions that affect the reported amounts of
  assets and liabilities and reported revenue and expenses. The Debtor reserves all rights to amend
  the reported amounts of assets, liabilities, revenue, and expenses to reflect changes in those
  estimates and assumptions.
                  Confidentiality. There may be instances within the Schedules and SoFA where
  names, addresses, or amounts have been left blank. Due to the nature of an agreement between
  the Debtor and the third party, concerns of confidentiality, or concerns for the privacy of an
  individual, the Debtor may have deemed it appropriate and necessary to avoid listing such
  names, addresses, and amounts.




                                                     2
  DOCS_DE:230758.1 36027/002
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            60 of4600
                                                                                   of 26




                   Intercompany Claims. Any receivables and payables between the Debtor and
  affiliated or related entities in this case (each an “Intercompany Receivable” or “Intercompany
  Payable” and, collectively, the “Intercompany Claims”) are reported as assets on Schedule B or
  liabilities on Schedule E and Schedule F. These Intercompany Claims include the following
  components, among others: 1) loans to affiliates or related entities, 2) accounts payable and
  payroll disbursements made out of an affiliate’s or related entity’s bank accounts on behalf of the
  Debtor, 3) centrally billed expenses, 4) corporate expense allocations, and 5) accounting for trade
  and other intercompany transactions. These Intercompany Claims may or may not result in
  allowed or enforceable claims by or against the Debtor, and by listing these claims the Debtor is
  not indicating a conclusion that the Intercompany Claims are enforceable. Intercompany Claims
  may also be subject to set off, recoupment, and netting not reflected in the Schedules. In
  situations where there is not an enforceable claim, the assets and/or liabilities of the Debtor may
  be greater or lesser than the amounts stated herein. All rights to amend intercompany Claims in
  the Schedules and SoFA are reserved.
                 The Debtor has listed the intercompany payables as unsecured claims on Schedule
  F. The Debtor reserves its rights to later change the characterization, classification,
  categorization, or designation of such items.
                 Insiders. For purposes of the Schedules and SoFA, the Debtor defines “insider”
  pursuant to section 101(31) of the Bankruptcy Code. Payments to insiders are set forth on
  Question 3.c. of the SoFA.
                  Persons listed as “insiders” have been included for informational purposes only.
  The Debtor did not take any position with respect to whether such individual could successfully
  argue that he or she is not an “insider” under applicable law, including without limitation, the
  federal securities laws, or with respect to any theories of liability or for any other purpose.
  Inclusion of any party in the Schedules and SoFA as an insider does not constitute an admission
  that such party is an insider or a waiver of such party’s right to dispute insider status.
                   Excluded Accruals and GAAP Entries. The Debtor’s balance sheet reflects
  liabilities recognized in accordance with GAAP; however, not all such liabilities would result in
  a claim against the Debtor. Certain liabilities (including but not limited to certain reserves,
  deferred charges, and future contractual obligations) have not been included in the Debtor’s
  Schedules. Other immaterial assets and liabilities may also have been excluded.
                  Classification and Claim Descriptions. Any failure to designate a claim on the
  Schedules as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
  Debtor that such amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves
  the right to dispute, or to assert offsets or defenses to, any claim reflected on its Schedules as to
  amount, liability or classification or to otherwise subsequently designate any claim as “disputed,”
  “contingent” or “unliquidated.”

                  Listing a claim (i) in Schedule D as “secured,” (ii) in Schedule E as “priority” or
  (iii) in Schedule F as “unsecured nonpriority,” or listing a contract in Schedule G as “executory”
  or “unexpired,” does not constitute an admission by the Debtor of the legal rights of the claimant
  or a waiver of the Debtor’s right to recharacterize or reclassify such claim or contract.


                                                   3
  DOCS_DE:230758.1 36027/002
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            61 of5600
                                                                                   of 26




                   Moreover, the Debtor reserves all rights to amend the SoFA and Schedules, in all
  respects, as may be necessary or appropriate, including, but not limited to, the right to dispute or
  to assert offsets or defenses to any claim reflected on the SoFA and Schedules as to amount,
  liability or classification of the claim, or to otherwise subsequently designate any claim as
  “disputed,” “contingent” or “unliquidated.” Furthermore, nothing contained in the SoFA and
  Schedules shall constitute a waiver of rights by the Debtor involving any present or future causes
  of action, contested matters or other issues under the provisions of the Bankruptcy Code or other
  relevant non-bankruptcy laws.

                 Credits and Adjustments. The claims of individual creditors for, among other
  things, goods, products, services or taxes are listed as the amounts entered on the Debtor’s books
  and records and may not reflect credits, allowances or other adjustments due from such creditors
  to the Debtor. The Debtor reserves all of its rights respecting such credits, allowances or other
  adjustments.

                  Setoffs. The Debtor may incur setoffs from third parties in its business. Setoffs
  in the ordinary course can result from various routine transactions, including intercompany
  transactions, pricing discrepancies, warranty claims and other disputes between the Debtor and
  third parties. Certain of these constitute normal setoffs consistent with the ordinary course of
  business in the Debtor’s industry. In such instances, such ordinary course setoffs are excluded
  from the Debtor’s responses to Question 13 of the SoFA. The Debtor reserves all rights to
  enforce or challenge, as the case may be, any setoffs that have been or may be asserted.
                 Specific Notes. These general notes are in addition to the specific notes set forth
  below or in the related Statement and Schedules hereinafter.

                                          General Disclaimer

                  The Debtor has prepared the Schedules and the SoFA based on the information
  reflected in the Debtor’s books and records. However, inasmuch as the Debtor’s books and
  records have not been audited or formally closed and evaluated for proper cut-off on the Petition
  Date, the Debtor cannot warrant the absolute accuracy of these documents. The Debtor has
  made a diligent effort to complete these documents accurately and completely. To the extent
  additional information becomes available, the Debtor will amend and supplement the Schedules
  and SoFA.


                                    Specific Schedules Disclosures

          a.       Schedule E/F - Creditors Who Have Unsecured Claims.

                   Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
                   Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                   Reimbursable Business Expenses, and Employee Benefit Obligations, and (B)
                   Maintain and Continue Certain Compensation and Benefit Programs
                   Postpetition; and (11) Granting Related Relief [Docket No. 39] (the “Wage
                   Order”), the Debtor received authority to pay certain prepetition obligations,


                                                    4
  DOCS_DE:230758.1 36027/002
Case 19-34054-sgj11
  Case              Doc 29
       21-03005-sgj Doc 1082-1
                           FiledFiled 09/22/20
                                 05/24/21       Entered
                                            Entered     09/22/20
                                                    05/24/21     16:32:20
                                                             10:22:39  PagePage
                                                                            62 of6600
                                                                                   of 26




                   including to pay employee wages and other employee benefits, in the ordinary
                   course of business. The Debtor believes that any non-insider employee claims for
                   prepetition amounts related to ongoing payroll and benefits, whether allowable as
                   a priority or nonpriority claim, which were due and payable at the time of the
                   Petition Date have been or will be satisfied as permitted pursuant to the Wage
                   Order. The Debtor filed the Motion of the Debtor for Entry of an Order
                   Authorizing the Debtor to Pay and Honor Ordinary Course Obligations under
                   Employee Bonus Plans and Granting Related Relief [Docket No. 177] pursuant to
                   which the Debtor sought authority to pay and honor certain prepetition bonus
                   programs. The Court granted certain relief with respect to this motion at Docket
                   No. 380. Employee claims related to these programs are shown in the aggregate
                   amounts in Schedule E/F for privacy reasons. Additional information is available
                   by appropriate request to the Debtor. The listing of a claim on Schedule E/F, Part
                   1, does not constitute an admission by the Debtor that such claim or any portion
                   thereof is entitled to priority status.

                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from the Debtor’s books and records. The
                   Debtor made a reasonable attempt to set forth its unsecured obligations, although
                   the actual amount of claims against the Debtor may vary from those liabilities
                   represented on Schedule E/F, Part 2. The listed liabilities may not reflect the
                   correct amount of any unsecured creditor’s allowed claims or the correct amount
                   of all unsecured claims.

                   Schedule E/F, Part 2 reflects liabilities based on the Debtor’s books and records.

                   Schedule E/F, Part 2, contains information regarding threatened or pending
                   litigation involving the Debtor. The amounts for these potential claims are listed
                   as “unknown” and are marked as contingent, unliquidated, and disputed in the
                   Schedules and Statements. Additionally, the amounts of certain litigation claims
                   may be estimates based on the allegations asserted by the litigation counterparty,
                   and do not constitute an admission by the Debtor with respect to either liability
                   for, or the amount of, such claims.

                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Such prepetition amounts, however,
                   may be paid in connection with the assumption or assumption and assignment of
                   an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                   not include claims that may arise in connection with the rejection of any
                   executory contracts and unexpired leases, if any, that may be or have been
                   rejected.

                   As of the time of filing of the Schedules and Statements, the Debtor had not
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtor reserves its rights to amend
                   Schedules D and E/F if and as it receive such invoices.

                                                    5
  DOCS_DE:230758.1 36027/002
       Case 19-34054-sgj11
         Case              Doc 29
              21-03005-sgj Doc 1082-1
                                  FiledFiled 09/22/20
                                        05/24/21       Entered
                                                   Entered     09/22/20
                                                           05/24/21     16:32:20
                                                                    10:22:39  PagePage
                                                                                   63 of7600
                                                                                          of 26

 Fill in this information to identify the case:

 Debtor name            Highland Capital Management, L.P.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               19-34054-SGJ
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           523,970.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $     409,580,813.30

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $     410,104,783.30


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       34,862,225.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            13,650.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$     244,753,977.33


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        279,629,853.27




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
         Case 19-34054-sgj11
           Case              Doc 29
                21-03005-sgj Doc 1082-1
                                    FiledFiled 09/22/20
                                          05/24/21       Entered
                                                     Entered     09/22/20
                                                             05/24/21     16:32:20
                                                                      10:22:39  PagePage
                                                                                     64 of8600
                                                                                            of 26

 Fill in this information to identify the case:

 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          19-34054-SGJ
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           Unknown
           All Employees                                             Check all that apply.
           300 Crescent Ct.                                           Contingent
           Suite 700                                                  Unliquidated
           Dallas, TX 75201
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Employee Wages & Bonuses
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $13,650.00         $13,650.00
           Andrew Parmentier                                         Check all that apply.
           1821 Redwood Ave.                                          Contingent
           Boulder, CO 80304                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           5/31/2019                                                 Separation and Release Agreement
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   10795                                 Best Case Bankruptcy
       Case 19-34054-sgj11
         Case              Doc 29
              21-03005-sgj Doc 1082-1
                                  FiledFiled 09/22/20
                                        05/24/21       Entered
                                                   Entered     09/22/20
                                                           05/24/21     16:32:20
                                                                    10:22:39  PagePage
                                                                                   65 of9600
                                                                                          of 26

 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          45 Employees                                                        Contingent
          300 Crescent Ct.
          Suite 700
                                                                              Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred      2017, 2018 & 2019                   Basis for the claim:    Deferred Awards
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $5,758,166.67
          46 Employees                                                        Contingent
          300 Crescent Ct.                                                    Unliquidated
          Suite 700
                                                                              Disputed
          Dallas, TX 75201
          Date(s) debt was incurred      2018                                Basis for the claim:    Prior year employee bonuses
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,399.83
          Abrams & Bayliss                                                    Contingent
          20 Montchanin Road, Suite 200                                       Unliquidated
          Wilmington, DE 19807                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,324.25
          ACA Compliance Group                                                Contingent
          8403 Colesville Road                                                Unliquidated
          Suite 870                                                           Disputed
          Silver Spring, MD 20910
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Acis Capital Management
          c/o Brian P. Shaw                                                   Contingent
          Rogge Dunn Group PC                                                 Unliquidated
          500 N. Akard Street Ste 1900                                        Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Acis Capital Management, L.P.
          c/o Brian P. Shaw                                                   Contingent
          Rogge Dunn Group, PC                                                Unliquidated
          500 N. Akard Street Ste 1900                                        Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,825.00
          Action Shred of Texas                                               Contingent
          1420 S. Barry Ave                                                   Unliquidated
          Dallas, TX 75223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  10 of
                                                                                    66 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $113,947.86
          Akin Gump Strauss Hauer & Feld LLP                                  Contingent
          1700 Pacific Avenue                                                 Unliquidated
          Suite 4100                                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          All Employees                                                       Contingent
          300 Crescent Ct.
          Suite 700
                                                                              Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Employee Bonuses
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,522.33
          Allen ISD
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 2301                               Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,188.30
          Allen ISD
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 9351                               Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,234.00
          Alston & Bird LLP                                                   Contingent
          1201 W. Peachtree Street                                            Unliquidated
          Atlanta, GA 30309-3424                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $55,511.80
          American Arbitration Association                                    Contingent
          120 Broadway. 21st Floor                                            Unliquidated
          New York, NY 10271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,470.04
          American Solutions for Business                                     Contingent
          NW#7794                                                             Unliquidated
          PO Box 1450                                                         Disputed
          Minneapolis, MN 55485-7794
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  11 of
                                                                                    67 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $136,350.00
          Andrew Parmentier                                                   Contingent
          1821 Redwood Ave.                                                   Unliquidated
          Boulder, CO 80304                                                   Disputed
          Date(s) debt was incurred      5/31/2019                           Basis for the claim:    Seperation and Release Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $137,637.81
          Andrews Kurth
          111 Congress Ave                                                    Contingent
          Suite 1700                                                          Unliquidated
          Attn: Scott Brister                                                 Disputed
          Austin, TX 78701
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $647.59
          Arkadin, Inc.                                                       Contingent
          Lockbox #32726                                                      Unliquidated
          Collection Center Dr                                                Disputed
          Chicago, IL 60693-0726
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $77,044.60
          ASW Law Limited                                                     Contingent
          Crawford House                                                      Unliquidated
          50 Cedar Avenue                                                     Disputed
          Hamilton HM11 Bermuda
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $927.16
          AT&T                                                                Contingent
          PO BOX 5001                                                         Unliquidated
          Carol Stream, IL 60197-5001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,728.59
          AT&T Mobilty                                                        Contingent
          PO Box 6444                                                         Unliquidated
          Carol Stream, IL 60197-6444                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,855.79
          Bates White, LLC                                                    Contingent
          2001 K Street, NW                                                   Unliquidated
          North Building, Suite 500                                           Disputed
          Washington, DC 20006
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  12 of
                                                                                    68 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,934.79
          Bell Nunnally & Martin LLP                                          Contingent
          3232 MCKINNEY AVE                                                   Unliquidated
          STE 1400                                                            Disputed
          DALLAS, TX 75204
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,384.89
          Bloomberg Finance LP                                                Contingent
          731 Lexington Ave.                                                  Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $115,714.80
          Boies, Schiller & Flexner LLP                                       Contingent
          5301 Wisconsin Ave NW                                               Unliquidated
          Washington, DC 20015-2015                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $69.00
          Brandywine Process Servers, Ltd.                                    Contingent
          PO Box 1360                                                         Unliquidated
          Wilmington, DE 19899                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $325.00
          Caledonian Directors Limited                                        Contingent
          PO Box 1043                                                         Unliquidated
          George Town                                                         Disputed
          Grand Cayman KY1-1002
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,233.60
          Canteen Vending Services                                            Contingent
          PO Box 417632                                                       Unliquidated
          Boston, MA 02241-7632                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,059,337.01
          Carey International, Inc.                                           Contingent
          7445 New Technology Way                                             Unliquidated
          Frederick, MD 21703
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Uncompleted Transaction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  13 of
                                                                                    69 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,930.00
          Carey Olsen                                                         Contingent
          PO Box 10008                                                        Unliquidated
          Willow House, Cricket Square                                        Disputed
          Grand Cayman KY1-1001
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $417.20
          Case Anywhere LLC                                                   Contingent
          21860 Burbank Blvd.                                                 Unliquidated
          Ste 125                                                             Disputed
          Woodland Hills, CA 91367
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.77
          CBIZ Valuation Group, LLC                                           Contingent
          ATTN: ACCOUNTS RECEIVABLE                                           Unliquidated
          PO BOX 849846                                                       Disputed
          DALLAS, TX 75284-9846
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,998.70
          CDW Direct                                                          Contingent
          PO Box 75723                                                        Unliquidated
          Chicago, IL 60675-5723                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,155.00
          Centroid                                                            Contingent
          1050 Wilshire Dr.                                                   Unliquidated
          Ste #170                                                            Disputed
          Troy, MI 48084
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.81
          Chase Couriers, Inc                                                 Contingent
          1220 Champion Circle                                                Unliquidated
          #114                                                                Disputed
          Carrollton, TX 75006
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,340,751.26
          CLO Holdco, Ltd.
          c/o Grant Scott, Esq                                                Contingent
          Myers Bigel Sibley & Sajovec, P.A.                                  Unliquidated
          4140 Park Lake Ave, Ste 600                                         Disputed
          Raleigh, NC 27612
                                                                             Basis for the claim:    Contractual Obligation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  14 of
                                                                                    70 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $198,760.29
          Cole Schotz
          Court Plaza North                                                   Contingent
          25 Main Street                                                      Unliquidated
          P.O. Box 800                                                        Disputed
          Hackensack, NJ 07602-0800
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,500.00
          Coleman Research Group, Inc.                                        Contingent
          120 West 45th St                                                    Unliquidated
          25th Floor                                                          Disputed
          New York, NY 10036
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,090.46
          Concur Technologies, Inc.                                           Contingent
          18400 NE Union Hill Road                                            Unliquidated
          Redmond, WA 98052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $118,831.25
          Connolly Gallagher LLP                                              Contingent
          1201 North Market Street                                            Unliquidated
          20th Floor                                                          Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,200.00
          Crescent Research                                                   Contingent
          PO Box 64-3622                                                      Unliquidated
          Vero Beach, FL 32964                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $826.01
          CSI Global Deposition Services                                      Contingent
          Accounting Dept-972-719-5000                                        Unliquidated
          4950 N. O'Connor Rd, 1 st Fl                                        Disputed
          Irving, TX 75062-2778
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $515.25
          CT Corp                                                             Contingent
          PO Box 4349                                                         Unliquidated
          Carol Stream, IL 60197-4349                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  15 of
                                                                                    71 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          CVE Technologies Group Inc.                                         Contingent
          1414 S. Gustin Rd.                                                  Unliquidated
          Salt Lake City, UT 84104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,809.87
          Dallas County
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 3150                               Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,226.25
          Daniel Sheehan & Associates, PLLC                                   Contingent
          8150 N. Central Expressway                                          Unliquidated
          Suite 100                                                           Disputed
          Dallas, TX 75206
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,658.79
          Debevoise & Plimpton LLP                                            Contingent
          c/o Accounting Dept. 28th Floor                                     Unliquidated
          909 Third Ave                                                       Disputed
          New York, NY 10022
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $553.46
          Denton County                                                       Contingent
          PO Box 90223                                                        Unliquidated
          Denton, TX 76202                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Ad Valorem Taxes
          Last 4 digits of account number       0DEN
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $3.68
          Denton County                                                       Contingent
          PO Box 90223                                                        Unliquidated
          Denton, TX 76202                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Ad Valorem Taxes
          Last 4 digits of account number       5DEN
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,318,730.36
          DLA Piper LLP (US)                                                  Contingent
          1900 N Pearl St, Suite 2200                                         Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  16 of
                                                                                    72 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,038.26
          Dow Jones & Company, Inc.                                           Contingent
          1211 Avenue of the Americas                                         Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $3.30
          DTCC ITP LLC                                                        Contingent
          PO Box 27590                                                        Unliquidated
          New York, NY 10087-7590                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $350,000.00
          Duff & Phelps, LLC
          c/o David Landman                                                   Contingent
          Benesch, Friedlander, Coplan & Aronoff                              Unliquidated
          200 Public Sq. Suite 2300                                           Disputed
          Cleveland, OH 44114-4000
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,837.30
          Elite Document Technology                                           Contingent
          403 North Stemmons Freeway Suite 100                                Unliquidated
          Dallas, TX 75207                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,972.65
          Epiq eDiscovery Solutions                                           Contingent
          Dept 2651                                                           Unliquidated
          PO Box 122651                                                       Disputed
          Dallas, TX 75312-2651
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,430.14
          Eric Girard                                                         Contingent
          312 Polo Trl                                                        Unliquidated
          Colleyville, TX 76034                                               Disputed
          Date(s) debt was incurred      10/14/2019                          Basis for the claim:    Consulting fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,546.65
          Felicity Toube QC                                                   Contingent
          3-4 South Square                                                    Unliquidated
          Gray's Inn                                                          Disputed
          London, WC1R 5HP
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  17 of
                                                                                    73 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,446,136.66
          Foley Gardere                                                       Contingent
          2021 McKinney Ave                                                   Unliquidated
          Suite 1600                                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $108.95
          Four Seasons Plantscaping, LLC                                      Contingent
          139 Turtle Creek Blvd.                                              Unliquidated
          Dallas, TX 75207-6807                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $522.72
          Gardner Haas PLLC                                                   Contingent
          2501 N. Harwood Street                                              Unliquidated
          Suite 1250                                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $561.75
          Gold's Gym International
          Attn: Corporate Billing                                             Contingent
          125 E John Carpenter Frwy                                           Unliquidated
          Suite 1300                                                          Disputed
          Irving, TX 75062
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,371.07
          Greenwood Office Outfitters                                         Contingent
          2951 Suffolk Drive                                                  Unliquidated
          Suite 640                                                           Disputed
          Fort Worth, TX 76133-1149
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,250.00
          Greyline Solutions                                                  Contingent
          PO Box 733976                                                       Unliquidated
          Dallas, TX 75373-3976                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,464.13
          Harder LLP                                                          Contingent
          132 S. RODEO DRIVE                                                  Unliquidated
          FOURTH FLOOR                                                        Disputed
          BEVERLY HILLS, CA 90212
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  18 of
                                                                                    74 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $248,745.28
          Highland Capital Management (Singapore)                             Contingent
          300 Crescent Ct.                                                    Unliquidated
          Suite 700
                                                                              Disputed
          Dallas, TX 75201
                                                                             Basis for the claim: The balance shown is updated annually for service
          Date(s) debt was incurred Prior to 12/31/2018
                                                                             fees and has not been updated since 12/31/2018
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $599,187.26
          Highland CLO Management Ltd.
          PO Box 309                                                          Contingent
          Ugland House                                                        Unliquidated
          Grand Cayman KY1-1104                                               Disputed
          Cayman Island
                                                                             Basis for the claim:    Interest payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $9,541,446.00
          Highland CLO Management Ltd.
          PO Box 309                                                          Contingent
          Ugland House                                                        Unliquidated
          Grand Cayman KY1-1104                                               Disputed
          Cayman Island
                                                                             Basis for the claim:    Note payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,447,870.00
          Highland RCP Offshore, LP                                           Contingent
          300 Crescent Ct.                                                    Unliquidated
          Suite 700                                                           Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Unearned Revenue
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,945,067.00
          Highland RCP, LP                                                    Contingent
          300 Crescent Ct.                                                    Unliquidated
          Suite 700                                                           Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Unearned Revenue
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $107,221.92
          Hunton Andrews Kurth LLP                                            Contingent
          1445 Ross Avenue                                                    Unliquidated
          Suite 3700                                                          Disputed
          Dallas, TX 75202-2799
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,565.23
          ICE Data Pricing & Reference Data, LLC                              Contingent
          PO Box 98616                                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  19 of
                                                                                    75 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,995.00
          Intralinks                                                          Contingent
          P.O. Box 10259                                                      Unliquidated
          New York, NY 10259                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,352.27
          JAMS, Inc                                                           Contingent
          PO Box 512850                                                       Unliquidated
          Los Angelos, CA 90051-0850                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $425,000.00
          Joshua & Jennifer Terry
          c/o Brian P. Shaw, Esq.                                             Contingent
          Rogge Dunn Group, PC                                                Unliquidated
          500 N. Akard Street, Suite 1900                                     Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,695.00
          Katten Muchin Rosenman LLP                                          Contingent
          525 W Monroe St                                                     Unliquidated
          Chicago, IL 60661-3693                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $585.09
          Kaufman County
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 0606                               Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,090.25
          Kaufman County
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 0600                               Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.05
          Kaufman County
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 0600                               Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  20 of
                                                                                    76 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,732.15
          Kaufman County
          Attn: Elizabeth Weller                                              Contingent
          2777 N. Stemmons Freeway                                            Unliquidated
          Suite 1000                                                          Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Ad Valorem Taxes
          Date(s) debt was incurred 2019
          Last 4 digits of account number 0600                               Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,425.72
          Legalpeople LLC                                                     Contingent
          134 N LaSalle Street                                                Unliquidated
          Suite 800                                                           Disputed
          Chicago, IL 60602
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,778.01
          Levinger PC                                                         Contingent
          1445 Ross Avenue                                                    Unliquidated
          Suite 2500                                                          Disputed
          Dallas, TX 75202
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,583.66
          Lexitas                                                             Contingent
          PO Box 734298                                                       Unliquidated
          Dept. 2012                                                          Disputed
          Dallas, TX 75373-4298
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,628.65
          Loews Coronado Bay Resort                                           Contingent
          4000 Coronado Bay Road                                              Unliquidated
          Coronado, CA 92118                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $436,538.06
          Lynn Pinker Cox & Hurst, LLP                                        Contingent
          2100 Ross Ave                                                       Unliquidated
          Suite 2700                                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,800.11
          Maples and Calder                                                   Contingent
          UGLAND HOUSE                                                        Unliquidated
          PO BOX 309GT; S CHURCH ST                                           Disputed
          George Town Grand Cayman
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  21 of
                                                                                    77 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,015.91
          MarkitWSO Corporation                                               Contingent
          Three Lincoln Centre                                                Unliquidated
          5430 LBJ Frwy; Ste 800                                              Disputed
          Dallas, TX 75240
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,163,976.00
          McKool Smith                                                        Contingent
          300 Crescent Court                                                  Unliquidated
          Suite 1500                                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $780,645.36
          Meta-e Discovery LLC                                                Contingent
          Six Landmark Square                                                 Unliquidated
          Fourth Floor                                                        Disputed
          Stamford, CT 06901
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          Nick Meserve                                                        Contingent
          11835 Brandywine Ln                                                 Unliquidated
          Houston, TX 77024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $375,000.00
          NWCC, LLC
          c/o of Michael A. Battle                                            Contingent
          Barnes & Thornburg, LLP                                             Unliquidated
          1717 Pennsylvania Ave N.W. Ste 500                                  Disputed
          Washington, DC 20006
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,669.86
          Opus 2 International, Inc.                                          Contingent
          100 Pine Street                                                     Unliquidated
          Suite 560                                                           Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $435.30
          PACER Service Center                                                Contingent
          P.O. Box 5208                                                       Unliquidated
          Portland, OR 97208-5208                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  22 of
                                                                                    78 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,700,000.00
          Patrick Daugherty
          c/o Thomas A. Uebler                                                Contingent
          McCollom D'Emilio Smith                                             Unliquidated
          2751 Centerville Rd #401                                            Disputed
          Wilmington, DE 19808
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,611.00
          Pitney Bowes- Purchase Power                                        Contingent
          PO Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-2648                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,064.58
          ProStar Services, Inc                                               Contingent
          PO Box 110209                                                       Unliquidated
          Carrollton, TX 75011                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,608.17
          Quintairos, Prieto Wood & Boyer                                     Contingent
          865 S. Figueroa St                                                  Unliquidated
          10th FL                                                             Disputed
          Los Angeles, CA 90017
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $189,314,946.00
          Redeemer Committee - Highland Crusader                              Contingent
          Attn: Eric Felton
          731 Pleasant Ave.
                                                                              Unliquidated
          Glen Ellyn, IL 60137                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claim
          Last 4 digits of account number                                    Is the claim subject to offset?    No     Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $258,526.25
          Reid Collins & Tsai                                                 Contingent
          810 Seventh Ave Ste 410                                             Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,478.59
          Scott Douglass & McConnico LLP                                      Contingent
          303 Colorado St                                                     Unliquidated
          Ste 2400                                                            Disputed
          Austin, TX 78701
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  23 of
                                                                                    79 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $24.37
          Secured Access Systems, LLC                                         Contingent
          1913 Walden Court                                                   Unliquidated
          Flower Mound, TX 75022                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,183.88
          Siepe Services, LLC                                                 Contingent
          5440 Harvest Hill Road                                              Unliquidated
          Suite 100                                                           Disputed
          Dallas, TX 75230
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $309.11
          Southland Property Tax Consultants, Inc                             Contingent
          421 W. 3rd Street                                                   Unliquidated
          Ste 920                                                             Disputed
          Fort Worth, TX 76102
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,208.40
          Squire Patton Boggs (US) LLP                                        Contingent
          PO Box 643051                                                       Unliquidated
          Cincinnati, OH 45264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    See Exhibit A
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          Stanton Advisors LLC                                                Contingent
          300 Coles Street                                                    Unliquidated
          Apt. 802                                                            Disputed
          Jersey City, NJ 07310
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,712.65
          Stanton LLP                                                         Contingent
          9400 N Central Expwy
          Ste 1304
                                                                              Unliquidated
          Dallas, TX 75231                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    See Exhibit A
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          State Street Global Exchange                                        Contingent
          Elkins/McSherry, LLC                                                Unliquidated
          One Lincoln Street                                                  Disputed
          Boston, MA 02111
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  24 of
                                                                                    80 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $246,802.54
          Stinson Leonard Street LLP                                          Contingent
          PO Box 843052
          Kansas City, MO 64184
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    See Exhibit A
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,158.52
          Thomson West                                                        Contingent
          PO Box 64833                                                        Unliquidated
          St. Paul, MN 55164-0833                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          UBS AG, London Branch
          c/o Andrew Clubock, Esq.                                            Contingent
          Latham & Watkins LLP                                                Unliquidated
          555 11th Street NW #1000                                            Disputed
          Washington, DC 20004
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          UBS Securities LLC
          c/o Andrew Clubock                                                  Contingent
          Latham & Watkins LLP                                                Unliquidated
          555 11th Street NW #1000                                            Disputed
          Washington, DC 20004
                                                                             Basis for the claim:    Litigation Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90.45
          UPS Supply Chain Solutions                                          Contingent
          28013 Network Place                                                 Unliquidated
          Chicago, IL 60673-1280                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,334.80
          Wakefield Quin                                                      Contingent
          Victoria Place                                                      Unliquidated
          31 Victoria St                                                      Disputed
          Hamilton, HM10 Bermuda
                                                                             Basis for the claim:    See Exhibit A
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,411.87
          Wilks, Lukoff & Bracegirdle, LLC                                    Contingent
          4250 Lancaster Pike                                                 Unliquidated
          #200                                                                Disputed
          Wilmington, DE 19805
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  25 of
                                                                                    81 of 600
                                                   26
 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.113     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,348.31
           Xerox Corporation                                                  Contingent
           PO Box 650361                                                      Unliquidated
           Dallas, TX 75265                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      13,650.00
 5b. Total claims from Part 2                                                                            5b.    +   $                 244,753,977.33

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                    244,767,627.33




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 18 of 18
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
         Case
          Case19-34054-sgj11 Doc29
               21-03005-sgj Doc  1082-1  Filed 09/22/20
                                   Filed 05/24/21        Entered
                                                    Entered      09/22/20
                                                            05/24/21      16:32:20
                                                                     10:22:39  Page Page  26 of
                                                                                    82 of 600
                                                   26




 Fill in this information to identify the case:

 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         19-34054-SGJ
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule             Amended Schedule E/F and Summary of assets and liabilities for non-individuals
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 22, 2020                      X
                                                                         Signature of individual signing on behalf of debtor


                                                                         Printed name


                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 83 of 600




                                EXHIBIT 30
           Case19-34054-sgj11
           Case 21-03005-sgj Doc
                              Doc29248
                                    Filed  05/24/21
                                        Filed 12/13/19Entered 05/24/21
                                                         Entered       10:22:39
                                                                 12/13/19 22:34:17 Page 84 of  600
                                                                          Docket #0248Page
                                                                                       Date 1  of
                                                                                            Filed:34
                                                                                                   12/13/2019




 Fill in this information to identify the case:

 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         19-34054-SGJ
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue              Gross revenue
       which may be a calendar year                                                            Check all that apply            (before deductions and
                                                                                                                               exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business               $28,431,156.97
       From 1/01/2019 to Filing Date
                                                                                                   Other    Exhibit A


       From the beginning of the fiscal year to filing date:                                       Operating a business              $125,310,540.63
       From 1/01/2019 to Filing Date                                                                     Exhibit A - Other
                                                                                                   Other Gain/(Loss)


       For prior year:                                                                             Operating a business               $50,365,069.40
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Exhibit A


       For prior year:                                                                             Operating a business              $-52,929,268.33
       From 1/01/2018 to 12/31/2018                                                                      Exhibit A - Other
                                                                                                   Other Gain/(Loss)


       For year before that:                                                                       Operating a business               $67,911,079.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Exhibit A


       For year before that:                                                                       Operating a business               $47,701,590.21
       From 1/01/2017 to 12/31/2017                                                                      Exhibit A - Other
                                                                                                   Other Gain/(Loss)




                                                                                                             ¨1¤}HV3,-                  'x«
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                                                                                                 1934054191213000000000007
           Case19-34054-sgj11
           Case 21-03005-sgj Doc
                              Doc29248
                                    Filed  05/24/21
                                        Filed 12/13/19Entered 05/24/21
                                                         Entered       10:22:39
                                                                 12/13/19 22:34:17Page 85 of
                                                                                    Page     600
                                                                                          2 of 34
 Debtor       Highland Capital Management, L.P.                                                         Case number (if known) 19-34054-SGJ



2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue               Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Exhibit B                                                                               $23,255,006.86                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Exhibit C                                                                               $36,608,252.91


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case19-34054-sgj11
           Case 21-03005-sgj Doc
                              Doc29248
                                    Filed  05/24/21
                                        Filed 12/13/19Entered 05/24/21
                                                         Entered       10:22:39
                                                                 12/13/19 22:34:17Page 86 of
                                                                                    Page     600
                                                                                          3 of 34
 Debtor       Highland Capital Management, L.P.                                                             Case number (if known) 19-34054-SGJ




           None.

               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    Exhibit D                                                                                                                  Pending
                                                                                                                                          On appeal
                                                                                                                                          Concluded

       7.2.    Internal dispute resolution                       IRS Appeal                   Department of the Treasury                  Pending
               department within the IRS                                                      4050 Alpha Road                             On appeal
                                                                                              Suite 517, MC: 8000NDAL                     Concluded
                                                                                              Dallas, TX 75201-7849


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                                Value

       9.1.    Exhibit E                                         Debtor does not track recipient of gift or
                                                                 contribution.                                                                            $445,725.61

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                Dates of loss                Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case19-34054-sgj11
          Case 21-03005-sgj Doc
                             Doc29248
                                   Filed  05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                        Entered       10:22:39
                                                                12/13/19 22:34:17Page 87 of
                                                                                   Page     600
                                                                                         4 of 34
 Debtor        Highland Capital Management, L.P.                                                         Case number (if known) 19-34054-SGJ



                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Development Specialists, Inc.
                10 South LaSalle
                Suite 3300
                Chicago, IL 60603                                                                                              10/07/2019        $250,000.00

                Email or website address
                dsiconsulting.com

                Who made the payment, if not debtor?




       11.2.    Pachulski Stang Ziehl &
                Jones LLP
                10100 Santa Monica Blvd.
                13th Floor
                Los Angeles, CA 90067                                                                                          10/02/2019        $500,000.00

                Email or website address
                http://www.pszjlaw.com/

                Who made the payment, if not debtor?




       11.3.    Kurtzman Carson
                Consultants LLC
                Dept CH 16639
                Palatine, IL 60055                                                                                             10/07/2019          $50,000.00

                Email or website address
                https://www.kccllc.com/

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case19-34054-sgj11
           Case 21-03005-sgj Doc
                              Doc29248
                                    Filed  05/24/21
                                        Filed 12/13/19Entered 05/24/21
                                                         Entered       10:22:39
                                                                 12/13/19 22:34:17Page 88 of
                                                                                    Page     600
                                                                                          5 of 34
 Debtor        Highland Capital Management, L.P.                                                        Case number (if known) 19-34054-SGJ



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Highland Select Equity Fund,
       .    L.P.
               300 Crescent Ct.                                  Transfer of 888,731 shares of public
               Dallas, TX 75201                                  security in exchange for LP interest.                   12/26/2018               $19,632,067.79

               Relationship to debtor
               Fund managed by the debtor.


       13.2 Highland Select Equity Fund,
       .    L.P.
               300 Crescent Ct.                                  Transfer of 214,000 shares of public
               Dallas, TX 75201                                  security in exchange for LP interest.                   3/12/2018                 $6,385,760.00

               Relationship to debtor
               Fund managed by the debtor


       13.3 Highland Select Equity Fund,
       .    L.P.
               300 Crescent Ct.
               Suite 700                                         Transfer of 250,000 shares of public
               Dallas, TX 75201                                  security for LP interest                                7/23/2019                $10,297,500.00

               Relationship to debtor
               Fund managed by the debtor


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    Parkway Bent Tree                                                                                          10/16/2016 – 8/30/2018
                17130 Dallas Parkway
                Suite 230
                Dallas, TX 75248

       14.2.    2200 Ross Avenue                                                                                           10/16/2016 – 12/31/2018
                Suite 4700E
                Storage Site
                Dallas, TX 75201

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case19-34054-sgj11
           Case 21-03005-sgj Doc
                              Doc29248
                                    Filed  05/24/21
                                        Filed 12/13/19Entered 05/24/21
                                                         Entered       10:22:39
                                                                 12/13/19 22:34:17Page 89 of
                                                                                    Page     600
                                                                                          6 of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ



 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Debtor has information including SS#, tax ID, mailing address, email
                  address, and limited KYC for fund investors.
                  Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Highland 401(K) Plan                                                                       EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Highland Capital Management, L.P. Retirement Plan and Trust                                EIN: XX-XXXXXXX
                    (Defined Benefit Plan)

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
          Case19-34054-sgj11
          Case 21-03005-sgj Doc
                             Doc29248
                                   Filed  05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                        Entered       10:22:39
                                                                12/13/19 22:34:17Page 90 of
                                                                                   Page     600
                                                                                         7 of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ




          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?
       Iron Mountain                                                 Employee has login                   Firm-wide documents sent               No
       PO BOX 915004                                                 access to request                    off-site to retain documents           Yes
       Dallas, TX 75391                                              documents.                           per the firm's retention policy.

       Natural Disasters Site                                        Highland Capital                     Primary Data Center - Storage          No
       900 Venture Dr.                                               Management IT                                                               Yes
       Allen, TX 75013                                               Department

       Natural Disasters Site                                        Highland Capital                     Natural Disasters Site -               No
       3010 Waterview Parkway                                        Management IT                        Storage                                Yes
       Richardson, TX 75080                                          Department



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                           Value
       James Dondero                                                 300 Crescent Court                   Artwork                                   Unknown
                                                                     Suite 700
                                                                     Dallas, TX 75201


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                  Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case19-34054-sgj11
            Case 21-03005-sgj Doc
                               Doc29248
                                     Filed  05/24/21
                                         Filed 12/13/19Entered 05/24/21
                                                          Entered       10:22:39
                                                                  12/13/19 22:34:17Page 91 of
                                                                                     Page     600
                                                                                           8 of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ




             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Exhibit F                                                                                         EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Frank Waterhouse                                                                                                           10/23/06 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.2.       David Klos                                                                                                                 03/30/09 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.3.       Kristin Hendrix                                                                                                            12/16/04 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.4.       Sean Fox                                                                                                                   06/25/13 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.5.       Drew Wilson                                                                                                                02/06/12 - 09/14/18
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.6.       Hayley Eliason                                                                                                             11/26/18 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201
       26a.7.       Blair Roeber                                                                                                               09/01/15 - Current
                    300 Crescent Court
                    Suite 700
                    Dallas, TX 75201

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
          Case19-34054-sgj11
          Case 21-03005-sgj Doc
                             Doc29248
                                   Filed  05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                        Entered       10:22:39
                                                                12/13/19 22:34:17Page 92 of
                                                                                   Page     600
                                                                                         9 of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ




                None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       PricewaterhouseCoopers LLP                                                                                          2003 - Current
                    2121 N Pearl St
                    Dallas, TX 75201

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Boyd Gosserand
                    300 Crescent Ct.
                    St 700
                    Dallas, TX 75201
       26c.2.       Deloitte - Tax
                    PO Box 844736
                    Dallas, TX 75284
       26c.3.       Centroid -Accounting Software Consultant
                    6860 Dallas Pkwy Suite 560
                    Dallas, TX 75204
       26c.4.       Oracle - Accounting Software
                    PO Box 203448
                    Dallas, TX 75320
       26c.5.       Wolters Kluwer - Tax
                    PO Box 71882
                    Chicago, IL 60694

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       AgeeFisherBarrett, LLC
                    750 Hammond Dr BLDG 17
                    Atlanta, GA 30328
       26d.2.       Bowman Law LLC
                    840 Tom Wheeler Lane
                    Mc Ewen, TN 37101
       26d.3.       CBIZ Valuation Group, Inc.
                    3030 LBJ Freeway, Ste 1650
                    Dallas, TX 75234
       26d.4.       Cole Schotz
                    Court Plaza North
                    25 Main Street, PO Box 800
                    Hackensack, NJ 07602
       26d.5.       Colorado FSC
                    188 Inverness Drive West
                    Ste. 100
                    Centennial, CO 80112


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
           Case19-34054-sgj11
          Case  21-03005-sgj Doc
                              Doc29 Filed
                                  248     05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                       Entered        10:22:39
                                                               12/13/19 22:34:17Page 9310
                                                                                  Page of 600
                                                                                          of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ



       Name and address
       26d.6.       Concordeis
                    1120 East Long Lake Road
                    Ste 207
                    Troy, MI 48085
       26d.7.       Courtland T Group
                    PO Box 11929
                    Newport Beach, CA 92658
       26d.8.       Crown Capital Securities
                    725 Town & Country Rd
                    Ste 530
                    Orange, CA 92868
       26d.9.       Deloitte Tax LLP
                    PO Box 844736
                    Dallas, TX 75284
       26d.10.      DFPG Investments, Inc.
                    9017 S. Riverside Dr.
                    Ste 210
                    Sandy, UT 84070
       26d.11.      Discipline Advisors
                    14135 G-100 Midway Rd.
                    Dallas, TX 75244
       26d.12.      Development Specialists, Inc.
                    10 S. LaSalle St.
                    Chicago, IL 60603
       26d.13.      Emerson Equity
                    155 Bovet Rd. #725
                    San Mateo, CA 94402
       26d.14.      Frontier Bank
                    5100 S I-35 Service Rd.
                    Oklahoma City, OK 73129
       26d.15.      Grant Thornton LLP
                    33570 Treasury Center
                    Chicago, IL 60694
       26d.16.      Great Southern Bank
                    8201 Preston Road
                    Suite 305
                    Dallas, TX 75225
       26d.17.      Key Bank
                    ATTN: KREC Loan Services
                    4910 Tiedman Road
                    3rd Floor
                    Cleveland, OH 44144
       26d.18.      KPMG
                    3 Chesnut Ridge Rd
                    Montvale, NJ 07645
       26d.19.      Maples & Calder
                    Ugland House PO Box 309
                    S. Church Street George Town
                    Grand Cayman, Cayman Island



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
           Case19-34054-sgj11
          Case  21-03005-sgj Doc
                              Doc29 Filed
                                  248     05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                       Entered        10:22:39
                                                               12/13/19 22:34:17Page 9411
                                                                                  Page of 600
                                                                                          of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ



       Name and address
       26d.20.      Payne and Smith
                    5952 Royal Lane
                    Suite 158
                    Dallas, TX 75230
       26d.21.      PWC
                    PO Box 952282
                    Dallas, TX 75395
       26d.22.      Squire Patton Boggs
                    PO Box 643051
                    Cincinnati, OH 45264
       26d.23.      WC Capital Partners


       26d.24.      Western International Securities, Inc.
                    70 S. Lake Ave
                    Ste 700
                    Pasadena, CA 91101
       26d.25.      Jean Francois Lemay
                    52 Harold Street
                    Etobicoke M8Z 3R3

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Strand Advisors, Inc.                          300 Crescent Ct, Ste 700                            General Partner                       0.2508%
                                                      Dallas, TX 75201

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       The Dugaboy Investment                         300 Crescent Ct, Ste 700                            Voting Limited Partner                0.1866%
       Trust                                          Dallas, TX 75201

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark Okada                                     300 Crescent Ct, Ste 700                            Voting Limited Partner                0.0487%
                                                      Dallas, TX 75201

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark and Pamela Okada                          300 Crescent Ct, Ste 700                            Voting Limited Partner                0.0098%
       Family Trust                                   Dallas, TX 75201

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark and Pamela Okada                          300 Crescent Ct, Ste 700                            Voting Limited Partner                0.0042%
       Family Trust - #2                              Dallas, TX 75201



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
           Case19-34054-sgj11
          Case  21-03005-sgj Doc
                              Doc29 Filed
                                  248     05/24/21
                                       Filed 12/13/19Entered 05/24/21
                                                       Entered        10:22:39
                                                               12/13/19 22:34:17Page 9512
                                                                                  Page of 600
                                                                                          of 34
 Debtor      Highland Capital Management, L.P.                                                          Case number (if known) 19-34054-SGJ



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Hunter Mountain                                1100 N Market St                                    Non-voting Limited Partner          99.50%
       Investment Trust                               Wilmington, DE 19890

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       James Dondero                                  300 Crescent Ct, Ste 700                            Sole Shareholder of General         100%
                                                      Dallas, TX 75201                                    Partner

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       James Dondero                                  300 Crescent Ct, Ste 700                            President of General Partner        100% of the
                                                      Dallas, TX 75201                                                                        General
                                                                                                                                              Partner
       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Scott Ellington                                300 Crescent Ct, Ste 700                            Secretary of General Partner        0.00%
                                                      Dallas, TX 75201

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Frank Waterhouse                               300 Crescent Ct, Ste 700                            Treasurer of General Partner        0.00%
                                                      Dallas, TX 75201



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Mark Okada                                     300 Crescent Ct, Ste 700                            Executive Vice President       Since inception to
                                                      Dallas, TX 75201                                                                   9/30/2019

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Trey Parker                                    300 Crescent Ct, Ste 700                            Assistant Secretary            8/21/2015 -
                                                      Dallas, TX 75201                                                                   4/15/2019


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value
       30.1 Exhibit G
       .                                                         8,722,414.86

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 12
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Case19-34054-sgj11
Case  21-03005-sgj Doc
                    Doc29 Filed
                        248     05/24/21
                             Filed 12/13/19Entered 05/24/21
                                             Entered        10:22:39
                                                     12/13/19 22:34:17Page 9613
                                                                        Page of 600
                                                                                of 34
   Case19-34054-sgj11
  Case  21-03005-sgj Doc
                      Doc29 Filed
                          248     05/24/21
                               Filed 12/13/19Entered 05/24/21
                                               Entered        10:22:39
                                                       12/13/19 22:34:17Page 9714
                                                                          Page of 600
                                                                                  of 34


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit A ‐ SOFA 1




  Revenue Account                                                Year 2019 [1]        Year 2018            Year 2017
  Operating Revenue
   Management fees                                          $       18,776,701.38 $     35,264,426.88 $      37,098,010.50
   Shared services fees                                              6,002,769.24        9,187,200.55         9,445,221.98
   Incentive fees                                                      150,925.36           18,465.92        10,042,499.76
   Interest and Investment Income                                    2,625,221.26        4,857,157.03         4,478,946.34
   Miscellaneous Income                                                875,539.73        1,037,819.02         6,846,400.42
  Total Operating Revenue                                   $       28,431,156.97 $     50,365,069.40 $      67,911,079.00

  Other Gain/(Loss)
   Interest income                                          $        5,765,215.32 $      7,503,164.74 $       7,049,038.53
   Other income/expense                                                838,191.46          658,514.02         3,723,833.60
   Net realized gains on sales of investment transactions            3,959,534.93       13,396,884.40         6,494,555.20
   Net change in unrealized gains/(losses) of investments           (6,692,741.56)     (56,529,224.39)       27,322,977.50
   Net earnings/(losses) from equity method investees              121,440,340.48      (17,958,607.10)        3,111,185.38
  Total Other Gain/(Loss)                                   $      125,310,540.63 $    (52,929,268.33) $     47,701,590.21

[1] Date ranges from 12/31/2018 to end of business 10/15/2019.




                                                                                                                       1 of 1
        Case19-34054-sgj11
       Case  21-03005-sgj Doc
                           Doc29 Filed
                               248     05/24/21
                                    Filed 12/13/19Entered 05/24/21
                                                    Entered        10:22:39
                                                            12/13/19 22:34:17Page 9815
                                                                               Page of 600
                                                                                       of 34

Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit B ‐ SOFA 3 [1]

Trading Partner Name                                        Trading Partner Address                                                                   Payment Date Payment Amount        Reason for Transfer
Wilmer Cutler Pickering Hale and Dorr LLP                   PO Box 7247‐8760 Philadelphia PA 19170‐8760                                                  7/18/2019 $     20,275.50 Professional Services
Canteen Vending Services                                    PO Box 417632 Boston MA 02241‐7632                                                           7/18/2019         1,285.16 Suppliers/Vendors
Platinum Parking                                            300 Crescent Court Level G1, LB#102 Dallas TX 75201                                          7/18/2019          990.00 Professional Services
AT&T MOBILITY                                               PO BOX 6463 CAROL STREAM IL 60197‐6463                                                       7/19/2019         8,789.14 Professional Services
Highland Capital Management Korea Limited                   (Seoul Finance Center, Taepyeongro‐1‐ga) 21F, 136, Sejong‐daero, Jung‐gu, Seoul, Korea       7/19/2019      630,000.00 Intercompany Funding
American Airlines                                           4255 Amon Carter Blvd MD 4106 Fort Worth TX 76155                                            7/22/2019       30,000.00 Professional Services
TRICOR BUSINESS OUTSOURCING                                 80 Robinson Rd, Singapore 068898                                                             7/22/2019       28,122.16 Intercompany Funding
Meister Seelig & Fein LLP                                   125 Park Avenue 7th Floor New York NY 10017                                                  7/22/2019       24,228.30 Professional Services
Flagship Cruises & Events                                   PO Box 120751 San Diego CA 92112                                                             7/22/2019       16,103.26 Suppliers/Vendors
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                           7/23/2019      146,190.02 Employee Benefits
Abrams & Bayliss LLP                                        20 Montchanin Road, Suite 200 Wilmington DE 19807                                            7/24/2019       53,237.45 Professional Services
Pricewaterhouse Coopers, LLP                                8 Cross St. #17‐00 PWC Singapore Building Singapore 048424                                   7/24/2019       14,461.66 Professional Services
Siepe Software, LLC                                         5440 Harvest Hill Rd Suite 100, Dallas, TX 75230                                             7/25/2019       36,084.06 Professional Services
Consultant                                                  2620 White Rock Rd. Dallas TX 75214                                                          7/25/2019         6,754.00 Professional Services
Reid Collins & Tsai LLP                                     4301 Westbank Drive Building B Suite 230 Austin TX 78746                                     7/30/2019       82,831.45 Professional Services
Paxstone Capital LLP                                        483 Green Lanes, London, Greater London, N13 4BS                                             7/30/2019       46,063.81 Professional Services
Charles Schwab                                              PO Box 1270 Tulsa, OK 74101‐1270                                                             7/31/2019       41,053.47 Employee Benefits
HIGHLAND CREDIT OPPORTUNITIES FUND                          300 Crescent Court, Suite 700 Dallas, TX 75201                                               7/31/2019      628,000.00 Intercompany Funding
Arris Western Corp.                                         718 N Buckner #316 Dallas TX 75218                                                           7/31/2019       11,000.00 Professional Services
Professional Speaker                                        Koa Kai, LLC PO Box 232307 Leucadia CA 92023                                                 7/31/2019       15,000.00 Suppliers/Vendors
Pershing LLC                                                One Pershing Plaza Attn: IBD ‐ 15th Floor Jersey City NJ 07399                                8/1/2019      500,000.00 Investing
Consultant                                                  300 Crescent Court, Suite 700 Dallas, TX 75201                                                8/1/2019       39,586.07 Professional Services
Crescent TC Investors LP                                    200 Crescent Ct Suite 250 Dallas TX 75201                                                     8/1/2019      155,361.38 Rent Payment
Brasilinvest Empreendimentos e Participac?es S/A            Brazil                                                                                        8/1/2019       10,000.00 Intercompany Funding
Frontier State Bank                                         5100 S I‐35 Service Rd, Oklahoma City, OK 73129                                               8/1/2019       68,002.70 Secured Loan Payment
Massand Capital, LLC                                        8140 Walnut Hill Lane, Suite 310 Dallas, TX 75231                                             8/1/2019       54,979.21 Professional Services
Pershing LLC                                                One Pershing Plaza Attn: IBD ‐ 15th Floor Jersey City NJ 07399                                8/2/2019       11,959.71 Investing
Bloomberg Finance LP                                        PO Box 416604 Boston MA 02241‐6604                                                            8/2/2019      252,041.98 Professional Services
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                             8/2/2019          259.05 Professional Services
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                            8/2/2019       86,126.71 Employee Benefits
Abrams & Bayliss LLP                                        20 Montchanin Road, Suite 200 Wilmington DE 19807                                             8/7/2019       17,133.03 Professional Services
HIGHLAND CREDIT OPPORTUNITIES FUND                          300 Crescent Court, Suite 700 Dallas, TX 75201                                                8/7/2019      441,000.00 Intercompany Funding
Status Labs.com                                             151 South 1st Suite 100 Austin TX 78704                                                       8/7/2019         9,500.00 Professional Services
PetroCap Partners III, L.P.                                 3333 Lee Parkway Suite 750 Dallas TX 75219                                                    8/7/2019      510,350.41 Investing
HIGHLAND CAPITAL MANAGEMENT, LP                             300 Crescent Court, Suite 700 Dallas, TX 75201                                                8/8/2019      115,843.80 Employee Benefits
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                             8/8/2019         3,573.58 Professional Services
Flexential Colorado Corp.                                   PO Box 732368 Dallas TX 75373‐2368                                                            8/8/2019       12,056.49 Professional Services
Canteen Vending Services                                    PO Box 417632 Boston MA 02241‐7632                                                            8/8/2019         3,267.49 Suppliers/Vendors
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                            8/9/2019      157,850.27 Employee Benefits
Liberty Life Assurance Company of Boston ‐ Group Benefits   PO Box 2658 Carol Stream IL 60132‐2658                                                        8/9/2019         5,283.26 Employee Benefits
ICBI                                                        London                                                                                       8/13/2019       12,420.78 Professional Services
Eagle Equity Advisors, LLC                                  300 Crescent Court, Suite 700 Dallas, TX 75201                                               8/13/2019      155,000.00 Intercompany Funding
Connolly Gallagher LLP                                      1201 North Market Street 20th Floor Wilmington DE 19801                                      8/13/2019       18,295.70 Professional Services
Charles Schwab                                              PO Box 1270 Tulsa, OK 74101‐1270                                                             8/14/2019       41,300.58 Employee Benefits
CBIZ Valuation Group, Inc.                                  3030 LBJ Freeway, Ste 1650 Dallas TX 75234                                                   8/14/2019       15,000.00 Professional Services
Consultant                                                  2620 White Rock Rd. Dallas TX 75214                                                          8/14/2019         5,357.00 Professional Services
Siepe Services, LLC                                         5440 Harvest Hill Road Suite 100 Dallas TX 75230                                             8/14/2019      174,256.34 Professional Services
Intex Solutions, Inc.                                       Accounts Receivable 110 A St Needham MA 02494‐2807                                           8/15/2019       35,200.00 Professional Services
AT&T                                                        PO Box 9005 Carol Stream IL 60197‐9005                                                       8/15/2019          927.16 Professional Services
ABM                                                         PO Box 419860 Boston MA 02241‐9860                                                           8/15/2019         5,884.76 Suppliers/Vendors
LinkedIn Corporation                                        62228 Collections Center Drive Chicago IL 60693‐0622                                         8/15/2019       19,719.93 Professional Services
PetroCap Partners II, LP                                    300 Crescent Court, Suite 700 Dallas, TX 75201                                               8/15/2019     1,244,586.77 Investing
Houlihan Lokey                                              10250 Constellation Blvd, 5th Floor Attn: Accounts Receivable Los Angeles CA 90067‐6802      8/15/2019       55,601.49 Professional Services
Deloitte Tax LLP                                            PO Box 844736 Dallas TX 75284‐4736                                                           8/15/2019      137,396.00 Professional Services
MacroMavens, LLC                                            180 W. 20th Street Suite 1700 New York NY 10011                                              8/15/2019       18,816.84 Professional Services
GRUBHUB for Work                                            PO Box 748570 Los Angeles CA 90074‐8570                                                      8/15/2019       13,823.98 Suppliers/Vendors
Arris Western Corp.                                         718 N Buckner #316 Dallas TX 75218                                                           8/15/2019         1,420.63 Professional Services
TRICOR BUSINESS OUTSOURCING                                 80 Robinson Rd, Singapore 068898                                                             8/16/2019       36,135.64 Intercompany Funding
ROWLETT HILL, LLP                                           25 Highland Park Village, Suite 100‐448 Dallas TX 75205                                      8/16/2019       30,187.50 Professional Services
CDW Direct                                                  PO BOX 75723 CHICAGO IL 60675‐5723                                                           8/16/2019          634.00 Suppliers/Vendors
Bloomberg Finance LP                                        PO Box 416604 Boston MA 02241‐6604                                                           8/16/2019         6,750.00 Professional Services
BCA Research Inc                                            1002 Sherbrooke St. W Suite 1600 Montreal Quebec H3A 3L6                                     8/16/2019       19,996.94 Professional Services
Willis of Texas, Inc.                                       PO Box 731739 Dallas TX 75373‐1739                                                           8/16/2019         5,754.18 Insurance
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                           8/16/2019       89,965.15 Employee Benefits
Thomson West                                                PO Box 6292 Carol Stream IL 60197‐6292                                                       8/22/2019       21,339.33 Suppliers/Vendors
Duff & Phelps, LLC                                          DUFF & PHELPS, LLC 12595 Collection Center Drive Chicago IL 60693                            8/23/2019      100,000.00 Professional Services
TRICOR BUSINESS OUTSOURCING                                 80 Robinson Rd, Singapore 068898                                                             8/23/2019       50,934.56 Intercompany Funding
CDW Direct                                                  PO BOX 75723 CHICAGO IL 60675‐5723                                                           8/23/2019           97.96 Suppliers/Vendors
Concur Technologies, Inc.                                   62157 Collections Center Drive Chicago IL 60693                                              8/23/2019         4,104.85 Professional Services
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                           8/23/2019       91,020.22 Employee Benefits
Thomson West                                                PO Box 6292 Carol Stream IL 60197‐6292                                                       8/23/2019         3,153.32 Suppliers/Vendors
GRUBHUB for Work                                            PO Box 748570 Los Angeles CA 90074‐8570                                                      8/23/2019         2,150.47 Suppliers/Vendors
Highland Capital Management New York                        300 Crescent Court, Suite 700 Dallas, TX 75201                                               8/26/2019      150,000.00 Intercompany Funding
TW Telecom Holdings, llc                                    PO Box 910182 Denver CO 80291‐0182                                                           8/26/2019         8,657.28 Professional Services




                                                                                                                                                                                                            1 of 4
       Case19-34054-sgj11
      Case  21-03005-sgj Doc
                          Doc29 Filed
                              248     05/24/21
                                   Filed 12/13/19Entered 05/24/21
                                                   Entered        10:22:39
                                                           12/13/19 22:34:17Page 9916
                                                                              Page of 600
                                                                                      of 34

Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit B ‐ SOFA 3 [1]

Trading Partner Name                               Trading Partner Address                                                    Payment Date Payment Amount        Reason for Transfer
TW Telecom Holdings, llc                           PO Box 910182 Denver CO 80291‐0182                                            8/26/2019         9,065.13 Professional Services
HIGHLAND CREDIT OPPORTUNITIES FUND                 300 Crescent Court, Suite 700 Dallas, TX 75201                                8/27/2019      300,000.00 Intercompany Funding
Acis Capital Management                            Attn: Rakhee V. Patel, Winstead PC 500 Winstead Building Dallas TX 75201      8/27/2019        12,249.65 Professional Services
Canteen Vending Services                           PO Box 417632 Boston MA 02241‐7632                                            8/27/2019         2,608.49 Suppliers/Vendors
Greenwood Office Outfitters                        2951 Suffolk Drive Suite 640 Fort Worth TX 76133‐1149                         8/28/2019        12,877.82 Suppliers/Vendors
Charles Schwab                                     PO Box 1270 Tulsa, OK 74101‐1270                                              8/29/2019        95,443.51 Employee Benefits
Blue Cross Blue Shield of Texas                    PO Box 731428 Dallas TX 75373‐1428                                            8/29/2019      118,192.57 Employee Benefits
Eagle Equity Advisors, LLC                         300 Crescent Court, Suite 700 Dallas, TX 75201                                8/29/2019        75,000.00 Intercompany Funding
Highland Latin America Consulting, LTD             300 Crescent Court, Suite 700 Dallas, TX 75201                                8/29/2019        55,000.00 Intercompany Funding
Canteen Vending Services                           PO Box 417632 Boston MA 02241‐7632                                            8/29/2019           697.89 Suppliers/Vendors
Platinum Parking                                   300 Crescent Court Level G1, LB#102 Dallas TX 75201                           8/29/2019        14,857.95 Professional Services
Consultant                                         300 Crescent Court, Suite 700 Dallas, TX 75201                                8/30/2019      111,212.19 Professional Services
Arris Western Corp.                                718 N Buckner #316 Dallas TX 75218                                            8/30/2019        11,000.00 Professional Services
Brasilinvest Empreendimentos e Participac?es S/A   Brazil                                                                         9/3/2019        10,000.00 Intercompany Funding
Crescent TC Investors LP                           PO Box 841772 Dallas TX 75284‐1772                                             9/3/2019      156,958.51 Rent Payment
AT&T                                               PO Box 9005 Carol Stream IL 60197‐9005                                         9/3/2019         5,690.12 Professional Services
Frontier State Bank                                5100 S I‐35 Service Rd, Oklahoma City, OK 73129                                9/3/2019      404,238.30 Secured Loan Payment
AT&T                                               PO BOX 5019 CAROL STREAM IL 60197                                              9/3/2019           259.77 Professional Services
AT&T                                               PO BOX 5019 CAROL STREAM IL 60197                                              9/3/2019           295.76 Professional Services
Willis of Texas, Inc.                              Dallas/Ft. Worth Division PO Box 730310 Dallas TX 75373‐0310                   9/3/2019        21,133.38 Insurance
Pershing LLC                                       One Pershing Plaza Attn: IBD ‐ 15th Floor Jersey City NJ 07399                 9/4/2019      500,000.00 Investing
HIGHLAND CREDIT OPPORTUNITIES FUND                 300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/4/2019      500,000.00 Intercompany Funding
Consultant                                         2620 White Rock Rd. Dallas TX 75214                                            9/4/2019         6,451.50 Professional Services
Siepe Software, LLC                                5440 Harvest Hill Rd Suite 100, Dallas, TX 75230                               9/5/2019        18,042.03 Professional Services
HIGHLAND CAPITAL MANAGEMENT, LP                    300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/5/2019      113,788.36 Employee Benefits
Pershing LLC                                       One Pershing Plaza Attn: IBD ‐ 15th Floor Jersey City NJ 07399                 9/5/2019        11,286.83 Investing
Charles Schwab                                     PO Box 1270 Tulsa, OK 74101‐1270                                               9/5/2019      858,220.29 Employee Benefits
Charles Schwab                                     PO Box 1270 Tulsa, OK 74101‐1270                                               9/5/2019      854,278.60 Employee Benefits
Dow Jones & Company, Inc.                          WALL ST JRNL OR BARRONS PO Box 4137 New York NY 10261‐4137                     9/5/2019        16,621.23 Professional Services
CDW Direct                                         PO BOX 75723 CHICAGO IL 60675‐5723                                             9/5/2019         3,374.19 Suppliers/Vendors
Intex Solutions, Inc.                              Accounts Receivable 110 A St Needham MA 02494‐2807                             9/5/2019        35,200.00 Professional Services
Las Vegas Flamingo Holdco, LLC                     Collections Account TEXAS                                                      9/5/2019       46,536.83 Intercompany Funding
GRUBHUB for Work                                   PO Box 748570 Los Angeles CA 90074‐8570                                        9/5/2019        15,518.67 Suppliers/Vendors
AT&T                                               PO BOX 5019 CAROL STREAM IL 60197                                              9/6/2019         3,573.58 Professional Services
TW Telecom Holdings, llc                           PO Box 910182 Denver CO 80291‐0182                                             9/9/2019         9,138.32 Professional Services
Blue Cross Blue Shield of Texas                    PO Box 731428 Dallas TX 75373‐1428                                             9/9/2019      142,884.07 Employee Benefits
Eagle Equity Advisors, LLC                         300 Crescent Court, Suite 700 Dallas, TX 75201                                9/11/2019        40,000.00 Intercompany Funding
Charles Schwab                                     PO Box 1270 Tulsa, OK 74101‐1270                                              9/12/2019        37,839.05 Employee Benefits
Blue Cross Blue Shield of Texas                    PO Box 731428 Dallas TX 75373‐1428                                            9/12/2019        59,111.49 Employee Benefits
Loews Coronado Bay Resort                          4000 Coronado Bay Road Coronado CA 92118                                      9/12/2019        77,340.18 Suppliers/Vendors
Harbor Yacht Clubs, LLC                            1880 Harbor Island Drive San Diego CA 92101                                   9/12/2019         6,440.00 Suppliers/Vendors
NYSE MARKET, INC                                   Box #223695 Pittsburgh PA 15251‐2695                                          9/13/2019         8,857.74 Professional Services
TRICOR BUSINESS OUTSOURCING                        80 Robinson Rd, Singapore 068898                                              9/13/2019        35,221.80 Intercompany Funding
Markit North America Inc.                          620 8th Ave 35th floor New York NY 10018                                      9/13/2019        91,676.00 Professional Services
CDW Direct                                         PO BOX 75723 CHICAGO IL 60675‐5723                                            9/13/2019         7,387.23 Suppliers/Vendors
BDO USA, LLP                                       700 North Pearl Suite 2000 Dallas TX 75201                                    9/13/2019         8,700.00 Professional Services
ABM                                                PO Box 419860 Boston MA 02241‐9860                                            9/13/2019         5,884.76 Suppliers/Vendors
Concur Technologies, Inc.                          62157 Collections Center Drive Chicago IL 60693                               9/13/2019         8,187.05 Professional Services
Willis of Texas, Inc.                              PO Box 731739 Dallas TX 75373‐1739                                            9/13/2019         5,754.18 Insurance
Reorg Research, Inc.                               1140 Broadway Ste 201 New York NY 10001                                       9/13/2019        93,123.35 Professional Services
Sage Search Partners                               3811 Turtle Creek Blvd Suite 850 Dallas TX 75219                              9/13/2019        20,000.00 Professional Services
AT&T                                               PO BOX 5019 CAROL STREAM IL 60197                                             9/16/2019           927.16 Professional Services
DLA Piper LLP US                                   6225 Smith Avenue Baltimore MD 21209                                          9/16/2019      200,000.00 Professional Services
Lynn Pinker Cox & Hurst, L.L.P.                    2100 Ross Ave Suite 2700 Dallas TX 75201                                      9/17/2019      185,576.00 Professional Services
Flexential Colorado Corp.                          PO Box 732368 Dallas TX 75373‐2368                                            9/17/2019        12,056.49 Professional Services
Canteen Vending Services                           PO Box 417632 Boston MA 02241‐7632                                            9/17/2019           327.61 Suppliers/Vendors
Platinum Parking                                   300 Crescent Court, Suite 700 Dallas, TX 75201                                9/17/2019        15,210.80 Professional Services
AT&T MOBILITY                                      PO BOX 6463 CAROL STREAM IL 60197‐6463                                        9/19/2019         1,769.17 Professional Services
ROWLETT HILL, LLP                                  25 HIGHLAND PARK VILLAGE STE 100‐448 DALLAS TX 75205                          9/19/2019        23,718.75 Professional Services
Affiliate Loan                                     300 Crescent Court, Suite 700 Dallas, TX 75201                                9/19/2019      500,000.00 Affiliate Loan
Siepe Services, LLC                                5440 Harvest Hill Road Suite 100 Dallas TX 75230                              9/19/2019      185,063.83 Professional Services
Greyline Partners, LLC                             P.O. Box 733976 Dallas TX 75373‐3976                                          9/19/2019        11,250.00 Professional Services
Blue Cross Blue Shield of Texas                    PO Box 731428 Dallas TX 75373‐1428                                            9/20/2019        77,274.56 Employee Benefits
Blue Cross Blue Shield of Texas                    PO Box 731428 Dallas TX 75373‐1428                                            9/20/2019        67,658.40 Employee Benefits
Affiliate Loan                                     300 Crescent Court, Suite 700 Dallas, TX 75201                                9/23/2019     1,000,000.00 Affiliate Loan
Attia Medical, PC                                  5820 Oberlin Dr. Suite 205 San Diego CA 92121                                 9/23/2019        12,500.00 Professional Services
DLA Piper LLP US                                   6225 Smith Avenue Baltimore MD 21209                                          9/23/2019      200,000.00 Professional Services
CDW Direct                                         PO BOX 75723 CHICAGO IL 60675‐5723                                            9/24/2019         3,059.50 Suppliers/Vendors
HIGHLAND CREDIT OPPORTUNITIES FUND                 300 Crescent Court, Suite 700 Dallas, TX 75201                                9/25/2019      300,000.00 Intercompany Funding
Consultant                                         2620 White Rock Rd. Dallas TX 75214                                           9/25/2019         8,109.75 Professional Services
Cole Schotz                                        Court Plaza North 25 Main Street Hackensack NJ 07602‐0800                     9/25/2019      100,000.00 Professional Services
Affiliate Loan                                     300 Crescent Court, Suite 700 Dallas, TX 75201                                9/25/2019      900,000.00 Affiliate Loan
S&P Global Market Intelligence                     33356 Collection Center Drive Chicago IL 60693‐0333                           9/25/2019      368,894.61 Professional Services




                                                                                                                                                                                    2 of 4
      Case19-34054-sgj11
      Case 21-03005-sgj Doc
                         Doc29248
                               Filed  05/24/21
                                   Filed 12/13/19Entered 05/24/21
                                                    Entered       10:22:39
                                                            12/13/19 22:34:17Page 10017
                                                                               Page   ofof
                                                                                        60034

Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit B ‐ SOFA 3 [1]

Trading Partner Name                                        Trading Partner Address                                                                   Payment Date Payment Amount       Reason for Transfer
Arris Western Corp.                                         718 N Buckner #316 Dallas TX 75218                                                           9/25/2019        1,325.29 Professional Services
Harbor Yacht Clubs, LLC                                     1880 Harbor Island Drive San Diego CA 92101                                                  9/25/2019          538.75 Suppliers/Vendors
ICE Data Pricing & Reference Data, LLC                      PO Box 98616 Chicago IL 60693                                                                9/25/2019        8,819.61 Professional Services
Charles Schwab                                              PO Box 1270 Tulsa, OK 74101‐1270                                                             9/26/2019       35,354.55 Employee Benefits
Duff & Phelps, LLC                                          2397 Paysphere Circle Chicago IL 60674                                                       9/30/2019      100,000.00 Professional Services
HIGHLAND CREDIT OPPORTUNITIES FUND                          300 Crescent Court, Suite 700 Dallas, TX 75201                                               9/30/2019      200,000.00 Intercompany Funding
Frontier State Bank                                         5100 S I‐35 Service Rd, Oklahoma City, OK 73129                                              9/30/2019       98,707.96 Secured Loan Payment
Arris Western Corp.                                         718 N Buckner #316 Dallas TX 75218                                                           9/30/2019       11,000.00 Professional Services
Professional Speaker                                        Koa Kai, LLC PO Box 232307 Leucadia CA 92023                                                 9/30/2019       15,000.00 Suppliers/Vendors
Highland Latin America Consulting, LTD                      300 Crescent Court, Suite 700 Dallas, TX 75201                                               9/30/2019      105,000.00 Intercompany Funding
Attia Medical, PC                                           5820 Oberlin Dr. Suite 205 San Diego CA 92121                                                9/30/2019       12,500.00 Professional Services
DLA Piper LLP US                                            6225 Smith Avenue Baltimore MD 21209                                                         9/30/2019      200,000.00 Professional Services
AT&T MOBILITY                                               PO BOX 6463 CAROL STREAM IL 60197‐6463                                                       10/1/2019             ‐    Professional Services
Employee                                                    300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/1/2019       13,059.43 Bonus
Crescent TC Investors LP                                    200 Crescent Ct Suite 250 Dallas TX 75201                                                    10/1/2019      192,588.09 Rent Payment
Frontier State Bank                                         5100 S I‐35 Service Rd, Oklahoma City, OK 73129                                              10/1/2019      128,793.00 Secured Loan Payment
Bloomberg Finance LP                                        PO Box 416604 Boston MA 02241‐6604                                                           10/2/2019      113,095.54 Professional Services
Consultant                                                  300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/2/2019       28,821.81 Professional Services
Pachulski Stang Ziehl & Jones LLP                           10100 Santa Monica Blvd. 13th Floor Los Angeles CA 90067                                     10/2/2019      500,000.00 Professional Services
HIGHLAND CAPITAL MANAGEMENT, LP                             300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/3/2019      114,381.18 Employee Benefits
OKADA INSURANCE RABBI TRUST                                 300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/3/2019       14,875.00 Insurance
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                            10/3/2019          309.51 Professional Services
Employee                                                    300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/4/2019      113,104.52 Employee Reimbursement
Siepe Software, LLC                                         5440 Harvest Hill Rd Suite 100, Dallas, TX 75230                                             10/4/2019       18,042.03 Professional Services
Siepe Software, LLC                                         5440 Harvest Hill Rd Suite 100, Dallas, TX 75230                                             10/4/2019       18,042.03 Professional Services
TW Telecom Holdings, llc                                    PO Box 910182 Denver CO 80291‐0182                                                           10/4/2019        7,710.33 Professional Services
CDW Direct                                                  PO BOX 75723 CHICAGO IL 60675‐5723                                                           10/4/2019       23,277.86 Suppliers/Vendors
CDW Direct                                                  PO BOX 75723 CHICAGO IL 60675‐5723                                                           10/4/2019       23,788.47 Suppliers/Vendors
HIGHLAND CREDIT OPPORTUNITIES FUND                          300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/4/2019      500,000.00 Intercompany Funding
AT&T                                                        PO Box 9005 Carol Stream IL 60197‐9005                                                       10/4/2019        2,845.06 Professional Services
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                            10/4/2019        3,573.58 Professional Services
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                            10/4/2019          146.78 Professional Services
Willis of Texas, Inc.                                       Dallas/Ft. Worth Division PO Box 730310 Dallas TX 75373‐0310                                 10/4/2019        5,754.18 Insurance
Blue Cross Blue Shield of Texas                             PO Box 731428 Dallas TX 75373‐1428                                                           10/4/2019      109,241.27 Employee Benefits
Houlihan Lokey                                              10250 Constellation Blvd, 5th Floor Attn: Accounts Receivable Los Angeles CA 90067‐6802      10/4/2019       55,667.91 Professional Services
Ipreo Data Inc.                                             421 Fayetteville Street Suite 900 Raleigh NC 27601                                           10/4/2019        9,500.00 Professional Services
Siepe Services, LLC                                         5440 Harvest Hill Road Suite 100 Dallas TX 75230                                             10/4/2019      182,790.68 Professional Services
Hedgeye Risk Mgmt, LLC                                      1 High Ridge Park 3rd Floor Stamford CT 06905                                                10/4/2019       25,265.10 Professional Services
Spin‐Off Advisors, LLC                                      1327 W. Washington Blvd Ste 4‐G Chicago IL 60607                                             10/4/2019       15,000.00 Professional Services
GRUBHUB for Work                                            PO Box 748570 Los Angeles CA 90074‐8570                                                      10/4/2019       14,343.81 Suppliers/Vendors
Flexential Colorado Corp.                                   PO Box 732368 Dallas TX 75373‐2368                                                           10/4/2019       24,031.79 Professional Services
Highland Latin America Consulting, LTD                      300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/4/2019       75,000.00 Intercompany Funding
DLA Piper LLP US                                            6225 Smith Avenue Baltimore MD 21209                                                         10/4/2019      200,000.00 Professional Services
Siepe Software, LLC                                         5440 Harvest Hill Rd Suite 100, Dallas, TX 75230                                             10/7/2019       18,042.03 Professional Services
Pricewaterhouse Coopers, LLP                                PO BOX 952282 DALLAS TX 75395‐2282                                                           10/7/2019       24,000.00 Professional Services
LAFFER ASSOCIATES                                           103 Murphy Court NASHVILLE TN 37203                                                          10/7/2019       28,188.37 Professional Services
MARKIT WSO CORPORATION                                      Three Lincoln Centre 5430 LBJ Frwy; STe 800 DALLAS TX 75240                                  10/7/2019       27,213.92 Professional Services
Strategas Securities LLC                                    52 Vanderbilt Ave 8th Fl New York NY 10017                                                   10/7/2019       27,195.87 Professional Services
Bloomberg Finance LP                                        PO Box 416604 Boston MA 02241‐6604                                                           10/7/2019      100,000.00 Professional Services
Intex Solutions, Inc.                                       Accounts Receivable 110 A St Needham MA 02494‐2807                                           10/7/2019       35,200.00 Professional Services
BCA Research Inc                                            1002 Sherbrooke St. W Suite 1600 Montreal Quebec H3A 3L6                                     10/7/2019       18,294.21 Professional Services
Consultant                                                  2620 White Rock Rd. Dallas TX 75214                                                          10/7/2019        5,274.50 Professional Services
Employee                                                    300 Crescent Court, Suite 700 Dallas, TX 75201                                               10/7/2019       43,910.97 Employee Reimbursement
Verity Group                                                PO Box 940361 Plano TX 75094‐0361                                                            10/7/2019        8,940.84 Suppliers/Vendors
Canteen Vending Services                                    PO Box 417632 Boston MA 02241‐7632                                                           10/7/2019       30,017.35 Suppliers/Vendors
ABM                                                         PO Box 419860 Boston MA 02241‐9860                                                           10/7/2019        5,884.76 Suppliers/Vendors
Greenwood Office Outfitters                                 2951 Suffolk Drive Suite 640 Fort Worth TX 76133‐1149                                        10/7/2019        4,628.62 Suppliers/Vendors
Houlihan Lokey                                              10250 Constellation Blvd, 5th Floor Attn: Accounts Receivable Los Angeles CA 90067‐6802      10/7/2019      113,092.79 Professional Services
Houlihan Lokey                                              10250 Constellation Blvd, 5th Floor Attn: Accounts Receivable Los Angeles CA 90067‐6802      10/7/2019      112,000.00 Professional Services
Deloitte Tax LLP                                            PO Box 844736 Dallas TX 75284‐4736                                                           10/7/2019      142,205.00 Professional Services
Deloitte Tax LLP                                            PO Box 844736 Dallas TX 75284‐4736                                                           10/7/2019      104,905.00 Professional Services
Siepe Services, LLC                                         5440 Harvest Hill Road Suite 100 Dallas TX 75230                                             10/7/2019      185,000.00 Professional Services
GRUBHUB for Work                                            PO Box 748570 Los Angeles CA 90074‐8570                                                      10/7/2019        5,556.50 Suppliers/Vendors
ValueScope, Inc.                                            1400 Thetford Ct. Southlake TX 76092                                                         10/7/2019       25,000.00 Professional Services
Development Specialists, Inc.                               333 South Grand Avenue Suite 4070 Los Angeles CA 90071‐1544                                  10/7/2019      250,000.00 Professional Services
Bragalone Conroy PC                                         Chase Tower 2200 Ross Avenue Dallas TX 75201‐7924                                            10/7/2019       10,000.00 Professional Services
Kurtzman Carson Consultants LLC                             Dept CH 16639 Palatine IL 60055‐6639                                                         10/7/2019       50,000.00 Professional Services
Hunton Andrews Kurth, LLP                                   1445 Ross Avenue Suite 3700 Dallas TX 75202‐2799                                             10/7/2019      156,996.86 Professional Services
Liberty Life Assurance Company of Boston ‐ Group Benefits   PO Box 2658 Carol Stream IL 60132‐2658                                                       10/7/2019       15,928.25 Employee Benefits
ICE Data Pricing & Reference Data, LLC                      PO Box 98616 Chicago IL 60693                                                                10/7/2019        5,879.74 Professional Services
Refinitiv US LLC                                            3 Times Square New York NY 10036                                                             10/7/2019       12,823.98 Professional Services
Deloitte Tax LLP                                            PO Box 844736 Dallas TX 75284‐4736                                                           10/8/2019      128,557.00 Professional Services
AT&T                                                        PO BOX 5019 CAROL STREAM IL 60197                                                           10/10/2019        3,573.58 Professional Services




                                                                                                                                                                                                            3 of 4
        Case19-34054-sgj11
        Case 21-03005-sgj Doc
                           Doc29248
                                 Filed  05/24/21
                                     Filed 12/13/19Entered 05/24/21
                                                      Entered       10:22:39
                                                              12/13/19 22:34:17Page 10118
                                                                                 Page   ofof
                                                                                          60034

Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit B ‐ SOFA 3 [1]

Trading Partner Name                                   Trading Partner Address                                                                   Payment Date Payment Amount           Reason for Transfer
Blue Cross Blue Shield of Texas                        PO Box 731428 Dallas TX 75373‐1428                                                          10/10/2019         161,497.04 Employee Benefits
Cole Schotz                                            Court Plaza North 25 Main Street Hackensack NJ 07602‐0800                                   10/10/2019           34,894.42 Professional Services
Houlihan Lokey                                         10250 Constellation Blvd, 5th Floor Attn: Accounts Receivable Los Angeles CA 90067‐6802     10/10/2019            1,092.79 Professional Services
Snell & Wilmer LLP                                     One Arizona Center 400 E. Van Buren, Suite 1900 Phoenix AZ 85004‐2202                       10/10/2019           19,119.65 Professional Services
DLA Piper LLP US                                       6225 Smith Avenue Baltimore MD 21209                                                        10/10/2019        1,115,000.00 Professional Services
ASW Law Limited                                        Crawford House 50 Cedar Avenue Hamilton HM11                                                10/10/2019           10,845.00 Professional Services
Carey Olsen                                            PO Box 10008 Willow House Grand Cayman KY1‐1001                                             10/10/2019           48,595.00 Professional Services
Canteen Vending Services                               PO Box 417632 Boston MA 02241‐7632                                                          10/10/2019            8,656.51 Suppliers/Vendors
Platinum Parking                                       300 Crescent Court Level G1, LB#102 Dallas TX 75201                                         10/10/2019           33,007.19 Professional Services
Charles Schwab                                         PO Box 1270 Tulsa, OK 74101‐1270                                                            10/11/2019           34,454.43 Employee Benefits
Cole Schotz                                            Court Plaza North 25 Main Street, PO Box 800 Hackensack NJ 07602‐0800                       10/11/2019           25,000.00 Professional Services
Pershing LLC                                           One Pershing Plaza Attn: IBD ‐ 15th Floor Jersey City NJ 07399                              10/15/2019           17,745.66 Investing
CBIZ Valuation Group, Inc.                             3030 LBJ Freeway, Ste 1650 Dallas TX 75234                                                  10/15/2019           12,400.00 Professional Services
Status Labs.com                                        151 South 1st Suite 100 Austin TX 78704                                                     10/15/2019           18,000.00 Professional Services
Discovery Benefits [2]                                 4321 20th Ave. S. Fargo, ND 58103                                                         Various                36,473.83 FSA Transfers
Expense Reimbursements [3]                             300 Crescent Court, Suite 700 Dallas, TX 75201                                            Various              557,471.14 Expense reimbursements

Total                                                                                                                                                           $   23,255,006.86


[1] Does not include activity in Jefferies Prime Broker account.
[2] Discovery benefits are the daily FSA amounts paid for healthcare related charges.
[3] Expense reimbursements are not tracked in The Debtor's accounting software at detail requested




                                                                                                                                                                                                          4 of 4
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10219
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit C ‐ SOFA #4

Trading Partner                                   Trading Partner Address                                                    Payment Date    Payment Amount
Acis Capital Management                           Attn: Rakhee V. Patel, Winstead PC 500 Winstead Building Dallas TX 75201       8/27/2019          12,249.65
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                10/26/2018          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                 11/1/2018          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                 12/3/2018          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  1/2/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                 1/25/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  2/1/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  3/1/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  4/3/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  5/1/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  6/3/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  7/1/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  8/1/2019          10,000.00
Brasilinvest Empreendimentos e Participaces S/A   300 Crescent Court, Suite 700 Dallas, TX 75201                                  9/3/2019          10,000.00
Dondero Insurance Rabbi Trust                     300 Crescent Court, Suite 700 Dallas, TX 75201                                  1/2/2019          36,580.00
Dugaboy Investment Trust                          300 Crescent Court, Suite 700 Dallas, TX 75201                                12/19/2018           9,246.96
Dugaboy Investment Trust                          300 Crescent Court, Suite 700 Dallas, TX 75201                                 3/28/2019           6,960.38
Eagle Equity Advisors, LLC                        300 Crescent Court, Suite 700 Dallas, TX 75201                                 8/13/2019         155,000.00
Eagle Equity Advisors, LLC                        300 Crescent Court, Suite 700 Dallas, TX 75201                                 8/29/2019          75,000.00
Eagle Equity Advisors, LLC                        300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/11/2019          40,000.00
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                10/31/2018             41.76
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                11/15/2018             70.73
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                11/30/2018             13.96
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                12/14/2018             50.74
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                12/31/2018             26.84
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 1/15/2019             56.68
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 1/31/2019             58.06
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 2/15/2019            183.46
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 2/28/2019             18.89
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 3/15/2019             28.88
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 3/29/2019            105.11
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 4/15/2019             23.70
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 4/30/2019             34.79
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 5/15/2019            110.76
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 5/31/2019             31.76
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 6/14/2019             43.23
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 6/28/2019             20.56
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 7/15/2019             87.13
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 7/31/2019             38.96
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 8/15/2019             19.48
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 8/30/2019             45.08
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/13/2019             66.22
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/30/2019             10.82
Frank Waterhouse ‐ Expense Reimbursement          300 Crescent Court, Suite 700 Dallas, TX 75201                                10/15/2019            115.75
Governance Re Ltd                                 Wellesley House; 2nd Floor 90 Pitts Bay Road Pembroke HM 08                    6/14/2019         300,000.00
HCRE Partners, LLC                                300 Crescent Court, Suite 700 Dallas, TX 75201                                 9/25/2019         900,000.00
Highland Capital Management Fund Advisors         300 Crescent Court, Suite 700 Dallas, TX 75201                                  5/2/2019       2,400,000.00
Highland Capital Management Fund Advisors         300 Crescent Court, Suite 700 Dallas, TX 75201                                  5/3/2019       5,000,000.00
Highland Capital Management Korea                 300 Crescent Court, Suite 700 Dallas, TX 75201                                 12/6/2018       1,200,000.00
Highland Capital Management Korea                 300 Crescent Court, Suite 700 Dallas, TX 75201                                 4/17/2019       1,100,000.00
Highland Capital Management Korea                 300 Crescent Court, Suite 700 Dallas, TX 75201                                  7/8/2019         630,000.00
Highland Capital Management Korea                 300 Crescent Court, Suite 700 Dallas, TX 75201                                 7/19/2019         630,000.00
Highland Capital Management Latin America         300 Crescent Court, Suite 700 Dallas, TX 75201                                  5/3/2019       1,350,000.00
Highland Capital Management Latin America         300 Crescent Court, Suite 700 Dallas, TX 75201                                 6/28/2019          10,000.00



                                                                                                                                                          1 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10320
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit C ‐ SOFA #4

Trading Partner                          Trading Partner Address                          Payment Date    Payment Amount
Highland Capital Management Services     300 Crescent Court, Suite 700 Dallas, TX 75201       5/29/2019         400,000.00
Highland Capital Management Services     300 Crescent Court, Suite 700 Dallas, TX 75201       6/26/2019         150,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      10/26/2018          65,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      10/30/2018           5,864.10
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      11/13/2018           3,942.72
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      11/28/2018           3,848.70
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      12/12/2018           3,744.31
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201      12/27/2018           4,176.47
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201       1/11/2019           3,954.93
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201       1/29/2019           4,703.71
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201        2/5/2019          50,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201        3/5/2019         150,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201       3/26/2019          50,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201       6/11/2019          55,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201        7/1/2019          25,000.00
Highland Capital Of New York             300 Crescent Court, Suite 700 Dallas, TX 75201       8/26/2019         150,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       2/27/2019         100,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       3/29/2019          25,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201        4/3/2019          15,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       4/15/2019          50,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       6/28/2019          90,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       8/29/2019          55,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       9/30/2019         105,000.00
Highland Latin America Consulting, LTD   300 Crescent Court, Suite 700 Dallas, TX 75201       10/4/2019          75,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201       12/5/2018         171,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201       4/18/2019       3,000,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201        5/2/2019         100,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201       5/14/2019         255,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201       5/22/2019       1,500,000.00
Highland Select Equity Fund              300 Crescent Court, Suite 700 Dallas, TX 75201       5/30/2019         350,000.00
Hunter Mountain Investment Trust         300 Crescent Court, Suite 700 Dallas, TX 75201      12/19/2018       4,930,722.50
Hunter Mountain Investment Trust         300 Crescent Court, Suite 700 Dallas, TX 75201       3/28/2019       3,711,456.47
James Dondero                            300 Crescent Court, Suite 700 Dallas, TX 75201       3/28/2019       3,750,000.00
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201      10/31/2018           8,986.25
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201      11/15/2018          65,078.25
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201      12/14/2018         115,481.36
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201      12/31/2018            548.19
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       1/15/2019          96,786.37
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       1/31/2019          38,628.04
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       2/15/2019          42,434.77
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       2/28/2019          19,062.59
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       3/15/2019          50,771.13
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       3/29/2019          21,934.60
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       4/15/2019          60,190.72
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       4/30/2019           7,164.24
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       5/15/2019          89,256.54
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       5/31/2019          38,804.42
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       6/14/2019          82,710.42
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       6/28/2019           7,604.98
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       7/15/2019          47,005.97
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       7/31/2019            748.07
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       8/15/2019          85,058.51
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       8/30/2019          12,713.97
James Dondero ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201       9/13/2019          56,762.57



                                                                                                                       2 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10421
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit C ‐ SOFA #4

Trading Partner                         Trading Partner Address                                           Payment Date     Payment Amount
James Dondero ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201                         9/30/2019         24,497.96
James Dondero ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201                        10/15/2019          32,977.48
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                        10/31/2018           1,341.26
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                        11/15/2018            164.01
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                        11/30/2018             61.54
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                        12/31/2018           2,378.81
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         1/31/2019            285.54
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         2/28/2019            876.87
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         3/15/2019            267.99
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         3/29/2019            112.22
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         4/30/2019            160.50
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         5/15/2019            144.02
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         6/14/2019            688.48
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         6/28/2019             48.54
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         7/15/2019             74.95
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         7/31/2019            153.81
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         8/30/2019            217.72
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                         9/30/2019           3,615.11
Lee Parker ‐ Expense Reimbursement      300 Crescent Court, Suite 700 Dallas, TX 75201                        10/15/2019           5,644.08
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman        12/7/2018           6,780.65
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman       12/12/2018         17,215.19
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman         1/4/2019         95,798.38
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman        1/10/2019           2,600.00
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman         3/7/2019           2,453.66
Maples & Calder                         Ugland House Po Box 309Gt; S Church St George Town Grand Cayman        9/16/2019           5,218.40
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,600.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,600.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,600.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/11                  3,500.00
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  2,453.66
MaplesFS Service Company Limited        PO Box 1093 Boundary Hall Grand Cayman KY1‐1102                   2018/12                  8,876.22




                                                                                                                                        3 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10522
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit C ‐ SOFA #4

Trading Partner                           Trading Partner Address                           Payment Date     Payment Amount
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2018/12                  2,453.66
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2018/12                  8,876.22
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2018/12                  2,453.66
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2018/12                  2,453.66
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/01                  1,300.00
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/04                  3,450.68
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/04                  3,450.68
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
MaplesFS Service Company Limited          PO Box 1093 Boundary Hall Grand Cayman KY1‐1102   2019/05                  1,777.77
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201        10/31/2018             68.12
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201        12/31/2018           2,793.63
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         1/15/2019          28,862.62
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         2/15/2019           1,174.32
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         3/15/2019            740.40
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         3/29/2019          10,809.37
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         4/15/2019           4,485.01
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         5/15/2019           3,584.31
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         6/14/2019           6,121.00
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         7/15/2019           2,008.15
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         8/15/2019            139.27
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         8/30/2019            675.80
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201         9/13/2019          10,961.53
Mark Okada ‐ Expense Reimbursement        300 Crescent Court, Suite 700 Dallas, TX 75201        10/15/2019           7,312.69
NexPoint Advisors, LP                     300 Crescent Court, Suite 700 Dallas, TX 75201         9/19/2019         500,000.00
NexPoint Advisors, LP                     300 Crescent Court, Suite 700 Dallas, TX 75201         9/23/2019       1,000,000.00
Okada Insurance Rabbi Trust               300 Crescent Court, Suite 700 Dallas, TX 75201         10/3/2019          14,875.00
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201        11/15/2018           1,295.64
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201        12/31/2018           5,149.90
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         1/15/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         2/15/2019            102.32
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         3/29/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         4/30/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         5/15/2019            364.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         6/28/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         7/15/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         8/30/2019         205,787.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201         9/30/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201        10/15/2019             59.95
Scott Ellington ‐ Expense Reimbursement   300 Crescent Court, Suite 700 Dallas, TX 75201        10/15/2019         113,104.52
Strand Advisors                           300 Crescent Court, Suite 700 Dallas, TX 75201        12/19/2018          12,423.44
Strand Advisors                           300 Crescent Court, Suite 700 Dallas, TX 75201         3/28/2019           9,351.38
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201        10/31/2018            419.21
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201        12/14/2018           5,024.00
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         1/31/2019            355.30
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         4/15/2019            529.77
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         4/30/2019           4,185.33
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         5/15/2019            589.52
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         5/31/2019            480.00
Thomas Surgent ‐ Expense Reimbursement    300 Crescent Court, Suite 700 Dallas, TX 75201         6/28/2019           1,591.54




                                                                                                                          4 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10623
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit C ‐ SOFA #4

Trading Partner                                       Trading Partner Address                          Payment Date    Payment Amount
Thomas Surgent ‐ Expense Reimbursement                300 Crescent Court, Suite 700 Dallas, TX 75201       7/15/2019            125.00
Thomas Surgent ‐ Expense Reimbursement                300 Crescent Court, Suite 700 Dallas, TX 75201       9/30/2019             28.00
Thomas Surgent ‐ Expense Reimbursement                300 Crescent Court, Suite 700 Dallas, TX 75201      10/15/2019           2,232.89

Total                                                                                                                     36,608,252.91


Refer to SOFA 30 and Exhibit G for other transfers.




                                                                                                                                    5 of 5
      Case19-34054-sgj11
      Case 21-03005-sgj Doc
                         Doc29248
                               Filed  05/24/21
                                   Filed 12/13/19Entered 05/24/21
                                                    Entered       10:22:39
                                                            12/13/19 22:34:17Page 10724
                                                                               Page   ofof
                                                                                        60034

Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit D ‐ SOFA 7


                     Case Title                                  Case Number                           Nature of Case                                               Court Name                                    Court Address                  Status of case
Duff & Phelps, LLC v. Highland Capital Management, L.P. Index No. 653813/2019     Claim for breach of contract and unjust enrichment for failure to Supreme Court of the State of New York, County of    60 Centre St, New York, NY 10007       Concluded
                                                                                  pay pursuant to a Letter of Engagement and accompanying TermsNew York
                                                                                  and Conditions.



Hamilton Partners, L.P. v. Highland Capital Management, Cause No. 6547            Allegedly improper restructuring of American Home Patient        Court of Chancery of the State of Delaware            34 The Circle                          Concluded
L.P. and Joseph Furlong                                                                                                                                                                                  Georgetown, DE 19947




In re: Acis Capital Management, L.P. (Case No. 18-30264- Case No. 18-03212-SGJ    Chapter 11 Trustee, on behalf of Debtors, claimed violation of   United State Bankruptcy Court for the Northern        George Mahon Federal Building          Pending
SGJ-11), Acis Capital Management GP, LLC (Case No. 18-                            TRO, preliminary injunction, and fraudulent conveyance.          District of Texas, Dallas Division                    1205 Texas Ave., Rm 306
30265-SGJ-11) as Debtors. Robin Phelan, Chapter 11                                                                                                                                                       Lubbock, TX 79401-4002
Trustee v. Highland Capital Management, L.P., Highland
CLO Funding, Ltd. f/k/a Acis Loan Funding, Ltd., CLO
Holdco, Ltd., Neutra, Ltd., Acis CLO 2014-3 Ltd., Acis
CLO 2014-4 Ltd., Acis CLO 2014-5 Ltd., Acis CLO 2015-
6 Ltd., Acis CLO 2014-3 LLC, Acis CLO 2014-4 LLC,
Acis CLO 2014-5 LLC, and Acis CLO 2015-6 LLC




McKool Smith P.C. vs. Highland Capital Management, L.P. JAMS No.: 1310024517      Claim for breach of contract pursuant to Crusader Retention      N/A                                                   N/A                                    Pending
                                                                                  Agreement, Terry Retention Agreement, UBS Retention
                                                                                  Agreement, and payment plan.



NWCC, LLC v. Highland CLO Management, LLC;               Case No. 654195/2018     Claim for breach of contract for failure to pay pursuant to Master Supreme Court of the State of New York, County of   60 Centre St, New York, NY 10007       Pending
Highland Capital Management, L.P.; Acis CLO 2014-3                                Repurchase Agreement.                                              New York
Ltd.; Highland CLO 2014-3R Ltd.; Highland CLO 2014-3R
LLC; Highland HCF Advisor, Ltd., as Trustee for Highland
CLO Trust; Highland CLO Management Holdings, L.P.;
Highland CLO Management GP, LLC; and Highland HCF
Advisor, Ltd.


Patrick Daugherty v. Highland Capital Management, L.P., No. 2017-0488-SG          Claim for collection of judgment against Highland Employee       Court of Chancery of the State of Delaware            34 The Circle                          Pending
Highland Employee Retention Assets, LLC, Highland ERA                             Retention Assets, LLC ("HERA")and allegation of improper                                                               Georgetown, DE 19947
Management, LLC, and James Dondero                                                transfer of assets from HERA to other Defendants




Redeemer Committee of the Highland Crusader Fund         Cause 2019 No. 332       Motion to enforce Crusader Arbitration Award                     Supreme Court of Bermuda                              2nd floor, Government Administration   Pending
(acting through its members, (1) Grosvenor Capital                                                                                                                                                       Building
Management, L.P., (2) FRM Investment Management                                                                                                                                                          30 Parliament Street
Limited, (3) Concord Management, LLC, (4) Baylor                                                                                                                                                         Hamilton HM12
University, (5) FIX Asset Management, (6) The United                                                                                                                                                     Bermuda
States Army Air Force Exchange Services) vs. Highland
Capital Management, L.P.




Redeemer Committee of the Highland Crusader Fund         Cause 153 of 2019        Motion to enforce Crusader Arbitration Award                     Grant Court of the Cayman Islands Financial Services P.O. Box 495                            Pending
(acting through its members, (1) Grosvenor Capital                                                                                                 Division                                             Grand Cayman KY1-1106
Management, L.P., (2) FRM Investment Management                                                                                                                                                         Cayman Islands
Limited, (3) Concord Management, LLC, (4) Baylor
University, (5) FIX Asset Management, (6) The United
States Army Air Force Exchange Services) vs. Highland
Capital Management, L.P.




Redeemer Committee of the Highland Crusader Fund v.      No. 01-16-002-6927       Injunctive relief and damages sought related to wind down of     N/A                                                   N/A                                    Concluded
Highland Capital Management, L.P.                                                 legacy hedge fund from the 2008 financial crisis.




Redeemer Committee of the Highland Crusader Fund v.      No. 12533-VCG            Injunctive relief and declaratory judgment related to wind down oCourt of Chancery of the State of Delaware            34 The Circle                          Pending
Highland Capital Management, L.P.                                                 legacy hedge fund from the 2008 financial crisis.                                                                      Georgetown, DE 19947




UBS Securities LLC and UBS AG, London Branch v.            Case No. 650097/2009   Plaintiff alleges that HCMLP engaged in fraudulent transfers and Supreme Court of the State of New York, County of     60 Centre St, New York, NY 10007       Pending
Highland Capital Management, L.P., Highland Special                               breached its duty of good faith in fair dealing in managing the  New York
Opportunities Holding Company, Highland CDO                                       obligations of its funds.
Opportunity Master Fund, L.P. Highland Financial Partners,
L.P., Highland Credit Strategies Fund, Highland Crusader
Offshore Partners, L.P., Highland Credit Opportunities
CDO, L.P. and Strand Advisors, Inc.




Highland Capital Management, L.P. v. Joshua Terry        Case No. DC-16-11396     Employee Terry was terminated for cause. Highland filed suit for162nd District Court of Dallas County, Texas           00 Commerce Street, 7th Floor New      Pending
                                                                                  return of Highland's confidential information and other                                                                Tower, Dallas, TX 75202
                                                                                  counterclaims. Terry has filed counterclaims for conversion and
                                                                                  defamation.




                                                                                                                                                                                                                                                            1 of 1
  Case19-34054-sgj11
  Case 21-03005-sgj Doc
                     Doc29248
                           Filed  05/24/21
                               Filed 12/13/19Entered 05/24/21
                                                Entered       10:22:39
                                                        12/13/19 22:34:17Page 10825
                                                                           Page   ofof
                                                                                    60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit E ‐ SOFA #9

                                 Vendor                  Amount                  Expense Type           Date
B&H Photo                                            $        7,000.00     Business Gifts             Feb 22, 2019
Competitive Cyclist                                             5,000.00   Business Gifts             Feb 22, 2019
REI                                                             3,009.95   Business Gifts             Feb 22, 2019
The Family Place                                                4,500.00   Business Gifts              Jan 11, 2019
Neiman Marcus                                                 10,000.00    Business Gifts              Jan 29, 2019
Nordstrom                                                       9,000.00   Business Gifts              Jan 29, 2019
Neiman Marcus                                                   2,800.00   Business Gifts             Aug 10, 2018
Barney's New York                                               3,015.00   Business Gifts             Dec 27, 2017
Etro Store                                                      1,710.35   Business Gifts             Dec 27, 2017
Sutterfly                                                       1,627.64   Business Gifts             Jun 26, 2019
B&H Video                                                       5,015.00   Business Gifts             Oct 25, 2017
Competitive Cyclist                                             5,000.00   Business Gifts             Oct 25, 2017
Nordstrom                                                       5,000.00   Business Gifts             Oct 25, 2017
REI                                                             5,000.00   Business Gifts             Oct 25, 2017
JD                                                              5,000.00   Business Gifts              Jan 29, 2019
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86              7,508.95   Business Gifts             Dec 12, 2018
Dallas Childrens Advocacy                                     17,500.00    Charitable Contributions    Jan 11, 2019
Political Contribution                                        20,000.00    Charitable Contributions   May 13, 2019
Political Contribution                                        30,000.00    Charitable Contributions   May 29, 2019
NORTHPARK CENTER                                                1,230.00   Gift/Awards                Apr 26, 2019
Kroger                                                          1,483.30   Gift/Awards                Apr 26, 2018
Total Wine                                                      1,125.76   Gift/Awards                Feb 13, 2018
Costco                                                          2,168.86   Gift/Awards                Feb 13, 2019
Apple                                                           4,000.00   Gift/Awards                Feb 26, 2018
B&H Photo                                                       3,000.00   Gift/Awards                Feb 26, 2018
Competetive Cyclist                                             5,000.00   Gift/Awards                Feb 26, 2018
Nordstrom                                                       1,350.00   Gift/Awards                Feb 26, 2018
Nordstrom                                                       4,650.00   Gift/Awards                Feb 26, 2018
Nordstrom                                                       1,250.00   Gift/Awards                Feb 26, 2018
Nordstrom                                                       3,750.00   Gift/Awards                Mar 13, 2019
Nordstrom                                                       7,010.00   Gift/Awards                Mar 13, 2019
REI                                                             4,009.95   Gift/Awards                Mar 13, 2019
Neiman Marcus                                                   2,075.00   Gift/Awards                Mar 27, 2018
AMAZON.COM*MB5OG1ZC1AMZN.COM/BI 1T5SDTP0V6I MERCHA              1,000.00   Gift/Awards                Feb 13, 2019
AMERICAN AIRLINES XXXXX‐XXX‐XXX XXXX0103 AA.COM                 1,000.00   Gift/Awards                Feb 13, 2019
BABY.COM EGIFT CRD XXX‐XXX‐1977 9XXX9375PRC GIFT C              1,000.00   Gift/Awards                Feb 13, 2019
WALMART.COM XXX‐XXX‐6546 AR WMZVYLNO0YU RETAIL                  1,000.00   Gift/Awards                Feb 13, 2019
AMAZON.COM*M01N33JX2AMZN.COM/BI 43WY9S9CUK8 MERCHA              1,000.00   Gift/Awards                Dec 12, 2018
AMAZON.COM*MX1474TL1AMZN.COM/BI 594WNOFOQ54 MERCHA              1,000.00   Gift/Awards                Dec 12, 2018
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86            68,280.95    Gift/Awards                Dec 12, 2018
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 9XXX3699QOK GIFT C              1,000.00   Gift/Awards                Dec 12, 2018
AAA INNOVATIONS AAA NORWOOD NJ XXXXXXX8353 NON‐DUR              4,558.75   Gift/Awards                 Jan 11, 2019
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86              3,508.95   Gift/Awards                 Jan 11, 2019
HOTELS.COM GIFT CARDXXX‐XXX‐197 9XXX8780BOK GIFT C              1,000.00   Gift/Awards                 Jan 11, 2019
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 9XXX6040GOK GIFT C              1,000.00   Gift/Awards                 Jan 11, 2019
AMEX HILTON GIFT CARXXX‐XXX‐058 XXXX4162 BOL X0285              5,008.95   Gift/Awards                Feb 13, 2018
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 4XXX2954P90 GIFT C              1,000.00   Gift/Awards                Nov 10, 2017
CS_*BABIESRUSGIFTCARXXX‐XXX‐197 4XXX6083G9J GIFT C              1,000.00   Gift/Awards                Dec 13, 2017
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3              5,014.19   Gift/Awards                Dec 13, 2017
RITZ CARLTON GIFT CAMIDVALE UT XXXXXXXXX XXX‐XXX‐8              1,001.00   Gift/Awards                Dec 13, 2017
AMAZON.COM AMZN.COM/BILL WA 4HQ4J0AKNMQ MERCHANDIS              1,000.00   Gift/Awards                 Jan 10, 2018
AMEX GIFT CARDS XXX‐XXX‐0582 NY OPWBXXX0386BOL XX2              7,008.95   Gift/Awards                Mar 13, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3              1,014.93   Gift/Awards                Mar 13, 2018




                                                                                                             1 of 2
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 10926
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit E ‐ SOFA #9

                                 Vendor                  Amount                   Expense Type     Date
AMEX GIFT CARDS XXX‐XXX‐0582 NY OPWBXXX3116BOL XX2                3,520.80   Gift/Awards         Apr 11, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3                1,014.93   Gift/Awards         Apr 11, 2018
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                5,010.95   Gift/Awards         May 10, 2018
AMAZON.COM AMZN.COM/BILL WA 16B3JYYTOHX MERCHANDIS                1,000.00   Gift/Awards         Jun 12, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3                1,014.93   Gift/Awards         Jun 12, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3                5,014.93   Gift/Awards         Jun 12, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3                1,000.00   Gift/Awards         Jun 12, 2018
HOTELS.COM GIFT CARDXXX‐XXX‐197 4XXX5955KHG GIFT C                1,000.00   Gift/Awards         Jun 12, 2018
AMAZON.COM AMZN.COM/BILL WA 4C5DKHDW6TK MERCHANDIS                1,000.00   Gift/Awards           Jul 11, 2018
AMAZON.COM AMZN.COM/BILL WA 5AK74J5T9LC MERCHANDIS                1,000.00   Gift/Awards           Jul 11, 2018
HOTELS.COM GIFT CARDXXX‐XXX‐197 4XXX5284CIM GIFT C                1,000.00   Gift/Awards           Jul 11, 2018
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                1,001.00   Gift/Awards           Jul 11, 2018
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 4XXX6255NHS GIFT C                1,000.00   Gift/Awards           Jul 11, 2018
AMAZON.COM AMZN.COM/BILL WA 3NRIPESL5H2 MERCHANDIS                1,000.00   Gift/Awards         Aug 10, 2018
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86                3,522.85   Gift/Awards         Aug 10, 2018
HOTELS.COM GIFT CARDXXX‐XXX‐197 4XXXX8611J4 GIFT C                1,000.00   Gift/Awards         Aug 10, 2018
HOTELS.COM GIFT CARDXXX‐XXX‐197 8XXX5959YIW GIFT C                1,000.00   Gift/Awards         Aug 10, 2018
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                5,001.00   Gift/Awards         Aug 10, 2018
AMAZON.COM*MT7OW87B1AMZN.COM/BI 1XJ571A2WYA MERCHA                1,000.00   Gift/Awards         Nov 13, 2018
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 9XXX5657XMX GIFT C                1,000.00   Gift/Awards         Nov 13, 2018
CS *HOTELS.COM GC XXX‐XXX‐1977 4XXX3604JRQ GIFT CA                1,000.00   Gift/Awards         Mar 13, 2019
HILTON GC XXX XXX‐XXXXX‐XXX‐XXX XX0847 GIFTCARDS F                1,008.95   Gift/Awards         Mar 13, 2019
HOTELS.COM GIFT CARDXXX‐XXX‐197 4XXX1517JRH GIFT C                1,000.00   Gift/Awards         Mar 13, 2019
AMAZON.COM*MW2NP75Y2AMZN.COM/BI 1ZRLAH1KV0Q MERCHA                1,000.00   Gift/Awards         May 13, 2019
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86                3,515.95   Gift/Awards         May 13, 2019
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86                3,520.85   Gift/Awards         Jun 12, 2019
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86                3,515.95   Gift/Awards           Jul 11, 2019
ANSE CHASTANET ‐ RESSOUFRIERE LC XXXXXXXXXX XXX‐XX                5,000.00   Gift/Awards         Sep 11, 2018
Four Seasons 8XX7828WILMINGTON XXXXXXXXXXX XXXXXX3                5,014.93   Gift/Awards         Sep 11, 2018
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                1,010.95   Gift/Awards         Sep 11, 2018
RITZ CARLTON GIFT CAMIDVALE UT XXXXXXXXX XXX‐XXX‐8                1,010.95   Gift/Awards         Sep 11, 2018
WLLMS‐SONMA CSTR GFTXXX‐XXX‐197 4XXXX6218KG GIFT C                1,000.00   Gift/Awards         Sep 11, 2018
AMAZON.COM*MT5FG6LG0AMZN.COM/BI 2CWA16B0JP6 MERCHA                2,000.00   Gift/Awards         Oct 11, 2018
AMEXGIFTCARD.COM‐BOLATLANTA GA XXXXXXXX XXX‐XXX‐86                7,529.80   Gift/Awards         Oct 11, 2018
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                5,000.00   Gift/Awards           Oct 4, 2019
Hotels.com                                                        1,000.00   Gift/Awards           Jul 11, 2019
Buy Buy Baby                                                      1,000.00   Gift/Awards         Aug 13, 2019
William Sonoma                                                    1,000.00   Gift/Awards         Aug 13, 2019
Amazon.com                                                        1,000.00   Gift/Awards         Sep 10, 2019
AMAZON.COM*MA02T1UW2AMZN.COM/BI 59I475TIIR3 MERCHA                1,000.00   Gift/Awards         Sep 10, 2019
CS *BUYBUYBABY EGTFCXXX‐XXX‐197 4XXX9435NZ1 GIFT C                1,000.00   Gift/Awards         Sep 10, 2019
CS *HOTELS.COM GC XXX‐XXX‐1977 4XXX4055UYZ GIFT CA                1,000.00   Gift/Awards         Sep 10, 2019
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                1,000.00   Gift/Awards         Sep 10, 2019
MARRIOTT GIFT CARDS MIDVALE UT XXXXXXXXX XXX‐XXX‐4                1,000.00   Gift/Awards         Sep 10, 2019
CS *HOTELS.COM GC XXX‐XXX‐1977 9XXX0073VU5 GIFT CA                2,000.00   Gift/Awards         May 13, 2019
CS *HOTELS.COM GC XXX‐XXX‐1977 9XXX9190AU5 GIFT CA                1,000.00   Gift/Awards         May 13, 2019
CS *HOTELS.COM GC XXX‐XXX‐1977 9XXXX7723U5 GIFT CA                2,000.00   Gift/Awards         May 13, 2019
CS *HOTELS.COM GC XXX‐XXX‐1977 4XXXX2756TI GIFT CA                1,000.00   Gift/Awards         Apr 11, 2019
Beard Supply                                                      1,623.75   Gift/Awards          Jan 10, 2018
Patagonia                                                         2,685.71   Gift/Awards          Jan 26, 2018
Political Contribution                                       25,000.00 Gift/Charity              Jun 30, 2018
Political Contribution                                       25,000.00 Gift/Charity              Jun 30, 2019
Total                                                $      445,725.61



                                                                                                          2 of 2
                                                                                                 Case19-34054-sgj11
                                                                                                 Case 21-03005-sgj Doc
                                                                                                                    Doc29248
                                                                                                                          Filed  05/24/21
                                                                                                                              Filed 12/13/19Entered 05/24/21
                                                                                                                                               Entered       10:22:39
                                                                                                                                                       12/13/19 22:34:17Page 11027
                                                                                                                                                                          Page   ofof
                                                                                                                                                                                   60034




Highland Capital Management LP
Case # 19-34054-SGJ
Exhibit F - SOFA 25


                        Name                                                      Relationship                           Address                                                      EIN          Description of Business                         Date of Creation   Date of Termination (if applicable)
Aberdeen Loan Funding, Ltd.                               IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   N/A          CLO Fund                                        12/14/2006
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Brentwood CLO, Ltd.                                       IMA                                                            MaplesFS - PO Box 1093, Grand Cayman, KY1-1102,              XX-XXXXXXX CLO Fund                                          5/21/2006
                                                                                                                         Cayman Islands
Bristol Bay Funding Ltd.                                  IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX CLO Fund                                          11/18/2003
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Eastland CLO, Ltd.                                        IMA                                                            Elian Fiduciary Services (Cayman) Limted - 190 Elgin Ave,    XX-XXXXXXX CLO Fund                                          3/31/2006
                                                                                                                         George Town, Grand Cayman KY1-9005, Cayman Islands

Gleneagles CLO, Ltd.                                      IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        2/25/2005
                                                                                                                         Cayman KY1-1102, Cayman islands
Grayson CLO, Ltd.                                         IMA                                                            Elian Fiduciary Services (Cayman) Limted - 190 Elgin Ave,    XX-XXXXXXX CLO Fund                                          2/7/2006
                                                                                                                         George Town, Grand Cayman KY1-9005, Cayman Islands

Greenbriar CLO, Ltd.                                      IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        10/24/2007
                                                                                                                         Cayman KY1-1102, Cayman islands
Highland CDO Holding Company                              IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX HFP sub                                           1/24/2006
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Highland CDO Opportunity Fund, L.P.                       IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                        11/3/2005          Terminated
                                                                                                                         Wilmington, DE 19801
Highland CDO Opportunity Fund, Ltd.                       IMA                                                            MQ Services Ltd, Victoria House, 31 Victoria Street,         N/A          Hedge fund                                      5/8/2002           Terminated
                                                                                                                         Hamilton HM10, Bermuda
Highland CDO Opportunity Master Fund, L.P.                IMA                                                            MQ Services Ltd, Victoria House, 31 Victoria Street,         XX-XXXXXXX Hedge fund                                        10/31/2005         Terminated
                                                                                                                         Hamilton HM10, Bermuda
Highland Credit Opportunities CDO, Ltd.                   IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX Hedge fund                                        11/1/2005
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Highland Credit Opportunities Japanese Feeder Sub-Trust IMA                                                              Intertrust Corporate Services (Cayman) Limited , 190 Elgin   N/A          Hedge fund                                      8/22/2007
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Highland Credit Strategies Fund, L.P.                     IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                        8/2/2005
                                                                                                                         Wilmington, DE 19801
Highland Credit Strategies Fund, Ltd.                     IMA                                                            MQ Services Ltd, Victoria House, 31 Victoria Street,         XX-XXXXXXX Hedge fund                                        8/8/2005
                                                                                                                         Hamilton HM10, Bermuda
Highland Credit Strategies Master Fund, L.P.              IMA                                                            MQ Services Ltd, Victoria House, 31 Victoria Street,         XX-XXXXXXX Hedge fund                                        8/19/2005
                                                                                                                         Hamilton HM10, Bermuda
Highland Dynamic Income Fund, L.P.                        IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                        2/25/2013
(fka Highland Capital Loan Fund, L.P.)                                                                                   Wilmington, DE 19801
Highland Dynamic Income Fund, Ltd.                        IMA                                                            Maples Corporate Services Limited                            N/A          Hedge fund                                      2/26/2013
(fka Highland Loan Fund, Ltd.)                                                                                           PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Dynamic Income Master Fund, L.P. (fka Highland IMA                                                              Maples Corporate Services Limited                            XX-XXXXXXX Hedge fund                                        2/26/2013
Loan Master Fund, L.P.)                                                                                                  PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Financial Corp.                                  IMA - terminated                                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX HFP sub                                           2/28/2006
                                                                                                                         Wilmington, DE 19801
Highland Flexible Income UCITS Fund                       IMA                                                            23 St. Stephen's Green, Dblin 2, Ireland                     N/A          Separate account                                6/7/2018
Highland Legacy Limited                                   IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        7/6/1999
                                                                                                                         Cayman KY1-1102, Cayman islands
Highland Loan Funding V, Ltd.                             IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        2/5/2001
                                                                                                                         Cayman KY1-1102, Cayman islands
Highland Multi Strategy Credit Fund, L.P. (fka Highland   IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                        12/1/2005
Credit Opportunities Fund, L.P., fka Highland Credit                                                                     Wilmington, DE 19801
Opportunities CDO, L.P.)
Highland Multi Strategy Credit Fund, Ltd. (fka Highland   IMA                                                            Maples Corporate Services Limited                            XX-XXXXXXX Hedge fund                                        12/29/2005
Credit Opportunities Fund, Ltd.)                                                                                         PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Park CDO 1, Ltd.                                 IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             XX-XXXXXXX CLO Fund                                          7/12/2006
                                                                                                                         Cayman KY1-1102, Cayman islands
Highland Prometheus Feeder Fund I, L.P.                   IMA                                                            Maples Corporate Services Limited                            XX-XXXXXXX Hedge fund                                        11/7/2016
                                                                                                                         PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Prometheus Feeder Fund II, L.P.                  IMA                                                            Maples Corporate Services Limited                            XX-XXXXXXX Hedge fund                                        2/17/2017
                                                                                                                         PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Prometheus Master Fund, L.P.                     IMA                                                            Maples Corporate Services Limited                            XX-XXXXXXX Hedge fund                                        11/7/2016
                                                                                                                         PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Restoration Capital Partners Master, L.P.        IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private equity fund                               11/14/2007
                                                                                                                         Wilmington, DE 19801
Highland Restoration Capital Partners Offshore, L.P.      IMA                                                            Maples Corporate Services Limited                            XX-XXXXXXX Private equity fund                               11/13/2007
                                                                                                                         PO Box 309, Ugland House
                                                                                                                         Grand Cayman KY1-1104, Cayman Islands
Highland Restoration Capital Partners, L.P.               IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private equity fund                               11/14/2007
                                                                                                                         Wilmington, DE 19801
Highland Select Equity Fund, L.P.                         IMA                                                            The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                        12/5/2001
                                                                                                                         Wilmington, DE 19801
Highland Select Equity Master Fund, L.P.                  IMA                                                            MQ Services Ltd, Victoria House, 31 Victoria Street,         XX-XXXXXXX Hedge fund                                        4/12/2007
                                                                                                                         Hamilton HM10, Bermuda
Highland Special Opportunities Holding Company            IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX HFP sub                                           1/24/2006          Terminated
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Jasper CLO, Ltd.                                          IMA                                                            Elian Fiduciary Services (Cayman) Limted - 190 Elgin Ave,    XX-XXXXXXX CLO Fund                                          3/9/2005
                                                                                                                         George Town, Grand Cayman KY1-9005, Cayman Islands

Liberty CLO, Ltd.                                         IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX CLO Fund                                          6/30/2005
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Longhorn Credit Funding, LLC                              IMA                                                            United Corporate Services, Inc., 874 Walker Rd, Ste C,       N/A          Separate account                                10/15/2007
                                                                                                                         Dover, DE 19904
ML CLO XIX Sterling (Cayman), Ltd.                        IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        4/27/1998
                                                                                                                         Cayman KY1-1102, Cayman islands
Pam Capital Funding, L.P.                                 IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             XX-XXXXXXX CLO Fund                                          5/8/1998
                                                                                                                         Cayman KY1-1102, Cayman islands
PamCo Cayman Ltd.                                         IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        1/18/1997
                                                                                                                         Cayman KY1-1102, Cayman islands
PensionDanmark Pensionsforsikringsaktieselskab            IMA                                                            Langelinie Allé 43, DK-2100 Copenhagen Ø                     N/A        Separate account                                  6/24/1992
Red River CLO, Ltd.                                       IMA                                                            Elian Fiduciary Services (Cayman) Limted - 190 Elgin Ave,    XX-XXXXXXX CLO Fund                                          1/24/2006
                                                                                                                         George Town, Grand Cayman KY1-9005, Cayman Islands

Rockwall CDO II Ltd.                                      IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        4/12/2006
                                                                                                                         Cayman KY1-1102, Cayman islands
Rockwall CDO, Ltd.                                        IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             XX-XXXXXXX CLO Fund                                          6/7/2005
                                                                                                                         Cayman KY1-1102, Cayman islands
Southfork CLO, Ltd.                                       IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             N/A          CLO Fund                                        10/21/2004
                                                                                                                         Cayman KY1-1102, Cayman islands
Stratford CLO, Ltd.                                       IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             XX-XXXXXXX CLO Fund                                          10/17/2006
                                                                                                                         Cayman KY1-1102, Cayman islands
Valhalla CLO, Ltd.                                        IMA                                                            Intertrust Corporate Services (Cayman) Limited , 190 Elgin   XX-XXXXXXX CLO Fund                                          6/9/2004
                                                                                                                         Ave, George Town, Grand Cayman KY1-9005, Cayman
                                                                                                                         Islands
Westchester CLO, Ltd.                                     IMA                                                            MaplesFS Limted, PO Box 1093, George Town, Grand             XX-XXXXXXX CLO Fund                                          11/10/2006
                                                                                                                         Cayman KY1-1102, Cayman islands
Highland Latin America GP, Ltd.                           Highland Capital Management, L.P., as trustee of Highland      Maples Corporate Services Limited                            XX-XXXXXXX GP of the relying advisor to the Argentina fund   3/6/2017
                                                          Latin America Trust and nominiee for and on behalf of Highland PO Box 309, Ugland House
                                                          Latin America LP, Ltd.                                         Grand Cayman KY1-1104, Cayman Islands




                                                                                                                                                                                                                                                                                                            1 of 3
                                                                                                 Case19-34054-sgj11
                                                                                                 Case 21-03005-sgj Doc
                                                                                                                    Doc29248
                                                                                                                          Filed  05/24/21
                                                                                                                              Filed 12/13/19Entered 05/24/21
                                                                                                                                               Entered       10:22:39
                                                                                                                                                       12/13/19 22:34:17Page 11128
                                                                                                                                                                          Page   ofof
                                                                                                                                                                                   60034




Highland Capital Management LP
Case # 19-34054-SGJ
Exhibit F - SOFA 25


                              Name                                                Relationship                            Address                                                      EIN           Description of Business                             Date of Creation   Date of Termination (if applicable)
Highland Capital Management Latin America, L.P.           Highland Capital Management, L.P., as trustee of Highland       Maples Corporate Services Limited                            XX-XXXXXXX Relying advisor to the Argentina fund                  4/13/2017
                                                          Latin America Trust and nominee for and on behalf of Highland   PO Box 309, Ugland House
                                                          Latin America LP, Ltd.                                          Grand Cayman KY1-1104, Cayman Islands
Neutra, Ltd.                                              Highland Capital Management, L.P., as trustee of Acis CMOA      Maples Corporate Services Limited                            XX-XXXXXXX                                                        12/12/2012
                                                          Trust and nominiee for and on behalf of Highland CLO Assets     PO Box 309, Ugland House
                                                          Holdings Limited                                                Grand Cayman KY1-1104, Cayman Islands
Asbury Holdings, LLC (fka HCSLR Camelback Investors       Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               N/A           Holds HCMLP's Haygood interest                      2/14/2017
(Delaware), LLC)                                                                                                          Wilmington, DE 19801
De Kooning, Ltd.                                          Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Formed to hold Select's interest in Barclays'          12/12/2012
                                                                                                                          PO Box 309, Ugland House                                                assignment
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
HCREF-I Holding Corp.                                     Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Holds HCMLP interest in HCREF                          12/13/2012
                                                                                                                          Wilmington, DE 19801
HCREF-XI Holding Corp.                                    Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Holds HCMLP's interest in HE Mezz KR, LLC              12/13/2012
                                                                                                                          Wilmington, DE 19801
HCREF-XII Holding Corp.                                   Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Holds HCMLP's interest in 2006 Milam East              12/13/2012
                                                                                                                          Wilmington, DE 19801                                                    Partners LP
HFP GP, LLC                                               Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX HFP GP                                                 1/20/2006
                                                                                                                          Wilmington, DE 19801
Highland Brasil, LLC                                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Managing member of BB Votorantim Highland Infrastructure,
                                                                                                                                                                                                                                               1/28/2014 LLC
                                                                                                                          Wilmington, DE 19801
Highland Capital Management (Singapore) Pte Ltd           Highland Capital Management, L.P.                               Tricor, 80 Robinson Road #02-00, Singapore 068898            XX-XXXXXXX HCMLP's wholly owned sub in Singapore                  4/2/2008
Highland Capital Management Korea Limited                 Highland Capital Management, L.P.                               (Seoul Finance Center, Taepyeongro-1-ga) 21F, 136, Sejong-   XX-XXXXXXX Relying advisor to the Korea PEF                       8/2/2012
                                                                                                                          daero, Jung-gu, Seoul, Korea
Highland Capital Multi-Strategy Fund, LP                  Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private fund                                           7/6/2006
                                                                                                                          Wilmington, DE 19801
Highland Capital Special Allocation, LLC                  Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Entity received the incentive allocation from          12/21/2006
                                                                                                                          Wilmington, DE 19801                                                    HFP.
Highland CDO Opportunity Fund GP, L.P.                    Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund                                             10/20/2005
                                                                                                                          Wilmington, DE 19801
Highland CDO Opportunity GP, LLC                          Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          10/20/2005
                                                                                                                          Wilmington, DE 19801
Highland CLO Assets Holdings Limited                      Highland Capital Management, L.P.                               Maples Corporate Services (BVI) Limited                      XX-XXXXXXX                                                        12/19/2017
                                                                                                                          Kingston Chambers, PO Box 173, Road Town
                                                                                                                          Tortola, British Virgin Islands
Highland CLO Management Ltd.                              Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX                                                        10/27/2017
                                                                                                                          PO Box 309, Ugland House
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Highland Dynamic Income Fund GP, LLC (fka Highland        Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          2/25/2013
Capital Loan GP, LLC)                                                                                                     Wilmington, DE 19801
Highland Employee Retention Assets LLC                    Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX HERA                                                   6/23/2009
                                                                                                                          Wilmington, DE 19801
Highland ERA Management, LLC                              Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               N/A           HERA manager                                        2/1/2013
                                                                                                                          Wilmington, DE 19801
Highland Financial Partners, L.P.                         Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX HFP                                                    1/20/2006          Terminated
                                                                                                                          Wilmington, DE 19801
Highland Fund Holdings, LLC                               Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               N/A                                                               5/24/2016
                                                                                                                          Wilmington, DE 19801
Highland General Partner, LP                              Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          7/26/2005
                                                                                                                          Wilmington, DE 19801
Highland GP Holdings, LLC                                 Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          7/26/2005
                                                                                                                          Wilmington, DE 19801
Highland HCF Advisor Ltd.                                 Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Advisor to Highland CLO Funding, Ltd.                  10/27/2017
                                                                                                                          PO Box 309, Ugland House
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Highland Latin America LP, Ltd.                           Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Argentina fund structure                               3/6/2017
                                                                                                                          PO Box 309, Ugland House
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Highland Multi Strategy Credit Fund GP, L.P. (fka Highland Highland Capital Management, L.P.                              The Corporation Trust Company, 1209 Orange St,               N/A           Hedge fund GP                                       12/29/2005
Credit Opportunities CDO GP, L.P.)                                                                                        Wilmington, DE 19801
Highland Multi Strategy Credit GP, LLC (fka Highland       Highland Capital Management, L.P.                              The Corporation Trust Company, 1209 Orange St,               N/A           Hedge fund GP                                       12/29/2005
Credit Opportunities CDO GP, LLC)                                                                                         Wilmington, DE 19801
Highland Multi-Strategy Fund GP, LLC                       Highland Capital Management, L.P.                              The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private fund GP                                        7/6/2006
                                                                                                                          Wilmington, DE 19801
Highland Multi-Strategy Fund GP, LP                       Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private fund GP                                        7/6/2006
                                                                                                                          Wilmington, DE 19801
Highland Receivables Finance I, LLC                       Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Entity created in 2006 that purchased all of HCMLP's   12/28/2006
                                                                                                                          Wilmington, DE 19801                                                       receivables 100% owned by HCMLP.
Highland Restoration Capital Partners GP, LLC             Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Private equity fund GP                                 11/6/2007
                                                                                                                          Wilmington, DE 19801
Highland Select Equity Fund GP, L.P.                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          10/20/2005
                                                                                                                          Wilmington, DE 19801
Highland Select Equity GP, LLC                            Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hedge fund GP                                          10/20/2005
                                                                                                                          Wilmington, DE 19801
Highland SunBridge GP, LLC                                Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               N/A           Hedge fund GP                                       12/15/2015
                                                                                                                          Wilmington, DE 19801
Hirst, Ltd.                                               Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Formed to hold CDO Ltd's interest in Barclays          12/12/2012
                                                                                                                          PO Box 309, Ugland House                                                assignment
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Hockney, Ltd.                                             Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Formed to hold Crusader's interest in Barclays         12/12/2012
                                                                                                                          PO Box 309, Ugland House                                                assignment
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Maple Avenue Holdings, LLC                                Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Holds Uchi loan                                        8/17/2016
                                                                                                                          Wilmington, DE 19801
NexPoint Hospitality Trust                                Highland Capital Management, L.P.                               333 Bay Street, Suite 3400, Toronto, Ontario M5H 2S7,        XX-XXXXXXX Hospitality REIT                                       12/12/2018
                                                                                                                          Canada
NexPoint Insurance Distributors, LLC                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Insurance broker                                       7/25/2019
                                                                                                                          Wilmington, DE 19801
NexPoint Insurance Solutions GP, LLC                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Insurance advisor GP                                   4/4/2019
(fka Highland Capital Insurance Solutions GP, LLC)                                                                        Wilmington, DE 19801
NexPoint Insurance Solutions, L.P.                        Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Insurance advisor                                      4/4/2019
(fka Highland Capital Insurance Solutions, L.P.)                                                                          Wilmington, DE 19801
NexPoint Multifamily Capital Trust, Inc.                  Highland Capital Management, L.P.                               The Corporation Trust, 2405 York Rd, Ste 201, Lutherville    XX-XXXXXXX NMCT REIT                                              11/12/2013
                                                                                                                          Timonium, MD 21093
NexPoint Real Estate Strategies Fund                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Retail fund                                            3/10/2006
                                                                                                                          Wilmington, DE 19801
NexPoint Residential Trust Inc.                           Highland Capital Management, L.P.                               The Corporation Trust, 2405 York Rd, Ste 201, Lutherville    XX-XXXXXXX NXRT REIT                                              9/19/2014
                                                                                                                          Timonium, MD 21093
NexPoint Strategic Opportunities Fund                     Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Retail fund                                            3/10/2006
(fka NexPoint Credit Strategies Fund)                                                                                     Wilmington, DE 19801
NHT Holdco, LLC                                           Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Hospitality REIT structure                             1/2/2019
                                                                                                                          Wilmington, DE 19801
Oldenburg, Ltd.                                           Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX Formed to hold CDO LP's interest in Barclays           12/12/2012
                                                                                                                          PO Box 309, Ugland House                                                assignment
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
Penant Management LP                                      Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Holds HCREF's interest in Barclays assignment          12/12/2012
                                                                                                                          Wilmington, DE 19801
PetroCap Incentive Partners III, LP                       Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               ?             Petrocap fund                                       11/16/2017
                                                                                                                          Wilmington, DE 19801
PetroCap Partners II, L.P.                                Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX Petrocap fund                                          10/7/2013
                                                                                                                          Wilmington, DE 19801
PetroCap Partners III, L.P.                               Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               ?             Petrocap fund                                       11/16/2017
                                                                                                                          Wilmington, DE 19801
Pollack, Ltd.                                             Highland Capital Management, L.P.                               Maples Corporate Services Limited                            XX-XXXXXXX                                                        12/12/2012
                                                                                                                          PO Box 309, Ugland House
                                                                                                                          Grand Cayman KY1-1104, Cayman Islands
SE Multifamily Holdings LLC                               Highland Capital Management, L.P.                               The Corporation Trust Company, 1209 Orange St,               XX-XXXXXXX RE investment holding                                  8/23/2018
                                                                                                                          Wilmington, DE 19801




                                                                                                                                                                                                                                                                                                                  2 of 3
                                                                                   Case19-34054-sgj11
                                                                                   Case 21-03005-sgj Doc
                                                                                                      Doc29248
                                                                                                            Filed  05/24/21
                                                                                                                Filed 12/13/19Entered 05/24/21
                                                                                                                                 Entered       10:22:39
                                                                                                                                         12/13/19 22:34:17Page 11229
                                                                                                                                                            Page   ofof
                                                                                                                                                                     60034




Highland Capital Management LP
Case # 19-34054-SGJ
Exhibit F - SOFA 25


                             Name                                   Relationship                     Address                                                    EIN          Description of Business                          Date of Creation   Date of Termination (if applicable)
The Dondero Insurance Rabbi Trust            Highland Capital Management, L.P.                       300 Crescent Ct, Ste 700, Dallas, TX 75201                 XX-XXXXXXX Holds Dondero's life insurance policies and the 5/27/2004
                                                                                                                                                                           proceeds to be used to fund HCM's obligation to
                                                                                                                                                                           purchase Dondero Interests from the Trust
                                                                                                                                                                           Beneficiearies per Buy-Sell Agreement

The Okada Insurance Rabbi Trust              Highland Capital Management, L.P.                       300 Crescent Ct, Ste 700, Dallas, TX 75201                 XX-XXXXXXX Holds Okada's life insurance policies and the   5/27/2004
                                                                                                                                                                           proceeds to be used to fund HCM's obligation to
                                                                                                                                                                           purchase Okada Interests from the Trust
                                                                                                                                                                           Beneficiaries per Buy-Sell Agreement

US Gaming SPV, LLC                           Highland Capital Management, L.P.                       The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX SPV of eSports investment in Korea                 5/14/2019
                                                                                                     Wilmington, DE 19801
Warhol, Ltd.                                 Highland Capital Management, L.P.                       Maples Corporate Services Limited                          XX-XXXXXXX Formed to hold Ops' interest in Barclays           12/12/2012
                                                                                                     PO Box 309, Ugland House                                              assignment
                                                                                                     Grand Cayman KY1-1104, Cayman Islands
HE Capital 232 Phase I, LLC                  HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying property is a 71.73 acre site           12/20/2007
                                                                                                     Wilmington, DE 19801                                                  consisting of 232 finished single family lots in
                                                                                                                                                                           the NW Phoenix development of Asante.
HE Capital Asante, LLC                       HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying project is a 843 acre multi-phase       7/5/2007
                                                                                                     Wilmington, DE 19801                                                  residential development in NW Phoenix, AZ
HE Capital Fox Trails, LLC                   HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             N/A        Underlying project is a 889.58 acre vacant         3/10/2008
                                                                                                     Wilmington, DE 19801                                                  parcel in NW Phoenix with PAD approval for
                                                                                                                                                                           2,320 single family units.
HE Capital KR, LLC                           HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             N/A        Underlying project is a 1,829.67 acre vacant       7/5/2007
                                                                                                     Wilmington, DE 19801                                                  parcel in SW Phoenix proposed for 4,250 single
                                                                                                                                                                           family lots of which 1,431 have final plat
                                                                                                                                                                           approval (Phase I) and 50.94 acres of
                                                                                                                                                                           commercial land.
HE Capital, LLC                              HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Parent entity for joint venture between Ellman     3/22/2007
                                                                                                     Wilmington, DE 19801                                                  and Highland.
HE CLO Holdco, LLC                           HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Blockers that used to hold Ellman interest         2/3/2011
                                                                                                     Wilmington, DE 19801
HE Mezz Fox Trails, LLC                      HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying project is a 889.58 acre vacant     3/10/2008
                                                                                                     Wilmington, DE 19801                                                  parcel in NW Phoenix with PAD approval for
                                                                                                                                                                           2,320 single family units.
HE Mezz KR, LLC                              HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying project is a 1,829.67 acre vacant   7/27/2007
                                                                                                     Wilmington, DE 19801                                                  parcel in SW Phoenix proposed for 4,250 single
                                                                                                                                                                           family lots of which 1,431 have final plat
                                                                                                                                                                           approval (Phase I) and 50.94 acres of
                                                                                                                                                                           commercial land.
HE Peoria Place Property, LLC                HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying project is a 127.39 acre vacant       12/10/2007
                                                                                                     Wilmington, DE 19801                                                  parcel in NW Phoenix being improved with
                                                                                                                                                                           interior roadways for ultimate development or
                                                                                                                                                                           sale under the PAD approving 11 acres of office,
                                                                                                                                                                           23 acres of retail, 50 acres of single family an
                                                                                                                                                                           d43 acres of multi family.
HE Peoria Place, LLC                         HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Underlying project is a 127.39 acre vacant       11/14/2007
                                                                                                     Wilmington, DE 19801                                                  parcel in NW Phoenix being improved with
                                                                                                                                                                           interior roadways for ultimate development or
                                                                                                                                                                           sale under the PAD approving 11 acres of office,
                                                                                                                                                                           23 acres of retail, 50 acres of single family an
                                                                                                                                                                           d43 acres of multi family.
Hibiscus HoldCo, LLC                         HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX Blocker to hold Turtle Bay assets                  2/2/2010
                                                                                                     Wilmington, DE 19801
Highland CLO Gaming Holdings, LLC            HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX CLO blocker that used to hold Affility Gaming interest
                                                                                                                                                                                                                             11/18/2010
                                                                                                     Wilmington, DE 19801
Highland TCI Holding Company, LLC            HCMLP-Manager                                           CT Corporation, 1999 Bryan St, Ste 900, Dallas, TX 75201   XX-XXXXXXX CLO blocker to hold TCI/Park West assets           6/21/2011

Highland’s Roads Land Holding Company, LLC   HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX CLO blocker to hold LLV reorg equity               3/30/2009
                                                                                                     Wilmington, DE 19801
Kuilima Montalban Holdings, LLC              HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX CLO blocker to hold Turtle Bay equity              2/19/2010
                                                                                                     Wilmington, DE 19801
Kuilima Resort Holdco, LLC                   HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX CLO blocker to hold Turtle Bay equity              3/18/2009
                                                                                                     Wilmington, DE 19801
Park West Holdco, LLC                        HCMLP-Manager                                           CT Corporation, 1999 Bryan St, Ste 900, Dallas, TX 75201   XX-XXXXXXX Holds TCI assets                                   4/4/2011

Park West Portfolio Holdco, LLC              HCMLP-Manager                                           CT Corporation, 1999 Bryan St, Ste 900, Dallas, TX 75201   XX-XXXXXXX Holds TCI assets                                   4/14/2011

PDK Toys Holdco, LLC                         HCMLP-Manager                                           The Corporation Trust Company, 1209 Orange St,             XX-XXXXXXX PDK blocker to hold Toys R'Us loan                 2/14/2019
                                                                                                     Wilmington, DE 19801
Acis CMOA Trust                              HCMLP - Trustee                                         Maples Corporate Services Limited                          N/A                                                           3/30/2018
                                                                                                     PO Box 309, Ugland House
                                                                                                     Grand Cayman KY1-1104, Cayman Islands
Highland Latin America Trust                 HCMLP - Trustee                                         Maples Corporate Services Limited                          N/A                                                           3/30/2018
                                                                                                     PO Box 309, Ugland House
                                                                                                     Grand Cayman KY1-1104, Cayman Islands




                                                                                                                                                                                                                                                                                       3 of 3
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 11330
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit G ‐ SOFA 30


  Name                  Amounts               Date         Reason
  Dondero, James                     161.25   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   01/15/2019   Regular Base Pay
  Dondero, James                     161.25   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   01/31/2019   Regular Base Pay
  Dondero, James                     161.25   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   02/15/2019   Regular Base Pay
  Dondero, James                     161.25   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   02/28/2019   Regular Base Pay
  Dondero, James                     161.25   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   03/15/2019   Regular Base Pay
  Dondero, James                     161.25   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   03/29/2019   Regular Base Pay
  Dondero, James                     161.25   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   04/15/2019   Regular Base Pay
  Dondero, James                     161.25   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   04/30/2019   Regular Base Pay
  Dondero, James                     161.25   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   05/15/2019   Regular Base Pay
  Dondero, James                     161.25   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   05/31/2019   Regular Base Pay
  Dondero, James                     161.25   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   06/14/2019   Regular Base Pay
  Dondero, James                     161.25   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   06/28/2019   Regular Base Pay
  Dondero, James                     161.25   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   07/15/2019   Regular Base Pay
  Dondero, James                     161.25   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   07/31/2019   Regular Base Pay
  Dondero, James                     161.25   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   08/15/2019   Regular Base Pay
  Dondero, James                     161.25   08/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   08/30/2019   Regular Base Pay
  Dondero, James                     161.25   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   09/13/2019   Regular Base Pay
  Dondero, James                     161.25   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   09/30/2019   Regular Base Pay
  Dondero, James                     161.25   10/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   10/15/2019   Regular Base Pay
  Dondero, James                     161.25   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   10/31/2018   Regular Base Pay
  Dondero, James                     161.25   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   11/15/2018   Regular Base Pay
  Dondero, James                     161.25   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   11/30/2018   Regular Base Pay
  Dondero, James                     161.25   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   12/14/2018   Regular Base Pay
  Dondero, James                     161.25   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Dondero, James                  23,437.51   12/31/2018   Regular Base Pay
  Ellington, Scott                    71.25   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   01/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   01/31/2019   Regular Base Pay
  Ellington, Scott                    71.25   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   02/15/2019   Regular Base Pay
  Ellington, Scott               300,000.00   02/28/2019   Bonus
  Ellington, Scott                    71.25   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   02/28/2019   Regular Base Pay
  Ellington, Scott               350,000.00   03/15/2019   Bonus
  Ellington, Scott                    71.25   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   03/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   03/29/2019   Regular Base Pay



                                                                                                                                          1 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 11431
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit G ‐ SOFA 30


  Name                  Amounts               Date         Reason
  Ellington, Scott                    71.25   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   04/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   04/30/2019   Regular Base Pay
  Ellington, Scott                    71.25   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   05/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   05/31/2019   Regular Base Pay
  Ellington, Scott                    71.25   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   06/14/2019   Regular Base Pay
  Ellington, Scott               350,629.00   06/28/2019   Bonus and/or Deferred Compensation
  Ellington, Scott                    71.25   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   06/28/2019   Regular Base Pay
  Ellington, Scott                    71.25   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   07/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   07/31/2019   Regular Base Pay
  Ellington, Scott                    71.25   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   08/15/2019   Regular Base Pay
  Ellington, Scott               650,000.00   08/30/2019   Bonus
  Ellington, Scott                    71.25   08/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   08/30/2019   Regular Base Pay
  Ellington, Scott                    71.25   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   09/13/2019   Regular Base Pay
  Ellington, Scott                    71.25   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   09/30/2019   Regular Base Pay
  Ellington, Scott                    71.25   10/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   10/15/2019   Regular Base Pay
  Ellington, Scott                    71.25   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   10/31/2018   Regular Base Pay
  Ellington, Scott                    71.25   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   11/15/2018   Regular Base Pay
  Ellington, Scott                    71.25   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   11/30/2018   Regular Base Pay
  Ellington, Scott                    71.25   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   12/14/2018   Regular Base Pay
  Ellington, Scott                   604.78   12/31/2018   Gross up value from Dividend Reinvestment Plan
  Ellington, Scott                    71.25   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Ellington, Scott                18,750.00   12/31/2018   Regular Base Pay
  Okada, Mark                        204.25   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   01/15/2019   Regular Base Pay
  Okada, Mark                        204.25   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   01/31/2019   Regular Base Pay
  Okada, Mark                        204.25   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   02/15/2019   Regular Base Pay
  Okada, Mark                        204.25   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   02/28/2019   Regular Base Pay
  Okada, Mark                        204.25   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   03/15/2019   Regular Base Pay
  Okada, Mark                        204.25   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   03/29/2019   Regular Base Pay
  Okada, Mark                        204.25   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   04/15/2019   Regular Base Pay
  Okada, Mark                        204.25   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   04/30/2019   Regular Base Pay
  Okada, Mark                        204.25   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   05/15/2019   Regular Base Pay
  Okada, Mark                        204.25   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   05/31/2019   Regular Base Pay
  Okada, Mark                        204.25   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                     32,552.09   06/14/2019   Regular Base Pay
  Okada, Mark                        204.25   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)



                                                                                                                                          2 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 11532
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit G ‐ SOFA 30


  Name                  Amounts            Date         Reason
  Okada, Mark                  32,552.09   06/28/2019   Regular Base Pay
  Okada, Mark                     204.25   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   07/15/2019   Regular Base Pay
  Okada, Mark                     204.25   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   07/31/2019   Regular Base Pay
  Okada, Mark                     204.25   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   08/15/2019   Regular Base Pay
  Okada, Mark                     204.25   08/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   08/30/2019   Regular Base Pay
  Okada, Mark                     204.25   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   09/13/2019   Regular Base Pay
  Okada, Mark                     204.25   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   09/30/2019   Regular Base Pay
  Okada, Mark                     204.25   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   10/31/2018   Regular Base Pay
  Okada, Mark                     204.25   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   11/15/2018   Regular Base Pay
  Okada, Mark                     204.25   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   11/30/2018   Regular Base Pay
  Okada, Mark                     204.25   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   12/14/2018   Regular Base Pay
  Okada, Mark                     272.64   12/31/2018   Gross up value from Dividend Reinvestment Plan
  Okada, Mark                     204.25   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Okada, Mark                  32,552.09   12/31/2018   Regular Base Pay
  Parker, Lee                      47.50   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   01/15/2019   Regular Base Pay
  Parker, Lee                      47.50   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   01/31/2019   Regular Base Pay
  Parker, Lee                      47.50   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   02/15/2019   Regular Base Pay
  Parker, Lee                231,250.00    02/28/2019   Bonus
  Parker, Lee                      47.50   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   02/28/2019   Regular Base Pay
  Parker, Lee                      47.50   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   03/15/2019   Regular Base Pay
  Parker, Lee                150,000.00    03/29/2019   Bonus
  Parker, Lee                      47.50   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   03/29/2019   Regular Base Pay
  Parker, Lee                      47.50   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   04/15/2019   Regular Base Pay
  Parker, Lee                      47.50   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   04/30/2019   Regular Base Pay
  Parker, Lee                      47.50   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   05/15/2019   Regular Base Pay
  Parker, Lee                      47.50   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   05/31/2019   Regular Base Pay
  Parker, Lee                      47.50   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   06/14/2019   Regular Base Pay
  Parker, Lee                362,935.00    06/28/2019   Bonus and/or Deferred Compensation
  Parker, Lee                      47.50   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   06/28/2019   Regular Base Pay
  Parker, Lee                      47.50   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   07/15/2019   Regular Base Pay
  Parker, Lee                      47.50   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   07/31/2019   Regular Base Pay
  Parker, Lee                      47.50   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   08/15/2019   Regular Base Pay
  Parker, Lee                381,250.00    08/30/2019   Bonus
  Parker, Lee                      47.50   08/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   08/30/2019   Regular Base Pay
  Parker, Lee                      47.50   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                  14,583.33   09/13/2019   Regular Base Pay



                                                                                                                                       3 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 11633
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit G ‐ SOFA 30


  Name                  Amounts               Date         Reason
  Parker, Lee                         47.50   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   09/30/2019   Regular Base Pay
  Parker, Lee                         47.50   10/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   10/15/2019   Regular Base Pay
  Parker, Lee                         47.50   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   10/31/2018   Regular Base Pay
  Parker, Lee                         47.50   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   11/15/2018   Regular Base Pay
  Parker, Lee                         47.50   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   11/30/2018   Regular Base Pay
  Parker, Lee                         47.50   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   12/14/2018   Regular Base Pay
  Parker, Lee                        483.56   12/31/2018   Gross up value from Dividend Reinvestment Plan
  Parker, Lee                         47.50   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Parker, Lee                     14,583.33   12/31/2018   Regular Base Pay
  Surgent, Thomas                     56.25   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   01/15/2019   Regular Base Pay
  Surgent, Thomas                     56.25   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   01/31/2019   Regular Base Pay
  Surgent, Thomas                     56.25   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   02/15/2019   Regular Base Pay
  Surgent, Thomas                300,000.00   02/28/2019   Bonus
  Surgent, Thomas                     56.25   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   02/28/2019   Regular Base Pay
  Surgent, Thomas                325,000.00   03/15/2019   Bonus
  Surgent, Thomas                     56.25   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   03/15/2019   Regular Base Pay
  Surgent, Thomas                     56.25   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   03/29/2019   Regular Base Pay
  Surgent, Thomas                     56.25   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   04/15/2019   Regular Base Pay
  Surgent, Thomas                     56.25   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   04/30/2019   Regular Base Pay
  Surgent, Thomas                     56.25   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   05/15/2019   Regular Base Pay
  Surgent, Thomas                100,000.00   05/31/2019   Bonus and/or Deferred Compensation
  Surgent, Thomas                     56.25   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   05/31/2019   Regular Base Pay
  Surgent, Thomas                     56.25   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   06/14/2019   Regular Base Pay
  Surgent, Thomas                482,115.00   06/28/2019   Bonus and/or Deferred Compensation
  Surgent, Thomas                     56.25   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   06/28/2019   Regular Base Pay
  Surgent, Thomas                     56.25   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   07/15/2019   Regular Base Pay
  Surgent, Thomas                     56.25   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   07/31/2019   Regular Base Pay
  Surgent, Thomas                     56.25   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   08/15/2019   Regular Base Pay
  Surgent, Thomas                625,000.00   08/30/2019   Bonus
  Surgent, Thomas                     56.25   08/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   08/30/2019   Regular Base Pay
  Surgent, Thomas                     56.25   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   09/13/2019   Regular Base Pay
  Surgent, Thomas                     56.25   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   09/30/2019   Regular Base Pay
  Surgent, Thomas                     56.25   10/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 16,666.67   10/15/2019   Regular Base Pay
  Surgent, Thomas                     56.25   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   10/31/2018   Regular Base Pay
  Surgent, Thomas                     56.25   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   11/15/2018   Regular Base Pay



                                                                                                                                          4 of 5
   Case19-34054-sgj11
   Case 21-03005-sgj Doc
                      Doc29248
                            Filed  05/24/21
                                Filed 12/13/19Entered 05/24/21
                                                 Entered       10:22:39
                                                         12/13/19 22:34:17Page 11734
                                                                            Page   ofof
                                                                                     60034


Highland Capital Management LP
Case # 19‐34054‐SGJ
Exhibit G ‐ SOFA 30


  Name                  Amounts               Date         Reason
  Surgent, Thomas                     56.25   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   11/30/2018   Regular Base Pay
  Surgent, Thomas                     56.25   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   12/14/2018   Regular Base Pay
  Surgent, Thomas                  2,344.18   12/31/2018   Gross up value from Dividend Reinvestment Plan
  Surgent, Thomas                     56.25   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Surgent, Thomas                 15,625.00   12/31/2018   Regular Base Pay
  Waterhouse, Frank                   71.25   01/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   01/15/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   01/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   01/31/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   02/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   02/15/2019   Regular Base Pay
  Waterhouse, Frank              206,250.00   02/28/2019   Bonus
  Waterhouse, Frank                   71.25   02/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   02/28/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   03/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   03/15/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   03/29/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   03/29/2019   Regular Base Pay
  Waterhouse, Frank              212,500.00   04/15/2019   Bonus
  Waterhouse, Frank                   71.25   04/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   04/15/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   04/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   04/30/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   05/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   05/15/2019   Regular Base Pay
  Waterhouse, Frank              100,000.00   05/31/2019   Bonus and/or Deferred Compensation
  Waterhouse, Frank                   71.25   05/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   05/31/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   06/14/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   06/14/2019   Regular Base Pay
  Waterhouse, Frank              306,801.00   06/28/2019   Bonus and/or Deferred Compensation
  Waterhouse, Frank                   71.25   06/28/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   06/28/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   07/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   07/15/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   07/31/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   07/31/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   08/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   08/15/2019   Regular Base Pay
  Waterhouse, Frank              418,750.00   08/30/2019   Bonus
  Waterhouse, Frank               14,583.33   08/30/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   09/13/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   09/13/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   09/30/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   09/30/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   10/15/2019   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   10/15/2019   Regular Base Pay
  Waterhouse, Frank                   71.25   10/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   10/31/2018   Regular Base Pay
  Waterhouse, Frank                   71.25   11/15/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   11/15/2018   Regular Base Pay
  Waterhouse, Frank                   71.25   11/30/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   11/30/2018   Regular Base Pay
  Waterhouse, Frank                   71.25   12/14/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   12/14/2018   Regular Base Pay
  Waterhouse, Frank                   71.25   12/31/2018   Group Term Life Insurance (value of premium for coverage in excess of $50 K)
  Waterhouse, Frank               14,583.33   12/31/2018   Regular Base Pay




                                                                                                                                          5 of 5
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  118 of1 600
                                                                                  of 8



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     In re:                                                          §   Chapter 11
                                                                     §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1                             §   Case No. 19-34054-sgj11
                                                                     §
                                       Debtor.                       §
                                                                     §

          GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND
           DISCLAIMER REGARDING DEBTOR’S SCHEDULES OF ASSETS AND
               LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                Highland Capital Management, L.P. (the “Debtor”) submits its Schedules of
 Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (the “SoFA”) in the
 United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the
 “Bankruptcy Court”). The Debtor, with the assistance of its advisors and management, prepared
 the Schedules and SoFA in accordance with section 521 title 11 of the United States Code, 11
 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
 Procedure (the “Bankruptcy Rules”).
               These Global Notes and Statement of Limitations, Methods, and Disclaimer
 Regarding the Debtor’s Schedules and SoFA (collectively, the “Global Notes”) pertain to, are
 incorporated by reference in, and comprise an integral part of the Schedules and SoFA. These
 Global Notes should be referred to, and reviewed in connection with any review of the Schedules
 and SoFA.2
                 The Schedules and SoFA have been prepared by the Debtor with the assistance
 and under the direction of the Debtor’s proposed Chief Restructuring Officer and additional
 personnel at Development Specialists, Inc. (collectively, the “CRO”) and are unaudited and
 subject to further review and potential adjustment and amendment. In preparing the Schedules
 and SoFA, the CRO relied on financial data derived from the Debtor’s books and records that
 was available at the time of preparation. The CRO has made reasonable efforts to ensure the
 accuracy and completeness of such financial information, however, subsequent information or
 discovery of other relevant facts may result in material changes to the Schedules and SoFA and
 inadvertent errors, omissions, or inaccuracies may exist. The Debtor reserves all rights to amend
 or supplement its Schedules and SoFA.



 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
   These Global Notes are in addition to any specific notes contained in the Debtor’s Schedules or SoFA. The fact
 that the Debtor has prepared a “general note” with respect to any of the Schedules and SoFA and not to others
 should not be interpreted as a decision by the Debtor to exclude the applicability of such general note to any of the
 Debtor’s remaining Schedules and SoFA, as appropriate.

                                                            1
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  119 of2 600
                                                                                  of 8



                 Reservation of Rights. The Debtor reserves all rights to amend the SoFA and
 Schedules in all respects, as may be necessary or appropriate, including, but not limited to, the
 right to dispute or to assert offsets or defenses to any claim reflected on the SoFA and Schedules
 as to amount, liability or classification of the claim, or to otherwise subsequently designate any
 claim as “disputed,” “contingent” or “unliquidated.” Furthermore, nothing contained in the
 SoFA and Schedules shall constitute a waiver of rights by the Debtor involving any present or
 future causes of action, contested matters or other issues under the provisions of the Bankruptcy
 Code or other applicable non-bankruptcy laws.
                 Description of the Case and “As Is” Information Date. On October 16, 2019
 (the “Petition Date”), the Debtor filed a voluntary petition for relief with the United States
 Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”) under Chapter
 11 of the Bankruptcy Code. The Debtor is managing its assets as a debtor in possession pursuant
 to sections 1107(a) and 1108 of the Bankruptcy Code. On December 4, 2019, the Delaware
 Bankruptcy Court entered an Order transferring this case to the Bankruptcy Court [Docket No.
 1].
                 Asset information in the Schedules reflects the Debtor’s best estimate of asset
 values as of the Petition Date, unless otherwise noted. No independent valuation has been
 obtained.
                 Basis of Presentation. The Schedules and SoFA do not purport to represent
 financial statements prepared in accordance with Generally Accepted Accounting Principles
 (“GAAP”), nor are they intended to fully reconcile to any financial statements otherwise
 prepared and/or distributed by the Debtor.
                   Although these Schedules and SoFA may, at times, incorporate information
 prepared in accordance with GAAP, the Schedules and SoFA neither purport to represent nor
 reconcile to financial statements prepared and/or distributed by the Debtor in accordance with
 GAAP or otherwise. Moreover, given, among other things, the valuation and nature of certain
 liabilities, to the extent that the Debtor shows more assets than liabilities, this is not a conclusion
 that the Debtor was solvent at the Petition Date. Likewise, to the extent that the Debtor shows
 more liabilities than assets, this is not a conclusion that the Debtor was insolvent at the Petition
 Date or any time prior to the Petition Date.
                Estimates. To timely close the books and records of the Debtor, the CRO must
 make certain estimates and assumptions that affect the reported amounts of assets and liabilities
 and reported revenue and expenses. The Debtor reserves all rights to amend the reported
 amounts of assets, liabilities, revenue, and expenses to reflect changes in those estimates and
 assumptions.
                 Confidentiality. There may be instances within the Schedules and SoFA where
 names, addresses, or amounts have been left blank. Due to the nature of an agreement between
 the Debtor and the third party, concerns of confidentiality, or concerns for the privacy of an
 individual, the Debtor may have deemed it appropriate and necessary to avoid listing such
 names, addresses, and amounts.




                                                    2
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  120 of3 600
                                                                                  of 8



                  Intercompany Claims. Any receivables and payables between the Debtor and
 affiliated or related entities in this case (each an “Intercompany Receivable” or “Intercompany
 Payable” and, collectively, the “Intercompany Claims”) are reported as assets on Schedule B or
 liabilities on Schedule E and Schedule F. These Intercompany Claims include the following
 components, among others: 1) loans to affiliates or related entities, 2) accounts payable and
 payroll disbursements made out of an affiliate’s or related entity’s bank accounts on behalf of the
 Debtor, 3) centrally billed expenses, 4) corporate expense allocations, and 5) accounting for trade
 and other intercompany transactions. These Intercompany Claims may or may not result in
 allowed or enforceable claims by or against the Debtor, and by listing these claims the Debtor is
 not indicating a conclusion that the Intercompany Claims are enforceable. Intercompany Claims
 may also be subject to set off, recoupment, and netting not reflected in the Schedules. In
 situations where there is not an enforceable claim, the assets and/or liabilities of the Debtor may
 be greater or lesser than the amounts stated herein. All rights to amend intercompany Claims in
 the Schedules and SoFA are reserved.
                The Debtor has listed the intercompany payables as unsecured claims on Schedule
 F. The Debtor reserves its rights to later change the characterization, classification,
 categorization, or designation of such items.
                Insiders. For purposes of the Schedules and SoFA, the Debtor defines “insider”
 pursuant to section 101(31) of the Bankruptcy Code. Payments to insiders are set forth on
 Question 3.c. of the SoFA.
                 Persons listed as “insiders” have been included for informational purposes only.
 The Debtor did not take any position with respect to whether such individual could successfully
 argue that he or she is not an “insider” under applicable law, including without limitation, the
 federal securities laws, or with respect to any theories of liability or for any other purpose.
 Inclusion of any party in the Schedules and SoFA as an insider does not constitute an admission
 that such party is an insider or a waiver of such party’s right to dispute insider status.
                  Excluded Accruals and GAAP Entries. The Debtor’s balance sheet reflects
 liabilities recognized in accordance with GAAP; however, not all such liabilities would result in
 a claim against the Debtor. Certain liabilities (including but not limited to certain reserves,
 deferred charges, and future contractual obligations) have not been included in the Debtor’s
 Schedules. Other immaterial assets and liabilities may also have been excluded.
                 Classification and Claim Descriptions. Any failure to designate a claim on the
 Schedules as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
 Debtor that such amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves
 the right to dispute, or to assert offsets or defenses to, any claim reflected on its Schedules as to
 amount, liability or classification or to otherwise subsequently designate any claim as “disputed,”
 “contingent” or “unliquidated.”

                 Listing a claim (i) in Schedule D as “secured,” (ii) in Schedule E as “priority” or
 (iii) in Schedule F as “unsecured nonpriority,” or listing a contract in Schedule G as “executory”
 or “unexpired,” does not constitute an admission by the Debtor of the legal rights of the claimant
 or a waiver of the Debtor’s right to recharacterize or reclassify such claim or contract.


                                                  3
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  121 of4 600
                                                                                  of 8



                  Moreover, the Debtor reserves all rights to amend the SoFA and Schedules, in all
 respects, as may be necessary or appropriate, including, but not limited to, the right to dispute or
 to assert offsets or defenses to any claim reflected on the SoFA and Schedules as to amount,
 liability or classification of the claim, or to otherwise subsequently designate any claim as
 “disputed,” “contingent” or “unliquidated.” Furthermore, nothing contained in the SoFA and
 Schedules shall constitute a waiver of rights by the Debtor involving any present or future causes
 of action, contested matters or other issues under the provisions of the Bankruptcy Code or other
 relevant non-bankruptcy laws.

                Credits and Adjustments. The claims of individual creditors for, among other
 things, goods, products, services or taxes are listed as the amounts entered on the Debtor’s books
 and records and may not reflect credits, allowances or other adjustments due from such creditors
 to the Debtor. The Debtor reserves all of its rights respecting such credits, allowances or other
 adjustments.

                 Setoffs. The Debtor may incur setoffs from third parties in its business. Setoffs
 in the ordinary course can result from various routine transactions, including intercompany
 transactions, pricing discrepancies, warranty claims and other disputes between the Debtor and
 third parties. Certain of these constitute normal setoffs consistent with the ordinary course of
 business in the Debtor’s industry. In such instances, such ordinary course setoffs are excluded
 from the Debtor’s responses to Question 13 of the SoFA. The Debtor reserves all rights to
 enforce or challenge, as the case may be, any setoffs that have been or may be asserted.
                Specific Notes. These general notes are in addition to the specific notes set forth
 below or in the related Statement and Schedules hereinafter.

                                         General Disclaimer

                 The Debtor has prepared the Schedules and the SoFA based on the information
 reflected in the Debtor’s books and records. However, inasmuch as the Debtor’s books and
 records have not been audited or formally closed and evaluated for proper cut-off on the Petition
 Date, the Debtor cannot warrant the absolute accuracy of these documents. The Debtor has
 made a diligent effort to complete these documents accurately and completely. To the extent
 additional information becomes available, the Debtor will amend and supplement the Schedules
 and SoFA.


                                   Specific Schedules Disclosures

         a.       Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                  in Incorporated and Unincorporated Businesses, including any Interest in an
                  LLC, Partnership, or Joint Venture. Certain ownership interests in subsidiaries
                  have been listed in Schedule A/B, Part 4, at their book value on account of the
                  fact that the fair market value of such ownership is dependent on numerous
                  variables and factors. Fair value of such interests may differ significantly from
                  their net book value. Further, for investments listed at fair value, many of the
                  Debtor’s assets are not exchange traded and are fair valued utilizing unobservable


                                                   4
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  122 of5 600
                                                                                  of 8



                  inputs, historical information, and significant and/or subjective estimates. As a
                  result the liquidity and ultimately realized value of such investments may differ
                  materially from the fair value listed on the schedule.

         b.       Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                  Collectibles. Dollar amounts are presented net of accumulated depreciation and
                  other adjustments.

         c.       Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                  impairments and other adjustments. Debtor has reflected “unknown” for value of
                  its interests in various other assets. While the face value of the notes receivable is
                  included, the current value of these as well as the other assets has not been
                  determined and may differ materially.

                  Additionally, the Debtor may receive refunds, income tax refunds or other sales
                  tax refunds at various times throughout its fiscal year. As of the Petition Date,
                  however, certain of these amounts are unknown to the Debtor, and accordingly,
                  may not be listed in Schedule A/B.

                  Other Contingent and Unliquidated Claims or Causes of Action of Every
                  Nature, including Counterclaims of the Debtor and Rights to Setoff Claims. In
                  the ordinary course of its business, the Debtor may have accrued, or may
                  subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                  refunds with its customers and suppliers. Additionally, the Debtor may be party
                  to pending litigation in which the Debtor has asserted, or may assert, claims as a
                  plaintiff or counter-claims and/or cross-claims as a defendant. Because certain of
                  these claims are unknown to the Debtor and not quantifiable as of the Petition
                  Date, they may not be listed on Schedule A/B, Part 11.

         d.       Schedule D - Creditors Who Have Claims Secured by Property. The Debtor
                  reserves its rights to dispute or challenge the validity, perfection, or immunity
                  from avoidance of any lien purported to be granted or perfected in any specific
                  asset to a secured creditor listed on Schedule D. Moreover, although the Debtor
                  has scheduled claims of various creditors as secured claims, the Debtor reserves
                  all rights to dispute or challenge the secured nature of any such creditor’s claim or
                  the characterization of the structure of any such transaction or any document or
                  instrument related to such creditor’s claim.

                  The descriptions provided in Schedule D are intended only to be a summary.
                  Reference to the applicable agreements and other related relevant documents is
                  necessary for a complete description of the collateral and the nature, extent, and
                  priority of any liens.

                  The Debtor has not included on Schedule D parties that may believe their claims
                  are secured through setoff rights or inchoate statutory lien rights. Although there
                  are multiple parties that hold a portion of the debt included in the secured



                                                     5
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  123 of6 600
                                                                                  of 8



                  facilities, only the administrative agents have been listed for purposes of Schedule
                  D.


         e.       Schedule E/F - Creditors Who Have Unsecured Claims.

                  Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
                  Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                  Reimbursable Business Expenses, and Employee Benefit Obligations, and (B)
                  Maintain and Continue Certain Compensation and Benefit Programs
                  Postpetition; and (11) Granting Related Relief [Docket No. 39] (the “Wage
                  Order”), the Debtor received authority to pay certain prepetition obligations,
                  including to pay employee wages and other employee benefits, in the ordinary
                  course of business. The Debtor believes that any non-insider employee claims for
                  prepetition amounts related to ongoing payroll and benefits, whether allowable as
                  a priority or nonpriority claim, which were due and payable at the time of the
                  Petition Date have been or will be satisfied as permitted pursuant to the Wage
                  Order. The Debtor filed the Motion of the Debtor for Entry of an Order
                  Authorizing the Debtor to Pay and Honor Ordinary Course Obligations under
                  Employee Bonus Plans and Granting Related Relief [Docket No. 177] pursuant to
                  which the Debtor seeks authority to pay and honor certain prepetition bonus
                  programs. Employee claims related to these programs are shown in the aggregate
                  amounts in Schedule E/F for privacy reasons. Additional information is available
                  by appropriate request to the Debtor. The listing of a claim on Schedule E/F, Part
                  1, does not constitute an admission by the Debtor that such claim or any portion
                  thereof is entitled to priority status.

                  Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                  in Schedule E/F, Part 2, are derived from the Debtor’s books and records. The
                  Debtor made a reasonable attempt to set forth its unsecured obligations, although
                  the actual amount of claims against the Debtor may vary from those liabilities
                  represented on Schedule E/F, Part 2. The listed liabilities may not reflect the
                  correct amount of any unsecured creditor’s allowed claims or the correct amount
                  of all unsecured claims.

                  Schedule E/F, Part 2 reflects liabilities based on the Debtor’s books and records.

                  Schedule E/F, Part 2, contains information regarding threatened or pending
                  litigation involving the Debtor. The amounts for these potential claims are listed
                  as “unknown” and are marked as contingent, unliquidated, and disputed in the
                  Schedules and Statements. Additionally, the amounts of certain litigation claims
                  may be estimates based on the allegations asserted by the litigation counterparty,
                  and do not constitute an admission by the Debtor with respect to either liability
                  for, or the amount of, such claims.

                  Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                  to executory contracts and unexpired leases. Such prepetition amounts, however,

                                                   6
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  124 of7 600
                                                                                  of 8



                  may be paid in connection with the assumption or assumption and assignment of
                  an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                  not include claims that may arise in connection with the rejection of any
                  executory contracts and unexpired leases, if any, that may be or have been
                  rejected.

                  As of the time of filing of the Schedules and Statements, the Debtor had not
                  received all invoices for payables, expenses, and other liabilities that may have
                  accrued prior to the Petition Date. Accordingly, the information contained in
                  Schedules D and E/F may be incomplete. The Debtor reserves its rights to amend
                  Schedules D and E/F if and as it receive such invoices.

         f.       Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                  efforts have been made to ensure the accuracy of Schedule G, inadvertent errors
                  or omissions may have occurred.

                  Listing a contract or agreement on Schedule G does not constitute an admission
                  that such contract or agreement is an executory contract or unexpired lease or that
                  such contract or agreement was in effect on the Petition Date or is valid or
                  enforceable. The Debtor hereby reserves all of its rights to dispute the validity,
                  status, or enforceability of any contracts, agreements, or leases set forth in
                  Schedule G and to amend or supplement such Schedule as necessary. Certain of
                  the leases and contracts listed on Schedule G may contain renewal options,
                  guarantees of payment, indemnifications, options to purchase, rights of first
                  refusal and other miscellaneous rights. Such rights, powers, duties and
                  obligations are not set forth separately on Schedule G. In addition, the Debtor
                  may have entered into various other types of agreements in the ordinary course of
                  its business, such as supplemental agreements, amendments, and letter agreement,
                  which documents may not be set forth in Schedule G.

                  Certain of the agreements listed on Schedule G may have expired or terminated
                  pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                  The Debtor reserves all rights to dispute or challenge the characterization of any
                  transaction or any document or instrument related to a creditor’s claim.

                  In some cases, the same supplier or provider may appear multiple times in
                  Schedule G. Multiple listings, if any, reflect distinct agreements between the
                  Debtor and such supplier or provider.

                  The listing of any contract on Schedule G does not constitute an admission by the
                  Debtor as to the validity of any such contract. The Debtor reserves the right to
                  dispute the effectiveness of any such contract listed on Schedule G or to amend
                  Schedule G at any time to remove any contract.

                  Omission of a contract or agreement from Schedule G does not constitute an
                  admission that such omitted contract or agreement is not an executory contract or


                                                   7
 DOCS_DE:226892.2 36027/002
Case 19-34054-sgj11
Case 21-03005-sgj Doc 29248-1
                    Doc  Filed Filed
                               05/24/21   Entered
                                     12/13/19     05/24/21
                                               Entered     10:22:39
                                                       12/13/19      Page Page
                                                                22:34:17  125 of8 600
                                                                                  of 8



                  unexpired lease. The Debtor’s rights under the Bankruptcy Code with respect to
                  any such omitted contracts or agreements are not impaired by the omission.




                                                  8
 DOCS_DE:226892.2 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 126 of 600




                                EXHIBIT 31
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 127 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 128 of 600




                                EXHIBIT 32
Case 21-03005-sgj Doc 29 Filed 05/24/21     Entered 05/24/21 10:22:39   Page 129 of 600




              Highland Capital Management
              Fund Advisors, L.P.
              (A Delaware Limited Partnership)
              Consolidated Financial Statements and
              Supplemental Information
              December 31, 2018
Case 21-03005-sgj Doc 29 Filed 05/24/21                                  Entered 05/24/21 10:22:39                         Page 130 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Index
December 31, 2018

                                                                                                                                          Page(s)

Report of Independent Auditors ............................................................................................................... 1

Consolidated Financial Statements

Consolidated Balance Sheet ........................................................................................................................ 2

Consolidated Statement of Income .............................................................................................................. 3

Consolidated Statement of Changes in Partners’ Deficit ............................................................................. 4

Consolidated Statement of Cash Flows ....................................................................................................... 5

Notes to Consolidated Financial Statements .............................................................................. …...               6–17

Supplemental Information……………………………………………………………………………………..18-22
Case 21-03005-sgj Doc 29 Filed 05/24/21                   Entered 05/24/21 10:22:39               Page 131 of 600




                                               Report of Independent Auditors

     To the General Partner of Highland Capital Management Fund Advisors, L.P.

     We have audited the accompanying consolidated financial statements of Highland Capital Management Fund
     Advisors, L.P. and its subsidiary (collectively, the “Partnership”), which comprise the consolidated balance sheet as of
     December 31, 2018, and the related consolidated statements of income, of changes in partners’ deficit and of cash
     flows for the year then ended.

     Management's Responsibility for the Consolidated Financial Statements

     Management is responsible for the preparation and fair presentation of the consolidated financial statements in
     accordance with accounting principles generally accepted in the United States of America; this includes the design,
     implementation, and maintenance of internal control relevant to the preparation and fair presentation of consolidated
     financial statements that are free from material misstatement, whether due to fraud or error.

     Auditors’ Responsibility

     Our responsibility is to express an opinion on the consolidated financial statements based on our audit. We conducted
     our audit in accordance with auditing standards generally accepted in the United States of America. Those standards
     require that we plan and perform the audit to obtain reasonable assurance about whether the consolidated financial
     statements are free from material misstatement.

     An audit involves performing procedures to obtain audit evidence about the amounts and disclosures in the
     consolidated financial statements. The procedures selected depend on our judgment, including the assessment of the
     risks of material misstatement of the consolidated financial statements, whether due to fraud or error. In making
     those risk assessments, we consider internal control relevant to the Partnership's preparation and fair presentation of
     the consolidated financial statements in order to design audit procedures that are appropriate in the circumstances,
     but not for the purpose of expressing an opinion on the effectiveness of the Partnership’s internal control.
     Accordingly, we express no such opinion. An audit also includes evaluating the appropriateness of accounting policies
     used and the reasonableness of significant accounting estimates made by management, as well as evaluating the
     overall presentation of the consolidated financial statements. We believe that the audit evidence we have obtained is
     sufficient and appropriate to provide a basis for our audit opinion.

     Opinion

     In our opinion, the consolidated financial statements referred to above present fairly, in all material respects, the
     financial position of Highland Capital Management Fund Advisors, L.P. and its subsidiary as of December 31. 2018,
     and the results of their operations, changes in their partners’ deficit and their cash flows for the year then ended in
     accordance with accounting principles generally accepted in the United States of America.

     Other Matter

     Our audit was conducted for the purpose of forming an opinion on the consolidated financial statements taken as a
     whole. The Supplemental Consolidating Balance Sheet, the Supplemental Consolidating Statement of Income, the
     Supplemental Unconsolidated Balance Sheet and the Supplemental Unconsolidated Statement of Income are presented
     for purposes of additional analysis and are not a required part of the consolidated financial statements. The information
     is the responsibility of management and was derived from and relates directly to the underlying accounting and other
     records used to prepare the consolidated financial statements. The information has been subjected to the auditing
     procedures applied in the audit of the consolidated financial statements and certain additional procedures, including
     comparing and reconciling such information directly to the underlying accounting and other records used to prepare
     the consolidated financial statements or to the consolidated financial statements themselves and other additional
     procedures, in accordance with auditing standards generally accepted in the United States of America. In our opinion,
     the information is fairly stated, in all material respects, in relation to the consolidated financial statements taken as a
     whole.




     June 3, 2019



     PricewaterhouseCoopers LLP, 2121 N Pearl Street, Suite 2000, Dallas, Texas 75201
     T: (214) 999 1400, F: (214) 754 7991, www.pwc.com/us
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39         Page 132 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Consolidated Balance Sheet
December 31, 2018

 (in thousands)


 Assets

   Cash and cash equivalents                                                  $    1,722
   Segregated cash                                                                   116
   Investments in marketable securities, at fair value (cost $888)                   707
   Advisory and administrative fees receivable                                     2,404
   Insurance proceeds receivable                                                   5,000
   Receivables from affiilates                                                     1,830
   Prepaid expenses                                                                  381
   Income tax receivable                                                             105
   Deferred tax asset                                                                 60
   Other assets                                                                       51
   Purchased investment management contracts                                       4,275
   Fixed assets and leasehold improvements, net of accumulated                         8
     depreciation ($79)

    Total assets                                                              $   16,659

 Liabilities and Partners' Deficit

 Liabilities

   Accounts payable                                                           $      655
   Amounts payable on behalf of 12b-1 plan                                           116
   Accrued and other liabilities                                                   3,588
   Due to affiliates                                                               8,865
   Notes payable to affiliate                                                      4,895

    Total liabilities                                                             18,119

 Partners' deficit                                                                 (1,460)

    Total liabilities and partners' deficit                                   $   16,659




          The accompanying notes are an integral part of these consolidated financial statements.

                                                      2
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39         Page 133 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Consolidated Statement of Income
Year Ended December 31, 2018

 (in thousands)


 Revenue:
  Advisory fees                                                             $     19,365
  Administrative fees                                                              3,692
  Managing broker-dealer fees                                                      1,407
  Marketing and administrative services                                            1,125
  Underwriter commissions                                                             47
  Miscellaneous income                                                                22

    Total revenue                                                           $     25,658

 Operating expenses:
  Compensation and benefits                                                        9,582
  Subadvisory fees                                                                 6,686
  Shared services expense                                                          2,742
  Advanced commissions and 12b-1 expense, net                                        722
  Professional fees                                                                  957
  Other operating expenses                                                           516
  Research expense                                                                   683
  Marketing and advertising expense                                                  279
  Interest expense                                                                   104

    Total operating expenses                                                      22,271

 Income before unrealized losses on investments in marketable securities,
 other losses, and taxes                                                           3,387

   Change in unrealized losses on investments in marketable securities               (14)

 Other income/(losses):
  Proceeds from insurance recovery                                                 5,000
  Losses reimbursable to managed funds                                            (7,509)
   Total other losses                                                             (2,509)

 Income before income tax expense                                                    864

  Income tax expense                                                                 (30)

    Net income                                                              $        834




         The accompanying notes are an integral part of these consolidated financial statements.

                                                     3
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39           Page 134 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Consolidated Statement of Changes in Partners' Deficit
Year Ended December 31, 2018

(in thousands)


                                                         General           Limited
                                                         Partner           Partners         Total

 Partners' deficit, December 31, 2017                $      (2,294)    $         -      $     (2,294)

 Net income                                                        8            826             834

 Allocation of prior years' deficit                           826               (826)               -

 Partners' deficit, December 31, 2018                $      (1,460)    $         -      $     (1,460)




          The accompanying notes are an integral part of these consolidated financial statements.

                                                    4
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39        Page 135 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Consolidated Statement of Cash Flows
Year Ended December 31, 2018

(in thousands)

 Cash flows from operating activities
    Net income                                                                              $       834
    Adjustments to reconcile net income to net cash used in operating activities:
         Depreciation and amortization                                                                12
         Net change in unrealized losses on investments in marketable securities                      14
         Dividend income received in-kind                                                            (23)
      Changes in assets and liabilities:
            Advisory and administrative fees receivable                                             (590)
            Insurance proceeds receivable                                                         (5,000)
            Receivables from affiliates                                                               (3)
            Deferred tax asset                                                                        20
            Income tax receivable                                                                     19
            Other assets                                                                             (42)
            Accounts payable                                                                        (260)
            Amounts payable on behalf of the 12b-1 Plan                                               89
            Accrued and other liabilities                                                         (2,014)
            Due to affiliates                                                                      6,543

                 Net cash used in operating activities                                             (401)

 Net decrease in cash, cash equivalents and segregated cash                                        (401)

 Cash, cash equivalents and segregated cash
    Beginning of year                                                                             2,239

     End of year                                                                            $     1,838

 Reconciliation of cash, cash equivalents and segregated cash to balance sheet
  Cash and cash equivalents                                                                 $     1,722
  Segregated cash                                                                                   116
 Total cash, cash equivalents and segregated cash                                           $     1,838

 Supplemental disclosure of cash flow information:
  Tax refunds received during the year                                                      $            8
  Interest paid during the year                                                             $        -




        The accompanying notes are an integral part of these consolidated financial statements.
                                                 5
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39             Page 136 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

1.   Description of Business

     Pyxis Capital, L.P. was formed on February 9, 2009 as a limited partnership in the state of Delaware.
     On February 8, 2013, the Partnership changed its name to Highland Capital Management Fund
     Advisors, L.P. (the “Partnership”). The Partnership’s general partner is Strand Advisors XVI, Inc.
     (the “General Partner”). The Partnership is 99% owned by affiliates and senior management of the
     Partnership.

     As of December 31, 2018, the Partnership provided investment advisory services for eleven open-
     ended mutual funds, one closed-end mutual fund, and one ETF, with total fee-earning assets under
     management of approximately $3.4 billion.

2.   Summary of Significant Accounting Policies

     The following is a summary of the significant accounting policies followed by the Partnership in
     preparation of its consolidated financial statements.

     Basis of Accounting
     The Partnership’s consolidated financial statements have been prepared in accordance with U.S.
     generally accepted accounting principles in the United States of America (“U.S. GAAP”) as set forth
     in the Financial Accounting Standards Board’s Accounting Standards Codification and are stated in
     United States Dollar.

     Use of Estimates
     The preparation of the consolidated financial statements in conformity with U.S. GAAP requires
     management to make estimates and assumptions that affect the amounts and disclosures in the
     consolidated financial statements. Actual results could differ from those estimates and those
     differences could be material.

     Principles of Consolidation
     The consolidated financial statements include the accounts of the Partnership and the Partnership’s
     consolidated subsidiary, which comprise of (i) those entities in which it has controlling investment
     and has control over significant operating, financial and investing decisions of the entity, (ii) those
     entities in which it, as the general partner, has control over significant operating, financial and
     investing decisions of the entity, and (iii) variable interest entities (“VIEs”) in which it is the primary
     beneficiary as described below.

     The Partnership determines whether an entity has equity investors who lack the characteristics of a
     controlling financial interest or does not have sufficient equity at risk to finance its expected activities
     without additional subordinated financial support from other parties. If an entity has either of these
     characteristics, it is considered a VIE and must be consolidated by its primary beneficiary, which is
     the party that, along with its affiliates and de facto agents, absorbs a majority of the VIEs’ expected
     losses or receives a majority of the expected residual returns as a result of holding variable interests.




                                                      6
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39             Page 137 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     Consolidation of Wholly Owned Entity
     The Partnership consolidates the following entity as it has a controlling interest:

         100% interest in Highland Capital Funds Distributor, Inc. (“HCFD”), a Delaware Corporation
          incorporated on June 14, 2012 as Pyxis Distributors, Inc. Effective March 19, 2013, the Pyxis
          Distributors changed its name to Highland Capital Funds Distributor, Inc. For the period from
          June 14, 2012 through November 19, 2013, HCFD was in the development stage, engaging in
          preparation of applications for regulatory approvals, raising of capital, financial planning,
          systems development, procurement of equipment and facilities and recruiting activities. On
          November 20, 2013, HCFD, upon receiving all the necessary regulatory approvals, officially
          began operations as a registered broker dealer. HCFD is the distributor and underwriter of the
          mutual funds advised by the Partnership and closed-end funds advised by another affiliate.
          HCFD does not engage in direct transactions with investors. The primary business activities of
          HCFD are underwriting, wholesale fund marketing and distribution activities.

     All inter-partnership and intercompany accounts and transactions have been eliminated in
     consolidation of the aforementioned consolidated entity. No other entities meet the criteria for
     consolidation.

     Recognition of Revenue
     The Partnership recognizes revenue as earned in connection with services provided under
     investment advisory agreements. Under these agreements, the Partnership earns advisory and
     administrative fees calculated as a percentage of assets under management. During the year ended
     December 31, 2018, the Partnership recognized advisory and administrative fees of approximately
     $19,365,000, and $3,692,000, respectively.

     Marketing and administrative services revenues, as well as managing broker-dealer fees and
     underwriter commissions, are recognized as revenue at the time the services are provided.

     Income Taxes
     For U.S. income tax purposes, the Partnership is treated as a pass-through-entity, which means it is
     not subject to income taxes under current Internal Revenue Service or state and local guidelines,
     and therefore, no provision has been made for such taxes in the accompanying consolidated financial
     statements. Each partner is individually liable for income taxes, if any, on their share of the
     Partnership’s net taxable income. HCFD is subject to state and federal income taxes.

     The Partnership files tax returns as prescribed by the tax laws of the jurisdictions in which it operates.
     In the normal course of business, the Partnership is subject to examination by state, federal and
     foreign jurisdictions, where applicable. As of December 31, 2018, the tax years that remain subject
     to examination by the major tax jurisdictions under the statute of limitations is from the year 2015
     forward (with limited exceptions).




                                                     7
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39            Page 138 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     Authoritative guidance on accounting for and disclosure of uncertainty in tax positions requires the
     General Partner to determine whether a tax position of the Partnership is more likely than not to be
     sustained upon examination, including resolution of any related appeals or litigation processes,
     based on the technical merits of the position. For tax positions meeting the more likely than not
     threshold, the tax amount recognized in the financial statements is the largest benefit that as a
     greater than fifty percent likelihood of being realized upon ultimate settlement with the relative taxing
     authority. The General Partner does not expect a significant change in uncertain tax positions during
     the twelve months subsequent to December 31, 2018.

     HCFD accounts for income taxes under the liability method. Deferred tax assets and liabilities are
     recognized for the future tax consequences attributable to differences between the balance sheet
     carrying amounts of existing assets and liabilities and their respective tax bases. Deferred tax assets
     and liabilities are measured using the enacted tax rates in the years in which those temporary
     differences are expected to be recovered or settled. When applicable, a valuation allowance is
     established to reduce any deferred tax asset when it is determined that it is more-likely-than-not that
     some portion of the deferred tax asset will not be realized.

     As of December 31, 2018 HCFD had a deferred tax asset of $60,000.

     Cash and Cash Equivalents
     Cash and cash equivalents consist of cash held at U.S. and foreign banks, deposits with original
     maturities of less than 90 days, and money market funds. Cash equivalents are carried at cost,
     which approximates market value. At December 31, 2018, the Partnership held cash balances at
     certain financial institutions in excess of the federally insured limit of $250,000. The Partnership
     regularly monitors the credit quality of these institutions.

     Segregated Cash
     HCFD serves as administrator to a 12b-1 Plan (the “Plan”) adopted by the mutual funds advised by
     the Partnership. HCFD collects 12b-1 fees from the mutual funds to be disbursed for future eligible
     marketing and distribution costs of the Plan. These amounts are reported as Segregated cash and
     Amounts payable on behalf of the 12b-1 Plan on the accompanying Consolidated Balance Sheet.

     Investments in Marketable Securities
     Investments in marketable securities are classified as trading and carried at fair value. Unrealized
     gains or losses related to trading securities are reported within the Consolidated Statement of Income
     in the period they occur.

      Insurance Proceeds Receivable
     The Partnership maintains insurance coverage under a Directors & Officers and Errors and
     Omissions policy (the “Policy”). Under the Policy, $5,000,000 of the total amounts due to funds
     advised by the Partnership, as further discussed in Footnote 7, were covered under the Policy and a
     receivable of the Partnership was accrued as of December 31, 2018. This amount is included within
     Insurance proceeds receivable on the Consolidated Balance Sheet.
      .




                                                     8
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39              Page 139 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     Fixed Assets
     Fixed assets are carried at cost, less accumulated depreciation. Depreciation is provided using the
     straight-line method over the shorter of the estimated useful life of the assets or the lease term.

     The Partnership’s policy for depreciating fixed assets is as follows:

                                                                             Useful life

      Leasehold improvements                                                 Lease term
      Buildings                                                            29 - 40 years
      Furniture and fixtures                                                     7 years
      Computer and equipment                                                     5 years
      Computer software                                                          3 years

     Intangible Assets
     In 2011, the Partnership obtained the rights to the management contracts of certain Registered
     Investment Companies by acquiring the underlying contracts from the predecessor investment
     manager. The current carrying values of the purchased investment contracts are approximately
     $4,275,000 which consists of the initial purchase payment and the year one and year two
     anniversary payments. The Partnership performs an impairment test on the purchased
     investment contracts on an annual basis. Any impairment in the value of the purchased investment
     management contracts are accounted for in the year when it occurs. The carrying values of the
     purchased investment contracts are not adjusted for appreciation, are indefinite-lived assets and
     are not amortized.

     Partners’ Deficit
     The Partnership agreement requires that income or loss of the Partnership be allocated to the
     partners in accordance with their respective partnership interests. In the event the Limited Partners
     incur a loss, it will be allocated to the General Partner. As subsequent income is earned, the
     General Partner will recoup all prior year allocated losses.


3.   Investments in Marketable Securities

      Detailed below is a summary of HCFD’s held for trading investments at December 31, 2018:



      (in thousands)                                                             Fair
                                                                   Cost         Value

      Mutual funds                                             $     888       $    707

      Total investments                                        $     888       $    707




                                                    9
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39             Page 140 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

4.   Fair Value of Financial Instruments

      Fair Value Measurement
      U.S. GAAP defines fair value as the price an entity would receive to sell an asset or pay to transfer
      a liability in an orderly transaction between market participants as of the measurement date. The
      standard requires fair value measurement techniques to reflect the assumptions market participants
      would use in pricing an asset or liability and, where possible, to maximize the use of observable
      inputs and minimize the use of unobservable inputs. It also establishes the following hierarchy that
      prioritizes the valuation inputs into three broad levels:

           Level 1 – Valuation based on unadjusted quoted prices in active markets for identical assets
      and liabilities that the Partnership and the Consolidated Investment Funds have the ability to access
      as of the measurement date. Valuations utilizing Level 1 inputs do not require any degree of
      judgment.

       Level 2 – Valuations based on (a) quoted prices for similar instruments in active markets; (b)
      quoted prices for identical or similar instruments in markets that are not active that are reflective of
      recent market transactions; or (c) models in which all significant inputs are observable, either directly
      or indirectly.

       Level 3 – Valuations based on indicative quotes that do not reflect recent market transactions
      and models or other valuation techniques in which the inputs are unobservable and significant to
      the fair value measurement, which includes situations where there is little, if any, market activity
      for the asset or liability.

      As of December 31, 2018, HCFD’s investments consisted entirely of mutual funds which are valued
      based off of unadjusted quoted prices.

      HCFD categorizes investments recorded at fair value in accordance with the hierarchy established
      under U.S. GAAP. All of HCFD’s investments at December 31, 2018 are classified as Level 1
      positions.



5.   Fixed Assets

     Fixed assets are comprised of the following as of December 31, 2018:

      (in thousands)

      Computer and equipment                                    $         81
      Furniture and fixtures                                               6
      Less: accumulated depreciation                                     (79)

                                                                $          8




                                                     10
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39         Page 141 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

6.   Income Taxes

      At December 31, 2018, HCFD had state and federal tax liabilities of approximately $30,000, which
      are included in the “Income tax expense” line item on the consolidated statement of income.

      Components of the income taxes for the year ended December 31, 2018 are as follows:

         (in thousands)

         Current:
           Federal                                          $       3
           State                                                    8
             Total current                                         11
         Deferred:
           Federal                                                 16
           State                                                    3
             Total deferred                                        19
         Total provision for incomes taxes                  $      30


      A reconciliation between HCFD’s amount of the reported provision for income taxes and expected
      income tax (computed by multiplying the statutory federal income tax rate (21%) times income
      before provision for income taxes) is as follows:

       (in thousands)


      Expected provision for income taxes              $    20
      Other                                                  3
      Nondeductible expenses                                 1
      State income taxes                                    (5)
      Provision for income taxes                       $    19




                                                 11
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39            Page 142 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     The components of deferred tax assets and liabilities are as follows:

        (in thousands)

        Deferred Tax Assets
        Net operating loss                                            12
        Capital assets                                                42
        Accrued expenses                                              49
        Depreciation and amortization                                  1
         Total deferred tax assets                                   104
            Valuation allowance                                      (42)
            Deferred tax assets, net of valuation allowance      $    62
        Deferred Tax Liabilities
        Accrued expenses                                                  (2)
        Depreciation and amortization                                 -
         Total deferred tax liabilities                               (2)
            Net deferred tax asset                               $    60



     Deferred tax assets are primarily the result of tax deductions for HCFD’s deferred compensation
     plans. HCFD has awarded bonuses to eligible employees which will not be deducted for tax purposes
     until payment is made. This temporary timing difference generates deferred taxes. HCFD’s accrued
     expenses also generate deferred taxes because HCFD’s tax deductions are lower than the expense
     recorded for financial statement purposes.

     The Partnership and HCFD are subject to U.S. state and federal income tax examinations by tax
     authorities for 2015 forward.



7.   Related Party Transactions

     Expenses Reimbursable by Funds Managed
     In the normal course of business, the Partnership and HCFD typically pay invoices they receive from
     vendors for various services provided to various managed funds. Additionally, due to certain
     expense caps for various funds, the Partnership will pay expenses incurred on behalf of the funds,
     which exceed their expense limits. A summary of these eligible reimbursable expenses are then
     submitted to the trustee/administrator for each respective fund, and the Partnership receives
     payment as reimbursement for the payments on behalf of the respective funds. As of December 31,
     2018, approximately $1,830,000 in reimbursable expenses, net of reserves, were due from various
     affiliated funds and entities for these eligible expenses, and is included in Receivables from affiliates
     in the accompanying Consolidated Balance Sheet.

     Accounts Held with Related Affiliates
     During the year the Partnership maintained bank accounts at NexBank, SSB (“NexBank”), an affiliate
     by way of common control. As of December 31, 2018, balances in the accounts were approximately
     $354,000.




                                                    12
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39           Page 143 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     Services Performed by or on Behalf of an Affiliate
     Effective December 15, 2011, Highland Capital Management, LP (“Highland”) commenced
     performing services on behalf of the Partnership. Services include, but are not limited to compliance,
     accounting, human resources, IT and other back office support functions. The Partnership is charged
     a fee for the services provided. For the year ended December 31, 2018, the total fee charged to the
     Partnership by Highland was approximately $2,742,000 included as Shared services expense on the
     accompanying Consolidated Statement of Income and as of December 31, 2018, $236,000 was
     owed to Highland by the Partnership which is included in Due to affiliates on the accompanying
     Consolidated Balance Sheet.

     Effective January 1, 2018, Highland entered in to a Payroll Reimbursement Agreement (the
     “Agreement”) with the Partnership. Under the Agreement, the Partnership reimburses Highland for
     the cost of any dual employees of Highland and the Partnership and who provide advice to registered
     investment companies advised by the Partnership. For the year ended December 31, 2018, the total
     fees charged to the Partnership by Highland was approximately $6,192,000 included as Subadvisory
     fees on the accompanying Consolidated Statement of Income. No amounts were owed to Highland
     by the Partnership as of December 31, 2018.

     HCFD derives a portion of its income on marketing and administrative services it performs for and
     on behalf of Nexpoint Advisors, L.P. (“NPA”), a related party. The actual cost of such services will be
     allocated, plus an applicable margin, and will be billed monthly. During the year ended December
     31, 2018, HCFD derived approximately $1,125,000 in income, which is included in the Marketing and
     administrative services line item on the accompanying Consolidated Statement of Income.

     HCFD serves as the principal underwriter for, and offers for sale on a continuous basis, each of
     NPA’s Delaware statutory trusts and other registered products. A portion of the HCFD’s income is
     derived from managing broker dealer fees collected in relation to serving as the principal underwriter.
     During the year ended December 31, 2018, HCFD derived approximately $1,407,000 in income,
     which is included in the Managing broker-dealer fees line item on the accompanying Consolidated
     Statement of Income.

     HCFD serves as the principal underwriter for, and offers for sale on a continuous basis, each of
     HCMFA’s and NPA’s advised funds. A portion of the HCFD’s income is derived from underwriter
     commissions collected in relation to serving as the principal underwriter. During the year ended
     December 31, 2018, HCFD derived approximately $47,000 in income, which is included in the
     Underwriter commissions line item on the accompanying Consolidated Statement of Income.

     HCFD’s held for trading investment is held in a mutual fund managed by the Partnership.

     Notes Payable to an Affiliate
     Effective February 26, 2014, the Partnership issued a promissory note to Highland in the amount of
     $4,000,000. The note accrued interest at a rate of 1.97%, the mid-term applicable federal rate as
     promulgated by the Internal Revenue Service. As of December 31, 2018 total interest due on the
     promissory note was approximately $382,000, is payable on demand, and is included in Due to
     affiliates in the accompanying Consolidated Balance Sheet. The fair value of the Partnership’s
     outstanding notes payable approximates the carrying value of the notes payable.




                                                   13
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39           Page 144 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

     Effective February 26, 2016, the Partnership issued a promissory note to Highland in the amount of
     $2,300,000. The note accrued interest at a rate of 2.62%, the long-term applicable federal rate as
     promulgated by the Internal Revenue Service. During prior years, the Partnership partially paid down
     on principal, leaving an outstanding principal balance of $895,000 at year end, which is payable on
     demand. As of December 31, 2018 total interest due on the promissory note was approximately
     $40,000 and is included in Due to affiliates in the accompanying Consolidated Balance Sheet. The
     fair value of the Partnership’s outstanding notes payable approximates the carrying value of the notes
     payable.

     Management assessed the ability of the Partnership to continue operating as a going concern for the
     foreseeable future. Taking into account current and projected cash and cash equivalent resources,
     the Partnership may not be able to repay the above promissory notes payable to Highland if Highland
     were to demand payment of such promissory notes within the next twelve months. The Partnership
     has reduced on-going operating costs which will provide an increase in profitability as well as future
     cash resources. Highland has entered into a written agreement with the Partnership that Highland
     will not demand payment on the notes payable discussed above prior to May 31, 2021.

     Due to Affiliates
     For the year ended December 31, 2018, it was determined that the valuation of certain advised funds’
     investments was incorrect during a period beginning in March 2018 through at least December 31,
     2018. The funds have recognized receivables due from the Partnership in the amount of
     approximately $7,509,000 in the aggregate for overpayments made on redemption payments to
     certain investors resulting from the incorrect valuation. This amount is included within Due to
     affiliates on the Consolidated Balance Sheet.

     In addition to the amounts included above, the Due to affiliates financial statement line item includes
     amounts of approximately $934,000 and $422,000 payable to related parties primarily related to
     employee expense reimbursements and accrued interest on the notes payable to Highland,
     respectively.


8.   Commitments

     Contracts in the Normal Course of Business
     In the normal course of business the Partnership may enter into contracts which provide general
     indemnifications and contain a variety of presentations and warranties that may expose the
     Partnership and its subsidiaries to some risk of loss. In addition to the other financial commitments
     discussed in the consolidated financial statements, the amount of future losses arising from such
     undertakings, while not quantifiable, is not expected to be significant.

     Employment Agreements
     All employees of the Partnership are subject to an employment agreement. Certain of these
     agreements prescribe employee compensation based on explicitly defined calculations. The amount
     of payments arising from such agreements is not expected to significantly deviate from discretionary
     compensation that would be awarded by the Partnership in the normal course of business.




                                                   14
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39             Page 145 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

      Employee Benefits
      The Partnership, and its other affiliates, has a noncontributory profit sharing plan integrated with a
      contributory 401(k) employee benefit plan (Benefit Plan) covering substantially all employees.
      Employees generally become eligible in the Benefit Plan upon attainment of the age of 21, with entry
      dates of January 1 and July 1 of each year. Under the Benefit Plan, the Partnership may contribute,
      at their discretion and subject to annual limitations, certain amounts in the form of matching, profit
      sharing and/or qualified non-elective contributions. Benefit Plan expense for the year ended
      December 31, 2018 was $305,000 and is included in the Compensation and benefits line item on the
      accompanying Consolidated Statement of Income.


9.    Other Intangible Assets

      On February 18, 2011, the Partnership purchased 16 management contracts from GE Asset
      Management Inc., collectively the “Purchased Funds.” The combined purchase price for the above
      agreements was approximately $4,275,000 which consists of the initial purchase payment of
      approximately $2,207,000 and the year one and year two anniversary payments of
      approximately $1,111,000 and $957,000 respectively.

      The Partnership performs an impairment test as required by U.S. GAAP on a yearly basis. The
      Partnership’s management analyzes market multiples on retail asset managers within the industry
      as of December 31, 2018 to determine fair value of these assets. The Partnership has determined
      that no impairment charge is necessary for the current year.



10.   Risk

      Custody Risk
      All of the Partnership’s cash is held with banks, which have worldwide custody facilities and are
      members of all major securities exchanges. The Partnership may lose all or a portion of the assets
      held by these banks if they become insolvent or fail to perform pursuant to the terms of their
      obligations. While both the U.S. Bankruptcy Code and the Securities Investor Protection Act of 1970
      seek to protect customer property in the event of a broker-dealer’s failure, insolvency or liquidation,
      the Partnership might be unable to recover the full value of their assets or incur losses due to their
      assets being unavailable for a period of time.

      Market Risk
      Market risk represents the potential loss that may be incurred by the due to a change in the market
      value of its investments. The Partnership’s exposure to market risk is affected by a number of
      macroeconomic factors, such as interest rates, availability of credit, inflation rates, economic
      uncertainty and changes in laws and regulations. These factors may affect the level and volatility of
      securities prices and the liquidity of the Partnership’s investments. Volatility or illiquidity could impair
      the Partnership’s performance or result in losses. The Partnership may maintain substantial trading
      positions that can be adversely affected by the level of volatility in the financial markets.




                                                       15
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39            Page 146 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

      Credit Risk
      Credit risk is the potential loss the Partnership may incur as a result of the failure of a counterparty
      or an issuer to make payments according to the terms of a contract. To limit the credit risk associated
      with such transactions, the Partnership executes transactions with financial institutions that the
      Partnership believes to be financially viable.

      Business Risk
      The Partnership provides marketing and administrative services to HCFD. HCFD could be materially
      affected by the liquidity, credit and other events of the Partnership.

11.   Legal Proceedings

      The Highland Global Allocation Fund (“Fund”) received a shareholder demand letter dated March 1,
      2018, from an individual purporting to be a shareholder of the Fund (the “Demand Letter”). The
      Demand Letter alleges that the current and former Board of Highland Funds II breached their
      fiduciary duties, and the Adviser breached its advisory agreement, in relation to the Fund’s
      investment in shares of an affiliated mutual fund, the Highland Energy MLP Fund (also a series of
      Highland Funds II). Upon receipt of the Demand Letter, the Board formed a Demand Review
      Committee (“DRC”) comprised entirely of independent trustees to investigate these claims and to
      make a recommendation to the Board regarding whether pursuit of these claims is in the best
      interests of the Fund. Aided by independent counsel to the committee, the DRC engaged in a
      thorough and detailed review of the allegations contained in the Demand Letter. Upon completion of
      its evaluation, the DRC recommended that the Fund’s independent trustees, who represent a
      majority of the Board, reject the demand specified in the shareholder Demand Letter. After
      considering the report of the DRC, the independent trustees unanimously agreed and rejected the
      demand, noting that the Demand Letter contained material factual errors and incorrect assumptions,
      and the proposed suit was meritless and should not be pursued. A copy of the report was provided
      to the purported shareholder and her counsel.

      Notwithstanding the foregoing, the purported shareholder (the “Plaintiff”) filed a shareholder
      derivative suit against the Fund, certain members of the Board and the Partnership on September 5,
      2018 (the “Shareholder Litigation). Pursuant to applicable federal rules of procedure, the Plaintiff was
      required to include the DRC’s independent report as an attachment to its complaint, but failed to do
      so. The Partnership believes the Plaintiff failed to attach the DRC report as required because it is
      entirely exculpatory. Based on the extensive pre-suit investigation and the resulting report, The Fund,
      Board and the Partnership believe the claims made in the Shareholder Litigation are without merit
      and have filed a motion to dismiss.




                                                     16
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 147 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Notes to Consolidated Financial Statements
December 31, 2018

12.   Subsequent Events

      On February 13, 2019, Highland Global Allocation Fund, one of the open-ended funds advised by
      the Partnership, converted to a closed-end fund. Pursuant to the conversion, shareholders who had
      voted for the conversion and held their shares through the conversion earned a 3% consent fee.
      This fee was partially paid by the Partnership on 5/3/2019 in the amount of $5,019,000.

      Over the course of 2019, through the report date, the Partnership issued promissory notes to
      Highland in the aggregate amount of $7,400,000. The notes accrue interest at a rate of 2.39%, the
      mid-term applicable federal rate as promulgated by the Internal Revenue Service.

      On March 15, 2019, HCFD changed it’s name to NexPoint Securities, Inc.

      The Partnership has performed an evaluation of subsequent events through June 3, 2019, which is
      the date the financial statements were available to be issued.




                                                  17
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 148 of 600




            Highland Capital Management Fund Advisors, L.P.


                          Supplemental Information


                  As of and year ended December 31, 2018




                                          18
Case 21-03005-sgj Doc 29 Filed 05/24/21                              Entered 05/24/21 10:22:39           Page 149 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Supplemental Consolidating Balance Sheet
December 31, 2018


 (in thousands)
                                                                        Highland
                                                                         Capital      Highland
                                                                      Management Capital Funds
                                                                          Fund       Distributor,
                                                                      Advisors, L.P.     Inc.     Eliminations     Consolidated
 Assets
   Cash and cash equivalents                                          $        354 $       1,368 $          -    $        1,722
   Segregated cash                                                             -             116            -               116
   Equity method investees                                                   2,717           -           (2,717)            -
   Investments in marketable securities, at fair value (cost $888)             -             707            -               707
   Advisory and administrative fees receivable                               2,404           -              -             2,404
  Insurance proceeds receivable                                              5,000           -              -             5,000
   Receivables from affiilates                                                 969         1,138           (277)          1,830
   Prepaid expenses                                                            381           -              -               381
   Income tax receivable                                                       -             105            -               105
   Deferred tax asset                                                          -              60            -                60
   Other assets                                                                -              51            -                51
   Purchased investment management contracts                                 4,275           -              -             4,275
   Fixed assets and leasehold improvements, net of accumulated                   8           -              -                 8
     depreciation ($79)

    Total assets                                                      $     16,108 $       3,545 $       (2,994) $       16,659


 Liabilities and Partners' Capital/(Deficit)


 Liabilities


   Accounts payable                                                   $        588 $          67 $          -      $       655
   Amounts payable on behalf of 12b-1 plan                                      -            116            -              116
   Accrued and other liabilities                                             3,114           474            -             3,588
   Other due to affiliates                                                   8,971           171          (277)           8,865
   Notes payable to affiliates                                               4,895           -              -             4,895


    Total liabilities                                                       17,568           828          (277)          18,119


 Partners' capital/(deficit)                                                 (1,460)       2,717         (2,717)         (1,460)


    Total liabilities and partners' capital/(deficit)                 $     16,108 $       3,545 $       (2,994) $       16,659




                                                                     19
Case 21-03005-sgj Doc 29 Filed 05/24/21                                          Entered 05/24/21 10:22:39                            Page 150 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Supplemental Consolidating Statement of Income
Year Ended December 31, 2018

 (in thousands)
                                                                                                      Highland
                                                                                                       Capital      Highland
                                                                                                    Management Capital Funds
                                                                                                        Fund       Distributor,
                                                                                                    Advisors, L.P.     Inc.     Eliminations       Consolidated
 Revenue:
  Advisory fees                                                                                     $     19,365 $             - $             -   $     19,365
  Administrative fees                                                                                      3,692           -               -              3,692
  Managing broker-dealer fees                                                                                 -          1,407             -              1,407
  Marketing and administrative services                                                                       -          3,025          (1,900)           1,125
  Underwriter commissions                                                                                     -             47             -                47
  Miscellaneous income                                                                                       579            22           (579)              22

    Total revenue                                                                                   $     23,636 $       4,501 $        (2,479) $        25,658

 Operating expenses:
  Compensation and benefits                                                                                6,370         3,212             -              9,582
  Subadvisory fees                                                                                         6,686           -               -              6,686
  Shared services expense                                                                                  2,742           579           (579)            2,742
  Broker dealer expenses                                                                                   1,900           -            (1,900)             -
  Advanced commissions and 12b-1 expense, net                                                                722           -               -               722
  Professional fees                                                                                          709           248             -               957
  Other operating expenses                                                                                   342           174             -               516
  Research expense                                                                                           683           -               -               683
  Marketing and advertising expense                                                                           98           181             -               279
  Interest expense                                                                                           104           -               -               104

    Total operating expenses                                                                              20,356         4,394          (2,479)          22,271

 Income before unrealized losses on investments in marketable securities, other losses, and taxes          3,280           107             -              3,387

 Unrealized gains/(losses) on investments in marketable securities and equity method
 investees:
   Unrealized losses on investments in marketable securities                                                  -            (14)           ‐                 (14)
   Net unrealized gain from equity method investees                                                           63           -               (63)             -
    Total unrealized losses on investments in marketable securities                                           63           (14)            (63)             (14)


 Other income/(losses):
  Proceeds from insurance recovery                                                                         5,000           -               -              5,000
  Losses reimbursable to managed funds                                                                     (7,509)         -               -             (7,509)
     Total other losses                                                                                    (2,509)         -               -             (2,509)


 Income before income tax expense                                                                            834            93             (63)            864


   Income tax expense                                                                                         -            (30)            -                (30)

    Net income                                                                                      $        834     $      63    $        (63) $          834




                                                                                20
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39     Page 151 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Supplemental Unconsolidated Balance Sheet
December 31, 2018


 (in thousands)


 Assets

   Cash and cash equivalents                                         $         354
   Equity method investees                                                   2,717
   Advisory and administrative fees receivable                               2,404
  Insurance proceeds receivable                                              5,000
   Receivables from affiilates                                                 969
   Prepaid expenses                                                            381
   Purchased investment management contracts                                 4,275
   Fixed assets and leasehold improvements, net of accumulated                   8
    depreciation ($64)
    Total assets                                                     $   16,108

 Liabilities and Partners' Deficit

 Liabilities

   Accounts payable                                                  $         588
   Accrued and other liabilities                                             3,114
   Due to affiliates                                                         8,971
   Notes payable to affiliates                                               4,895

    Total liabilities                                                    17,568

 Partners' deficit                                                       (1,460)

    Total liabilities and partners' deficit                          $   16,108




                                                 21
Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39    Page 152 of 600

Highland Capital Management Fund Advisors, L.P.
(A Delaware Limited Partnership)
Supplemental Unconsolidated Statement of Income
Year Ended December 31, 2018


 (in thousands)


 Revenue:
  Advisory fees                                                       $    19,365
  Administrative fees                                                       3,692
  Miscellaneous income                                                        579

    Total revenue                                                     $    23,636

 Operating expenses:
  Subadvisory fees                                                          6,686
  Compensation and benefits                                                 6,370
  Shared services expense                                                   2,742
  Broker dealer expenses                                                    1,900
  Advanced commissions and 12b-1 expense, net                                 722
  Research expense                                                            683
  Professional fees                                                           709
  Other operating expenses                                                    342
  Interest expense                                                            104
  Markting and advertising expense                                             98

    Total operating expenses                                               20,356

 Income before investment activities and other losses                       3,280

 Net unrealized gain from equity method investees                             63

 Other income/(losses):
  Proceeds from insurance recovery                                          5,000
  Losses reimbursable to managed funds                                     (7,509)
   Total other losses                                                      (2,509)

    Net income                                                         $     834




                                                        22
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 153 of 600




                                EXHIBIT 33
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 154 of 600



                                      UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                     FORT WORTH REGIONAL OFFICE
                                      BURNETT PLAZA, 19TH FLOOR
                                      801 CHERRY STREET, UNIT 18
                                       FORT WORTH,TEXAS 76102
                                             817-978-3821




DELIVERY VIA SECURE EMAIL
jpost@highlandcapital.com

February 27, 2019

Mr. Jason Post
Chief Compliance Officer
Highland Capital Management Fund Advisors, L.P.
300 Crescent Court, Suite 700
Dallas, Texas 75201

Re:     Examination of Highland Capital Management Fund Advisors, L.P.(File No. 801-69968)

Dear Mr. Post:

The staff conducted an examination of Highland Capital Management Fund Advisors, L.P.(the
"Adviser" or "Highland"), which evaluated compliance with certain provisions of the federal
securities laws or other applicable rules and regulations (together,"federal securities laws"). The
examination identified the deficiencies and weaknesses in controls (together, "findings") that are
described in Exhibit A, and which the Staff discussed during an exit interview with you on
February 26, 2019.

The staff is bringing these findings to your attention for immediate corrective action, without
regard to any other actions) that may result from the examination. The findings are based on the
staff's examination and are not findings or conclusions of, or binding on, the Commission or any
ofits divisions or offices. You should not conclude that any of the firm's activities not discussed
in Exhibit A are in full compliance with the federal securities laws. Nor should you conclude
that Exhibit A sets forth an exhaustive list of the ways in which the firm's activities do not
comply with the federal securities laws. Neither the staff s findings or its communications
during the course ofthe examination nor any remedial actions undertaken in response to such
findings or communications foreclose the Commission from taking any action, including but not
limited to an enforcement action, with respect to the firm.
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 155 of 600



The descriptions of the federal securities laws and related interpretations in Exhibit A may be
paraphrased or abbreviated. Please visit our website at https://www.sec.gov/divisions.shtmlfor
complete information related to these regulatory requirements.

Please respond in writing to each of the matters described in Exhibit A by March 29, 2019
describing any steps you have taken or intend to take with respect to each deficiency identified.

You should respond directly to this office as follows:

                      Marshall Gandy, Associate Regional Director
                      U.S. Securities and Exchange Commission
                      Fort Worth Regional Office
                      801 Cherry Street, Suite 1900, Unit 18
                      Fort Worth, TX 76102


Thank you for your cooperation. If you have any questions, please contact me at(817)900-2622
or Linda Hoffinan at(817)978-6436.



                                                     S' ce    ,

                                                             r~/~S ~~~
                                                        shall Gand
                                                     Associate Regio
                                                                   al-Dir


Attachment: Exhibit A
Case 21-03005-sgj Doc 29 Filed 05/24/21                  Entered 05/24/21 10:22:39              Page 156 of 600



                                                I~►:~:II:~YII_\
                                          Examination Findings
                              Highland Capital Management Fund Advisors, L.P

   I.        Fair Valuation of Portfolio Securities

Relevant Law

Rule 22c-1 under the Investment Company Act ("IC Act") prohibits the sale or redemption of
shares in a registered investment company "except at a price based on the current net asset value
of such security which is next computed after receipt of a tender of such security for redemption
or of an order to purchase or sell such security." For a net asset value ("NAV") to be current,
Section 2(a)(41) of the IC Act and Rule 2a-4 thereunder require portfolio securities for which
market quotations are not readily available to be fair valued as determined by the fund's board of
directors.

Exam Observations

Highland Global Allocation Fund ("Global Allocation Fund" or the "Fund"), a series of
Highland Funds II, holds a significant position in illiquid and restricted shares of TerreStar
Corporation ("TerreStar"). As of Apri130, 2018, the Fund held 29.5% of its net assets in illiquid
securities, including 16.8% and 9.9% of its net assets in restricted stock and debt, respectively, of
one issuer, TerreStar.

The Fund's "Policy Regarding Valuation" provides that when fair valuation is appropriate for a
security, the Funds' investment adviser, Highland Capital Management Fund Advisors, LP (the
"Adviser"), may determine that the security's fair value is the value provided by a third-party
valuation provider ("independent pricing service"). The Adviser is responsible for "providing or
making available to the independent pricing service any information that would be material for
the service to consider in determining the proper valuation." The Adviser has engaged Houlihan
Lokey ("Houlihan") since 2015 as the independent pricing service to fair value the shares of
TerreStar.

Houlihan's fair valuation for TerreStar relies on inputs provided by Highland. Key inputs for
Houlihan's fair valuation of TerreStar have included: (i) Highland's estimated 75%probability
that TerreStar would be successful in its appeal of the FCC's order dated October 10, 2017
denying TerreStar's waiver request and terminating its 1.4GHz license as of Apri123, 2017, and
(ii) Highland's determination that the Crusader and Off-Ziff transactions in TerreStar equity at
$114 per share in March 2018 (the "March Transactions") were not orderly transactions for
purposes of ASC 820 and to place no weight on these transaction prices when fair valuing
TerreStar.l


1 Certain registered funds managed by the Adviser and its affiliates purchased 191,000 equity shares of TerreStar
from Highland Crusader Offshore Partners, L.P. ("Crusader") for $21.774 million on March 14, 2018 at $114 per
share. Additionally, TerreStar negotiated a purchase and sale agreement to repurchase and retire 96,106 of its own
equity shares from Och-Ziff Capital Management ("Och-Ziff') for $10.956 million on March 16, 2018 at $114 per
share.

                                                                                                                     3
Case 21-03005-sgj Doc 29 Filed 05/24/21                    Entered 05/24/21 10:22:39              Page 157 of 600




In its valuations, Houlihan evaluated the FCC's order and potential impact, and also evaluated
the Crusader and Och-Ziff transactions in March 2018. Houlihan valued the TerreStar position
at month-end during the 12 months ended June 30,2018 as follows:

                      Month-End            TerreStar equity
                                            er share
                     6/30/2017             $315.96
                     7/31/2017             $316.36
                     8/31/2017             $315.47
                     9/30/2017             $315.81
                     10/31/2017            $313.00
                     1 1/30/2017           $313.29
                     12/31/2017            $312.18
                     1/31/2018             $312.04
                     2/28/2018             $303.52
                     3/31/2018             $278.74
                     4/30/2018             $274.61
                     5/31/2018             $241.44
                     6/30/2018             $261.83

The Fund sold 71,428 shares of TerreStar to Solus Opportunities Fund LP ("Solus") on July 3,
2018 at a price of$350 per share (the "Bolus Sale").

At a meeting held July 23,2018, the Fund's board oftrustees (the "Board")approved converting
the Fund to a closed-end fund, subject to shareholder approval at a meeting to be held November
8,2018.2 The Fund filed a preliminary proxy statement on August 6, 2018 and filed a definitive
proxy statement("proxy statement") on October 11, 2018. The proxy statement disclosed that
illiquid assets currently constituted approximately 33% ofthe Fund's assets, substantially all of
which is TerreStar equity and debt, due to historical fund outflows, related sales ofliquid assets
and, to a lesser extent, illiquid asset appreciation.

The proxy statement also disclosed that the Fund's former independent auditor reviewed the
TerreStar valuation during its recent audit of affiliated funds and, in September 2018, estimated
the likelihood of TerreStar successfully appealing the FCC order to be in a significantly lower
range than Highland's estimate.3 The proxy statement further disclosed that the Fund's former
independent auditor concluded that the Crusader and Och-Ziff transactions were orderly under




` The Fund's shareholders approved converting the Fund to a closed-end fund at the shareholders meeting held
November 8, 2018. As disclosed in the supplement dated November 15, 2018 to the Fund's prospectus, the
conversion "is in process and is expected to close later in the fourth quarter of2018." The Fund's registration as a
closed-end fund on Form N-2 was declared effective by the Commission on February 13, 2019. The New York
Stock Exchange approved the listing and registration ofthe Fund's common shares under the Securities Exchange
Act of 1934 on February 14, 2019.
3 The Fund's former independent auditor is KPMG.

                                                                                                                       4
Case 21-03005-sgj Doc 29 Filed 05/24/21                    Entered 05/24/21 10:22:39               Page 158 of 600



the relevant accounting standards and that these transactions should be given weight in the
valuation.4

The Fund's former independent auditor, KPMG,was terminated prior to completion ofthe
Fund's audit ofits financial statements for fiscal year-end September 30, 2018. Highland Funds
II signed an engagement letter dated November 6,2018 with PwC for the audit ofthe financial
statements of Highland Funds II, including the Fund, at September 30,2018.

PwC completed its audit of Global Allocation Fund on February 11, 2019.5 In connection with
the Fund's audit, the Adviser submitted consultation materials dated January 18, 2019 and
February 9,2019 (collectively, the "Consultation Materials") to the Commission's Office of
Chief Accountant("OCA"). The Consultation Materials disclosed that the Adviser had further
evaluated the March Transactions, and had now determined that both the Crusader and Och-Ziff
transactions should be classified as orderly for purposes of ASC 820.

The Consultation Materials included a proposed fair value methodology for TerreStar that
reflected classification ofthe March Transactions as orderly and weightings for March
Transactions, the Houlihan model, the Solus Sale and the Family Office Sale.b As disclosed in
the Consultation Materials,PwC had informed Highland that in connection with its September
30, 2018 audit ofthe Fund,PwC had concluded that the Fund's proposed accounting for and
valuation ofthe TerreStar investment is reasonable in all material respects. The Fund's Audit
Committee, by letter dated February 6, 2019 to OCA,indicated it agreed with the proposed fair
value methodology of TerreStar set forth in the Consultation Materials.

The Adviser disclosed in the Consultation Materials that the proposed fair value methodology for
TerreStar would result in Fund net asset value("NAV")errors (i.e., the Fund's NAV would have
been overstated) commencing from the date ofthe Crusader transaction on March 14, 2018. The
Adviser provided a summary in the Consultation Materials with estimates ofthe Fund's loss and
shareholders' losses through the date ofthe Fund's financial statements (i.e., September 30,
2018).

The staffrequests that you provide the following information:

    1) A table with the following information for each business day from March 14, 2018
       through the date on which the Adviser implemented its updated fair value methodology
      for TerreStar set forth in the Consultation Materials (the period from March 14, 2018
       through the date on which the Adviser implemented its updated fair value methodology
      for TerreStar is referred to herein as the"NAV error period"):



4 Separately, in the letter dated August 20, 2018 from the staff ofthe Division ofInvestment Management to the
Fund's counsel, the staff stated that it did not find persuasive —for the reasons set forth in the staff's letter —the
Fund's assertion that the Crusader and Och-Ziff transactions were not orderly.
5 The Fund filed its Form N-CSR with the Commission on February 11,2019 for the Fund's fiscal year ended
September 30,2018.
6 The Fund sold 65,591 shares of TerreStar to L-Band Fund II, LP (the "Family Office") on December 7, 2018 at a
price of$350 per share (the "Family Office Sale").
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39        Page 159 of 600



           a) Original valuation of TerreStar
           b) Revised valuation of TerreStar
           c) Fund's NAV
           d) Fund's restated NAV
           e) Amount of NAV adjustment(expressed in dollars and cents)
           ~ Amount of NAV adjustment (expressed as a percentage ofthe original NAV)
           g) Fund's total net assets
           h) Fund's restated total net assets

   2) The dollar amount of the Fund's net redemptions over the NAV error period.

   3) Whether there was a loss to the Fund from net redemptions over the NAV error period,
      and the amount of such loss. Provide documentation of whether the Fund was made
      whole for the loss and the entity that made the Fund whole.

   4) A gain/loss report by individual shareholder account as a result of NAV adjustments over
      the NAV error period (i.e., for an NAV adjustment downward, shareholders that
      purchased shares ofthe Fund on that date should receive either a refund of excess
      subscription monies paid or a credit to their account for additional shares ofthe Fund).

   5) For those shareholder accounts listed in the report with losses:
         a) documentation of whether the account was re-processed to make the shareholder
            (or former shareholder) whole for all losses;
         b) documentation regarding the entity that made the shareholder whole; and
         c) documentation demonstrating that the intermediary and/or sub-intermediary
             responsible for re-processing the shareholder's account ensured that the account
             had been correctly re-processed and the shareholder made whole.

   6) For those shareholder accounts listed in the report with gains ("benefits")(i.e., for an
      NAV adjustment downward, shareholders that redeemed shares of the Fund received a
      benefit and the Fund experienced a loss):
          a) documentation of whether the Fund was made whole for such losses; and
          b) documentation regarding the entity that made the Fund whole.

   7) The management fee earned by the Adviser on the Fund's total net assets during the
      NAV error period, and the management fee that would have been payable to the Adviser
      on the Fund's restated total net assets during the NAV error period.

   8) Documentation of whether the Fund was made whole for the amount of management fees
      paid by the Fund during the NAV error period in excess of management fees that would
      have been payable by the Fund on the Fund's restated total net assets during the NAV
      error period.

Should you have any questions as you gather this information, please contact the staff.




                                                                                                 Ci
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39            Page 160 of 600



    II.       Disclosure to the Fund's Soard —Section 206 of the Advisers Act and Section
              15(c) of the IC Act

Section 206(1) and 206(2)ofthe Advisers Act impose a federal fiduciary duty on an investment
adviser with respect to its clients. The Adviser manages the Fund under an investment advisory
agreement with the Fund dated February 13, 2018.8 A fund's board of directors has a fiduciary
duty to represent the interests ofthe fund's shareholders. The IC Act specifically requires the
board to oversee various fund matters, including fair valuation determinations for portfolio
securities. Additionally, under Section 15(c) ofthe IC Act, it is the duty ofthe investment
adviser to furnish such information as may reasonably be necessary for the fund's board to
evaluate the terms ofthe inveshnent advisory contract.

The staff has concerns whether the Board was fully apprised of matters that may impact the
viability of TerreStar as a going concern, and whether the Board was fully informed regarding
liquidity and marketability issues regarding TerreStar, including with respect to information
provided to the Board in connection with renewal ofthe Fund's investment advisory agreement.

For example, the materials provided by the Adviser to the Fund's Board for its meeting on
September 14, 2017, at which the Board considered the annual renewal ofthe investment
advisory agreement under Section 15(c) ofthe IC Act,included the Adviser's response to the
Section 15(c) questionnaire. In response to inquiry #12 in the Section 15(c) questionnaire to discuss
the Fund's liquidity status and any actual or potential problems in meeting shareholder
redemptions,the Adviser responded:

          "The Funds are currently positioned to meet any redemptions with a cash bucket,liquid
          securities and/or drawing upon credit facilities entered into by certain funds and/or a fund
          specific expedited loan settlement program entered into by certain funds with Bank of
          America. Global Allocation Fund is the only fund in excess of its 15%illiquid security limit
          as of June 30,2017.The illiquidity level increased above 15%because of market value
          movement and a decrease in net assets, and was not caused by purchase of illiquid
          investments. We do not believe Global Allocation Fund or any other funds will have
          problems in meeting shareholder redemptions."9

'There is no disclosure that Global Allocation Fund's illiquid securities holdings far exceeded
 15% ofnet assets, that the illiquid securities position was due primarily to the investment in
 TerreStar, and that the Fund's daily redemptions were averaging $1.0 million.10 There is no
 indication whether the Adviser had stressed tested the Fund's portfolio under various redemption
 scenarios. There is no discussion ofthe likelihood that the Fund would need to draw upon the
 credit facility to satisfy redemptions, and no discussion whether the credit facility would be
 sufficient to satisfy the Fund's redemptions if multiple funds drew upon it at the same time.
 There is no disclosure of the risk to shareholders from the Fund's continuing sales ofliquid

 SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 189-92(1963).
$ Amended and Restated Investment Advisory Agreement between the Adviser(formerly "Highland Capital
   Management Fund Advisors, L.P.") and Highland Global Allocation Fund filed as Exhibit(d)(4) to the Fund's
   Post-Effective Amendment No. 127 filed January 29, 2014.
9 See Response to IR9, materials for Sept. 14,2017 Board meeting at pg. 171.
to
   See response to IR7 for listing of daily redemptions.

                                                                                                               7
Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39             Page 161 of 600



holdings to satisfy redemptions and leaving the Fund with an increasing percentage of assets in
illiquid securities, thereby likely harming remaining shareholders and potentially overpaying
shareholders that redeemed their shares.

Additionally, the materials provided by the Adviser for the Fund's Board meeting on September
14, 2017 included a copy of the Fund's quarterly fund fact sheet for the quarter ended June 30,
2017.11 As discussed below, the staff finds the disclosures in the Fund's quarterly fund fact
sheets to be inaccurate, incomplete and potentially misleading in violation of Rule 34b-1.

The staff believes that in light ofthe Adviser's fiduciary duty to the Fund, the Adviser was
obligated to alert the Fund's Board to these important matters to: (i) ensure that the Board would
have the information that it would need to evaluate the implication of the Fund's investment in
TerreStar and other illiquid securities, such as whether the investments would cause the Fund to
violate any federal securities laws, and (ii) ensure that the Board would have information as
reasonably necessary for the Board to evaluate the annual renewal of the investment advisory
agreement.

Accordingly, it appears the Adviser did not provide the Fund's Board with all material
information regarding the Fund's investment in TerreStar and other illiquid securities, as
required under:(i) Section 206 ofthe Advisers Act, and (ii) Section 15(c) ofthe IC Act in
connection with the annual renewal ofthe investment advisory agreement.

    III.     Portfolio Management — Compliance with Investment Policies and Investment
             Guidelines —Section 206 of the Advisers Act

As noted above, Section 206(1) and 206(2) of the Advisers Act impose a federal fiduciary duty
on an investment adviser with respect to its clients. The Adviser manages the Fund under an
investment advisory agreement with the Fund dated February 13, 2018. The staff has concerns
that the Adviser failed to manage the Fund in accordance with the Fund's investment policies,
restrictions and guidelines, which is not consistent with Section 206(1) and 206(2)of the
Advisers Act and potentially a breach of the Adviser's fiduciary duty.

    A. Failure to Adhere to Non-Fundamental Investment Policy

As amatter ofnon-fundamental investment policy that is disclosed in the Fund's SAI, the Fund
may not invest in companies for the purpose of exercising control or management. As of March
19, 2018, the Fund owned more than 15% of TerreStar's common stock and, together with four
other registered funds managed by the Adviser, owned more than 25% of TerreStar's outstanding
common stock.12

The Fund's ownership of more than 15% of TerreStar's common stock permitted it to select a
candidate for nomination to TerreStar's board. Under TerreStar's Stockholder Agreement,"So

11
   See Response to IR9, materials for Sept. 14, 2017 Board meeting at pgs 497 -498.
lZ
   See Response to SRS-1. As of March 19, 2018, the Fund owned 18.65% of TerreStar's common stock and,
    together with four other registered funds managed by the Adviser, owned 29.55% of TerreStar's outstanding
    common stock.

                                                                                                                E~
Case 21-03005-sgj Doc 29 Filed 05/24/21                  Entered 05/24/21 10:22:39             Page 162 of 600



long as any Designated Holder, together with any ofits Affiliates, Beneficially Owns more than
15% ofthe Outstanding Company Common Stock, the Company shall (i) nominate one
candidate selected by such Designated Holder(any individual selected to the Board, a
"Candidate")for election to the Board effective on the Effective Date..." Trey Parker, the
Adviser's ChiefInvestment Officer, was selected for nomination to TerreStar's board and is a
member of TerreStar's board.

The Fund's ownership in TerreStar allowed it to select a candidate for nomination to TerreStar's
board. Additionally, the Fund and affiliated funds held a controlling position in TerreStar.13 It
appears that the Fund invested in TerreStar for the purpose of exercising control or management,
contrary to the Fund's non-fundamental investment policy.

     B. Failure to Adhere to Fund's Liquidity Guidelines

The Fund's "Guidelines for Liquidity Determinations for Securities" contained in the Fund's
Compliance Manual provide that:

        If at any time the Adviser determines that a Fund's illiquid holdings exceed 15% of its net
        assets,the Adviser will, on a weekly basis, ask its traders to identify any significant
        "presumptively illiquid" securities held by the Fund that have previously been determined
        to be liquid that are no longer liquid, and the Adviser will take steps to bring the Fund's
        illiquid holdings back within the 15% limit as soon as reasonably practicable.

The Fund's illiquid holdings have exceeded 15% of net assets since October 31, 2016,if not
earlier. The Fund did not take steps "as soon as reasonably practicable" to reduce the Fund's
holdings ofilliquid securities to less than 15% of net assets, which is inconsistent with the
Fund's liquidity guidelines.

     C. Failure to Maintain Appropriate Level of Liquidity

The Commission historically has taken the position that open-end funds should maintain a high
degree of portfolio liquidity to ensure that their portfolio securities and other assets can be sold
and the proceeds used to satisfy redemptions in a timely manner in order to comply with Section
22(e) ofthe IC Act. In addition to a fund's "general responsibility to maintain a level of portfolio
liquidity that is appropriate under the circumstances," the Commission has stated that open-end
funds must engage in ongoing portfolio liquidity monitoring to determine whether an adequate
level of portfolio liquidity is being maintained in light oftheir redemption obligations.14 As
noted in the Commission's guidance, a fund experiencing net outflows due to shifts in market
sentiment should consider reducing its illiquid asset holdings to maintain adequate liquidity.




13
     Under Section 2(a)(9) ofthe IC Act, any person who beneficially owns, either directly or indirectly or through
    one or more controlled companies, more than 25% ofthe voting securities ofa company shall be presumed to
    control the company. The five registered Highland funds, including the Fund, together owned more than 25% of
    the common stock of TerreStar.
l4
   See "Revisions of Guidelines to Form N-lA," Release No.IC-18612(Mar. 12, 1992).

                                                                                                                 ~]
Case 21-03005-sgj Doc 29 Filed 05/24/21                   Entered 05/24/21 10:22:39              Page 163 of 600



Global Allocation Fund has experienced poor performance, and net outflows averaging $1.0
million daily since at least January 1, 2017.15 As of Apri130, 2018, the Fund held 29.5% ofits
net assets in illiquid securities, including 16.8% and 9.9% of its net assets in restricted stock and
debt, respectively, ofone issuer, TerreStar. The Fund's net assets totaled $521.2 million as of
March 31,2018.

At the outset ofthe examination, the staff expressed concerned that the Fund would continue to
sell liquid holdings to satisfy redemptions, leaving the Fund with an ever increasing percentage
ofilliquid assets that are difficult to sell to meet redemptions, thereby likely harming remaining
shareholders. The Adviser had not conducted any type ofredemption scenario analysis to
determine the Fund's ability to meet redemptions, given the level of illiquid securities.16 The
Adviser failed to take into consideration the Fund's long-term trend ofredemptions and to adjust
its illiquid positions accordingly. This caused an increased risk to remaining shareholders, and
potentially resulted in overpaying shareholders that redeemed their shares.

Notwithstanding the nature ofthe TerreStar holding and the ongoing issues related to TerreStar's
viability, the Adviser did not reduce its position in TerreStar until July 2018. As disclosed in the
proxy statement dated October 11, 2018 requesting shareholder approval to convert the Fund to a
closed-end fund,"A closed-end fund structure is better positioned for such [illiquid] investments
because it eliminates the need to buy and sell investments based on investor flows."

The staff believes the Fund and the Adviser failed to appropriately monitor the Fund's liquidity
and failed to maintain an appropriate level of portfolio liquidity prior to the Fund's conversion to
a closed-end fund, which is currently in process. The staff observes that the compliance date for
open-end funds, including ETFs but not money market funds, to adopt and implement a liquidity
risk management program under Rule 22e-4 ofthe IC Act is December 1, 2018 for larger fund
groups.l~ The Adviser should ensure that open-end funds advised by the Adviser, including the
Fund prior to having converted to a closed-end fund, have adopted and implemented a written
liquidity risk management program reasonably designed to assess and manage the respective
fund's liquidity risk as required under Rule 22e-4.

    IV.      Sales Literature and Filings -Disclosures

Among the specific obligations that flow from an investment adviser's fiduciary duty is to
provide full and fair disclosure of all material facts and employ reasonable care to avoid
misleading clients and prospective clients.18

    A. Sales Literature — Rule 34b-1



is
   See response to IR7 for listing of daily redemptions.
16
   See response to IR#5. In response to the staffs request for an assessment ofthe Fund's ability to meet potential
   redemptions over a number of periods, the Adviser provided daily available cash reports.
17 Interim Final Rule,"Investment Company Risk Management Programs; Commission Guidancefor In-Kind
   ETFs," Feb. 22,2018, Rel. No. IC-33010. A larger fund group or smaller fund group refers to funds in the same
  "group of related investment companies" with net assets of$1 billion or more, or less than $1 billion, respectively.
i$ SEC v. Capital Gains Research Bureau, Inc., 375 U.S. at 194.

                                                                                                                   10
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 164 of 600



Rule 34b-1 prohibits dissemination of sales literature that contains material misstatements or
omissions. The Fund's quarterly fund fact sheets published during 2017(1Q2017,2Q2017,
3Q2017 and 4Q2017)on the Fund's website disclose TerreStar Corp and TerreStar Term Loan
as Top 5 Holdings, but do not disclose that TerreStar is an illiquid investment. There is no
disclosure regarding risks ofilliquid investments. There is no disclosure of additional liquidity
risks as the percentage ofthe Fund's assets invested in TerreStar increased during 2017 and the
Fund's total assets declined. There is no disclosure that the 31%decrease in the Fund's total
assets between March 31,2017 and December 31, 2017 occurred during periods of significant
shareholder redemptions. There is no disclosure ofthe risk that the Fund will continue to sell
liquid holdings to satisfy redemptions, leaving the Fund with an ever increasing percentage of
illiquid assets that are difficult to sell.

The disclosures regarding TerreStar and the failure to disclose risks ofilliquid inveshnents were
inaccurate and incomplete, and the staff believes the disclosures were misleading in violation of
Rule 34b-1.

   B. Prospectus and SAI Filings —Section 34(b)

    1. Investments in Illiquid Securities

The prospectus disclosure requirements in Form N-lA are intended to elicit information that will
help investors evaluate the risks of an investment in the fund and to decide whether to invest in a
fund by providing balanced disclosure of positive and negative factors.

The SEC's Division of Inveshnent Management issued Cruidance Update No. 2016-02,"Fund
Disclosure Reflecting Risks Related to Current Market Conditions," to foster investor protection
by reminding mutual funds, exchange traded funds, and other registered investment companies
ofthe importance to investors offull and accurate information about fund risks, including risks
that arise as a result of changing market conditions. In particular, the staff believes that funds
should review their risk disclosures on an ongoing basis and consider whether these disclosures
remain adequate in light of current conditions.

The staff reviewed the liquidity of Global Allocation Fund and found that since 2016, the illiquid
investments held by Global Allocation Fund had grown significantly beyond the 15% of net
assets limitation, primarily due to shareholder redemptions and poor performance. Given the
trend ofredemptions and poor performance, the percentage ofthe Fund's assets invested in
illiquid securities continued to grow, and the additional liquidity risks continued to grow because
liquid assets must be sold to meet redemptions. However,the Fund had not disclosed this risk to
shareholders in its prospectus or SAI.

Section 34(b)ofthe IC Act makes it unlawful to make a material misstatement or omission in a
registration statement filed pursuant to the IC Act. The lack of disclosure in the Fund's
prospectus or SAI regarding the increasing percentage ofthe Fund's investments in illiquid
securities, and the associated risks to shareholders, was incomplete, inaccurate and potentially
misleading under Section 34(b) ofthe IC Act.



                                                                                                 11
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39           Page 165 of 600



    2. Business Relationships and Conflicts

The Fund's SAI discloses that John Honis, an Independent Trustee ofthe Fund,is President of
Rand Advisors since August 2013, and Partner of Highland Capital Management, L.P. from
February 2007 until his resignation in November 2014. Form ADV Part 2A filed by Rand
Advisors, LLC discloses that,"We have entered into a shared services agreement with Highland
                                                           19
Capital Management, L.P., a Delaware limited partnership."

The Fund's SAI does not disclose that Rand Advisors, Inc., of which Mr. Honis is the President,
has a shared services agreement with Highland Capital Management, L.P.("HCM"). HCM is
under common control with Highland Capital Management Fund Advisors, L.P., the Adviser to
the Fund. Neither the Fund's prospectus nor its SAI disclose:(i) the business or professional
relationships between Rand Advisors and HCM,or (ii) the conflicts among Rand Advisors,
HCM,the Adviser and the Fund resulting from the shared services agreement between Rand
Advisors and HCM.

The staffrequests the Adviser review whether disclosure should be made concerning these
business and/or professional relationships and potential conflicts, consistent with Section 34(b)
ofthe IC Act, and inform the staff ofsteps the Adviser will take with respect to this issue.

    VI. Written Compliance Policies and Procedures —Rule 206(4)-7 under the Advisers
        Act

Rule 206(4)-7 under the Investment Advisers Act of 1940("Advisers Act")requires each
investment adviser to adopt and implement written policies and procedures reasonably designed
to prevent the adviser from violating the Advisers Act.20 The existence of a weakness in the
design or implementation of policies and procedures for portfolio management may result in the
failure to prevent violations ofthe Advisers Act,including among other things, breaches of
fiduciary duty under Section 206 thereunder.

    A. Policies and Procedures for Fair Valuing Portfolio Securities

A weakness in the design or implementation of policies and procedures for valuing portfolio
securities may fail to prevent, among other things, incorrect valuation of portfolio securities,
sales or redemptions offund shares at other than current net asset value, and dissemination of
misleading information under Rule 2a-4, Rule 22c-1 and Rule 34b-1 ofthe IC Act, respectively.

The Adviser failed to implement and/or adopt adequate policies and procedures concerning fair
valuation ofthe Fund's portfolio securities. Based on changes in value for TerreStar derived
from changing the classification ofthe March Transactions to orderly and changes in underlying

19 The Form ADV Part 2A filed by Highland Capital Management,L.P.("HCM")discloses that HCM is controlled
by James Dondero through his ownership of Strand Advisors, Inc., HCM's general partner. The Form ADV filed by
the Fund's investment adviser, Highland Capital Management Fund Advisors, L.P.("HCMFA"),discloses that
HCMFA is controlled by Highland Capital Management Services, Inc., a Delaware corporation, and its general
partner, Strand Advisors XVI,Inc., of which James Dondero is the sole stockholder.
20 See Compliance Programs ofInvestment Companies and Investment Advisers, Advisers Act Release No. 2204
 (December 17,2003)

                                                                                                          12
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39        Page 166 of 600



assumptions concerning weightings of the March Transactions, the Houlihan model, the Solus
Sale and the Family Office Sale, there were NAV errors in the Fund.

PwC observed in its "Report on Internal Controls" filed as an exhibit to Form N-CEN for
Highland Funds II on February 13, 2019 that, in connection with the audit ofthe Fund's financial
statements for the fiscal year ended September 30, 2018,"The application of ASC 820 and
reasonableness and reliability of assumptions used in the fair value model are monitored by the
Valuation Committee through the operation of a review control. This control was not designed
at an appropriate level of precision to ensure the accurate valuation of Leve13 securities."

The Adviser should inform the staff of the corrective action it is taking to adopt and implement
policies, procedures and controls to address the compliance program deficiency and the control
deficiency with respect to fair valuation ofthe Fund's portfolio securities.

   B. Other Policies and Procedures

The stafffound instances where the Fund may not have complied with anon-fundamental
investment policy, failed to adhere to investment guidelines, and failed to maintain an
appropriate level of liquidity. These instances indicate weaknesses in the Adviser's policies and
procedures for ensuring compliance with the Fund's investment policies and investment
guidelines.

   o The Adviser should inform the staff of the corrective action it is taking to adopt and
     implement policies and procedures in response to this compliance program deficiency.

Additionally, the staff found sales literature published by the Fund that was inaccurate,
incomplete and potentially misleading under Rule 34b-1. The staff also found certain disclosures
in the Fund's prospectus and SAI to be inaccurate, incomplete and potentially misleading under
Section 34(b). These findings indicate weaknesses in the Adviser's policies and procedures for
ensuring accurate, complete and not misleading disclosures in the Fund's sales materials,
prospectus and SAI.

   o The Adviser should inform the staff ofthe corrective action it is taking to adopt and
     implement policies and procedures in response to this compliance program deficiency.




                                       [END OF LETTER]




                                                                                               13
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 167 of 600




                                EXHIBIT 34
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 168 of 600




March 29, 2019


VIA E-MAIL AND UPS

Marshall Gandy, Associate Regional Director
U.S. Securities and Exchange Commission
Fort Worth Regional Office
801 Cherry Street, Suite 1900, Unit 18
Fort Worth, Texas 76102

        Re:    Examination of Highland Capital Management Fund Advisors, L.P.
               (File No. 801-69968) (“Adviser”) and Examination of Highland Funds II (File No.
               811-07141) (“Company”)

Dear Mr. Gandy:

This letter provides the responses of the Adviser and the Company to the letters of the staff of the
Securities and Exchange Commission (the “Staff”) dated February 27, 2019 regarding the above-
referenced examinations. For convenience of reference, the Staff’s comments have been
summarized before each response. For additional convenience of reference, the Adviser and
Company respond jointly to Comments I and III-VI with responses read as coming from both
parties, whereas the response to Comment II is solely applicable to the Adviser. Any capitalized
terms not otherwise defined herein have the meanings ascribed to them in the Staff’s letter.

 I.1.     Comment: The Staff requests that the Adviser provide a table with the following
          information for each business day from March 14, 2018 through the date on which the
          Adviser implemented its updated fair value methodology for TerreStar set forth in the
          Consultation Materials (the period from March 14, 2018 through the date on which the
          Adviser implemented its updated fair value methodology for TerreStar is referred to
          herein as the “NAV error period”):

          (a) Original valuation of TerreStar
          (b) Revised valuation of TerreStar
          (c) Fund’s NAV
          (d) Fund’s restated NAV
          (e) Amount of NAV adjustment (expressed in dollars and cents)
          (f) Amount of NAV adjustment (expressed as a percentage of the original NAV)
          (g) Fund’s total net assets
          (h) Fund’s restated total net assets
Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39        Page 169 of 600




         Response:

         Highland to provide upon conclusion of review/no further comments received on the
         March 18, 2019 memorandum sent to the Staff (Exhibit A), which is still under further
         review and discussion with the Staff.

 I.2     Comment: The Staff request that the Adviser provide the dollar amount of the Fund’s
         net redemptions over the NAV error period.

         Response:

         Based on the information provided by the Fund’s open-end Transfer Agent, DST, there
         were approximately $253,000,000 of redemptions during the NAV error period. As
         the Adviser and Transfer Agent have not yet obtained the detailed omnibus account
         information, the Adviser would like to remind the Staff this number is an estimate that
         could change when the Fund’s Transfer Agent does obtain the complete omnibus
         account information during the share reprocessing exercise.

 I.3     Comment: The Staff requests that the Adviser provide whether there was a loss to the
         Fund from net redemptions over the NAV error period, and the amount of such loss.
         Provide documentation of whether the Fund was made whole for the loss and the entity
         that made the Fund whole.

         Response:

         Please see the analysis set forth in the March 18, 2019 memorandum to the Staff
         (Exhibit A), which is still under further review and discussion with the Staff.

 I.4     Comment: The Staff requests that the Adviser provide a gain/loss report by individual
         shareholder account as a result of NAV adjustments over the NAV error period (i.e.,
         for an NAV adjustment downward, shareholders that purchased shares of the Fund on
         that date should receive either a refund of excess subscription monies paid or a credit
         to their account for additional shares of the Fund).

         Response:

         As the Transfer Agent has not yet obtained the detailed omnibus account information,
         the complete set of this information is not yet available. The Adviser has engaged the
         Event Center team (the “EC”) with DST Asset Manager Solutions, which is a
         subsidiary of the Fund’s Transfer Agent, DST, to take the lead in the reprocessing
         exercise. Based on its experience with similar engagements, the EC has estimated the
         broker outreach portion of this engagement could take 6 – 8 months to complete and a
         final calculation by shareholder will be available shortly thereafter. At the completion
         of the broker outreach, both direct and omnibus shareholders will be reprocessed.

 I.5     Comment: For those shareholder accounts listed in the report with losses, the Staff
         requests that the Adviser provide:



                                              -2-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39       Page 170 of 600




         (a) documentation of whether the account was re-processed to make the shareholder
         (or former shareholder) whole for all losses;

         (b) documentation regarding the entity that made the shareholder whole; and

         (c) documentation demonstrating that the intermediary and/or sub-intermediary
         responsible for re-processing the shareholder’s account ensured that the account had
         been correctly re-processed and the shareholder made whole.

         Response:

         Please see the response as set for in I.4 above

 I.6     Comment: For those shareholder accounts listed in the report with gains
         (“benefits”)(i.e., for an NAV adjustment downward, shareholders that redeemed shares
         of the Fund received a benefit and the Fund experienced a loss), the Staff requests that
         the Adviser provide:

         (a) documentation of whether the Fund was made whole for such losses; and

         (b) documentation regarding the entity that made the Fund whole.

         Response:

         Please see the analysis set forth in the March 18, 2019 memorandum to the Staff
         (Exhibit A), which is still under further review and discussion with the Staff.

 I.7     Comment: The Staff requests that the Adviser provide the management fee earned by
         the Adviser on the Fund’s total net assets during the NAV error period, and the
         management fee that would have been payable to the Adviser on the Fund’s restated
         total net assets during the NAV error period.

         Response:

         The management fee earned by the Adviser on the Fund’s total net assets during the
         NAV error period was $1,435,320.

         The management fee that would have been payable to the Adviser on the Fund’s
         restated total net assets during the NAV error period was $1,388,254.

 I.8     Comment: The Staff requests that the Adviser provide documentation of whether the
         Fund was made whole for the amount of management fees paid by the Fund during the
         NAV error period in excess of management fees that would have been payable by the
         Fund on the Fund’s restated total net assets during the NAV error period.

         Response:

         The Fund was made whole for the amount of management fees paid by the Fund during
         the NAV error period in excess of management fees that would have been payable by


                                               -3-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39        Page 171 of 600




         the Fund on the Fund’s restated total net assets during the NAV error period. The
         Adviser would like to direct the Staff to the “Highland GAF Calculation” attachment
         to Adviser’s OCA submission made on January 19, 2019 (Exhibit B), which included
         an estimate of the management fee rebate of approximately $34,000. The Adviser
         estimated approximately $13,000 of additional management fee rebate was owed
         subsequent to 9/30 and through the end of the NAV error period (total = approximately
         $47,000), which was recorded as a benefit to the NAV of the Fund in January 2019. To
         the extent this amount changes during the reprocessing exercise, any adjustments will
         be reflected in the NAV of the Fund at the end of broker outreach portion of the
         reprocessing exercise, when the final calculation of the amounts will be made.

 II.1    Comment: The Staff noted its concern whether the Board was fully apprised of matters
         that may impact the viability of TerreStar as a going concern, and whether the Board
         was fully informed regarding liquidity and marketability issues regarding TerreStar,
         including with respect to information provided to the Board in connection with renewal
         of the Fund’s investment advisory agreement.

         For example, in the response to inquiry #12 of the Section 15(c) questionnaire, the Staff
         noted that (a) there is no disclosure that Global Allocation Fund’s illiquid securities
         holdings far exceeded 15% of net assets, that the illiquid securities position was due
         primarily to the investment in TerreStar, and that the Fund’s daily redemptions were
         averaging $1.0 million; (b) there is no indication whether the Adviser had stressed
         tested the Fund’s portfolio under various redemption scenarios; (c) there is no
         discussion of the likelihood that the Fund would need to draw upon the credit facility
         to satisfy redemptions, and no discussion whether the credit facility would be sufficient
         to satisfy the Fund’s redemptions if multiple funds drew upon it at the same time; and
         (d) there is no disclosure of the risk to shareholders from the Fund’s continuing sales
         of liquid holdings to satisfy redemptions and leaving the Fund with an increasing
         percentage of assets in illiquid securities, thereby likely harming remaining
         shareholders and potentially overpaying shareholders that redeemed their shares.

         Response:

         a. The Adviser believes its responses in the Section 15(c) questionnaire included all
         required information and adequately answered all questions presented by the Fund’s
         Board through this process. The Adviser’s response to the annual Section 15(c)
         questionnaire provides information responsive to the Board’s requests and is in addition
         to the ongoing and detailed communications between the Adviser and the Board
         throughout the year, which is also taken into account in connection with the annual
         15(c) review.

         For example, the Board was initially informed of the Fund’s illiquid holdings in excess
         of 15%, primarily due to capital activity, by way of quarterly Board reporting at the
         February 2016 Board meeting. At this meeting, the Adviser presented the Fund’s
         overall illiquid holdings for the Fund as of the most recent quarter end as it does at
         every quarterly Board meeting.



                                               -4-
Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39         Page 172 of 600




         Thereafter and pursuant to the Fund’s policy for Guidelines for Liquidity
         Determination, the Adviser provided notifications on a continuous basis for each 3%
         increase in illiquid holdings above 15% along with the rationale for the increase to
         illiquid holdings as percentage of the overall fund (for example due to redemption
         activity, performance, etc.). A full list of illiquid holdings for the Fund was also
         provided in connection with each notification. The date of these email notifications
         and the Fund’s applicable illiquid holdings are set forth below:

               November 2, 2016: 18.10%
               May 31, 2017: 21.06%
               October 18, 2017: 24.00%
               December 14, 2017: 27.20%
               March 20, 2018: 30.32%
               July 2, 2018: 33.70%

         During each quarterly in-person Board meeting:

               The Board received detailed quarterly reports about the status and amount of
                the Fund’s illiquid holdings and capital flow report:
                       Summary schedule of the Fund’s illiquid holdings along with
                         corresponding detail from the most recent quarter end and a
                         supplemental summary schedule, which reflected the Fund’s illiquid
                         holdings closer to the date of the corresponding in-person Board
                         meeting
                       Capital flow activity for the Fund which reflected year to date Fund
                         sales and year to date net capital activity
                       To note, though not formally documented, during each Board meeting
                         there were continuous and informal updates as to the illiquid assets
                         held by the Fund

               Fair Valuation documentation for securities held by the Fund, which included
                TerreStar

               Given the increase of the TerreStar position as an overall illiquid holding of the
                Fund and the Adviser’s conviction in the issuer, Trey Parker, Co-Chief
                Investment Officer and Partner of Highland Capital Management, L.P.
                (“HCMLP”) provided an update on TerreStar during the June 2017 quarterly
                in-person Board meeting. An excerpt of the meeting minutes are provided
                below for reference:




                                              -5-
Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39          Page 173 of 600




               During the November 2017 telephonic Board meeting an update was given to
                the Board outlining the Federal Communications Commission’s denial of
                extension on 1.4GHz license and potential valuation impact (see Exhibit C),
                with TerreStar constituting one of the larger illiquid holdings of the Fund.
               Estimated daily flows for the Fund were sent after the announcement of the
                conversion to a closed-end fund by email to the Board. This email contained
                Fund assets, net capital activity (since conversion announcement and daily
                activity), and if the capital activity was concentrated to a specific intermediary.
                These updates continued through the finalization of the conversion to a closed-
                end fund.

         b. Although not formally required until June 1, 2019, the compliance date for the
         liquidity risk management program rule, routine practice for the Fund involved daily
         oversight of Fund liquidity, a key portion which involved Portfolio manager assessment
         of the composition of the Fund. In this regard, the Portfolio Manager for the Fund would
         receive a daily report, showing the capital activity was within a manageable range even
         assuming a material increase in redemptions and was aware that the portfolio was
         generally liquid aside from its holdings in TerreStar. In addition to capital activity
         which includes subscription and redemption requests, this daily report also factored in
         unsettled trades, funding obligations, margin activity, and if needed, reporting to
         identify assets that could be liquidated to generate proceeds. Cash projections are also

                                               -6-
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39               Page 174 of 600




         discussed during a weekly meeting with the Portfolio Manager and on an ad hoc basis,
         when necessary. Based on this information provided, market outlook, and outlook on
         issuers held within the portfolio, the Portfolio Manager was equipped to make
         necessary adjustments and/or liquidate assets within the portfolio without the need of
         utilization of various stress tests.

         c. The Fund’s registration statement, as approved by the Board, includes disclosure
         that the Fund may borrow “to meet redemption requests and for temporary,
         extraordinary or emergency purposes. To the extent the Fund borrows more money
         than it has cash or short-term cash equivalents and invests the proceeds, the Fund will
         create financial leverage. As discussed in response to II.1.b. above, the Portfolio
         Manager was aware that the portfolio offered sufficient liquidity to satisfy reasonably
         anticipated redemption requests and an assessment regarding utilization of a credit
         facility. Lastly, the Fund did not have a shared credit facility as the arrangement
         terminated in March 2017.

         d. The comment appears to conflate increased illiquidity with an increased risk of
         overpayment, whereas illiquidity and asset valuation are separate concepts. We do
         not believe that increased illiquidity due to investor redemptions is correlated to the
         later-recognized valuation weakness. With regard to illiquidity, which primarily
         arose from redemptions and not purchases of illiquid assets, the Adviser managed the
         Fund taking into account the appropriate need for liquidity. Investor purchases and
         redemptions constantly influence management and although illiquidity increased, the
         Adviser did not permit the Fund to purchase additional illiquid holdings once illiquids
         exceeded 15% of its net assets. The Adviser monitored both investor inflow and
         outflow, with a resulting impact on asset sales. Although illiquidity increased, the
         Adviser did not see such illiquidity as producing the harm to investors that the
         comment suggests. With respect to valuation, the Adviser implemented significant
         controls and steps in the valuation of TerreStar. It was not until later, following
         significant review and analysis, was there determined to be a weakness in the
         valuation for TerreStar. The increased illiquidity at any given time did not affect the
         proper valuation at the time shareholders redeemed nor the ability of the Fund to meet
         redemption requests as they arose.

         In any event these disclosures have evolved over the course of the Fund operating
         previously as an open-end fund and currently as a closed-end fund. The Adviser
         reviews the Fund’s disclosure prior to the filing of any registration statement or annual
         or semiannual report to shareholders or the posting of any fact sheet to the Fund’s
         website. As a part of this review, the Adviser updates the Fund’s disclosure as needed
         to reflect necessary changes or clarifications. Certain items of the current risk
         disclosure relating to illiquid, restricted and other applicable security types of the Fund
         are cited below.

                Current Disclosure in the Fund’s Prospectus:
                Illiquid and Restricted Securities Risk is the risk that the Adviser may not be able to sell
                illiquid or restricted securities, such as securities issued pursuant to Rule 144A of the Securities
                Act of 1933, at the price it would like or may have to sell them at a loss. Securities of non-U.S.


                                                      -7-
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39                Page 175 of 600



               issuers, and emerging or developing markets securities in particular, are subject to greater
               liquidity risk.
               Senior Loans Risk: Senior Loans may not be rated by a rating agency, registered with the
               Securities and Exchange Commission or any state securities commission or listed on any
               national securities exchange. Therefore, there may be less publicly available information about
               them than for registered or exchange listed securities. The risks associated with Senior Loans
               are similar to the risks of below investment grade securities. Moreover, any specific collateral
               used to secure a loan may decline in value or lose all its value or become illiquid, which would
               adversely affect the loan’s value. Economic and other events, whether real or perceived, can
               reduce the demand for certain Senior Loans or Senior Loans generally, which may reduce market
               prices and cause the Fund’s NAV per share to fall. The frequency and magnitude of such changes
               cannot be predicted. The secondary market in which these investments are traded is
               generally less liquid than the market for higher-grade debt. Less liquidity in the secondary
               trading market could adversely affect the price at which the Fund could sell a high yield
               Senior Loan, and could adversely affect the NAV of the Fund’s shares. At times of less
               liquidity, it may be more difficult to value high yield Senior Loans because this valuation may
               require more research, and elements of judgment may play a greater role in the valuation since
               there is less reliable, objective data available. Investments in Senior Loans and other securities
               may result in greater NAV fluctuation than if the Fund did not make such investments. See
               “Taxation” below for a discussion of special tax consequences associated with any investment
               by the Fund in below investment grade securities.
               Illiquid and Restricted Securities. The Fund may invest in illiquid and restricted securities.
               Restricted securities generally may not be resold without registration under the Securities Act
               of 1933, as amended (the “Securities Act”), except in transactions exempt from the registration
               requirements of the Securities Act. A security that may be restricted as to resale under federal
               securities laws or otherwise will not be subject to this percentage limitation if the Adviser
               determines that the security is, at the time of acquisition, readily marketable. Illiquid securities
               are those that cannot be disposed of within seven days in the ordinary course of business at
               approximately the amount at which the Fund has valued the securities. Illiquid and restricted
               securities may offer higher returns and yields than comparable publicly-traded securities.
               However, the Fund may not be able to sell these securities when the Adviser considers it
               desirable to do so or, to the extent they are sold privately, may have to sell them at less than the
               price of otherwise comparable securities. Restricted securities may be illiquid; however, some
               restricted securities such as those eligible for resale under Rule 144A under the Securities Act
               may be treated as liquid.
               Illiquid and Restricted Securities Risk: Illiquid investments may be difficult to resell at
               approximately the price they are valued in the ordinary course of business within seven days.
               When investments cannot be sold readily at the desired time or price, the Fund may have to
               accept a much lower price, may not be able to sell the investment at all or may be forced to
               forego other investment opportunities, all of which may adversely impact the Fund’s returns.
               Illiquid investments also may be subject to valuation risk. Restricted securities (including Rule
               144A securities) may be subject to legal restraints on resale and, therefore, are typically less
               liquid than other securities. The prices received from selling restricted securities in privately
               negotiated transactions may be less than those originally paid by the Fund. Investors in restricted
               securities may not benefit from the same investor protections as publicly traded securities.
               Focused Investment Risk: Funds whose investments are focused in particular countries,
               regions, sectors, companies, or industries with high positive correlations to one another (e.g.,
               different industries within broad sectors, such as technology or financial services), or in
               securities from issuers with high positive correlations to one another, are subject to greater
               overall risk than funds whose investments are more diversified. The Fund that focuses its
               investments in a particular type of security or sector, or in securities of companies in a particular
               industry, is vulnerable to events affecting those securities, sectors, or companies. Securities,
               sectors, or companies that share common characteristics are often subject to similar business



                                                     -8-
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39                 Page 176 of 600



               risks and regulatory burdens, and often react similarly to specific economic, market, political or
               other developments.


               Current Disclosure in the Fund’s Annual Report to Shareholders:
               Illiquid and Restricted Securities Risk
               Certain investments made by the Fund are, and others may be, illiquid, and consequently the
               Fund may not be able to sell such investments at prices that reflect the Investment Adviser’s
               assessment of their value or the amount originally paid for such investments by the Fund.
               Illiquidity may result from the absence of an established market for the investments as well as
               legal, contractual or other restrictions on their resale and other factors. Furthermore, the nature
               of the Fund’s investments, especially those in financially distressed companies, may require a
               long holding period prior to profitability.
               Restricted securities (i.e., securities acquired in private placement transactions) and illiquid
               securities may offer higher yields than comparable publicly traded securities. The Fund,
               however, may not be able to sell these securities when the Investment Adviser considers it
               desirable to do so or, to the extent they are sold privately, may have to sell them at less than the
               price of otherwise comparable securities. Restricted securities are subject to limitations on resale
               which can have an adverse effect on the price obtainable for such securities. Also, if in order to
               permit resale the securities are registered under the Securities Act at a Fund’s expense, the
               Fund’s expenses would be increased. A high percentage of illiquid securities in a Fund creates
               a risk that such a Fund may not be able to redeem its shares without causing significant dilution
               to remaining shareholders.
               Valuation Risk
               Certain of the Fund’s assets are fair valued, including the Fund’s primary illiquid asset,
               TerreStar. TerreStar is a non-operating company that does not currently generate revenue and
               which primarily derives its value from two spectrum frequencies, the license with respect to one
               of which was terminated by the FCC and is being contested by TerreStar on technical and public
               policy grounds. TerreStar currently anticipates such contest may take between 12 to 30 months
               and expects deployment of its other spectrum asset to require a similar period of time. If
               TerreStar is ultimately unsuccessful in its efforts, the terminated license would not be reinstated
               and the value of the TerreStar equity would likely be materially negatively impacted. The fair
               valuation of TerreStar involves uncertainty as it is materially dependent on these estimates. With
               regard to the likelihood of TerreStar regaining the terminated license, the Investment Adviser
               assigned a high probability of success, based in part in consultation with outside experts.
               Senior Loans Risk
               The risk that the issuer of a senior loan may fail to pay interest or principal when due, and
               changes in market interest rates may reduce the value of the senior loan or reduce the Fund’s
               returns. The risks associated with senior loans are similar to the risks of high yield debt
               securities. Senior loans and other debt securities are also subject to the risk of price declines and
               to increases in interest rates, particularly long-term rates. Senior loans are also subject to the risk
               that, as interest rates rise, the cost of borrowing increases, which may increase the risk of default.
               In addition, the interest rates of floating rate loans typically only adjust to changes in short-term
               interest rates; long-term interest rates can vary dramatically from short-term interest rates.
               Therefore, senior loans may not mitigate price declines in a long-term interest rate environment.
               The Fund’s investments in senior loans are typically below investment grade and are considered
               speculative because of the credit risk of their issuers.


               Current Fact Sheet on the Fund’s Website:
               Illiquid and Restricted Securities Risk Certain investments made by the Funds are, and others
               may be, illiquid, and consequently the Funds may not be able to sell such investments at prices
               that reflect the Investment Adviser’s assessment of their value or the amount originally paid for


                                                      -9-
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39                Page 177 of 600



                such investments by the Funds. Illiquidity may result from the absence of an established market
                for the investments as well as legal, contractual or other restrictions on their resale and other
                factors. Furthermore, the nature of the Funds’ investments, especially those in financially
                distressed companies, may require a long holding period prior to profitability. Restricted
                securities (i.e., securities acquired in private placement transactions) and illiquid securities may
                offer higher yields than comparable publicly traded securities. The Funds, however, may not be
                able to sell these securities when the Investment Adviser considers it desirable to do so or, to the
                extent they are sold privately, may have to sell them at less than the price of otherwise
                comparable securities. Restricted securities are subject to limitations on resale which can have
                an adverse effect on the price obtainable for such securities. Also, if in order to permit resale the
                securities are registered under the Securities Act at a Fund’s expense, the Fund’s expenses would
                be increased. A high percentage of illiquid securities in a Fund creates risk that such a Fund may
                not be able to redeem its shares without causing significant dilution to remaining shareholders.
                Focused Investment Risk is the risk that although the Fund is a diversified fund, it may invest
                in securities of a limited number of issuers in an effort to achieve a potentially greater investment
                return than a fund that invests in a larger number of issuers. As a result, price movements of a
                single issuer’s securities will have a greater impact on the Fund’s net asset value, causing it to
                fluctuate more than that of a more widely diversified fund


 II.2    Comment: The Staff found that the disclosures in the Fund’s quarterly fund fact sheet
         for the quarter ended June 30, 2017 provided by the Adviser for the Fund’s Board
         meeting on September 14, 2017 to be inaccurate, incomplete and potentially misleading
         in violation of Rule 34b-1 as the Adviser did not provide the Fund’s Board with all
         material information regarding the Fund’s investment in TerreStar and other illiquid
         securities, as required under: (i) Section 206 of the Advisers Act, and (ii) Section 15(c)
         of the Investment Company Act of 1940, as amended (the “1940 Act”), in connection
         with the annual renewal of the investment advisory agreement.

         Response:

         As noted in more detail in the response to comment II.1.a. above, the Adviser’s
         response to the annual Section 15(c) questionnaire includes and provides information
         responsive to the Board’s requests and is in addition to the ongoing and detailed
         communications between the Adviser and the Board throughout the year, which is also
         taken into account in connection with the annual 15(c) review. For example, the Board
         is provided quarterly reports on the illiquid investments of the Fund and receives
         additional information on a continuous and ongoing basis between quarterly meetings
         when incremental 3% thresholds are exceeded if the Fund holds in excess of 15%
         illiquid securities. The Adviser believes this information presented to and discussed
         with the Board provided the material information needed for the Board to assess the
         investment opportunity and risk associated with illiquid investments held by the Fund.

         The Adviser believes the Fund’s quarterly fact sheets included all disclosure required
         of such documents and were not misleading. These documents are neither intended nor
         required to serve as a report on illiquid investments to the Board, as such information
         is specifically addressed in separate reports to the Board at each quarterly meeting or
         in between meetings as noted above in II.1.a.




                                                     -10-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39          Page 178 of 600




         The quarterly fact sheets on the Fund’s website are designed as client facing reports
         and not as materials specifically for the Board. Such reports typically do not discuss
         liquidity, nor are required to do so. As noted in more detail in the response to Comment
         II.1.d above, detailed discussions regarding restricted securities and valuation policies
         (including fair valuation) are discussed in the Fund’s annual and semi-annual
         shareholder reports in addition to supplemental disclosures of significant risks by
         investing in the Fund

 III.A   Comment: The Staff noted that the Fund failed to adhere to non-fundamental
         investment policy that is disclosed in the Fund’s SAI. The Fund’s greater than 15%
         ownership in TerreStar’s outstanding common stock allowed it to select a candidate for
         nomination to TerreStar’s board. Additionally, the Fund and affiliated funds held a
         controlling position in TerreStar. It appears that the Fund invested in TerreStar for the
         purpose of exercising control or management, contrary to the Fund’s non-fundamental
         investment policy.

         Response:

         The Fund invested in the security for investment purposes, not with the purpose of
         exercising control or management or to receive a board seat. TerreStar represented an
         attractive investment due to it being a licensee of wireless spectrum. An employee of
         Highland had been a TerreStar board member since March 2013 in connection with
         TerreStar’s emergence from bankruptcy. Highland and Solus were chosen as board
         members given their expertise on the issuer and desire to seek the best path forward for
         the issuer as investors. Control is factual under circumstance, and Section 2(a)(9) of
         the 1940 Act, does not indicate that a board position represents control - indeed it is not
         unusual for a fund to gain a board seat to oversee an investment closely. The TerreStar
         board consists of three directors, none of which independently has the power to
         influence or control the TerreStar board, and Highland’s board representative does not
         receive any direct or indirect compensation for performing this role. Further, the Fund
         did not at any point own greater than 25% of TerreStar. As noted, Highland investors
         did not exercise control as a matter of fact, and indeed never invested for a purpose
         other than investment.

 III.B   Comment: The Staff noted that the Fund failed to adhere to Fund’s liquidity guidelines
         contained in the Fund’s Compliance Manual. The Fund’s illiquid holdings have
         exceeded 15% of net assets since October 31, 2016, if not earlier. The Fund did not
         take steps “as soon as reasonably practicable” to reduce the Fund’s holdings of illiquid
         securities to less than 15% of net assets, which is inconsistent with the Fund’s liquidity
         guidelines.

         Response:

         At the time of the initial investment in TerreStar by the Fund, the position and other
         illiquid assets held by the Fund were not in excess of the 15% illiquid asset threshold.
         As a result of Fund redemptions over time and certain mark to market movements of
         illiquid securities, the proportion of the Fund’s assets represented by illiquid assets


                                               -11-
Case 21-03005-sgj Doc 29 Filed 05/24/21                   Entered 05/24/21 10:22:39                   Page 179 of 600




         increased above the 15% threshold. The Fund did not make additional purchases of
         illiquid securities once it was above the 15% illiquid threshold.

         Prior to implementation of the Fund’s liquidity risk management program required
         under Rule 22e-4 on November 7, 2018, the Fund’s Compliance Manual stated
         pursuant to its policy Guidelines for Liquidity Determination for Securities:

            If at any time the Adviser determines that a Fund’s illiquid holdings exceed 15% of
            its net assets, the Adviser will, on a weekly basis, ask its traders to identify any
            significant “presumptively illiquid” securities held by the Fund that have previously
            been determined to be liquid that are no longer liquid, and the Adviser will take
            steps to bring the Fund’s illiquid holdings back within the 15% limit as soon as
            reasonably practicable.[2]
            If at any time the Adviser determines that a Fund’s illiquid holdings exceed 25% of
            its net assets, the Adviser will notify the Fund’s portfolio managers that, although
            they are not required to sell the Fund’s illiquid holdings, they should seek to identify
            and take advantage of opportunities with a view to reducing the Fund’s illiquid
            securities to 15% of its net assets, provided that the portfolio managers believe such
            sales would be consistent with the Adviser’s duty to the Funds.
             [2] The SEC has stated with respect to money market funds: “In the event that changes in the portfolio or other
             external events cause the investments in illiquid instruments to exceed ten percent [the then-applicable limit
             for money market funds] of the fund’s net assets, the fund must take steps to bring the aggregate amount of
             illiquid instruments back within the prescribed limitations as soon as reasonably practicable. However, this
             requirement generally would not force the fund to liquidate any portfolio instrument where the fund would
             suffer a loss on the sale of that instrument.” See Inv. Co. Act Rel. No. 13380, n. 38 (July 11, 1983).
             Additionally, in 1969 the SEC stated that if an open-end fund’s holdings of illiquid assets “increases beyond
             10 percent [the then-applicable limit], it would be desirable for the open-end company to consider appropriate
             steps to protect maximum flexibility.” See Inv. Co. Act Rel. No. 5847, at 6 (October 21, 1969).

         The clear intention is that these paragraphs are meant to be read together with the first
         paragraph being modified not only by footnote 2 but also by the final clause of the
         second paragraph, “provided that the portfolio managers believe such sales would be
         consistent with the Adviser’s duty to the Funds” which clause provides that all sales
         would be consistent with the Adviser’s duty to the Fund and thus the Adviser would
         not be forced to fire-sale an asset to the detriment of the Fund. Any interpretation of
         the two paragraphs as independent could yield the illogical result that illiquidity
         between 15 and 25% mandates sales, but illiquidity greater than 25% would be
         permissible without sales if the Adviser believed appropriate. At all times, either above
         the 15% limit or the 25% limit, the Adviser assessed the level of illiquidity of the Fund
         and evaluated whether such sales, in particular TerreStar, would be consistent with its
         duty to the Fund.

         The Adviser believes that this approach is consistent with the Commission’s guidance
         as noted in the final release to Rule 22e-4, which provides that “requiring a fund to
         divest investments if the fund’s holdings of illiquid investments that are assets exceed
         15% of net assets—which, as suggested by a commenter, could result in the fund
         needing to sell the illiquid investments at prices that incorporate a significant discount




                                                        -12-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39         Page 180 of 600




         to the investments’ stated value, or even at fire sale prices—could adversely affect
         shareholders and could potentially negate the liquidity risk management benefits of the
         illiquid investment limit.”

 III.C   Comment: The Staff believes the Fund and the Adviser failed to appropriately monitor
         the Fund’s liquidity and failed to maintain an appropriate level of portfolio liquidity
         prior to the Fund’s conversion to a closed-end fund, which is currently in process. The
         Staff observes that the compliance date for open-end funds, including ETFs but not
         money market funds, to adopt and implement a liquidity risk management program
         under Rule 22e-4 of the 1940 Act is December 1, 2018 for larger fund groups. The
         Adviser should ensure that open-end funds advised by the Adviser, including the Fund
         prior to having converted to a closed-end fund, have adopted and implemented a written
         liquidity risk management program reasonably designed to assess and manage the
         respective fund’s liquidity risk as required under Rule 22e-4.

         Response:

         The Adviser believes at all times that it monitored liquidity and maintained an
         appropriate level of portfolio liquidity to meet actual and reasonably anticipated
         redemption requests as described in II.1.b above. Further, while the fund operated as
         an open-end fund, it typically paid out redemption requests in cash within one to two
         days and because it maintained an appropriate level of portfolio liquidity, never paid
         redemptions in-kind.

         All Funds managed by the Adviser, including the Fund, implemented a liquidity risk
         management program and designated a program administrator pursuant to rule Rule
         22e-4 on November 7, 2018. The Adviser is finalizing the remainder of Rule 22e-4
         elements which require implementation, subject to Board approval, on or before June
         1, 2019 Prior to the implementation of this program, the Fund operated under its
         historical Guidelines for Liquidity Determination for Securities policy which, for the
         reasons outlined in the response to Comment III.B above, required a fund that has
         exceeded the 15% illiquid investments threshold to reduce its illiquid holdings only if
         such action is in the best interests of such fund and its shareholders and did not permit
         the Fund to purchase any additional illiquid securities.

 IV.A    Comment: The Staff believes that the disclosures in the Fund’s quarterly fund fact
         sheet published during 2017 (1Q2017, 2Q2017, 3Q2017 and 4Q2017) on the Fund’s
         website regarding TerreStar and the failure to disclose risks of illiquid investments were
         inaccurate, incomplete and misleading in violation of Rule 34b-1.

         Response:

         The Adviser believes the Fund’s quarterly fact sheets included all disclosure required
         of such documents and were not misleading. These documents are neither intended nor
         required to serve as a report on illiquid investments to shareholders. Further the fact
         sheets state, “Before investing in the Fund, you should carefully consider the Fund’s
         investment objectives, risks, charges, and expenses. For a copy of a prospectus or
         summary prospectus which contains this and other information, please visit our

                                               -13-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39         Page 181 of 600




         website at highlandfunds.com or call 1-877-665-1287. Please read the fund
         prospectus carefully before investing.” Please also refer to our response set forth in
         II.1.d above.

         As set forth in the prospectus - Annual/Semi-Annual Reports to Shareholders:
         Additional information about the Funds’ investments will be available in the Funds’
         semi-annual reports to shareholders. In the Funds’ annual reports, you will fund a
         discussion of the market conditions and investment strategies that significantly affected
         the Funds’ performance during its last fiscal year. In the semi-annual and annual
         reports, TerreStar was described as a restricted security, with the below description:

                Restricted Securities. These securities are not registered and may not be sold to
                the public. There are legal and/or contractual restrictions on resale. The Fund
                does not have the right to demand that such securities be registered. The values
                of these securities are determined by valuations provided by pricing services,
                brokers, dealers, market makers, or in good faith under the procedures
                established by the Fund’s Board of Trustees.

         In addition both the TerreStar equity and debt were designated as Level 3 assets, with
         the below accompanying disclosure within Fair Value Measurements reporting:

                The fair value of the Funds’ common stocks, preferred stocks, exchange-traded
                funds, rights, warrants and options that are not actively traded on national
                exchanges are generally priced using quotes derived from implied values,
                indicative bids, or a limited amount of actual trades and are classified as Level
                3 assets because the inputs used by the brokers and pricing services to derive the
                values are not readily observable. Exchange-traded options are valued based on
                the last trade price on the primary exchange on which they trade. If an option
                does not trade, the mid-price, which is the mean of the bid and ask price, is
                utilized to value the option.

                At the end of each calendar quarter, the Investment Adviser evaluates the Level
                2 and 3 assets and liabilities for changes in liquidity, including but not limited
                to: whether a broker is willing to execute at the quoted price, the depth and
                consistency of prices from third party services, and the existence of
                contemporaneous, observable trades in the market. Additionally, the Investment
                Adviser evaluates the Level 1 and 2 assets and liabilities on a quarterly basis for
                changes in listings or delistings on national exchanges.

                Due to the inherent uncertainty of determining the fair value of investments that
                do not have a readily available market value, the fair value of the Funds’
                investments may fluctuate from period to period. Additionally, the fair value of
                investments may differ significantly from the values that would have been used
                had a ready market existed for such investments and may differ materially from
                the values the Funds may ultimately realize. Further, such investments may be
                subject to legal and other restrictions on resale or otherwise less liquid than
                publicly traded securities.


                                               -14-
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39            Page 182 of 600




         Lastly conveyed through Note 8. Disclosure of Significant Risks and Contingencies

                The primary risks of investing in the Funds are described below in alphabetical
                order:

         Illiquid and Restricted Securities Risk
         Certain investments made by the Funds are, and others may be, illiquid, and consequently the
         Funds may not be able to sell such investments at prices that reflect the Investment Adviser’s
         assessment of their value or the amount originally paid for such investments by the Funds.
         Illiquidity may result from the absence of an established market for the investments as well as
         legal, contractual or other restrictions on their resale and other factors. Furthermore, the nature
         of the Funds’ investments, especially those in financially distressed companies, may require a
         long holding period prior to profitability.

                Restricted securities (i.e., securities acquired in private placement transactions) and
                illiquid securities may offer higher yields than comparable publicly traded securities.
                The Funds, however, may not be able to sell these securities when the Investment
                Adviser considers it desirable to do so or, to the extent they are sold privately, may have
                to sell them at less than the price of otherwise comparable securities. Restricted
                securities are subject to limitations on resale which can have an adverse effect on the
                price obtainable for such securities. Also, if in order to permit resale the securities are
                registered under the Securities Act at a Fund’s expense, the Fund’s expenses would
                be increased. A high percentage of illiquid securities in a Fund creates a risk that such
                a Fund may not be able to redeem its shares without causing significant dilution to
                remaining shareholders.


 IV.B.1 Comment: The Staff noted that Section 34(b) of the 1940 Act makes it unlawful to
        make a material misstatement or omission in a registration statement filed pursuant to
        the 1940 Act. The lack of disclosure in the Fund’s prospectus or SAI regarding the
        increasing percentage of the Fund’s investments in illiquid securities, and the
        associated risks to shareholders, was incomplete, inaccurate and potentially misleading
        under Section 34(b) of the 1940 Act.

         Response:

         The Fund’s prospectus and SAI have historically included the risks describing illiquid
         investments and the risks associated therewith as outlined above in II.1.d. As the Fund
         is not a money market fund, Form N-1A does not require any specific liquidity or
         illiquidity related disclosure in the prospectus or SAI relating to the percentage of
         illiquid securities. Specific information with respect to the levels of restricted securities
         and Level 3 assets are included in the Fund’s annual and semi-annual reports to
         shareholders, as outlined above in IV.A. In addition, we note that because open-end
         funds by nature expand and contract from purchases and redemptions that fund
         prospectuses are designed by rule to disclose overall risks sufficient to inform investors.
         Based on the constant potential for changed circumstances, funds disclose reasonably
         foreseeable risk which the actual impact varies constantly based on circumstances and
         funds may supplement disclosure only upon occurrence of such event is deemed


                                                  -15-
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39         Page 183 of 600




         permanent (such as portfolio manager or strategy changes). Whereas fund annual and
         semi-annual shareholder reports indicate current financial status.

         We will continue to evaluate disclosure in the prospectus, SAI and shareholder reports
         on an ongoing basis, and will incorporate additional disclosure as appropriate.

 IV.B.2 Comment: The Staff requests the Adviser review whether disclosure should be made
        concerning the business and/or professional relationships of John Honis, Rand
        Advisors, Highland Capital Management, L.P. and the Adviser and potential conflicts,
        consistent with Section 34(b) of the 1940 Act, and inform the Staff of steps the Adviser
        will take with respect to this issue.

         Response:

         While the Adviser believes the existing disclosures include all material disclosures
         regarding conflicts, the Adviser in response to the Staff’s request, and at the next
         opportunity (no later than the Fund’s next annual Form N-2 update, which is expected
         to file by the end of January 2020), will add the below disclosure regarding the
         arrangement between Mr. Honis and Highland Capital Management, L.P. Separately,
         the Adviser will update affiliated fund filings through the annual update and annual
         shareholder meeting process (for listed funds). To the extent a registration statement
         for an affiliated fund is filed prior to such fund’s annual update, the Adviser will include
         the updated disclosure.

         Proposed Disclosure (with additions underlined):

                Since May 1, 2015, Mr. Honis has been treated as an Independent
                Trustee of the Fund. Prior to that date, Mr. Honis was treated as an
                Interested Trustee because he was a partner of an investment adviser
                affiliated with the Adviser until his resignation in November 2014. As
                of March 5, 2019, Mr. Honis was entitled to receive aggregate
                severance and/or deferred compensation payments of approximately
                $400,000 from another affiliate of the Investment Adviser. Mr. Honis
                also serves as a trustee of a trust that owns substantially all of the
                economic interest in an investment adviser affiliated with the Adviser.
                Mr. Honis indirectly receives an asset-based fee in respect of such
                interest, which is projected to range from $450,000-$550,000 annually.
                Additionally, an investment adviser controlled by Mr. Honis has
                entered into a shared services arrangement with an affiliate of the
                Adviser, pursuant to which the affiliate provides back office support in
                exchange for approximately $50,000 per quarter. The affiliated adviser
                was paid $147,000 and $208,000 in 2017 and 2018, respectively. In
                light of these relationships between Mr. Honis and affiliates of the
                Adviser, it is possible that the Securities and Exchange Commission
                (the “SEC”) might in the future determine Mr. Honis to be an interested
                person of the Fund.




                                                -16-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39        Page 184 of 600




 VI.A    Comment: The Staff noted that the Adviser failed to implement and/or adopt adequate
         policies and procedures concerning fair valuation of the Fund’s portfolio securities. The
         Adviser should inform the Staff of the corrective action it is taking to adopt and
         implement policies, procedures and controls to address the compliance program
         deficiency and the control deficiency with respect to fair valuation of the Fund’s
         portfolio securities.

         Response:

         The Adviser both had and implemented significant controls and steps in valuation, but
         the TerreStar circumstances revealed a weakness. The Adviser has developed a plan
         to take corrective action to address the control deficiency related to fair valuation.

         First, the Adviser has made enhancements to the Adviser’s Valuation Committee
         review control by:

               Providing additional training to members of the Valuation Committee with
                respect to application of ASC 820
               Providing training to members of the Valuation Committee with respect to
                usage of subject matter expert inputs as inputs to fair value determinations
               Creating and implementing a guide for use of the Valuation Committee for the
                assessment of the application of ASC 820 to fair value models (see Exhibit D
                attached hereto)

         These enhancements have been completed and were part of the materials provided at
         the March 19, 2019 Valuation Committee meeting (see Exhibit E attached hereto, with
         respect to the training materials)

         Next, the Adviser has made enhancements to the Adviser’s Valuation Sub-Committee
         review control, which is already a part of its existing valuation process. This was
         accomplished by:

               The addition of an additional member to the Valuation Sub-Committee to
                conduct certain control activities

                This enhancement has been completed.

         Lastly, the Fund has further enhanced and the Board has approved the Adviser’s
         Valuation Policy at the February 28 through March 1, 2019 in-person Board meeting,
         as marked in Exhibit F attached hereto. The amended Policy now includes procedures
         for the engagement of subject matter experts to derive unobservable inputs, the
         reporting of trades of fair valued securities determined by the Valuation Committee to
         be “non-orderly,” and the composition and documentation of valuation sub-committee
         meetings.




                                              -17-
Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39        Page 185 of 600




 VI.B.   Comment: The Staff found instances where the Fund may not have complied with a
 1       non-fundamental investment policy, failed to adhere to investment guidelines, and
         failed to maintain an appropriate level of liquidity. These instances indicate weaknesses
         in the Adviser’s policies and procedures for ensuring compliance with the Fund’s
         investment policies and investment guidelines.

         The Adviser should inform the Staff of the corrective action it is taking to adopt and
         implement policies and procedures in response to this compliance program deficiency.

         Response:

         The Adviser, as discussed, does not agree that it failed to comply with the noted
         policies. As outlined above in response III.A the Adviser believes the Fund complied
         with its non-fundamental investment policy. Also as outlined above in response II.1.b,
         the Adviser believes the Fund maintained an appropriate level of liquidity. Lastly the
         Adviser believes all investments made by the Fund were done in accordance its
         investment guidelines. Nonetheless, the Adviser is reviewing fund policies for
         identification of any improvements or clarifications that can be made. For example,
         the enhancements to the Valuation Policy outlined in Section VI.A above, have been
         implemented.

 VI.B.   Comment: The Staff found sales literature published by the Fund that was inaccurate,
 2       incomplete and potentially misleading under Rule 34b-1. The staff also found certain
         disclosures in the Fund’s prospectus and SAI to be inaccurate, incomplete and
         potentially misleading under Section 34(b). These findings indicate weaknesses in the
         Adviser’s policies and procedures for ensuring accurate, complete and not misleading
         disclosures in the Fund’s sales materials, prospectus and SAI.

         The Adviser should inform the Staff of the corrective action it is taking to adopt and
         implement policies and procedures in response to this compliance program deficiency.

         Response:

         The Adviser does not believe the disclosure in sales literature for the Fund to be
         inaccurate, incomplete, or potentially misleading as set forth in the response provided
         above in II.2 and IV.A.

         With respect to the disclosures in the Fund’s prospectus and SAI deemed to be
         inaccurate, incomplete and potentially misleading, the Adviser believes applicable
         disclosures were appropriately addressed as has been set forth in our response above in
         II.1.d. and IV.B.1.

         The Adviser continues to review the disclosure included in fact sheets for appropriate
         risks, and any risk that is included in a prospectus as prominent for a fund will be
         considered for inclusion in the fund’s fact sheet. The Adviser also undertakes to
         continuously review disclosure of all funds managed by the Adviser for consistency
         with the responses to this letter.



                                              -18-
Case 21-03005-sgj Doc 29 Filed 05/24/21     Entered 05/24/21 10:22:39     Page 186 of 600




*      *     *

Please feel free to contact me at 972-419-4459 to discuss any questions or comments you may
have regarding the foregoing responses. Thank you for your assistance.


Sincerely,



Jason Post
Chief Compliance Officer




                                           -19-
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39   Page 187 of 600




                                    EXHIBIT A


                             March 18, 2019 Memorandum




                                          -20-
  Case 21-03005-sgj Doc 29 Filed 05/24/21                        Entered 05/24/21 10:22:39             Page 188 of 600




DATE:       March 18, 2019
TO:         Securities and Exchange Commission (the “SEC”)
FROM:       Highland Capital Management Fund Advisors, L.P. (the “Adviser”)
RE:         Accounting Treatment of TerreStar Corporation (“TerreStar”) Equity NAV Error in the Fund

       This memorandum is intended to provide supplemental information regarding the NAV Error in the
Highland Global Allocation Fund (“GAF” or the “Fund”) and reflect the discussions on the March 8, 2019 call.
Attendees of the call included:
        (i) SEC Staff: David Bartels, Paul Cellupica, Alison Staloch, Vince DiStefano, Dan Rooney, Christian
            Sandoe, Kathryn Feld and Linda Hoffman;
        (ii) Adviser Representatives: Thomas Surgent, Frank Waterhouse, Jason Post and Lauren Thedford;
        (iii) Independent Trustee Counsel: Stacy Louizos of Drinker Biddle & Reath LLP; and
        (iv) Fund and Adviser Counsel: George Zornada and Jon-Luc Dupuy of KL Gates LLP.
        In connection with the Fund’s conversion from an open-end fund to a closed-end fund (the “Conversion”)
on February 13, 2019, the Office of the Chief Accountant (“OCA”) of the SEC reviewed the Adviser’s fair valuation
of TerreStar equity, in particular the application of Financial Accounting Standards Board Accounting Standards
Update 2011-4, Topic 820, Fair Value Measurement (“ASC 820”) to two transactions in TerreStar equity that
occurred in March 2018 (the “March Transactions”). The OCA provided its feedback during an exit call on
February 8, 2019 and subsequently confirmed no comments to the Adviser’s confirmation of understanding letter
on February 14, 2019.
        The Adviser and Houlihan Lokey, an independent third party expert valuation consultant approved by the
Board, initially determined that the March Transactions were “non-orderly” and should be given “zero weighting”
for purposes of determining fair value. As reflected in the consultation, the Adviser ultimately determined that both
March Transactions should be classified as “orderly.” The fair valuation methodology adopted, as addressed in the
consultation, weights inputs and does not reflect last sales transaction pricing exclusively in determining fair value.
The “orderly” determination and adoption of the weighted fair valuation methodology resulted in NAV errors in the
Fund (the “NAV Error”).
        After incorporation of the updated valuation into the Fund’s NAV, the gross NAV Error, excluding interest,
the advisory fee rebate, and processing costs, amounted to approximately $6.1 million of loss to the Fund and
approximately $1.4 million of losses to Shareholders over the period between March 18, 2018 and January 19, 2019.


Calculation of the NAV Error
        a. For each day during the NAV Restatement Period, the Adviser analyzed the impact on the Fund's NAV
           resulting from the revised mark relative to the original mark for TerreStar Equity. This amount includes:
                (i) "Loss to Fund", which represents the sum of the overpayment of net redemptions (and resulting
                    remaining shareholder dilution) caused by the NAV overstatement for each day in the period
                    where the difference in marks resulted in a NAV error in accordance with the NAV Error
                                 Confidential Treatment Requested by Highland Global Allocation Fund
                                                  Pursuant to 17 C.F.R. § 200.83 (2019)
   Case 21-03005-sgj Doc 29 Filed 05/24/21                       Entered 05/24/21 10:22:39             Page 189 of 600
                                 Confidential Treatment Requested by Highland Global Allocation Fund
                                                  Pursuant to 17 C.F.R. § 200.83 (2019)


                     Correction Procedures. This number is an estimate based on net investor activity for all
                     shareholders for each period, as provided to the Adviser by the Fund’s transfer agent, DST
                     Asset Manager Solutions, Inc. (the “Transfer Agent”). This amount is an estimate based on
                     all investor activity for each period, as provided by the Transfer Agent. Final numbers will be
                     determined once an investor-by-investor analysis is performed for the entire NAV restatement
                     period by the Adviser and the Transfer Agent.
                 (ii) “Loss to Shareholders”, which occurred where either (i) the revised mark was higher than the
                      original mark for the period and shareholders who redeemed during the period were underpaid
                      (these shareholders will be made whole as part of the shareholder reprocessing exercise); or
                      (ii) the revised mark was lower than the original mark for the period and shareholders who
                      subscribed or reinvested shares of the Fund overpaid (these shareholders will be made whole
                      as part of the shareholder reprocessing exercise).
                 (iii) "Estimated Gross Up for Additional Omnibus Accounts", which is intended to estimate the
                       potential impact for the reprocessing of individual capital activity that is currently netted within
                       the Omnibus accounts. The investor level detail within the Omnibus accounts is aggregated
                       into one net investor in the detail available from the Transfer Agent. The current analysis is
                       only looking through to the NFS Omnibus account, but there may be additional omnibus
                       accounts that require this look-through treatment, which will be determined after an analysis
                       of the various omnibus agreements.
                 (iv) "Processing fees", which refer to the rough amount the Adviser expects to have to pay the
                      Transfer Agent to reprocess shareholder transactions as described above.
                 (v) “Management fee rebate”, which is the excess advisory fee calculated on the higher TerreStar
                     valuation reflected in the NAV.
                 (vi) “Interest”, which is calculated on the daily cumulative Fund receivable at a rate of Fed Funds
                     + 45 bps using the “Actual/360” methodology.


Equitable Treatment of Realized Gains in the NAV Error Calculation
         The GAF NAV Error represents a unique set of circumstances where, during the NAV Restatement period
there are days in which there is (1) an original fair value mark, an (2) Updated Valuation (defined below), and (3)
the mark at which TerreStar was sold in a negotiated arm’s length transaction to an unaffiliated third party; the latter
price is greater than both the original fair value mark and the Updated Valuation, and results in a Gain above Fair
Value which the Adviser believes should also be considered in the determination of Fund Loss. On December 7,
2018, the Fund sold $23 million of TerreStar equity at $350 per share (above its restated December 2018 fair value
mark of $274.38, as calculated under the methodology set forth in the consultation, and above the Adviser’s original
fair value mark of $333.12 prior to the OCA consultation). When applying the fair valuation approach approved by
the SEC during the OCA consult process (the “Updated Valuation”), the Adviser believes it is appropriate to also
apply a portion of the gain realized on the December 7, 2018 sale in excess of the restated fair value of
approximately $4,959,992 (the “Gain above Fair Value).
        The Adviser’s process in applying this gain to the NAV Error is consistent with the Fund’s NAV Error
Correction Procedures for the following reasons:

                                                                                                                         2
  Case 21-03005-sgj Doc 29 Filed 05/24/21                        Entered 05/24/21 10:22:39             Page 190 of 600
                                 Confidential Treatment Requested by Highland Global Allocation Fund
                                                  Pursuant to 17 C.F.R. § 200.83 (2019)


         According to Item 4 of Section I, “Definitions,” in relevant part, “Fund Loss” includes a situation where a
Fund “has paid excessive redemption proceeds as a result of an overstatement of net asset value.” While the
definition of Fund Loss is silent on the unique circumstances present here, Item 2 of Section I provides context for
analyzing the total harm in its definition of a NAV error:
        “one or more errors in the computation of [NAV] that, when considered cumulatively, result in a
        difference between the originally computed NAV and the corrected NAV of at least $0.01 per share.
        If there are one or more errors in the computation of NAV that, when considered cumulatively,
        result in a difference between the originally computed NAV and the corrected NAV of less than
        $0.01 per share, the impact is deemed to be immaterial and no corrective adjustment will be made
        to the Fund or any shareholder account. This computation is based upon the actual difference and
        is not based upon the rounding of NAV to the nearest cent per share.” (emphasis added)

        To the extent not expressly covered above, Item 9 of Section II, “Correction Procedures,” states the
following (emphasis added):

        “9. The foregoing Procedures are designed for general application. However, there may be
        situations where equity would suggest a different result under the circumstances. Accordingly, the
        Adviser may, with the approval of the Board, diverge from these Procedures, as they deem
        appropriate, on a case by case basis.

        Although the definition of Fund Loss is not a bright line rule in this circumstance, it follows that these two
provisions should be taken together and the Adviser should analyze the NAV Error on a cumulative basis when
determining the actual harm to shareholders. This results in the application of the Gain above Fair Value to the
NAV Error, which ultimately reduces the amount of Fund Loss (or harm to shareholders).
         As the NAV Error Correction Procedures are designed for general application, the procedures do not, and
were not intended to, contemplate or address every possible circumstance or scenario. Given the unique
circumstances that produced the Gain above Fair Value (i.e. a period during which there is (1) an original fair value
mark, an (2) Updated Valuation (defined below), and (3) the mark at which TerreStar was sold in a negotiated arm’s
length transaction to an unaffiliated third party), this particular scenario is not explicitly addressed in the general
NAV Error Correction Procedures (set forth in Exhibit 1 of the attached NAV Error Correction Procedures).
       The Adviser believes the intent of Item 9 was to provide the flexibility needed to consider the unique
circumstances described above and, as such, warrant application of the equitable concept introduced by Item 9 of
the NAV Error Correction Procedures and supported by the definition of Fund Loss in Item 4. As a result, the
Adviser believes that, taking into account Item 9, the aggregation (or netting) of the Gain above Fair Value with the
NAV Error ultimately is fair and equitable to shareholders and consistent with the NAV Error Correction
Procedures. This approach has been discussed with the Board (see below).
        The NAV Error amount of $7.7 million (including interest, rebate of Advisory fees, and processing costs)
ignores the actual realized gain represented by the Gain above Fair Value. As a result of the Updated Valuation,
the Loss to Fund was caused by dilution to remaining investors from redemptions at a NAV higher than the Updated
Valuation. A significant part of that “paper” dilution was offset by the Gain above Fair Value because the Fund’s
net assets increased due to the actual cash realized in the December 7, 2018 sale at a price higher than the Updated
Value; such sale benefitted remaining investors, however the fair value of the remaining TerreStar equity (reflected
in the Updated Value) was not increased to reflect the full realized sale price.



                                                                                                                         3
  Case 21-03005-sgj Doc 29 Filed 05/24/21                       Entered 05/24/21 10:22:39             Page 191 of 600
                                Confidential Treatment Requested by Highland Global Allocation Fund
                                                 Pursuant to 17 C.F.R. § 200.83 (2019)


         This application of all relevant data surrounding the TerreStar investment is particularly important in light
of (i) the robust disclosure included in the Fund’s definitive proxy statement, which made very clear the risks
associated with the ongoing valuation of the TerreStar investment; and (ii) shareholder’s overwhelming vote in
favor of the Conversion (95% of shareholders present at the shareholder meeting voted in favor of the Conversion
proposals). This shareholder affirmation suggests that shareholders chose to continue to seek exposure to the
TerreStar investment. The Adviser also believes that these shareholders have invested in the Fund (as well as other
funds advised by the Adviser) for these unique and opportunistic investment opportunities that provide investors
with access to institutional quality strategies in a 1940 Act offering.
        The following granular points were considered in the application of a portion of the realized Gain above
Fair Value in the NAV Error calculation for GAF:
       On December 7, 2018, and prior to incorporation of the Updated Valuation, TerreStar was marked at
        $333.12 per share.
       When applying the Updated Valuation to GAF over its NAV Restatement Period, TerreStar’s fair value
        marks were restated to $274.38 per share on December 7, 2018 (different values were determined for
        various other dates throughout the period).
       This restated value was intended to represent fair value more accurately than the previous TerreStar fair
        value marks, as set forth in the OCA consultation.
       The delta between $333.12 and $274.38 per share initially resulted in a NAV Error; however, on the same
        day GAF also executed a negotiated arm’s length sale of 65,591 shares of TerreStar equity at a price of
        $350 per share for a total of $23 million.
       If the restated fair value price per share of $274.38 is truly representative of TerreStar’s fair value on
        December 7, 2018, then application of the NAV Error Correction Procedures should consider cumulatively
        the delta between (i) the original mark of $333.12 per share and the revised mark of $274.38 share (red in
        the chart below) (the “Basis of the NAV Error”) and (ii) the December 7, 2018 sale price of $350 per share
        and the revised mark of $274.38, or approximately $4.96 million (green in the chart below) (the Gain above
        Fair Value).
       Note, the Basis of the NAV Error represents a paper loss on the records of the Fund while the Gain above
        Fair Value represents actual cash in the Fund.




                                                                                                                        4
Case 21-03005-sgj Doc 29 Filed 05/24/21                      Entered 05/24/21 10:22:39             Page 192 of 600
                             Confidential Treatment Requested by Highland Global Allocation Fund
                                              Pursuant to 17 C.F.R. § 200.83 (2019)




   Application of approximately $2.3 million of the Gain above Fair Value against the Basis of the NAV Error
    represents the equitable application and inclusion of all relevant data of the TerreStar price in the calculation
    of Loss to Fund from dilution of remaining investors. As described in section 4 above, certain material
    components of the NAV error were estimated and can be finalized only after an investor-by-investor
    analysis is performed for the entire NAV restatement period by the Adviser and the Fund's transfer agent.
    As such, the $2.3 million of the Gain above Fair Value that is applied against the Basis of the NAV error
    could change materially, but would be limited to the total Gain above Fair Value of $4.96 million.
   Note, the benefit derived from the Gain above Fair Value as offset against the amount of the total Loss to
    Fund not covered by insurance inured to the benefit of all GAF shareholders on December 7, 2018 and not
    a subset of shareholders.
   Any shareholders subscribing into GAF subsequent to December 7, 2018 did not benefit from the Gain
    above Fair Value, but the approximate $17,000 of subscription proceeds paid in excess of the restated NAV
    will be made whole from insurance proceeds and the related deductible.
   The “paper” dilution referenced above is significantly offset by the Gain above Fair Value because the
    Fund’s net assets increased due to actual cash realized in the December 7, 2018 sale at a price higher than
    the Updated Value. This sale benefitted remaining investors, however the fair value of the remaining
    TerreStar equity (reflected in the Updated Value) was not increased to reflect the full realized sale price.
   The factual circumstances surrounding the valuation of TerreStar equity, including:
        o   The use of Houlihan Lokey, an independent third party expert valuation consultant approved by
            the Board, to assist in the fair valuation;
        o   The initial conclusion that the sales of TerreStar in March 2018 (the “March Transactions”) were
            “non-orderly”, and the ultimate conclusion of the Adviser, after conclusion of a formal audit of
            affiliated funds holding TerreStar, that the March Transactions should be classified as “orderly”;
            and


                                                                                                                     5
     Case 21-03005-sgj Doc 29 Filed 05/24/21                         Entered 05/24/21 10:22:39                 Page 193 of 600
                                     Confidential Treatment Requested by Highland Global Allocation Fund
                                                      Pursuant to 17 C.F.R. § 200.83 (2019)


                 o   The consultation with the OCA.1

Shareholder and Fund Reprocessing
         The NAV Error totals approximately $7.7 million (including interest, rebate of Advisory fees, and
processing costs). The NAV Error will be covered by: (i) GAF’s pro rata portion of the Adviser’s and the Fund’s
joint insurance policy and $250,000 deductible (paid by the Adviser); (ii) an additional payment and rebate of
advisory fees by the Adviser; and (iii) the Gain above Fair Value (as defined below), which is unique to GAF and
arises from a sale of TerreStar equity above fair value after the shareholder approval of the conversion.
     In connection with this analysis, the Adviser disclosed to the Board the following process regarding the
GAF NAV Error:
           1.        Book a receivable for the NAV Error.
           2.        Apply the insurance proceeds pro rata based on losses across the impacted funds.
           3.        Application of the Gain above Fair Value to the GAF NAV Error.
           4.        Adviser to pay the:
                        Ratable share of insurance deductible across the impacted funds; and
                        Management fee rebate and processing costs across the impacted funds.


           A numerical summary is as follows:
                                                                   Loss to                  Loss to
                                                                    Fund                  Shareholders             Totals
        Net Loss                                                 (6,068,851)                 (1,373,272)           (7,442,124)
        Processing, Fees, Interest                                 (231,000)                         -               (231,000)
        Insurance Proceeds                                        3,566,248                   1,373,272             4,939,520
        Insurance deductible paid by Adviser                        246,976                          -                246,976
        Additional payment from Adviser                             231,000                          -                231,000
        Gain above fair value                                     2,255,628                          -              2,255,628
        Total*                                                              -                              -                -
         *The Total row should net to zero and serves solely as a check figure.


Accounting Treatment
         U.S. generally accepted accounting principles (“GAAP”) are generally silent on the unique circumstances
pertaining to the Gain above Fair Value, but the Adviser notes that GAAP’s primary focus would relate to disclosure
of the transaction to shareholders. As stated in paragraph 11.67 of the AICPA Guide to the Audit of Investment
Companies, “Regulation S-X requires disclosure of more information about transactions with [or related to]


1
    As a policy matter, a determination to ignore the Gain above Fair Value in the Loss to Fund would result in an outcome where
the Adviser’s sale of an asset at a price above fair value results in an increase in Adviser liability (i.e., such an outcome would
set precedent in effect for the penalization of the Adviser’s sale of an asset at a material gain). The Adviser fears that a finding
to the contrary would clash with the Adviser’s overarching duty of best execution.

                                                                                                                                  6
   Case 21-03005-sgj Doc 29 Filed 05/24/21                        Entered 05/24/21 10:22:39             Page 194 of 600
                                  Confidential Treatment Requested by Highland Global Allocation Fund
                                                   Pursuant to 17 C.F.R. § 200.83 (2019)


affiliates in prospectuses and annual reports to the SEC than is required under GAAP. Various rules of Regulation
S-X require the financial statements of an investment company to state separately investments in affiliates,
investment income from affiliates, gain or loss on sales of securities of affiliates, and management fees or other
service fees payable to controlled entities and other affiliates.” (emphasis added) Note, the gain on the sale of
TerreStar to an unaffiliated third party is a gain on the sale of securities of a portfolio affiliate. As such, the Adviser
acknowledges its disclosure obligation in the Fund’s 2019 Annual Report.
        Assuming the Board approved the proposed treatment and if there was no regulatory objection, then
inclusion of the Gain above Fair Value could be reflected as a $2.3 million write down of the Fund’s current NAV
Error receivable.
        The Adviser notes that the investors and the Fund receive the same outcome whether viewed as a write
down of a receivable (under accounting standards) or viewed as a “netting” concept, and the write down would be
addressed in disclosure in the Fund’s financial statements.
         The Adviser views this “write down” as the reduction of a portion of the approximately $5 million of Gain
above Fair Value, which has been settled in cash and reflected as an increase in the net assets of the Fund as of the
date of the sale. This approach represents an equitable resolution under the NAV Error Correction Procedures and
has been discussed with and reviewed by the Funds’ counsel, Chief Compliance Officer and Treasurer. Fund
counsel believes that the proposed treatment represents an equitable and reasonable resolution under the NAV Error
Correction Procedures.
The proposed treatment of the Gain above Fair Value on the receivable recorded by the Fund would not affect the
balances and disclosures in the audited financial statements previously filed for the Fund for the year ended
September 30, 2018.


Board Discussions
        The Board agrees in principal with the aforementioned treatment, subject to consultation with and review
by the SEC. Although the Adviser has begun shareholder reprocessing with the Fund’s transfer agent, the Adviser
does not intend to begin issuing payments to shareholders until all SEC comments, if applicable, have been
answered.


Conclusion
         The NAV Error for the Fund totals approximately $7.7 million (including interest, rebate of Advisory fees,
and processing costs); the Fund and its shareholders have received $5.4 million and the remaining approximately
$2.3 million was, in practical effect, paid through the cash received as a result of the Gain above Fair Value. This
equitable treatment, which includes viewing all data points on an aggregate basis and considering the totality of the
circumstances, is permitted under the Fund’s NAV Error Correction Procedures and outlines an approach where:
(i) individual shareholders are made whole; and (ii) the Fund and its current shareholders are is compensated for
their losses through the pro rata application of the insurance proceeds, the advisory fee reimbursements, the
Adviser’s additional payments and the $2.3 million Gain above Fair Value.




                                                                                                                          7
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39             Page 195 of 600
                      Confidential Treatment Requested by Highland Global Allocation Fund
                                       Pursuant to 17 C.F.R. § 200.83 (2019)


                                              EXHIBIT A


                              NAV Error Correction Procedures




                                                                                                              8
Case 21-03005-sgj Doc 29 Filed 05/24/21                    Entered 05/24/21 10:22:39              Page 196 of 600


                              NAV ERROR CORRECTION PROCEDURES

       The Funds seek to provide reasonable assurance that standardized procedures
(including any applicable NAV variance materiality thresholds) for resolving NAV
misstatements are established, in accordance with the requirements set forth in this policy
and/or procedures applicable to a particular Fund (which are intended to be consistent with
any policies or procedures adopted by the Board of such Funds as and where applicable), as
well as all applicable laws and regulations.

I.       Definitions

         1.      NAV means the net asset value of a Fund, as calculated in accordance with
                  the current Prospectus (or similar governing document) of the Fund.

         2.      A NAV error83 is defined as one or more errors in the computation of net asset
                  value (“NAV”) that, when considered cumulatively, result in a difference
                  between the originally computed NAV and the corrected NAV of at least $0.01
                  per share.84 If there are one or more errors in the computation of NAV that,
                  when considered cumulatively, result in a difference between the originally
                  computed NAV and the corrected NAV of less than $0.01 per share, the impact
                  is deemed to be immaterial and no corrective adjustment will be made to the
                  Fund or any shareholder account. This computation is based upon the actual
                  difference and is not based upon the rounding of NAV to the nearest cent per
                  share.

         3.      The NAV error period consists of those days during which a NAV error existed.

         4.      Fund loss refers to a situation where a Fund has either paid excessive
                  redemption proceeds as a result of an overstatement of net asset value or
                  received insufficient subscription proceeds as a result of an understatement
                  of net asset value. When such a Fund loss occurs, the individual shareholders
                  effecting transactions received a corresponding benefit (a “shareholder
                  benefit”).

         5.      Fund benefit refers to a situation where a Fund has either paid insufficient
                  redemption proceeds as a result of an understatement of net asset value or
                  received excessive subscription proceeds as a result of an overstatement of net
                  asset value. When such a Fund benefit occurs, the individual shareholders
                  effecting transactions suffer a corresponding loss (a “shareholder loss”).

         6.      Net loss occurs when the Fund loss, as a result of an NAV error, exceeds the
                  Fund benefit as a result of such NAV error; and the amount of the net loss is
                  the difference between the Fund loss and the Fund benefit, plus the amount,



 7KLVSHQQ\SHUVKDUHPDWHULDOLW\VWDQGDUGLVDSSOLFDEOHZKHQWKH1$9SHUVKDUHLVZLWKLQWKHUDQJHRIWR
2XWVLGHRIWKDWUDQJHWKHDSSOLFDEOHPDWHULDOLW\VWDQGDUGZLOOEHSHUVKDUH

  7KH&&2PD\GHOHJDWHFHUWDLQUHVSRQVLELOLWLHVWRDGHVLJQHHVXEMHFWWRWKH&&2¶VVXSHUYLVLRQ
                                                         193
B
Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39            Page 197 of 600


                 if any, of the Fund benefit paid to shareholders as reimbursements pursuant
                 to paragraph 2(a) below.

         7.     Net benefit occurs when the Fund benefit, as a result of an NAV error, exceeds
                 the Fund loss as a result of such NAV error; and the amount of such net benefit
                 is the difference between the Fund benefit and the Fund loss, minus the
                 amount, if any, of the Fund benefit paid to shareholders as reimbursements
                 pursuant to paragraph 2(a) below.

         8.     The responsible party is the entity liable for an NAV error.

II.     Correction Procedures

        In the event an NAV error occurs (defined above as at least $0.01 per share) in a Fund
on any day on which its shares are purchased or redeemed, the Fund’s Operations Group (the
“Operations Group”) shall notify the Fund’s CCO.85 The Adviser shall, subject to the review
and approval of the Board, determine the responsible party for any NAV error. As soon as
reasonably practicable after detection of the error but, in any event, within three business
days, the Operations Group will provide the CCO with a written analysis and recommendation
(based on the criteria below) to correct the error. The CCO shall evaluate the recommendation
of the Operations Group and, together with the Treasurer, monitor the corrective action taken
to ensure that it is based upon the following criteria:

         1.     If the NAV error is less than one half of one percent of the originally computed
                 NAV, a Fund should determine whether total Fund losses exceeded total Fund
                 benefits for the error period. If the Fund incurred a net loss, the responsible
                 party (e.g., the adviser, sub-adviser, administrator or transfer agent) should
                 reimburse the Fund for the net loss; however, no shareholder account
                 reimbursements are required. If the Fund had a net benefit, no action need
                 be taken; however, such net benefit will not be carried forward to any analyses
                 performed in the future for other NAV errors that may occur.

         2.     If the NAV error equals or exceeds one half of one percent of the originally
                 computed NAV:

                 (a)    The responsible party should reimburse shareholders for shareholder
                         losses; and

                 (b)    The responsible party should reimburse the Fund for Fund losses.

                 (c)    With respect to individual shareholder losses, the responsible party
                         should pay, in the case of an NAV understatement, to individual
                         shareholders any additional redemption proceeds owed or, in the case


  ,I1+)RU)52¶VVKDUHVWUDGHDWDGLVFRXQWWR1$91+)RU)52¶VDJHQWZRXOGSXUFKDVHVKDUHVRQWKHRSHQPDUNHW
UDWKHUWKDQWKH)XQGLVVXLQJVKDUHV

                                                      194
B
Case 21-03005-sgj Doc 29 Filed 05/24/21                   Entered 05/24/21 10:22:39   Page 198 of 600


                           of an NAV overstatement, either refund excess subscription monies
                           paid or credit shareholder accounts as of the date of the error, with
                           additional shares.86 Only individual shareholders whose losses exceed
                           a de minimis amount of $10 will be made whole.

                  (d)     With respect to Fund losses, the responsible party should reimburse
                           the Fund for the amount of the Fund’s losses.

                  (e)     Note that there is no netting of Fund benefits with Fund losses where
                           the error equals or exceeds 1/2 of 1% of NAV to the extent Fund benefits
                           were paid out by the Fund to shareholders as account adjustments.

         3.      In the case of an error that fluctuates above and below 1/2 of one percent
                  during the NAV error period, individual shareholder reimbursements should
                  be effected for those days where the error was equal to or exceeded 1/2 of one
                  percent.

         4.      Where practicable and equitable, the Fund will reprocess shareholder trades
                  (whether the NAV error is less than one half of one percent or equals or
                  exceeds one half of one percent) at the correct NAV. The responsible party
                  will pay the cost of any necessary reprocessing.

         5.      The computation of whether an NAV error equals or exceeds one half of one
                  percent can be affected by rounding. For example, a $.015 per share difference
                  can constitute a per share NAV error of either $.01 or $.02 on a given day. As
                  such, NAV errors will be computed to three decimal places in determining the
                  appropriate corrective action under these NAV Error Correction Procedures.

         6.      The process described above should be a comprehensive analysis
                  encompassing all known errors. If there is a subsequent discovery of an error
                  which affects an NAV error period that had previously been corrected in the
                  manner described above, the subsequently discovered error should be
                  analyzed in isolation without taking into consideration the previously
                  corrected error.

         7.      The Operations Group will maintain an inventory file that includes a short
                  description of the error, the NAV error calculation and the subsequent
                  resolution, including amount reimbursed and responsible party, a copy of
                  which file shall be provided to the CCO. Certain immaterial items which occur
                  frequently during the normal process of trading will not be maintained.

         8.      On a quarterly basis, the Board shall receive a report on all NAV errors. The
                  report, at a minimum, will contain the dates of the error(s), the original and
                  corrected NAVs, the amount of the loss or benefit incurred by the Fund, the



  1R+LJKODQG&OLHQWFXUUHQWO\WUDGHVSXUVXDQWWRDE2UGHU
                                                         195
B
Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39     Page 199 of 600


                responsible party, the corrective action taken and whether reimbursements
                were required at the shareholder level.

         9.    The foregoing Procedures are designed for general application. However,
                there may be situations where equity would suggest a different result under
                the circumstances. Accordingly, the Adviser may, with the approval of the
                Board, diverge from these Procedures, as they deem appropriate, on a case by
                case basis.

         10.   See Exhibit 1 for a flow chart summarizing the above procedures. In case of
                any inconsistency between the Procedures and the chart, the Procedures shall
                govern.




                                              196
B
                        Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39             Page 200 of 600


                                              EXHIBIT 1 - NAV ERROR CORRECTION PROCEDURES

               Is NAV Error  1 cent per share?                 N        Error deemed immaterial; No corrective action required.



                                    Y


                                                                         Determine total fund loss and total fund benefit during error period. If
               Is NAV Error  ½ % of NAV?                       N        the fund incurred a net loss, the responsible party should reimburse the
                                                                         fund. If the fund has a net benefit, no action need be taken.

                                    Y


               Account reimbursements should be made to                    NAV Overstated                             NAV Understated
               compensate shareholders for shareholder
               losses. Make individual shareholders whole
               as follows:

               For NAV understatements:
                                                                Net Redemptions      Net Purchases           Net Purchases         Net Redemptions
               -Pay shareholders any additional redemption
                                                                = Fund Loss          = Fund Benefit          = Fund Loss           = Fund Benefit
               proceeds owed.

               For NAV overstatements:

               -Refund excess subscription monies paid or

               -Credit shareholder account with additional
               shares

               If account adjustment is less than a de
               minimis amount, account adjustment need
               not be made.

               Determine total fund loss during error period.
               The responsible party should reimburse the
               fund for the amount of the fund loss. Note
               that there is no netting of fund benefits with
               fund losses to the extent fund benefits were
               paid out by the fund to shareholders as
               account adjustments.


                                                                        197
B
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39   Page 201 of 600




                                    EXHIBIT B

                           January 19, 2019 OCA Submission




                                          -21-
                    Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39   Page 202 of 600


Highland Global Allocation Fund
Calculation of Loss to Fund and Investors
  for TerreStar Valuation Adjustment
Thru 09/30/18


Weighting Periods 1
    03/14/18 thru 06/16/18                                   (2,515,167)
    06/17/18 thru 08/16/18                                   (1,447,124)
                                                                           2
     08/17/18 thru 09/30/18                                       6,084
Net fund loss                                                (3,956,207)
                                    3
Estimated management fee rebate                                 (34,000)
                                          4
Calculated interest for fund receivable                         (37,000)
                                    8
Total due to fund - thru 09/30/18                            (4,027,207)

                                                  5
Net owed to investors via specific allocation                  (579,802)
                                              6
Estimated gross up for omnibus accounts                        (589,675)
                7
Processing fees                                                (100,000)
                        8
Total due thru 09/30/18                                      (5,296,683)

See footnotes on next page

   Confidential Treatment Requested by Highland Global Allocation Fund
                    Pursuant to 17 C.F.R. § 200.83 (2018)
                          Case 21-03005-sgj Doc 29 Filed 05/24/21                     Entered 05/24/21 10:22:39              Page 203 of 600


Footnotes:
     1
        Based on the findings outlined in a separate memo regarding the revised marks of the TerreStar equity held by the Highland Global Allocation Fund
     (the "Fund") at various points in time during the financial reporting period ending 9/30/18, the NAV restatement analysis during that period was
     determined to begin on 3/14/18. For each day during that period, we analyzed the impact on the Fund's NAV resulting from the revised mark relative
     to the original mark for the TerreStar investment. "Loss to Fund" for each period in the table above represents the sum of the overpayment of net
     redemptions caused by the NAV overstatement for each day in the period where the difference in marks resulted in a NAV error in accordance with the
     Fund's NAV error policy, which was previously provided. This number is an estimate based on net investor activity for all investors for each period, as
     provided to us by the Fund's transfer agent. This loss will be allocated to all investors prorata.

     2
        The revised mark was lower than the original mark for the period, but the Fund experienced net inflows during this period. This amount represents
     the net benefit to the Fund from the overpayment of net subscriptions / reinvestments made by investors who subscribed during the period. Where
     applicable, these investors will be made whole as part of the shareholder reprocessing exercise. This impact is reflected in the "Net owed to Investors
     via specific allocation" line item.
     3
       Calculated using the daily difference in TerreStar market value multiplied by the 0.40% advisory fee rate. The Advisor does not earn a performance-
     based fee from the Fund. Since August 2018, the Fund has withheld payment of advisory fees, and this adjustment will be an offset against the accrued
     amount of approximately ~$356k owed to the Advisor as of 9/30/18.
     4
       Interest is calculated on daily cumulative fund receivable through September 30, 2018 at the rate of Fed Funds + 45 bps using "Actual/360"
     methodology.
     5
         This will be allocated to specific investors who paid too much for subscriptions or for investors who are no longer in the fund.
     6
        "Estimated gross up for Omnibus accounts" is intended to estimate the potential impact for reprocessing of individual capital activity that is
     currently held in the Omnibus accounts, which is aggregated into one net investor in the detail available from the Transfer Agent.
     7
       The estimated "processing fees" refers to the estimated amount we expect to pay the Transfer Agent to reprocess shareholder transactions, as
     described above.

     8
        As the consultation was requested in the context of issuing the year-end financial statements for the Fund, this calculation is through that date
     (9/30/18). We acknowledge there are additional errors subsequent to that date, and we are still assessing the extent and impact of those errors.



                                                  Confidential Treatment Requested by Highland Global Allocation Fund
                                                                   Pursuant to 17 C.F.R. § 200.83 (2018)
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39   Page 204 of 600




                                     EXHIBIT C

                         TerreStar Corporation Extension Denial




                                          -22-
Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39          Page 205 of 600




                                                                              Highland Capital Management, L.P
                                                                                  300 Crescent Court, Suite 700
                                                                                                Dallas, TX 75201
                                                                                                 (972) 628-4100



      To:       Files
      From:     Valuation Team
      Date:     November 14, 2017
      RE:       TerreStar Corporation (“TerreStar”) Extension Denial

This memo outlines the Federal Communications Commission’s (“FCC”) denial of the extension on the
1.4GHz spectrum license and the potential valuation impact to the TerreStar debt and equity interests.

The FCC recently issued a denial order in TerreStar’s extension request to its 1.4GHz spectrum licenses on
October 10, 2017. The denial order with respect to the 1.4GHz spectrum license, coupled with the
commercial indications by the Dish group on TerreStar’s other asset, the 1.7GHz spectrum license, resulted
in a less than 1% change to the underlying value of TerreStar equity, as determined by Houlihan Lokey
(“Houlihan”), a nationally recognized third party valuation provider that has also valued the TerreStar assets
since April 2015.

Background
Highland Capital Management, LP and its affiliates (“Highland”) manage funds holding certain debt and
equity positions of TerreStar. Terrestar holds two assets, a 1.4GHz spectrum license and a 1.7GHz spectrum
license. Each of these licenses expires in the event that the spectrum is not used by the expiration date,
absent a waiver from the FCC of the implementation requirement. Although TerreStar had not used the
1.4GHz spectrum license prior to its scheduled expiration in April 2017, TerreStar applied for a waiver of the
expiration date and was evaluating and prepared to fully implement usage with governmental medical
facilities and nationwide medical service providers to deploy the 1.4 GHz spectrum. On October 10, 2017,
the Mobility Division of the FCC’s Wireless Telecommunications Bureau (“Bureau”) denied TerreStar’s
waiver request (the “Order”) for a three year extension of the build out requirement for TerreStar’s 1.4 GHz
spectrum licenses. TerreStar has informed Highland that TerreStar believes the Order was based on factual,
legal and public policy errors and will vigorously challenge the Order before the FCC and, if necessary, the
Federal appeals court. This includes filing an application for review of the Bureau Order by the full FCC.
Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39                Page 206 of 600




                                     Highland Holdings as of October 31, 2017

                       Term Loan A                                 Mark                99.70

                                     Portfolio                   # Of Shares    Market Value
                        Highland Global Allocation Fund            47,224,093     47,082,421
                        Highland Opportunistic Credit Fund            784,818        782,464
                        Nexpoint Credit Strategies Fund            17,083,404     17,032,154
                                                                   65,092,315     64,897,038



                       Term Loan C                                 Mark               100.00

                                    Portfolio                    # Of Shares    Market Value
                        Highland Opportunistic Credit Fund             18,533         18,533
                        Nexpoint Credit Strategies Fund               403,408        403,408
                                                                      421,941        421,940



                       Common Equity                               Mark               315.81

                                     Portfolio                   # Of Shares    Market Value
                        Highland Global Allocation Fund               306,550     96,811,556
                        Highland Opportunistic Credit Fund              5,082      1,604,946
                        Nexpoint Credit Strategies Fund               110,872     35,014,486
                                                                      422,504    133,430,988
The most recent valuation, performed by Houlihan as of September 30, 2017, considered the FCC’s
extension certain given the previous communication between the FCC and Jarvinian, TerreStar’s consultant
(see the Waiver email referenced below for support). As such, the valuation was not impacted by the filing
of the extension request or the passage of the April 2017 end date for the 1.4 GHz spectrum license. Since
the Order was filed as of October 10, 2017, and unknown as of September 30, 2017, Highland affirms the
September 30, 2017 Houlihan value as indicative of fair value as of the valuation date.

In 2015, Highland made the strategic business decision to engage Houlihan to value certain harder-to-value,
illiquid and private investments. In conjunction with this shift to a third-party, Houlihan was named as an
approved third-party pricing provider by the retail Board. Houlihan is a leading advisor on valuations
required under ASC 820 due to their deep portfolio, private-company and derivatives valuation expertise
and experience. TerreStar has been valued monthly by Houlihan since April of 2015.

October 11, 2017 Meeting
Upon receiving and reviewing the Waiver Bureau Order, a meeting was held at Highland’s offices on October
11, 2017 to discuss the denial and potential impact to valuation. The following individuals were in
attendance for the meeting:

-   Thomas Surgent, Partner & CCO                            -      Trey Parker, Partner and CIO
-   Frank Waterhouse, Partner & CFO                          -      David Klos, Controller
-   Jason Post, CCO - Highland Funds                         -      Sean Fox, Manager - Finance

The group discussed the Order. Trey Parker, who is also on the Board of TerreStar, informed the group of
the facts both leading up to the denial and supporting overturning the denial. Mr. Parker also brought to
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39           Page 207 of 600




the attention of the group additional facts of which he became aware in October 2017 including the recent
commercial indications by the Dish group around the use/sale of the 1.7 GHz spectrum owned by TerreStar,
which facts collectively resulted in an immaterial mark impact according to Mr. Parker’s valuation model.
Mr. Parker proposed that his model be utilized going forward in lieu of the Houlihan model given the esoteric
nature of the dispute with the FCC. The meeting was adjourned for Highland Compliance and Valuation
Team to consider Mr. Parker’s request.

October 12, 2017 Meeting
The group re-convened to re-visit the previous day’s discussion and next steps on October 12, 2017. The
following individuals were in attendance for the meeting:

-   Thomas Surgent, Partner & CCO                         -   Trey Parker, Partner and Co-CIO
-   Frank Waterhouse, Partner & CFO                       -   David Klos, Controller
-   Jason Post, CCO - Highland Funds                      -   Sean Fox, Manager - Finance

During the meeting, Mr. Surgent, speaking on behalf of Highland Compliance, informed the group that,
pending further communication with the retail Board, Highland must continue to utilize Houlihan Lokey to
value the TerreStar positions for the retail Funds and that Mr. Parker should immediately communicate all
relevant information to Houlihan to confirm such valuations. Following the conclusion of the discussion,
the Valuation Team scheduled a conference call with Houlihan for October 19th, the first available date for
both teams. The call ultimately occurred on October 20th given conflicting schedules and travel.

Pricing Committee
On October 12, 2017, in normal course, the Pricing Committee convened to review the September 2017
Pricing Committee Report. During the meeting, TerreStar’s extension denial, valuation considerations, and
next steps were discussed with the Pricing Committee. In addition to members of the Valuation Team and
Compliance Team, the following voting members of the Pricing Committee were in attendance for the
meeting:

-   Frank Waterhouse, Partner & CFO                       -   Matthew Gray, Managing Director
-   Trey Parker, Co-Chief Investment Officer              -   Jake Tomlin, Managing Director
-   Jon Poglitsch, Head of Credit Research                -   David Klos, Controller


October 19, 2017
The following documents were uploaded to ‘Box’ for Houlihan’s review:
- Application for Review of Bureau’s Order Denying Waiver Request
        o Attorney work product that provides history on the spectrum and outlines the inaccuracies
            found within the Order
- Waiver email
        o Email from Jarvinian, TerreStar’s consultant, dated March 22, 2017, indicating that the FCC’s
            Chairman’s office approved grant of waiver. The email also contains an attachment from
            TerreStar’s counsel to the FCC requesting the 36 month extension which was submitted August
            12, 2016 and received and filed on September 16, 2016.
- Ex Parte Notice filed September 20, 2017
        o Response to FCC Secretary Dortch re: Ex Parte Notice: TerreStar Corporation Request for
            Temporary Waiver of Substantial Service Requirements – WT Docket No. 16-290
- Shareholder Update email
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39           Page 208 of 600




       o Email to TerreStar shareholders providing notification of extension denial with Order attached.
-   Shadow Model
       o Highland’s internal analysis of the impact to valuation

October 20, 2017
Trey Parker and members of Highland’s Valuation Team held a conference call with key members of
Houlihan Lokey to discuss the denial order and valuation. Subsequent to the call with Houlihan, the
following additional documents were uploaded to ‘Box’ for Houlihan’s review:
- Duff & Phelps Estimation of the Fair Market Value of Certain Spectrum Licenses
        o Duff & Phelps valuation as of February 27, 2015
- Light Squared data
        o Comparable market data

Houlihan’s immediate feedback affirmed Highland’s conclusion that using the September 30, 2017 valuation
until the October 31, 2017 valuation was complete remained appropriate.

October 25, 2017 Crusader Report
On October 25th, Highland received the monthly Crusader report from Alvarez & Marsal (“A&M”), the
current Manager of Crusader Fund, a fund formerly managed by Highland. The report provided the
following commentary on the 22% decline in NAV for September 2017:

“Below is a note to the change in net asset value in September. The overall decrease in the portfolio’s
valuation in September 2017 relates primarily to a substantial decrease in the value of Highland Crusader
Offshore Partners, L.P.’s (“Crusader”) non-control equity ownership stake in telecommunications company,
TerreStar Corporation, resulting from a bureau level order of the Federal Communications Commission,
dated October 10, 2017, revoking the licenses held by TerreStar for the 1.4 GHz spectrum. A copy of the FCC
order is enclosed. By way of background, in August 2016 TerreStar petitioned the FCC to extend by 36
months the date by which TerreStar had to demonstrate “substantial service” of its licenses for the 1.4 GHz
spectrum. For the reasons set forth in the order, the FCC denied that request and concluded that the licenses
“automatically terminated due to TerreStar’s failure to demonstrate substantial service by its April 23, 2017
performance deadline.” Although TerreStar retains its licenses for the 1.7 GHz spectrum, this represents a
material adverse development for TerreStar and Crusader’s investment therein. We understand that
TerreStar has the ability to seek review by the FCC of the order issued by the Wireless Telecommunications
Bureau (a lower-level subdivision of the FCC). In February 2015, TerreStar entered into a senior secured
term loan credit agreement with lenders affiliated with TerreStar’s most significant stockholders, other than
Crusader and certain other shareholders. The FCC order could have a potential impact on the credit
agreement, which may further impair the value of Crusader’s equity ownership stake. We, in conjunction
with our 3rd party valuation advisors, have not factored the possibility of this potential impact into our
valuation as of September 30, 2017.”

While Highland does not have access to A&M’s underlying valuation of TerreStar, Highland assumes a
significant discount was taken on the valuation of the 1.4 GHz spectrum by A&M due to the denial Order as
such a discount would appear to explain the 22% decline in NAV for September 2017. The differences in
approach to valuation are no surprise given the asset information and familiarity asymmetries that exist
between A&M and Highland. Highland has been invested in TerreStar for more than 10 years and also has
Board representation while A&M has only recently been managing the asset and does not have a Board
seat.
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39          Page 209 of 600




Conclusion
In accordance with Highland’s Valuation Policy and based on the significant event nature of the Order, the
Applicable Analyst reviewed Houlihan’s fair value of TerreStar and concluded that a downward adjustment
to the equity to reflect the denial Order was necessary which was offset with positive developments to the
1.7 GHz spectrum and both of these factored into the ultimate equity valuation conclusion were determined
to be reflective of fair value. The Applicable Analyst also concluded that no changes to the debt valuation
were required. Finally, since the valuation was determined to still be reflective of fair value, Highland
concluded it appropriate to utilize the September 30, 2017 Houlihan valuation until the October 31, 2017
Houlihan valuation is reviewed and approved in due course.

On November 1, 2017, Highland received Houlihan’s October 31, 2017 valuation of TerreStar. The debt
remained marked at 99.70% of par and the equity decreased by $2.81 or 89 bps to $313.00/share. The
Houlihan valuation was reviewed and approved by the Applicable Analyst on November 2, 2017 and was
presented in the October 2017 Pricing Committee on November 13, 2017.
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39   Page 210 of 600




                                    EXHIBIT D

                              ASC 820 Application Guide




                                          -23-
                                                                                    Case 21-03005-sgj Doc 29 Filed 05/24/21                                               Entered 05/24/21 10:22:39                                Page 211 of 600
Transactions Involving Fair Valued Securities Report
                                                            Asset Detail                                                                                          Transaction Detail
                                                                                                                                                                        Orderly or Non‐Orderly
                                       Global Quantity or                     Retail Fund                                                                               Determination by Sub‐
Issuer                  Asset             Shares Held                          Holding?         Month End Mark        Market Value                    Trade Price             Committee
(UPDATE AS APPROPRIATE BASED ON TRANSACTIONS)

Transaction Reviewed at Sub‐Committee and Determined to be Non‐orderly:
  (UPDATE AS APPROPRIATE BASED ON TRANSACTIONS)

Questions                                                                                                                                                                            Yes                              No                               N/A                                       Notes
 1. Were both parties to the transaction market participants?                                                                                                                                                                                                             If "No", consider whether transaction was at market terms
 2. Was there adequate exposure to the market to allow for usual and customary marketing activities?                                                                                                                                                                      If "Yes", indicative that transaction may be orderly
     a. if yes, did the seller market to a single market participant?                                                                                                                                                                                                     If "No", indicative that transaction may be orderly
 3. Was the seller in or near bankruptcy or receivership (ie was it a distressed sale)?                                                                                                                                                                                   If "No", indicative that transaction may be orderly
 4. Was the seller required to sell to meet regulatory or legal requirements (ie was it a forced sale)?                                                                                                                                                                   If "No", indicative that transaction may be orderly
 5. Is the transaction price an outlier when compared with other recent transactions for the same or a similar asset?                                                                                                                                                     If "No", indicative that transaction may be orderly

 Overall Conclusion Based on Weight of the Evidence:                                             (EITHER ORDER, DISORDERLY, OR N/A)

Definitions:
Fair value ‐ The price that would be received to sell an asset or paid to transfer a liability in an orderly transaction between market participants at the measurement date.

Orderly transaction ‐ A transaction that assumes exposure to the market for a period before the measurement date to allow for marketing activities that are usual and customary for transactions involving such assets or liabilities; it is not a forced transaction (for example, a forced liquidation or distress sale).

Market participants ‐ Buyers and sellers in the principal (or most advantageous) market for the asset or liability that have all of the following characteristics:
a. They are independent of each other, that is, they are not related parties, although the price in a related‐party transaction may be used as an input to a fair value measurement if the reporting entity has evidence that the transaction was entered into at market terms
b. They are knowledgeable, having a reasonable understanding about the asset or liability and the transaction using all available information, including information that might be obtained through due diligence efforts that are usual and customary
c. They are able to enter into a transaction for the asset or liability
d. They are willing to enter into a transaction for the asset or liability, that is, they are motivated but not forced or otherwise compelled to do so.

Identifying Transactions that are Not Orderly:
The determination of whether a transaction is orderly (or is not orderly) is more difficult if there has been a significant decrease in the volume or level of activity for the asset or liability in relation to normal market activity for the asset or liability (or similar assets or liabilities). In such circumstances, it is not
appropriate to conclude that all transactions in that market are not orderly (that is, forced liquidations or distress sales). Circumstances that may indicate that a transaction is not orderly include the following:
a. There was not adequate exposure to the market for a period before the measurement date to allow for marketing activities that are usual and customary for transactions involving such assets or liabilities under current market conditions.
b. There was a usual and customary marketing period, but the seller marketed the asset or liability to a single market participant.
c. The seller is in or near bankruptcy or receivership (that is, the seller is distressed).
d. The seller was required to sell to meet regulatory or legal requirements (that is, the seller was forced).
e. The transaction price is an outlier when compared with other recent transactions for the same or a similar asset or liability.
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39    Page 212 of 600




                                     EXHIBIT E

                 March 19, 2019 Valuation Committee Meeting Materials




                                          -24-
               Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 213 of 600




                 FEBRUARY 2019 PRICING COMMITTEE MEETING

                ASC 820 & USE OF SUBJECT MATTER EXPERTS TRAINING

                                             MARCH 19, 2019

CONFIDENTIAL
             Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 214 of 600
 FAIR VALUE MEASUREMENT     (ASC 820)




What is “Fair Value”?
 FASB Definition of Fair Value (ASC 820) –
 The price that would be received to sell an asset or paid to transfer a liability in an
  orderly transaction between market participants at the measurement date.
SEC Definition of Fair Value –
 Values estimated in good faith by management in the absence of readily available or
  realizable market quotations.
The difference is that the FASB (GAAP) definition includes all securities including those
with market quotes.




CONFIDENTIAL                                           1
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 215 of 600
 FAIR VALUE MEASUREMENT     (ASC 820) (CONTINUED)




What is an “orderly transaction”?
 FASB Definition of Orderly Transaction (ASC 820) –
 A transaction that assumes exposure to the market for a period before the
  measurement date to allow for marketing activities that are usual and customary
  for transactions involving such assets or liabilities; it is not a forced transaction (for
  example, a forced liquidation or distress sale).




CONFIDENTIAL                                           2
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 216 of 600
 FAIR VALUE MEASUREMENT     (ASC 820) (CONTINUED)




What is a “market participant”?
 FASB Definition of Market Participant (ASC 820) –
 Buyers and sellers in the principal (or most advantageous) market for the asset or
  liability that have all of the following characteristics:
   — They are independent of each other, that is, they are not related parties, although the price in a
     related-party transaction may be used as an input to a fair value measurement if the reporting entity
     has evidence that the transaction was entered into at market terms
   — They are knowledgeable, having a reasonable understanding about the asset or liability and the
     transaction using all available information, including information that might be obtained through due
     diligence efforts that are usual and customary
   — They are able to enter into a transaction for the asset or liability
   — They are willing to enter into a transaction for the asset or liability, that is, they are motivated but not
     forced or otherwise compelled to do so




CONFIDENTIAL                                            3
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39    Page 217 of 600
 FAIR VALUE MEASUREMENT     (ASC 820) (CONTINUED)


Identifying transactions that are not orderly
 The determination of whether a transaction is orderly (or is not orderly) is more difficult if
  there has been a significant decrease in the volume or level of activity for the asset or liability
  in relation to normal market activity for the asset or liability (or similar assets or liabilities). In
  such circumstances, it is not appropriate to conclude that all transactions in that market are
  not orderly (that is, forced liquidations or distress sales). Circumstances that may indicate
  that a transaction is not orderly include the following:
   — There was not adequate exposure to the market for a period before the measurement date to allow
     for marketing activities that are usual and customary for transactions involving such assets or liabilities
     under current market conditions.
   — There was a usual and customary marketing period, but the seller marketed the asset or liability to a
     single market participant.
   — The seller is in or near bankruptcy or receivership (that is, the seller is distressed).
   — The seller was required to sell to meet regulatory or legal requirements (that is, the seller was forced).
   — The transaction price is an outlier when compared with other recent transactions for the same or a
     similar asset or liability.




CONFIDENTIAL                                             4
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 218 of 600
 FAIR VALUE MEASUREMENT     (ASC 820) (CONTINUED)




ASC 820 establishes a three-level fair value disclosure hierarchy that prioritizes the
inputs used to estimate fair value:
 Level 1: observable inputs that reflect quoted prices (unadjusted) for identical asset
  or liabilities in active markets
 Level 2: inputs other than quoted price included in Level 1 that are observable for
  the asset or liability either directly or indirectly
 Level 3: unobservable inputs (e.g. a reporting entity’s or other entity’s own data)
 Not leveled – items valued using NAV as a practical expedient (ASU 2015-07)




CONFIDENTIAL                                           5
 WHEN SHOULDCase 21-03005-sgj Doc 29 Filed 05/24/21
             A SECURITY    BE “FAIR VALUED”?          Entered 05/24/21 10:22:39   Page 219 of 600




 Determination that significant events have taken place between the close of the
  foreign market and the US market close that could necessitate fair value pricing
 Determination that market quotations are “unreliable”
 Thinly traded/infrequent sales of securities
 Privately held securities
 Existence of other data that calls into question the reliability of quotations




CONFIDENTIAL                                          6
            Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 220 of 600
 WHEN ARE QUOTATIONS    NOT READILY AVAILABLE OR NOT RELIABLE?



 The asset manager must establish a policy to determine a good-faith estimate of fair value in
  such circumstances. Any adopted policy should be consistently applied. The responsibility for
  setting the valuation policy can be different depending on the construct of the fund, and
  could be any of the following:
   —Board of Directors (or delegated to a valuation committee, which reports to the board)
   —Board of Trustees
   —General Partner
   —Management
 The asset manager should also continuously assess the availability and reliability of market
  quotations
 An example of a type of investment that typically may not have quotations readily available
  illiquid securities. Examples include:
   —Structured securities (e.g., MBS, ABS, commodity-linked notes)
   —Private placements
   —Securities halted/suspended from trading by the exchange



CONFIDENTIAL                                          7
             Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 221 of 600
 LEVEL 3 VALUATION  METHODOLOGIES


Cost Approach
 Fair Value based on a variety of asset based measures including the historical cost of an asset,
  the cost of reproducing or replacing the asset, and an adjusted balance sheet determination.
Market Approach
 Estimates the value of an asset by analyzing the pricing of similar assets relative (comparable
  companies) to a common variable(s)
   —Multiple applied to EBITDA or revenue
   —Multiple applied to underlying assets (total assets, net book value of loans, etc)
Income Approach
 Based on projections of future revenues, expenses, investment and cash flow
 Value of subject company = PV of future cash flows during the term of the projection period
  plus the terminal value, discounted to present value by the risk-adjusted rate of return
  (typically, the weighted average cost of capital)




CONFIDENTIAL                                           8
 INVESTMENT VCase 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39
             ALUATION    – AUDITOR APPROACH                                                                      Page 222 of 600


                    •Review Board and Valuation Committee minutes
                    •Identity risks and understand controls in the business process – Investments
                    •Complete portfolio risk assessment in advance of balance sheet date
                    •PM coordination
     Planning
                    •Select pricing sources and establish pricing tolerance percentage thresholds




                    •Use of Global Securities Pricing Application for testing of valuation, including use of Halo for Investments
                    •Use of service organization – SSAE 15 or SSAE 18 report obtained
                    •Scoping of level 3 investments for identifying Specialist involvement for year-end
      Interim




                    •Investment valuation – Testing summary and conclusions
                    •Test valuation of investments in third party funds (fund of funds)
                    •Test valuation of investments fair valued by management and not subject to testing by a specialist, as well as broker quoted
    Substantive      investments
    Procedures      •Test money market fund’s compliance with Rule 2a-7 of the Investment Company Act of 1940




                    •Test ASC 820 investment disclosures
                    •Financial statement tie-out
      Financial     •Complete disclosure checklist
 Statement Review




CONFIDENTIAL                                                                 9
            Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39 Page 223 of 600
 AUDITOR APPROACH   - UNDERSTAND THE VALUATION COMMITTEE’S RESPONSIBILITIES


Typically the valuation committee performs the following:
 Generally define the valuation methodology and pricing policies (in writing) and ensure adherence to the
  established guidelines
 Provides periodic reporting to the Board or those charged with governance, including instances where
  policies and procedures have been modified
 Board or those charged with governance must continually review the appropriateness of the policies and
  ensure that such review is formally document in the minutes
 Facilitate communication with the Board or those charged with governance in emergency situations to
  obtain necessary guidance/approval
 Private funds sometimes do not have valuation committees, though this is a best practice. There should
  be a segregation of duties between valuation review and portfolio management. If no segregation of
  duties exist, the engagement team should consider whether additional testing is necessary to cover the
  risk of management bias in valuation.
The audit engagement team should understand the involvement of the valuation committee
and review the meeting minutes to identify instances where the nature, timing and/or extent of
the audit procedures may need to be adjusted.




CONFIDENTIAL                                         10
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 224 of 600
 AUDIT VALUATION  CONCEPTS – INDEPENDENT VALUATION




The goal of valuation testing is to obtain a price from a source of independent of the asset
manager’s source*, in order to evaluate the reasonability of the asset manager’s price against
independent data.
It is crucial that as part of the auditor’s planning process, they obtain an understanding of the
manner in which asset manager’s investments are valued (e.g. vendor price, internal/external
model, NAV as a practical expedient, etc.).
At year end, the auditor will need to re-confirm the source of all prices to ensure that the
vendor prices obtained are independent of the asset manager’s source.



*In some circumstances such as reviewing an internal model, review of the work of experts engaged by
management, or use of the practice expedient, the auditor may perform independent work over ultimately
the same source of information as the asset manager




CONFIDENTIAL                                          11
             Case 21-03005-sgj Doc 29 Filed 05/24/21         Entered 05/24/21 10:22:39   Page 225 of 600
 USAGE OF SUBJECT  MATTER EXPERTS
From time to time, fair value models rely on significant inputs that are subjective in nature and require the
expertise of a subject matter expert
 For example, expected probabilities of outcomes of legal matters
The asset manager should take the appropriate steps to ensure that subject matter experts are retained
who can provide competent and objective representations in order for such representations to be relied
upon. Such steps include:
 Ensuring the expert is competent (for example, checking that the expert has relevant experience and credentials in their
  field to indicate their expertise)
 Ensuring the expert is objective (for example, making certain that expert is free from conflicts or other factors that may
  cause them to not be able to provide an unbiased view)
   — If utilizing outside counsel for a matter pertaining to a portfolio company, where such counsel has already been
     engaged by the portfolio company, there may be a lack objectivity. As best practice, the asset manager should
     engage counsel that is not already engaged by the portfolio company.
 Challenging/questioning the views of the expert for reasonableness
   — If a legal outcome probability, what are the key factors that could positively or negatively impact the outcome? Have
     their been comparable matters litigated? If so, how were they similar or different and what were their outcomes?
     Are their sufficient similar situations that have occurred in the past to quantify a probability based on prior
     outcomes?
 Ensuring Highland legal/compliance is in attendance for phone calls or in-person meetings as applicable
 Obtaining representations of the expert in writing
 If probabilities may be impacted by the passage of time, request periodic updates to the representation



CONFIDENTIAL                                                 12
             Case 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39   Page 226 of 600
 AUDITOR SUBSTANTIVE   TESTING – VALUATION TIMELINE EXAMPLE




1.    Establish completeness by obtaining asset manager’s portfolio holdings, prices and values
      as of the year-end date
2.    Scope positions for testing (for non-public) or test 100% (Registered Investment
      Companies) based on plan established at planning/interim
3.    Obtain the source/vendor of the asset manager’s prices (e.g. ICE Data Services, IHS Markit)
4.    Engaged MIDA/FSR/PVSG and/or send confirmations (fund of funds, broker quotes, etc.) to
      obtain independent pricing data for substantive testing
5.    Execute substantive testing –
       Evaluate asset manager’s prices against independent prices using documented
        thresholds
       Quantify differences and untested (same source/unpriced) balances based on suitability
        of audit evidence
6.    Conclude on reasonability of valuation




CONFIDENTIAL                                          13
 TESTING LEVELCase 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39
               3 INVESTMENTS      – COMMON INPUTS & ASSUMPTIONS                         Page 227 of 600



      Inputs                                                    Approach
       Portfolio company’s historical data (cash flows,         Agree to supporting documentation (financial
        cash, debt)                                               statements, BOD packages, etc.)
                                                                 Perform backtesting of audited financial
                                                                  information to unaudited financial information




       Capital structure, liquidation preferences,              Confirmation procedures
        conversion ratios, liquidation rights                    Examining documentation (e.g. obtaining latest
                                                                  capitalization tables from management, etc.)




       Market comparables/precedent transactions                Verify deal/company information to external
                                                                  sources (press releases, CapIQ, Bloomberg, etc.)




       Mathematical accuracy of financial model                 Test mathematical accuracy of the valuation model
                                                                  by performing recalculations, footing, etc.




CONFIDENTIAL                                               14
 TESTING LEVELCase 21-03005-sgj Doc 29 Filed 05/24/21 Entered 05/24/21 10:22:39 Page 228 of 600
               3 INVESTMENTS      – COMMON INPUTS & ASSUMPTIONS (CONTINUED)

      Assumptions                                              Approach
       Term to exit                                            Understand management’s process / assess and
                                                                 validate if management’s process is reasonable
                                                                Develop an expectation and investigation differences
                                                                 for reasonableness



       Portfolio company’s forecasted cash flows               Assess reasonableness of portfolio company’s
                                                                 forecasted cash flows




       Selection of market multiples used in the model         Assess reasonableness of market comparable
                                                                 companies chosen
                                                                Assess reasonableness of multiples chosen by
                                                                 comparing the relative growth rate and profitability
                                                                 of the portfolio company and comparable companies

       Discount for lack of marketability (DLOM)               Use of valuation specialists
       Discount rate




CONFIDENTIAL                                              15
 QUESTIONS / CCase 21-03005-sgj Doc 29 Filed 05/24/21
               OMMENTS                                  Entered 05/24/21 10:22:39   Page 229 of 600




CONFIDENTIAL                                            16
Case 21-03005-sgj Doc 29 Filed 05/24/21     Entered 05/24/21 10:22:39      Page 230 of 600




                                      EXHIBIT F

                  Amended Valuation Policy presented to the Board at the
                  February 28 - March 1, 2019 In-person Board Meeting




                                           -25-
     Case 21-03005-sgj Doc 29 Filed 05/24/21                                  Entered 05/24/21 10:22:39   Page 231 of 600




                         POLICY REGARDING VALUATION
                                              Purpose and Scope

The purpose of this policy regarding valuation (this “Policy”) is to ensure that the
Company implements and maintains appropriate valuation guidelines for its
Clients’ portfolio securities in accordance with applicable law. This Policy outlines
the Company’s policies and procedures with respect to the valuation of both liquid
and illiquid securities, including domestic, foreign and emerging markets securities,
and the parties responsible for ensuring the Company properly values such
securities. The board of trustees (the “Board”) of each registered investment
company Client and NexPoint Capital, Inc. (the “BDC”) (each, a “Retail Fund”) has
adopted this Policy for purposes of valuing the portfolio securities of each Retail
Fund. 1                                                                                                    Comment [DK1]: Update footnote upon receipt
                                                                                                           of Board approval

                                                 General Policy

       Rule 206(4)-7 of the Advisers Act requires that a registered investment
adviser implement written policies and procedures reasonably designed to prevent
violation of the Advisers Act and any rules thereunder. The SEC has stated that, at
a minimum, such policies and procedures should address the adviser’s processes to
value client securities and other holdings, and ensure that these processes are
appropriate in view of the fact that the adviser receives compensation based on
those valuations. Rule 38a-1 of the Investment Company Act requires that each
registered investment company adopt and implement written policies and
procedures reasonably designed to prevent violation of the federal securities laws by
such company, including policies and procedures that provide for the oversight of
compliance by each investment adviser of such company. The Company is
committed to complying in all respects with all applicable law, including Rule
206(4)-7 and Rule 38a-1, and ensuring that its portfolio securities are valued in a
fair and equitable manner. To that end, the Company has implemented this Policy
to govern the method and frequency of valuing its Clients’ portfolio securities.
Under this Policy, the Company has adopted the following valuation guidelines,
which are intended to provide for the fair and appropriate valuation of investments
held in Client accounts.

                                       Specific Valuation Guidelines

      The following are the Company’s guidelines for the valuation of various
investments for which market quotations are readily available:



1
    This policy was most recently approved by the Board on [June 10, 2016].
  Case 21-03005-sgj Doc 29 Filed 05/24/21                                    Entered 05/24/21 10:22:39                     Page 232 of 600




Exchange Listed Securities

      In general, for each security listed or traded on a recognized securities
exchange, the last reported sale price at the relevant valuation date on the principal
exchange on which such security is traded (the “Primary Market”) will be used.

       For securities listed or traded on more than one recognized securities
exchange, if there is no reported sale price on the relevant valuation date for such
security on the Primary Market, the last reported sale price on the relevant
valuation date on such other recognized securities exchange shall be used. If there
are no such sales on such valuation date, the security will be valued based on
pricing quotations from market makers or broker-dealers that trade actively in the
security. Such quotations may be obtained directly from such sources or from
independent pricing services that the Company has determined are able to provide
appropriate pricing and, in respect of Retail Funds, that have been approved or
ratified by the Board. Such securities shall be valued at the mean of the most
recently quoted bid and ask prices provided on the valuation date. If there is more
than one such source, the value shall be the average of such means, unless the
investment analyst responsible for the particular security (the “Applicable
Analyst”) 2 reasonably determines that a source is unreliable, in which case such
source shall be disregarded. Whenever a source is disregarded, such determination
shall be documented in writing and, in the case of a Retail Fund, presented to the
Board at the next regularly scheduled quarterly meeting.

OTC Securities

       Securities traded over-the-counter will be valued based on the last reported
sale price on the relevant valuation date. If there are no such reported sales, the
security will be valued based on pricing quotations from market makers or broker-
dealers that trade actively in the security. Such quotations may be obtained
directly from such sources or from independent pricing services that the Company
has determined are able to provide appropriate pricing and, in respect of Retail
Funds, that have been approved or ratified by the Board. Such securities shall be
valued at the mean between the most recent quoted bid and ask prices provided on
the valuation date, to the extent available. If there is more than one such source,
the value shall be the average of such means, unless the Applicable Analyst
reasonably determines that a source is unreliable, in which case such source shall
be disregarded. Whenever a source is disregarded, such determination shall be
documented in writing and, in the case of a Retail Fund, presented to the Board at
the next regularly scheduled quarterly meeting.


2
  In the case of any Retail Fund that is sub-advised, the “Applicable Analyst” shall refer throughout this Policy to the
appropriate personnel of the sub-adviser. The Company shall be responsible for providing this Policy to each such
sub-adviser, for communicating to the sub-adviser its responsibilities hereunder and for coordinating appropriately
with such sub-adviser.


                                                           2
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39         Page 233 of 600




Loans

       Loans will be valued based on market quotations reported by independent
pricing services that the Company has determined are able to provide appropriate
pricing and, in respect of Retail Funds, that have been approved or ratified by the
Board or broker-dealers/counterparties that trade actively in the instrument, unless
such quotations are unavailable, in which case the loan will be fair valued in
accordance with the fair valuation procedures set forth below. Loans shall be
valued at the mean bid and ask prices provided on the valuation date. If there is
more than one such source, the value shall be the average of such means, unless the
Applicable Analyst reasonably determines that a source is unreliable, in which case
such source shall be disregarded. Whenever a source is disregarded, such
determination shall be documented in writing and, in the case of a Retail Fund,
presented to the Board at the next regularly scheduled quarterly meeting.

Other Instruments

       Other instruments for which there are readily available reliable market
quotations reported by an independent pricing service that the Company has
determined is able to provide appropriate pricing and, in respect of Retail Funds,
that have been approved or ratified by the Board or given by broker-
dealers/counterparties that actively trade in the instrument shall be valued based
on such market quotations. Otherwise, such instruments will be fair valued in
accordance with the fair valuation procedures set forth below. Bid/ask quotations
shall be valued at the mean bid and ask prices provided on the valuation date. If
there is more than one such source, the value shall be the average of such means,
unless the Applicable Analyst reasonably determines that a source is unreliable, in
which case such source shall be disregarded. Whenever a source is disregarded,
such determination shall be documented in writing and, in the case of a Retail
Fund, presented to the Board at the next regularly scheduled quarterly meeting.

Price Challenges

       Price challenges generally occur when, upon review of prices or quotations
provided by an independent pricing service, the price of a security may appear to be
out of line with the market based upon the Applicable Analyst’s judgment and
market experience or other relevant factors. It is not necessary for price differences
to have a material impact in order to be challenged, although that may often be the
case. After deciding to institute a price challenge, the Applicable Analyst will
provide supporting documentation to the Valuation Department, which may then
choose to engage the independent pricing service through that party’s price
challenge process, which generally requires that the Company provide trade or
other market data (such as bid / ask quotations) to the independent pricing service
to allow the service to re-evaluate the pricing of such security. There is no
assurance that the price challenge will be successful, as the independent pricing


                                          3
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39         Page 234 of 600




services have no duty to use the information provided by the Company, and may, in
fact, possess information from other sources that contradicts the Company’s
information and supports the independent pricing service’s evaluation. If the
independent pricing service is unable or unwilling to change its valuation of the
security at issue, the Applicable Analyst may recommend to the Valuation
Department that the price be overridden. The Valuation Department shall then
review the facts and circumstances and determine whether the Company will in fact
override the price in question, if appropriate based on supporting documentation.
Any such overrides shall be documented in writing by the Valuation Department
and, for Retail Funds, shall be reported in writing to the Board at its next regularly
scheduled quarterly meeting. To the extent that a price is obtained through a third
party other than an independent pricing service, the Applicable Analyst who seeks
to challenge the price may do so directly with that third party, provided that the
Applicable Analyst has notified the Valuation Department of the challenge. In such
cases, any pricing overrides will be handled in the manner described above. All
challenges, whether successful or not, shall be reported to the Valuation Committee
at its next regular meeting and, for Retail Funds, shall be reported in writing to the
Board at its next regularly scheduled quarterly meeting. Although a portfolio
manager or investment analyst may request that a price be challenged, under no
circumstances may such personnel effect a pricing challenge, nor may an Applicable
Analyst effect a pricing challenge, other than through the process described above.
The Company shall retain a database or other record system tracking such
challenges, including the results and the rationale for any pricing overrides, which
shall be documented contemporaneously with the override decision.

Significant Events

       Generally, if the Applicable Analyst responsible for a particular security
determines that the market price of a security no longer represents the security’s
current value at the time of the portfolio’s net asset value calculation because of an
intervening “significant event,” then such market price will no longer be deemed to
be “readily available” and these valuation procedures will be followed to determine
a fair value and such determination shall be documented in writing.

       Significant events may be related to a single issuer, to a particular market
sector, or to the entire market. These events may include:

      (i)     issuer-specific events, including: rating agency action, earnings
              announcements, corporate actions, regulatory actions, litigation and
              corporate announcements relating to products or services;
      (ii)    significant fluctuations in domestic or foreign markets;
      (iii)   natural disasters;
      (iv)    armed conflicts; and
      (v)     government actions.



                                          4
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39          Page 235 of 600




       The Applicable Analyst is responsible for monitoring information sources in
order to evaluate whether a significant event has occurred that impacts a particular
security for which such Applicable Analyst is responsible and that requires a fair
valuation. This includes continuously monitoring market data, any press regarding
companies whose securities are held in their portfolios and general news events.

      When the Applicable Analyst believes that a significant event may have
occurred, he or she shall notify the Valuation Department in writing so that the
Valuation Department may determine whether a significant event that requires fair
valuation has occurred and document its determination in writing.

                  Securities Priced by Independent Pricing Service

       Securities without a sale price on the Primary Market or quotations from
principal market makers on the relevant valuation date shall be priced by an
independent pricing service that (i) the Valuation Committee determines generally
is able to provide appropriate pricing and (ii) in respect of securities held by Retail
Funds, is approved or ratified by the Board. The independent pricing services
currently used by the Company on a regular basis and, for Retail Funds, that have
been approved or ratified by the Board are included as Attachment A. Attachment
A may be revised from time to time upon the approval or ratification by the Board of
an independent pricing service. To the extent that prices obtained from an
independent pricing service do not represent or are not based on market quotations,
they will be treated as fair valued securities and subject to the fair valuation
procedures described herein.

      The Company shall require that the independent pricing service undertaking
the valuation for the security:

       (i)   Be qualified to carry out a valuation, in the judgment of the Company
and, for Retail Funds, the Board (relying, as appropriate, on recommendations and
assessments provided by the Company); and

      (ii)   Be independent of the Company and have no conflict of interest that
could reasonably be regarded as affecting that person’s ability to give an unbiased
opinion of the fair value of the securities in question.

            Securities Priced by Broker/Dealer Quotations, Other Source

       The Applicable Analyst shall monitor the pricing provided by an independent
pricing service to ensure that appropriate action will be taken promptly when it is
determined that such pricing is “stale” (i.e., is based on information not
incorporating more recent market, issuer or other events that could impact the
security’s value) or otherwise does not represent fair value. If the Applicable
Analyst determines that a price received from an independent pricing service is
stale or otherwise does not represent fair value, the Applicable Analyst shall notify


                                          5
 Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39       Page 236 of 600




the Valuation Department, which will document its determination in writing and
will report to the Valuation Committee, and may use one or more quotations from a
broker or dealer (including bids without size) (“Broker Quoted”), subject to the
approval or ratification of the valuation by the Valuation Committee and, in the
case of a Retail Fund, subject to approval or ratification by the Board at its next
regularly scheduled quarterly meeting. Absent a Broker Quoted price, the
Applicable Analyst shall follow the procedures for fair valued securities set out
below, subject to the approval of the Valuation Committee and, in the case of a
Retail Fund, subject to approval or ratification by the Board at its next regularly
scheduled quarterly meeting.

       In determining whether a price received from an independent pricing service
does not represent fair value, the Valuation Department and/or the Applicable
Analyst shall evaluate information, as available and as applicable, including: (1) the
length of time since the independent pricing service last adjusted the price; (2)
information obtained from brokers regarding relevant sales activity in, and/or bids
for, the security; (3) information available from other independent pricing services;
(4) news about the issuer, particularly news regarding events subsequent to the last
adjustment in the independent pricing service’s valuation; (5) the issuer’s publicly
available filings; (6) available valuation information regarding similar securities of
the same issuer or a comparable company, such as the price and extent of public
trading; and (7) any other relevant information. The basis for the fair value
determination shall be documented in writing.

                                Fair Valued Securities

When to Fair Value

       The Company seeks to fair value securities for which there is not a readily
available market price or when the market price is determined by the Company to
be unreliable in accordance with these procedures. When a readily available
market quotation for a security exists and is determined to be reliable, the security
shall not be fair valued. The Company recognizes fair value as the price that would
be received to sell an asset or paid to transfer a liability in an orderly transaction
between market participants on a given measurement date. Fair valuation may be
required in a number of circumstances, including where:

      (i)     A trading suspension occurs;
      (ii)    The quote is stale based on the timing of the transaction and changes
              in credit conditions, interest rates and other market conditions during
              the intervening period;
      (iii)   The securities are not liquid or no market prices are available because
              the security is restricted or not actively traded.




                                          6
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39         Page 237 of 600




      (iv)   The quote was part of a larger agreement between two parties and
             would have occurred at a different price if not for these other
             considerations;
      (v)    A “significant event” (as described above) has occurred;
      (vi) Prices obtained from a pricing service regularly display unacceptable
             deviations from actual transactions;
      (vii) The quote was provided under duress; or
      (viii) Spreads between bid and ask prices are so large as to render them
             questionable.

Determining Fair Value

      When fair valuation is appropriate for a security, the Company may
determine that the fair value of a security is the value provided by a third-party
valuation provider or it may internally fair value securities, in each case as further
described below. Fair valuations of securities held by a Retail Fund must be
submitted for approval or ratification by the Board at its next regularly scheduled
quarterly meeting.

Use of Independent Pricing Service for Fair Valued Securities

       The Company may, subject, in the case of a Retail Fund, to reporting to the
Board at its next regularly scheduled quarterly meeting, engage an independent
pricing service to provide a value for one or more securities for which market
quotations are not readily available and may determine that the fair value of such
securities is the value provided by such service. The Company will engage such
independent pricing service in accordance with the guidelines set forth above. The
Applicable Analyst’s responsibilities for fair valuations performed by an
independent pricing service include the following:

      (i)   Providing or making available to the independent pricing service any
information that would be material for the service to consider in determining the
proper valuation, such as financial statements, business plans, forecasts, budgets
and board materials;

       (ii)  Monitoring and communicating to the independent pricing service
(either directly or through the Valuation Department) current events that could
impact the security’s valuation;

      (iii) Communicating to the Applicable Analyst’s supervisor any pertinent
information that may have a material impact on the fair valued security; and

       (iv) Determining that the value provided by the independent pricing
service represents the fair value of the security on the valuation date.




                                          7
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39        Page 238 of 600




      The Applicable Analyst shall provide to the Valuation Department any
materials provided to any independent pricing service in connection with the
responsibilities described above contemporaneously.

Use of Internally Developed Models for Fair Valued Securities

       The Company may internally determine the fair value of securities for which
market quotations are not readily available; for Retail Funds, such determination
shall be made using a methodology approved or ratified by and subject to reporting
to the Board at its next regularly scheduled quarterly meeting.

      In determining the fair value of a security, the Applicable Analyst may
consider a wide variety of inputs, including but not limited to:

      (i)    Analytical data
      (ii)   The type of security
      (iii)  The size of account holdings
      (iv)   Transactional information or offers, including cost
      (v)    Public trading in similar securities of the issuer or of comparable
             companies
      (vi) Pricing history
      (vii) The liquidity of the market for the security
      (viii) Changes in the financial health of the issuer or news of events
             affecting the issuer
      (ix) Market changes
      (x)    The valuation of other securities of the issuer; and
      (xi) Appraisals by third parties

      In determining the fair value of a security, the Valuation Committee may
instruct the Applicable Analyst to use a number of methodologies, including those
based on discounted cash flows, multiples, recovery rates, yield to maturity,
discounts to public comparables, or other appropriate methodologies.

       The Applicable Analyst’s responsibilities for internally-developed models for
fair valuations include the following:

       (i)    Determining fair value using methodologies described above;
       (ii)   Retaining documentation to support the calculation of the fair value of
the security (which information may be, but is not required to be, included within
the fair value model);
       (iii) Providing or making available the model to the Valuation Department
for review;
       (iv) Making himself or herself available to the Valuation Committee, the
Valuation Sub-Committee and individual Valuation Department members to




                                          8
 Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39         Page 239 of 600




discuss and clarify assumptions, inputs and methodologies incorporated into the
valuation;
       (v)   Providing responses to questions from external auditors and
regulators;
       (vi) Evaluating the reasonableness of the valuation on any given valuation
date; and
       (vii) Communicating to the Applicable Analyst’s supervisor any pertinent
information that may have a material impact on the fair valued security.

        The Valuation Department’s responsibilities for internally developed models
for fair valuations include the following:

      (i)    Reviewing all internally developed models for fair valuations following
submission;
      (ii)   Identifying material changes in fair valuations including:
             a.     Significant changes in the valuation from the previous month,
             b.     Significant changes in the valuation from the previous three
      months,
             c.     New methodologies employed or changes to the methodologies
      employed,
             d.     Changes in subjective inputs that have a significant impact on
      the result of the valuation,
             e.     Any deviations from these procedures;
      (iii) For models identified in (ii), producing a listing of such models for
review by the Valuation Sub-Committee; and
      (iv) Producing materials to be reviewed by the Valuation Committee.

      To the extent that the Applicable Analyst’s supervisor has knowledge of
information that would have a material impact on the fair valuation of the security,
the supervisor has a duty to ensure that such information is incorporated by the
Applicable Analyst.

Use of Subject Matter Experts to Derive Legal Outcome Probabilities

      Subject matter experts, independent of the issuer, may be engaged to derive
unobservable inputs utilized in fair value models such as probabilities of legal
outcomes. These subject matter experts should generally provide their assessment
in writing where practicable and absent material updates or legal opinions of
outcome, the Valuation Department will generally seek monthly confirmation of
such probabilities relied upon for fair value positions, with exceptions documented,
unless those probabilities are unaffected by the passage of time.

Additional Policies and Procedures for Fair Valued Securities

      Absent the occurrence of any significant event that materially impacts the
value of the security, all new security purchases without a readily available market


                                         9
 Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39        Page 240 of 600




quotation are valued at cost from the time of purchase until the next Valuation
Committee meeting. As reasonably determined to be appropriate by the Valuation
Committee following the initial purchase, the Applicable Analyst may submit a
suggested methodology for fair value pricing of the security to the Valuation
Committee. If such methodology is approved by the Valuation Committee, it will be
used until the next review date, absent a determination by the Applicable Analyst
that the price determined using such methodology does not represent fair value.
Should a significant event occur following an initial purchase or between meetings
of the Valuation Committee, a special meeting of the Valuation Committee will be
called to determine the appropriate valuation of the security in light of the
significant event. The appropriateness of the fair value pricing methodology used
for each security may be reviewed periodically by an independent valuation service,
as determined necessary by the Valuation Committee. Any such review will be
conditioned by materiality thresholds set forth by the Valuation Committee prior to
such engagement.

       The Applicable Analyst is responsible for monitoring developments affecting
the issuers of fair valued securities and the markets for those securities to
determine the continuing validity of the value. This includes continuously
monitoring market data, any press regarding companies whose securities are held
in their portfolios and general news events. When the Applicable Analyst believes
that a material event has occurred with respect to such a security, he or she shall
notify his or her supervisor and the Valuation Committee (or, by proxy, a member of
the Valuation Department or Valuation Sub-Committee) so that the Valuation
Committee may determine whether the method(s) used to determine the fair value
should be adjusted.       If the Valuation Committee determines that such an
adjustment would not be material to a Fund’s calculation of net asset value, the
Valuation Committee may determine not to adjust the method(s) used to determine
fair value.

       Attachment B sets forth specific fair valuation processes applicable to the
BDC. In the event of a conflict with respect to the BDC between the fair valuation
policies and procedures set forth in the body of this Policy and those set forth in
Attachment B, the latter shall govern with respect to the BDC.

Specific Methodologies

      Shares, units, limited partnership interests and other interests of private
investment partnerships, separate accounts, non-listed REITs or other pooled
investment structures in which investments are made, other than CDOs, will
generally be valued at the net asset value of that investment vehicle, less any
applicable redemption or withdrawal charges customarily imposed by that entity.




                                        10
 Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39         Page 241 of 600




      For non-traded warrants on publicly traded stocks, the Company will utilize
a Black-Scholes model for determining fair value. Unobservable inputs used in the
model will be documented.

       For any private equity investments held by a Retail Fund with respect to
which the Company has initiated a pricing override as described under “Price
Challenges” above, the Company shall, on behalf of such Retail Fund, engage an
independent pricing service to value the security. To the extent that there is any
delay in obtaining such third-party pricing, the Company may continue to utilize an
internally-developed fair value model for pricing the instrument in the interim
period, subject to the review and approval of the Valuation Committee and
reporting to the Board at its next regularly-scheduled quarterly meeting. The
Company shall request updated reports from the independent pricing service on at
least a monthly basis, absent either new information during the month that would
be expected to have a material impact on valuation (in which case the Company
shall request an interim report) or new data that would render fair valuation
unnecessary.

       CLOs will be valued according to a number of key data points including, but
not limited to, market trading levels, bid auctions, financial institution data,
offering levels from counterparties/dealers and other sources, such as an
independent pricing service.

       Clients may hold certain securities for which value may be substantially
derived from real estate, including buildings and raw land. To the extent that such
securities are required to be fair valued, the following methodology will be applied.

      (i)     Generally, a third party appraisal will be obtained from a licensed
appraiser at least once per year, with any exceptions documented. For example, the
Company may determine that an exception should apply if a third-party broker
opinion of value is determined by the Company to be more appropriate than an
appraisal for valuing the real estate related asset. In such circumstances, the
rationale for using a broker opinion of value shall be documented in writing and, in
the case of a Retail Fund, presented to the Board of the Retail Fund at its next
regularly scheduled quarterly meeting for approval or ratification.

       (ii)   If the appraisal or broker opinion of value indicates a range of prices,
the mid-point will generally be used for the value, with any exceptions documented
in writing. If there is more than one appraisal or broker opinion of value, the value
shall be the average of such appraisals or broker opinions of value (or prices, as
applicable), unless the Company reasonably believes that one or more of the
appraisals or broker opinions of value is unreliable, in which case such appraisal(s)
or broker opinion(s) of value shall be disregarded. Whenever a pricing source is
disregarded, such determination shall be documented in writing and, in the case of




                                         11
 Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39          Page 242 of 600




a Retail Fund, presented to the Board of the Retail Fund at its next regularly
scheduled quarterly meeting for approval or ratification.

      (iii) The Applicable Analyst will have the responsibility for providing
updates and the dissemination of any information that would be expected to have a
material impact on valuation on any given valuation date.



                                   General Policies

Currency

       Client assets are valued in U.S. dollars and, except as otherwise determined
by or at the direction of the Valuation Committee, (i) assets and liabilities
denominated in currencies other than U.S. dollars are translated at the rates of
exchange in effect at the date (and, for Retail Funds, as close as reasonably
practicable to the time) of valuation (and exchange adjustments are recorded in the
results of operations), and (ii) investment and trading transactions and income and
expenses are translated at the rates of exchange in effect at the time of each
transaction.

Leveling

       The Company will adhere to the requirements of ASC 820 when performing
leveling of assets held by Retail Funds.

Change in Fair Valuation Procedures or Methodologies

       If the Valuation Committee reasonably determines that a procedure or
methodology other than those set forth in this Policy would more accurately reflect
the fair value of one or more portfolio securities and if, in the aggregate, the value of
such securities is not material to such Client, then the Company may use such
procedure or methodology, provided that, in the case of a Retail Fund, any such
determination and the basis for such determination shall be documented in writing
and submitted to the Board for ratification at its next regularly scheduled quarterly
meeting.

Board Reporting for Retail Funds

       The Company shall present the Board with the following reports and shall
request the following approvals or ratifications, as applicable, in respect of each
Retail Fund:




                                           12
 Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39   Page 243 of 600




Report                                         Frequency
A report indicating the current valuation      Quarterly
and methodology for determining such
valuation for each fair valued security and
the dollar amount and percentage of any
changes in valuation since the prior Board
report in respect of such security. Such
fair valuations shall be subject to Board
approval or ratification and, to the extent
the methodology is not set forth in this
Policy or has not otherwise previously
been approved or ratified by the Board,
the methodology shall also be subject to
Board approval or ratification.
A report noting any change in a previously     Quarterly
reported fair valuation methodology since
the last regularly scheduled quarterly
Board meeting and the reason for such
change.
A report documenting any pricing               Quarterly
challenges or overrides that have been
made since the last regularly scheduled
quarterly Board meeting.
A report documenting any pricing sources       Quarterly
that have been disregarded.
Copies of minutes from Valuation               Quarterly
Committee meetings and copies of the
pricing packets provided to the Valuation
Committee.
Requests for the Board to approve or ratify    As needed
any independent pricing service that the
Company has determined is able to
provide appropriate pricing.
Recommended changes to this Policy.            As needed

A written report on any changes in the         Quarterly, as needed
composition of the Valuation Committee.
A report documenting any trades of fair        Quarterly, as needed
valued securities determined by the
Valuation Committee to be “non-orderly”




                                          13
 Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39       Page 244 of 600




Such other information as the Board may             As requested
from time to time request, including such
supporting documentation as the
Company is able to obtain from
independent pricing services using good
faith reasonable efforts.


                                 Responsibilities

Valuation Committee

       In order to assist with the determination of fair value, the Company has
appointed a Valuation Committee consisting of such personnel of the Company as
may be designated by the Company from time to time including, among others, the
Chief Financial Officer, the head of the Valuation Department, one or more Senior
Traders, one or more fund managers and one or more Senior Finance Professionals.
The retail and institutional CCOs serve on the Committee as non-voting members.
The Board has delegated to the Valuation Committee authority to determine the
fair value of securities held by a Retail Fund for which market quotations are not
readily available, subject to this Policy and the oversight of the Board. As noted
above, the Company shall report in writing to the Board at its next regularly
scheduled quarterly meeting regarding any changes in the composition of the
Valuation Committee.

Valuation Committee Meetings

       The Valuation Committee shall meet on (a) any day when a significant event
may require fair valuation and (b) as necessary and at least once per month to
approve the pricing methodology for any fair valued securities. The approval of a
majority of the voting members of the Valuation Committee who are present at a
meeting for which there is a quorum is required to approve any matter submitted
for approval. Voting quorum is achieved when at least five voting members and the
Retail Funds’ CCO (or his designee) is in attendance.

Valuation Sub-Committee

      In order to strengthen the review and oversight of internally developed
models for fair valued securities, the Company has formed a Valuation Sub-
Committee composed of the Chief Financial Officer, the head of the Valuation
Department, all other Valuation Department members and one or more
representatives from the Compliance Department.




                                        14
 Case 21-03005-sgj Doc 29 Filed 05/24/21              Entered 05/24/21 10:22:39         Page 245 of 600




Valuation Sub-Committee Meetings

       The Valuation Sub-Committee shall meet at least once per month: (i) as
appropriate, to perform a documented review and discussion of fair valued
securities that have been identified as having material changes in fair valuations or
securities that the Valuation Department or the Compliance Department deem
pertinent for any reason and (ii) to make final decisions on which securities, in
addition to those required to be presented to the Valuation Committee pursuant to
these procedures, should be presented to the Valuation Committee.

Valuation Sub-Committee Member Responsibilities

      It is the Valuation Department’s responsibility to generate a listing of
internally developed models for fair-valued securities for the Valuation Sub-
Committee to review. The Compliance Department is responsible for adding any
relevant insight to the positions discussed, for bringing to the attention of the
Valuation Department any information known to the Compliance Department that
may be relevant to valuation, including information relating to positions not
otherwise scheduled for discussion by the Valuation Sub-Committee, and for
providing general oversight over the Valuation Department.

Valuation Department

      The Valuation Department is composed of one or more investment analysts
who report directly to the head of the Company’s Valuation Department.

                                 Files and Records

      The Company will maintain written evidence for all prices authorized by the
Valuation Committee. Documentation consists of:

      (i)     copies of quotes obtained;
      (ii)    a fair valuation summary template prepared by the Applicable
              Analyst(s); and
       (iii) as applicable, third-party valuation reports.
       A member of the Compliance Department will prepare and the Company will
retain in its records minutes of the Valuation Committee meetings documenting all
determinations made and an attendance sheet signed by all Committee members
present at the meeting.

      For Retail Funds, the minutes of each Board meeting shall reflect any report
given pursuant to these procedures. Valuation Committee meeting minutes will be
provided to the Board on a quarterly basis.

      Relevant available documentation and information supporting valuations
pursuant to the fair valuation procedures or Broker Quoted securities described


                                         15
 Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39      Page 246 of 600




above shall be maintained by the Company with the Retail Fund’s records for at
least six years, the first two years in an easily accessible place.




                                      16
 Case 21-03005-sgj Doc 29 Filed 05/24/21        Entered 05/24/21 10:22:39       Page 247 of 600




                                                                 Attachment A
                         LIST OF PRICING SERVICES

Independent Pricing Service          Instrument Type
Primary: Markit                      Loans
Primary: Interactive Data Corp.      Bonds
Secondary: Bloomberg
Primary: Thomson Reuters             Equities; CLOs (Debt and Equity)
Secondary: Interactive Data Corp.,
Bloomberg
Primary: Houlihan Lokey              Private Equity; securities held by the
                                     BDC
 Case 21-03005-sgj Doc 29 Filed 05/24/21                Entered 05/24/21 10:22:39        Page 248 of 600




                                                                        Attachment B
                        Procedures for NexPoint Capital, Inc.

Fair Valuation

With respect to investments for which market quotations are not readily available,
NexPoint Advisors, L.P. (“NexPoint”) shall undertake a multi-step valuation process at
the end of each fiscal quarter for NexPoint Capital, Inc. (the “BDC”), as described
below:

   •   The Applicable Analyst will fair value all portfolio investments of the BDC
       each quarter;
   •   Senior management of the BDC and NexPoint will discuss and document
       preliminary valuation conclusions and the models and key assumptions used
       to determine such preliminary valuations;
   •   NexPoint will present those preliminary valuations and the models and key
       assumptions used to determine such preliminary valuations to the Board or
       its audit committee for review;
   •   At least once each quarter, the valuations for approximately one quarter of
       the portfolio investments that have been fair valued are reviewed by an
       independent valuation firm, such that, over the course of a year, each
       material portfolio investment that has been fair valued shall have been
       reviewed by an independent valuation firm at least once; and
   •   The Board will either approve the preliminary valuation or will otherwise
       determine in good faith the fair value of each portfolio investment for which
       market quotations are not readily available.
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 249 of 600




                                EXHIBIT 35
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39     Page 250 of 600




May 3, 2019


VIA E-MAIL AND UPS

Marshall Gandy, Associate Regional Director
U.S. Securities and Exchange Commission
Fort Worth Regional Office
801 Cherry Street, Suite 1900, Unit 18
Fort Worth, Texas 76102

        Re:    Examination of Highland Capital Management Fund Advisors, L.P.
               (File No. 801-69968) (“Adviser”) and Examination of Highland Funds II (File No.
               811-07141) (“Company”)

Dear Mr. Gandy:

This supplemental letter, to the response letter dated March 29, 2019, provides the responses of
the Adviser and the Company to the letters of the staff of the Securities and Exchange Commission
(the “Staff”) dated February 27, 2019 regarding the above-referenced examinations. For
convenience, the Staff’s comments have been summarized before each response. The Adviser and
Company have responded jointly to the Comments I.1, I.3, and I.6. Any capitalized terms not
otherwise defined herein have the meanings ascribed to them in the Staff’s letter.

 I.1.     Comment: The Staff requests that the Adviser provide a table with the following
          information for each business day from March 14, 2018 through the date on which the
          Adviser implemented its updated fair value methodology for TerreStar set forth in the
          Consultation Materials (the period from March 14, 2018 through the date on which the
          Adviser implemented its updated fair value methodology for TerreStar is referred to
          herein as the “NAV error period”):

          (a) Original valuation of TerreStar
          (b) Revised valuation of TerreStar
          (c) Fund’s NAV
          (d) Fund’s restated NAV
          (e) Amount of NAV adjustment (expressed in dollars and cents)
          (f) Amount of NAV adjustment (expressed as a percentage of the original NAV)
          (g) Fund’s total net assets
          (h) Fund’s restated total net assets

          Response:

          Please see the requested data as set forth in Exhibit A.
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39       Page 251 of 600




 I.3         Comment: The Staff requests that the Adviser provide whether there was a loss to the
             Fund from net redemptions over the NAV error period, and the amount of such loss.
             Provide documentation of whether the Fund was made whole for the loss and the entity
             that made the Fund whole.

             Response:

             Please see the requested data as set forth in Exhibit B.

             The Fund was made whole through two separate wire transactions:

                    $5,186,496 was paid to the Fund by the Adviser on February 15, 2019; and
                    $2,398,842 was paid to the Fund by the Adviser on May 2, 2019.

             The Fund’s custodian cash details are included as part of Exhibit B to evidence these
             payments.

 I.6         Comment: For those shareholder accounts listed in the report with gains
             (“benefits”)(i.e., for an NAV adjustment downward, shareholders that redeemed shares
             of the Fund received a benefit and the Fund experienced a loss), the Staff requests that
             the Adviser provide:

             (a) documentation of whether the Fund was made whole for such losses; and

             (b) documentation regarding the entity that made the Fund whole.

             Response:

             Please see the response as set forth in I.3 above.

Last, pursuant to the Staff’s request on the May 1, 2019 telephonic call with the Adviser, the
Staff requested an update on the status of the reprocessing with the transfer agent, DST, to Fund
shareholders and its intermediaries. Please see Exhibit C for further detail. The timing of this
undertaking is dependent on the Fund’s transfer agent receiving the requested information back
from the intermediaries.

                                            *       *       *

Please feel free to contact me at 972-419-4459 to discuss any questions or comments you may
have regarding the foregoing responses. Thank you for your assistance.


Sincerely,



Jason Post
Chief Compliance Officer


                                                   -2-
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 252 of 600




                                    EXHIBIT A


                                I.1 (a-h) – GAF Detail




                                          -3-
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 253 of 600




                                     EXHIBIT B

                              I.3 – GAF Calculation Summary
                     I.3 – Response GAF Wire-In Confirm (02.15.19)
                      I.3 – Response GAF Wire-In Confirm (05.2.19)




                                          -4-
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 254 of 600




                                    EXHIBIT C


                           GAF – DST Special Events Update




                                          -5-
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 255 of 600




                                EXHIBIT 36
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 256 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 257 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 258 of 600




                                EXHIBIT 37
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39         Page 259 of 600




DATE:      May 28, 2019
TO:        The Board of Trustees (the “Board”) of Highland Global Allocation Fund (the “Fund”)
FROM:      Highland Capital Management Fund Advisors, L.P. (“HCMFA” or the “Adviser”)
RE:        Resolution of the Fund’s Net Asset Value (“NAV”) Error
        This memorandum summarizes the final resolution of the Fund’s NAV error related to its
TerreStar Corporation (“TerreStar”) equity holding. In connection with the Fund’s conversion
from an open-end fund to a closed-end fund (the “Conversion”) on February 13, 2019, the Office
of the Chief Accountant (“OCA”) of the SEC reviewed the Adviser’s fair valuation of TerreStar
equity, in particular the application of Financial Accounting Standards Board Accounting
Standards Update 2011-4, Topic 820, Fair Value Measurement (“ASC 820”) to two transactions
in TerreStar equity that occurred in March 2018 (the “March Transactions”). The OCA provided
its feedback during an exit call on February 8, 2019 and subsequently confirmed no comments to
the Adviser’s confirmation of understanding letter on February 14, 2019.
        The Adviser and Houlihan Lokey, an independent third party expert valuation consultant
approved by the Board, initially determined that the March Transactions were “non-orderly” and
should be given “zero weighting” for purposes of determining fair value. As reflected in the
consultation, the Adviser ultimately determined that both March Transactions should be classified
as “orderly.” The fair valuation methodology adopted, as addressed in the consultation, weights
inputs and does not reflect last sales transaction pricing exclusively in determining fair value. The
“orderly” determination and adoption of the weighted fair valuation methodology resulted in NAV
errors in the Fund (the “NAV Error”).
       After incorporation of the updated valuation into the Fund’s NAV, the gross NAV Error,
excluding interest, the advisory fee rebate, and processing costs, amounted to approximately $6.1
million of loss to the Fund and approximately $1.4 million of losses to Shareholders (a total loss
of approximately $7.5 million) over the period between March 18, 2018 and January 19, 2019 (the
“NAV Restatement Period”).

        The Fund was made whole through a $5,186,496 payment on February 15, 2019, and a
$2,398,842 payment on May 2, 2019. A detailed breakdown of the NAV Error and the make whole
payments is set forth below. Shareholder reprocessing and reimbursement are in progress with the
Fund’s prior transfer agent, DST Systems, Inc. (as transfer agent to the open-end fund), and given
detailed omnibus account information has not yet been obtained the estimated make whole
payments are subject to change. A representative of the Adviser will provide the Board with an
update on the process during the May 28, 2019 Board meeting.
               Case 21-03005-sgj Doc 29 Filed 05/24/21               Entered 05/24/21 10:22:39          Page 260 of 600




                                         NAV Error Breakdown and Make Whole Payments

                                                                                                         Estimated Loss
                                                             Transaction Date(s)     Loss to Fund       to Shareholders3         Totals
Estimated Net Loss                                           3/14/18 thru 1/7/19     (6,068,851)          (1,373,272)         (7,442,123)
Processing, Fees, Interest                                   3/14/18 thru 1/7/19      (375,000)                -               (375,000)
Insurance Proceeds                                               2/15/2019            3,566,248            1,373,272           4,939,520
Insurance deductible paid by Adviser                             2/15/2019             246,976                 -                246,976
Management fee offset                                             4/1/2019              47,000                 -                47,000
Additional payment from Adviser                                   5/2/2019            2,339,6272               -               2,339,627
Reimbursement of Processing costs from Adviser                        -1               244,000                 -                244,000
Total                                                                                      -                   -                   -

Supplemental Numerical Update
Additional estimated loss to fund and shareholders           1/8/19 thru 1/28/19 5     (19,789)
Additional processing, management fees, and interest                Note 4             (39,426)
Additional payment from Adviser                                    5/2/2019             59,215

Total additional payment from Adviser 6                           5/2/2019            2,398,842

Notes
1 - Expected to be incurred thru 12/31/19, and will be reimbursed by Adviser as incurred. To date no invoices have been billed or paid, but
upon receipt of a future invoice, the Adviser will promptly pay.
2 - Includes $2,255,628 of previously outstanding balance, and $84,000 of interest calculated through 1/7/19, which was the "as of date"
used for the calculations in the OCA submission.
3 - Represents the estimated losses to shareholder subscribing into the fund during the NAV Restatement Period and estimated losses to be
determined after reprocessing individual capital activity that was held in Omnibus accounts.
4 - Proposal from service provider was higher than original estimate, and includes interest thru date of final payment made by Adviser.
5 - This includes the calculations subsequent to 1/7/19 (which was the "as of date" used for the calculations in the OCA submission)
"through date" 1/28/19, which the final date in which the revised mark was fully reflected in the NAV.
6 - Includes $2,339,627 and $59,215 of Additional payments from Adviser
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 261 of 600




                                EXHIBIT 38
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 262 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 263 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 264 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 265 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 266 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 267 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 268 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 269 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 270 of 600
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 271 of 600




                                EXHIBIT 39
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39      Page 272 of 600
    !"#$ÿ&ÿ'()*)++',-./0123ÿ45$6ÿ!"#$
  789:;ÿ=>ÿ?=@A;@AB
  ÿ
                                  CDE7FGÿH7I7FH
                      HF?CJE7EFHÿIDGÿ FK?LIDMFÿ
                                   P8BQR@SA=@TÿGU?UÿVWXYZ
                                                          ?NOOE
                                                              HHE
                                                                ND
  ÿ                                                                     ÿ
  ÿ
                                                        [NJOÿD\?HJ
                                                   ÿ
                               ?FJ7E[EFGÿHLIJFLN]GFJÿJF^NJ7ÿN[ÿJFMEH7FJFG
                                   OIDIMFOFD7ÿED_FH7OFD7ÿ?NO^IDEFH
                                            E@`;BAa;@Aÿ?=ab8@cÿIdAÿ>R:;ÿ@ea9;fgÿhii\VjjkZ
  ÿ                                                                     ÿ
           LEML]IDGÿmM]NlI]ÿ                  I]]N?I7E
                     Fn8dAÿ@8a;ÿ=>ÿf;SRBAf8@Aÿ8BÿBb;dR>R;oÿR@ÿdQ8fA;fp
                                                                       NDÿ
                                                                         [CDG
  ÿ                                                                     ÿ
                                                             VWWÿ?f;Bd;@Aÿ?=efA
                                                                    HeRA;ÿqWW
                                                             G8  :
                                                                 :8 BTÿ7;n8BÿqXVWi
                                                 mIoof;BBÿ=>ÿbfR@dRb8:ÿ;n;deAR̀;ÿ=>>Rd;BpmrRbÿd=o;p
  ÿ                                                                     ÿ
                                          LRSQ:8@oÿ?8bRA8:ÿO8@8S;a;@Aÿ[e@oÿIo`RB=fBTÿ]U^U
                                                         VWWÿ?f;Bd;@Aÿ?=efA
                                                              HeRA;ÿqWW
                                                         G8 ::
                                                             8BTÿ7;n8BÿqXVWi
                                                  mD8a;ÿ8@oÿIoof;BBÿ=>ÿIS;@Aÿ>=fÿH;f`Rd;p
  ÿ                                                                     ÿ
                                  J;SRBAf8@AsBÿA;:;bQ=@;ÿ@ea9;fTÿR@d:eoR@Sÿ8f;8ÿd=o;gÿmhqqpÿkkX\iVhq
                                                  G8A;ÿ=>ÿ>RBd8:ÿc;8fÿ;@ogÿH;bA;a9;fÿjW
                                             G8A;ÿ=>ÿf;b=fAR@Sÿb;fR=ogÿH;bA;a9;fÿjWTÿVWiZ
  ÿÿ




118781791444553520534401224489                                                          51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39             Page 273 of 600

    !"#$ÿ&'ÿ(&)*$)*+
  ,*$-ÿ./ 0$1&2*+ÿ*&ÿ3*&456&#7$2+/
  8ÿ:;<=ÿ;>ÿ?@Aÿ8BBCDEÿFA<;G?ÿ?GDBHIJ??AKÿ?;ÿH@DGA@;EKAGHÿ<CGHCDB?ÿ?;ÿFCEAÿLMANOÿCBKAGÿ?@AÿPBQAH?IAB?ÿR;I<DB=ÿ8:?ÿ;>ÿOSTMUÿDHÿDIABKAK
  V?@AÿWOSTMÿ8:?XYUÿJHÿD??D:@AKÿ@AGAZJ?@[




118781791444553520534401224489                                                                     21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                      6789ÿ 05/24/21
                                                                                     Entered        10:22:39                        Page 274 of 600

   !"#$ÿ&'ÿ(&)*$)*+




  -./01ÿ207310ÿ40071.7ÿ6
  ÿ




  ÿ
  ÿ


                                                                                      ÿ
                                                       566789ÿ;<=>?@
  ÿ
                                                     A<=@<BC<ÿ?ÿDEFÿGEHI
  J/../ÿ7ÿK118Lÿ5Mÿ2425Mÿ1ÿ89.ÿ3Lÿ8/01.7ÿ17ÿ3LÿÿNÿ8..ÿ1ÿOP1/ÿ799..7Mÿ18ÿ7.ÿ7Qÿÿ6Rÿ110ÿ1ÿ9.
  110ÿ18708ÿ878ÿS.00ÿ7ÿ07/8ÿ3ÿÿ3Lÿ91.0Mÿ0ÿL7ÿ.Q.100Lÿ8Tÿ18ÿ7.ÿ7Qÿÿ878ÿU1Mÿÿ878ÿS.00ÿ3ÿ91ÿ1V1.0130ÿ7ÿ
  6RÿS3.ÿW./01Q79XMÿ1ÿL7ÿS.00ÿ3ÿ7.Q.ÿ3Lÿ91.0ÿ1ÿ.9ÿ1ÿ878ÿ.ÿ7ÿ1ÿ87V.ÿS.ÿ1ÿS3.ÿ0.Yÿ7ÿ1ÿÿ878
  UQÿL7ÿ1081Lÿ0ÿ7ÿ8.Vÿ18708ÿ878ÿ087.100LMÿL7ÿS.00ÿ7ÿ3ÿ1QQÿ3Lÿ.ÿ1/ÿ1ÿL7ÿÿ7ÿ1Yÿ1Lÿ1.7ÿZ7ÿ91Lÿ0ÿ7ÿ8.V
  18708ÿ878ÿ1ÿ78ÿ799.1.7ÿQ879ÿ1ÿ6ÿ087.100Lÿ3Lÿ71./ÿL78ÿQ.1.10ÿ.89.18LÿWÿ1ÿ1ÿ387Y8108ÿ78ÿ31YXÿ78Mÿ.QÿL7ÿ18ÿ1
  .8ÿ.V78Mÿ3Lÿ71./ÿÿ6Rÿ81Q8ÿ1/ÿ1ÿ5052
  J/../ÿ7ÿK118Lÿ5Mÿ245MÿL7ÿ91Lÿ0ÿ7ÿ8.Vÿ100ÿQ8ÿ878ÿ.ÿ18ÿQ8ÿ7Qÿ18/ÿUQÿL7ÿ.Vÿ87/ÿ1ÿQ.1.10ÿ.89.18LMÿL7ÿ1ÿ71ÿL78
  Q.1.10ÿ.89.18Lÿ7ÿ8Tÿ1ÿL7ÿ7.ÿ7ÿ8.Vÿ18ÿ7.ÿ7QÿL78ÿ18708ÿ878ÿUQÿL7ÿ.Vÿ.80LÿS.ÿ1ÿ6MÿL7ÿ1ÿ100ÿ5052ÿ7
  0ÿÿ6ÿY7SÿL7ÿS.ÿ7ÿ7.ÿ8.V./ÿ18ÿ7.ÿ7QÿL78ÿ18708ÿ878ÿZ78ÿ0.7ÿ7ÿ8.Vÿ878ÿ.ÿ18ÿS.00ÿ10Lÿ7ÿ100ÿQÿ0ÿ.ÿL78
  17ÿ.QÿL7ÿ.Vÿ87/ÿL78ÿQ.1.10ÿ.89.18Lÿ78ÿ100ÿQÿ0ÿS.ÿÿQÿ790Pÿ.QÿL7ÿ.Vÿ.80LÿS.ÿ1ÿ6




118781791444553520534401224489                                                                                                           31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39           Page 275 of 600

  !"#$%ÿ'(ÿ)'*+%*+,

                        -./01234ÿ617821ÿ9117:2;.73ÿ<=34
                                              ?@ABCÿD6ÿD ?C ?
  ÿ

  ÿ
  E78F7GH7ÿIJJK8ÿ799J8L                                                                                            ÿ5ÿ
                                                                                                                        ÿÿ
    77GHJÿ6ÿE87FHG                                                                                             ÿÿ
                                                                                                                        ÿÿ
    77GHJÿ6HJHJGÿJ9                                                                                     ÿ0ÿ
                                                                                                                        ÿÿ
      77GHJÿMN9ÿE78F7GH7                                                                                   ÿÿ
                                                                                                                        ÿÿ
      77GHJÿJ9ÿ7Fÿ@ÿJÿBHJOHGHH                                                                    ÿ52ÿ
                                                                                                                        ÿÿ
      77GHJÿJ9ÿ7FÿD8JH7                                                                                ÿ53ÿ
                                                                                                                        ÿÿ
      77GHJÿJ9ÿ7FÿJKÿHÿÿ@                                                                      ÿ5ÿ
                                                                                                                        ÿÿ
      77GHJÿJ9ÿ7FÿJÿ6G7P                                                                                 ÿ5ÿ
                                                                                                                        ÿÿ
      77GHJÿ6HJHJGÿQHKGHK                                                                                   ÿ5 ÿ
                                                                                                                        ÿÿ
      7ÿ7ÿ77GHJÿ6HJHJGÿJ9                                                                           ÿ5ÿ
                                                                                                                        ÿÿ
     78ÿ7FÿMÿKH8ÿEOGHÿ@7HKÿ6H89                                                             ÿ3ÿ
                                                                                                                        ÿÿ
  @HH7JGÿMF789JH7                                                                                                 ÿ3 ÿ




  ÿ
                                                                                                                        ÿÿ
  M978JÿMF789JH7ÿ@O7ÿ?Hÿ78                                                                                ÿÿ
                                                                                                                        ÿÿ
                                         C779HÿJÿ9J8Rÿ7HH7ÿJKÿF8SGL
                       ?8ÿHÿ7ÿJ8JÿJÿÿ8ÿ8HOÿHÿHÿ878ÿPHGGÿ7Hÿ78ÿ799




  ÿ
  9ÿTU7VTW:;=VÿX=V;ÿTUW:W4Wÿ7Uÿ2::7XT23Yÿ;0.VÿUWT7U;Zÿ[1W2VWÿUW24ÿ;0WÿTU7VTW:;=Vÿ:2UW\=11Yÿ8W\7UWÿY7=ÿ.3]WV;Z




118781791444553520534401224489                                                              1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39            Page 276 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0-12
  ÿ
         -ÿ456578.ÿ9-4486/5.:ÿ;<=><?@AB?C
  ÿ
  ÿ
  EB
  ÿ
    FABGHBIÿJKLÿMKNO                                               ÿ                             P@QRS>=?ÿ7STH>Sÿ5SSTU>A@T=ÿ0<=?
  ,BIVTIG>=UBÿ-WBIW@BX
  678ÿÿYZ[ÿ97ÿÿ9\8ÿ34]ÿ245]ÿÿ^_`ZaÿbZ7\aZÿcZZ7a_7ÿ6ÿdÿe6fgÿh8_ÿaÿ7aZÿ9a8i
  8_ÿ88ÿ7jÿd2k0lgÿaÿaÿ7aZÿcmÿ88ÿ7jÿd4klgÿnÿ6oÿ\9a8i]ÿÿ6npÿcZZÿq78Zÿ_hÿ88ÿ5l
  4>=>QBIÿr@sU<ss@T=
  nÿ6ÿ7jj__aZZtÿZ_ÿaÿaÿZ7ÿjÿ_ÿ6\8a8tÿ245]ÿaÿ\`aÿ8a_`ÿ7ÿÿYÿu78iÿ7iÿpha`ÿd_i8
  ^bvwgÿ7ÿ6\8a8tÿ5ÿ78Ztÿaj8ÿ7[8_7ÿÿ6ÿ__ÿaÿ0lÿZ[Zÿ_8_\_7ÿ7Z_tÿaÿa`ÿÿ_8_\_7
  j8xtÿj879ÿxa88Ztÿ7ÿ97Ztÿc__7aZZt]ÿÿ6ÿa7ÿZaÿj78ÿ_ÿa8ÿ88aÿ87`8a9ÿn87`ÿyZtÿ54]
  245ÿÿ6ÿaÿ79Zÿz54ÿ9_ZZ_7ÿ_ÿ88aÿ7jÿÿ6oÿa8ÿ{ÿc`ÿ24]ÿ245ÿÿ6ÿa7ÿa
  a__7aZÿz24ÿ9_ZZ_7ÿ7jÿa8ÿ88aÿaÿaÿh_7ÿ7jÿÿ88aÿ87`8a9ÿj78ÿaÿ8_7ÿ7jÿ_hÿ97
  79ÿ7jÿÿ6oÿ7ÿ_[9ÿ9ÿ8_`ÿÿta8ÿ_Zÿ|_Z__]ÿnZ79]ÿaÿp8`tÿ}v~oÿm_8aÿp8`t]ÿ
  6oÿZa8`ÿ_`Zÿa9ÿx_tÿ7__7]ÿYaÿ7ÿ7jÿÿZa8`ÿ78_\78ÿ7ÿ8j789aÿaÿ_ÿ88ÿ4klÿm_8aÿp8`t
  _ÿaÿ_`8aÿ7Y8ÿ878ÿaxa88ÿ_ÿnhaÿnÿ79atÿa87ÿ7ÿ7jÿÿ[_`ÿ7jÿÿn|ÿ\ai8tÿYÿ_
  98aÿ7Y8ÿ1ÿ8a_Zÿ̀8a_7ÿ\_ÿ888ÿaÿZa8ÿ98`ÿY_ÿ79_78ÿt`tÿqÿ\Z_[ÿ_ÿ_ÿaÿha9Z
  7jÿaÿ_xÿaÿ9_877ÿ\_ÿ_ÿaÿ7[8Z77iÿ_8tÿqÿa8ÿa8aÿ7ÿ_ÿa9ZÿaÿjZ7Yÿ̀8a_7]ÿ9Z_Z
  a[ÿj78ÿ[aZÿ8a_7]ÿ87`ÿZa8_ÿa9ÿaÿaÿ[aZa_7
  m_aÿp8`toÿ9aa`9ÿ8ajj_89ÿ_ÿ245ÿ̀_aÿ7ÿ_ÿ8ÿ2ÿaZZÿnÿ79atÿ_ÿhÿ7ÿ̀8aÿj8ÿa
  jZ7Yÿ\j78ÿ̀87Yÿ_[9ÿ7jÿz25z23ÿ\_ZZ_7ÿ_ÿta8]ÿY_ÿ88ÿaÿlÿ7[8_7ÿ7jÿpwncÿ7ÿj8ÿaÿjZ7Yÿc
  ÿ79atoÿ9a8iÿaÿ7jÿz535ÿ\_ZZ_7ÿaÿxa88ÿ]ÿj8ÿaÿjZ7Yÿ88ÿaÿt_Zÿ7jÿ53lÿqÿj_ÿ_ÿj8ÿaÿjZ7Y
  t_Zÿ7ÿ\ÿ_`Ztÿa8a_[ÿ̀_[ÿÿ79atoÿ_ÿaÿaZÿaÿ_`8aÿ7__7ÿY__ÿÿ7Y8ÿ[aZÿa_ÿÿjaÿY
  j_ÿ_ÿa8ÿ7ÿj_ÿatÿ8`tÿ_j8a88ÿ79atÿY_ÿaÿ_9_Za8ÿj8ÿaÿjZ7Yÿt_Zÿaÿ_ÿ7ÿ_8ÿ78ÿaZZ`ÿ_
  79ÿja_7
  nÿp {nÿ7Y8ÿ9a8iÿh_\_ÿ_`_j_aÿ9a8iÿ_`ÿ8_`ÿ_ÿ998ÿaÿa8_tÿ[ÿaÿ8_ÿ7ÿ_iÿ_
  c`ÿaÿ9\8ÿn_ÿ_987[9ÿ_ÿ8aZÿ_9ÿ8_ÿaÿj78Ya8ÿ8_ÿ7ÿ97[ÿ_`8ÿY_ÿ_ÿ8ÿ7Zÿ_987[
  m_8aoÿa8_`ÿ7Z77iÿj78ÿÿhÿ[8aZÿta8
  q_Zÿj8ÿaÿjZ7Yÿ̀8a_7ÿ_ÿ7ÿ_`]ÿYaÿaÿ9aa`9ÿa9ÿ7ÿY_ÿaÿaÿ_ÿa78ÿn_ÿ9aa`9ÿa9ÿ_
  j7ÿ7ÿ8a_`ÿ[aZÿj78ÿa87Z8ÿ87`ÿaÿ\aZaÿa_aZÿaZZ7a_7ÿ8a`tÿnÿ79atÿaÿ79Zÿ7[8ÿz5\
  7jÿ\t\aiÿ8ÿ_ÿz50\ÿ88aÿ87`8a9]ÿ8Ztÿ___aÿaÿxa88Ztÿ_[_ÿ7jÿz4520ÿ8ÿa8ÿY_ÿ9aa`9
  hÿ7ÿ̀87Yÿaÿl]ÿaÿhÿ7ÿa_[ÿaÿ20hÿÿ\ÿ1ÿpwncÿa8`ÿ\tÿupÿ2424ÿÿa__7]ÿÿ79atÿa
  a7ÿi_ÿax___7ÿ7jÿ8_ÿp8`tÿaÿc9\_ÿp8`tÿY_ÿhaÿÿ79atoÿ8a_ZÿZaj789ÿqÿ\Z_[ÿ_
  a87aÿ7ÿaZZ7a_`ÿÿ79atoÿj8ÿaÿjZ7YÿY_ZZÿ̀8aÿa87Z8ÿ[aZÿ7[8ÿ_9
  nÿ6ÿ7_ÿ7ÿ9a_a_ÿaÿZa8`ÿaZZ7a_7ÿ7ÿ8`tÿ}v~]ÿY_ÿ8aÿj879ÿ8j789aÿ8_`ÿÿta8ÿq_Z
  9_8a9ÿ8`tÿ79a_ÿ̀8aZZtÿ87ÿ87`ÿa8_`ÿ8_`ÿÿta8]ÿÿ78ÿh8_ÿYaiÿ_[78
  _9ÿÿ7ÿaÿ7jZÿ7jÿja78ÿ{ÿ7ÿ7jÿ9a87ÿ78]ÿÿaÿ8aÿYa8ÿja8ÿaÿaÿ8a_ÿ7997_tÿ8_
  [_879]ÿÿ79_ÿ8a9ÿ78ÿ̀8aÿ778ÿ_[9ÿ88ÿnÿ~ÿ{_ZÿÿbaÿphZ78a_7ÿaÿ~87_7
  Zÿ8tÿhÿ88ÿk4lÿ8_`ÿÿta8ÿÿ78]ÿ79_ÿp~ÿ79a_ÿ88j789ÿÿ9a8iÿaÿ_ÿ_
  8ÿaÿaÿ`a_[ÿ_9ÿ7ÿ_8ÿ78a8ÿ_ÿÿ9_8a9ÿ78ÿqÿ89a_ÿ78_[ÿ7ÿÿZ7`89ÿ7Z77iÿj78
  ÿ9_8a9ÿ78ÿ_ÿa8ÿ89ÿ9a87ÿ8a_tÿaÿaÿYai8ÿ8a9ÿ9a8iÿ[_879ÿnÿ|ÿ78aÿaÿa
  Z7Yÿ7ÿ878ÿ7jÿt87a8\7]ÿY_ÿ9aÿaÿYÿhÿ|ÿ87_7ÿ[7Z9ÿaÿh78ÿ778__ÿ7ÿ7_ÿ7
  `87Yÿ_ÿaZ_ÿ8_iÿÿaÿ7997_tÿ8_ÿ88ÿ78ÿ7889ÿ8_7ÿ_ÿ8a9ÿ87_7ÿ\`ÿn
  78ÿaÿ8`7ÿaÿ_`_j_aÿ8aj789a_7ÿ7[8ÿÿaÿ[8aZÿta8ÿ7Ya8ÿaÿj7ÿ7ÿa87Z8ÿ88]ÿ7878a
  _9Z_j_a_7]ÿ88ÿ7ÿ_[ÿa_aZ]ÿaÿaÿ8_7ÿ_ÿZ[8a`ÿqÿ_iÿ_ÿ8Yÿj7ÿ7ÿa_aZÿ__Z_ÿ79\_
  Y_ÿaÿ8Zt_`ÿaZtÿja9aZÿ\ai87ÿ7Zÿa\Zÿÿ78ÿ7ÿ8aÿ[aZÿ7[8ÿ_9ÿ_ÿÿ7__[
  ja78]ÿ9_8a9ÿ}v~ÿaa8ÿaÿ8Za_[ÿ7ÿ_78tÿaÿ78ÿt_Z78_ÿaÿZaÿnÿ9_aÿ}v~ÿt_Zÿ545l]
  Y_ÿ_ÿaÿ340lÿ_7ÿ7ÿ_ÿj_[ÿta8ÿa[8a`ÿ7jÿ4l]ÿaÿ8aÿaÿaÿ_9aÿ2424ÿpm1pwncÿ9Z_Zÿ7jÿh]ÿaÿ245l
  _7ÿ7ÿ_ÿj_[ÿta8ÿa[8a`ÿ7jÿ522hÿ}aY_Z]ÿ|_Z__ÿ8aÿaÿaÿ55hÿpm1pwncÿ9Z_Z]ÿaÿ50lÿ89_9ÿ7ÿ_ÿj_[
  ta8ÿa[8a`]ÿaÿpnÿ8aÿaÿaÿ53hÿ9Z_Z]ÿaÿ0lÿ_7
  nÿ6oÿ_[9ÿ_ÿc8`_ÿ7[8_`ÿ\ÿaÿx_tÿYaÿÿ8_9a8tÿ8a78ÿj78ÿÿta8ÿÿc`ÿ245ÿc8`_a
  Zÿ_ÿ8_9a8tÿZ_7ÿja8_`ÿ8_ÿ}a8_ÿaÿcZ\87ÿ68aÿ~7ZZÿ8_ÿaÿ_`ÿ8aÿ\ÿ}a8_ÿ8_[ÿÿ32l
  7jÿÿ[7]ÿZa``_`ÿ5lÿ\_ÿ68aÿÿc8`_a]ÿ8_9a8_ÿa8ÿÿ7ÿ8ÿa_aÿa[ÿa9Zÿ78ÿ7
  79ÿ_ÿÿ̀8aZÿZ_7ÿw7ÿa8_ÿY_ZZÿ\ÿa\Zÿ7ÿa8__aÿ_ÿÿ{7\8ÿ245ÿZ_7ÿ\ÿÿc`ÿZ_7
  8Zÿj78a7Yÿa
  ÿ
                                                                                                             caZÿ78ÿÿÿ5
118781791444553520534401224489                                                                    01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39          Page 277 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0-12
  ÿ
         -ÿ456578.ÿ9-4486/5.:ÿ;<=><?@AB?C
  ÿ
  ÿ
  EB
  ÿ
    FABGHBIÿJKLÿMKNO                                              ÿ                                P@QRS>=?ÿ7STH>Sÿ5SSTU>A@T=ÿ0<=?
  VWÿXÿY7Z8ÿWÿWÿ7XZ[ÿ88ÿ7ÿÿ7[XXÿ7Vÿ8XXWÿ\X88ÿ]ÿW[ÿ7Vÿ^W8X_ÿVWÿ88Xÿ7[[8ÿW
  `8aXWÿ7bÿWÿZ7ÿ8Wÿ7cÿ7ÿÿcÿZdÿ7ÿ9Z8ÿ34eÿ245ÿ̀8aXWÿ[ÿXÿ[X7ÿWÿÿ
  7VÿY7Z8ÿWÿWÿ87fÿXÿÿ̀aÿ8X9W8Xeÿ̀[Z87ÿ68WgÿcWÿ[ÿh8Xÿ̀ÿ7Vÿ9Z8ÿ34eÿ245e
  W87iX9W[jÿ52kÿ7Vÿÿ6ÿcWÿXlÿXÿ̀8aXWÿZÿWÿdXjÿ8XX
  ]ÿ6ÿW[7ÿÿ8XlWXlÿÿWÿ7X7eÿV8ÿWÿV78Xaÿ88jÿ8WWX7ÿ7ÿ87ÿV879ÿW178ÿ7ÿWb
  WlWWaÿ7VÿdWXVXWZ[ÿj9WXÿWÿX88[Wÿ8Xbÿ]ÿ8XlWXlÿWÿWÿaWXlÿX9Wÿ7ÿ8V789Wÿ8Xaÿ
  8X7
  ÿ
  2ÿÿÿ`W[ÿ78




118781791444553520534401224489                                                                1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                        6789ÿ 05/24/21
                                                                                       Entered        10:22:39                         Page 278 of 600

      !"#$ÿ&'ÿ(&)*$)*+
  ,-./0-12
  ÿ
         -ÿ456578.ÿ9-4486/5.:ÿ;<=><?@AB?C
  ÿ
  ÿ
  EB
  ÿ
    FABGHBIÿJKLÿMKNO                                                                    ÿ                                       P@QRS>=?ÿ7STH>Sÿ5SSTU>A@T=ÿ0<=?
  ÿ
                                                         7ITVARÿTWÿPXFTARBA@U>SÿYNKLKKKÿ2=ZB[AGB=A




  ÿ
                                    ÿ                                       ÿÿÿÿ           \]8^_ÿ\^ÿ̀a7^ÿ̀8 ÿ
                                                                                                                                   cÿ
                                    ÿ                                       ÿÿÿÿ 5ÿb^8ÿÿÿÿÿ 0ÿb^8ÿÿÿÿÿ 54ÿb^8ÿÿÿÿÿ dc             7ÿ
                                                                            ÿÿÿÿ            ÿÿÿÿ          ÿÿÿÿ             ÿÿÿÿ
                                       ec_`^ÿf7̀g^ÿ̀\`7̀^c7 ÿ4hÿ ÿ400ÿ ÿ 2ÿ ÿ 0hÿ
                                       6                                 ÿÿÿÿ            ÿÿÿÿ          ÿÿÿÿ             ÿÿÿÿ
                                       6aiÿ\`ÿ̀j78`ÿdk ÿÿÿÿ ÿ5ÿÿÿÿÿ ÿ23ÿÿÿÿÿ ÿ 4ÿÿÿÿÿ ÿ hÿ
  8ÿ7lÿcÿÿ^8ÿ^ÿ^g`ÿ7ÿ7ÿ8m̀ÿ^kÿ^ÿ^ÿ^87`8ÿl7`ÿ^nÿ7ÿ6ÿc8cgc7ÿ78ÿ7ÿÿ^`ÿ7mÿÿ6ÿ^8
  o8m789^ÿ8`ÿ8m̀ÿÿ78^^ÿ̀l^c]8ÿ^178ÿ8c9g89ÿ7mÿmÿkÿgnÿÿ\]c78ÿ\gÿcÿ̀c9c^c7pÿ8m789^ÿ8`ÿl7`ÿ^]ÿg
  7̀l8ÿaÿikÿ^ÿkc8ÿ7ÿq^^8nÿ35pÿ245
  immc]ÿ7ÿ6g8^8nÿ53pÿ245pÿÿec_`^ÿf7̀g^ÿ̀\`7̀^c7ÿ6ÿ7]8ÿm879ÿ^ÿ7ÿmÿ7ÿ^ÿ7̀ÿmpÿ^ÿg_^ÿ8^c_ÿ7ÿÿbiÿ8ÿ
  n9g7ÿ̀efrsÿ7ÿ6g8^8nÿ5pÿ245ÿaÿ8m789^ÿ^^ÿ8ÿ^g7]ÿ8m̀ÿ^ÿ7mÿ`^ÿtÿ^8ÿ7mÿÿ6ÿlÿcÿl^ÿ^ÿ7ÿmpÿe ubv
  w7ÿ88ÿcÿw^8ÿ245ÿ8m̀ÿ9^8xÿ8cÿaÿ7̀ÿ6ÿ8ÿÿ^9ÿc]9ÿ7gyc]ÿ^ÿ8^_nÿ^ÿcÿcÿgm78ÿcÿ7]8c7
  /RBÿFBIWTIG>=UBÿ?>A>ÿz<TAB?ÿRBIBÿIBFIB[B=A[ÿF>[AÿFBIWTIG>=UBÿ>=?ÿ@[ÿ=TÿQ<>I>=ABBÿTWÿW<A<IBÿIB[<SA[{ÿ2=ZB[AGB=AÿIBA<I=[ÿ>=?ÿFI@=U@F>SÿZ>S<BÿV@SSÿWS<UA<>AB
  [TÿAR>Aÿ>=ÿ@=ZB[ATI|[ÿ[R>IB[LÿVRB=ÿIB?BBGB?LÿG>XÿHBÿVTIARÿGTIBÿTIÿSB[[ÿAR>=ÿARB@IÿTI@Q@=>SÿUT[A{ÿ9<IIB=AÿFBIWTIG>=UBÿG>XÿHBÿSTVBIÿTIÿR@QRBIÿAR>=ÿARB
  FBIWTIG>=UBÿ?>A>ÿz<TAB?{ÿ0TIÿFBIWTIG>=UBÿ?>A>ÿU<IIB=AÿATÿARBÿGT[AÿIBUB=AÿGT=AR}B=?LÿFSB>[BÿZ@[@AÿT<IÿVBH[@ABÿ>AÿVVV{R@QRS>=?W<=?[{UTG{
  7xÿ8cÿ9^nÿm^`ÿ̀78ÿm^c̀ÿ7ÿ8cÿ7]8ÿc9ÿm78ÿ]8^ÿ̀8^7pÿc`c_ÿ_8^ÿ̀mc^c^ÿ̀9^8xÿ7cc7ÿ^ÿm^78ÿ8`^ÿ7ÿ^ÿcmcÿc8ÿ78ÿc8nÿa
  6ÿc]ÿcÿ_87lÿ7xÿ^ÿ9^nÿgÿ978ÿ]7`^c̀ÿg^ÿnÿ^8ÿ978ÿcc]ÿ7ÿ9^8xÿ7cc7ÿaÿ6ÿc]ÿcÿ9c^ÿ79^cÿlcÿ9^nÿ^c̀
  _8^8ÿ8cxÿ^ÿ̀ÿ̀c~ccnÿÿ7ÿ^887l8ÿ87ÿ̀cÿ^ÿ978ÿ̀c9cÿ878ÿ^ÿ̀^8_8ÿ79^cÿaÿ6ÿ9^nÿc]ÿcÿm78c_ÿ8ccÿlcÿ9^n
  ^ÿ978ÿ]7`^c̀cnÿ^ÿ̀ÿ̀c~ccnÿÿ7ÿ88nÿ^_pÿ7c̀c^ÿ̀c^gc̀cnÿ^ÿ^7c_ÿcmm8ÿaÿ6ÿc]9ÿcÿ8c]^c]ÿ9^nÿc]7`]ÿ978
  ]7`^c̀cnÿ^ÿ̀ÿ̀c~ccnÿg^ÿ7mÿÿ8cxÿ^ÿ^ÿc]9ÿ9^nÿ7ÿ788`^ÿ7ÿÿ8m789^ÿ7mÿÿ8ǹc_ÿ8cc
  w^ÿ̀mÿc]c_ÿc]7`]ÿ8cxÿc`c_ÿÿ7cg`ÿ̀7ÿ7mÿ8cc^`
  ÿ
                                                                                                                                                \^ÿ̀78 3              ÿÿÿ




118781791444553520534401224489                                                                                                              1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                             6789ÿ 05/24/21
                                                                            Entered        10:22:39                             Page 279 of 600

      !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ78.2ÿ9:-7105ÿ;<=><?@AB?C
  ÿ
  ÿ
  ÿ
                                                                            ÿ                                 E@FGH>=?ÿIHJK>Hÿ3HHJL>A@J=ÿ7<=?
  MNOPQ
          RPSTUÿVT7NUTÿWTT7UP7ÿ6ÿXÿ7ÿ87QPÿT7S89ÿS87Yÿ7ZÿUPUTÿUÿZ8ÿP79
  ÿ
          [Z8ÿP79ÿ9UÿÿUNPTP\ÿ7ÿU\ÿPQPÿPÿÿZ8]
       ÿWÿUÿ7Zÿ9N8ÿ34^ÿ245
  ÿ
          _22ÿ9PTTP7
  `78Z7TP7ÿUUÿUÿ7Zÿ9N8ÿ34^ÿ245
          aÿPZ789UP7ÿNT7Yÿ87QPÿUÿU7ÿ7ZÿRPSTUÿVT7NUTÿWTT7UP7ÿ6ÿUÿÿÿ7Zÿ
          878PSÿ8P7ÿRPSTUÿVT7NUTÿWTT7UP7ÿ6ÿPÿUPQT\ÿ9UUSÿUÿÿ797PP7ÿ7ZÿP
  ÿ
          78Z7TP7ÿYPTTÿUSÿ7Q8ÿP9ÿ88ÿUÿZ8ÿ7TPSÿU8ÿNOÿ7ÿ8PX
                            /BLAJbÿ,H>cc@d@L>A@J=cÿ>cÿJdÿefghegif;iC
                             7jÿklP\
                                                                            ÿÿÿÿ
                                                                            ÿÿÿÿ
                                                                                    ÿÿ0ÿ 25mÿ
                                                                                            ÿ
                             7jÿnU8ÿoP9Pÿ̀U88P                                      ÿÿÿÿ         ÿ24pmÿ
                            jÿP78ÿo7U                                                        ÿÿÿÿ         ÿ52mÿ
                            jÿklP\                                                              ÿÿÿÿ         ÿ mÿ
                             7jÿV7Q89ÿq7                                                  ÿÿÿÿ         ÿ 0mÿ
                             7jÿSP8ÿrQ9ÿ79UP                                   ÿÿÿÿ         ÿ 3mÿ
                            jÿoo ÿr8                                                        ÿÿÿÿ         ÿ 05mÿ
                            jÿ̀8Z88ÿ7X                                                     ÿÿÿÿ         ÿ p4mÿ
                             7jÿWqUXÿ8PP                                           ÿÿÿÿ         ÿ 3mÿ
                            jÿWS\ÿ7TTU8UTPsÿn78SUSÿMNTPSUP7                            ÿÿÿÿ         ÿ 3pmÿ
                             7jÿ7878Uÿq7ÿtÿ7                                            ÿÿÿÿ         ÿ 2mÿ
                             7jÿ̀8UÿMP7                                                ÿÿÿÿ         ÿ 2mÿ
                            jÿPS                                                              ÿÿÿÿ         ÿ 2pmÿ
                            M8ÿ[UÿTÿUÿ54m]                                              ÿÿÿÿ         ÿ 4pmÿ
                            M8ÿWÿtÿoPUNPTPP^ÿ                                           ÿÿÿÿ         ÿ[3p]mÿ
                                                                                                     ÿÿÿÿ         ÿ5444mÿ
  ÿ
                                                                                                                              ÿ
                                                                                                     ÿÿÿÿ         ÿ   ÿ




                            4JuÿieÿEJH?@=Fcÿ>cÿJdÿfghegveif;iC
                            wP8Uÿk8S\ÿ78ÿ[7jÿklP\]
                                                                                                             ÿÿ
                                                                                                             ÿÿ
                                                                                                                          ÿÿ ÿ
                                                                                                                          ÿ3pmÿ
                            a88U8ÿ7878UP7ÿ[jÿklP\]                                               ÿÿ           ÿ50mÿ
                            W8SPÿNTPÿV7Q89ÿr8UP7UTÿq7ÿ30m^ÿ521351243ÿ[7j
                                V7Q89ÿq7]                                                            ÿÿ           ÿ0mÿ
                            k8S\ÿa8UZ8ÿo`ÿ[jÿnU8ÿoP9Pÿ̀U88P]                            ÿÿ           ÿmÿ
                            6PTY77ÿk8S\ÿoo ^ÿT7PSÿUÿo7U^ÿ2ÿoPÿ05m^ÿp15512423ÿ[jÿP78
                                o7U]                                                                       ÿÿ           ÿ5mÿ
                            RPSTUÿk8S\ÿno`ÿ6ÿ[7jÿnU8ÿoP9Pÿ̀U88P]                    ÿÿ           ÿpmÿ
                            a88U8ÿ7878UP7^ÿa89ÿo7UÿWÿ5544m^ÿ21212424ÿ[jÿP78ÿo7U]          ÿÿ           ÿpmÿ
                            xPTTPU9ÿ7^ÿrÿ[7jÿklP\]                                               ÿÿ           ÿppmÿ
                            RPSTUÿn8S8ÿW8NP8USÿ6ÿ[jÿSP8ÿrQ9ÿ79UP]             ÿÿ           ÿ30mÿ
                            n`oyÿo`ÿ[7jÿnU8ÿoP9Pÿ̀U88P]                                     ÿÿ           ÿ30mÿ
  [5]ÿW
  ÿ
          ÿTUPZPUP7ÿUÿ7TPSÿU8ÿUTTUÿUÿUÿ8USÿ7Zÿ7UTÿÿUÿUÿÿ7ZÿT7SÿUÿ78ÿ7PP7
  ÿ
  p WUTÿ78
   ÿÿÿ




118781791444553520534401224489                                                                                     1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39          Page 280 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ71.3.,130ÿ/434585.4/
  ÿ
  ÿ
  3:
  ÿ
    ÿ;<ÿ/=>?=@A=BÿCDEÿFDGH                                        ÿ                              IJKLMNOPÿQM;ANMÿ3MM;RN?J;Oÿ7SOP
                                                     3ÿKSJP=ÿ?;ÿSOP=B:?NOPJOKÿ?L=ÿ7SOPT:ÿR;O:;MJPN?=Pÿ<JONORJNMÿ:?N?=@=O?:
  ÿ
            ,;O:;MJPN?=Pÿ1OU=:?@=O?ÿV;B?<;MJ; WÿXY9ÿZ78[7\]7ÿ^]\ÿÿ6_ÿ7\]`ÿ^ÿ]ÿ9^8aÿY^\ÿ^ÿ7[
                                                  ÿ\^ÿ^bÿ7[ÿÿ878]`ÿ8]7ÿZ78[7\]7ÿ7\]`ÿ^8ÿ78`^]cÿdbÿbÿ7[
                                             ÿÿÿÿ ^ÿ^ÿ]8bÿ7ÿ978^ÿ^8^ÿ7[ÿ78^]7ÿ^ÿ]Y8][]^]7
       ,;O:;MJPN?=Pÿ/?N?=@=O?ÿ;<ÿ3::=?:ÿNOP W]ÿ^9ÿ^]\ÿÿ6_ÿ^eÿ\]^d]\]]eÿÿ^ÿ^ÿ^8ÿ8]
                                  0JNAJMJ?J=: [78ÿ^ÿ^8ÿ\^ÿ^ÿ7[ÿÿ\^ÿ^bÿ7[ÿÿ878]`ÿ8]7ÿÿ^ÿ^8
                                                  ^\\^ÿdbÿd8^]`ÿ^\\ÿ7[ÿÿ6_ÿ\]^d]\]]ÿf]\]`ÿ^bÿ^]
                                                  ghÿ[879ÿÿ7^\ÿ7[ÿÿ6_ÿ]Y9ÿ^ÿ7]Y9ÿ^
                                                  Wÿÿ^ÿY^\ÿ8ÿ^8ÿ[78ÿ^ÿ\^ÿ]ÿ^\\^ÿdbÿ]Y]]`ÿ
                                                  ^ÿ^\\7^ÿ7ÿ^ÿ^8ÿ\^ÿdbÿÿ9d8ÿ7[ÿ^8ÿ7^]`ÿ]
                                             ÿÿÿÿ ^ÿ\
                                                        ^ÿ^ÿ7[ÿÿ\^ÿ^bÿ7[ÿÿ878]`ÿ8]7
       ,;O:;MJPN?=Pÿ/?N?=@=O?ÿ;<ÿ->=BN?J;O: W]ÿ^9ÿ878ÿ]79ÿ^8ÿdbÿÿ6ÿ^ÿÿgÿ]88
                                                dbÿ^ÿ6ÿ8]`ÿÿ878]`ÿ8]7ÿWÿ^9ÿ7[ÿi8^]7ÿ^\7
                                                7jÿ^bÿÿ̀^]ÿ78ÿ\7ÿÿ6ÿ8^\]cÿ7ÿÿ^\ÿ7[ÿ]ÿ7\]`ÿ8]`
                                                ÿ8]7ÿ^ÿj\\ÿ^ÿ^bÿ8^\]cÿ̀^]ÿ78ÿ\7ÿ87`]cÿ7Y8ÿ
                                                8]7ÿWÿ7^\ÿ7[ÿÿ8\ÿ88ÿÿ6_ÿÿ]8^ÿ78
                                           ÿÿÿÿ 8^ÿ] ÿÿ^ÿ[879ÿ78^]7
   ,;O:;MJPN?=Pÿ/?N?=@=O?ÿ;<ÿ,LNOK=:ÿJOÿ.=? W]ÿ^9ÿ^]\ÿ7jÿÿ6_ÿÿ^ÿj8ÿ^[[ÿdbÿ]ÿ78^]`
                                    3::=?: 8\eÿ]8]d]7ÿ7ÿ^87\8ÿ^ÿ^87\8ÿ8^^]7ÿf`e
                                               d8]]7eÿ89]7ÿ^ÿ]8]d]7ÿ8]Y9hÿ8]`ÿÿ878]`
                                               8]7ÿWÿ^9ÿ7[ÿ^`ÿ]ÿÿkÿ^\7ÿ^]\ÿ^`ÿ]ÿ
                                          ÿÿÿÿ 9d8ÿ7[ÿ^8ÿ7^] `
       ,;O:;MJPN?=Pÿ/?N?=@=O?ÿ;<ÿ,N:Lÿ7M;l: W]ÿ^9ÿ878ÿÿ^ÿ^ÿ[78]`ÿ88bÿ87Y]ÿ78ÿÿdb
                                                78^]`eÿ]Y]`ÿ^ÿ[]^]`ÿ^]Y]]ÿ^ÿÿÿ[[ÿ7[ÿ7ÿ[\7jÿ7
                                           ÿÿÿÿ ^ÿ^ÿ[78]`ÿ88bÿ8]`ÿÿ8]7
            ,;O:;MJPN?=Pÿ7JONORJNMÿIJKLMJKL?: Wÿ6]^]^\ÿm]`\]`ÿ978^ÿ7jÿÿ6_ÿÿ^ÿY^\ÿ8
                                                  ^8ÿj^ÿ^[[ÿdbÿÿ6_ÿ78^]`ÿ8\ÿWÿ6]^]^\ÿm]`\]`
                                                  ^\7ÿ]\7ÿÿ\^_ÿ8[789^ÿ^ÿ8^]ÿabÿ8^]7ÿf`eÿ
                                             ÿÿÿÿ gÿ^ÿÿ]  Y9ÿ]79ÿ^ÿ^ÿ8^`ÿ7[ÿ^Y8^`ÿÿ^h
              ,;O:;MJPN?=Pÿ.;?=:ÿ?;ÿ7JONORJNM Wÿ7ÿ]\7ÿÿ78`^]c^]7^\ÿd^a`87ÿ7[ÿÿ6eÿ8^]ÿ7[
                                  /?N?=@=O?: ]8ÿ]`][]^ÿ^7]`ÿ7\]]ÿf]\]`ÿ7ÿ887]`ÿ8]b
                                                 Y^\^]7eÿ]79ÿ87`]]7ÿ^ÿ]8]d]7ÿ7ÿ^87\8heÿ[8^\ÿ^g
                                                 ][789^]7eÿ[ÿ^ÿ79^]7ÿ^]ÿ7ÿ^[[]\]^ÿ^ÿ]`][]^ÿ8]aÿ^
                                            ÿÿÿÿ 7]`]
  ÿ
                                                                                                           k^\ÿ78ÿÿÿ0



118781791444553520534401224489                                                                 1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                             6789ÿ 05/24/21
                                                                            Entered        10:22:39                   Page 281 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ1.75/485.4ÿ9-:4;-01-
  ÿ
  ÿ
  3=
  ÿ
    ÿ>?ÿ/@AB@CD@EÿFGHÿIGJK                                                  ÿ                                   LMNOPQRSÿTP>DQPÿ3PP>UQBM>Rÿ;VRS
  ÿÿÿÿ/OQE@=ÿÿÿÿ                                  ÿ ÿÿÿÿ7QPV@ÿabcÿÿÿÿÿ          ÿÿÿ/OQE@=ÿÿÿÿ                                       ÿÿÿÿÿ7QPV@ÿabcÿÿÿÿÿ
  ÿ.>Rdef/fÿ5gVMBhÿdÿijfik                                             ÿ        e4101415/ÿaU>RBMRV@Sc
                                                                                  54lq44ÿÿ Y9Yÿ8[_Yÿ}ÿoYpo]pop             ÿÿ 5ll5qÿ
                                                                                                                                                      ÿ
  ÿ,-88e.1,341-.ÿ/5:71,5/ÿdÿIfFk                                        ÿ       3l05l44ÿÿ _8Yÿ8[Zÿ78ÿoYpop               ÿÿ 542l0l5qÿ
  ÿ535l33ÿÿ Y]X^__7ÿm7X_[lÿXYÿnÿoYpo]p ÿ ÿ               3lÿ          q0l34ÿÿ 7XYX_YÿoYpo]p                         ÿÿ        qlq5ÿ
  ÿlÿÿ W87ÿXY8_lÿXYÿnÿoYpo]p               ÿÿ           q5l34ÿ                 ÿ                                         ÿÿ 540ll5ÿ
  ÿ5l5ÿÿ _mY8r_YlÿsÿoYpo]p                 ÿÿ        5l4l50ÿ
                                                                                                                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ




                t78YXÿYÿuÿ799_Y_7lÿsÿoYp                                          x7YXÿ7{ÿ_Zÿ
                                                                                                                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ




  ÿ52lq0ÿÿ o]pop                                  ÿÿ        0l3l23ÿ                 ÿ        o7ÿ230l43ql0p               ÿÿ 53l30l45ÿ
           ÿ                                         ÿÿ        llÿ       ef/fÿ5gVMBhÿdÿIjfFk                                                      ÿ
                                                                                                                                                         ÿ
                                                                                                                                    ÿ   ÿ   ÿ

          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ,-./e85:ÿ21/,:541-.3:vÿdÿwfFk                                        ÿ       ,L581,30/ÿdÿGfIk                                                          ÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ5l244ÿÿ r8Y7t_]8lÿsÿoYpo]pop             ÿÿ        l2l2ÿ         5l3ÿÿ 8XXÿ_YX_ÿsÿo]popop    ÿÿ             35l5ÿ
  ÿ 5ÿÿ x7Zÿyzÿ{ÿoYpo]p                         ÿÿ          5l32ÿ       ,-88e.1,341-.ÿ/5:71,5/ÿdÿJ~fGk                                            ÿ
  ÿ 5ÿÿ x8ÿ|_lÿsÿoYpo]p                      ÿÿ        3l0l50qÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




           ÿ                                         ÿÿ       52l5lq4ÿ                     XY8ÿYXÿ778ÿm7X_[lÿsl
                                                                                   ql24ÿÿ XYÿ}ÿo]p                              ÿÿ             525lqÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ,-./e85:ÿ/43905/ÿdÿGfJk                                              ÿ         5l035ÿÿ x88Y8ÿ7878Y_7ÿo]popopo\po[p    ÿÿ          ql53ql4qÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ04l444ÿÿ }7Y[87ÿ}ÿoYpo]pop                   ÿÿ          25l044ÿ                ÿ



                                                                                          ÿ                                         ÿÿ
                                                                                                                                    ÿ   ÿ   ÿ



                                                                                                                                                ql20l55ÿ
                                                                                                                                                         ÿ




  ÿ5.5:Tvÿdÿ~fk                                                        ÿ       ,-./e85:ÿ21/,:541-.3:vÿdÿJfFk                                             ÿ
                                                                       ÿ
          ÿ                                       ÿ   ÿ   ÿ                                                                                              ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ




  ÿ 0l444ÿÿ 7_YXÿ78lÿsÿoYp           ÿÿ          503l04ÿ         5q5l250ÿÿ |52lÿsÿo]pop                        ÿÿ           3l2l4ÿ
  ÿ2l05ÿÿ Yÿ78ÿoYpo]pop                 ÿÿ          55l3ÿ             ÿÿ tY8ÿ78lÿXYÿnÿoYpop              ÿÿ              34l4ÿ
  ÿ03l244ÿÿ XY_ÿWÿm7X_[ÿtlÿXYÿ}ÿoYp ÿ ÿ              5l52lq3ÿ                 ÿ                                         ÿÿ           3l0l4qÿ
  ÿ0lq44ÿÿ 9W87ÿ78lÿXYÿ}ÿoYp                ÿÿ          25l0ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ553l444ÿÿ xY8[Yÿ78ÿ78ÿoYpop             ÿÿ        ql03l254ÿ       ;1.3.,130/ÿdÿGfwk                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ 525ÿÿ x8Y7YÿoYpo]p                          ÿÿ              0q5ÿ           ql044ÿÿ sxÿW87lÿs                          ÿÿ             243l0ÿ
  ÿ03l44ÿÿ _XX_Y9ÿ7lÿsÿoYp                  ÿÿ       52l3l42ÿ          5l00ÿÿ _ÿm7X_[ÿ78ÿo]p                 ÿÿ               5l22ÿ
          ÿ



           ÿ                                      ÿ



                                                     ÿÿ
                                                      ÿ   ÿ



                                                              5l03l5q5ÿ
                                                                       ÿ



                                                                                  330l444ÿÿ rXZÿY_YX                           ÿÿ             l04ÿ
  ÿ;1.3.,130/ÿdÿIfIk                                                    ÿ                 ÿ                                         ÿÿ           5l42l3ÿ
                                                                                                                                                         ÿ
                                                                       ÿ                 ÿ                                          ÿ   ÿ   ÿ
          ÿ                                       ÿ   ÿ   ÿ




  ÿl444ÿÿ nY7ÿ7ÿn8Y_XÿoYpop                   ÿÿ          qqlq5ÿ       L5304L,3:5ÿdÿ~fJk                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ544l444ÿÿ 6Wtÿm7X_[ÿoYpop                     ÿÿ          l444ÿ          50l244ÿÿ }8_ÿY89Y_YXlÿsÿo]pop      ÿÿ             22l5qqÿ
  ÿ5l0ÿÿ W87ÿ8^_XXÿ}ÿ}ÿoYpop ÿ ÿ                 4l23qÿ          5l20ÿÿ n877YXÿ_78ÿt_^_[lÿsÿo]p        ÿÿ             ql55ÿ
  ÿ24l044ÿÿ snÿn8Y_Xÿ[87ÿÿoYpop          ÿÿ        2l02ql0qÿ          5l44ÿÿ 7XX[_9ÿY89Y_YXlÿsÿo]p       ÿÿ             25l2ÿ
  ÿ24l444ÿÿ sYÿ{_]Y7ÿm7X_[ÿ}ÿoYp           ÿÿ        5l32lq4ÿ         232l44ÿÿ m87ÿx8Y_lÿsÿo]pop         ÿÿ           ql34l44ÿ
          ÿ



           ÿ                                      ÿ



                                                     ÿÿ
                                                      ÿ   ÿ



                                                               lq40l4ÿ
                                                                       ÿ



                                                                                  55l444ÿÿ r_8^Yÿ87_lÿsÿo]pop       ÿÿ           5lq4l204ÿ
  ÿL5304L,3:5ÿdÿGfGk                                                    ÿ         3q0l304ÿÿ Y87                               ÿÿ           l50ql53ÿ
                                                                                   0l444ÿÿ 787XYÿY89Y_YXlÿsÿo]pop    ÿÿ           2l455l044ÿ
                                                                       ÿ
          ÿ                                       ÿ   ÿ   ÿ




  ÿ 0l444ÿÿ s78_YlÿtÿoYpo]pop                  ÿÿ          523l405ÿ          0l44ÿÿ 789ÿmYXÿ78ÿo]p                  ÿÿ              l5ÿ
  ÿ1.2e/4:130/ÿdÿIfKk                                                   ÿ         502l44ÿÿ 8[8ZÿY88lÿsÿo]pop           ÿÿ           5l52lq2ÿ
                                                                       ÿ
          ÿ                                       ÿ   ÿ   ÿ




  ÿq40l554ÿÿ }98_Yÿ}_878ÿoYpo]pop              ÿÿ        5l30l5qÿ         325l344ÿÿ xWÿx8Y_lÿsÿo]pop            ÿÿ           5l4ql544ÿ
  ÿ4l2qÿÿ }98_Yÿ}_8X_ÿW87lÿsÿoYpop ÿ ÿ           2l5ql35ÿ           2l44ÿÿ {X8Y[ZÿY89Y_YXlÿsÿo]p     ÿÿ             55lqÿ
  ÿl00ÿÿ Wtÿ^ÿoYp                            ÿÿ        2l5l5qÿ
                                                                                         ÿ



                                                                                          ÿ                                         ÿÿ
                                                                                                                                    ÿ   ÿ   ÿ



                                                                                                                                                5l4ql443ÿ
                                                                                                                                                         ÿ




  ÿ250l444ÿÿ t7YX_YÿÿYÿY8ÿoYpop               ÿÿ        2l3qlq04ÿ       1.;-:8341-.ÿ45,L.-0-TvÿdÿGfFk                                             ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




          ÿ



           ÿ                                      ÿ



                                                     ÿÿ
                                                      ÿ   ÿ



                                                               l0qql45ÿ
                                                                       ÿ




                                                                                   25l344ÿÿ |ÿWX7]YXlÿs                         ÿÿ           5l42ql35ÿ
  ÿ1.;-:8341-.ÿ45,L.-0-TvÿdÿFfwk                                        ÿ       8345:130/ÿdÿJfIk                                                          ÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ3q2lqÿÿ }^YZYÿm7X_[ÿ78ÿoYpo]p              ÿÿ        3l04l3ÿ         34lqqÿÿ rrÿm7X_[lÿsÿo]p                  ÿÿ           3l02lq24ÿ
  ÿ 3lq4ÿÿ nXYÿ|_[lÿsÿoYpo]p                 ÿÿ          24l4ÿ       :530ÿ5/4345ÿdÿIfjk                                                        ÿ
  ÿ l244ÿÿ 678_lÿsÿoYpo]p                    ÿÿ          q0l52ÿ
                                                                                                                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ




  ÿ5l2ÿÿ 7 7lÿXYÿ}ÿoYpo]pop               ÿÿ        0ll02ÿ             544ÿÿ W}6ÿsxÿo]po\p                         ÿÿ               5l444ÿ
           ÿ                                         ÿÿ        ll542ÿ         55ql344ÿÿ sÿYXZÿx8lÿslÿsx   ÿÿ           5l30l33ÿ
                                                                                  545l5ÿÿ 8_[YÿY_YXlÿslÿsxÿop         ÿÿ           5l5l22ÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ8345:130/ÿdÿGfjk                                                     ÿ          20l34ÿÿ rY8_ÿ7ÿoxplÿsxÿop             ÿÿ             45l0qÿ
          ÿ                                       ÿ   ÿ   ÿ            ÿ




  ÿ25l44ÿÿ {_ÿYÿXÿ78ÿoYpop         ÿÿ        2l03l4ÿ          5l52ÿÿ 7_ÿ__YXÿx8lÿsxÿo\p     ÿÿ           2l0l440ÿ
  ÿe4101415/ÿdÿFifjk
          ÿ                                       ÿ   ÿ   ÿ
                                                                       ÿ




                                                                        ÿ          qql3ÿÿ }sxÿ6_Y_YXÿx8lÿsxÿo]p          ÿÿ               2l25ÿ
  ÿ242l204ÿÿ 8YXÿ87ÿ}ÿoYpo]p                ÿÿ          0l3ÿ         24l444ÿÿ {_ÿ^X79ÿ6_[ÿslÿsx     ÿÿ           5l422l444ÿ
  ÿ 5l504ÿÿ Wÿ8[ZlÿsÿoYp                      ÿÿ           q0l0q4ÿ                 ÿ                                         ÿÿ           l35l033ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




                                                                                         ÿ



                                                                                               x7YXÿ{ÿ_Zÿ                   ÿ   ÿ   ÿ            ÿ




                                                                                          ÿ       o7ÿ545ll24p                ÿÿ
                                                                                                                                    ÿ   ÿ   ÿ
                                                                                                                                                3l0l25ÿ
                                                                                                                                                         ÿ




  ÿ
      ÿWX7Y8Zÿ7ÿY[ÿ55ÿ\78ÿY]]8^_Y_7ÿYX7[ÿ̀_ÿY79YZ_[ÿ7ÿ7ÿ77X_Yÿ6_Y_YX
  ÿÿÿY9


118781791444553520534401224489                                                                                         541
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                6789ÿ 05/24/21
                                                                               Entered        10:22:39                  Page 282 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ1.75/485.4ÿ9-:4;-01-ÿ<=>?@A?BCDE
  ÿ
  ÿ
  3G
  ÿ
    ÿ>Hÿ/CI@CJKCLÿMNOÿPNQR                                                     ÿ                                   SATUVW?DÿXV>KWVÿ3VV>=W@A>?ÿ;B?D
  ÿÿÿÿ/UWLCGÿÿÿÿ                          ÿ ÿÿÿÿ7WVBCÿ<cEÿÿÿÿÿ                     ÿÿÿ/UWLCGÿÿÿÿ                                    ÿ ÿÿÿÿ7WVBCÿ<cEÿÿÿÿÿ
  ÿ.>?def/fÿ8WG@CLÿ0AJA@CDÿ9WL@?CLGUAIGÿdÿPNfgh              ÿ                     :530ÿ5/4345ÿ<=>?@A?BCDE
                                                                                    kjk3jkÿÿ 6ÿvn~6ÿ~~jÿnn ÿpqpqp^q          ÿÿ kj03j3k5ÿ
                                                                                                                                                       ÿ
  ÿ5.5:XiÿdÿPNfgh                                                          ÿ        3jj44ÿÿ 6ÿvn~6ÿ~~~jÿnn ÿpqpqp^q         ÿÿ 3j05jÿ
  ÿ 5jkj544ÿÿ l8]\ÿm8[^8ÿnoÿp[qpq         ÿÿ             5j4j22ÿ                      m7[Zÿwÿnn ÿ~8ÿ
  ÿ 333j44ÿÿ l88aÿo87ÿo[88ÿnoÿp[q ÿÿ              j0k2j2ÿ
                                                                                             ÿ                                      ÿ   ÿ   ÿ            ÿ




                 ra]Z[ÿl8]\ÿsnoÿ6j                                                    ÿ       p7ÿx50j444j444q             ÿÿ 50j24jkÿ
  ÿ 0j5j53ÿÿ Z[ÿtÿp[qp^q                     ÿÿ             5kjk50jÿ       ef/fÿ9LCHCLLCDÿ/@>=ÿdÿgfNh                                           ÿ
                                                                                                                                    ÿ   ÿ   ÿ            ÿ




  ÿ 3j44ÿÿ sonuÿnoÿp[q                         ÿÿ             54j2jkÿ       ;1.3.,130/ÿdÿQfgh                                                      ÿ
  ÿ 54jk44ÿÿ ZZÿsa8[9ÿo[88ÿnoÿp[q ÿÿ                     252j4ÿ          52j05ÿÿ 68[Zÿr79ÿn7[ÿs78][]ÿp_qpq   ÿÿ           2j4j0ÿ
  ÿ 200j044ÿÿ v8ÿsa8[9ÿo[88ÿnoÿp[qpqÿÿ              j30j30ÿ                     68[Zÿ[a7[Zÿs78][]
                   m7[Zÿ7wÿs[8ÿna9a                                         0j233ÿÿ |7a[a7ÿp_qpq                  ÿÿ           5j32j45ÿ
                                                                          ÿ
              ÿ                                      ÿ   ÿ   ÿ




                       o[88aÿ                                                          ÿ                                     ÿÿ           kj430j00ÿ
              ÿ        p7ÿx543j5j5q         ÿÿ             4jk30j32ÿ
                                                                                             ÿ                                      ÿ   ÿ   ÿ            ÿ




                                                                                   :530ÿ5/4345ÿdÿPfyh                                                     ÿ
                                                                                             ÿ                                      ÿ   ÿ   ÿ            ÿ
                                                                          ÿ




  ÿÿÿÿ9LA?=AIWVÿ3J>B?@ÿ<cEÿÿÿÿ
                                                     ÿ   ÿ   ÿ




                                                                           ÿ                     8[9[8ÿr7Zÿÿ78jÿ~j
  ÿef/fÿ/C?A>Lÿ0>W?Gÿ<UEÿdÿQPfyh                                          ÿ           34jÿÿ l~mÿpq                            ÿÿ           j3j32ÿ
                                                                                                   m7[Zÿwÿo8^88ÿ7ÿ
                                                                                             ÿ                                      ÿ   ÿ   ÿ            ÿ




  ÿ,S581,30/ÿdÿNfgh                                                        ÿ                  ÿ       p7ÿxj20j2kkq              ÿÿ          55j3j05ÿ
                   z8ZZÿr7Za]ÿnn ÿ7ÿna                                                                                                    ÿ




                                                                                   ÿÿÿ9LA?=AIWVÿ3J>B?@ÿ<cEÿÿÿÿ
                                                                                                                                    ÿ   ÿ   ÿ




  ÿ 5j542j25ÿÿ m89ÿn7[jÿ54135125ÿpqpq              ÿÿ        5j4j54ÿ                                                                              ÿ
  ÿ,-88e.1,341-.ÿ/5:71,5/ÿdÿgf{h                                           ÿ       .>?def/fÿ3G| GCa@dÿW =CDÿ/C=BLA@ACGÿdÿMfyh                        ÿ
              ÿ                                      ÿ   ÿ   ÿ            ÿ




                   m88[8ÿ7878[a7jÿm89ÿn7[ÿ|j                                                    njÿnjÿ8aÿ245k3|j
  ÿ5kj33jkÿÿ 55444}ÿo~jÿ4212124ÿpqpqp^q ÿÿ               5kj33jkÿ                          Z[ÿlÿz|ÿn~ÿwÿ3
  ÿ5.5:XiÿdÿyfQh                                                           ÿ                        s7k04}jÿ44}jÿ2151242ÿp[q
              ÿ                                      ÿ   ÿ   ÿ            ÿ




                   6aZb77ÿl8]\ÿnn jÿZ7a]ÿ[                                kj444j444ÿÿ     pqpZqpq                         ÿÿ         3j444j444ÿ
                     n7[jÿ2ÿnajÿz|ÿn~ÿw                                                |aÿnjÿnjÿ8aÿ245kk|j
  ÿ23jk3jk35ÿÿ 3ÿs7204}jÿ4k155123                ÿÿ       5j3jkÿ                          Z[ÿlÿz|ÿn~ÿwÿ3
  ÿ:54310ÿdÿNfh
                                                                          ÿ




                                                                           ÿ                        s7k44}jÿ40}jÿ0151242ÿp[q
                                                                                    2j044j444ÿÿ     pqpZqpq                         ÿÿ         5j0j444ÿ
              ÿ                                      ÿ   ÿ   ÿ




                   |[9\jÿnjÿ~aa[Zÿm89ÿn7[jÿz|                                          |aÿnjÿnjÿ8aÿ245kk|j
                     n~ÿw                                                                        Z[ÿ6ÿz|ÿn~ÿwÿ3
  ÿ 5jkj2ÿÿ 3ÿs7k444}jÿ4145122                ÿÿ        5j34j3kÿ                        s70504}jÿk4}jÿ0151242ÿp[q
  ÿ/5:71,5ÿdÿNfh                                                          ÿ        kj444j444ÿÿ     pqpZqpq                         ÿÿ         2jk44j444ÿ
              ÿ                                      ÿ   ÿ   ÿ            ÿ




                   |`[[]ÿ[Zÿÿs[8a]ÿ~j                                               |aÿnjÿnjÿ8aÿ245k0|j
                     m89ÿn7[jÿ2ÿnajÿz|ÿn~                                                   Z[ÿl5ÿz|ÿn~ÿwÿ3
  ÿ 2j044j444ÿÿ wÿ3ÿs7044}jÿ4120122 ÿÿ                   2j53j53ÿ                        s7024}jÿ}jÿ55151242ÿp[q
                                                                                    3j044j444ÿÿ     pqpZqpq                         ÿÿ         2j44j444ÿ
  ÿe4101415/ÿdÿNfQh                                                        ÿ                      ra]Z[ÿo[8ÿÿ~jÿnj
              ÿ                                      ÿ   ÿ   ÿ            ÿ




                   m[ÿ79aàÿlZ8aÿr7Za]                                               8aÿ2445|jÿZ[ÿ|2ÿ
  ÿk5j43j003ÿÿ 7jÿnn jÿlÿl87bÿn7[ ÿÿ                   20j42ÿ                        z|ÿn~ÿwÿ3ÿs74k44}j
                     m7[Zÿwÿa78ÿn7[ÿ                             ÿ


                                                                                     3kjk3kÿÿ      340}jÿ5512012405ÿp[qpqpZq       ÿÿ          33j55ÿ
                                                                                                  o[97ÿ[\9[jÿnjÿ8aÿ55|j
              ÿ                                      ÿ   ÿ   ÿ




                ÿ        p7ÿx0kj334j55q              ÿÿ       3j5jk3ÿ                          Z[ÿ
  ÿ.>?def/fÿX>CL?JC?@ÿ>?Dÿdÿ{fh                                        ÿ           355jÿÿ     5}jÿÿ112453ÿp[qpqpqpZq     ÿÿ           53j22ÿ
                                                                          ÿ
                                                     ÿ   ÿ   ÿ




  ÿ/-75:51X.ÿdÿ{fh                                                       ÿ
                                                                                             ÿ



                                                                                                    m7[Zÿ7wÿ|[        ÿ   ÿ   ÿ            ÿ




                 |8]aÿ_ZaÿY7`89                                                ÿ         8aaÿp7ÿx53j403j0q ÿÿ         54j0kj53ÿ
                   ~8[a7[Zÿ7ÿ30}j                                       ef/fÿ3TC?=6ls6ÿ
                                                                                              ÿ,>VVW@s7
                                                                                                     CL8W]V[A]CÿDÿ8>L@TWTCÿ-KVATW@A>?ÿdÿMfgh ÿ
                                                                                                                                    ÿ   ÿ   ÿ            ÿ




  ÿ2j044j444ÿÿ 020}jÿ4313515jÿ5213513ÿp[qpaq ÿÿ              20j4j04ÿ                                       m8jÿ8aÿ245
              ÿ



                   m7[Zÿ7wÿY7`89ÿ7ÿ     ÿ   ÿ   ÿ            ÿ




                                                                                                    64jÿZ[ÿÿ
              ÿ        p7ÿx34j3k3j43q         ÿÿ              20j4j04ÿ                        z|ÿn~ÿwÿ   5ÿs7444}j
                                                                                   54j44jkÿÿ     4}jÿ21201242ÿpqpZqpq       ÿÿ          jkj3ÿ
                                                                          ÿ




  ÿÿÿÿ/UWLCGÿÿÿÿ
                                                     ÿ   ÿ   ÿ




                                                                           ÿ                 ÿ



                                                                                                    m7[Zÿwÿ|]\ÿ7ZZ[8[Za ÿ   ÿ   ÿ            ÿ




  ÿef/fÿ00,ÿ1?@CLCG@ÿdÿfQh                                               ÿ                            s78][]ÿ_Za][a7
                                                                                             ÿ         p7ÿxjkjk4q ÿ            ÿÿ          jkj3ÿ
  ÿ:530ÿ5/4345ÿdÿfQh                                                      ÿ       .>?def/fÿ,>LI>LW@Cÿ>?DGÿÿ.>@CGÿdÿPfyh                               ÿ
                                                                                                                                    ÿ   ÿ   ÿ            ÿ




  ÿ j3jkkÿÿ 6ÿvn~6ÿ~jÿnn ÿpqpqp^q            ÿÿ           j5jkkÿ
                                                                                   ,-88e.1,341-.ÿ/5:71,5/ÿdÿNfMh                                         ÿ
                                                                                             ÿ ar[8799a[a7jÿ~            ÿ
                                                                                     350j0kÿÿ 3}jÿ4014512ÿp[q                  ÿÿ            3k2jk0ÿ
                                                                                     0kjk3ÿÿ 3}jÿ4014512ÿp[q                  ÿÿ            3kj304ÿ
                                                                                             ÿ
                                                                                             ÿ




                                                                                             ÿ
                                                                                                                                    ÿÿ
                                                                                                                                    ÿ




                                                                                                                                    ÿ
                                                                                                                                        ÿ




                                                                                                                                        ÿ
                                                                                                                                            ÿ




                                                                                                                                            ÿ
                                                                                                                                                  j30ÿ
                                                                                                                                                         ÿ




                                                                                                                                                         ÿ




  ÿ
  ÿYZ7[8\ÿ7ÿ[]ÿ55ÿ^78ÿ[__8`a[a7ÿ[Z7]ÿbaÿ[79[\a]ÿ7ÿ7ÿ77Za[ÿ6a[a[Z
                                                                                     [9ÿÿÿ

118781791444553520534401224489                                                                                          551
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                             6789ÿ 05/24/21
                                                                            Entered        10:22:39                  Page 283 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ1.75/485.4ÿ9-:4;-01-ÿ<=>?@A?BCDE
  ÿ
  ÿ
  3G
  ÿ
    ÿ>Hÿ/CI@CJKCLÿMNOÿPNQR                                                  ÿ                                   SATUVW?DÿXV>KWVÿ3VV>=W@A>?ÿ;B?D
  ÿÿÿÿ9LA?=AIWVÿ3J>B?@ÿ<cEÿÿÿÿ          ÿ ÿÿÿÿ7WVBCÿ<cEÿÿÿÿÿ                    ÿÿÿe?A@Gÿÿÿÿ                                        ÿÿÿÿÿ7WVBCÿ<cEÿÿÿÿÿ
  ÿ.>?def/fÿ,>LI>LW@Cÿg>?DGÿhÿ.>@CGÿ<=>?@A?BCDE            ÿ                    ef/fÿWLLW?@Gÿ<KEÿdÿNfQj                                                 ÿ
  ÿ5.5:XiÿNfRj                                                          ÿ       ;1.3.,130/ÿdÿNfNj                                                        ÿ
                   l[ÿa]ÿmnkÿo                                             0k00ÿÿ aÿ~7Za]ÿ78kÿx}a8ÿ42141242 ÿÿ                35qÿ
  ÿ3k43k444ÿÿ 20pkÿ4q14515ÿr[sÿrsrsrZsr9s ÿÿ            2k00k2ÿ       S5304S,3:5ÿdÿNfQj
                                                                                         ÿ                                          ÿ   ÿ   ÿ




                                                                                                                                                         ÿ
                                                                                                                                                         ÿ




                   [_Zÿt89a[ÿ78ÿu[                                             ~uÿy8[akÿok
  ÿ        24ÿÿ 3pkÿ55145125ÿr[srZs ÿ ÿÿ                          q0ÿ          q2k432ÿÿ x}a8ÿ52135124qÿrÿsrs              ÿÿ            5k3ÿ
              ÿ



                ÿ                                  ÿÿ
                                                   ÿ   ÿ   ÿ



                                                               2k00k2ÿ
                                                                       ÿ



                                                                                         ÿ



                                                                                              y7[Zÿmÿn[88[ÿ                  ÿ   ÿ   ÿ            ÿ




  ÿe4101415/ÿdÿQfvj                                                     ÿ                 ÿ       r7ÿ{s                          ÿÿ            5k5ÿ
                                                                       ÿ
              ÿ                                    ÿ   ÿ   ÿ




                ÿ t[a^aÿY[ÿwÿxZ8a           ÿ                            .>?def/fÿWLLW?@Gÿ<KEÿdÿNfQj
                                                                                                                                    ÿ   ÿ   ÿ




                                                                                                                                                         ÿ
                                                                                                                                                         ÿ




  ÿ 5k4qk444ÿÿ 40pkÿ4314513qÿr[sr9s             ÿÿ          5k2qk54ÿ
  ÿ 5k25k444ÿÿ 20pkÿ4314513ÿr[sr9s             ÿÿ          5kq5qk4q4ÿ       ,-88e.1,341-.ÿ/5:71,5/ÿdÿNfNj                                            ÿ
  ÿ 5k25k444ÿÿ 30pkÿ4215013ÿr[sr9s             ÿÿ          5kq2k234ÿ                   a~[8799a[a7kÿokÿx}a8
              ÿ



                ÿ                                  ÿÿ
                                                   ÿ   ÿ   ÿ



                                                               qk4kq34ÿ
                                                                       ÿ




                                                                                    5k54ÿÿ 401451243r[s                           ÿÿ             5k50ÿ
              ÿ



                     y7[Zÿ7mÿ7878[ÿz7ÿw ÿ   ÿ   ÿ           ÿ




                                                                                1.2e/4:130/ÿdÿNfQj                                                       ÿ
                                                                                                                                                         ÿ




                          7
                                                                                         ÿ                                          ÿ   ÿ   ÿ




                ÿ       r7ÿÿ{3k20k20s         ÿÿ          k23k43ÿ       5k24k32ÿÿ 98a[ÿa8Zaÿr[s                   ÿÿ            2k3ÿ
  ÿ.>?def/fÿ9BL=UW GCDÿ-I@A>?Gÿ<WE<KEÿdÿPf|j                           ÿ        1.;-:8341-.ÿ45,S.-0-XiÿdÿNfNj                                            ÿ
                                                                                                                                                         ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ
                                                   ÿ   ÿ   ÿ           ÿ




                y7[Zÿ7mÿt8[ÿla7                                     3kq2ÿÿ `[\[ÿ~7Za]kÿx}a8ÿ521512422r[s   ÿÿ             q4kÿ
              ÿ         r7ÿ{k54k53s           ÿÿ          kq3k3ÿ                     y7[Zÿ7mÿn[88[
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




                                                                       ÿ
                                                                                          ÿ      r7ÿ{kqqs                      ÿÿ            3qkqÿ
  ÿÿÿÿe?A@Gÿÿÿÿ
                                                   ÿ   ÿ   ÿ

                                                                                                                                                         ÿ




                                                                                ÿÿÿ/UWLCGÿÿÿÿ
                                                                                                                                    ÿ   ÿ   ÿ




                                                   ÿÿ                   ÿ                                                           ÿÿ                   ÿ
  ÿef/fÿ:ATU@Gÿ<KEÿdÿPfvj                                              ÿ        .>?def/fÿ:C   TAG@CLCDÿ1?CG@JC?@ÿ,>JIW?ACGÿdÿfMj                       ÿ
  ÿe4101415/ÿdÿPfvj                                                     ÿ                   zzÿ778[a9ÿ~a]Z[ÿo^8[88
                   y}[ÿ79aàÿxZ8aÿ~7Za]                             54k444ÿÿ uu ÿr[srsrsr^s                          ÿÿ          3kq3k45ÿ
  ÿ k40k5q3ÿÿ 7kÿuu                                ÿÿ       kk402ÿ                  ~a]Z[ÿ8]8ÿ8_a8[]ÿ6k
              ÿ



                     y7[Zÿmÿa]ÿ            ÿ   ÿ   ÿ           ÿ



                                                                                 0qqk0ÿÿ Z[ÿÿr[sr^s                             ÿÿ         54kqq0kq4ÿ
                ÿ       r7ÿ{22k42k2s             ÿÿ       kk402ÿ                   }t7aÿ8[]aÿl78aaÿ6ÿr[s
                                                                       ÿ


                                                                                 q3k535ÿÿ r^s                                       ÿÿ          k5k2ÿ
  ÿÿÿÿ9LA?=AIWVÿ3J>B?@ÿ<cEÿÿÿÿ
                                                   ÿ   ÿ   ÿ




                                                      ÿÿ                ÿ
                                                                                         ÿ



                                                                                             y7[Zÿ7mÿ]a8ÿo`9     ÿ   ÿ   ÿ            ÿ




                                                                                                  79[a
  ÿ.>?def/fÿ/C?A>Lÿ0>W?ÿ<UEÿdÿNfvj                                     ÿ                 ÿ       r7ÿ{2qkÿk4s                  ÿÿ         25kqk35ÿ
  ÿ,-88e.1,341-.ÿ/5:71,5/ÿdÿNfvj                                       ÿ        ef/fÿ,WGUÿ5BAWVC?@ÿdÿNfQj                                              ÿ
                                                                                                                                    ÿ   ÿ   ÿ            ÿ




                a~[8799a[a7ÿokÿoaa[Z                               8-.5iÿ83:54ÿ;e.2<>EÿdÿNfQj                                    ÿ
                  y89ÿu7[kÿ5ÿuakÿ4014512ÿr[s                                        8\^ÿy8[8\ÿwÿ]\ÿ[
  ÿ 5k552k35ÿÿ r9s                                 ÿÿ         5k524k53ÿ        24k42ÿÿ [[]9kÿoaa7[ZÿZ[ÿ554p ÿÿ     24k42ÿ
                  y7[Zÿ7mÿa78ÿu7[
                                                                       ÿ




                                                                                             y7[Zÿmÿ[ÿxà[Zÿ
              ÿ                                    ÿ   ÿ   ÿ




              ÿ      r7ÿ{qk2qk40s               ÿÿ         5k524k53ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




                                                                                         ÿ       r7ÿ{24k42s                  ÿÿ     24k42ÿ
  ÿef/fÿ,>LI>LW@Cÿg>?DGÿhÿ.>@CGÿdÿNfvj                                 ÿ
                                                                       ÿ




                                                                                         ÿ 4>@WVÿ1?CG@JC?@GÿdÿQ|NfPj            ÿÿ vvOvPOvÿ
                                                   ÿ   ÿ   ÿ



                                                                                                                                    ÿ   ÿ   ÿ            ÿ




  ÿ1.;-:8341-.ÿ45,S.-0-XiÿdÿNfNj                                        ÿ                ÿ r7ÿ{4k3k4q5s                    ÿ  ÿ   ÿ   ÿ
                                                                                                                                                         ÿ




                   `[\[kÿo
  ÿ k044k444ÿÿ 5404pkÿÿ43145125ÿrsrsr9s        ÿÿ                 ÿ        /C=BLA@ACGÿ/>VDÿ/U>L@<IEÿdÿ<PfvEj                                        ÿ
  ÿ:530ÿ5/4345ÿdÿNfQj
              ÿ                                    ÿ   ÿ   ÿ
                                                                       ÿ




                                                                        ÿ       ef/fÿ5=UW?TCd4LWDCDÿ;B?Dÿdÿ<NfEj
                                                                                 r20k044sÿÿ a8}a7ÿ[aZ\ÿ9[ZZÿ[a[ZÿzZZÿ3ÿ[8ÿÿ
                                                                                                                                                          ÿ
                                                                                                                                                r5kq5k00sÿ
                    zuÿwÿ7a[
  ÿ q44k444ÿÿ 00pkÿ5215012ÿ                     ÿÿ            23k444ÿ                  y7[Zÿmÿx}[]y8[ÿ6
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿe4101415/ÿdÿNfMj
              ÿ                                    ÿ   ÿ   ÿ           ÿ




                                                                        ÿ                ÿ    rt87ÿ{5k054k2qs                 ÿÿ          r5kq5k00sÿ
                     y}[ÿ79aàÿxZ8a                                  ef/fÿ5BA@ÿdÿ<QfEj                                                    ÿ
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ505k23qk444ÿÿ ~7Za]ÿ7kÿuu ÿr9s              ÿÿ            3k32ÿ       ,-88e.1,341-.ÿ/5:71,5/ÿdÿ<|fMEj                                   ÿ
                     y}[ÿ79aàÿxZ8a                                   rk04sÿÿ ^Za}kÿoÿrs                        ÿÿ r5k3k33sÿ
  ÿ k3qk444ÿÿ ~7Za]ÿ7kÿuu ÿr9s               ÿÿ             qk5ÿ
                     y}[ÿ79aàÿxZ8a
                                                                                         ÿ                                          ÿ   ÿ   ÿ            ÿ




  ÿ 3k444k444ÿÿ ~7Za]ÿ7kÿuu ÿr9s               ÿÿ             53k044ÿ
                ÿ                                  ÿÿ            2qkq2ÿ
              ÿ                                    ÿ   ÿ   ÿ           ÿ




              ÿ



                     y7[Zÿmÿ7878[ÿz7ÿw   ÿ   ÿ   ÿ           ÿ




                ÿ          7ÿr7ÿ{2k42k54s   ÿÿ
                                                   ÿ   ÿ   ÿ
                                                               5k54kq2ÿ
                                                                       ÿ




  ÿ
      ÿYZ7[8\ÿ7ÿ[]ÿ55ÿ^78ÿ[__8`a[a7ÿ[Z7]ÿbaÿ[79[\a]ÿ7ÿ7ÿ77Za[ÿ6a[a[Z
  ÿÿÿ[9

118781791444553520534401224489                                                                                         521
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                         6789ÿ 05/24/21
                                                                                        Entered        10:22:39                      Page 284 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ1.75/485.4ÿ9-:4;-01-ÿ<=>?@A?BCDE
  ÿ
  ÿ
  3G
  ÿ
    ÿ>Hÿ/CI@CJKCLÿMNOÿPNQR                                                              ÿ                                        SATUVW?DÿXV>KWVÿ3VV>=W@A>?ÿ;B?D
                                                                                         l]o 8aÿ8aaÿuÿ8aaÿ[8ÿ7ÿ8]a8ÿ[ÿ9[\ÿ7ÿ_
  ÿÿÿÿ/UWLCGÿÿÿÿ                                           ÿÿÿÿÿ7WVBCÿ<cEÿÿÿÿÿ                  7Zÿ7ÿÿ_Zaÿu8ÿ[8ÿZ][Zÿ[178ÿ78[[Zÿ88aa7ÿ7ÿ8[Z
                                                                                                uÿ6ÿ7ÿ7ÿ[`ÿÿ8a]ÿ7ÿ9[ÿ[ÿÿ8aaÿ_
  ÿde/eÿ5fBA@gÿ<=>?@A?BCDE                                                       ÿ              8]a8ÿuÿ̀[Zÿ7^ÿÿ8aaÿ[8ÿ89aÿ_\ÿ̀[Z[a7
                                                                                                87`aÿ_\ÿ8aa]ÿ8`anÿ_87t8nÿ[Z8nÿ9[8tÿ9[t8nÿ78ÿaÿ]77
  ÿ,-./d85:ÿ21/,:541-.3:hÿiÿ<NejEk                                                ÿ             ^[aÿ8ÿÿ878ÿ[_Zaÿ_\ÿÿ6ÿr7[8ÿ7^ÿu8
  ÿlm3n44oÿÿ p[8Z\[`a7                               ÿÿ           l5n0n22oÿ            }aa7[Zÿ~^789[a7ÿ8][8a]ÿÿ8aaÿ^7ZZ7b
  ÿS5304S,3:5ÿiÿ<QQeqEk                                                           ÿ
             ÿ                                             ÿ   ÿ   ÿ             ÿ




  ÿlm4n504oÿÿ r77ÿaa^aÿ78ÿlso                  ÿÿ          l5nmmn24moÿ                                                                                  9CL=C?@
  ÿln044oÿÿ 8\t8ÿ78                                 ÿÿ          l5mn5n004oÿ     :CG@LA=@CDÿ /C=BLA@gÿ 3=fBAGA@A>?ÿ ,>G@ÿ>Hÿ 8WLC@ÿ7WVBCÿ >Hÿ.C@ÿÿ
             ÿ
             ÿ



                                                           ÿÿ
                                                           ÿ   ÿ   ÿ



                                                                       l3mn4n0moÿ
                                                                                 ÿ



                                                                                         /C=BLA@g ÿ 4gIC ÿÿ 2W@C ÿ /C=BLA@g ÿÿW@ÿhCWLÿ5?Dÿÿ3GGC@Gÿ
             ÿ



                 u7[Zÿvÿwsa\ÿ                        ÿ   ÿ   ÿ             ÿ



                                                                                         u88[8
             ÿ      lx87ÿy22n33n4o                 ÿÿ          l0mnnoÿ          7878[a7ÿÿvÿwsa\ÿÿÿ5515m1245mÿÿyÿmn450n02ÿÿyÿmn53mn4mÿÿÿ 50
  ÿ.>?ide/eÿ5fBA@gÿiÿ<ze{Ek                                                      ÿ       lo a78ÿZ7[ÿl[Z7ÿ[ZZÿ_[tÿZ7[nÿZ`8[]ÿZ7[nÿ78ÿ^Z7[a]ÿ8[
             ÿ                                             ÿ   ÿ   ÿ             ÿ




                                                                                                Z7[oÿaÿbaÿÿ6ÿa`ÿ]8[ZZ\ÿ[\ÿa8ÿ[ÿ8[ÿbaÿ[8
  ÿ,-88d.1,341-.ÿ/5:71,5/ÿiÿ<QeMEk                                                ÿ             8a7a[ZZ\ÿ89aÿ_\ÿ8^8ÿ7ÿ[ÿ_[ÿZa]ÿ8[ÿZÿ[ÿ8[
  ÿl4n444oÿÿ a7ÿ7nÿ|ÿ}ÿl[o                         ÿÿ l3n2n444oÿ                   lZÿ78baÿaa^anÿ[ZZÿa78ÿZ7[ÿ[88\ÿ[ÿ̀[8a[_Zÿ8[ÿ7^
  ÿ5.5:Xhÿiÿ<Qe{Ek
                                                                                 ÿ




                                                                                  ÿ             a8oÿuÿ_[ÿZa]ÿ8[ÿ[8ÿ]8[ZZ\ÿlaoÿÿx8a9ÿ[ÿ7^^8
                                                                                                _\ÿ7ÿ78ÿ978ÿ9[78ÿvaÿ[ÿ_[tnÿlaaoÿÿZa]ÿ8[ÿ7^^8ÿ_\
             ÿ                                             ÿ   ÿ   ÿ




  ÿln204oÿÿ a8ÿw8]\nÿ~ÿl[olso                     ÿÿ lmn5n20oÿ                   7ÿ78ÿ978ÿw87[ÿ_[tÿÿ[ÿÿ|77ÿ~8_[tÿ^^8ÿ[
  ÿS5304S,3:5ÿiÿ<MeqEk                                                            ÿ             l|~roÿ78ÿlaaaoÿÿ8a^a[ÿ7^ÿ7aÿ8[ÿ}ÿ7^ÿ9_8ÿ34nÿ245n
                                                                                 ÿ
             ÿ                                             ÿ   ÿ   ÿ




  ÿl4n444oÿÿ a998ÿp7Za]nÿ~ÿl[o                       ÿÿ l54n5n44oÿ                  ÿ|~rÿvÿ5ÿ7ÿ[ÿ|~rÿvÿ3ÿ7ÿ8[ÿb8ÿ242ÿ[
                   u7[Zÿ7vÿwsa\                                                          24nÿ8àZ\ÿa78ÿZ7[nÿbaZÿ9ÿ^879ÿ8]a8[a7ÿ8ÿ
                                                                                                8aaÿ}ÿ7^ÿ533nÿ[ÿ[9ÿlÿ533ÿ}onÿ7[aÿ8[a
             ÿ                                             ÿ   ÿ   ÿ             ÿ




             ÿ         lx87ÿy52n20n255o                 ÿÿ l5nn320oÿ                  88aa7ÿ7ÿ8[Zÿ[ÿ[7ÿ_ÿ7Zÿ_ZaZ\ÿa78ÿ8ÿ^Z7[a]
                   u7[Zÿ8aaÿ7Zÿ78ÿl20mo                                          8[ÿZ7[ÿ7^ÿ8sa8ÿ8[\9ÿ^879ÿÿ[ÿ^Z7bÿ78ÿ89aÿ
             ÿ                                             ÿ   ÿ   ÿ             ÿ




             ÿ         lx87ÿy3n05n43o                 ÿÿ l0n20noÿ                  _7887b8ÿ7ÿ8[\ÿ[ÿaÿZa7ÿuÿ]8ÿ7ÿbaÿ_7887b8ÿ8[\n
  ÿ-@UCLÿ3GGC@Gÿÿ0AWKAVA@ACGOÿ.C@ÿiÿ<M{eEk
             ÿ                                             ÿ



                                                              ÿÿ <QNPORqOjMEÿ
                                                               ÿ   ÿ             ÿ




                                                                                                b8ÿ[ÿ[ÿ78[[Zÿ8sa89ÿ78ÿ[ÿa8ÿZa7nÿ[7ÿ_
  ÿ.C@ÿ3GGC@GÿiÿQNNeNk                                        ÿÿ PRzOQz{OQjÿ                   8aÿbaÿ[8[\ÿ}ÿ[ÿ8Znÿÿ[[Zÿ89[aa]ÿ9[8a\ÿ9[\_
  ÿ
                                                           ÿ   ÿ   ÿ             ÿ




                                                                                                _[a[ZZ\ÿZÿ[ÿÿ[ÿ9[8a\ÿ7b
                                                                                         lao ÿr7ÿÿ8ÿÿ88ÿ8[nÿÿÿ8[nÿÿÿ[ÿ[
                                                                                 ÿ
                                                           ÿ   ÿ   ÿ




  l[o }ÿ8a_ÿaÿÿ6ÿ87nÿ[ÿ79[\ÿaÿ7a8ÿ7ÿ_ÿ[                    ÿ^a[Zÿ9[8a\ÿ[
        7vÿa8ÿa^ÿÿ79[\ÿ8aaÿ8aa[ZZ\ÿ8[ÿ7ÿ[ÿ9[8t         lo x8[Zÿ8a\ÿbaÿ7ÿ[ÿ9[8a\ÿ[
        7aÿ7^ÿÿvaÿ[nÿÿ79[\ÿ8àÿ[ÿ9[78a\ÿ7^ÿa              lto [8a[_Zÿ78ÿ^Z7[a]ÿ8[ÿ8a\ÿuÿ_[ÿZa]ÿ8[ÿ[8ÿ]8[ZZ\ÿ
        8`ÿ78ÿ87^aÿ7aÿ7^ÿÿvaÿ[nÿÿ79[\ÿaÿ7                    Za]ÿ8[ÿ7^^8ÿ_\ÿ7ÿ78ÿ978ÿw87[ÿ_[tÿÿ[ÿÿ|~r
        78][aÿaÿÿvaÿ[nÿ78ÿÿ79[\ÿaÿa]a^a[Z\ÿ7ÿ7               uÿa8ÿ8[ÿ7bÿ8^Zÿÿ8[ÿaÿ^^ÿ9_8ÿ34nÿ245
        ÿ779aÿ^78ÿ[ÿ8atÿ7^ÿ8]a7ÿ7aÿÿvaÿ[                   |~rnÿ78baÿt7bÿ[ÿ|77ÿ~8_[tÿ^^8ÿ[nÿaÿ
  l_o 7a79ÿ87a]ÿ8a\                                                              _9[8tÿa8ÿ8[ÿ[ÿ_[tÿ[8]ÿ[ÿ78ÿ^78ÿ7889ÿZ7[
  lo }ZZÿ78ÿ[8ÿ7^ÿaÿ8a\ÿaÿZ]ÿ[ÿ7ZZ[8[Zÿ^78ÿ78ÿ[Zÿu                  88ÿ|~rÿ8[ÿaZÿ5ÿ97ÿbaÿaÿs[Zÿ7ÿ242ÿ[ÿ3
        9[8tÿ̀[Zÿ7^ÿÿ8aaÿZ]ÿ[ÿ7ZZ[8[Zÿb[ÿy554n42n333                  97ÿs[Zÿ7ÿ24
  lo 8aaÿbaÿ[ÿ7[Zÿ[]]8][ÿ̀[Zÿ7^ÿymn0n4nÿ78ÿ2ÿ7^ÿ            lZo 8aaÿ9ÿ^879ÿ8]a8[a7ÿ8ÿZÿ5mm}ÿ7^ÿÿ533ÿ}
        [nÿb8ÿZ[a^aÿ[ÿ|`Zÿ3ÿbaaÿÿ8a8ÿ^[a8ÿ̀[Zÿa8[8\           uÿ8aaÿ9[\ÿ7Z\ÿ_ÿ87Zÿaÿ8[[a7ÿ9ÿ^879ÿ8]a8[a7
        xZ[ÿÿ7ÿ7ÿ77Za[ÿ6a[a[Zÿ[9ÿ^78ÿ[                              7ÿs[Za^aÿaaa7[Zÿ_\8ÿ}ÿ9_8ÿ34nÿ245nÿÿ8aa
        Z[[a7ÿ7^ÿaÿa8[8\nÿ[ÿbZZÿ[ÿ[ÿZaÿ7^ÿ7_8`[_Zÿaÿ            [97ÿ7ÿy23n55nm2mÿ78ÿÿ7^ÿÿ[
        aÿÿ̀[Z[a7ÿ7^ÿÿa89                                           l9o uÿa8ÿanÿ78ÿaÿaÿ[]8ÿ7^ÿ_a]nÿaÿ^[Zÿ7^ÿaÿ[\9ÿ7_Za][a7
  lo 8ÿ^[a8ÿ̀[Zÿ[ÿ89aÿ_\ÿÿ6ÿr7[8ÿ7^ÿu8ÿl           lo }ÿ7^ÿ9_8ÿ34nÿ245nÿa`9ÿbaÿ[ÿ7[Zÿ[]]8][ÿ̀[Zÿ7^
        r7[8onÿ78ÿaÿa]ÿaÿ]77ÿ^[anÿ8[ÿ7ÿÿ7Zaaÿ[                   y5mn3n0ÿb8ÿ^ZZ\ÿ78ÿ[8a[ZZ\ÿ]8][ÿbaÿ_87t8lo1ÿ7a[ÿ[
        878ÿ[87`ÿ_\ÿÿr7[8ÿuÿr7[8ÿ7a8ÿ^[a8ÿ̀[Z                       7ZZ[8[Zÿ^78ÿ8`8ÿ88[ÿ[]89
        8aaÿ7ÿ_ÿ8aaÿ^78ÿbaÿ9[8tÿs7[a7ÿ[8ÿ7ÿ8[aZ\          l7o [ÿ7bÿaÿÿ[\ÿ^^àÿ\aZ
        [`[aZ[_Zÿ[ÿÿ8aaÿ9[\ÿ_ÿ̀[Zÿa]ÿ[ÿ79_a[a7ÿ7^              lo }ÿ7^ÿ9_8ÿ34nÿ245nÿy5mn32n40ÿaÿ[ÿb[ÿ]8][ÿ78ÿ7
        7_8`[_Zÿ[ÿ7_8`[_Zÿaÿ8aaÿbaÿ[ÿ7[Zÿ[]]8][                   7aÿbaÿÿ_87t8ÿ7ÿ7`8ÿa`9ÿ7Zÿ78ÿ[ÿaÿaZÿa
        `[Zÿ7^ÿymn0n4nÿ78ÿ2ÿ7^ÿÿ[nÿb8ÿ^[a8ÿ̀[Zÿ8ÿ                8ÿ}ÿÿ|a[_aZaanÿ
        6ÿ̀[Z[a7ÿ878ÿ[ÿ7^ÿ9_8ÿ34nÿ245ÿxZ[ÿ                 lso 7ÿàaÿ[\[_Zÿ7ÿ8a\ÿ7Zÿ78
          7ÿ7ÿ77Za[ÿ6a[a[Zÿ[9
  l^o }^^aZa[ÿa8ÿ}ÿbaÿ[ÿ7[Zÿ[]]8][ÿ9[8tÿ̀[Zÿ7^
        y550n3n22nÿ78ÿ35ÿ7^ÿÿ[nÿb8ÿ[^^aZa[ÿbaÿÿ6ÿ[ÿ7^
        9_8ÿ34nÿ245
  ÿ
  ÿYZ7[8\ÿ7ÿ[]ÿ55ÿ^78ÿ[__8`a[a7ÿ[Z7]ÿbaÿ[79[\a]ÿ7ÿ7ÿ77Za[ÿ6a[a[Z
                                                                                     [9ÿÿÿ




118781791444553520534401224489                                                                                                         531
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                  6789ÿ 05/24/21
                                                                                 Entered        10:22:39                            Page 285 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./0.12
  ÿ
        34563ÿ2/860596/5ÿ:.;5<.12.ÿ=>?@>ABCDCE
  ÿ
  ÿ
  4G
  ÿ
      ÿ?Hÿ0DIJDKLDMÿNOPÿQORS                                                        ÿ                                    TUVWAX@CÿYA?LXAÿ4AA?>XJU?@ÿ<B@C
  Z8[ÿ7\7ÿ78[ÿ7[\]ÿ[ÿ7^ÿ9_8ÿ34ÿ̀245ÿa8ÿ[ÿ^7bb7a
  ÿ
                                                              6cDM>UGD                          6cIUMXJU?@ /BKLDMÿ?H /?JU?@XAÿ :MDKUBKÿ 8XABDÿ
  3DG>MUIJU?@                                              ÿÿ IMU>D ÿÿÿ -?B@JDMIXMJd ÿÿÿ 3XJD                   ÿÿÿ-?@JMX>JGÿÿÿ 8XABD ÿÿÿ e ÿÿÿ e ÿ
  :f;-T4063ÿ-411ÿ.:52./0g                                  ÿÿ         ÿÿ                  ÿÿ                     ÿÿ          ÿÿ            ÿÿ           ÿÿ
  h7_8ÿ245ÿ[bbÿ7ÿi                                    ÿÿi 00ÿÿÿÿ7\ÿj8[bÿÿÿÿ h7_8ÿ5ÿ̀245ÿÿÿÿ 54̀44ÿÿÿÿ 0`344̀44ÿÿÿÿ24`04ÿÿÿÿ5244̀44ÿ
  h7_8ÿ245ÿ[bbÿ7ÿklm                                  ÿÿi 2244ÿÿÿÿ n^^8\ ÿÿÿÿ h7_8ÿ5ÿ̀245ÿÿÿÿ 544̀44ÿÿÿÿ52̀44̀44ÿÿÿÿ2`5ÿÿÿÿ 444̀44ÿ
  h7_8ÿ245ÿ[bbÿ7ÿklm                                  ÿÿi 544ÿÿÿÿ n^^8\ ÿÿÿÿ h7_8ÿ5ÿ̀245ÿÿÿÿ 544̀44ÿÿÿÿ52̀44̀44ÿÿÿÿ5`2`5ÿÿÿÿ54̀ 44̀44ÿ
   7o9_8ÿ245ÿ[bbÿ7ÿklm                                 ÿÿi 544ÿÿÿÿ n^^8\ ÿÿÿÿ7o9_8ÿ5ÿ̀245ÿÿÿÿ 544̀44ÿÿÿÿ52̀44̀44ÿÿÿÿ2`2 `5ÿÿÿÿ20̀444̀44ÿ
  9_8ÿ245ÿ[bbÿ7ÿj7b                                ÿÿi5544ÿÿÿÿ n^^8\ ÿÿÿÿ9_8ÿ35ÿ̀245ÿÿÿÿ 544̀44ÿÿÿÿ53`44̀44ÿÿÿÿ32̀0̀24ÿÿÿÿ32̀03`3ÿ
                                                           ÿÿ         ÿÿ                  ÿÿ                     ÿÿ          ÿÿ            ÿÿÿ`54`53ÿÿÿÿ`3`3ÿ
                                                                                                                                                                                    ÿ                                ÿ
                                                         ÿÿ         ÿÿ                        ÿÿ                ÿÿ               ÿÿ                       ÿÿ   ÿ   ÿ                    ÿÿ              ÿ   ÿ




                                                         ÿÿ         ÿÿ                        ÿÿ                ÿÿ               ÿÿ                       ÿÿ   ÿ   ÿ                ÿ ÿÿ                ÿ   ÿ        ÿ




  p8\ÿ7\7ÿ78[ÿ7[\]ÿ[ÿ7^ÿ9_8ÿ34ÿ̀245ÿa8ÿ[ÿ^7bb7a
  ÿ
                                                              6cDM>UGD                      6cIUMXJU?@ /BKLDMÿ?H /?JU?@XA :MDKUBKÿ 8XABDÿ
  3DG>MUIJU?@                                               ÿÿ IMU>D ÿÿÿ-?B@JDMIXMJdÿÿÿ 3XJD                ÿÿÿ-?@JMX>JGÿÿ 8XABD ÿÿÿÿ e ÿÿ e ÿ
  q;2556/ÿ-411ÿ.:52./0g                                     ÿÿ         ÿÿ             ÿÿ                     ÿÿ           ÿ            ÿÿ             ÿ
  h7_8ÿ245ÿ[bbÿ7ÿklm                                   ÿÿi 2344ÿÿÿÿ n^^8\ÿÿÿÿ h7_8ÿ5ÿ̀245ÿÿÿÿ r544̀44sÿÿÿ52̀44̀44ÿÿÿÿ r 5̀5sÿÿÿr0244̀44sÿ
   7o9_8ÿ245ÿ[bbÿ7ÿklm                                  ÿÿi 244ÿÿÿÿ n^^8\ÿÿÿÿ7o9_8ÿ5ÿ̀245ÿÿÿÿ r544̀44sÿÿÿ52̀44̀44ÿÿÿÿr323̀sÿÿÿr44̀44sÿ
  9_8ÿ245ÿ[bbÿ7ÿj7b                                 ÿÿi50544ÿÿÿÿ n^^8\ÿÿÿÿ9_8ÿ35ÿ̀245ÿÿÿÿ r544̀44sÿÿÿ53`44̀44ÿÿÿÿr55̀0̀0 sÿÿÿr55̀0`2sÿ
                                                            ÿÿÿÿ




                                                              ÿÿ
                                                                       ÿÿÿÿ




                                                                         ÿÿ
                                                                                      ÿÿ ÿÿ




                                                                                         ÿÿ
                                                                                                          ÿÿ




                                                                                                          ÿÿ
                                                                                                             ÿÿ         ÿ




                                                                                                                        ÿ
                                                                                                                          ÿ            ÿÿÿr2`24̀0sÿÿÿr2``2sÿ
                                                                                                                                          ÿÿ




                                                                                                                                          ÿÿ
                                                                                                                                                ÿ




                                                                                                                                                ÿ
                                                                                                                                                     ÿ




                                                                                                                                                     ÿ
                                                                                                                                                                       ÿ




                                                                                                                                                                       ÿ
                                                                                                                                                                               ÿ




                                                                                                                                                                               ÿ
                                                                                                                                                                                        ÿ




                                                                                                                                                                                        ÿ
                                                                                                                                                                                                ÿ




                                                                                                                                                                                                ÿ
                                                                                                                                                                                                                 ÿ




                                                                                                                                                                                                                 ÿ




  tÿ6ÿ[ÿÿ^7bb7a\]ÿ^8ÿ78[ÿ7ÿ[ÿ9_8ÿ34ÿ̀245
  ÿ
                                                                                                                            /?JU?@XA f@MDXAUuDC
                                                                                        6cIUMXJU?@         /BKLDMÿ?H 8XeABDÿÿ 4IIMDe>UXJU?@ÿÿ 8XeABDÿ
  3DG>MUIJU?@                                                                    ÿÿ        3XJD        ÿÿÿ -?@JMX>JGÿÿ              ÿÿ                   ÿÿ        ÿ
  0W?MJÿ<BJBMDGg                                                                 ÿÿ                     ÿÿ              ÿ            ÿ                   ÿÿ
  vZÿ044ÿlwÿxyll                                                             ÿÿÿ9_8ÿ23ÿ̀245ÿÿÿÿ r24sÿÿ ÿr35̀53̀sÿÿ ÿ 32`ÿÿÿÿ32`ÿ
  tÿ[o8[]ÿ[97ÿ7^ÿ_7887a\]ÿ_zÿÿ6ÿ7ÿ8o8ÿ88[ÿ[]89ÿ7[\]ÿ8\]ÿÿz[8ÿÿ9_8ÿ34ÿ̀245ÿa[ÿi`545̀3ÿ[ÿ[
  a\]ÿ[o8[]ÿ\8ÿ8[ÿ7^ÿ302{
  ÿ
                                                                                                                            ;DIBM>WXGD :MU@>UIXA
                                                                                       2@JDMDGJÿ 5MXCDÿ 9XJBMUJdÿ 4K?B@Jÿÿ 4K?B@Jÿÿ 8XABDÿ
  -?B@JDMIXMJdÿÿ-?AAXJDMXAÿ:ADCVDC                                                   ÿÿ ;XJD ÿÿ 3XJD ÿÿÿ 3XJD ÿÿÿ e ÿÿÿ e ÿÿÿ e ÿ
                  }\ÿ~hÿ̀~ÿ̀
                  8\ÿ2453}ÿ̀b[ÿxÿ̀k}ÿ~lhÿÿ3ÿy704{ÿ̀44{`
  y\|7 ÿÿ2151242                                                                  ÿÿÿ 33ÿÿÿÿ151245ÿÿÿÿ5415 1245ÿÿÿÿ 22̀ 0̀23ÿÿÿÿ4̀444̀44ÿÿÿÿ22̀4̀44ÿ
                  }\ÿ~hÿ̀~ÿ̀
                  8\ÿ245}ÿ̀b[ÿxÿ̀k}ÿ~lhÿÿ3ÿy744{ÿ̀40{`
  y\|7 ÿÿ0151242                                                                  ÿÿÿ 33ÿÿÿÿ151245ÿÿÿÿ5415 1245ÿÿÿÿ 53̀` ÿÿÿÿ20̀444̀44ÿÿÿÿ53̀20̀44ÿ
                  }\ÿ~hÿ̀~ÿ̀
                  8\ÿ245}ÿ̀b[ÿ6ÿ̀k}ÿ~lhÿÿ3ÿy70504{ÿ̀4{`
  y\|7 ÿÿ0151242                                                                  ÿÿÿ 3ÿÿÿÿ151245ÿÿÿÿ5415 1245ÿÿÿÿ 50̀`2ÿÿÿÿ4̀444̀44ÿÿÿÿ50̀4̀44ÿ
                  }\ÿ~hÿ̀~ÿ̀
                  8\ÿ2450}ÿ̀b[ÿx5ÿ̀k}ÿ~lhÿÿ3ÿy7024{ÿ̀ {`
  y\|7 ÿÿ55151242                                                                 ÿÿÿ 33ÿÿÿÿ151245ÿÿÿÿ5415 1245ÿÿÿÿ 25̀3 `34ÿÿÿÿ30̀444̀44ÿÿÿÿ25̀350̀44ÿ
                  6xy6ÿy78][]ÿt8ÿ̀
                  8\ÿ24564ÿ̀b[ÿ ÿ̀k}ÿ~lhÿÿ5ÿy7444{`
  y\|7 ÿÿ4{ÿ̀21201242                                                          ÿÿÿ 3ÿÿÿÿ1541245ÿÿÿÿ541541245ÿÿÿÿ 0̀ `4ÿÿÿÿ544̀444̀44ÿÿÿÿ ` `0ÿ
  5?JXAÿ;DDMGDÿ;DIBM>WXGDÿ4VMDDKD@JG                                                ÿÿ         ÿÿ           ÿÿ            ÿÿ          ÿÿÿ24̀444̀44ÿÿÿÿ5`3`0ÿ
               ÿÿ                                                                   ÿÿ             ÿÿ      ÿÿ               ÿÿ             ÿÿ       ÿ ÿ                    ÿ   ÿÿ           ÿ       ÿ                ÿ




  ÿ
       ÿjb7[8zÿ7ÿ[]ÿ55ÿ^78ÿ[__8o\[\7ÿ[b7]ÿa\ÿ[79[z\]ÿ7ÿ7ÿ77b\[
                                                                                                                                                                           ÿ                                         ÿ
               ÿÿ                                                                   ÿÿ             ÿÿ      ÿÿ               ÿÿ             ÿÿ       ÿ ÿ                        ÿÿ           ÿ       ÿ




  54ÿÿÿ6\[\[bÿ[9




118781791444553520534401224489                                                                                                                                                 51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 286 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-.//012
  ÿ
          3ÿ567789:;6<;=>?ÿ<@6<ÿA6Bÿ79ÿC?9Dÿ;>ÿ<@9ÿE89F9D;>Gÿ?<6<9A9><?H
  ÿ
  ÿ
  M8ÿJNN8OPKP7
  J ÿJ98PKÿ7PK8QÿP
                                                                    ÿÿÿ
    M ÿ 7LLK8KLPRÿNÿMNLPSKP7
    TM ÿ 7LLK8KLPRÿT7KÿMNLPSKP7
  6UV6ÿ68PÿVKÿVLP6K9PLQ
  VTW ÿVK8ÿTP9PÿWK88P
  TXYM ÿT77ÿX8NKZÿM[[8ÿK
  TT ÿTP9PÿTPKNPLPQÿ79KQ
  TW ÿTP9PÿWK88P
  T ÿTP9P
  WX\ ÿWKQ9P\P
  UX] ÿKLÿUKÿXO9ÿ]8
  ^ ÿ^PÿKÿ7LLK8
  _J ÿ_K8PKNLÿK
  _X̀ ÿ PKS7ÿY7K8ÿMP7ÿUaKSÿ_7LKPLPQÿXa
  ÿ
                                                                                                 JKLÿ78ÿÿÿ55




118781791444553520534401224489                                                 501
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 287 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ/434575.4ÿ-8ÿ3//54/ÿ3.2ÿ0139101415/
  ÿ
  ÿ
  3;
  ÿ
    ÿ<=ÿ/>?@>AB>CÿDEFÿGEHI                                        ÿ                     JKLMNOPQÿRN<BONÿ3NN<SO@K<Pÿ8TPQ
  ÿ
  ÿ                                                                                              ÿÿ UVW ÿ
  3;;>@;                                                                                         ÿÿ
     XY9Zÿ[ÿY[\                                                                       ÿÿÿ30Z]5Z242ÿ
     ^__`\`[ÿ̀Y9Zÿ[ÿY[\ÿa7ÿ54b                                                   ÿÿÿ550Z3Z22ÿ
     c7[\ÿXY9Zÿ[ÿY[\                                                                 ÿÿÿ]]Z224Z]2ÿ
                                                                                                 ÿÿ   ÿ   ÿ
                                                                                                               ÿ




       [ÿdỲ[\ÿa7ÿ2b                                                                   ÿÿÿ 24Z42ÿ
       [                                                                                       ÿÿÿ 5Z3]ÿ
     8`ÿ[ÿeÿ8``ÿ7\ÿ78ÿ[ÿf8`ÿg7̀ÿa7ÿ2ÿ[ÿ3b                   ÿÿÿ 5]Z32Z40ÿ
     8`ÿ[ÿeÿ68ÿa7ÿ3b                                                            ÿÿÿ 2Z42Z44ÿ
     678h̀ÿ88i                                                                            ÿÿÿ      2Z53ÿ
     678h̀ÿ[jÿ8\[9̀ÿ8Ỳ[k\                                                              ÿÿÿ 533Z003ÿ
     Ỳ[k\ÿ_78                                                                             ÿÿ
        XY9ÿ7\                                                                          ÿÿÿ 2Z3Z34ÿ
        Ỳ`ÿ[ÿ̀8                                                                   ÿÿÿ 2Z02Z]2ÿ
        6ÿ[8ÿ7\                                                                         ÿÿÿ 2Zÿ
        l[8`[7̀ÿm[8h`                                                                         ÿÿÿ 3]5Z0ÿ
        ÿ_879ÿk87n8                                                                          ÿÿÿ 320Z22ÿ
     o8[`ÿjÿ[ÿ78ÿ[                                                           ÿÿÿ 25Zÿ
               c7[\ÿ[                                                                      ÿÿÿ]Z33]Z4ÿ
                                                                                                 ÿÿ   ÿ   ÿ
                                                                                                               ÿ




  0KOBKNK@K>;p
                                                                                                 ÿÿ   ÿ   ÿ    ÿ




                                                                                                 ÿÿ
       7ÿ[i[k\ÿa7ÿb                                                                     ÿÿÿ540Z]35Zÿ
     8``ÿ7\ÿ78Zÿ[ÿY[\ÿa7ÿ2ÿ[ÿb                                              ÿÿÿ 0Z20Zÿ
     Y8ÿ88[ÿ[h89                                                               ÿÿÿ 5]Z3Z0ÿ
     f8`ÿ77̀ÿ78[Zÿ[ÿY[\ÿa7ÿ3b                                                 ÿÿÿ 2Z]Z]2ÿ
     o[i[k\ÿ_78                                                                                ÿÿ
        XY9ÿ8[                                                                    ÿÿÿ 3Z2Z024ÿ
        XY9ÿ[Y`78iÿ[ÿ[9``8[7̀ÿ_ÿa7ÿb                                      ÿÿÿ 543Z0]ÿ
        Ỳ`ÿ7ÿ8``ÿ7\ÿ78                                                       ÿÿÿ 54Z42ÿ
        ^7`hÿ8Y`ÿ_                                                                 ÿÿÿ 52Zÿ
           7Y87̀ÿ7ÿa7ÿ2b                                                               ÿÿÿ 0]Z32]ÿ
           7iÿ_                                                                           ÿÿÿ 05Z5ÿ
        c8ÿ_                                                                            ÿÿÿ 20Z5]2ÿ
        X8ÿjÿ[ÿ799`9ÿ_ÿ[i[k\ÿa7ÿb                                      ÿÿÿ 3]3Z32ÿ
        c8[_8ÿ[hÿ_                                                                      ÿÿÿ       Z0ÿ
        78ÿ7ÿ[87\8                                                                  ÿÿÿ 54Z]4ÿ
        qh[\ÿ_                                                                               ÿÿÿ 544Z444ÿ
        ^`ÿ_                                                                               ÿÿÿ 324Z444ÿ
        ^8ÿjÿ[ÿ78ÿ\`[k`\``                                                   ÿÿÿ Z3ÿ
               c7[\ÿ\`[k`\``                                                                 ÿÿÿ243Z54Z]0ÿ
                                                                                                 ÿÿ   ÿ   ÿ
                                                                                                               ÿ




  ,<AAK@A>P@;ÿOPQÿ,<P@KPL>PSK>;ÿU.<@>ÿrW
                                                                                                 ÿÿ   ÿ   ÿ    ÿ




                                                                                                 ÿÿ
  .>@ÿ3;;>@;                                                                                     ÿÿÿGIrFHrsFHtuÿ
                                                                                                 ÿÿ   ÿ   ÿ    ÿ




  .>@ÿ3;;>@;ÿ,<P;K;@ÿ<=p
                                                                                                               ÿ
                                                                                                 ÿÿ   ÿ   ÿ




                                                                                                 ÿÿ
     o[``ÿ[`[\                                                                              ÿÿÿZ]]Z02ÿ
     c7[\ÿ`8k̀[k\ÿ\7                                                                    ÿÿÿa]4Z20Z3]3bÿ
  .>@ÿ3;;>@;                                                                                     ÿÿÿGIrFHrsFHtuÿ
                                                                                                               ÿ
                                                                                                 ÿÿ   ÿ   ÿ




     XY9Zÿ[ÿ7                                                                        ÿÿÿ023Z3Z0]ÿ
                                                                                                               ÿ
                                                                                                 ÿÿ   ÿ   ÿ




     ^__`\`[ÿ̀Y9Zÿ[ÿ7ÿa7ÿ54b                                                    ÿÿÿ5]Z5Z]2ÿ
       [ÿdỲ[\Zÿ[ÿ7ÿa7ÿ2b                                                          ÿÿÿ 24Z42ÿ
     678h̀ÿ88iZÿ[ÿ7                                                                   ÿÿÿ       3Z00ÿ
     o87ÿ_879ÿ8``ÿ7\ÿ78                                                         ÿÿÿ 3Z05Z43ÿ
     f8`ÿ77̀ÿ89`9ÿ8Ỳ                                                            ÿÿÿ 2Z2Z4]0ÿ
  ,<AA<Pÿ/MOC>;                                                                                  ÿÿ
     [8ÿ7[`hÿav4445ÿ[8ÿY[\wÿ\9̀`ÿ[8ÿ[78x̀b                          ÿÿÿ 22Z35Z4]ÿ
118781791444553520534401224489                                                      51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 288 of 600

  ÿ
      ÿÿ!"#ÿ7$$8%&ÿÿ89%7ÿ8%ÿ8ÿ 8                                       ÿÿÿ   534ÿ
  52ÿÿÿÿ79 (%&ÿ7ÿ7ÿ77"% ÿ6% %"ÿ9




118781791444553520534401224489                                                 51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 289 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ/434575.4ÿ-8ÿ-95:341-./
  ÿ
  ÿ
  8<=
  ÿ
     ÿ>?@ÿA@B=ÿ5CD@Dÿ/@E>@FG@=ÿHIJÿKILM                           ÿ                     NOP?QBCDÿRQ<GBQÿ3QQ<SB>O<Cÿ8TCD
  ÿÿ                                                                                              ÿÿ UVW ÿ
  1CX@Y>F@C>ÿ1CS<F@Z                                                                              ÿÿ
  1CS<F@Z                                                                                         ÿÿ
     [\[ÿ]879ÿ^]][_[^ÿ[8                                                          ÿÿÿ 2̀3̀a4ÿ
     [\[ÿ]879ÿ^]][_[^ÿ[8ÿb7ÿ54c                                                   ÿÿÿ a4̀20`5ÿ
     dÿ678[eÿ^fÿg[_                                                                 ÿÿÿ b500̀0cÿ
     h8ÿ]879ÿ^]][_[^ÿ[8                                                           ÿÿÿ `2à23ÿ
     h8ÿ^[ÿ[i[ÿ]879ÿ^]][_[^ÿ[8ÿb7ÿ54c                                        ÿÿÿ 5`3`5ÿ
              j7^_ÿ[79                                                                        ÿÿÿ224̀`4ÿ
                                                                                                  ÿÿ   ÿ   ÿ   ÿ




  5kE@CY@YZ
                                                                                                  ÿÿ   ÿ   ÿ   ÿ




                                                                                                  ÿÿ
     h\9ÿ^\[78lÿb7ÿc                                                                  ÿÿÿ 5`44̀2ÿ
     m7[eÿ8\[ÿ]                                                                     ÿÿÿ 202̀a4ÿ
     [8[n[7ÿ^ÿ^87_8ÿ8\[ÿ]ÿb7ÿc                                           ÿÿ
          _^ÿm                                                                                  ÿÿÿ 5`24ÿ
          _^ÿ                                                                                   ÿÿÿ 340àaÿ
     j8^]8ÿ^eÿ]                                                                          ÿÿÿ 354`ÿ
     de^_ÿ]                                                                                   ÿÿÿ a`ÿ
     e[8^[7ÿ]                                                                            ÿÿÿ a44̀0ÿ
     m[ÿ]                                                                                   ÿÿÿ a0`0ÿ
     h8ÿfÿ^ÿ799[9ÿ]ÿb7ÿc                                                 ÿÿÿ 0à3`5ÿ
     h8^                                                                                    ÿÿÿ 05`00ÿ
     j8ÿ]ÿb7ÿc                                                                        ÿÿÿ 0`aÿ
     78ÿ7ÿ^87_8                                                                      ÿÿÿ 555̀a4ÿ
       7[^1g[8ÿ^eÿ]                                                                   ÿÿÿ 2aa0̀3ÿ
     [\[ÿ^ÿ]ÿ7ÿ8[[ÿ7_ÿ78ÿb7ÿ2c                                          ÿÿÿ 35̀00ÿ
       7\8[7ÿ7ÿb7ÿ2c                                                                    ÿÿÿ aa4`ÿ
     o8                                                                                        ÿÿÿ 20`3ÿ
              j7^_ÿ78^[eÿfÿn]78ÿg^[\8ÿ^ÿ8[9n89                            ÿÿÿ553̀a2`5ÿ
                                                                                                  ÿÿ   ÿ   ÿ
                                                                                                               ÿ




     dÿpfÿg^[\ÿ78ÿn78ÿnlÿÿ^\[8ÿ^ÿ^9[[8^78                              ÿÿÿ ba5`cÿ
                ÿ78^[eÿf                                                             ÿÿÿ54`2a`5ÿ
                                                                                                  ÿÿ   ÿ   ÿ   ÿ




                ÿ[\9ÿ[79                                                              ÿÿÿ555̀3`ÿ
                                                                                                               ÿ
                                                                                                  ÿÿ   ÿ   ÿ




  .@>ÿ:@BQOq@DÿBCDÿrC=@BQOq@DÿRBOCÿU0<YYWÿ<Cÿ1CX@Y>F@C>Y
                                                                                                               ÿ
                                                                                                  ÿÿ   ÿ   ÿ




                                                                                                  ÿÿ
  .@>ÿ=@BQOq@DÿPBOCÿUQ<YYWÿ<CZ                                                                    ÿÿ
     h\9ÿ]879ÿ^]][_[^ÿ[8                                                        ÿÿÿb535̀35à32cÿ
     h\9ÿ]879ÿ^]][_[^ÿ[8ÿb7ÿ54c                                                 ÿÿÿ aà0̀2ÿ
     8[[ÿ7_ÿ78ÿb7ÿ2c                                                                ÿÿÿb`5aà4cÿ
     s8[ÿ7[7ÿ78^ÿb7ÿ3c                                                            ÿÿÿ 22̀`a3ÿ
     68ÿ78^ÿb7ÿ3c                                                                    ÿÿÿb32̀5`cÿ
     678[eÿ88lÿ8_^ÿ8^^[7                                                        ÿÿÿb5`04`00cÿ
  ,?BCP@ÿOCÿTC=@BQOq@DÿBEE=@SOB>O<CÿUD@E=@SOB>O<CWÿ<CZ                                            ÿÿ
     h\9ÿ[ÿ^]][_[^ÿ[8                                                          ÿÿÿb332̀44̀35cÿ
     h\9ÿ[ÿ^]][_[^ÿ[8ÿb7ÿ54c                                                   ÿÿÿ `a`4ÿ
     8[[ÿ7_ÿ78ÿb7ÿ2c                                                                ÿÿÿ53̀235̀ÿ
     s8[ÿ7[7ÿ78^ÿb7ÿ3c                                                            ÿÿÿ 200̀3ÿ
     68ÿ78^ÿb7ÿ3c                                                                    ÿÿÿ 32`ÿ
     678[eÿ88lÿ8_^ÿ8^_^[7                                                        ÿÿÿ b24`0cÿ
                ÿ8^_[tÿ^ÿ8^_[tÿe^[ÿb_7cÿ7ÿ[\9                             ÿÿÿb2`540̀2cÿ
                                                                                                  ÿÿ   ÿ   ÿ   ÿ




              j7^_ÿ8^ÿ[ÿÿ^ÿ8_[eÿ]879ÿ78^[7                              ÿÿÿb50̀a`0cÿ
                                                                                                  ÿÿ   ÿ   ÿ   ÿ




  ÿ
                                               ÿ^79^l[eÿ7ÿ7ÿ77_[^ÿ6[^[^_ÿ^9ÿÿÿ53
                                                                                                               ÿ
                                                                                                  ÿÿ   ÿ   ÿ




118781791444553520534401224489                                                      51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                     6789ÿ 05/24/21
                                                                    Entered        10:22:39                 Page 290 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ/434575.4/ÿ-8ÿ,93.:5/ÿ1.ÿ.54ÿ3//54/
  ÿ
  ÿ
  ÿ
                                                                     ÿ                            9<=>?@ABÿ:?CD@?ÿ3??CE@F<CAÿ8GAB
                                                                                   HI@Jÿ5ABIB                 HI@Jÿ5ABIB
                                                                                /IKFILDIJÿMNOÿPÿNQRÿ /IKFILDIJÿMNOÿPÿNQVÿ
  ÿ                                                                       ÿÿ           STU         ÿ ÿÿ           STU         ÿ
  1AEJI@WIÿS2IEJI@WIUÿ<Aÿ.IFÿ3WWIFW                                        ÿÿ                            ÿÿ
     -KIJ@F<CAWX                                                           ÿÿ                            ÿÿ
         ÿYZ9ÿY79                                              ÿÿ   ÿ        55[53[ÿ ÿ   ÿÿ               5[03[0ÿ
         ÿ8\]Y^ÿ_]7`ÿ7ÿYZ9[ÿ8YYÿ7]ÿ78[ÿa8Y
           7Y7[ÿb8ÿ78\ÿ\ÿb78Ycÿ88dÿ8\\Y7 ÿÿ      ÿ       _25[34[23`ÿ ÿÿ ÿ              _542[0[350`ÿ
         ÿY8\ÿ_8\`ÿYÿ8\]Y^ÿ\8Y\Y7
           _8Y\Y7`ÿ7ÿYZ9[ÿ8YYÿ7]ÿ78[ÿa8Y
           7Y7ÿ\ÿb78Ycÿ88dÿ8\\Y7                       ÿÿ   ÿ        _[304[3ee`ÿ ÿÿ        ÿ       55[043[2ÿ
         ÿY8\ÿ_8\`ÿb879ÿ78\Y7                            ÿÿ   ÿ       _5[0e[0`ÿ ÿÿ        ÿ        32[e3[3ÿ
                                                                                                   ÿ                               ÿ
                                                                          ÿÿ    ÿ   ÿ                    ÿÿ     ÿ   ÿ




     2<WFJ<DGF<CAW                                                         ÿÿ                         ÿÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




             ]\ÿf                                                        ÿÿ   ÿ                gÿ ÿÿ          ÿ        _[35[24`ÿ
             ]\ÿ                                                         ÿÿ   ÿ                gÿ ÿÿ          ÿ        _3[35[3`ÿ
             ]\ÿh                                                        ÿÿ   ÿ                gÿ ÿÿ          ÿ        _0[25[3e`ÿ
           \8ÿ7bÿ]7ÿb                                        ÿÿ   ÿ        _e[0[4`ÿ ÿÿ        ÿ                 gÿ
       8ÿ7bÿ\Y\]                                                  ÿÿ                         ÿÿ
             ]\ÿf                                                        ÿÿ   ÿ                gÿ ÿÿ          ÿ        _3[30[ee2`ÿ
             ]\ÿ                                                         ÿÿ   ÿ                gÿ ÿÿ          ÿ        _5[5[03`ÿ
             ]\ÿh                                                        ÿÿ   ÿ                gÿ ÿÿ          ÿ         _2[e44[55`ÿ
           \8ÿ7bÿ]7ÿb                                        ÿÿ   ÿ       _52[3[3e`ÿ ÿÿ        ÿ                 gÿ
     4CF@?ÿB<WFJ<DGF<CAW                                                   ÿÿ   ÿ       _5[[500`ÿ ÿÿ        ÿ       _23[04[2`ÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




  i8\ÿ_8\`ÿYÿÿ\ÿb879ÿ78\Y7ÿ\ÿY8YjY7 ÿÿ        ÿ       _3e[05e[04`ÿ ÿÿ        ÿ          [53[552ÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




     />@JIÿFJ@AW@EF<CAWX                                                   ÿÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ




                                                                                                         ÿÿ
                                                                                                         ÿÿ     ÿ   ÿ              ÿ




       k87ÿb879ÿ\]ÿ7bÿ\8                                        ÿÿ                            ÿÿ
             ]\ÿf                                                        ÿÿ   ÿ            e[34ÿ    ÿÿ     ÿ         55[23[2ÿ
             ]\ÿ                                                         ÿÿ   ÿ            23e[ÿ    ÿÿ     ÿ         52[53[0ÿ
             ]\ÿh                                                        ÿÿ   ÿ          e[[53eÿ    ÿÿ     ÿ         0[43[23ÿ
       l\]ÿ7bÿY8YjY7ÿ8YZ                                   ÿÿ                            ÿÿ
             ]\ÿf                                                        ÿÿ   ÿ                 gÿ     ÿÿ     ÿ          [24[00ÿ
             ]\ÿ                                                         ÿÿ   ÿ                 gÿ     ÿÿ     ÿ          e[222[245ÿ
             ]\ÿh                                                        ÿÿ   ÿ                 gÿ     ÿÿ     ÿ          [55[224ÿ
           \8ÿ7bÿ]7ÿb                                        ÿÿ   ÿ          2[23[33ÿ    ÿÿ     ÿ                 gÿ
         7ÿ7bÿ\8ÿ89                                            ÿÿ                            ÿÿ
             ]\ÿf                                                        ÿÿ   ÿ        _23[e[`ÿ   ÿÿ     ÿ        _4[52[`ÿ
             ]\ÿ                                                         ÿÿ   ÿ        _5[e52[e0`ÿ   ÿÿ     ÿ        _4[00[2`ÿ
             ]\ÿh                                                        ÿÿ   ÿ        _3[200[34`ÿ   ÿÿ     ÿ       _53[[234`ÿ
           \8ÿ88\ÿ7bÿ]7ÿbÿ_7ÿ5`                    ÿÿ   ÿ        _52[54[44`ÿ   ÿÿ     ÿ                 gÿ
           Y7ÿ7ÿ89Y7ÿ_7ÿ`                                ÿÿ   ÿ          2[400[23ÿ    ÿÿ     ÿ                 gÿ
         ÿ8\ÿb879ÿ\8ÿ8\\Y7                              ÿÿ   ÿ        _[[e2`ÿ   ÿÿ     ÿ       _2e[23[e5e`ÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




     4CF@?ÿBIEJI@WIÿ<AÿAIFÿ@WWIFW                                          ÿÿ   ÿ       _553[e45[e2`ÿ   ÿÿ     ÿ       _200[02e[342`ÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




  .IFÿ3WWIFW                                                               ÿÿ                            ÿÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




       mcYYcÿ7bÿd\8                                                   ÿÿ   ÿ        e4[00[ÿ    ÿÿ     ÿ        0[4[ÿ
       nÿ7bÿd\8                                                         ÿÿ   ÿ        2[5e[50ÿ    ÿÿ     ÿ        e4[00[ÿ
                                                                          ÿÿ    ÿ   ÿ              ÿ     ÿÿ     ÿ   ÿ              ÿ




  ÿ
  5eÿÿÿÿ\79\dYcÿ7ÿ7ÿ77]Y\ÿ6Y\Y\]ÿ\9
                                                                                                   ÿ                               ÿ
                                                                          ÿÿ    ÿ   ÿ                    ÿÿ     ÿ   ÿ




118781791444553520534401224489                                                                        51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                     6789ÿ 05/24/21
                                                                                    Entered        10:22:39                           Page 291 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ/434575.4/ÿ-8ÿ,93.:5/ÿ1.ÿ.54ÿ3//54/ÿ;<=>?@>ABCD
  ÿ
  ÿ
  ÿ
                                                                                      ÿ                             9@FGHI>Cÿ:H=JIHÿ3HH=<I?@=>ÿ8A>C
                                                                                                    KBILÿ5>CBC                  KBILÿ5>CBC
  ÿ                                                                                         ÿÿ   /BM?BNJBLÿOPQÿRÿPSTÿ ÿÿ /BM?BNJBLÿOPQÿRÿPSUÿ
  ,3V1430ÿ/4-,Wÿ3,41X14KÿYÿ/93Z5/[                                                          ÿÿ                                     ÿÿ
  ,HI\\ÿ3]                                                                                  ÿÿ                                     ÿÿ
  ^8ÿ7_                                                                               ÿÿ ÿ                    555`4ÿ ÿÿ ÿ                           52̀0`44ÿ
  aÿb78ÿc8cdc7ÿ8ce                                                        ÿÿ ÿ                           fÿ ÿÿ ÿ                          55̀5̀3ÿ
  ^8ÿ89                                                                           ÿÿ ÿ                g2`00̀hiÿ ÿÿ ÿ                       g54`523̀iÿ
  ^8ÿ7e8ÿcÿ7e8c7ÿg7ÿ5i                                                    ÿÿ ÿ              g55`h02̀43iÿ ÿÿ ÿ                                     fÿ
    ÿ8^ÿcÿbÿ^8                                                            ÿÿ




                                                                                            ÿÿ ÿ
                                                                                                 ÿ   ÿ




                                                                                                              g5h3̀4`2iÿ ÿÿ ÿ
                                                                                                                             ÿ
                                                                                                                                   ÿÿ     ÿ   ÿ




                                                                                                                                                          g2̀20̀02iÿ ÿ




  ,HI\\ÿ,]
                                                                                                                             ÿ                                         ÿ
                                                                                          ÿÿ     ÿ   ÿ                             ÿÿ     ÿ   ÿ




                                                                                            ÿÿ                                     ÿÿ
  ^8ÿ7_                                                                               ÿÿ ÿ                     35`2ÿ ÿÿ ÿ                           50̀4`44ÿ
  aÿb78ÿc8cdc7ÿ8ce                                                        ÿÿ ÿ                           fÿ ÿÿ ÿ                            053̀ÿ
  ^8ÿ89                                                                           ÿÿ ÿ                g22̀32`0iÿ ÿÿ ÿ                       g554̀3hh̀24iÿ
  ^8ÿ7e8ÿcÿ7e8c7ÿg7ÿ5i                                                    ÿÿ ÿ                g04̀0`35iÿ ÿÿ ÿ                                    fÿ
    ÿ8^ÿcÿbÿ^8                                                            ÿÿ




                                                                                            ÿÿ ÿ
                                                                                                 ÿ   ÿ




                                                                                                                g2̀`iÿ ÿÿ ÿ
                                                                                                                             ÿ     ÿÿ     ÿ   ÿ




                                                                                                                                                          g`25̀33iÿ ÿ




  ,HI\\ÿK]
                                                                                                                             ÿ                                         ÿ
                                                                                          ÿÿ     ÿ   ÿ                             ÿÿ     ÿ   ÿ




                                                                                            ÿÿ                                     ÿÿ
  ^8ÿ7_                                                                               ÿÿ ÿ                    h05̀hÿ ÿÿ ÿ                           0h̀24̀ÿ
  aÿb78ÿc8cdc7ÿ8ce                                                        ÿÿ ÿ                           fÿ ÿÿ ÿ                            43̀2ÿ
  ^8ÿ89                                                                           ÿÿ ÿ                g3`5h̀0iÿ ÿÿ ÿ                       g55̀`30iÿ
  ^8ÿ7e8ÿcÿ7e8c7ÿg7ÿ5i                                                    ÿÿ ÿ                g0̀2̀22iÿ ÿÿ ÿ                                    fÿ
    ÿ8^ÿcÿbÿ^8                                                            ÿÿ




                                                                                            ÿÿ ÿ
                                                                                                 ÿ   ÿ




                                                                                                                g`44h̀iÿ ÿÿ ÿ
                                                                                                                             ÿ     ÿÿ     ÿ   ÿ




                                                                                                                                                        g534̀5̀iÿ  ÿ




  /GILB\ÿ=jÿ<H=\BCYB>CÿjA>C]
                                                                                                                             ÿ                                         ÿ
                                                                                          ÿÿ     ÿ   ÿ                             ÿÿ     ÿ   ÿ




                                                                                            ÿÿ                                     ÿÿ
  aÿb78ÿc8cdc7ÿ8ce                                                        ÿÿ ÿ                    5h̀0ÿ ÿÿ ÿ                                    fÿ
  ^8ÿ89                                                                           ÿÿ ÿ                   g0`0iÿ ÿÿ ÿ                                   fÿ
  ^8ÿ7e8ÿcÿ7e8c7ÿg7ÿ5i                                                    ÿÿ ÿ               232̀2̀0ÿ ÿÿ ÿ                                      fÿ
    ÿc8^ÿcÿbÿ^8                                                              ÿÿ ÿ               22`354̀hÿ ÿÿ ÿ                                      fÿ
                                                                                          ÿÿ     ÿ   ÿ                       ÿ     ÿÿ     ÿ   ÿ                        ÿ




  ÿ
  k
                                                                                          ÿÿ     ÿ   ÿ
                                                                                                                             ÿ
                                                                                                                                   ÿÿ     ÿ   ÿ
                                                                                                                                                                       ÿ




          ^c^_ÿ7lÿ^cecmÿ8c78ÿ7ÿ6d8^8mÿ50ÿ̀245ÿ^ÿdÿ^nÿ7ÿoceÿbbÿ7ÿ^ÿ^87pc9^_mÿ5ÿ7ÿ5h25ÿ8e8ÿ7lÿ_cÿ^ÿ^8ÿ7bÿÿ7e8c7ÿ7
        ^ÿ_7ÿbÿg7ÿ5iÿc8cdc7ÿ^cecmÿ8_^ÿ7ÿÿqÿ̀ÿ^ÿrÿ^8ÿ_^ÿ8_^ÿ7ÿÿ8c7ÿb879ÿs7d8ÿ5ÿ̀245ÿ87oÿ6d8^8mÿ50ÿ̀245
  ÿ
                                                         ÿ^79^mcoÿ7ÿ7ÿ77_c^ÿ6c^c^_ÿ^9 50                                               ÿÿÿ




118781791444553520534401224489                                                                                                            241
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39           Page 292 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ/434575.4ÿ-8ÿ,3/9ÿ80-:/
  ÿ
  ÿ
  <=
  ÿ
     >?ÿ5@A=Aÿ/=BC=DE=?ÿFGHÿIGJK                                  ÿ                                  9LMNO>@AÿPOQE>Oÿ3OOQR>CLQ@ÿ8S@A
  ÿÿ                                                                                                          ÿÿ TUV ÿ
  ,>WNÿ8OQXWÿY?QZLA=AÿE[ÿ-B=?>CL@Mÿ3RCLZLCL=W\                                                                ÿÿ
      ÿ8]ÿ^ÿÿ]ÿ8^_ÿ̀879ÿ^_9ÿ78]^7                                            ÿÿÿa5b0cb0dÿ
  3AeSWCD=@CWÿCQÿf=RQ@RLO=ÿ.=Cÿ2=R?=>W=ÿL@ÿ.=Cÿ3WW=CWÿCQÿ.=Cÿ,>WNÿY?QZLA=AÿE[ÿ-B=?>CL@M
    3RCLZLCL=W\                                                                                               ÿÿ
    g8]ÿ7ÿ̀^_9ÿ8^^ÿ̀879ÿ]``^h^]ÿ^8                                              ÿÿÿa55b4b0dÿ
    g8]ÿ7ÿ̀^_9ÿ8^^ÿ̀879ÿ]``^h^]ÿ^8                                                ÿÿÿa23b44bcdÿ
    g87ÿ̀879ÿ^7^^7ÿ7ÿ̀^_9ÿ8^^ÿ̀879ÿ]``^h^]ÿ^8                              ÿÿÿ52bb234ÿ
    g87ÿ̀879ÿ^7^^7ÿ7ÿ̀^_9ÿ8^^ÿ̀879ÿ]``^h^]ÿ^8                                ÿÿÿ5b2cb33ÿ
    g87ÿ̀879ÿ]hÿ7ÿ̀7889ÿ787̀h^7ÿ^_9bÿ                                                ÿÿÿ54b3b24ÿ
    g8]ÿ7ÿ̀8^^ÿ7hÿ78                                                                        ÿÿÿa2b4b40dÿ
    g87ÿ7ÿ̀8^^ÿ7hÿ78                                                                         ÿÿÿ bc0b24cÿ
      ÿ87ÿ8^_ÿ7ÿi8^ÿ7^7ÿ78]                                                       ÿÿÿ 0b44cbÿ
    j978^k]^7ÿ7ÿ̀89^9                                                                                  ÿÿÿ 552b03ÿ
      ÿ8]h^kÿh7ÿ7ÿ^_9ÿ̀879ÿ]``^h^]ÿ^8                                               ÿÿÿ53b535bc32ÿ
      ÿ8]h^kÿl]^ÿ7ÿ^_9ÿ̀879ÿ]``^h^]ÿ^8                                                 ÿÿÿ acbcb02dÿ
      ÿ8]h^kÿh7ÿ7ÿ8^^ÿ7hÿ78bÿi8^ÿ7^7ÿ78]ÿ]ÿ̀78^lÿ88mÿ8]]^7 ÿÿÿ bcb32ÿ
      ÿ]lÿ^ÿ8]h^kÿ]8^]^71a8^]^7dÿ7ÿ^_9bÿ]``^h^]ÿ^_9bÿ8^^
       7hÿ78bÿi]ÿ78]bÿi8^ÿ7^7ÿ78]ÿ]ÿ8]h]^7ÿ7ÿ]ÿ]ÿh^]n^h^^
       79^]ÿ^ÿ̀78^lÿ88m                                                                        ÿÿÿ b3b2c4ÿ
    o8]ÿ^ÿ8^_]nhÿ̀78ÿ^_9ÿ7h                                                               ÿÿÿ a2b53dÿ
    o8]ÿ^ÿ8^_]nhÿ̀78ÿ^_^ÿ]ÿ^8                                                         ÿÿÿ a354b43dÿ
    o8]ÿ^ÿÿ̀879ÿn87p8                                                                               ÿÿÿ        a5dÿ
    o8]ÿ^ÿ8^_]nhÿ̀78ÿ_]8^]^7ÿ9]8l^                                                               ÿÿÿ a3c5b0dÿ
    o8]ÿ^ÿ̀78^lÿ]qÿ8h]^9ÿ8^_]nh                                                                ÿÿÿ a533b003dÿ
    8]ÿ^ÿ8]^ÿqÿ]ÿ78ÿ]                                                             ÿÿÿ 0b4b30ÿ
    8]ÿ^ÿÿ7ÿ7^]                                                                              ÿÿÿ a3bcdÿ
    8]ÿ^ÿ]m]nhÿ7ÿ8^ÿ7ÿ̀8^^ÿ7ÿh7]                                                    ÿÿÿ a500b444dÿ
    o8]ÿ^ÿ]m]nhÿ̀78ÿ^_9ÿ8]                                                             ÿÿÿ 2b0cbÿ
    8]ÿ^ÿ]m]nhÿ7ÿ8h]ÿ]8^                                                                   ÿÿÿ a205b44dÿ
    8]ÿ^ÿ]m]nhÿ̀78ÿ8]`8ÿ]lÿ̀                                                               ÿÿÿ ab424dÿ
    8]ÿ^ÿ]8ÿ^_^ÿ7ÿ78ÿ]h                                                              ÿÿÿ a55b3dÿ
    o8]ÿ^ÿ]m]nhÿ̀78ÿ799^9ÿ̀                                                                   ÿÿÿ 3c3b32ÿ
    o8]ÿ^ÿ]m]nhÿ̀78ÿ7mÿ̀                                                                      ÿÿÿ 05b0ÿ
    8]ÿ^ÿ]m]nhÿ̀78ÿ7_8^7ÿ7                                                                  ÿÿÿ a3cb4cdÿ
    8]ÿ^ÿ]8ÿqÿ]ÿ78ÿh^]n^h^^                                                        ÿÿÿ acbdÿ
               ÿ]ÿ̀h7iÿ87_^ÿnmÿ78]^lÿ]^_^^                                               ÿÿ




                                                                                                              ÿÿÿcb3c0bc05ÿ
                                                                                                                ÿ   ÿ     ÿ




  ,>WNÿ8OQXWÿf=R=LZ=AÿrW=AÿL@ÿ8L@>@RL@Mÿ3RCLZLCL=W\
                                                                                                           ÿÿ   ÿ   ÿ     ÿ




                                                                                                              ÿÿ
    8]ÿ^ÿ7ÿ]m]nh                                                                                 ÿÿÿa33b23b04dÿ
    _8ÿ88]ÿ]l89                                                                             ÿÿÿ5cb3b0ÿ
    ^8^n^7ÿ]^ÿ^ÿ]                                                                                ÿÿÿa5cb34b5dÿ
    g]m9ÿ7ÿ]8ÿ89                                                                               ÿÿÿab4b4dÿ
    g87ÿ̀879ÿ]8ÿ7h                                                                                 ÿÿÿ b50cbcÿ
               ÿ]ÿ̀h7iÿÿ^ÿ̀^]^lÿ]^_^^                                                   ÿÿ




                                                                                                              ÿÿÿa55b4b354dÿ
                                                                                                                ÿ   ÿ     ÿ




              s``ÿ7ÿ̀q]lÿ8]ÿ]lÿ7ÿ]                                                      ÿÿ




                                                                                                              ÿÿÿ a5b5bc4dÿ
                                                                                                                ÿ   ÿ     ÿ




               ÿ8]ÿ^ÿ]                                                                            ÿÿÿac3b52b0dÿ
                                                                                                           ÿÿ   ÿ   ÿ     ÿ




  ,>WNHÿf=WC?LRC=Aÿ,>WNHÿ>@Aÿ8Q?=LM@ÿ,S??=@R[\
                                                                                                           ÿÿ   ÿ   ÿ     ÿ




                                                                                                              ÿÿ
    tl^^lÿ7ÿ̀m]8                                                                                         ÿÿÿ2b5b0ÿ
    sÿ7ÿ̀m]8                                                                                               ÿÿÿ5bc0b4ÿ
                                                                                                                          ÿ
                                                                                                           ÿÿ   ÿ   ÿ




  /SBBO=D=@C>Oÿ2LWROQWS?=ÿQuÿ,>WNÿ8OQXÿ1@uQ?D>CLQ@\
                                                                                                                          ÿ
                                                                                                           ÿÿ   ÿ   ÿ




                                                                                                              ÿÿ
    ^_9ÿ7ÿ̀^8^n^7                                                                             ÿÿÿ 2b23b33ÿ
      ]ÿ]^ÿ8^lÿÿm]8ÿ̀78ÿ^8ÿqÿ]ÿ799^9ÿ̀                                    ÿÿ




                                                                                                              ÿÿÿ 0bc3b5ÿ
                                                                                                                ÿ   ÿ     ÿ




    g]^ÿ^p^ÿ^8ÿ^79                                                                            ÿÿ




                                                                                                              ÿÿÿ 5b3b5ÿ
                                                                                                                ÿ   ÿ     ÿ




118781791444553520534401224489                                                                 251
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 293 of 600
  ÿ
  5ÿÿÿÿ!79!"#$ÿ7ÿ7ÿ77%#!ÿ6#!#!%ÿ!9
                                                                                                 ÿÿ   ÿ   ÿ   ÿ




118781791444553520534401224489                                                   221
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                      6789ÿ 05/24/21
                                                                                     Entered        10:22:39                         Page 294 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./-01
  ÿ
        23452ÿ71.3.,130ÿ819801984/
  ÿ
  ÿ
  ÿ
                                                                                      ÿ                                      8;<=>?@Aÿ9>BC?>ÿ3>>BD?E;B@ÿ7F@A
  /G >GDEGAÿA?E?ÿHBIÿ?ÿJ=?IGÿBFEJE?@A;@<ÿE=IBF<=BFEÿG?D=ÿKGI;BAÿ;Jÿ?JÿHB>>BLJM
                                                                      7BIÿE=GÿNG?IJÿ5@AGAÿ/GKEGOCGIÿPQR
  ÿ
                                                     ÿÿ                                                        ÿ
  ÿ                                                  ÿÿ SQTUVW ÿ ÿÿ SQTXVW ÿ ÿÿ SQTYVW ÿ ÿÿ SQTZVW ÿ ÿÿ SQT[VW ÿ
  .GEÿ3JJGEÿ\?>FGRÿ]G<;@@;@<ÿBHÿNG?I                 ÿÿ^ 5_3ÿ ÿÿ^ 5_5ÿ ÿÿ^ 5_52ÿ ÿÿ^ 53ÿ ÿÿ^ 53ÿ
  1@DBOGÿHIBOÿ1@`GJEOG@Eÿ-KGI?E;B@JM                 ÿÿ            ÿÿ            ÿÿ          ÿÿ         ÿÿ
    ÿab9ÿa79gch                          ÿÿÿ 434ÿ ÿÿÿ 40_ÿ ÿÿÿ 555ÿ ÿÿÿ 522ÿ ÿÿÿ 400ÿ
    ÿ8cdaeÿcÿ8cdaeÿfcaÿgd7h           ÿÿÿ g554hÿ ÿÿÿ 40ÿ ÿÿÿ g452hÿ ÿÿÿ 443ÿ ÿÿÿ g2hÿ
  i7cdÿj879ÿkb9ÿl8ca7                   ÿÿÿ g44hÿ ÿÿÿ 554ÿ ÿÿÿ 4ÿ ÿÿÿ 520ÿ ÿÿÿ g232hÿ
                                                                        ÿÿ   ÿ   ÿ     ÿ    ÿÿ   ÿ   ÿ     ÿ   ÿÿ   ÿ   ÿ     ÿ   ÿÿ   ÿ   ÿ      ÿ   ÿÿ   ÿ   ÿ      ÿ




  0GJJÿ2;JEI;CFE;B@Jÿ2GD>?IGAÿEBÿJ=?IG=B>AGIJM ÿÿ                  ÿÿ            ÿÿ          ÿÿ         ÿÿ
  6879ÿÿab9ÿa79                         ÿÿÿ g424hÿ ÿÿÿ g4_3hÿÿÿÿ g42hÿ ÿÿÿ g4_hÿ ÿÿÿ g40hÿ
  6879ÿÿ8cdaeÿfca                            ÿÿÿ mÿ ÿÿÿ mÿ ÿÿÿ mÿ ÿÿÿ mÿ ÿÿÿ g403hÿ
  6879ÿ88ÿ7jÿcacd                             ÿÿÿ g40_hÿ ÿÿÿ g424hÿÿÿÿ g443hÿ ÿÿÿ g440hÿ ÿÿÿ mÿ
  i7cdÿa8ana7ÿdc8ÿ7ÿc87d8       ÿÿÿ g4_hÿ ÿÿÿ g43hÿÿÿÿ g40hÿ ÿÿÿ g4hÿ ÿÿÿ g55hÿ
                                                                        ÿÿ   ÿ   ÿ     ÿ    ÿÿ   ÿ   ÿ     ÿ   ÿÿ   ÿ   ÿ     ÿ   ÿÿ   ÿ   ÿ      ÿ   ÿÿ   ÿ   ÿ      ÿ




  .GEÿ3JJGEÿ\?>FGRÿ5@AÿBHÿNG?IC                    ÿÿ^ 534ÿ ÿÿ^ 5_3ÿ ÿÿ^ 5_5ÿ ÿÿ^ 5_52ÿ ÿÿ^ 53ÿ
  i7cdÿ8gnhgh                                 ÿÿÿ g__4hoÿÿÿÿ 0oÿÿÿÿ 45oÿÿÿÿ 5oÿÿÿÿ g5__5hoÿ
  p?E;BJÿEBÿ3`GI?<Gÿ.GEÿ3JJGEJMA                   ÿÿ            ÿÿ            ÿÿ          ÿÿ         ÿÿ
    ÿqrÿsÿ7jÿtc8ÿg444uh                   ÿÿ^2r5_ÿ ÿÿ^52r303ÿ ÿÿ^20_r03ÿ ÿÿ^3r205ÿ ÿÿ^0r23ÿ
  v87ÿ78cafÿwghgjh                     ÿÿÿ 20_oÿÿÿÿ 23oÿÿÿÿ 524oÿÿÿÿ 555oÿÿÿÿ 4oÿ
    ÿab9ÿa79                             ÿÿÿ 255oÿÿÿÿ 33oÿÿÿÿ 0oÿÿÿÿ 2_oÿÿÿÿ 35oÿ
  x78j7da7ÿ87b8ÿ8c                            ÿÿÿ 2oÿÿÿÿ 05oÿÿÿÿ oÿÿÿÿ 544oÿÿÿÿ 54oÿ
  ÿ
  y     jdÿÿjacacdÿafdafÿ7jÿdcÿtÿ7jÿÿ7ÿjÿ8a78ÿ7ÿÿ7b8a7
  z     x8ÿc8ÿccÿ8a78ÿ7ÿ6n8c8{ÿ50rÿ245ÿcÿnÿc|ÿ7ÿfabÿjjÿ7ÿcÿc87wa9cd{ÿ5ÿ7ÿ5_25ÿ8b8ÿ7}ÿdaÿcÿc8ÿ7jÿÿ7b8a7ÿ7ÿc
        d7ÿjÿg7ÿ5h
  gch   x8ÿc8ÿccÿ~cÿcddcÿafÿcb8cfÿc8ÿ7cafÿ8afÿÿ8a7
  gnh   iÿÿqÿcdÿ8ÿc8ÿcÿ7cdÿ88ÿcbÿnÿcddcÿncÿ7ÿÿcÿ~aÿadÿc|9ÿ9cÿaÿc78cÿ~aÿÿv8cdd{
        qÿq7afÿx8aadÿ8a8ÿcÿ8a7ÿÿj78ÿjacacdÿ878afÿ87ÿiÿjaf8ÿ7ÿ7ÿc8ad{ÿ8jdÿÿÿqÿcdÿ8ÿc8ÿ78
        7cdÿ88ÿw8aÿn{ÿÿc87d8ÿcÿ8a7ÿ
  gh   i7cdÿ88ÿaÿncÿ7ÿ9c8}ÿbcdÿ8ÿc8ÿj78ÿ8a7ÿcj8ÿ6n8c8{ÿ50rÿ245ÿa8ana7ÿc8ÿc9ÿj78ÿ87ÿ7jÿaÿcddca7ÿ7ÿnÿ8abÿc
        8aÿ7ncaÿ8ÿÿ6uÿabaÿab9ÿxdcÿx8a78ÿ7ÿ6n8c8{ÿ50rÿ245rÿ7cdÿ88ÿaÿcÿÿcÿbcdÿc9afÿcddÿa8ana7ÿc8
        8abÿ678ÿ8a7ÿ~aÿ~cab818a9n89rÿcÿÿ6uÿab9ÿcba8ÿ7ÿ~cabÿ78ÿ8a9n8ÿcÿ78a7ÿ7jÿwrÿ7cdÿ88ÿ~7dÿcb
        nÿd7~8
  gh   qddÿ8ca7ÿj78ÿÿ8a7ÿcbÿnÿccdaerÿdÿ78~aÿaac
  gh   d9cdÿwÿ8ca7ÿc8ÿ7~ÿnd7~
  gjh   kdÿabaÿcÿjÿ7ÿ8aaÿ7dÿ78
                                                                                                                ÿÿ 7BIÿE=GÿNG?IJÿ5@AGAÿ/GKEGOCGIÿPQR ÿ
  ÿ

  ÿ                                                                                                             ÿÿSQTUÿ ÿÿSQTXÿ ÿÿSQTYÿ ÿÿSQTZÿ ÿÿSQT[ÿ
    ÿ78cafÿwÿgÿ7jÿ~cab818a9n89rÿajÿcdacndrÿnÿf87ÿ7jÿcdd
     78ÿ78cafÿwh                                                         ÿÿÿ2_0oÿÿÿÿ23oÿÿÿÿ55oÿÿÿÿ540oÿÿÿÿ4oÿ
  k8ÿwÿcÿ799a9ÿj                                                 ÿÿÿ54oÿÿÿÿ542oÿÿÿÿ43oÿÿÿÿ455oÿÿÿÿ445oÿ
  a
  ÿ
    b a
        
            ÿc ÿj
                  ÿ7ÿ8a
                               a ÿ
                                   7 d
                                      ÿ 78                                         ÿÿÿ455oÿÿÿÿ45oÿÿÿÿ440oÿÿÿÿ45oÿÿÿÿ443oÿ
                                                          ÿc79c{afÿ7ÿ7ÿ77dacÿ6acacdÿc9ÿÿÿ5




118781791444553520534401224489                                                                                                           231
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                     6789ÿ 05/24/21
                                                                    Entered        10:22:39              Page 295 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1
  ÿ
  ÿ
  1;
  ÿ
    <=;>?;@ÿABCÿDBEF                                                 ÿ                                  GHIJKLMNÿOKP?LKÿ7KKPQL=HPMÿ8RMN
  -P=;ÿESÿ.@ILMHTL=HPM                                           ]^U e6\_ÿ78ÿÿ^fg9ÿ\gV8_`ÿ7ÿ9YlÿV9YÿY
  UVWXYÿZX7[YXÿ\XX7YV7ÿ6ÿ]ÿ^6_`ÿVÿ78WYVaÿY YXVY[VXV9  V7ÿYÿYccÿÿ878ÿY97ÿ7cÿYÿY
                                                                          ViÿÿVX78ÿ7cÿ7VWÿYÿYÿXVY[VXVVÿY
  YÿV7878Yÿ[Vÿ8ÿ8ÿÿXYbÿ7cÿd         ÿYÿ7cÿÿ77XVYÿcVYVYXÿY9ÿYÿ
    7997bYXÿ7cÿeYYÿdÿ6ÿVÿ8WV8
  8ÿÿfg9ÿ79Yhÿ\ÿ7cÿ54iÿYÿY9ÿ] 887788VWÿÿY97  ÿ7cÿ8gÿYÿnÿ8VWÿ
                                                                                 8V7ÿYWÿVÿÿ779VÿgV879i
  ^54ÿ\_`iÿYÿYÿVg8VcViÿX7ÿ9YYW9
  Vg9ÿ79YhÿdVÿ878ÿ7g8ÿVc789YV7ÿc78ÿ cVY89V  VYXÿ9Y8lÿYÿYhÿ78ÿY8Y98ÿÿV
                                                                              VWÿÿV9Yÿ7XÿYÿYYXÿ8Xÿ7ÿVcc8
  hY8ÿÿ9[8ÿ34iÿ245                                 9Y     8VY X
                                                                              Xh
  jÿ7g9[8ÿiÿ245iÿY87X8ÿ7cÿÿ6ÿY87gÿY
  877YXÿY78VaVWÿÿk7Y8ÿ7cÿd8ÿ]ÿ^k7Y8_`ÿ7c |LyHyÿPwÿ3PMyPKHNL=HPM
  ÿ6ÿ7ÿ7g8ÿÿcÿc879ÿYÿ7ÿcÿ7ÿY         dÿ6ÿ77XVYÿUVWXYÿZ\6ÿ9VYXÿU7XVWiÿqq
  X7ÿcÿYÿYÿVYXÿ9VWÿ7cÿY87X8ÿd
  k7Y8ÿ77lÿYV7ÿ7ÿ7g8ÿÿ6ÿ7ÿYÿX7ÿc ]^Z\6ÿ           9VYXÿU7XVW_`iÿYÿXYbY8ÿb7XXhÿ7b
  ccVgÿ78XhÿYc8ÿ44ÿ9ÿmY8ÿdV9ÿ7ÿ6[8Y8hÿ5i ÿc78ÿh7iÿ997
                                                                     [   V
                                                                            V
                                                                             Y 8  c78ÿcVYVYXÿ878VWÿZ\6ÿ9VYXÿU7XVWÿV
                                                                                         VhÿVg9ÿ8YVWÿYÿVÿVg9ÿY8
  245ÿ]ÿ^7g8V7ÿY_`ÿdÿ6ÿYX7ÿccÿY         V X     ÿbVV ÿ  ÿ77XVYÿcVYVYXÿY9ÿ7cÿ
  Y87nV9YXhÿ5c78525 ÿ8g8ÿ7lÿXVÿ7cÿÿ6o 6ÿ\XXÿV879
  VÿYÿ7YVWÿY8ÿ7ÿ6[8Y8hÿ5iÿ245iÿ8[h XV9VYÿVÿÿ7Y7hXVÿYYV77ÿYÿ8YYV7ÿYgÿ[
  8VWÿÿ9[8ÿ7cÿY8ÿ7YVWÿY87X8
  b8ÿYVÿYÿc78ÿYhÿc8YV7YXÿY8ÿ8XVWÿc879ÿ
  8g8ÿ7lÿXVÿdÿ6ÿ[WYÿXVVWÿVÿY8ÿc78
                                                                 }LKRL=HPMÿPwÿ5M~;y=>;M=y
  8YVWÿ7ÿÿbÿp78lÿ7lÿmnYWÿ]ÿ^pm_`ÿ7           fÿ79VWÿÿ6oÿÿYÿY8V[Y[Xÿ7ÿY8i
                                                                 8VVÿbVÿ8YVXhÿYgYVXY[Xÿ9Y8lÿ{7YV7ÿ7ÿÿb
  6[8Y8hÿ5iÿ245ÿ8ÿÿVl8ÿh9[7Xÿ^UZqk_ÿdÿ6 p78lÿ7lÿmnYWÿ]pm`iÿYV7YXÿ\7VYV7ÿ7c
  9YhÿVÿYÿXV9Vÿ9[8ÿ7cÿ7997ÿY8iÿY8ÿgYX 8VVÿYX8ÿ\79Yÿ7YV7ÿ]^\\_`ÿ78ÿ78
  r4445ÿ8ÿY8ÿ]^7997ÿY8_`ÿs8V78ÿ7ÿÿ7g8V7 YV7YXXhÿ87WVaÿnYWiÿÿÿX7VWÿ{7YV7ÿ7
  Yiÿÿ6ÿVÿXYÿ\iÿXYÿiÿYÿXYÿpÿY8 ÿ8VgÿnYWÿc78ÿgYXYV7ÿ7cÿ7ÿ8VV
  dÿ6ÿV88ÿr5ii4 ÿVÿ7g8V7ÿ7ÿ8XYÿ7 8VVÿc78ÿbVÿ8ÿY8ÿ7ÿ8YVXhÿYgYVXY[Xÿ9Y8l
  ÿcÿ7g8V7ÿ7ÿYÿX7ÿc                       {7YV7ÿbVXXÿ[ÿgYXÿ8Yÿ7ÿ7XVVÿY7ÿ[hÿ
  jÿ\Wÿ3iÿ245iÿÿk7Y8ÿ7cÿÿ6ÿY78Vaÿ        6oÿk7Y8ÿ7cÿd8ÿ]ÿ^k7Y8_`ÿdhVYXXhiÿ
  88Yÿ7cÿÿ7ÿÿX8ÿ7cÿr24ÿ9VXXV7ÿ78ÿ0tÿ7cÿ     8VVÿbVXXÿ[ÿgYXÿYÿÿ9Yÿ[bÿÿ97ÿ8Xh
  6oÿY8ÿ7g8ÿYÿVn97ÿ8V7ÿc7XX7bVWÿ7g8V7ÿ7c 9Y{7ÿ[VÿYÿYlÿ8Vÿ87gVÿ[hÿÿ8VVYXÿ9Y8l
  ÿ6ÿc879ÿYÿ7ÿ6ÿ7ÿYÿX7ÿcÿd lÿgY8XÿfÿcÿYX8Xÿ[ÿVÿÿ978ÿYÿ7ÿÿ8VVYXÿ9Y8lÿ9Yl8i
  6ÿ7g8ÿV7ÿYÿX7ÿcÿ7ÿ6[8Y8hÿ53iÿ245 bV7ÿYÿYXÿ8Vÿ78ÿÿY{g78YYWV7ÿ7cÿÿc879ÿ
                                                                                                                    ÿ9Yÿ8VV
  u8ÿVÿ87W8Y9iÿÿ6ÿ88Yÿ03i 4ÿY8 7ÿÿgYXYV7ÿYhÿ9Yhÿ[ÿ8Vÿ[hÿY8VÿVVYXÿ9Y           8lÿ9Yl8
  87WÿvXhiÿ245iÿYÿYÿYg8YWÿ8Vÿ7cÿr552iÿc78ÿYÿ7YX 8gVÿZ8YXXhiÿÿ6oÿX7YÿYÿ[7ÿ7VV7ÿÿY88VÿV7W
                                                                                                                              
  Vg9ÿ7cÿr544ÿ9VXXV7                                   8Yÿ7ÿnYWÿYÿ7{XhÿY8ÿgYXÿ[Yÿ7ÿY
  jÿ\Wÿ24iÿ245iÿÿk7Y8ÿ7cÿÿ6ÿY87gÿY          9Yÿ7cÿÿ[VÿYÿYlÿ8Vÿc879ÿÿV8Y8hÿ8VVW
  nV7ÿ7cÿÿ88Yÿ87W8Y9ÿc78ÿYÿ8V7ÿ7c             8gVÿ78ÿ[87l8YX8ÿ78ÿYÿÿfg9ÿ\gV8
  Vnÿ97ÿÿ7ÿYÿYVV7YXÿr24ÿ9VXXV7ÿ7cÿÿ6o        Yÿ89Vÿ7ÿYgÿÿYY[VXVhÿ7ÿ87gVÿY878VY
  Y8                                                        8VVWÿ8gVÿbVÿYgÿ[ÿY87gÿ[hÿÿk7Y8
  -P=;ÿDSÿ1HIMHwHQLM=ÿ7QQPRM=HMIÿxPKHQH;y                        8VVÿc78ÿbVÿ9Y8lÿ{7YV7ÿY8ÿ7ÿ8YVXhÿYgYVXY[Xi
  dÿc7XX7bVWÿ99Y8VaÿÿVWVcVYÿY7VWÿ7XVV c7887ÿ9ÿ
                                                                     c78ÿbVÿÿ6ÿYÿ89VÿYÿÿ8Vÿ8Vg
                                                                          Yÿ8VVWÿ8gVÿ78ÿ[87l8YX8ÿVÿ^YX_ÿ78ÿ78bV
  7VXhÿc7XX7bÿ[hÿÿ6ÿVÿÿ8Y8YV7ÿ7cÿV     7    ÿ7ÿ88ÿcYV8ÿgYXÿ]ÿYÿbÿgÿ9Y8VYXXh
  77XVYÿcVYVYXÿY9                             YccVWÿÿgYXÿ7cÿ8VVÿ78ÿ[bÿÿV9ÿb
  zy;ÿPwÿ0y=H>L=;y                                               9Y8lÿ8VÿVÿ89VÿYÿYXXYV7ÿ7cÿÿ6oÿ
  dÿ6ÿVÿYÿVg9ÿ79YhÿYÿYXVÿ             YÿgYXÿ]^\_`iÿbVXXÿ[ÿgYXÿ[hÿÿ6ÿYÿcYV8ÿgYXiÿY
  Y7VWÿYÿ878VWÿWVYÿ7cÿ\7VWÿYY8 89Vÿ[hÿÿk7Y8ÿ78ÿVÿVWÿVÿW77ÿcYVÿV
    7VcVYV7ÿd7VÿÿYXVY[Xÿ7ÿVg9ÿ79YV Y78YÿbVÿ878ÿY87gÿ[hÿÿk7Y8iÿYlVWÿV7
  dÿ6oÿ77XVYÿcVYVYXÿY9ÿYgÿ[         Y7ÿcY78ÿ8Y7Y[Xhÿ89Vÿ7ÿ[ÿ8XgYi
  8Y8ÿVÿ7c789VhÿbVÿY7VWÿ8VVXÿW8YXXh
  YÿVÿÿuVÿYÿ7cÿ\98VYÿ]^Z\\s_`iÿbV
  8{V8ÿUVWXYÿYVYXÿeYYW9ÿ6ÿ\gV78iÿqs
  ÿ
118781791444553520534401224489                                                                       21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 296 of 600
  5ÿÿÿ!"#ÿ78




118781791444553520534401224489                                                 201
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                        6789ÿ 05/24/21
                                                                       Entered        10:22:39           Page 297 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                   ÿ                               N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  WVWXYÿZÿ7ÿVW9Wÿ7ÿ[W\ÿÿ]U9UVÿUUV^WUVÿUU                bWÿÿ6ÿUÿ7ZUWÿWWUW_ÿy7ÿ]879
  8VUWXÿ7ÿÿW_9ÿ̀[WW\ÿÿU8ÿUÿ8UW7ÿ7]                       Z87a8UV8ÿUÿ7ÿ7ÿU8WV^ÿ88
  88WW7ÿ7ÿW7WW7ÿ7]ÿÿ8WWÿ̀Uÿ[WWW\ÿU                       8WÿÿZ87a8ÿ9U^ÿZÿbWVVWXÿ7ÿ8Uÿ7YÿUÿ
  _UVUW7ÿ7]ÿÿ]78ÿUÿW]Vÿÿ9U8aÿWÿbW                       y7ÿUÿZÿZfÿ7ÿ9U8WUVÿ9UUX9
  ÿ8WWÿU8ÿ8UÿUÿ7VÿcÿÿUYÿ                      fX9ÿh7Z8_UZVÿWÿU8ÿ7ÿWÿU
  6dÿTeÿbWVVÿ8]VÿÿU]]ÿ78]7VW7ÿ8WWdÿ]UW8                    8]Vÿÿ6dÿ7bÿU9W7ÿUÿ9U8a
  _UVÿUÿ89WÿWÿÿfX9ÿ7]ÿÿg7U8ÿ78ÿW                           U8WWUÿb7Vÿÿ7ÿ8WÿÿUÿ78ÿVWUZWVW^
  WXÿWUÿ7]ÿZWXÿ89WÿZ^ÿÿ9U8aÿhWXÿU                       ZUÿ7ÿÿZÿU_UWVUZVÿW]789UW7
  ]UW8ÿ_UVÿ8WWXÿ977V7X^ÿ7ÿ_UVÿ8WWÿ9U^ÿ8VÿW      iÿc_9ÿT_W8ÿUÿUZVWÿ7VWWÿU
  Uÿ_UVÿUÿWÿW]]8ÿ]879ÿUÿ8W^dÿ97ÿ8ÿUV          878YÿUÿ8WZÿUZ7_ÿUÿU87_ÿZ^ÿÿg7U8Yÿ7
  8WÿUÿ]879ÿÿ8WÿÿZ^ÿ78ÿW_9ÿ79UW          8ÿUÿ_UVUW7ÿ977V7XWÿ]78ÿW_9ÿU
  7ÿUVVUÿW8ÿTeÿ89WUW7ÿ7]ÿ]UW8ÿ_UVÿW                ]WUWUVÿW89ÿUÿU8ÿUX78WjÿbWWÿUVVÿV_Vÿ7]ÿ
  8UWÿZUÿWÿW_7V_ÿZfW_ÿfX9ÿU                ]UW8ÿ_UVÿW8U8^ÿU8ÿ]UW8ÿUÿ7WÿTÿ}8WWX
  W9U                                                              799WÿUÿZÿUZVWÿ7ÿ87_Wÿ7_8WXÿ7]ÿ
  i8ÿUÿZÿ7ÿU8UÿUÿÿ6dÿ_UVUW7ÿ7]ÿU              _UVUW7ÿ7VWWYÿ87ÿUÿ878YÿUÿWÿ798W
  8W^ÿbWVVÿ7ÿW]]8ÿ]879ÿÿU97ÿUÿWÿ8UVWjÿ7ÿ    7]ÿ87Vÿ]879ÿÿc_9ÿT_W8ÿUÿWÿU]]WVWUÿi
  UVÿ7]ÿÿ8W^ÿi7ÿW]]8ÿ7VÿU_ÿUÿ9U8WUV        }8WWXÿ799Wÿ9ÿ97V^ÿ7ÿ8_Wbÿÿ877
  W9Uÿ7ÿÿ6ÿiÿTeÿ7bÿWÿÿ6d                        _UVUW7ÿ]78ÿW_9ÿUÿ]WUWUVÿW89ÿUÿW
  77VWUÿ]WUWUVÿU9ÿ9U^ÿ_U8^ÿ]879ÿÿTe                87WZVÿ]78ÿ_UVUWXÿÿ7_8UVVÿ]UW8ÿUÿ7W
  ZVWÿZ^ÿÿ6ÿUÿ7]ÿWÿ8W7ÿÿZUÿ78]7VW7          UVWUW7ÿ7]ÿUZVWÿ7VWW
  8WWÿ8UUW7ÿU8ÿU7ÿ]78ÿ7ÿÿ8UÿU           Tÿ7]ÿ9Z8ÿ34Yÿ245Yÿÿ6dÿW_9ÿ7Wÿ7]
  [8U8ÿUÿÿU^ÿ]7VV7bWXÿÿ8UÿU\ÿ]78ÿ77VWU       W78ÿV7UYÿUZUaÿ8WWYÿZ7ÿUÿ7Y
  ]WUWUVÿU9ÿ87                                         7997ÿ7aYÿ9U8ÿVW9WÿU88WYÿ8XW8
  7R>GÿkRQ?@ÿ8@Rl?G@E@<=l                                               W_9ÿ79UWYÿUÿyW_UVYÿmUX8U
  iÿ6ÿUÿ8]789ÿUÿUUV^Wÿ7]ÿUVVÿmWWX                    ]Yÿ8WXYÿbU88UYÿ8WWÿ7Vÿ78YÿUÿ7VVU8UVWj
  W_9ÿUÿ8W_UW_ÿW89ÿ7ÿ89Wÿ               V7Uÿ7ZVWXUW7ÿiÿ]UW8ÿ_UVÿ7]ÿÿ6dÿV7UYÿZ7ÿU
  WXW]WUÿUÿU8U8ÿ7]ÿWÿ7ÿW8ÿ]UW8ÿ_UV              UZUaÿ8WWÿU8ÿX8UVV^ÿZUÿ7ÿy7
  89WUW7ÿiÿV_Vÿ7]ÿ]UW8ÿ_UVÿWÿÿ7ÿ9U8        8W_ÿ]879ÿZ87a8ÿ78ÿWÿ8WWXÿ8_Wÿz7UY
  ÿ6dÿW_9ÿU8ÿU8U8WjÿW7ÿUÿ]UW8ÿ_UV            Z7ÿUÿUZUaÿ8WWÿbWÿy7ÿUÿU8ÿZU
  W8U8^ÿn8ÿWÿ]78ÿUÿUÿ78ÿVWUZWVW^ÿ]UVVÿW7ÿ978      7ÿUUVÿ8UÿbWÿUÿ]]WWÿV_Vÿ7]ÿUW_W^ÿ7ÿ78ÿU8ÿ
  Uÿ7ÿV_VÿWÿÿ]UW8ÿ_UVÿW8U8^YÿÿW_9ÿW         9U89ÿUÿU8ÿVUW]WÿUÿz_Vÿ2ÿUÿW78
  VUW]WÿWÿWÿW8^ÿZUÿ7ÿÿV7bÿV_VÿWÿUÿW    V7UYÿZ7ÿUÿUZUaÿ8WWÿUÿU8ÿ8WÿWX
  WXW]WUÿ7ÿUÿW_9dÿ_UVUW7ÿiÿ8ÿV_Vÿ7]       y7ÿ8W_ÿ]879ÿW9VWÿ_UVYÿWWUW_ÿZWYÿ78ÿUÿVW9W
  ÿ]UW8ÿ_UVÿW8U8^ÿU8ÿ8WZÿZV7b                         9Z8ÿ7]ÿUUVÿ8UÿU8ÿVUW]WÿUÿz_Vÿ3ÿU
                                                                        ZUÿÿWÿÿZ^ÿÿZ87a8ÿUÿ8WWXÿ8_Wÿ7
  opqprÿtÿuv7ÿUfÿ8Wÿ]78ÿWWUVÿW89
  ÿ

              WÿUW_ÿ9U8aÿ7ÿbWÿÿ6ÿUÿUÿU         8W_ÿÿ_UVÿU8ÿ7ÿ8UWV^ÿ7Z8_UZV
              ÿUÿ7]ÿ9U89`                                  iÿ]UW8ÿ_UVÿ7]ÿÿ6dÿ7997ÿ7aYÿ8XW8
                                                                        W_9ÿ79UWYÿ8WXÿUÿbU88UÿUÿU8ÿ7ÿUW_V^
  opqprÿwÿxv7ÿ8Wÿ]78ÿW9WVU8ÿW89ÿWÿUW_
  ÿ
                                                                        8Uÿ7ÿUW7UVÿmUXÿU8ÿX8UVV^ÿ8WÿWXÿy7
              9U8aÿ̀y7ÿ8Wÿ]78ÿWWUVÿ78ÿW9WVU8           8W_ÿ]879ÿW9VWÿ_UVYÿWWUW_ÿZWYÿ78ÿUÿVW9WÿU97
              W89ÿWÿ9U8aÿUÿU8ÿ7ÿUW_YÿZÿU8       7]ÿUUVÿ8UÿUÿU8ÿVUW]WÿUÿz_Vÿ3ÿUÿZU
              _UVÿZUÿ7ÿmÿ8Uÿ̀Z87a8                   ÿWÿÿZ^ÿÿZ87a8ÿUÿ8WWXÿ8_Wÿ7ÿ8W_
              y7UW7ÿUÿ7WÿUÿmUZVÿ8Wÿ̀U       ÿ_UVÿU8ÿ7ÿ8UWV^ÿ7Z8_UZVÿ~mUX8Uÿ7W7
              UV8UW_ÿ8WWXÿ78ÿ78ÿZ^ÿ7Z8_UZV       U8ÿ_UVÿZUÿ7ÿÿVUÿ8Uÿ8Wÿ7ÿÿ8W9U8^
              WÿU8ÿVUW]WÿbWWÿz_Vÿ2ÿz_Vÿ2ÿW      mUXÿ7ÿbWÿ^ÿ8Uÿc]ÿUÿ7W7ÿ7ÿ7ÿ8UYÿ
              U8ÿW8ÿW8V^ÿ78ÿWW8V^ÿ7Z8_UZVÿ]78ÿ      9W8WYÿbWÿWÿÿ9Uÿ7]ÿÿZWÿUÿUaÿ8WYÿWÿWVWj
              UÿWÿ7W7ÿbWÿ9U8aÿUUÿUÿ               7ÿ_UVÿÿ7W7
              9  U89ÿUÿ̀U                                   Tÿÿÿ7]ÿUÿUVU8ÿyU88Yÿÿc_9ÿT_W8
  opqprÿ{ÿu|7Vÿ8W_ÿ_UVUW7ÿWÿbWÿ7ÿ78ÿ978
  ÿ
                                                                        _UVUÿÿz_Vÿ2ÿUÿ3ÿUÿUÿVWUZWVWWÿ]78ÿUX
              WXW]WUÿWÿ78ÿWXW]WUÿ_UVÿ8W_8ÿU8
              7Z8_UZVÿcÿ8UWÿUYÿW_9
              VUW]WÿbWWÿz_Vÿ3ÿ9U^ÿWVÿ8WWÿ]78
  ÿ
                                                                                                                TUVÿ78ÿÿÿ5
118781791444553520534401224489                                                                       21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39            Page 298 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                    ÿ                            N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  UÿVUkUUXbÿUVUWÿaÿ7ÿVU9Uÿ7ÿ]8ÿ[ÿa87\8ÿU     Z[VbÿÿY[U8ÿZ[Vÿ7Yÿÿ6`ÿUZ9ÿ9[XÿYV[
  ]UVVUWÿ7ÿsÿ[ÿÿk7ÿ8Ubÿÿÿ[               Y879ÿ8U7ÿ7ÿ8U7ÿ_UU7[VVXbÿÿY[U8ÿZ[Vÿ7YÿUZ9
  7UXÿ7Yÿ8UÿY879ÿU8ÿ[8Xÿ8ZUbÿ[ÿ            9[XÿUYY8ÿUWUYU[VXÿY879ÿÿZ[Vÿ[ÿ]7Vÿ[Zÿa
  sUÿ7Yÿ7978[7bÿ7a8Z[aVÿ8[ÿUÿ              ÿ[ÿ[ÿ8[Xÿ9[8\ÿsUÿY78ÿÿUZ9ÿ[ÿ9[X
  9[8\ÿ_UU7[VVXbÿÿgZ9ÿ_ZU8ÿZ[V[ÿ          UYY8ÿ9[8U[VVXÿY879ÿÿZ[Vÿÿ6ÿ9[XÿVU9[VX
  cZVÿ5ÿ[ÿ2ÿ[ÿ[ÿVU[aUVUUÿ7ÿ[ÿk[88VXÿa[UÿY78       8[VU^ÿ688bÿÿUZ9ÿ9[Xÿaÿatÿ7ÿVW[Vÿ[
  [WÿUÿVUUWÿ78ÿVUUWÿ7ÿ[U7[Vÿs[W            78ÿ88UU7ÿ7ÿ8[Vÿ78ÿ78]UÿVÿVUkUÿ[ÿaVUVX
  ÿ7ÿÿU8ÿ8[UXÿ7Yÿ89UUWÿÿY[U8ÿZ[Vÿ7Y 8[ÿ8UU
  UZ9ÿ[ÿ7ÿ7ÿ[Zÿ[ÿ8[UVXÿ[Z[UV[aVÿ9[8\
  TÿUÿ78ÿ977V7WXÿÿY78ÿZ[VUWÿ8UUÿ[8ÿ7ÿ[8UVXÿ[ÿUU[U7ÿ7Yÿÿ8U\ÿ[7U[ÿ]UÿUZUWÿU
  ÿ

  7ÿ8UUÿT8[Y8ÿUÿ[ÿ7ÿ7YÿÿVZVÿ[8ÿ87WU^ÿ[ÿÿZ[Vÿ[ÿÿÿ7Yÿÿ8U7ÿ_ÿ99[8Xÿ7YÿÿU
  ÿ7ÿZ[Vÿÿ6`ÿ[ÿ[ÿ7Yÿ9a8ÿ34bÿ245ÿUÿ[ÿY7VV7]
  ÿ
                                                                                                      cZVÿ2              cZVÿ3
                                                                                 cZVÿ5             UWUYU[          UWUYU[
  ÿ6iÿi@=i                                          T7[VÿZ[Vÿ[
                                            ÿÿÿÿ 9a8ÿ34bÿ245ÿ
                                            ÿÿÿÿ
                                                                        ÿÿÿÿ
                                                                        ÿÿÿÿ
                                                                                 d7
                                                                                  e8U ÿ      ÿÿÿÿ
                                                                                               ÿÿÿÿ
                                                                                                    fa8Z[aV
                                                                                                       g ÿ     ÿÿÿÿ
                                                                                                                    ÿÿÿÿ
                                                                                                                         h7a8Z[aV
                                                                                                                            g ÿ
   7hÿjkUX                            ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
           799U[U7ÿ8ZU            ÿÿÿÿ l         bbÿ   ÿÿÿÿ   l bbÿ    ÿÿÿÿ l          mÿ   ÿÿÿÿ l          mÿ
           798ÿU8U7[8X            ÿÿÿÿ ÿ        52b5bn4ÿ   ÿÿÿÿ   ÿ b2b2ÿ    ÿÿÿÿ ÿ 3bbn5ÿ    ÿÿÿÿ ÿ          mÿ
           798ÿ[V                  ÿÿÿÿ ÿ           25b044ÿ   ÿÿÿÿ   ÿ 25b044ÿ      ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         j8WX                             ÿÿÿÿ ÿ        5b03b5n5ÿ   ÿÿÿÿ   ÿ5b03b5n5ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         6U[U[V                         ÿÿÿÿ ÿ         bn40b4ÿ   ÿÿÿÿ   ÿ bn40b4ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         o[V[8                         ÿÿÿÿ ÿ           523b405ÿ   ÿÿÿÿ   ÿ 523b405ÿ      ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         g8U[V                        ÿÿÿÿ ÿ         b0nnb45ÿ   ÿÿÿÿ   ÿ b0nnb45ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         gY789[U7ÿT7V7WX             ÿÿÿÿ ÿ         bb542ÿ   ÿÿÿÿ   ÿ bb542ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         p[8U[V                          ÿÿÿÿ ÿ         2b03b4ÿ   ÿÿÿÿ   ÿ 2b03b4ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         hUVUU                          ÿÿÿÿ ÿ 540bb5ÿ         ÿÿÿÿ   ÿ540bb5ÿ   ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
  hÿjkUX                               ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
           9U[V                         ÿÿÿÿ ÿ           35b5ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ 35b5ÿ
           799U[U7ÿ8ZU            ÿÿÿÿ ÿ        nb20b55ÿ   ÿÿÿÿ   ÿ 525bnÿ      ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿnb53nb4nÿ
           798ÿU8U7[8X            ÿÿÿÿ ÿ         3b0b4nÿ   ÿÿÿÿ   ÿ 3b0b4nÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         6U[U[V                         ÿÿÿÿ ÿ         5b42b3ÿ   ÿÿÿÿ   ÿ 5b42b3ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         o[V[8                         ÿÿÿÿ ÿ        5b4nb443ÿ   ÿÿÿÿ   ÿ5b4nb443ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         gY789[U7ÿT7V7WX             ÿÿÿÿ ÿ         5b42nb35ÿ   ÿÿÿÿ   ÿ 5b42nb35ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
         p[8U[V                          ÿÿÿÿ ÿ         3b02bn24ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ 3b02bn24ÿ    ÿÿÿÿ ÿ          mÿ
         [Vÿj[                        ÿÿÿÿ ÿ         b35b033ÿ   ÿÿÿÿ   ÿ b35b033ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
   7hÿp[8ÿcU9Uÿe[88U       ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
         j8WX                             ÿÿÿÿ ÿ        4bn30b32ÿ   ÿÿÿÿ   ÿ4bn30b32ÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ          mÿ
  hÿU78ÿc7[                         ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
           9U[V                         ÿÿÿÿ ÿ         5b4b54ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ 5b4b54ÿ
           799U[U7ÿ8ZU            ÿÿÿÿ ÿ        5nb33bnÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ5nb33bnÿ
         j8WX                             ÿÿÿÿ ÿ        5b3bnÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ5b3bnÿ    ÿÿÿÿ ÿ          mÿ
         [UV                             ÿÿÿÿ ÿ         5b34b3nÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ 5b34b3nÿ    ÿÿÿÿ ÿ          mÿ
         8ZU                            ÿÿÿÿ ÿ         2b53b53ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ 2b53b53ÿ    ÿÿÿÿ ÿ          mÿ
         hUVUU                          ÿÿÿÿ ÿ           20b42ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ 20b42ÿ      ÿÿÿÿ ÿ          mÿ
   7hÿq7Z89ÿr7                   ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
         7Z8UW                          ÿÿÿÿ ÿ        20b4b04ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ20b4b04ÿ    ÿÿÿÿ ÿ          mÿ
  hÿcc ÿg8                         ÿÿÿÿ ÿ        50b24bnÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ          mÿ   ÿÿÿÿ ÿ50b24bnÿ
  hÿe8Y88ÿ7\                      ÿÿÿÿ                        ÿÿÿÿ                   ÿÿÿÿ                 ÿÿÿÿ
         6U[U[V                         ÿÿÿÿ ÿ         nb430b00ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ nb430b00ÿ    ÿÿÿÿ ÿ          mÿ
         [Vÿj[                        ÿÿÿÿ ÿ         b3b32ÿ   ÿÿÿÿ   ÿ         mÿ    ÿÿÿÿ ÿ b3b32ÿ    ÿÿÿÿ ÿ          mÿ
  ÿ
  24 _[Vÿ78
     ÿÿÿ




118781791444553520534401224489                                                                          21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                       6789ÿ 05/24/21
                                                                                      Entered        10:22:39                      Page 299 of 600

      !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                                     ÿ                                      N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
                                                                                                                           ZWVÿ2                   ZWVÿ3
                                                                                                   ZWVÿ5               ]^]_]Uÿ               ]^]_]Uÿ
  ÿÿ7bÿcdUeÿ8]]                          ÿÿÿÿ f
                                                                   T7UVÿWUVÿU
                                                           ÿÿÿÿ 9X8ÿ34Yÿ24ÿ5ÿ
                                                                         54Y0gY53ÿ
                                                                                         ÿÿÿÿ
                                                                                         ÿÿÿÿ   f
                                                                                                  [7
                                                                                                    \8] ÿ
                                                                                                           hÿ
                                                                                                                 ÿÿÿÿ
                                                                                                                 ÿÿÿÿ
                                                                                                                         `X8WUXV
                                                                                                                           a ÿ
                                                                                                                        f54Yg3Y55ÿ
                                                                                                                                            ÿÿÿÿ
                                                                                                                                            ÿÿÿÿ
                                                                                                                                                   b7X8WUXV
                                                                                                                                                      a ÿ
                                                                                                                                                   f 53Y22ÿ
  bÿc^iÿ7VVU8UV]jÿk78^U^ÿ̀XV]^U]7            ÿÿÿÿ ÿ          YgY3ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ YgY3ÿ        ÿÿÿÿ   ÿ           hÿ
    7bÿ7878Uÿd7ÿlÿ7                           ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
            799]U]7ÿ8W]                          ÿÿÿÿ ÿ            Y30ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ Y30ÿ          ÿÿÿÿ   ÿ           hÿ
          m8^i                                           ÿÿÿÿ ÿ          2Y00Y2ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ           g0ÿ     ÿÿÿÿ   ÿ 2Y00Y2ÿ
          b]V]]                                        ÿÿÿÿ ÿ          gY4Yg34ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ gY4Yg34ÿ        ÿÿÿÿ   ÿ           hÿ
    7bÿ\8Uÿ̀]7                               ÿÿÿÿ ÿ          Yg3Y3ÿ    ÿÿÿÿ   ÿ Yg3Y3ÿ     ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
  bÿ]^                                              ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
          b]V]]                                        ÿÿÿÿ ÿ          YY402ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ YY402ÿ        ÿÿÿÿ   ÿ           hÿ
    7bÿ]78ÿZ7U                                     ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
            799]U]7ÿ8W]                          ÿÿÿÿ ÿ          5Y524Y53ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ 5Y524Y53ÿ        ÿÿÿÿ   ÿ           hÿ
  bÿ7878Uÿd7ÿlÿ7s5t                            ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
          a_789U]7ÿT7V7^i                           ÿÿÿÿ ÿ                 hÿ     ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
          UVÿmU                                      ÿÿÿÿ ÿ            23Y444ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ 23Y444ÿ          ÿÿÿÿ   ÿ           hÿ
          b]V]]                                        ÿÿÿÿ ÿ            2gYg2ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ 2gYg2ÿ          ÿÿÿÿ   ÿ           hÿ
  bÿnU88U                                            ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
          6]U]UV                                       ÿÿÿÿ ÿ                35gÿ    ÿÿÿÿ   ÿ        35gÿ    ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
          oUVU8                                       ÿÿÿÿ ÿ            5Y3ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ 5Y3ÿ
    7bÿnU88U                                        ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
            799]U]7ÿ8W]                          ÿÿÿÿ ÿ             5Y50ÿ    ÿÿÿÿ   ÿ 5Y50ÿ        ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
          a8]UV                                      ÿÿÿÿ ÿ            2Y3ÿ    ÿÿÿÿ   ÿ          hÿ    ÿÿÿÿ   ÿ 2Y3ÿ          ÿÿÿÿ   ÿ           hÿ
          a_789U]7ÿT7V7^i                           ÿÿÿÿ ÿ             g4Yÿ    ÿÿÿÿ   ÿ g4Yÿ        ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
    7bÿ^]8ÿaW9ÿ79U]                  ÿÿÿÿ ÿ        25YgY35ÿ     ÿÿÿÿ   ÿ5Y20Y23ÿ     ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ 3Yg3Y45ÿ
  bÿUÿmp]WUV                                      ÿÿÿÿ ÿ            24Y42ÿ    ÿÿÿÿ   ÿ 24Y42ÿ       ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
  `8ÿ6]U]UVÿa89                              ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
          78ÿ68                                    ÿÿÿÿ ÿ            32Yÿ    ÿÿÿÿ   ÿ 32Yÿ       ÿÿÿÿ   ÿ           hÿ      ÿÿÿÿ   ÿ           hÿ
          .;=RQÿ6qq@=q                                     ÿÿÿÿ ÿ g0Y44Y303ÿ           ÿÿÿÿ   ÿ2Y50Y54ÿ    ÿÿÿÿ   ÿ545Y430Y3ÿ       ÿÿÿÿ   ÿgY0Y4ÿ
                                                                                  ÿ                        ÿ                          ÿ                        ÿ
                                                         ÿÿÿÿ   ÿ   ÿ                    ÿÿÿÿ   ÿ   ÿ            ÿÿÿÿ   ÿ   ÿ               ÿÿÿÿ   ÿ   ÿ




  3>RF>Q>=>@q                                              ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
                                                         ÿÿÿÿ   ÿ   ÿ             ÿ      ÿÿÿÿ   ÿ   ÿ      ÿ     ÿÿÿÿ   ÿ   ÿ         ÿ     ÿÿÿÿ   ÿ   ÿ       ÿ




  8]]ÿ7Vÿ78                                    ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
  bÿmrU^T8Uÿ6                                 ÿÿÿÿ ÿ         s5Yg5Y00tÿ   ÿÿÿÿ   ÿ s5Yg5Y00tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
  bÿmp]i                                              ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
            799]U]7ÿ8W]                          ÿÿÿÿ ÿ s5Y3Y33tÿ          ÿÿÿÿ   ÿs5Y3Y33tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
            798ÿ]8]7U8i                          ÿÿÿÿ ÿ         s5Y0Y22tÿ   ÿÿÿÿ   ÿ s5Y0Y22tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
          oUVU8                                       ÿÿÿÿ ÿ s3gY4Y0gtÿ          ÿÿÿÿ   ÿs3gY4Y0gtÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
    7bÿmp]i                                          ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
            799]U]7ÿ8W]                          ÿÿÿÿ ÿ         s3Y2Y444tÿ   ÿÿÿÿ   ÿ s3Y2Y444tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
          m8^i                                           ÿÿÿÿ ÿ         sgY5Y20tÿ   ÿÿÿÿ   ÿ sgY5Y20tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
          oUVU8                                       ÿÿÿÿ ÿ s54Y5Y44tÿ          ÿÿÿÿ   ÿs54Y5Y44tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
  `8ÿ6]U]UVÿa89                              ÿÿÿÿ                          ÿÿÿÿ                    ÿÿÿÿ                       ÿÿÿÿ
          n8]ÿ̀]7                                  ÿÿÿÿ ÿ         s2YgYg2tÿ   ÿÿÿÿ   ÿ s2YgYg2tÿ   ÿÿÿÿ   ÿ         hÿ        ÿÿÿÿ   ÿ        hÿ
          .;=RQÿ3>RF>Q>=>@q                                ÿÿÿÿ ÿ sYg0Y505tÿ
                                                         ÿÿÿÿ   ÿ   ÿ             ÿ



                                                                                         ÿÿÿÿ
                                                                                         ÿÿÿÿ



                                                                                                ÿsYg0Y505tÿ
                                                                                                ÿ   ÿ      ÿ



                                                                                                                 ÿÿÿÿ
                                                                                                                 ÿÿÿÿ



                                                                                                                        ÿ
                                                                                                                        ÿ   ÿ



                                                                                                                                  hÿ  ÿ



                                                                                                                                            ÿÿÿÿ
                                                                                                                                            ÿÿÿÿ



                                                                                                                                                   ÿ
                                                                                                                                                   ÿ   ÿ



                                                                                                                                                            hÿ ÿ




          .;=RQ                                            ÿÿÿÿ f 3Y350Y242ÿ
                                                         ÿÿÿÿ   ÿ   ÿ
                                                                                  ÿ




                                                                                         ÿÿÿÿ
                                                                                         ÿÿÿÿ



                                                                                                f255Yg53Y0ÿ
                                                                                                ÿ   ÿ
                                                                                                           ÿ




                                                                                                                 ÿÿÿÿ
                                                                                                                 ÿÿÿÿ



                                                                                                                        f545Y430Y3ÿ
                                                                                                                        ÿ   ÿ
                                                                                                                                      ÿ




                                                                                                                                            ÿÿÿÿ
                                                                                                                                            ÿÿÿÿ



                                                                                                                                                   fgY0Y4ÿ
                                                                                                                                                   ÿ   ÿ
                                                                                                                                                               ÿ




  s5tÿÿT]ÿU^78iÿ]Vÿ8]]ÿu]ÿUÿWUVÿ7_ÿj87
                                                                                  ÿ                        ÿ                          ÿ                        ÿ


  ÿ
                                                         ÿÿÿÿ   ÿ   ÿ                    ÿÿÿÿ   ÿ   ÿ            ÿÿÿÿ   ÿ   ÿ               ÿÿÿÿ   ÿ   ÿ




  ÿ
                                                                                                                                          cUVÿ78ÿÿÿ25




118781791444553520534401224489                                                                                                     21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                                    6789ÿ 05/24/21
                                                                                                   Entered        10:22:39                                  Page 300 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                                           N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
                                                                                                   ÿ
  TÿUVWÿVW7XÿÿY78ÿUÿ99U8Zÿ7YÿU[ÿ\ÿÿ6]ÿUÿ9U8ÿUÿYU\8ÿ^UWÿ\[ÿ\[\Y\Uÿ7V8^UVW
  \ÿ_`^Wÿ3aÿY78ÿÿZU8ÿÿ9V8ÿ34bÿ245
  ÿ
                                                                                                                                       U[ÿ\
                                                                                                                                      j8UW\h
                                                                                                                                     f8\U\7
                                                                                                                                    _8\U\7a
                                                                                                                                        Y879
                         cUWU                                                  ÿ                                   cUWU d^9ÿ
                           Uÿ7Y T8UY8 T8UY8 f8 UW\h j8UW\h                                         Uÿ7Y         WÿU
                       9V8ÿ34b d7 e ÿ \7 iU\1ÿÿ f8\U\7ÿÿ                             9Vÿ8ÿ34b9V8ÿ34b
  ÿÿ
  kl0lÿ/m?>=n                             ÿ          ÿ         ÿ           ÿ              ÿ
                                                                                               
                      ÿ 245 ÿÿ`^Wÿ3ÿÿ7Yÿ̀^Wÿ3ÿÿ_g89\9aÿÿ_`7aÿÿ_8\U\7aÿÿg8Uÿÿÿ UW ÿÿ 245 ÿÿ 245 ÿ
                      ÿ             ÿ                                                                 ÿ              ÿ             ÿ
       9\UW       ÿo 5b2b24ÿÿo pÿÿo pÿÿo             pÿÿo        pÿÿo _0qb330aÿÿo          pÿÿo          pÿÿo 35b5ÿÿo _0qb330aÿ
       799\U\7
         8^\ ÿÿ qb2b02ÿÿÿ pÿÿÿ pÿÿÿ                pÿÿÿqb500b5ÿÿÿ 5b0b20ÿÿÿ          pÿÿÿ_22b0b04aÿÿÿ qb53qb4qÿÿÿ 5b0b20ÿ
     r\U            ÿÿ 2b52b20qÿÿÿ pÿÿÿ pÿÿÿ             pÿÿÿ        pÿÿÿ 55b4q5bÿÿÿ         pÿÿÿ_53b5b233aÿÿÿ          pÿÿÿ            pÿ
  kl0lÿ0@<>;Gÿ3;R<s ÿ               ÿ     ÿ          ÿ         ÿ           ÿ              ÿ           ÿ              ÿ             ÿ
       9\UW       ÿÿ 5b44b3ÿÿÿ pÿÿÿ pÿÿÿ 2b4qÿÿÿ               pÿÿÿ        _4aÿÿÿ       pÿÿÿ          pÿÿÿ 5b4b54ÿÿÿ            _4aÿ
       799\U\7
         8^\ ÿÿ 02b2b0ÿÿÿ pÿÿÿ pÿÿÿ 22b3ÿÿÿ _qb45aÿÿÿ 3b45ÿÿÿ 2b450bÿÿÿ_3b4b444aÿÿÿ 5qb33bqÿÿÿ 3b45ÿ
  kl0lÿ332ÿ4<=@G@s= ÿÿ            pÿÿÿ pÿÿÿ pÿÿÿ            pÿÿÿ        pÿÿÿ 24bqÿÿÿ50b444b444ÿÿÿ             pÿÿÿ 50b24bqÿÿÿ 24bqÿ
  ,;<tkl0lÿ6ss@=t
     uR:v@Aÿ0@:?G>=n ÿÿ 55b0qÿÿÿ pÿÿÿ pÿÿÿ _50aÿÿÿ                   pÿÿÿ 5b3ÿÿÿ             pÿÿÿ          pÿÿÿ 53b22ÿÿÿ 5b3ÿ
  ,;<tkl0lÿ2;GD;GR=@
     u;<Asÿwÿ,;=@s ÿ                ÿ     ÿ          ÿ         ÿ           ÿ              ÿ           ÿ              ÿ             ÿ
     x8[Z           ÿÿ 2b00b2ÿÿÿ pÿÿÿ pÿÿÿ             pÿÿÿ        pÿÿÿ          pÿÿÿ         pÿÿÿ          pÿÿÿ 2b00b2ÿÿÿ              pÿ
  kl0lÿyRGGR<=s       ÿ             ÿ     ÿ          ÿ         ÿ           ÿ              ÿ           ÿ              ÿ             ÿ
     zUWU8       ÿÿ 245b0qÿÿÿ pÿÿÿ pÿÿÿ               pÿÿÿ        pÿÿÿ _53b5aÿÿÿ           pÿÿÿ          pÿÿÿ 5b3ÿÿÿ _53b5aÿ
  ,;<tkl0lÿyRGGR<=s ÿ               ÿ     ÿ          ÿ         ÿ           ÿ              ÿ           ÿ              ÿ             ÿ
     dY789U\7
         T7W7[Z ÿÿ 5b025ÿÿÿ pÿÿÿ_54b04aÿÿÿ          pÿÿÿ        pÿÿÿ _2b452aÿÿÿ           pÿÿÿ          pÿÿÿ           pÿÿÿ            pÿ
  ,;<tkl0lÿ{@O>s=@G@A
     4<|@s=E@<=
     2;EDR<n          ÿÿ 2bb2ÿÿÿ pÿÿÿ pÿÿÿ             pÿÿÿ        pÿÿÿ 05b54ÿÿÿ            pÿÿÿ          pÿÿÿ 3bq3b45ÿÿÿ 05b54ÿ
     T7UW           ÿ



                      ÿo52b40b2qÿÿo pÿÿo_54b04aÿÿo 04b42ÿÿoqb54b00ÿÿo 52b54b03ÿÿo5b450bÿÿo_b4b43aÿÿo qb0b4ÿÿÿ 5b4b2ÿ
                         ÿ   ÿ    ÿ   ÿ   ÿ    ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ       ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ          ÿ   ÿ   ÿ   ÿ     ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ     ÿ




  d^9ÿ\[UÿUÿ̀^Wÿ3ÿ9UZÿ\WÿUÿ^UWÿ\[ÿ}7ÿ78ÿ\\U\7ÿY8\ÿVZÿV87~8ÿX\ÿU8ÿVU
                                  ÿ                ÿ               ÿ               ÿ                   ÿ               ÿ                      ÿ                 ÿ               ÿ                 ÿ
                     ÿ   ÿ   ÿ        ÿ   ÿ    ÿ       ÿ   ÿ   ÿ       ÿ   ÿ   ÿ       ÿ   ÿ   ÿ           ÿ   ÿ   ÿ       ÿ   ÿ   ÿ              ÿ   ÿ   ÿ         ÿ   ÿ   ÿ       ÿ   ÿ   ÿ




  7ÿ97Wÿ78ÿ\9UÿUÿ9UZÿ7ÿVÿUVWÿ8\ÿdÿW\[ÿ7Yÿÿ^W7\[ÿ9U8~ÿ7\\7bÿÿd^9ÿf^\8
  7\ÿ7ÿU8ÿY78ÿ7V8^UVWÿUUÿ7\ÿUÿ^UWUÿV87~8ÿ}7ÿUÿ\\U\7ÿ8\^ÿY78ÿ78Y7W\7ÿ\^9ÿY78
  ÿZU8ÿÿ9V8ÿ34bÿ245bÿ8ÿX8ÿ7ÿ8UY8ÿVXÿ̀^W
  TÿY7WW7X\[ÿ\ÿUÿ99U8Zÿ7Yÿ\[\Y\Uÿ7V8^UVWÿ\ÿÿ\ÿÿYU\8ÿ^UWU\7ÿ7YÿUÿUÿW\UV\W\\ÿU[78\hÿX\\
  `^Wÿ3ÿ7YÿÿYU\8ÿ^UWÿ\8U8Z
  ÿ
                                                  rU8~
                                                 UWÿUÿ
   U[78Z                                    ÿ 1341245 ÿ ÿ UWU\7ÿT\} ÿ                                                    j7V8^UVWÿd ÿ dÿUW_a
  jÿx}\Z                                 ÿo qbb00ÿ ÿ              rW\WÿfUWZ\ÿ                                        jUÿg8\1rzhg7gÿo452ÿÿo40
                                              ÿ              ÿ                                ÿ                                                     \~ÿ\7ÿ002ÿÿ0
                                              ÿ              ÿ                                ÿ                                             `TrÿxcdTfÿrW\Wÿ3
                                              ÿ              ÿ                                ÿ                                                 `\}\\Zÿ\7ÿ54
                                              ÿ              ÿ                                ÿ                                                  \hÿf9ÿ54
                                              ÿ              ÿ         \7ÿUÿ6W7Xÿ                                                        \7ÿUÿ50
                                              ÿ              ÿ T8UU\7ÿd\U\7ÿeYÿUWÿ                                           x88\ÿUWÿ_o99aÿo3044ÿo544
  ÿ
  22ÿÿÿfUWÿ78




118781791444553520534401224489                                                                                                                                 21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39              Page 301 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                    ÿ                               N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
                                         WT8X
                                        YTZÿTÿ
   TU78V                           ÿ 1341245 ÿ    ÿ      YTZT[7ÿ\[] ÿ           ^7_8`T_Zÿa ÿ aÿYTZbc ÿ
  ^ÿ[78ÿd7T                  ÿÿ50ef2fe0ÿ    ÿ          [7ÿTÿ6Z7gÿ                    [7ÿTÿÿ555h          ÿ
                                     ÿ                ÿ                                 ÿ           8Tÿij9ÿÿ45h            ÿ
                                     ÿ                ÿ              _d7Tÿ8Tÿ                    ijÿk[Zÿÿ0hÿÿ5f3h ÿ
                                     ÿ                ÿ                                 ÿ                   gTÿTÿÿ504hÿ5fh ÿ
  dd ÿa8                       ÿÿ50e24efÿ    ÿ          [7ÿTÿ6Z7gÿ                    [7ÿTÿÿ2fhÿf0fh ÿ
  U[8ÿa`9ÿ79T[     ÿÿ 3ef3e45ÿ    ÿ                   ÿiÿYTZÿ                            1iÿÿ1i            ÿ
    7878Tÿl7ÿmÿ7            ÿÿ 2e00e2ÿ    ÿ             d[][T[7ÿiTZV[ÿ   ZT[9ÿi97ÿn8ÿ7oÿnT8ÿÿh          ÿ
  pT88T                           ÿÿ 5e3ÿ      ÿ           lZTX7ZÿW7Zÿ              iTZ[qÿY7ZT[Z[Vÿÿffh        ÿ
  ilTXÿ8[[             ÿÿ 53e22ÿ      ÿ          [7ÿTÿ6Z7gÿ                    [7ÿTÿÿ24h          ÿ
  ÿ
         .;=RQ                       ÿrfe0e4ÿ
                                     ÿ   ÿ   ÿ
                                                 ÿ




                                                      ÿ
                                                      ÿ                               ÿ



                                                                                        ÿ                           ÿ



                                                                                                                        ÿ
  aÿT[[7ÿ7ÿÿ7_8`T_Zÿ[ÿ[Z[qÿo78ÿ̀T8[7            yÿo78ÿ8T[ÿo78[Uÿ7878TÿT[7eÿg[ÿT8ÿ878
  `TZT[7ÿ977Z7U[eÿÿi`[8ÿo8]ZVÿÿT                 Tÿ77ÿTo8ÿy[`[ÿTÿTÿÿ[o789T[7ÿ_79
  79_[T[7ÿ7oÿg7ÿ78ÿ978ÿ̀TZT[7ÿ977Z7U[ÿ7                  T`T[ZT_ZÿTÿ[ÿ̀8[o[ÿa8ÿ[79ÿ[ÿ878ÿ7ÿ
  89[ÿoT[8ÿ̀TZÿo78ÿTÿ[UZÿ7Z[Uÿaÿÿ[Te          T8TZÿ_T[
  ÿi`[8ÿTÿÿ977Z7U[ÿTÿT8[_                    i8[7ÿ7oÿ[7ÿ7ÿTyT_Zÿ_7ÿTÿZ7Tÿ[ÿ79
  g[U[Uÿ7ÿTÿ977Z7UVÿ\ÿg[U[UÿT8[_ÿ7             7ÿÿTZZÿTeÿg[ZÿT978[qT[7ÿ7oÿ89[9ÿ7ÿTyT_Z
  TVÿ[[`[TZÿ977Z7UVÿ8TUÿo879ÿTÿZ7gÿTÿ54hÿ7ÿT             _7ÿTÿZ7Tÿ[ÿ79ÿ7ÿÿTZZÿ78ÿ9T8[VÿTe
  [UÿTÿ00hÿTÿ7oÿ9_8ÿ34eÿ245ÿ\ÿZ[7ÿ7o                 g[`8ÿ[ÿ788eÿ_7ÿ[Uÿÿoo[`ÿV[Zÿ97
  g[U[Uÿ[ÿTÿ[8ZVÿ_j[`ÿ87eÿÿ7           p[7Z[UÿTyÿ7ÿo78[Uÿ[`[ÿT`ÿ_ÿ87`[ÿo78
  87o[7TZÿjU9ÿ\ÿZ[7ÿ9TVÿT`ÿTÿ9T8[TZ            [ÿT78Tÿg[ÿÿ6sÿ8T[Uÿ7oÿÿTZ[T_Z
  [9Tÿ7ÿÿ7ZÿoT[8ÿ̀TZÿo78ÿÿ7Z[U                  78VsÿTyÿ8ZÿTÿ8T
  \ÿ[U[o[Tÿ7_8`T_Zÿ[ÿÿ[ÿÿoT[8ÿ̀TZ             {|0|ÿ7@A@GRQÿ4<:;E@ÿ.R}ÿ0=R=?x
  9T89ÿ7oÿÿ6sÿ_TXÿZ7Tÿ8[[ÿT8ÿTj  \ÿ6ÿ[ÿ8TÿTÿTÿT8TÿTyTV8ÿo78ÿ^ÿo8TZ
  V[ZeÿgTÿ8Teÿ[7ÿ8TÿTÿ8TÿTj9        [79ÿTyÿ87ÿ\ÿ6ÿ[ÿ7ÿ]TZ[oVÿTÿVT8ÿT
  [U[o[Tÿ[8Tÿb8Tcÿ[ÿTVÿ7oÿ7ÿ[ÿ[
                                                                Tÿ~8UZTÿ[`9ÿ79TVÿ8ÿ_T8ÿWÿ7oÿ
  [7ZT[7ÿ7Zÿ8Zÿ[ÿTÿ[U[o[TZVÿZ7g8ÿb[U8cÿoT[8ÿ̀TZ
  9T89                                                  a8TZÿ`ÿ7ÿ7oÿ5eÿTÿT9eÿTÿg[ZZ
  \ÿ[U[o[Tÿ7_8`T_Zÿ[ÿÿ[ÿÿoT[8ÿ̀TZ    [8[_ÿ_T[TZZVÿTZZÿ7oÿ[ÿTyT_Zÿ[79ÿTÿUT[eÿ[o
  9T89ÿ7oÿÿ6sÿ7997ÿ][Vÿ8[[ÿT8       TVeÿo78ÿÿTyÿVT8eÿTÿTÿÿg[ZZÿ7ÿ_ÿ_jÿ7ÿ^
  9Z[Zÿ7oÿtla\ieÿ8[1Wuqn7nÿ9Z[Zeÿ8[Xÿ[7e     o8TZÿ[79ÿTyÿaÿT[[7eÿÿ6ÿ[ÿ7ÿ[8[_e
  [ZZ[][[Vÿ[7eÿ[7ÿ8TÿTÿ[qÿTj9      [ÿTÿTZT8ÿVT8eÿTZZÿ7oÿ[ÿÿ[`9ÿ[79eÿT[TZ
  [U[o[Tÿ[8Tÿb8Tcÿ[ÿTVÿ7oÿ7ÿ[ÿ[   UT[ÿTÿ8T[ÿ78ÿT97eÿ[oÿTVeÿÿTÿÿ6
                                                                7Zÿ7ÿ_ÿ_jÿ7ÿ^ÿo8TZÿy[ÿTyÿ\8o78eÿ7
  [7ZT[7ÿ7Zÿ8Zÿ[ÿTÿ[U[o[TZVÿZ7g8ÿb[U8cÿoT[8ÿ̀TZ
  9T89ÿv8TZZVeÿTÿTUÿ[ÿÿT9[7ÿÿo78   ^ÿo8TZÿ[79ÿ78ÿy[ÿTyÿ87`[[7ÿT8ÿ878
  ÿ8[Xÿ[7ÿ[ÿT79T[ÿ_VÿTÿ[8[7TZZVÿ77[  \ÿa`9ÿi`[8ÿTÿTTZVqÿÿ6sÿTyÿ7[[7
  TUÿ[ÿÿT9[7ÿo78ÿÿ8[1Wuqn7nÿ9Z[Z       TXÿ7ÿ^ÿo8TZÿ[79ÿTyÿ88ÿo78ÿTZZÿ7ÿTyÿVT8
                                                                b88ÿTÿ8[78ÿ8ÿTyÿVT8ceÿTÿTÿ7ZÿTÿ7
  0@:?G>=wÿ.GR<xR:=>;<x                                         87`[[7ÿo78ÿ^ÿo8TZÿ[79ÿTyÿ[ÿ8][8ÿ[ÿÿ6s
  8[Vÿ8TT[7ÿT8ÿT7ÿo78ÿ7ÿÿ8TÿT    77Z[Tÿo[T[TZÿT9ÿ\ÿ6sÿ^ÿo8TZÿT
  TZ[qÿUT[1bZ7cÿ7ÿ[`9ÿ7ZÿT8ÿ878ÿ7 Tÿ[79ÿTÿ^ÿo8TZÿy[ÿTyÿ88ÿo78ÿTyÿVT8
  ÿ_T[ÿ7oÿÿ[o[ÿ[[o[T[7ÿ97ÿo78ÿ_7      o78ÿg[ÿÿTZ[T_ZÿTÿ7oÿZ[9[T[7ÿT`ÿ7ÿy[8
  77Z[Tÿo[T[TZÿT9ÿTÿ^ÿo8TZÿ[79ÿTy T8ÿ_jÿ7ÿyT9[T[7ÿ_Vÿÿa8TZÿ`ÿ8`[ÿT
  87ÿTX[Uÿ[7ÿT7ÿTVÿo78[UÿTyÿg[Z      TÿT89ÿ7oÿ8`ÿ688978eÿÿa`9
  4<:;E@ÿz@:;O<>=>;<                                            i `[8ÿ7oÿÿ6ÿ[ÿTZ7ÿ7ÿTgT8ÿ7oÿTVÿTyÿ7[[7ÿo78
                                                                g[ÿ[ÿ[ÿ8T7T_ZVÿ7[_Z
    7878TÿT[7ÿb[Z[UÿTÿ[`[cÿT8ÿ878ÿ7
  ÿy[`[ÿTeÿÿ7oÿTZ[T_Zÿg[7Z[UÿTye
  ÿ
                                                                                                                    iTZÿ78ÿÿÿ23


118781791444553520534401224489                                                                            341
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39           Page 302 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                              ÿ                                N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  Vÿÿ7VWÿV97ÿ7Xÿ87YZ[ÿV\ÿ]XZÿ^ZWW          Vÿ6ÿ9V_ÿ]ÿVWW7^ÿ]_ÿZÿ8Z9ÿ]87g8ÿ7ÿZWZ[ÿ87
  ZYZXZVW_ÿVYÿZÿÿ\ÿ52ÿ97                       X879ÿ8ZZÿ7Wÿ78ÿ7ÿ8VÿVZZ7VWÿZb9h
  5>`=G>F?=>;<`ÿ=;ÿ0PRG@P;QA@G`                                     8WZYÿZÿWb8VYÿ8ZZÿVÿVÿWÿVÿ7WWV8VWÿX78
                                                                    8ZZÿ7Wÿ78ÿV8ÿ7^ÿ7ÿÿ77WZVÿrb9
  aÿ6ÿWV8ÿVÿV_ÿZb9ÿZ79ÿZ8Z]Z7 l78X7WZ7ÿVÿWÿVÿ7WWV8VWÿX78ÿ8ZZÿ7Wÿ78ÿZ
  cV88W_ÿaÿ6ÿ_ZVWW_ÿWV8ÿVÿV_ÿZ8Z]Z7 WVZXZÿVÿ88ZÿVÿ7ÿÿ77WZVÿV9ÿ7X
  X879ÿÿ8VWZ[ÿVZVWÿYVZÿZÿ\ÿ7XÿVZVWÿW7         UÿVÿjZV]ZWZZhÿVÿVWZV]Wÿ8ZÿVÿZÿ
  V88_X78^V8ÿVVWW_                                           V97ÿ7Xÿs5hhT05ÿ^VÿWÿ^Zÿÿ]87g8ÿX78ÿÿ6
  2R`Pÿdÿ2R`Pÿ/e?>fRQ@<=`                                           UZZ7VWW_hÿ8ZZÿbVWÿVÿs554h42h333ÿ^8ÿ7ÿZ
  aÿ6ÿ7Z8ÿWZcZÿVÿ7Zÿ^ZÿVÿ]VgÿV ^8     ÿ6tÿY8YVÿV7ÿX78ÿ7WWV8VWÿX78ÿ78ÿVWh
  8VZÿ7889ÿ]ÿZ89ÿ7XÿXXZZÿ8ZÿcVWZ_      Zÿ7Z7ÿ78VhÿVÿ8ÿ8ZÿXVZWZ_
  ^Zÿ78ZYZVWÿ9V8ZZÿ7Xÿ8ÿ97ÿ78ÿWÿ7ÿ]ÿV       -=P@Gÿ7@@ÿ4<:;E@
  cZbVWÿaÿZb9ÿ88ÿV97ÿWÿ^Z 6ÿZ79ÿ9V_ÿ7Zÿ7Xÿ78ZYZVZ71W7ZYÿXh
  XZVZVWÿZZZ7ÿVÿV8ÿ8VZW_ÿVZ]Wÿ7ÿV_ÿ6 V99ÿXhÿV9ZZ8VZbÿVYÿXhÿ8VVZ7
  \ÿ78ÿ8VÿZb9ÿVÿVÿV                    ]8VgÿXÿVÿ78ÿ9ZWWV7ÿXÿp8ZYZVZ7ÿXh
  cZbVWÿV8ÿbVWÿVÿ7ÿWÿV8ÿZ8hÿ^Z       V99ÿXhÿVÿ78ÿZ9ZWV8ÿXÿV8ÿ7888ZYÿX
  V87\Z9Vÿ9V8gÿbVWÿaÿbVWÿ7XÿVÿcZbVW          78ÿÿXÿV8ÿ8Zbÿ7ÿVÿ8VVZ7ÿ]_
  79ZVÿZÿX78ZYÿ88ZÿZÿ89Zÿ]_ÿ7b8ZY 8VVZ7ÿ]VZÿVÿ7ÿ7ÿ7ZÿVÿ8YWV8ÿ8V9ÿ7X
  7ÿiÿ7WWV8ÿ7ÿÿVÿ7Xÿÿ77WZVÿV9ÿ7X Z79ÿVÿV8ÿ87YZ[ÿ^ÿZ88
  UÿVÿjZV]ZWZZ
  7;G@>O<ÿ2?GG@<:k                                                  2;<f    @G`>;<ÿ2;`=`
                                                                    rÿ7uZ7ÿ^ZÿÿV87W8ÿ877VWÿ7ÿ7b8ÿ
  U7ZYÿ878ÿ7Xÿÿ6ÿV8ÿ9VZVZÿZÿiÿ7WWV8 6ÿX879ÿVÿ7ÿXÿ7ÿVÿW7ÿXÿn
  678ZYÿ88ZhÿZb9ÿVÿ78ÿVÿV                7ÿ5Tohÿÿ6ÿVÿZ88ÿWYVWÿXÿVÿ78ÿXÿZ
  WZV]ZWZZÿ79ZVÿZÿX78ZYÿ88ZÿV8ÿ8VWVÿZ7 8V8VZ7ÿ7XÿZÿ7b8Z7ÿaÿ7b8Z7ÿ7ÿZW
  iÿ7WWV8ÿVÿ\VYÿ8VÿZYÿÿ88ÿT44ÿlm          ]7ÿVVWÿVÿZ9VÿXhÿVÿV8ÿZWÿZÿ
  j77ÿaZ9ÿ7ÿVÿ6WVZ7ÿZÿÿbVWÿ7Xÿ             77WZVÿV9ÿ7Xÿp8VZ7ÿVÿ7b8Z7ÿX
  X78ZYÿ88ZÿVÿ78ÿVÿVÿWZV]ZWZZÿ8WZY
  X879ÿVYÿZÿ\VYÿ8Vhÿ]^ÿ8VÿV                 ,;=@ÿHvÿ5@G>fR=>f@ÿ.GR<`R:=>;<`
  W9ÿVÿ7ÿ8ZZÿ8VVZ7ÿVÿ]^ÿ aÿ6ÿZÿ]uÿ7ÿcZ_ÿ8ZZÿ8ZghÿZ8ÿ8Vÿ8Zg
  V8VWÿVÿV_9ÿVÿ7ÿZbZhÿZ8ÿZ79ÿV Vÿ88_ÿ8ZgÿZÿÿ789VWÿ78ÿ7Xÿ8ZYÿZ
  X78ZYÿ^Z7WZYÿV\hÿV8ÿ878ÿVÿ8VWZ[ÿX78ZY Zb9ÿ7]uZbÿaÿ6ÿ8ÿZ7ÿ8ZbVZb
  88_ÿYVZ1nW7oÿVWZ[ÿYVZ1nW7oÿV              8VVZ7ÿX78ÿÿ87ÿ7XÿYZYÿVYVZÿÿXXÿ7X
  8VWZ[ÿV8ZVZ71n8ZVZ7oÿ7ÿZb9              VYÿZÿÿbVWÿ7Xÿ78X7WZ7ÿ8ZZÿÿ7ÿVZZV
  8ZZÿVÿZ79ÿVÿ\ÿV8ÿ8VWVÿ7ÿ          VYÿZÿ9V8gÿ7ZZ7hÿ7ÿYVZÿ9V8gÿ\78ÿX78
  8ZbÿVÿ7Xÿÿ8VVZ7ÿaÿXXÿ7XÿVY 8ZVWÿVÿV9WVZYÿVÿ7ZZ7ÿVÿX78ÿ9VVYZYÿ
  ZÿX78ZYÿ88_ÿ\VYÿ8Vÿ7ÿZb9ÿZ              8VZ7ÿ7XÿXZ\ÿZ79ÿZb9
  8ZZÿV8ÿ7ÿY8YVÿZÿÿ77WZVÿV9 7?=?G@`ÿ2;<=GR:=`
  7Xÿp8VZ7ÿX879ÿÿXXÿ7XÿVYÿZÿ9V8gÿ8Zÿ7X UÿX8ÿ78Vÿ88ÿVÿ799Z9ÿX78ÿÿX8
  7ÿ8ZZhÿ]ÿV8ÿZWÿ^Zÿÿÿ8VWZ[ÿV
  8VWZ[ÿYVZÿ78ÿW7ÿ7ÿZb9ÿ8ZZ                 8Vÿ78ÿVWÿ7XÿVÿVÿVÿVÿZXZÿ8Zÿ7ÿVÿZXZ
                                                                    Vÿaÿ6ÿ9V_ÿZbÿZÿZ8ÿ8VhÿXZVZVWÿVÿ7g
  0@:?G>=>@`ÿ0;QAÿ0P;G=                                             78ÿ]7ÿZ\ÿX8ÿ78Vÿ]uÿ7ÿ8VZÿWZ9ZVZ7
  aÿ6ÿ9V_ÿWWÿ8ZZÿ78ÿUÿ8Z_ÿ7Wÿ78ÿZÿV aÿ6ÿZbÿZÿX8ÿ78Vÿ7ÿ9VVYÿZÿ\78
  8VVZ7ÿZÿ^Zÿÿ6ÿWWÿVÿ8Z_ÿZÿ7ÿ7ÿ7^ 7ÿÿ7gÿVÿ]7ÿ9V8gÿVÿXWVZ7ÿZÿ88_
  ZÿVZZVZ7ÿVÿÿ9V8gÿ8Zÿ7XÿVÿ8Z_ÿ^ZWW       bVWÿw_ZYÿX8ÿÿ7ÿZ8Vÿÿ6tÿ\78
  WZÿqÿÿ6ÿWWÿVÿ8Z_ÿ78hÿZÿ9ÿ]7887^ 7ÿÿ8W_ZYÿZ89ÿ^ZWÿWWZYÿX8ÿÿ7
  ÿ8Z_ÿ7Wÿ78ÿX879ÿVÿ]87g8VW8ÿVÿWZb8ÿZÿ7 8Vÿÿ6tÿ\78ÿ7ÿÿ8W_ZYÿZ89hÿ78
  ÿ]_8ÿ7ÿ7WZ7ÿ7Xÿÿ8VVZ7ÿUÿ6ÿ9V_          779ZVWW_ÿYÿ78ÿ6ÿZb9ÿqZÿX8
  Vbÿ7ÿV_ÿVÿXÿ7ÿ]7887^ÿV8ZWV8ÿ8ZZÿVÿZÿ7X 78Vhÿ8ÿZÿ9ZZ9VWÿ78V8_ÿ8Zÿ8Zgÿ7ÿÿ6
  7]WZYVÿ7ÿV_ÿ7b8ÿV_ÿZbZÿ78ÿ78ÿV_9             ZÿX8ÿ78VÿV8ÿ\VY8VÿVÿ
  8Zbÿ7ÿÿ]7887^ÿ8ZZÿrÿ79ÿZ89Vh \VYtÿWV8ZY7hÿVÿ78V8_ÿ7ÿVWW
  ÿ
  2TÿÿÿUVWÿ78
118781791444553520534401224489                                                                 351
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                    6789ÿ 05/24/21
                                                                   Entered        10:22:39              Page 303 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                 ÿ                                   N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  8UÿW8XÿYU8UÿÿW8ÿUYUZÿWUVÿT           a8Zÿ8ZÿUÿaZ8UZ7gÿd8ÿUÿ̀ÿ7ÿU8UX
  6[ÿ8Z\ÿZÿZYÿÿ78UÿZVÿUYÿZÿ 7b]8XÿUÿUÿV7ZYÿ8Uÿ78ÿUVÿ8UUZ7ÿUÿ̀
  ]UVÿ7Wÿÿ8V^ZYÿZ89Xÿ78W789Uÿ7Wÿ WWÿbÿUÿ6ÿZ8ÿTÿ6ÿbZVVÿ8UVZeÿUÿUZUVÿYUZ
  78U8Zÿ8ÿÿ78U[ÿ89ÿUÿUYÿZÿ W879ÿUÿV7ZYÿ8Uÿ8UUZ7ÿZWÿÿ7ÿ7WÿÿV7ZY
  VZ_ZZ^ÿ7Wÿÿ7U8^ÿ9U8\ÿW78ÿÿ78Uÿ68        7Z7ÿZÿVÿUÿÿ89Z9ÿ8Z]ÿW879ÿb8ZZYÿ
  78UÿU8ÿ]UVÿUÿÿV9ÿ8ZÿU`VZÿU 7Z7Xÿ78XÿZWÿÿ7ÿ7WÿÿV7ZYÿ7Z7ÿZÿ978ÿUÿ
  U^ÿ̀^ÿÿ̀7U8ÿ7Wÿ8Uÿ78ÿaUYÿ7ÿbZÿ^                 89Z9ÿ8Z]ÿW879ÿb8ZZYÿÿ7Z7XÿUÿUZUVÿV7ÿT
  8ZZUVV^ÿ8U                                                  6ÿbZVVÿ8UVZeÿUÿUZUVÿYUZÿW879ÿUÿV7ZYÿUVÿ8UUZ7ÿZW
  c7ÿ8ZYÿZ7ÿUÿWZUZUVÿW8ÿ78UXÿÿ6ÿZ        ÿ89Z9ÿ8Z]ÿW879ÿÿUVÿZÿ978ÿUÿÿ78ZYZUV
  8_Z8ÿ7ÿVYÿ7ÿÿ̀87\8ÿUÿU97ÿ7WÿUÿU178            89Z9ÿUZÿbÿÿ7Z7ÿ7ZZ7ÿbUÿ7Xÿ78ÿU
  78ÿUÿ_UVÿ7ÿUÿ8UZÿ8UYÿ7Wÿÿ78U          UZUVÿV7XÿZWÿÿ89Z9ÿ8Z]ÿW879ÿUÿUVÿZÿVÿUÿ
  U97Xÿ\7bÿUÿZZZUVÿ9U8YZÿ7Zÿ`_                 78ZYZUVÿ89Z9ÿUZ
  U^9Xÿ\7bÿUÿ]U8ZUZ7ÿ9U8YZXÿU8ÿ9Uÿ78ÿUÿ̀ 8ZYÿÿ^U8ÿÿ9`8ÿ34Xÿ245Xÿÿ6ÿU
  8Z]ÿ̀^ÿÿ6ÿUÿU^XÿZYÿ7ÿÿUZV^               b8Zÿ7Z7ÿ7ÿ87]ZÿV]8UYÿ78ÿa78XÿU
  WVUZ7ÿZÿÿWUZ8ÿ]UVÿ7Wÿÿ8V^ZYÿ8Z^ÿd       8Uÿ7Z7ÿ7ÿ87]ZÿV]8UYÿV7Yÿa78Xÿ7ÿ
  6ÿ878ÿUÿ8UVZeÿYUZ1fV7gÿ_UVÿ7ÿÿUZV^           8V^ZYÿ_Z^XÿbZÿZÿ7ZÿbZÿÿZ]9
  ]U8ZUZ7ÿ9U8YZÿ7Vÿ9U8\ÿ7ZZ7ÿ97]                     8UYZÿ7Wÿÿ6
  aV^Xÿÿ6ÿ9U^ÿ7ÿUZ]ÿÿUZZU              6AA>=>;<RQÿ5@G>oR=>o@ÿ4<p;GER=>;<
  `WZÿ7WÿÿW8ÿ78UÿUÿ9U^ÿZ8ÿUÿV7ÿd
  6ÿ87YZeÿUÿ8UVZeÿYUZ1fV7gÿ7ÿÿaZ8UZ7ÿ78 d      Y 
                                                                         ÿ6ÿW7VV7bÿU7ÿU99ÿ7ÿU78ZUZ]
                                                                         ZUÿ7ÿZV78ÿU`7ÿ8Z]UZ]ÿZ89ÿU
  V7ZYÿ7WÿUÿW8ÿ78U
  8ZYÿÿ^U8ÿÿ9`8ÿ34Xÿ245Xÿÿ6ÿ8 UYÿb     ZYÿUZ]ZZÿbZÿ8_Z8ÿUÿÿ6ÿZV7ÿUgÿ7b
  Z7ÿW8ÿ8UUZ7ÿW78ÿÿ87ÿ7WÿYZYÿUYUZ 8Z]UZ]^ÿUÿZÿ8Z9
                                                                                         ^ÿÿ8Z]UZ]ÿZ89qÿ̀gÿ7b
  ÿWWÿ7WÿUYÿZÿÿ]UVÿ7Wÿ78W7VZ7ÿ8ZZÿ W78qÿgÿ7bÿ8Z]UZ]ÿZÿU8ÿ9
                                                                                                       8VUÿYÿZ9ÿU8ÿU7
                                                                                                          ÿUÿ8VUÿYÿZ9
  7ÿUZZUÿUYÿZÿ9U8\ÿ7ZZ7XÿUÿ7ÿYUZ            U WW
                                                                          ÿ
                                                                             U ÿ
                                                                                 Z^ [
                                                                                         ÿ
                                                                                          WZUZU Vÿ 7 Z
                                                                                                          Z7XÿWZUZUVÿ8W789UÿU
  9U8\ÿa78ÿW78ÿ8ZUVÿUÿU9VUZYÿU                   U ÿW
                                                                             V7b q
                                                                                  ÿU   ÿgÿ
                                                                                             7bÿ   ÿ
                                                                                                        ZYÿ7Wÿ8Z]UZ]ÿ`rÿ7
  7ZZ7ÿUÿVÿUÿ7VVU8UVÿW78ÿW8ÿ78UÿZ          9U  8ÿ
                                                                                  Z Y ÿU 88
                                                                                           U Y9    ÿfZ
                                                                                                           W ÿUVZU`VgÿUWWÿÿ
  7bÿ7ÿÿ77VZUÿU9ÿ7WÿTÿU                     a7 8 ÿ
                                                                                 7Wÿ  ÿ6 ÿ
                                                                                               8VU   ÿ
                                                                                                          7  ÿÿ8Z]UZ]
  hZU`ZVZZÿUÿi8ZÿUÿjÿ68k
                                                                      d7ÿ8ÿ78U8^ÿ8Zÿ8Z\ÿbZÿ8ÿ7
  -D=>;<l                                                             7]878ÿfisd kgÿ8UUZ7Xÿÿ6ÿUÿ8
  dÿ6ÿ9U^ÿZVZeÿ7Z7ÿ7ÿ8ZZÿ78ÿZZÿ7            Z7ÿ9U8ÿZYÿU88UY9XÿU`VZÿbZZÿÿ6[
  ]U8^ZYÿY8ÿUÿU8ÿ7WÿZÿ8ZZUVÿZ]9ÿ8UY^ÿT m8UZ7UVÿbUÿUÿ8Z]UZ]ÿT7ZUZ7XÿmÿfimTkg
  7Z7ÿ7ÿUÿ8Z^ÿZÿUÿ78UÿUÿYZ]ÿÿ7V8ÿ7Wÿ 9U8ÿUY89XÿbZÿUVV7bÿÿ6ÿ7ÿ9U\ÿf78ÿ7ÿU]
  7Z7XÿZÿ88ÿW78ÿUÿ89Z9Xÿÿ8ZYÿ7ÿ̀^ÿW879ÿfZÿ UÿZV9ÿ7ÿ8Z]gÿUÿZYVÿÿU^9ÿZÿÿ]ÿ7W
  Uÿ7WÿUÿUVVgÿ78ÿVVÿ7ÿfZÿÿUÿ7WÿUÿgÿÿb8Z8ÿ7Wÿ WUVÿfV77ÿZYgÿW78ÿ7UZYÿU^U`VÿU
  7Z7ÿÿ8Z^ÿ8V^ZYÿÿ7Z7ÿUÿUÿZWZ            8Z]U`VÿbZÿ8ÿ7ÿ8UZÿsd ÿ8Z]UZ]ÿ7ZZ7ÿZ
  a8Zÿ78ÿi8Z\kÿ8Zÿdÿb8Z8ÿ7WÿUÿ7Z7ÿ7ÿUÿ8Z^ W78bU8ÿ88^ÿaUYÿ78UÿW78ÿUÿZZ]ZUV
  Uÿÿ7`VZYUZ7ÿ7ÿa8Zÿ7Wÿÿ7Z7ÿ7ÿVZ]8ÿ 78U8^ÿmÿUZZ7Xÿÿ6ÿ9U^ÿ8_Z8ÿUÿ8UZ
  8V^ZYÿ8Z^ÿ7ÿU^9ÿ7Wÿÿa8Zÿ8Zÿ78ÿ7 78U8Zÿ7ÿUÿU178ÿ8ZZÿZÿ7VVU8UVÿU7
  U^ÿÿa8Zÿ8Zÿ7ÿVZ]8^ÿ7Wÿÿ8V^ZYÿ8Z^ 7ÿ7]8ÿZÿÿU^9ÿ7`VZYUZ7ÿW78ÿ7ÿ8Z]UZ]
  dÿ6ÿ9U^ÿ7Vÿ7Z7Xÿb8Zÿ7Z7ÿ78UXÿ78ÿ̀7 78Uÿ`rÿ7ÿmTÿ9U8ÿUY89ÿmWÿ
  mWÿUÿ7Z7ÿb8Zÿ̀^ÿUÿ6ÿaZ8ÿa8ZXÿUÿ6          78U8^ÿWUZVÿ7ÿ8W789ÿ8ÿÿ78UÿU
  8UVZeÿ7ÿÿaZ8UZ7ÿUÿUÿUZUVÿYUZÿ_UVÿ7ÿ         UY89XÿÿUÿU178ÿ8ZZÿbZVVÿ̀ÿ9UÿU]UZVU`V
  89Z9ÿ8Z]ÿ̀^ÿUÿ6ÿUÿÿZ9ÿÿ7Z7ÿbU               7ÿÿ6
  b8ZÿmWÿUÿ7Z7ÿ8Uÿ̀^ÿUÿ6ÿaZ8ÿa8ZX 8UZÿmTÿ9U8ÿUY89ÿZVÿ8Zÿ8VU
  Uÿ6ÿ8UVZeÿUÿUZUVÿV7ÿ_UVÿ7ÿÿ89Z9ÿUZÿn8Z78 7ZYÿWU8ÿbZÿUVV7bÿ78U8Zÿ7ÿsd
  7ÿÿU8VZ8ÿ7Wÿa8Zÿ78ÿaZ8UZ7XÿUÿaUY8U 8Z]UZ]ÿ7ÿ89ZUÿ8Z]UZ]ÿ78Uÿ8Z78ÿ7ÿ9U8Z^ÿZ
  7Z7ÿ9U^ÿ̀ÿV7ÿ7ÿ̀^ÿUÿ7WWZYÿ8Uÿ78ÿUVÿ7W ÿ]ÿÿ6[ÿÿUÿVZÿ̀^ÿU
  Uÿ7Z7ÿ7WÿÿU9ÿ8Zÿf^Xÿ8V^ZYÿ8Z^X
  ÿ
                                                                                                              TUVÿ78ÿÿÿ20

118781791444553520534401224489                                                                      321
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39                    Page 304 of 600

      !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                     ÿ                                   N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  Uÿ8UWÿ78ÿÿ6ÿXUYVÿ7ÿ9ÿÿ89ÿ7XÿY              ÿ                                        ÿ
                                                                                                                           lY1        T8YUY71
                                                                                                                          78Uÿÿ ÿ j8YUY7kÿÿ
  ZTÿ9U8ÿUW89[ÿ\Yÿ\7VÿUÿÿ6ÿ7                    68ÿ78Uj5k                       ÿ ÿ 5mÿ ÿ q j3[35kÿ
  UV8UÿU]9ÿ7XÿU]ÿÿVYU^YVY]ÿ7\ÿ7ÿ                      o8UÿdY7ÿ78U                ÿ ÿ 5[2ÿ ÿ ÿ                pÿ
  78U8]                                                            r8YÿdY7ÿ78U                  ÿ ÿ [0ÿ ÿ ÿ
                                                                           j5kÿ68ÿ78UÿU_8UWÿ97V]ÿ_7V9ÿYÿUVVUÿYW
                                                                                                                                                    pÿ
  678ÿXYUYUVÿ878YWÿ87[ÿÿ6ÿ7ÿ7ÿ7XX                   T8YUY71j8YUY7k
  8Y_UY_ÿUÿUÿ8Y_UY_ÿVYU^YVYYÿUÿU8ÿ^`ÿ7
  YWÿU88UW9ÿYÿÿ77VYUÿU9ÿ7XÿT
  UÿaYU^YVYYÿbUc8]ÿ78ÿY7V_]ÿVU\ÿ7XÿUÿU8YVU8
                                                                           ,;=  @ÿstÿ0@:?G>=>@uÿ3@<A><O
                                                                           nXXY_ÿT8YVÿm[ÿ245[ÿv w6Tÿ8ÿY7ÿUÿ7]
  `8YYY7ÿ9U]ÿY97ÿ88YY7ÿ7ÿ78ÿ87Y^YY7ÿUWUY                UW89ÿ\YÿbUcÿ7Xÿ\ÿx78cÿwVV7ÿjyb xzkÿo8Y78ÿ7
  ÿ8YWÿ7Xÿ7XXÿYÿ^Uc8][ÿY7V_]ÿ78ÿ78ÿ_                 T8YVÿm[ÿ245[ÿUÿ8ÿbUcÿUÿe8ÿ79U]ÿjyU
    7VVU8UVÿ89ÿU8ÿ78UÿYXYÿX78ÿde ÿ8Y_UY_ÿ678               8zkÿ8_ÿUÿÿ7YUÿ7ÿÿ6
  8Y_UY_ÿ8Uÿ8ÿUÿZTÿ9U8ÿUW89[ÿ                         Tÿ7Xÿ9^8ÿ34[ÿ245[ÿÿ6ÿYÿ7ÿU8YYUÿY
  7VVU8UVÿ8fY89ÿU8ÿ]YUVV]ÿUVVUÿ^]ÿYWÿ                8YYÿVYWÿ8UUY7ÿ\Yÿb x
  9U8cÿ7ÿ9U8cÿU97ÿX78ÿUÿ8UUY7ÿ8ÿ                          o8Y78ÿ7ÿT8YVÿm[ÿ245[ÿÿ6ÿ7VÿcÿUYY7UVÿY79ÿ^]
  UW89ÿUÿ79U8YWÿUÿ7ÿÿ_UVÿ7XÿU]ÿ7VVU8UV                    9UcYWÿ8ÿV7Uÿ7XÿYÿ78X7VY7ÿ8YYÿ87WÿYÿ8Y78
  88V]ÿVWÿ^]ÿÿ6ÿ78ÿÿ78U8]                              7YU[ÿUÿ8ÿÿV7Uÿ\7Vÿ^ÿYÿUÿU97ÿ7
  678ÿXYUYUVÿ878YWÿ87[ÿUÿ7VVU8UVÿUÿUÿ^                W8U8ÿUÿ7Y8ÿ7Xÿÿ_UVÿ7Xÿÿ6{ÿ7UVÿU
  VWÿ7ÿ7_8ÿ7^VYWUY7ÿ7Xÿÿ6[ÿYXÿU][ÿYÿ878ÿY               Uÿ8ÿ\7VÿU8WÿUÿXÿXÿ^Uÿ7ÿUÿ8UW
  88YÿUÿ7ÿÿ77VYUÿU9ÿ7XÿTÿU                     7Xÿÿ8YYÿVYWÿY79
  aYU^YVYYÿg8UVV][ÿÿU97ÿ7Xÿ7VVU8UVÿÿX879ÿ78ÿ7ÿU              eÿ6ÿ\7Vÿ8Y_ÿ7VVU8UVÿ7YYWÿ7XÿUÿjlÿU
  U8]ÿ9ÿhÿUÿ9YY99ÿ8UX8ÿU97ÿ87V                          X78YWÿ88]k[ÿ8YYÿYÿ78ÿWU8Uÿ^]ÿÿl
  ^X78ÿUÿ8UX8ÿUÿ7ÿ^ÿ9Uÿe7ÿÿhÿU97ÿ                    W7_89ÿ78ÿYÿUWYÿ78ÿY89UVYY[ÿ7_8YWÿ^[
  7ÿÿ6ÿX879ÿYÿ78U8YÿU8ÿ7ÿXVV]ÿ7VVU8UVYi[              7_8Y^Vÿ^7[ÿY88_7U^Vÿ^UcÿV8ÿ7Xÿ8Yÿ78ÿ
  78UUVV]ÿ78ÿ78\Y[ÿÿ6ÿ^U8ÿÿ8Ycÿ7XÿV7ÿX879               78ÿ7VVU8UVÿUÿ9U]ÿ^ÿUW8ÿ7ÿ^]ÿÿU8Yÿ7ÿU
  78U8]ÿ78X789U                                                   8YYÿVYWÿU88UW9[ÿYYYUVV]ÿ\YÿUÿ_UVÿ7Xÿ542|ÿ78
  eÿXXÿ7Xÿ8Y_UY_ÿY89ÿ7ÿÿ77VYU                        540|ÿ7Xÿÿ9U8cÿ_UVÿ7XÿÿV7Uÿ8YYÿU
  U9ÿ7Xÿd8UY7ÿX78ÿÿ]U8ÿÿ9^8ÿ34[                       8UX8ÿ9UYUYÿUÿUÿ_UVÿ7Xÿ544|ÿ7Xÿÿ9U8cÿ_UVÿ7X
  2 45[ÿYÿUÿX7VV7\                                                          ÿV7Uÿ8YYÿZXÿÿ7VVU8UVÿ7Yÿ7Xÿ7U
  ÿ
                                                               ÿUW          7VVU8UV[ÿÿ^7887\8ÿ\7VÿU]ÿÿ6ÿUÿV7Uÿ89Y9
                                         ÿ
                                    UVYiÿ
                                                                  Yÿ
                                                              l8UVYi         XÿZXÿÿ7VVU8UVÿ7Yÿ7XÿU[ÿUÿ8ÿ\7V
                                       gUY                  T8YUY7ÿ1ÿ     8Y_ÿÿUÿTV7Wÿ_7YWÿ8YW[ÿ78ÿ8YWÿ7ÿ7[
                                     ja7kÿ                j8YUY7kÿ      \Yÿ8ÿ7ÿÿV7Uÿ8YYÿUÿ7ÿÿ^7887\8[ÿ
  ÿÿ                                    7
                                 ÿ8Y_UÿY_jÿ5k
                                                                  7
                                                         ÿ 8Y_UY_ÿ          6 ÿ\7Vÿ8UVVÿÿV7Uÿ8YYÿ7ÿ8U7U^Vÿ7Y
  Z8ÿUÿYc             ÿÿ mm[03j5ÿkj2kj3k ÿ ÿ j54[04kjjmmkkÿj0kjk Yÿ788ÿUÿÿ8YYÿ7Vÿ^ÿ_7ÿ^]ÿÿ6ÿYXÿ
  nfY]ÿo8YÿYc              ÿÿj2[5m[43k ÿ ÿ ÿ j5[20kjmkjk ÿ 7V            8ÿ7Xÿÿ8YYÿU8ÿUcÿ7ÿ_7ÿ7ÿ78ÿ7ÿ7
    7997Y]ÿYc                ÿÿ         pÿ           ÿ ÿ j20[k ÿ 9U8ÿ9U8Y            UVV]ÿUXXYWÿÿY_9ÿeÿ6ÿUV7
  j5k 77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUVYiÿWUYÿjV7kÿ7
  ÿ
                                                                                  7V ÿUVV
                                                                                            ÿ ÿV7UÿYÿ788ÿ7ÿVVÿÿ8YYÿY_7V_
  j2kÿ\8 Yÿ7Y7ÿ78U
        77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUVYiÿWUYÿjV7kÿ7      8YYÿ
                                                                                             V YWÿ8UUY7ÿ\8ÿ8ÿY7ÿ8Uÿ7
      Y
       _  
             9  ÿ
                    X879ÿ UXX
                              YVY
                                UÿY
                                       8
                                           ÿo 8
                                                 U ÿ
                                                        7
                                                          Y7ÿ7 V
                                                                  ]
  j3kÿ 77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUVYiÿWUYÿjV7kÿ7       8YYÿ
                                                                                             a 7U ÿTW89ÿjyaTzk[ÿ\Yÿ\7Vÿ87_Yÿ
      X 8ÿ7 8
                    U 
                                                                               8YW 
                                                                                      [ÿYÿ
                                                                                            ÿ_  ÿ7XÿXUVÿjYVYWÿ^Uc8]ÿ78
  jmkÿ 77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUWÿYÿ8UVYi         Y 7V
                                                                                      _  ]kÿX
                                                                                               7 8ÿ ÿ7XUVYWÿU8]ÿ7ÿVYfYUÿ
  j0kÿU 8YUY7ÿj8YUY7kÿ7ÿY_9ÿo8Uÿ7Y7ÿ7V]
        77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUWÿYÿ8UVYi        7VVU8UVÿUÿUVVUÿUÿÿh78ÿ7ÿÿXUVYWÿU8]ÿ78
  jkÿU 8YUY7ÿj8YUY7kÿ7ÿX8ÿ78U                         8fÿUYY7UVÿ7VVU8UVÿZÿÿ_ÿUÿUÿ^7887\8
        77VYUÿU9ÿ7Xÿd8UY7ÿV7UY7ÿUWÿYÿ8UVYi
      U8YUY7ÿj8YUY7kÿ7ÿ\8Yÿ7Y7                             XUV[ÿÿ6[ÿUÿV8[ÿ\7Vÿ7XXÿÿ9U8cÿ_UVÿ7X
                                                                                 ÿ7VVU8UVÿ8Y_ÿUWUYÿÿ9U8cÿ_UVÿ7Xÿ
  eÿU_8UWÿ97V]ÿ_7V9ÿ7Xÿ8Y_UY_ÿUY_Y]ÿX78ÿÿ]U8 8YYÿV7Uÿeÿ_UVÿ7Xÿÿ7VVU8UVÿYÿ]YUVV]ÿW8U8
  ÿ9^8ÿ34[ÿ245[ÿYÿUÿX7VV7\                                       UÿUÿ7Xÿÿ9U8cÿ_UVÿ7Xÿÿ8YY
  ÿ
  2ÿÿÿTUVÿ78

118781791444553520534401224489                                                                                     331
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                 6789ÿ 05/24/21
                                                                                Entered        10:22:39                     Page 305 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=>?=@ABC
  ÿ
  ÿ
  1A
  ÿ
    E>AFGAHÿIJKÿLJMN                                                              ÿ                               O?PQRS=BÿTR<GSRÿ7RR<;S>?<=ÿ8@=B
  ]7XWÿ]Xk\^ÿÿ]8ÿ_\ÿXÿÿX97ÿXZXV]ÿ7ÿ                      8X9ÿ7[ÿÿ\k9ÿ]7ÿXÿ\8\V\7ÿ\ÿYÿ7[
  [X]\^ÿX8Zÿo7_k8WÿVXp8Zÿ78ÿ\7]kZÿ]X_ÿ7[ÿX                    ÿ\k9ÿ\79WÿXÿXYÿX8\Vÿ[879ÿ6
  X8\]X8ÿq8\\\7ÿ9XZÿ\97ÿ88\\7ÿ7ÿ78                            878^X\mX\7ÿ]X\[\X\7ÿX8ÿ9Xÿ7ÿÿ6r
  87\V\\7ÿX^X\ÿÿXÿ8\^ÿ7[ÿ7[[ÿ\ÿÿkÿ7[ÿX                   X\X]ÿX7ÿ7ÿ8[]ÿ\79ÿXÿ^X\ÿXkX\]XV]ÿ[78
  bUÿ78X8ZrÿVXp8Zÿ78ÿ\7]kZÿ̀8ÿÿbUW                      \8\V\7ÿg78ÿXkX\]XV]ÿX\X]ÿ]7ÿX88Z7k8hÿ8ÿ\79
  ÿ6ÿXÿ8\kÿXÿ7]]X8X]Wÿ78Wÿ7ÿXÿkÿ7[                      XYÿ8^]X\7ÿcÿ8]X\[\X\7ÿXkÿ7ÿ\9Xÿ7ÿ
  [X]Wÿ8]]ÿ78ÿ8]^ÿÿ7]]X8X]WÿXÿÿV7887_8ÿX                 \k9ÿ\79Wÿ8X]\mÿ^X\ÿ78ÿ]7Wÿ78ÿUyÿ7[ÿ
  8]]ÿ78ÿ8]^ÿÿ]7Xÿ8\\ÿcÿ8\pÿ7[ÿ8\\                6ÿcÿX]]X\7ÿ7[ÿÿ\k9ÿ\79ÿ8ÿX8ÿ\
  ]\^ÿX]7ÿ\]ÿÿ8\pÿXÿÿV7887_8ÿ9XZÿ7ÿ87k\                  ÿ77]\Xÿ6\X\X]ÿo\^]\^ÿXV]ÿY]ÿ
  X\\7X]ÿ7]]X8X]ÿ_ÿ8s\8ÿ78ÿ9XZÿ7ÿ88ÿ                        Xq9
  8\\ÿ_ÿÿc7ÿ9\\^Xÿ\ÿ8\pWÿXÿ6ÿV[\                   Uÿ7[ÿ9V8ÿ34Wÿ245Wÿ89Xÿ\[[8ÿ\[]Z
  [879ÿXÿV7887_8ÿ[X]ÿ\9\Zÿ87k\ÿVZÿXÿ8                      8]\^ÿ[879ÿ[78\^ÿ88Zÿ^X\ÿXÿ]7Wÿ88ÿ7[
  Xÿ8rÿ\9\Zÿ^8X]]Zÿ87k\ÿ[78ÿ8]X9ÿ7[                   X\X]ÿ\8\V\7ÿ[879ÿ8X]ÿXÿ\k9ÿ8WÿX\X]
  8\\ÿ]ÿ78ÿÿX87Y\9XÿkX]ÿ87[                                ^X\ÿ\8\V\7ÿ[879ÿ78ÿaWÿXZ7_ÿ^X\ÿXÿ]7W
  -<>Aÿtuÿvu1uÿ8ABAHSRÿ5=;<FAÿ/Swÿ5=x<HFS>?<=                                      X88\ÿVX\ÿXq9Wÿ[X]ÿV7Wÿ]\9\X\7ÿ7[
  cÿX8X8ÿ7[ÿ\79ÿXÿ^X\ÿ7ÿVÿ\8\Vÿ\                           V\\X8Zÿ8XX\7WÿXYÿ8X9ÿ7[ÿ878^X\mX\7
  89\ÿ\ÿX78Xÿ_\ÿ\79ÿXYÿ8^]X\7ÿ_\                       YÿXÿX\X]\mÿ\k\ÿ7ÿ78ÿX]ÿ_8
  9XZÿ\[[8ÿ[879ÿ̀ÿdUUnÿcÿ\[[8ÿ\]ÿgVÿX8                    \\[\ÿXÿ8]X\[\ÿX97^ÿÿ797ÿ7[ÿÿ6r
  7ÿ]\9\ÿ7hÿ\k9ÿ78^X\mÿXÿX88\ÿ[78ÿXY                    ÿXÿXÿ[7]]7_
  87Wÿ\k9ÿ\ÿ[8Wÿ]7ÿ[88ÿ7ÿ7[[\^    eX
                                                                       \8\VXV]
                                                                        8\^ÿgb7h ÿ                                nX\\ÿ
                                                                                                                        X\X]
  7\\7WÿXYÿ8X9ÿ7[ÿ78^X\mX\7X]ÿX8ÿ7W            i W 2W     ÿ                            ig
                                                                                                                      W2Wh
  ]7ÿ[88ÿÿ7ÿ_XÿX]ÿ8XX\7WÿXY
  Uÿ9V8ÿ34Wÿ245Wÿÿ97ÿ8ÿXYÿZX8Wÿ797ÿ7[ÿ\8\VXV]ÿX8\^ÿ7ÿXÿXYÿVX\ÿ\ÿXÿ[7]]7_
  ÿ
  ÿ
                         `\8\V
                          b7^c89                     `\8\V                     f8                   U9]X                        ÿcXY
  `\8\V              X\X]                    cXYeY9                      c978X8Z                    X\X]ÿX                   U8\X\71
    a79 ÿÿÿ              dX\ ÿ ÿÿ                   a79 ÿ ÿÿ                  \[[8ÿ ÿÿ           f8ÿb7ÿ ÿÿ               g8\X\7hÿ
  i          jÿÿÿ        i          jÿ ÿÿ              i          jÿ ÿÿ               i        jÿ ÿÿ            ig22W22W34hÿ ÿÿ             ig24W33W443hÿ
  `8ÿÿ^]Xÿak9ÿ79XZÿl78\mX\7ÿUÿ7[ÿ2454Wÿÿ6ÿ_\]]ÿVÿ89\ÿ7ÿX88Zÿ[78_X8ÿX\X]ÿ]7
  \88ÿ\ÿXYXV]ÿZX8ÿV^\\^ÿX[8ÿ9V8ÿ22Wÿ2454ÿ[78ÿXÿ]\9\ÿ8\7ÿUÿ7[ÿ9V8ÿ34Wÿ245Wÿÿ97ÿ8
  XYÿZX8ÿWÿÿ6ÿXÿX\X]ÿ]7ÿX88Z7k8ÿXÿ\\XÿV]7_
  ÿ
             7ÿeY\8X\7                                                   7ÿeY\8X\7
             78c89              ÿ                                       b7^c89              ÿ                                           c7X]
            i54W522W220            ÿ                                      i523W44W550           ÿ                                       i22W22W34
  c
  ÿ
    ÿXYÿX8X8ÿ7[ÿ\8\V\7ÿX\ÿ8\^ÿÿZX8ÿÿ9V8ÿ34Wÿ245ÿXÿ9V8ÿ34Wÿ245ÿ_8ÿXÿ[7]]7_
  ÿ                                                                    ÿÿÿÿ ÿ ÿ ÿÿÿÿ                                  \8\V\7ÿnX\ÿ6879               ÿ
  ÿÿ
  245
                                                                            eY9                 f8\X8g5Zh
                                                                       ÿÿÿÿ a8ÿ ÿÿÿÿ a79 ÿ ÿÿÿÿ X\X]ÿdX\ÿ ÿÿÿÿ
                                                                       ÿÿÿÿ i jÿ ÿÿÿÿ i W0 W4 ÿ ÿÿÿÿ i
                                                                                                                             b7^c89           8ÿg72[h
                                                                                                                                                 X\X] ÿ
                                                                                                                                       jÿ ÿÿÿÿ i52W3W3ÿ
  245
  ÿ
                                                                       ÿÿÿÿ ÿ jÿ ÿÿÿÿ ÿ5W2 W35ÿ ÿÿÿÿ ÿ                              jÿ ÿÿÿÿ ÿ W2Wÿ
  g5hÿÿ678ÿXYÿ87Wÿ7889ÿX\X]ÿ^X\ÿ\8\V\7Wÿ\[ÿXZWÿX8ÿ7\8ÿ78\X8Zÿ\79ÿ\8\V\7
  g2hÿU\\7X]ÿa[789X\7ÿ_\]]ÿVÿ\8\Vÿ7ÿ6789ÿ54ÿXÿÿÿ7[ÿÿX]X8ÿZX8
  ÿ
                                                                                                                                   UX]ÿ78 2          ÿÿÿ




118781791444553520534401224489                                                                                               31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39             Page 306 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                               ÿ                          N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  T8UVWXÿU8WUW7ÿUÿ8WUW7ÿUÿ9Y8ÿ34Zÿ245ZÿYUÿ7ÿ7ÿ7[ÿW\9ÿ[78ÿTÿ[8UVÿW79ÿU]
  87ÿ^U
  ÿ
                                                                         
     _87                       _87                             `8WUÿW71
   `8WUÿW7ÿÿ            8WUÿW7 ÿ              ÿ      a8WUW7bÿ            ÿ                 7 ÿ
  c5
  ÿ
     Z0d0Z50ÿÿ             c a20Z4Z5bÿ              ÿ      c a2d4Z33Z443bÿ           ÿ            c Z5Z42ÿ
  678ÿ68UVÿW79ÿU]ÿ87Zÿÿ7ÿ7[ÿW\9          88Uÿÿ8WWÿ78ÿ78ÿUÿ[879ÿyWX7
  7^ÿUÿ9Y8ÿ34Zÿ245ÿ^8ÿW[[8ÿ[879ÿU97           8WWÿ[78ÿÿt8Uÿt8WÿVÿUÿ8WÿW[[8WUVÿUÿW
  878ÿ[78ÿ[WUWUVÿ878Weÿ87ÿ8W9U8WVfÿÿ7        779WUVVfÿW9WVU8ÿ7ÿW8ÿiÿ8WÿW[[8WUVÿW
  W\9ÿWÿU88WZÿghiZÿ8WWÿ7Vÿ78Z          e7WUÿ[78ÿUÿ8UUW7ÿiWÿ8UÿV\8Ueÿ[78ÿ
  7W7Zÿ[8Zÿ[UVÿY7Zÿ78ÿ8WWÿU           6ÿYUÿÿUÿ8W\ÿUÿYÿÿ7ÿ8U
  [88ÿ^UÿUVÿV7                                        78ÿ8WW
  T8ÿ88ÿVU^Zÿ8UWÿUWUVÿV7ÿ8UVWXÿU[8         ,;=@ÿzpÿ6A{>|;G}Jÿ6AE><>|=GR=>;<Jÿ0@G{>:@ÿR<A
  j7Y8ÿ35ÿ9UfÿYÿ[88ÿUÿ8UÿUÿ788Weÿ7ÿ        5>|=G>F?=>;<Jÿ.G?|=@@JÿR<Aÿ-=P@Gÿ7@@|
  [W8ÿUfÿ7[ÿÿ[7VV7^Weÿ[WUVÿfU8ÿkUlU8ÿk7
  88ÿ78WU8fÿV7ÿ8UVWXÿ7ÿW\9ÿ8UUW7
  [879ÿmUU8fÿ5Zÿ245ÿ87eÿ9Y8ÿ34Zÿ245ÿ678ÿ          4<{@|=E@<=ÿ6A{>|;G}ÿ7@@|ÿR<Aÿ6AE><>|=GR=>;<
  [WUVÿfU8ÿÿ9Y8ÿ34Zÿ245Zÿÿ6ÿVÿ7        7@@|
   [8ÿÿ[7VV7^WeÿV7                                      678ÿWÿW\9ÿU\W78fÿ8\WZÿÿ6ÿUfÿ
  ÿ                                                                 h\9ÿ̀\W8ÿUÿ97Vfÿ[Zÿ79ÿUÿU8ÿUWVfZ
  UVWXÿUWUVÿk7ÿÿ
  c                   nÿÿ
                                        j8WU8fÿk7ÿ
                                        c            nÿ             YUÿ7ÿUÿUUVÿ8Uÿ7[ÿÿ6xÿ̀\8UeÿUWVfÿyUUe
                                                                    `ÿ̀\8UeÿUWVfÿyUUeÿ̀ÿ7[ÿÿ6ÿ9Uÿ
  ,;= @ÿopÿ2G@A>=ÿ6OG@@E@<=
  jÿmUU8fÿ54Zÿ245Zÿÿ6ÿ8ÿW7ÿUÿ[WUWe
                                                                    U\8UeÿUWVfÿ\UVÿ7[ÿÿ7UVÿUÿ7[ÿÿ6
                                                                    VÿUVVÿU8ÿVWUYWVWWÿ7[ÿUÿ6ÿa78ÿUÿÿUee8eU
  U88Ue9ÿaÿq6WUWeÿ̀88Ue9rbÿ^Wÿs tÿtU8WYU        U97ÿ7[ÿUfÿ7UWeÿY7887^Weÿ7WWeÿ[WUWUV
  t8W9ÿs87u8Ueÿh8UW7UVZÿkZÿs tÿt8W9ÿs87u8UeZ         V\8Uebÿiÿ6xÿ78UUVÿU\W78fÿ[ÿ^Wÿ~WeVU
  hZÿUWeÿ87eÿWÿ^ÿl78uÿs8UZÿUÿs tÿtU8WYU          [78ÿÿfU8ÿÿ9Y8ÿ34Zÿ245ÿ^Uÿ4d4w
  a7e8Zÿÿqs ttÿgWWrbÿT8ÿÿ6WUWe              jÿYUV[ÿ7[ÿÿ6Zÿÿi8ÿUÿ8ÿW7ÿU
  `e89Zÿÿs ttÿgWWÿ9Ufÿ9Uuÿ9U8eWÿV7Uÿ7ÿ         U9WW8UW7ÿUe89ÿ^Wÿghÿh\9ÿ_V7YUVÿ6
  6ÿUÿ8Uÿ8UeWeÿ[879ÿ5ÿ97ÿkhsjÿvÿ404wÿ7               8\WÿaqghrbZÿUÿ^7VVfÿ7^ÿYWWU8fÿ7[ÿghÿh\9
  5ÿ97ÿkhsjÿvÿ44wÿiÿ6WUWeÿ̀88Ue9ÿ9UfÿY             79UfZÿUÿUfÿghÿUÿ[ÿ[78ÿU9WW8UW7ÿ8\Wÿi
  89WUÿYfÿW8ÿÿ6ÿ78ÿÿs ttÿgWWÿ^Wÿ34        h\9ÿ̀\W8ÿe8UVVfÿUWÿWÿUVVÿUÿ7[ÿ
  Ufxÿ7Wÿ̀ÿ9Y8ÿ34Zÿ245Zÿ88ÿ7UWeÿU      6xÿU9WW8UW7ÿUÿ78UW7ÿUÿ[8Wÿ7[[WZ
  [UW8ÿ\UVÿU97ÿ^8ÿc540Zd35ZÿUÿc540ZddZ34Z            U8fÿ[UWVWWZÿW9ÿUÿ87V
  8W\Vfÿiÿ[UW8ÿ\UVÿ^UÿW9UÿYUÿ7[[              /D@<|@ÿ3>E>=|ÿR<Aÿ7@@ÿ@>EF?G|@E@<=|
  W7WeÿUÿ[V7^ÿ7^ÿWeÿUÿW7ÿ8Uÿ7[ÿ404w        iÿh\9ÿ̀\W8ÿUÿ78UUVVfÿUe8ÿ7ÿVW9Wÿ
  7\8ÿÿ[W\ÿ97ÿ8Wu[8ÿ8Uÿiÿ6xÿU\8UeÿUWVf
  YUVUÿ^Uÿc524Z2dZ4d5ÿUÿUÿ^WeÿU\8UeÿW8           7UVÿUUVÿ78UWeÿ]ÿa]VW\ÿ7[ÿ[ÿUWÿYfÿ
  8Uÿ7[ÿ350wÿ[78ÿÿUfÿ7UWe                           6ÿ8Uÿ7ÿW8ÿW8WYW7ÿVUÿ8ÿVÿ52Y5
  jÿyU8ÿ20Zÿ245Zÿÿ6ÿ8ÿW7ÿUÿUe89ÿ^W        8ÿÿ5d4ÿ̀ZÿUÿU9ZÿU]ZÿÿUÿ[88ÿU]
  yWX7ÿ8WWÿT`Zÿkk ÿaqyWX7ÿ8WWrbÿ8            ]ZÿW\Wÿ]ÿ7ÿ78ÿUVZÿW8
  ^WÿWÿ9Ufÿ[879ÿW9ÿ7ÿW9ÿ8ÿW7ÿ8\8ÿ88U      Uf9ZÿY87u8Ueÿ799WW7ÿUÿ78ÿ8UUW7ÿ7Z
  8UUW7ÿ8Uÿ7ÿÿ89ÿ7[ÿUÿ9U8ÿ88U         UW8ÿ[ÿ[ÿUÿ]ÿUÿ]8U78WU8fÿ]
  Ue89ÿUÿ8VUÿU]ÿa7VVW\Vfÿÿq8U       a7VVW\VfZÿÿqg]Vÿg]rbbÿ7[ÿÿ6ÿ7ÿ44wÿ7[
  `e89rbÿ̀ÿ8\8ÿ88Uÿ8UUW7ÿWÿU                U\8UeÿUWVfÿÿUÿU8WYUYVÿ7ÿUfÿVUÿ7[ÿÿ6
  88Uÿ8UUW7ÿWÿ^Wÿÿ6ÿWÿÿVV8ÿ7[         ÿqg]ÿUrÿiÿg]ÿUÿ]W8ÿ7ÿmUU8fÿ35Z
  8WWÿ78ÿ78ÿUÿUÿUe8ÿ7ÿ88Uÿ9ÿUÿU     245
  Uÿ8UWÿ78ÿ7ÿ9Uÿt8Uÿ7ÿÿ8U             T8ÿÿ]ÿVW9WUW7ÿUe89Zÿÿh\9
  `e89Zÿÿ6ÿ9UfÿUe8ÿ7ÿVVÿ8WWÿ78ÿ78         `\W8ÿ9Ufÿ87ÿ^UW\ÿU178ÿ8W9Y8ÿU97ÿ^W
  Uÿ7ÿyWX7ÿ8WWÿ[78ÿUÿUe8ÿ7ÿ8Wÿa         8ÿ7ÿÿ6ÿ^WWÿW8fW]ÿ97ÿ7[ÿÿUÿ
  qt8Uÿt8WrbZÿ^WÿUÿW9VU7ÿUe89ÿ7               U97ÿ^8ÿ^UW\ÿ78ÿ8W9Y8Zÿ87\Wÿÿ6xÿ7UV
                                                                    UUVÿ78UWeÿ]ZÿWVWeÿÿ879Zÿ7ÿ7
                                                                    ]ÿÿg]ÿUÿWÿ[[ÿUÿÿW9ÿ7[ÿ
                                                                    ^UW\818W9Y89
  ÿ
118781791444553520534401224489                                                                    301
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 307 of 600
  2ÿÿÿ!"#ÿ78




118781791444553520534401224489                                                 31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                       6789ÿ 05/24/21
                                                                      Entered        10:22:39            Page 308 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                  ÿ                               N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  TWW7UVVXYÿÿ6ÿ9UXÿWZÿWÿ8WWÿWÿ[X        W8UÿWÿÿ6fÿÿUÿ]78ÿÿ8W7ÿ
  78ÿWZ9ÿ79UWYÿWVW\ÿWZ9ÿ79UW 9[8ÿ34Yÿ245ÿWÿj25ÿ9WVVW7ÿUÿWÿ8]VÿUÿUÿ
  UÿU8ÿUZWÿ[XÿÿTZW8ÿ78ÿWÿU]]WVWUYÿ7ÿÿ^ 8W7ÿ7ÿ89W7ÿUWÿ7ÿÿ77VWUÿU9
  89Wÿ[XÿUVWU[VÿVU_ÿU178ÿ8Uÿ7ÿ^9WZ          7]ÿU\ÿWÿÿTÿcÿTZW8ÿ_WVVÿ7Wÿ7ÿUXÿUX
  8VW]ÿ]879ÿÿ` YÿUÿ^U\8Uÿ]ÿab`c6de           ]ÿ8VW\ÿ]879ÿÿ8ZWÿa\ÿU^ÿ878W\Yÿ6Tc T
  6ÿUÿ^ÿ7]ÿÿWZ9ÿ_WVVÿ[ÿ[78ÿ[X            79UW7Yÿeÿ8]789ÿ[Xÿÿ]7898ÿc8U]8ÿT\
  U87V8ÿ7]ÿÿWZW\ÿ6YÿUÿÿTZW8               TWW7UVVXYÿUZW78Xÿ]ÿUÿ_8ÿ8ZW7VXÿUWÿ7ÿ
  Z7VU8WVXÿ_UWZÿÿW\8ÿ7]ÿÿ_7ÿ]ÿ]78ÿÿ78W7ÿ7] TZW8ÿUÿU8W[U[Vÿ7ÿÿ7Z8UÿÿUÿ8VUW\ÿ7
  ÿ6fÿWZ9ÿUZW78Xÿ]ÿU8W[U[Vÿ7ÿW            Wÿ9U8ÿ_8ÿ88ÿ7ÿÿ6ÿTÿ7]ÿ9[8ÿ34Y
  WZ9ÿWÿÿU]]WVWUÿWZ9ÿ79UX                  245Yÿ7ÿUWW7UVÿU97ÿU8ÿ7_ÿ7ÿÿ6ÿ8VUW\ÿ7
  gÿ9[8ÿ34Yÿ245YÿÿU97ÿ[hÿ7ÿ7W[V            Wÿ9U8ÿTVVÿUWVXÿTqÿ[VWÿ[_ÿsU8ÿ245ÿU
                                                                                   5ÿUÿ_8ÿ9U8WUVVXÿU]]ÿ[XÿÿZUVUW7
  ]8ÿ879ÿ8ÿÿ6fÿ^ÿVW9WUW7ÿ_8 t7U88U8WX7ÿ2ÿ4_W
                                                                                    VVÿ[ÿ8UÿU]8ÿÿ79VW7ÿ7]ÿÿ6f
  Uÿ]7VV7_
  ÿ                                                                 U U V
                                                                           ÿ U   W
                                                                                    
               `^W8W\ÿ8W\ÿ6WUVÿiU8ÿ̀W\ÿ9[8ÿ34Y  ÿ
  2424ÿÿ
  j kÿÿ
                              2425ÿÿ
                              j kÿÿ
                                                            2422 ÿ
                                                          jl5Yÿ    7@@nÿwR>Aÿ=;ÿ-xx>:@GnÿR<Aÿ.G?n=@@n
                                                                       `Uÿc8ÿ_7ÿWÿ7ÿUÿbW8ÿ87dÿ7]ÿÿ6ÿU
  8W\ÿÿXU8ÿÿ9[8ÿ34Yÿ245YÿÿmZ9       ]WÿWÿÿ5l4ÿTÿaÿbmÿc8deÿ8WZ
  TZW8ÿWÿ7ÿ87ÿUXÿ]ÿ8ZW7VXÿ_UWZÿ78          UÿUUVÿ8UW8ÿ7]ÿj504Y444ÿUXU[VÿWÿrU88VX
  8W9[8YÿUÿj4Y25ÿ7]ÿ]ÿ8ZW7VXÿ_UWZÿUÿ78      WUVV9ÿUÿUVV7UÿU97\ÿUÿ78]7VW7ÿWÿÿyW\VU
  8W9[8ÿ[XÿÿmZ9ÿTZW8ÿUÿ_8ÿVW\W[Vÿ]78   6ÿ79V^ÿ7Z8ÿ[Xÿÿc8ÿ[Uÿ7ÿ8VUWZÿ
  879ÿ^W8ÿ7ÿ78ÿU97ÿ^W8ÿ78ÿ_8            UÿcÿbyW\VUÿ6ÿ79V^dÿ7Wÿ7]ÿUVVÿ7]ÿ
  87ÿ]879ÿÿ6ÿ8W\ÿÿXU8ÿÿXU8ÿ      8\W8ÿWZ9ÿ79UWÿUZWÿ[XÿÿmZ9
  9[8ÿ34Yÿ245                                           TZW8ÿ78ÿWÿU]]WVWUÿUZW8ÿUÿ^v7WÿUWUVYÿmYÿU
  -=P@Gÿ.GR<nR:=>;<nÿo>=Pÿ=P@ÿ4<p@n=E@<=                        V7ÿ9UU\9ÿWZ9ÿ79UXÿUÿUÿV
  6Ap>n@G                                                        7ÿ[ÿ8UÿUÿUÿ[WÿZV79ÿ79UXÿ8ÿ
  qU8W7ÿ8UUW7ÿ788ÿ8VUÿ7ÿÿZUVUW7         5 l4ÿTÿUÿ7]ÿÿUÿ7]ÿWÿ878ÿ̀]]WZÿ9[8ÿlY
  788W7ÿ7]ÿÿ6fÿWZ9ÿWÿrWXÿWÿ[X       2  4  50Yÿs8ÿv7_VVÿ8W\ÿ]879ÿWÿ7WW7ÿ_WÿÿmZ9
  c88U8ÿ7878UW7ÿ[rÿ7ÿ9[8ÿ34Yÿ245YÿU UÿZmW88ÿv8
                                                                T
                                                                             
                                                                               W78ÿ7ÿ9[8ÿYÿ245Yÿs8ÿv7_VVÿ_Uÿ8UÿU
                                                                               ÿc8ÿ7]ÿÿc8ÿ]78ÿUVVÿ87ÿ78ÿU
  ZUVUW7ÿ788W7ÿ_Uÿ9UYÿU]]W\ÿÿZUVÿ7]ÿ
  WWZWUVÿ7WW7ÿ[_ÿsU8ÿ245ÿ87\ÿtUU8Xÿ245 cÿ6ÿUXÿUÿ7ÿÿ79
                                                                  7 9    U
                                                                               W7               ÿc8fÿ7ÿ7]ÿW
                                                                                                  UW7ÿ7ÿWÿ7]]W8YÿUVVÿ7]ÿ_79ÿU8
  UYÿUÿUÿ8VYÿ78ÿ6ÿUVVUW7ÿUÿU87V8       9   V7X ÿ7]ÿ      ÿ
                                                                                            mZ9 ÿTZW8ÿ78ÿ7ÿ7]ÿWÿU]]WVWU
  UX9ÿUÿ788ÿ8W\ÿUÿ8W7ÿcÿ6fÿ]7898
  c8U]8ÿT\ÿ_Uÿ\U\ÿ7ÿUÿÿ^ÿUÿW9U n=G>F?=>;<ÿR<Aÿ0PRG@P;QA@Gÿ0@Gp>:@ÿ7@@n
  7]ÿÿ8878ÿUÿ87ÿÿUX9ÿ7_ÿ7ÿU87V8 5>
  ]78ÿ[8WW7ÿ7Z8UX9ÿTÿ7]ÿ9[8ÿ34Yÿ245Yÿ v8 
                                                                     W78ÿ7ÿÿ7Z8W7ÿUYÿÿ6ÿUÿUÿW8W[W7ÿU
                                                                     U87V8ÿ8ZWÿVUÿaÿbvVUdeÿ8Uÿ7ÿVÿ52[5
  6ÿUÿ8WZÿUX9ÿ7]ÿU87^W9UVXÿjÿ9WVVW7          8ÿÿ5l4ÿTÿcÿvVUÿ8rW8ÿÿUX9ÿ7]ÿU
  ]879ÿÿTZW8ÿ]78ÿ7Z8UX9ÿ9Uÿ[Xÿÿ6ÿ7         97    VXÿ8ZWÿ]ÿ7ÿ^v7Wÿ8WWYÿmÿa]7898VXY
  89W7ÿUX9ÿ7ÿU87V8ÿ8VW\ÿ]879ÿ
  ZUVUW7ÿ788W7uÿU97ÿ7_ÿ7ÿ8UWÿU87V8 UÿUVUUÿVÿ8UUWÿU7V]ÿÿ6
                                                                yW   \
                                                                                            4
                                                                                              ÿW8W[78Yÿmeÿaÿbz8_8W8deÿU
                                                                                              20{ÿ7]ÿÿUZ8U\ÿUWVXÿÿU
  ]78ÿ[8WW7ÿ7Z8UX9ÿ8VW\ÿ]879ÿÿZUVUW7
  788W7uÿUÿW8ÿ7ÿÿU97ÿv8W78ÿ7ÿXU8Y vVUÿUV7ÿ8rW8ÿÿÿUUX9
                                                                U   8W
                                                                       [ U[ V
                                                                               ÿ
                                                                                7 ÿ    VU  ÿTY    ÿVUÿÿU8ÿ7]ÿÿ6ÿc
                                                                                                        ÿ7]ÿUÿ97VXÿW8W[W7ÿ]ÿ7
  ÿ6ÿ_W8ÿU87^W9UVXÿj5ÿ9WVVW7ÿ7]ÿÿU97
  8WZÿ]879ÿÿTZW8ÿ7ÿÿ6fÿ]7898ÿc8U]8ÿT\ ÿUÿU8W[U[Vÿ7ÿVUUÿÿÿ7]ÿU4
                                                                    ÿ
                                                                       z   8
                                                                              _8 W
                                                                                    8ÿU   ÿ
                                                                                             UÿU UVÿ8
                                                                                                                 8
                                                                                                                  0{ÿ7]ÿÿUZ8U\ÿUWVX
                                                                                                                  ÿVUÿiÿU8ÿ_8
  7ÿ87ÿUÿW8W[ÿU97ÿ7_ÿ7ÿU]]              7  ÿ
                                                                        [ h
                                                                             
                                                                               ÿ7ÿ U  ÿ5   2[ 5ÿ
                                                                                                ]
  U87V8ÿ8W\ÿÿ8W7ÿÿ9[8ÿ34Yÿ245Y
  ÿÿW8UÿWÿÿUÿ7]ÿÿ6ÿUÿUÿ8Vÿ7]ÿ cÿz8_8W8ÿ8WZÿj5Y052ÿ7]ÿ]87ÿUVÿU8\
  U97ÿ8WZÿ]879ÿÿTZW8YÿVÿÿU97ÿW8W[ ]879ÿ
                                                                         ÿUVÿ7]ÿVUÿTÿU8ÿ7]ÿÿ6ÿ8W\ÿÿXU8
                                                                         ÿ9[8ÿ34Yÿ245
  7ÿÿ6fÿ]7898ÿc8U]8ÿT\ÿ_Uÿjl4ÿ9WVVW7ÿcW
  U97ÿWÿ8]VÿUÿUÿ8W7ÿ7ÿ89W7ÿUWÿ7ÿ T]8ÿÿ7Z8W7ÿUYÿÿ6ÿ_Uÿ7ÿV7\8ÿ[hÿ7
  U9ÿ7]ÿU\ÿWÿÿTÿ]78ÿÿXU8ÿ           52[5ÿ]
  9[8ÿ34Yÿ245ÿcÿ
  ÿ
                                                                                                                TUVÿ78ÿÿÿ2
118781791444553520534401224489                                                                       31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                        6789ÿ 05/24/21
                                                                       Entered        10:22:39            Page 309 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./0ÿ
  ÿ
       .-ÿ2-,0-3456./5ÿ74,6,2463ÿ0.6./8/,.0ÿ9:;<=><?@AB
  ÿ
  ÿ
  0@
  ÿ
    D=@EF@GÿHIJÿKILM                                                   ÿ                              N>OPQR<AÿSQ;FRQÿ6QQ;:R=>;<ÿ7?<A
  4<A@E<>T>:R=>;<                                                       8YYÿs7ÿ78ÿ79YXÿYÿX78ÿ88aÿcY[[
                                                                        Y8Xÿ78ÿ8XÿYÿ87ÿ7ÿXWÿYÿÿ_X[ÿ7]
  U8ÿÿ6Vÿ78WXYZXY7X[ÿ79\ÿÿ7]]Y8ÿX           ÿ88aÿYÿ8[XY7ÿ7ÿÿUÿ7[[X8
  ^8ÿX_ÿ̀ÿW8Xÿ8XYÿY9Y]YXY7ÿ8YW
  XWXYÿ8XYÿ[YX`Y[YYÿXÿ9XaÿX8Yÿ7ÿ7]ÿ8]789Xÿ7]      5@G>tR=>t@gÿh>gi
  Y8ÿYÿ7ÿÿ6ÿbYY7X[[a\ÿYÿÿ789X[ÿ78ÿ7]       8Y_XY_ÿ8YjÿYÿXÿ79`YXY7ÿ7]ÿ_8X[ÿ8Yj\ÿY[YWÿ
  `Y\ÿÿ6ÿ9Xaÿ8ÿY7ÿ78XÿcYÿ8_Y              8YjÿXÿu5vÿXÿY_9ÿYÿXÿ8Y_XY_ÿY89ÿ9Xaÿ7
  87_Y8ÿXÿ7XYÿXÿ_X8Yaÿ7]ÿY9Y]YXY7ÿ[X          788[Xÿc[[ÿcYÿÿ8]789Xÿ7]ÿÿ8YYÿ78ÿX
  ^ÿ6Vÿ9XdY99ÿd78ÿ8ÿÿX88XW9ÿY               [Xÿ7ÿcYÿÿ6ÿjÿd78\ÿu2vÿ8Y_XY_
  ÿ7ÿ]8ÿ[XY9ÿXÿ9Xaÿ̀ÿ9XÿXWXYÿ               78X\ÿY[YWÿ7Y7\ÿ9XaÿdY8ÿc78[ÿXÿÿ
  6ÿX\ÿ8]78\ÿX7ÿ̀ÿY9X                             7]ÿ8Y_XY_ÿ9Xaÿ8[ÿYÿ[7ÿ7ÿÿ6\ÿu3vÿXÿ8Y_XY_
  ,;=@ÿefÿ5>g:Q;g?G@ÿ;Tÿ0>O<>T>:R<=ÿh>gigÿR<A                           Y89ÿXY[YWÿ[_8XWÿ9Xaÿ8[ÿYÿXÿ[7ÿW8X8ÿX
  2;<=><O@<:>@g                                                         ÿ8YYX[ÿX97ÿY_\ÿuwvÿ8Y_XY_ÿ7ÿ8Xÿ7ÿX
                                                                        dXWÿ9Xaÿ̀ÿ`mÿ7ÿ8Yÿ8Yj\ÿ]78ÿdX9[\ÿY]ÿ
  ^ÿ8Y9X8aÿ8Yjÿ7]ÿY_YWÿYÿÿ6ÿX8ÿ8Ỳÿ̀[7c        78X8aÿ7ÿ7ÿ9ÿYÿ7`[YWXY7ÿuÿX[7
  YÿX[X`YX[ÿ788                                                o78X8aÿYjpv\ÿXÿu0vÿ8Y_XY_ÿ7ÿ8Xÿ7ÿX
  2;?<=@GDRG=kÿh>gi                                                     dXWÿ9Xaÿ̀ÿ`mÿ7ÿ[YsYYaÿ8YjÿXÿÿ8[Xÿ8Yj
                                                                        XÿÿY89ÿYÿY]]Y[ÿ78ÿY97Ỳ[ÿ7ÿ_X[ÿX8X[a
    78X8aÿ8YjÿYÿÿ7YX[ÿ[7ÿÿ6ÿ9XaÿY8ÿXÿX      bÿXÿW8X[ÿ9X8\ÿcÿÿ6ÿX`[Yÿ8XY
  8[ÿ7]ÿÿ]XY[8ÿ7]ÿXÿ78X8aÿ78ÿXÿY8ÿ7ÿ9Xj          8Y_XY_ÿY89ÿ7YY7\ÿÿXÿ8XYÿ]8\ÿ7Y7
  Xa9ÿX78YWÿ7ÿÿ89ÿ7]ÿXÿ78Xÿ78X8a            Xÿ]78cX8ÿ78Xÿ7YY7\ÿYÿcY[[ÿW8WXÿ[YsYÿX
  8YjÿYÿ9X8ÿXÿÿ[7ÿÿ6ÿc7[ÿ878ÿY]ÿY             uÿXÿX\ÿUÿ^8X8aÿ̀7ÿ78ÿ7998YX[ÿX8v
  78X8Yÿ]XY[ÿ7ÿ8]789ÿ8Xÿ7ÿÿ89ÿ7]ÿY8       sY_X[ÿ7ÿÿ6Vÿ7XYWÿ7`[YWXY7ÿ8ÿ
  7`[YWXY7ÿ7ÿÿ6ÿlXÿÿ6ÿ9Xaÿ8ÿY7              78Xÿ78ÿYÿ7Y7ÿcYÿÿ7YY7ÿnÿXYY7\ÿXW
  7_878ÿ]78cX8\ÿ7Y7\ÿcXÿXÿ78                     Yÿ[Xcÿ78ÿ8W[XY7ÿ9Xaÿ9Xjÿÿÿ7]ÿ8Y_XY_ÿ978
  8Y_XY_ÿ]YXYX[ÿY89\ÿÿ6ÿ9Xaÿ̀ÿd7ÿ7          7[a\ÿ9Xaÿ[Y9YÿÿX_XY[X`Y[Yaÿ7]ÿ8Y_XY_\ÿ78ÿ9Xaÿ78cY
  ÿ8Yÿ8Yjÿ7]ÿYÿ78X8Yÿ^7ÿ[Y9Yÿÿ78X8a      X_8[aÿX]]ÿÿ\ÿ_X[ÿ78ÿ8]789Xÿ7]ÿ8Y_XY_ÿb
  8YjÿX7YXÿcYÿÿ8XXY7\ÿÿ6ÿ7             6VÿX`Y[Yaÿ7ÿ8ÿYÿY_9ÿ8XWa\ÿY[YWÿY
  `Yÿ7[aÿcYÿ]YXYX[ÿYYY7ÿmWÿ̀aÿ               8XWaÿ7]ÿY_YWÿYÿ8XYÿ8Y_XY_ÿY89\ÿ9Xaÿ̀
  n_9ÿb_Y8ÿ7ÿ8ÿXX`[ÿ8Yÿ8Yj                 [Y9Yÿ7ÿ78ÿX_8[aÿX]]ÿ̀aÿÿ6VÿYY7ÿ7ÿsX[Y]a
  2G@A>=ÿh>gi                                                           XÿXÿ8W[XÿY_9ÿ79Xa\ÿXÿYÿ8XWaÿ9Xaÿ̀X8
                                                                        X_8[aÿ7ÿYÿX`Y[Yaÿ7ÿ7ÿsX[Y]a
  n_9ÿ8Xÿ̀[7cÿY_9ÿW8XÿX8ÿ7997[a
  8]88ÿ7ÿXÿYWaY[\ÿYWÿ8Yjÿ78ÿomjÿ`pÿ^aÿX8          4QQ>x?>AÿR<Aÿh@g=G>:=@Aÿ0@:?G>=>@gÿh>gi
  8WX8ÿXÿ879YX[aÿ[XY_ÿcYÿ8ÿ7ÿ                8XYÿY_9ÿ9Xÿ̀aÿÿ6ÿX8\ÿXÿ78ÿ9Xaÿ̀\
  YYWÿ79XaVÿ7YYWÿX`Y[Yaÿ7ÿ9ÿ8YYX[ÿX1ÿ78        Y[[YsY\ÿXÿ7s[aÿÿ6ÿ9Xaÿ7ÿ̀ÿX`[ÿ7ÿ[[ÿ
  Y8ÿXa9ÿn_9ÿYÿYWÿaY[ÿ`ÿXÿYW            Y_9ÿXÿ8YÿXÿ8][ÿÿn_9ÿb_Y8V
  aY[ÿY78ÿq7Xÿ9Xaÿ8[ÿYÿW8X8ÿbrÿ][XY7ÿX          X9ÿ7]ÿY8ÿ_X[ÿ78ÿÿX97ÿ78YWYX[[aÿXYÿ]78ÿ
  Y]ÿÿ6ÿYÿ7ÿ9XjÿÿY_9                            Y_9ÿ̀aÿÿ6ÿn[[YsYYaÿ9Xaÿ8[ÿ]879ÿ
     7878Xÿ`ÿ7`[YWXY7\ÿY[YWÿY78ÿq7X\ÿX8             X`ÿ7]ÿXÿX`[Yÿ9X8jÿ]78ÿÿY_9ÿXÿc[[
  `mÿ7ÿÿ8Yjÿ7]ÿ7Xa9ÿ7]ÿ[ÿY8               Xÿ[WX[\ÿ78XX[ÿ78ÿ78ÿ88YY7ÿ7ÿY8ÿ8X[ÿX
  X178ÿ8YYX[ÿ7Xa9ÿc7[ÿ8[ÿYÿXÿ8Y7ÿ7]            78ÿ]X78ÿ688978\ÿÿX8ÿ7]ÿÿ6V
  Y79ÿ7ÿÿ6\ÿXÿ8Y7ÿYÿÿ_X[ÿ7]ÿÿ7878X         Y_9\ÿYX[[aÿ7ÿYÿ]YXYX[[aÿY8
  `ÿ7`[YWXY7ÿd8YYWÿ7Xa9ÿXÿXÿ7YX[               79XY\ÿ9Xaÿ8sY8ÿXÿ[7Wÿ7[YWÿ8Y7ÿ8Y78ÿ7
  8XÿYÿÿbrÿ7]ÿÿ6                                       87]YX`Y[Ya
  2?GG@<:kÿh>gi                                                         8Yÿ8YYÿuY\ÿ8YYÿXsY8ÿYÿ8Y_X
                                                                        [X9ÿ8XXY7vÿXÿY[[YsYÿ8YYÿ9Xaÿ7]]8ÿYW8
  bÿ78Y7ÿ7]ÿÿ6VÿXÿ9Xaÿ̀ÿs7ÿ78ÿ79YX           aY[ÿXÿ79X8X`[ÿ`[Y[aÿ8Xÿ8YYÿ^ÿ6\
  Yÿ7Uÿ88Yÿ^ÿ8YYÿ9Xaÿ̀ÿX_8[a
  X]]ÿ̀aÿ][XY7ÿYÿ8[XY_ÿ88aÿdXWÿ8X          7c_8\ÿ9Xaÿ7ÿ̀ÿX`[ÿ7ÿ[[ÿÿ8YYÿcÿ
  Xÿ̀aÿdXWÿ787[ÿ8W[XY7ÿ^ÿ6VÿY_9            n_9ÿb_Y8ÿ7Y8ÿYÿY8X`[ÿ7ÿ7ÿ7ÿ78\ÿ7ÿ
  8]789Xÿ9Xaÿ̀ÿWXY_[aÿX]]ÿ̀aÿXÿ_X[XY7ÿ7]ÿX          dÿaÿX8ÿ7[ÿ8Y_X[a\ÿ9XaÿX_ÿ7ÿ[[ÿ9ÿXÿ[
  88aÿYÿcYÿÿ6VÿY_9ÿX8ÿs7ÿ78                Xÿÿ8Yÿ7]ÿ78cYÿ79X8X`[ÿ8YYÿ8Y
  79YXÿ688\ÿÿ6VÿY_9ÿ8]789X               8YYÿX8ÿ`mÿ7ÿ[Y9YXY7ÿ7ÿ8X[ÿcYÿXÿX_
  9Xaÿ̀ÿYWY]YX[aÿX]]\ÿY8ÿ7YY_[aÿ78ÿWXY_[a\ÿ̀a    XÿX_8ÿ]]ÿ7ÿÿ8Yÿ7`XYX`[ÿ]78ÿÿ8YY
  88aÿdXWÿ8Xÿ̀XÿÿUÿ7[[X8ÿ_X[ÿ7]              b[7\ÿY]ÿYÿ788ÿ7ÿ89Yÿ8X[ÿ
118781791444553520534401224489                                                                       31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 310 of 600
  ÿ
  34ÿÿÿ!"#ÿ78




118781791444553520534401224489                                                 31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                             6789ÿ 05/24/21
                                                                            Entered        10:22:39                  Page 311 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=>?=@ABC
  ÿ
  ÿ
  1A
  ÿ
    E>AFGAHÿIJKÿLJMN                                                         ÿ                                          O?PQRS=BÿTR<GSRÿ7RR<;S>?<=ÿ8@=B
  8UUÿV8ÿ8WU8ÿ8ÿÿ8UUÿXÿVÿVÿ6Y 8UUÿqU]ÿÿ8VWUÿVÿÙÿU8Vÿ
  Z[ÿÿ6YÿZÿ\7]ÿ^ÿU8VÿXÿUW            778Ubÿ7ÿVUlÿUW8ÿ88ÿ7ÿÿV97ÿUl[
  8VWÿ7_ÿU]]ÙUÿ8UUÿUÿVÿ6ÿ8VÿVÿ8UaÿV bÿV]7ÿU8Vÿÿ8Uaÿ7_ÿ]7ÿm7ÿÿZÿÿ6
  ÿVÿ6ÿ9Vbÿ7ÿ^ÿV^]ÿ7ÿ89ÿUÿV8ÿ\U7 8Vÿ8UUÿ\Uÿ^7887\ÿ_[ÿUÿÿVÿ\U]]
  VUWÿUWU_UVÿU]U7ÿ7ÿ89VUUWÿV87]8            ÿ7ÿU8Vÿ78ÿ8VÿVÿVÿW8V8ÿ8VÿVÿU_ÿ^7887\
  9Sc>AHÿ4?F?>ABÿdSH>=AHcQ?Eÿ:e94dfCÿg?ch                            _ÿV8ÿ7ÿÿr_ÿÿU8ÿZÿ7ÿ^7887\UWÿ\8
                                                                     7ÿZÿÿÿ88ÿ7ÿÿ78_7]U7ÿ8UUÿ8V
  iV8ÿjU9UÿkV88UÿUaÿUÿÿ8Uaÿ7_ÿUlUWÿUÿijk \Uÿ^7887\ÿ_[ÿÿ6Yÿÿ7_ÿ]l8VWÿ\7]ÿ8]ÿU
  U[ÿ\UÿUl7]lÿ79ÿ8UaÿVÿU__8ÿ_879ÿVÿUl9
  Uÿÿ`Ubÿ8UUÿ7_ÿVÿ79Vbÿmÿ6ÿ9Vbÿ7]ÿV Vÿ]7\8ÿ8Vÿ7_ÿ88ÿVÿU_ÿÿ6ÿ\8ÿ7ÿ]l8VW
  UWU_UVÿUl9ÿUÿijkÿUÿn7]8ÿ7_ÿijkÿU          -<=|}~1~ÿ1A;@H?>?Acÿg?ch
  Vlÿ]U9Uÿ787]ÿVÿl7UWÿ8UWÿ7ÿ9V8ÿV__UWÿ mÿ6ÿ9VbÿUlÿUÿ7wÿ8UUÿrlUWÿU
  V88Uÿn7]8ÿ7_ÿUÿUÿ^bÿVÿijkÿV8ÿZ7 7wÿ8UUÿUl7]lÿ8VUÿ8Uaÿ7ÿUl7]lÿU
  7ÿVÿ897ÿ7U^U]Ubÿ7_ÿ]UV^U]Ubÿ_78ÿV]]ÿ7_ÿÿ7^]UWVU7ÿ7_ 79UÿUl9[ÿU]UW[ÿ^ÿ7ÿ]U9Uÿ7ÿ_]VU7
  VÿijkÿUÿÿlÿVÿVÿ78ÿ89UÿVÿÿ8UWÿ7_ Uÿ_78UWÿZVWÿ8Vtÿ_8ÿ_78UWÿ779U[ÿ_UVUV][
  ÿ7]8ÿ7_ÿijkÿUÿ7ÿl7ÿ7ÿ897lÿ78ÿ8]Vÿ          7]UUV]ÿVÿ7UV]ÿl]79tÿU__8ÿ]WV]ÿb9tÿ
  W8V]ÿV88ÿ7_ÿVÿijk[ÿ7ÿV87lÿV99ÿ7ÿV 7U^]ÿU97UU7ÿ7_ÿZVWÿ787]ÿ78ÿ78ÿ_78UW
  ijkYÿV88UÿVW89[ÿ78ÿ7ÿVaÿ78ÿVU7ÿ8 W7l89V]ÿ]V\ÿ78ÿ88UU7tÿ]7\8ÿ8VUWÿl7]9tÿ9
  ÿV88UÿVW89ÿ7_ÿVÿijkÿ\7]ÿ7U             W8V8ÿ8Uÿl7]VU]UbÿVÿU]]ÙUUbÿ7_ÿ8VUÿ7w
  o787]pÿ7_ÿÿ^Uÿ7_ÿVÿijk[ÿ78ÿVÿ78ÿ78               8UUÿ9V8atÿU__8ÿ8VUWÿVÿ]9ÿ8VUt
  W7l89V]ÿVWbÿ89UÿVÿÿijkÿUÿ7UW ]ÿW7l89V]ÿ8lUU7tÿVWÿUÿ88bÿZVW
  ^UÿUÿVÿVÿ\U7ÿ79]bUWÿ\UÿÿV88U         8VtÿUWÿVÿl7]VU]ÿ8Vÿ7_ÿU_]VU7tÿ_]VUWÿU8
  Vÿ7_ÿVÿVÿn7]8ÿ7_ÿijkÿUÿV8ÿV]7ÿZ7ÿ7 8Vtÿ]ÿ^]U]bÿVlVU]V^]ÿU_789VU7tÿVÿU__8
  ÿ8UaÿVÿbÿ\U]]ÿ^ÿ8`U8ÿ7ÿ8VbÿV97ÿ7ÿÿijk V7UW[ÿVUUWÿVÿ_UVUV]ÿ878aUWÿVV8ÿV
  VÿV8ÿ\87W_]]bÿU8U^ÿ7ÿ9ÿXUU7V]]b[ÿV           8`U89
  VUÿ8ÿ9Vÿ_78ÿ8ÿ7U][ÿV8V]ÿWVÿV            1A=?<Hÿ4<S=cÿg?ch
  8_Uÿ87]9ÿ87ÿ7]ÿVl8]bÿV__ÿijk
  8lÿVÿVÿ_]7\[ÿVÿVWÿUÿÿ8W]V78b             mÿ8UaÿVÿÿU8ÿ7_ÿVÿU78ÿ9Vbÿ_VU]ÿ7ÿVbÿU8ÿ78
  lU879ÿ7]ÿVl8]bÿV__ÿÿ87_UV^U]Ubÿ7_ÿijk 8UUV]ÿ\ÿ[ÿVÿVWÿUÿ9V8aÿU8ÿ8Vÿ9Vb
                                                                     8ÿÿlV]ÿ7_ÿÿU78ÿ]7Vÿ78ÿ8ÿÿ6Y
  5=>AHAc>ÿgS>Aÿg?ch                                                 88ÿmÿ8UaÿV7UVÿ\UÿU78ÿ]7VÿV8ÿU9U]V8ÿ7
  mÿ8UaÿVÿ_UZÿU79ÿ8UUÿ\U]]ÿ]UÿUÿlV]        ÿ8Uaÿ7_ÿUWÿbU]ÿ^ÿ8UUÿU78ÿ]7VÿVÿ78
  ^Vÿ7_ÿVWÿUÿU8ÿ8VÿqÿU8ÿ8V          ^ÿ8UUÿV8ÿV]7ÿ^sÿ7ÿÿ8Uaÿ7_ÿ8Uÿ]UÿV
  ]U[ÿÿlV]ÿ7_ÿ_UZÿ8Vÿ8UUÿV]8Vbÿ]ÿ^bÿ 7ÿU8VÿUÿU8ÿ8V[ÿV8U]V8]bÿ]7W89ÿ8V
  6ÿVÿ^ÿZÿ7ÿ8Uÿ7l8]b[ÿ\ÿU8ÿ8V U78ÿ]7VÿV8ÿV]7ÿ^sÿ7ÿÿ8UaÿV[ÿVÿU8ÿ8V
  8U[ÿÿlV]ÿ7_ÿZUUWÿ_UZÿ8Vÿ78_7]U7ÿ8UUÿVÿ^ 8U[ÿÿ7ÿ7_ÿ^7887\UWÿU8V[ÿ\Uÿ9VbÿU8Vÿ
  Zÿ7ÿ]UÿXÿ_ÿ\UÿVÿ]7W8ÿVl8VWÿ78_7]U7        8Uaÿ7_ÿ_V]ÿrÿVUU7[ÿÿU8ÿ8Vÿ7_ÿ_]7VUWÿ8V
  8VU7ÿ\U]]ÿ^ÿ978ÿUUlÿ7ÿVWÿUÿU8ÿ8V       ]7VÿbUV]]bÿ7]bÿVsÿ7ÿVWÿUÿ7889ÿU8
  VÿVÿ6ÿ\UÿVÿ788ÿVl8VWÿ78_7]U7ÿ8VU7ÿr          8Vtÿ]7W89ÿU8ÿ8VÿVÿlV8bÿ8V9VUV]]bÿ_879ÿ78
  VUU7[ÿÿU8ÿ8Vÿ7_ÿ_]7VUWÿ8Vÿ]7VÿbUV]]bÿ7]b 89ÿU8ÿ8Vÿm8_78[ÿU78ÿ]7Vÿ9Vbÿ7ÿ9UUWV
  Vsÿ7ÿVWÿUÿ7889ÿU8ÿ8Vtÿ]7W89            8Uÿ]UÿUÿVÿ]7W89ÿU8ÿ8VÿlU879ÿm
  U8ÿ8VÿVÿlV8bÿ8V9VUV]]bÿ_879ÿ7889ÿU8 6YÿUl9ÿUÿU78ÿ]7VÿV8ÿbUV]]bÿ^]7\
  8Vÿuÿv]bÿ2 [ÿ245 [ÿÿVÿ7_ÿÿwUÿxUW79Y          Ul9ÿW8VÿVÿV8ÿ7U8ÿ]VUlÿ^Vÿ7_
  6UVUV]ÿ7ÿX78UbÿV7ÿVÿU8ÿ7ÿVÿ7 ÿ8Uÿ8Uaÿ7_ÿU8ÿU8
  ÿÿ7_ÿjryuÿ^bÿÿÿ7_ÿ2425ÿÿ7ÿU
  V79[ÿ8ÿ89VUÿ8VUbÿ8WV8UWÿÿ_8 1Q<H>ÿ1SRAcÿg?ch
  U]UzVU7ÿ7_ÿjryuÿVÿÿV8ÿ7_ÿVbÿ8]V9ÿ8V 78ÿV]ÿ^bÿÿ6ÿÿVÿÿVV8ÿ7ÿÿ9V                 ÿ\8ÿ8ÿUÿV
  Xÿ[ÿÿ7UV]ÿ__ÿ7_ÿVÿ8VUU7ÿV\Vbÿ_879ÿjryu 7__78UUWVÿ]]7]bÿUWÿl77]lUUÿ7ÿ]UU9U          VÿUÿUÿ^UWÿ7]ÿ78
                                                                                                                      ÿ]7ÿ7UV]ÿUÿÿ9V8a
  7ÿÿ6ÿ78ÿÿ_UVUV]ÿU89ÿUÿ\Uÿ              8Uÿ7_ÿ8UUÿ7]ÿ78ÿ9Vbÿ7U7]bÿU8Vÿ78
    79VbÿUlÿV7ÿbÿ^ÿ89U
                                                                     ]]UWÿV]]7\ÿÿ6ÿ7ÿ87_Uÿ_879ÿ]UÿUÿ9V8aÿ8U
  4A   {A HS PA ÿg? ch
  mÿ6ÿ9Vbÿÿ]l8VWÿUÿUÿUl9ÿ87W8V9[
                                                                     7ÿÿZÿÿ]UÿZÿÿ8VVU7ÿ7ÿV
                                                                     7ÿ7_ÿ^7887\UWÿÿ8UUÿn7\l8[ÿUÿÿ^7887\
  U]UWÿÿÿ7_ÿ^7887\ÿ_ÿVÿUl9ÿU             8UUÿ9ÿ^ÿ8]Vÿ^bÿ8VÿVÿ9V8aÿ8UÿU
  8VUÿbÿ7_ÿ7U7[ÿÿVÿ[ÿV]]ÿVÿ\V88V[        788ÿ7ÿ]7ÿ7ÿÿ78ÿ7UU7[ÿVb
  \Uÿ9Vbÿ^ÿ8Vÿ_78ÿVÿ_8VU7ÿ7_ÿÿ8Uÿ7_ÿ
  8]bUW
118781791444553520534401224489                                                                                      41
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 312 of 600
  ÿ
                                                                                                "#$ÿ78ÿÿÿ35




118781791444553520534401224489                                                 51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39               Page 313 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=>?=@ABC
  ÿ
  ÿ
  1A
  ÿ
    E>AFGAHÿIJKÿLJMN                                                     ÿ                               O?PQRS=BÿTR<GSRÿ7RR<;S>?<=ÿ8@=B
  [8Y[Y7ÿYÿÿ8Yÿ7]ÿÿi7887fÿ8YYÿf7c              97ÿ[ÿtÿc7`9ÿ7]ÿYÿ78ÿ89ÿ[ÿ7
  8cÿYÿ[ÿc7ÿl8[Ygÿ8YYÿ7ÿc7ÿ7ÿÿ78          8qY8ÿ[ÿY9Yc[8ÿ8Y7ÿ7]ÿY9ÿ^]ÿh88[8ÿYÿcY9[c̀
  7YY7ÿ[ÿYc]ÿ[ÿÿ8Yÿ7]ÿ8YYÿ7ÿ8Yÿ]88b      ]cÿYÿYÿ]]78bÿÿ89Y[ÿcYÿf7cÿ7ÿi
  8i`ÿt[8i[Ygÿÿc7ÿhÿ6ÿ9[`ÿ9YYg[ÿ               8Y[ÿ[ÿÿ_[cÿ7]ÿÿh88[8ÿqY`ÿf7cÿcYxc̀ÿi
  c7ÿi`ÿ8c[Ygÿÿ8YYÿ7cÿ78ÿi]78ÿÿ9[8x         9[8Y[cc̀ÿg[Y_c̀ÿY9[ÿhÿ][Y8ÿ_[c[Y7ÿ7]ÿh88[8
  8Yÿ[ÿY8[ÿYgY]Y[c̀ÿX8ÿ[_8ÿ9[8x                 Y_7c_ÿ8[Y`ÿ[ÿYÿYÿ9[8Y[cc̀ÿÿ7ÿ
  7YY7bÿÿ6ÿ9Ygÿ[_ÿY]]Yc`ÿ8[Yg                   Y9[
  8YYÿ7ÿ9ÿ9[8gYÿ[ccÿ7ÿYÿ78ÿ[cÿcY_8`              wYÿ8g[8ÿ7ÿÿcYxcY77ÿ7]ÿh88[8ÿ8g[YYgÿ
  7icYg[Y7bÿ[ÿ9Ygÿ[_ÿ7ÿccÿ78]7cY7ÿ8YYÿ7ÿ8[Y       89Y[ÿcYbÿÿ^_9ÿa_Y8ÿ[Ygÿ[ÿYg
  ÿ[Y[cÿ[8`ÿ7ÿ9ÿYÿ78ÿ[cÿ7icYg[Y7ÿ[ÿ[           87i[iYcY`ÿ7]ÿbÿi[ÿYÿ[8ÿYÿ7c[Y7ÿfYÿ7Y
  Y9ÿfÿ][9[cÿY_9ÿ7Y8[Y7ÿf7cÿ7               t8
  ][_78ÿÿ[c
  ySR@S>?<=ÿz?W{                                                          -<>AÿNUÿ5=}AW>FA=>ÿ/HS=WS;>?<=W
    8[Yÿ7]ÿÿ6|ÿ[ÿ[8ÿ][Y8ÿ_[cbÿYcYgÿ
  6|ÿ8Y9[8`ÿYccYqYÿ[bÿh88[8ÿh88[8ÿYÿ[
                                                                          ~@H ;QSWAWÿÿ1SRAWÿ<Vÿ1A;@H?>?AW
                                                                          hÿ7ÿ7]ÿ8[ÿ[ÿÿ87ÿ]879ÿ[cÿ7]
  778[Ygÿ79[`ÿ[ÿ7ÿ7ÿ88c̀ÿg8[          Y_9bÿ78ÿ[ÿ7889ÿ8YYÿ[ÿ7889
  8_ÿ[ÿfYÿ8Y9[8Yc̀ÿ8Y_ÿYÿ_[cÿ]879ÿf7         7Y7bÿ]78ÿÿ̀[8ÿÿ9i8ÿ34bÿ245bÿf8ÿ[
  89ÿ]8qYbÿÿcYÿfYÿ8ÿ7ÿ7ÿ7]ÿfY ]7cc7f
  f[ÿ89Y[ÿi`ÿÿ6 ÿ[ÿYÿiYgÿ7ÿi`
  h88[8ÿ7ÿY[cÿ[ÿicYÿ7cY`ÿg87ÿh88[8 l8[X
                                                                           ÿn7_89
                                                                             8YY      ÿ ÿ         8ÿ8YY       ÿ
  88c̀ÿ[YY[ÿÿ7ÿ9[`ÿ[xÿifÿ52ÿ7ÿ34 rs                   ÿ [cÿ ÿ l8[ ÿ ÿ            [c ÿ
                                                                                    ÿ r sÿ ÿ r52b2b22ÿ ÿ r255b05b02ÿ
  ÿ
  -<>AÿMJUÿ7VV?R?S>ABÿ5WW@AHW
  X8ÿY7ÿ2ÿZ[\Z3\ÿ7]ÿÿ^_9ÿ79[`ÿaÿ7]ÿ54bÿ[ÿ[9bÿ[ÿ78]7cY7ÿ79[`ÿYÿ]Yÿ[ÿd[]]YcY[eÿY]ÿ[ÿ]
  7fÿ]Y_ÿ8ÿ78ÿ978ÿ7]ÿYÿ7[Ygÿ_7Ygÿ8YYÿ78ÿY]ÿÿ78]7cY7ÿ79[`ÿYÿ8ÿ7997ÿ787cÿhÿ[icÿic7f
  7fÿ[]]YcY[ÿY8ÿ7]ÿÿ6ÿ[ÿ7]ÿ9i8ÿ34bÿ245
  ÿ
                                                                                      
                                                                                 [cYm
                                                                                   n[Y1
                                           jgYYg                             Zo7\ÿ7 [gÿY pYgÿk[c
                             [8ÿ[ k[cÿ[ÿ7]                                [cÿ7] X8[cYm         [ÿ7]       [8ÿ[
                           9i8ÿ34b 9i8ÿ34b l8[ l87 a]]YcY[ a       8Y[Y71 9i8ÿ34b 9i8ÿ34b a]]YcY[
  ^8                  ÿ 245 ÿÿ 245 ÿÿ [ÿ7 ÿÿ ]879ÿ[cÿÿ ^8 ÿÿ8Y[Y7ÿÿ 245 ÿÿ 245 ÿÿ ^79 ÿ
  .>QAHÿ7VV?R?S>AW                     ÿÿ                        ÿ             ÿ           ÿ             ÿ             ÿ             ÿ
  h88[8ÿ78ÿZX
      pqY`\             ÿÿ 230b522ÿÿr b2 b02ÿÿr          sÿÿrZ22b0b\ÿÿrb500b5 ÿÿr 5b0b2ÿÿr  b53b4ÿÿÿ 5b035ÿÿr             sÿ
  n[9iY8ÿj[`ÿoo ÿZX
      pqY`\             ÿÿ 5b40bÿÿÿ 2b52 b20ÿÿÿ        sÿÿÿZ53b5b233\ÿÿÿ        sÿÿÿ55b45b ÿÿÿ           sÿÿÿ          sÿÿÿ        sÿ
    tl7YÿYY[c
      h8ÿZXÿpqY`\ ÿÿ          sÿÿÿ          sÿÿÿ2b442b30ÿÿÿ        sÿÿÿ          sÿÿÿ 2b2 4ÿÿÿ 2b0b440ÿÿÿ 5b52ÿÿÿ 5b0ÿ
  h88[8ÿ78ÿZX
      Y78ÿo7[\ ÿÿ 02b324b5 ÿÿÿ 02b2b0ÿÿÿ2b45bÿÿÿZ3b4b444\ÿÿÿ Zb45\ÿÿÿ 5b05ÿÿÿ 5b33bÿÿÿ 5b33bÿÿÿ5b3b5ÿ
  uYgc[ÿp8g`ÿvol
      6ÿZv[8
      oY9Y
      l[88Y\ ÿÿ b2b0 2ÿÿÿ 5b b3ÿÿÿ5b42b5ÿÿÿ              sÿÿÿ          sÿÿÿZb4b 4\ÿÿÿ 5b50bÿÿÿ 0b5b53ÿÿÿ5b42b5ÿ
  6ÿwo^6ÿ^bÿoo ÿZX
      oo ÿ^8\ ÿÿ                sÿÿÿ          sÿÿÿb 3bÿÿÿ        sÿÿÿ          sÿÿÿ 5b03ÿÿÿ b5b ÿÿÿ b 3bÿÿÿ              sÿ
  ÿ
  32 a[cÿ78
      ÿÿÿ




118781791444553520534401224489                                                                              21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                     6789ÿ 05/24/21
                                                                                    Entered        10:22:39                                Page 314 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=>?=@ABC
  ÿ
  ÿ
  1A
  ÿ
    E>AFGAHÿIJKÿLJMN                                                                ÿ                                                   O?PQRS=BÿTR<GSRÿ7RR<;S>?<=ÿ8@=B
                                                                                      
                                                                                 V][`ÿÿ
                                                                                   aV[1
                                           YZ[[Z                             bc7dÿ7ÿÿ VZÿ[ÿ g[Zÿ\V]ÿ
                            V8ÿV \V]ÿVÿ7^                                 V]ÿ7^ f8V][`ÿ          Vÿ7^        V8ÿV
                          9W8ÿ3ÿ4X 9W8ÿ34ÿX _8V _87ÿ e^^[][Vÿ e     8[V[71ÿ 9Wÿ8ÿ34X 9W8ÿ3ÿ4X e^^[][Vÿ
  U8                 ÿ 245 ÿÿ 245 ÿÿ Vÿ7 ÿÿ ^879ÿV]ÿÿ U8 ÿÿ8[V[7ÿÿ 245 ÿÿ 245 ÿÿ U79 ÿ
  6ÿhcU6ÿUUXÿcc ÿbf
      cc ÿU8d ÿÿ                iÿÿj          iÿÿj X3 X ÿÿj      iÿÿj           iÿÿj Xÿÿj X03 X35ÿÿÿ X3 X ÿÿj                 iÿ
  6ÿhcU6ÿUUUXÿcc
      bfÿcc ÿU8dÿÿ           iÿÿÿ          iÿÿÿ 3XX44ÿÿÿ       iÿÿÿ           iÿÿÿ b3 X532dÿÿÿ 3X05X ÿÿÿ 3XX44ÿÿÿ                 iÿ
  YYÿ\778V[9
      k[Z]V
      U^8V88ÿcc
      bZ[8
      Ul9
        79V[d ÿÿ 54X444ÿÿÿ 2XX 2ÿÿÿ                     iÿÿÿ       iÿÿÿ           iÿÿÿ 05X54ÿÿÿ 3X3X45ÿÿÿ 54X444ÿÿÿ                   iÿ
  k[Z]Vÿm8Z8
      e8W[8VZÿ6
      bZ[8
      Ul9
        79V[d ÿÿ X ÿÿÿ 5X20X2ÿÿÿ 5X02X3ÿÿÿ b0X423X 0dÿÿÿ 3X42ÿÿÿb5X24X554dÿÿÿ 54X0X4ÿÿÿ 0X0ÿÿÿ5X00X055ÿ
  k[Z]Vÿa]7WV]
      e]]7V[7ÿ6
      bZ[8
      Ul9
        79V[d ÿÿ                  iÿÿÿ          iÿÿÿ 5X444ÿÿÿ          iÿÿÿ           iÿÿÿ          iÿÿÿ        5X444ÿÿÿ         544ÿÿÿ 2X25ÿ
    n_7[ÿ8VZ[
      o78[[ÿ6
      bZ[8
      Ul9
        79V[d ÿÿ 305X5ÿÿÿ X5Xÿÿÿ 5X X4ÿÿÿ b53X3 dÿÿÿ                     iÿÿÿb5X5X3dÿÿÿ X5X2ÿÿÿ 3X535ÿÿÿ 2X0ÿ
  p7V]               ÿ



                         ÿÿ X24X0ÿÿj55X5X44ÿÿj23X44Xÿÿjb5X2X33dÿÿjX X02ÿÿj XX4 ÿÿj550X3X22 ÿÿj 30X2X43ÿÿjX44X4ÿ
                          ÿ   ÿ     ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ       ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ           ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ   ÿ    ÿ




  ÿ
                                    ÿ               ÿ               ÿ                   ÿ               ÿ               ÿ                       ÿ               ÿ                ÿ
                      ÿ   ÿ   ÿ         ÿ   ÿ   ÿ       ÿ   ÿ   ÿ       ÿ   ÿ   ÿ           ÿ   ÿ   ÿ       ÿ   ÿ   ÿ       ÿ   ÿ   ÿ               ÿ   ÿ   ÿ       ÿ   ÿ   ÿ




  -<>AÿMMqÿrAP@RS><Hsÿ9S>>AHt
  oÿeZÿ5 Xÿ245Xÿÿg ÿV7ÿV99ÿ7
                                                                                     ZV[Xÿnÿ^78ÿ[8[W[7ÿ]V[^[ÿVÿ88ÿ7^ÿV[V]
                                                                                     v[ÿV8ÿ[]]ÿ8ÿV8V]w
  Z]V[7ÿuÿpÿVZÿV8ÿ^^[lÿ^78ÿ8[7ÿV^8                       -<>AÿMLqÿ-Ayÿ7;;<@=>?=PÿzH<=<@=;AFA=>t
    7l9W8ÿ0Xÿ245ÿpÿVÿ7ÿZ[8ÿUl9                            Uÿ7l9W8ÿ245Xÿÿ6eYÿ[ÿe7[ZÿVV8
    79V[ÿv8ÿ9V[]wÿ^7ÿ7ÿ[9][^w[Zÿ                                  fVÿ2455XÿV9ÿ7^ÿVÿ6]7vÿbp7[ÿ234d
  8V[7ÿ7^ÿ[8[WVW]ÿV8[ZÿWwÿ][9[V[Zÿÿ                     8[ÿVÿpÿV99ÿ[ÿ[ÿVÿ8{[8ÿ
  7ÿ8ÿÿ797ÿ7^ÿ[8[WVW]ÿV8[Zÿ7ÿVÿW77x                      V9ÿ7^ÿVÿ^]7vÿ7ÿn]V[ÿÿVZÿ8[Zÿÿ8[7
  WV[ÿ[ÿÿV9ÿ7^ÿeÿVÿc[VW[][[ÿpÿV                      [ÿÿ7V]ÿ7^ÿVXÿ88[ÿVÿVÿVÿ{[lV]
  V]7ÿ[9Vÿÿ8V[7ÿ7^ÿ[8[Wÿÿ[l9                     e97ÿZ8V]]wÿ8[WÿVÿ88[ÿVÿ78ÿ88[
  [79ÿVÿ[8[W[7ÿ7ÿV87]8ÿ7ÿÿ77][V                         Vÿ{[lV]ÿ7]ÿWÿ[]ÿv[ÿVÿVÿV
  V9ÿ7^ÿVZÿ[ÿÿeÿpÿV97                                     {[lV]ÿvÿ87[][ZÿÿWZ[[Z7^8[7ÿV
  8ÿ[ÿÿ88ÿ77][VÿV9ÿ7^ÿVZ                          7^8[7ÿ7V]ÿV97ÿ7vÿ7ÿÿV9ÿ7^ÿV
  [ÿÿeÿ88ÿÿVZZ8ZVÿ7V]ÿ[8[W[7ÿ7^                       ^]7vÿ678ÿW][ÿ[[ÿ[ÿVÿv[]]ÿWÿ^^[lÿ^78
  ÿ[l9ÿ[79ÿVÿ8V][`ÿV[V]
  ÿ
                                                                                                                                                    eV]ÿ78ÿÿÿ33




118781791444553520534401224489                                                                                                                 31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39               Page 315 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=>?=@ABC
  ÿ
  ÿ
  1A
  ÿ
    E>AFGAHÿIJKÿLJMN                                                     ÿ                                       O?PQRS=BÿTR<GSRÿ7RR<;S>?<=ÿ8@=B
  XYVWÿZV8ÿ[\YY\ÿVX8ÿ9[8ÿ50]ÿ245 ]ÿVÿX78           `ÿU\ÿ245]ÿÿ6UcÿYÿU7Y\ÿVV8
  Y8Y9ÿ8Y7ÿ^YYÿ7ÿXYVWÿZV8ÿ_ÿ̀a9         dVÿ24553]ÿ6VY8ÿeVWÿfV89ÿj_7Yÿ24kÿ_
  UaY8ÿVÿaVWVÿÿY9Vÿ7XÿYÿ^ÿ\YVÿV ^ÿ\YVÿYWÿVYY7ÿVÿ97YXYVY7ÿ7
  XXYaÿU8YWÿ5]ÿ245]ÿÿ6ÿ7ÿW7\8ÿ878ÿÿV\ YW78ÿ8bY89ÿX78ÿXVY8ÿaVWÿ9V89ÿ678
  Yÿ88YÿVÿVÿVÿbYaVWÿYÿÿ78VY\ÿV [WYÿYY]ÿÿV99ÿV8ÿXXYaÿX78ÿ77WYV
  YaY\ÿY7ÿYÿ78ÿ77WYVÿV9ÿ7XÿV            XYVYVWÿV9ÿYÿX78ÿXYVWÿZV8ÿ[\YY\ÿVX8
  6W7^ÿ8YÿVÿVÿVÿbYaVWÿV8ÿ7^ÿYW 9[8ÿ50]ÿ245]ÿVÿY8Y9ÿ8Y7ÿ^YYÿ7ÿXYVW
  Yÿÿ[\YY\ÿVÿÿ7Xÿÿ8Y7ÿVÿVÿV              ZV8ÿUÿYÿY9]ÿ9VV\9ÿYÿ88WZÿaVWVY\ÿ
  bYaVWÿ7ÿÿ77WYVÿV9ÿ7XÿVÿ6W7^ Y9Vÿ7XÿYÿ^ÿ\YVÿ7ÿÿ77WYVÿXYVYVW
  _ÿV\ÿVaÿ[ÿVWYÿY\ÿVÿ887Ya             V9ÿVÿYW78
  8VYY7ÿ97ÿ7ÿVÿ8Y7ÿ8
  `ÿ9[8ÿ245]ÿÿ6UcÿYÿU7Y\ÿVV8 -<>               AÿMIpÿ4APSRÿ9S>>AHq
  dVÿ2455]ÿ_YVWÿ788Y7ÿVÿ̀987a9 245]ÿX879ÿ
                                                                    _  ÿ 6       ÿ8YaÿVÿV87W8ÿ9VÿW8ÿVÿfV8ÿ5]
                                                                                       VÿYYaYVWÿ878Y\ÿ7ÿ[ÿVÿV87W8ÿ7Xÿ
  _ÿV99ÿYÿYÿVÿYWÿVÿV99ÿ7             6     ÿj  ÿr  9Vÿn8skÿ_ÿ9Vÿn8ÿVWW\ÿV
  6UcÿU ÿ_7Yÿ24]ÿ6VY8ÿeVWÿfV89ÿV                     ÿ    88  ÿV ÿX7898ÿc7V8ÿ[8VÿY8ÿXYYV8ZÿY]
  YW78ÿ7ÿWV8YXZÿÿYXX8ÿ[^ÿVÿaVWVY7         V  ÿ    ÿ̀ a 9ÿUaY8ÿ[8VÿYÿVaY78ZÿV\89]
  V87VÿVÿVÿaVWVY7ÿYbÿ_ÿV99ÿVW7            Y ÿ
                                                                       8  WV  Y7
  8bY8ÿVÿYZÿ7ÿYW7ÿ^ÿ8ÿVÿ[ÿVÿV\ 9VWÿX]ÿÿÿ6 ÿ
                                                                                     7 ÿ
                                                                                        
                                                                                             tY \
                                                                                                 gÿYa9ÿYÿV8ÿ7XÿVÿVXXYWYV
                                                                                                  WVÿu8\Zÿfnvÿ6ÿjVW7ÿVÿ8Yÿ7X
  YÿY8ÿ78ÿ[7ÿVÿaVWVY7ÿV87VÿV178ÿVÿaVWVY7          ÿ_   8   
                                                                                   kÿ_  ÿ
                                                                                           6   ÿ7Wÿw500ÿ9YWWY7ÿj78ÿ50xkÿ7Xÿ
  Ybÿ678ÿ[WYÿYY]ÿYÿVÿ^YWWÿ[ÿXXYaÿX78 tY\WVÿu8\Zÿfnvÿ             6ÿd7ÿ8Yÿ7Xÿÿ9V
  XYVWÿZV8ÿ[\YY\ÿVX8ÿ9[8ÿ50]ÿ245 ]ÿVÿX78           n    8]ÿ  ÿc7 V 8
                                                                                            ÿX7 89 ÿVÿ9VÿaY^ÿ799Yÿjr sk
  Y8Y9ÿ8Y7ÿ^YYÿ7ÿXYVWÿZV8ÿ_ÿ̀a9
  UaY8ÿVÿaVWVÿÿY9Vÿ7XÿYÿ^ÿ\YVÿV WVY9ÿVÿ7ÿ9VyÿVÿ8799
                                                                     79     8Y  ÿ Y8
                                                                                            WZ ÿ7Xÿ
                                                                                                   Y         ÿ8ÿ7ÿYaY\Vÿ
  ÿV7Y7ÿ7XÿYÿ\YVÿYÿ7ÿVaÿVÿ9V8YVWÿY9V ^8ÿ8Yÿ7XÿÿWVY9ÿYÿVYÿY7ÿÿ7[ÿÿYÿc7   
                                                                                                                                    
                                                                                                                                     V8ÿ8\V8Y\
                                                                                                                                     8ÿ7Xÿ
  7ÿÿ6gÿ77WYVÿXYVYVWÿV9                  6ÿUYÿ[ZÿYÿ7Wÿ7ÿÿ799Y]ÿ
  `ÿfV8ÿ245 ]ÿÿ6UcÿYÿU7Y\ÿVV8                ÿ\V\ÿYÿVÿ787\ÿVÿVYWÿ8aY^ÿ7Xÿ
  dVÿ245 4]ÿYaV[Wÿhÿ78XV[Wÿ6ÿV                VWW\VY7ÿ7VYÿYÿÿ9Vÿn8ÿd7ÿ79WY7ÿ7X
  i8ÿ7ÿj[7Yÿ35424kÿ_ÿV99ÿYÿY               YÿaVWVY7]ÿÿ ÿ8799ÿVÿÿ6g
  Vÿ78ÿÿV978YlVY7ÿ8Y7ÿX78ÿ8VYÿVWWV[W       Yÿ8]ÿ^7ÿ88ÿVÿ9Vz78YZÿ7Xÿÿc7V8]
  [ÿ8YYÿWÿVÿ89Y9ÿYXYVWWZ]ÿÿV99 8zÿÿ9VÿYXYÿYÿÿV87W8ÿ9Vÿn8
  8bY8ÿÿ89Y9ÿ7ÿ[ÿV978Ylÿ7ÿÿV8WYÿVWWÿV 8ÿ7Y8Y\ÿÿ878ÿ7Xÿÿ ]ÿÿY
  _ÿV99ÿ7ÿ7ÿ8bY8ÿVÿV7Y\ÿV\ÿX78 UX         8ÿVY97WZÿV\8ÿVÿ8zÿÿ9V]ÿ7Y\
  8YYÿWÿVÿVÿY7mÿÿY7ÿ7Yÿ7ÿ[
  V978Ylÿ7ÿ9V8YZÿ678ÿ[WYÿYYÿYÿVÿ^YWWÿ[ YV7ÿ88ÿ 9Vÿn8ÿ7VYÿ9V8YVWÿXVVWÿ8878ÿV
  XXYaÿX78ÿXYVWÿZV8ÿ[\YY\ÿVX8ÿ9[8ÿ50]ÿ245] Vÿ7Wÿ79  ÿV
                                                                                          ÿ
                                                                                           [ 
                                                                                              Y7]ÿVÿÿ877ÿYÿ^Vÿ98YW
                                                                                               ÿ8ÿUÿ7Zÿ7Xÿÿ878ÿ^Vÿ87aY
  VÿX78ÿY8Y9ÿ8Y7ÿ^YYÿ7ÿXYVWÿZV8ÿ_            7 ÿ
                                                                           ÿ  8 7 8
                                                                                         ÿ  V87W8ÿVÿ8ÿ7W
  `a9ÿUaY8ÿYÿ88WZÿaVWVY\ÿÿY9Vÿ7XÿY       7^YVY\ÿÿX78\7Y\]ÿÿ878ÿV87W8ÿj
  ^ÿ\YVÿ7ÿÿ6gÿ77WYVÿXYVYVW
  V9                                                       rvWVYYXXskÿXYWÿVÿV87W8ÿ8YaVYaÿYÿV\VYÿÿ6]
  `ÿ6[8V8Zÿ245]ÿÿ6UcÿYÿU7Y\ÿVV8            8VYÿ99[8ÿ7Xÿÿc7V8ÿVÿÿ̀a9ÿUaY8ÿ7
  dVÿ24543]ÿ_YVWÿ788Y7ÿVÿ̀987a9ÿ7 {9[
                                                                    
                                                                                Y
                                                                                a  
                                                                                    8ÿ0]ÿ245ÿjÿrV87W8ÿnYY\VY7skÿcVÿ7ÿ
                                                                                    ÿ8YÿYaY\VY7ÿVÿÿ8WY\ÿ878]ÿ
  6YVYVWÿ̀89ÿhÿia8VWWÿj[7Yÿ2054k                 6     ]ÿc7   V8ÿVÿ̀a9ÿUaY8ÿ[WYaÿÿWVY9ÿ9V
  7\YY7ÿVÿfV89ÿ7Xÿ6YVYVWÿUÿV
  6YVYVWÿnYV[YWYYÿ_ÿV99ÿYÿYÿVÿ87aYÿV aY\787WZÿX7W8ÿVÿn\YVY\YVY7ÿÿV9
                                                                    Y ÿ
                                                                           ÿ  V 8                            8ÿ^Y7ÿ98YÿVÿYÿ7
                                                                                                                    ÿ_ÿVÿYÿnV7ÿa
  aV8YZÿ7XÿYVWÿ788Y7ÿVÿY987a9ÿ7ÿ7^
  YYÿ7WÿV7ÿX78ÿXYVYVWÿY89ÿ678ÿ[WY Y8Yÿ78ÿX78ÿÿ788ÿYÿ8YÿVWÿ]7ÿ3Xÿ_5{Vaÿ4jV
                                                                    tY \   WV   ÿ|W 7[ V W
                                                                                            ÿUW W7 VY
                                                                                                      7    ÿ 6                  234]ÿd
  YYÿYÿVÿ^YWWÿ[ÿXXYaÿX78ÿXYVWÿZV8ÿ[\YY\ 9Vÿn8ÿVÿÿV87W8ÿnYY\VY7ÿV8ÿWWV7ÿk8ÿ_            
  VX8ÿ9[8ÿ50]ÿ245 ]ÿVÿX78ÿY8Y9ÿ8Y7ÿ^YYÿ7 ÿv877VWÿVÿ7ÿ7ÿVW8ÿÿYY7ÿ7Xÿÿ6ÿVÿÿ7         WV
  XYVWÿZV8ÿ[\YY\ÿVX8ÿoÿ50]ÿ245ÿ_ÿ̀a9 `a9ÿUaY8ÿ7ÿ879YYWÿÿ6ÿVÿ7a8ÿ
  UaY8ÿVÿaVWVÿÿY9Vÿ7XÿYÿ^ÿ\YVÿV 6          ÿY7ÿVÿW7ÿX
  ÿV7Y7ÿ7XÿYÿ\YVÿYÿ7ÿVaÿVÿ9V8YVWÿY9V
  7ÿÿ6gÿ77WYVÿXYVYVWÿV9
  ÿ
  3ÿÿÿUVWÿ78
118781791444553520534401224489                                                                              1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                     6789ÿ 05/24/21
                                                                    Entered        10:22:39             Page 316 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01ÿ
  ÿ
       /.ÿ3.-1.4567/06ÿ85-7-3574ÿ1/7/090-/1ÿ:;<=;>?@A@B
  ÿ
  ÿ
  1A
  ÿ
    DEAFGAHÿIJKÿLJMN                                                 ÿ                             OPQR>S=@ÿT><GS>ÿ7>><;SEP<=ÿ8?=@
  XÿYZ9ÿUZ[8ÿ\] ^6U_ÿ[ÿV``[W[Vÿ87a                [[VÿjW7bcÿÿ6oÿjÿ7V[aÿVÿV
  7997ÿ787Wÿb[ÿ][aWVÿV[VWÿ^VVa9cÿde                7Z8VaÿbVÿVÿ̀7WW7b
  \f] ^deg_cÿVÿh 8a[8ÿ[Z9ÿVZ[8ÿi                                                          X7VW         wÿ7ÿ̀Uÿ
  i7j8ÿ5cÿ245cÿ] ^deÿ̀[Wÿ̀78ÿV8ÿ55ÿjVk8l                                                     U97         7Z8Vaÿ7
                                                                                                         ÿ iV[aÿ ÿ Yjÿ̀ÿ
  87[7ÿb[ÿÿm[ÿVÿnVk8lÿ78ÿ̀78ÿ       V
  [8[ÿ7ÿ̀WVbV8ÿXÿYZ9ÿUZ[8ÿ\] ^6U_ÿ[ÿ7 11334411224455                         ÿÿ524c20c3ÿ ÿ ÿ 32ÿ
                                                                                                         ÿÿ53c20c3ÿ ÿ ÿ 302ÿ
  VÿV8lÿ7ÿ] ^deoÿjVk8lÿ̀[W[aÿYZ9ÿUZ[8        1341245                               ÿÿ          xÿ ÿ ÿ          xÿ
  \] ^6U_ÿ[ÿVÿV8lÿ7ÿVÿV8ÿ8Z[ÿV88Va9ÿb[        1341245
                                                                  13412450
                                                                                                         ÿÿ4c444c444ÿ ÿ ÿ 2c5ÿ
                                                                                                         ÿÿ          xÿ ÿ ÿ          xÿ
  ] ^deÿm8ÿ[ÿV88Va9cÿÿYZ9ÿUZ[8           1341245                              ÿÿ          xÿ ÿ ÿ          xÿ
  \] ^6U_ÿ9Vlÿ[W[pÿ9W7lÿ̀879ÿ] ^deÿ[ÿ7[7 13412453                                       ÿÿ          xÿ ÿ ÿ          xÿ
  b[ÿZV8[7ÿ8Z[ÿÿVÿ9Vÿ878cÿV7[ac 1133441122445552                          ÿÿ
                                                                                                         ÿÿ
                                                                                                                     xÿ ÿ ÿ
                                                                                                                     xÿ ÿ ÿ
                                                                                                                                     xÿ
                                                                                                                                     xÿ
  VqcÿZVWV[7cÿ[7̀89V[7ÿ7W7alÿ8Z[cÿ7``[ÿVc 13412454                               ÿÿ          xÿ ÿ ÿ          xÿ
  9W7lcÿ79W[VÿVÿWaVWÿXÿYZ9ÿUZ[8         134 1 2 4 4                          ÿÿ          xÿ ÿ ÿ          xÿ
  \] ^6U_ÿ7ÿ7ÿqÿ] ^deoÿjVk8lÿ̀[W[aÿ7           -<EAÿMysÿ1?GtAz?A=Eÿ0uA=E
  [9Vÿ[ÿ87Z[[7ÿ7ÿ̀8Z[ÿ7ÿÿ6ÿVÿ[ÿ[9      ^VVa9ÿVÿZVWVÿÿ[9Vÿ7ÿ̀VWWÿjv
  -<EAÿMrsÿ7ttAEÿ3<uAHSQA                                         Zÿ7ÿÿ6ÿ87aÿÿVÿÿ77W[Vÿ̀[V[VW
  Xÿ6ÿ[ÿ8v[8ÿ7ÿ9V[V[ÿ344wÿVÿ7Z8Vaÿb[ 7Vÿ9        ÿb8ÿ[cÿVÿVÿ89[ÿVÿ8ÿb8
                                                                            jvÿZÿ7ÿ878ÿb[ÿVZÿ7ÿVW8Vlÿj
  8ÿ7ÿV97ÿ7V[aÿ\qW[aÿ7889
  j7887b[a_ÿUÿ7Z8Vaÿ[ÿVWWVÿjlÿj8V[aÿ 878ÿ78ÿ[W7ÿ[ÿÿ77W[Vÿ̀[V[VW
  6oÿ7VWÿW[Vj[W[[cÿ7ÿ[W[aÿVlÿV97ÿ88[a V9ÿVÿV79Vl[aÿ7
  jVkÿW7VÿVÿ[78ÿ8[[cÿ̀879ÿÿ6oÿ7VWÿV
  Vÿ[Z[[aÿÿ8Wÿjlÿÿ8[[VWÿV97ÿ7ÿ̀
  j7887b[aÿ7V[aÿUÿ7ÿ̀ÿV
  ÿ
                                                                                                               UVWÿ78ÿÿÿ30




118781791444553520534401224489                                                                      01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                    6789ÿ 05/24/21
                                                                   Entered        10:22:39            Page 317 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./0-1ÿ
  ÿ
        03ÿ456./.56.51ÿ-.7481.-.6ÿ/9:;4<ÿ=<<0951457ÿ34->
  ÿ
  ÿ
  1
  ÿ
   @ÿABCÿ:@DEFÿ@Gÿ1EHIACCIÿDJFÿ8BDECB@KFCEIÿ@GÿLMNBKDJFÿ7K@ODKÿ=KK@PDAM@Jÿ3HJF
  QRSTSUTÿUTÿWXYÿZUT[U\S]^WY]ÿ_ST^T`S^\ÿaW^WYbYTW[
  cÿdeÿdfÿÿd79dgfhÿ77ifdÿd9ÿ7jÿdÿdÿifdkfifflÿfifhÿÿ77ifdÿfe9
  78j7if7lÿ7jÿmfhidÿni7kdiÿoii7df7ÿ6ÿp8dj8ÿ8j88ÿ7ÿdÿÿq6rslÿdÿ7jÿ9k8ÿ34lÿ245lÿÿ8id
  77ifdÿd9ÿ7jÿ78df7ÿdÿdÿji7tÿj78ÿÿgd8ÿÿ9k8ÿ34lÿ245lÿÿ77ifdÿd9ÿ7j
  dhÿfÿÿdÿj78ÿdÿ7jÿÿt7ÿgd8ÿfÿÿ8f7ÿÿ9k8ÿ34lÿ245lÿfifhÿÿ8idÿ7lÿdÿ
  77ifdÿjfdfdiÿfhifhÿj78ÿdÿ7jÿÿt7ÿgd8ÿfÿÿ8f7ÿÿ9k8ÿ34lÿ245ÿp7iifeigÿ8j88ÿ7ÿdÿ
  q77ifdÿjfdfdiÿd9rsÿuÿ78ÿ7ff7lÿÿ77ifdÿjfdfdiÿd9ÿ8ÿjdf8iglÿfÿdiiÿ9d8fdiÿ8l
  ÿjfdfdiÿ7ff7ÿ7jÿÿ6ÿdÿ7jÿ9k8ÿ34lÿ245lÿÿ8iÿ7jÿfÿ78df7ÿdÿfÿdÿji7tÿj78ÿÿgd8ÿ
  lÿÿdhÿfÿfÿÿdÿj78ÿdÿ7jÿÿt7ÿgd8ÿfÿÿ8f7ÿÿ9k8ÿ34lÿ245ÿdÿÿjfdfdiÿfhifh
  j78ÿdÿ7jÿÿt7ÿgd8ÿfÿÿ8f7ÿÿ9k8ÿ34lÿ245ÿfÿ7j789fgÿtfÿd7fhÿ8ffiÿh8diigÿdÿf
  ÿvfÿdÿ7jÿo98fd
  wÿjfdfdiÿd9ÿ7jÿÿ6ÿdÿ7jÿdÿj78ÿÿgd8ÿÿ9k8ÿ34lÿ245 ÿdÿÿjfdfdiÿfhifhÿj78ÿdÿ7jÿ
  8f7ÿÿ7ÿ78ÿ8f78ÿ7ÿ9k8ÿ34lÿ245 ÿp7ÿ8ÿ8flÿ78ÿdÿÿjfdfdiÿfhifhsÿt8ÿdfÿkgÿ78
  df78ÿt7ÿ878ÿdÿ7e9k8ÿ2lÿ245 ÿx8ÿdÿydifjfÿ7ff7ÿ7ÿ7ÿjfdfdiÿd9ÿdÿjfdfdi
  fhifh
  z^[S[ÿ{U|ÿQRSTSUT
  wÿ77ifdÿjfdfdiÿd9ÿd8ÿÿ87fkfifgÿ7jÿÿ6}ÿ9ddh9ÿ~8ÿ87fkfifgÿfÿ7ÿx8ÿd
  7ff7ÿ7ÿÿ6}ÿ77ifdÿjfdfdiÿd9ÿkdÿ7ÿ78ÿdfÿcÿd8ÿdÿkifÿd7fhÿjf89ÿ8hf8ÿtfÿ
  kifÿ79dgÿo7fhÿ~e8fhÿ7d8ÿpvfÿdsÿp o~sÿdÿd8ÿ8yf8ÿ7ÿkÿfÿtfÿ8ÿ7ÿ
  6ÿfÿd78dÿtfÿÿvÿj8diÿ8ffÿidtÿdÿÿdifdkiÿ8iÿdÿ8hidf7ÿ7jÿÿ8ffÿdÿxdh
    799ff7ÿdÿÿ o~
  cÿ7ÿ78ÿdfÿ7jÿÿ77ifdÿjfdfdiÿd9ÿfÿd78dÿtfÿÿdd8ÿ7jÿÿ o~ÿw7
  dd8ÿ8yf8ÿdÿtÿidÿdÿ8j789ÿÿdfÿ7ÿ7kdfÿ8d7dkiÿd8dÿdk7ÿt8ÿÿ77ifdÿjfdfdi
  d9ÿd8ÿj8ÿ7jÿ9d8fdiÿ9fd9lÿt8ÿÿ7ÿ8878ÿ78ÿj8d
  ~8ÿdfÿfiÿ8j789fhÿ878ÿ7ÿdÿÿ8fÿ7jÿ9d8fdiÿ9fd9ÿ7jÿÿ77ifdÿjfdfdiÿd9l
  t8ÿÿ7ÿ8878ÿ78ÿj8dlÿdÿ8j789fhÿ878ÿdÿ87ÿ7ÿ7ÿ8fÿÿ878ÿfiÿxd9ffhlÿ7ÿd
  ÿkdflÿefÿ8hd8fhÿÿd97ÿdÿfi78ÿfÿÿ77ifdÿjfdfdiÿd9ÿ~8ÿdfÿdi7ÿfi
  edidfhÿÿd7fhÿ8ffiÿÿdÿfhfjfdÿf9dÿ9dÿkgÿ9ddh9lÿdÿtiiÿdÿedidfhÿÿ7e8dii
  8df7ÿ7jÿÿ77ifdÿjfdfdiÿd9ÿ~8ÿ878ÿfiÿ7jf89df7ÿ7jÿ8ffÿ7tÿdÿ7j
  9k8ÿ34lÿ245ÿkgÿ7887ÿtfÿÿ7fdÿdÿk878ÿtÿ8ifÿt8ÿ7ÿ8feÿj879ÿk878lÿt
  8j789ÿ78ÿdffhÿ878ÿcÿkifeÿdÿ78ÿdfÿ87efÿdÿ8d7dkiÿkdfÿj78ÿ78ÿ7ff7
  11ÿ8ftd87 778ÿ
  diidlÿwxd
    7e9k8ÿ2 lÿ245
  cÿdeÿ8eÿdÿÿdf78ÿ7jÿ7ÿ78ÿ978ÿfe9ÿ79dfÿ7jÿmfhidÿdfdiÿ ddh9ÿ6ÿoef78lÿÿd
  fÿdjjfifdÿfÿ244
  ÿ
  3ÿÿÿodiÿ78




118781791444553520534401224489                                                                    1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                        6789ÿ 05/24/21
                                                                                       Entered        10:22:39          Page 318 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -../
  ÿ
     0/12-3ÿ/25167-0/12ÿ89:;9<=>?<@
  ÿ
  ÿ
  B?
  ÿ
    C>?DE?FÿGHIÿJHKL                                                                   ÿ                        M=NOP;:<ÿQPRE;Pÿ-PPRS;>=R:ÿ59:<
  0 ;Wÿ/:XRFD;>=R:                                                       _78ÿ78ÿV^ÿU7ÿsÿÿ6ÿUÿ7ÿ78ÿ978ÿ7_
  678ÿU87V8ÿUÿ7ÿ7ÿUYÿUÿ9Z8ÿ34[ÿ245ÿU\ ^7ÿ7ÿ7_8[ÿÿUÿ7U9   ÿ^ÿ8U8ÿ7ÿ^Yÿ^[ÿ78ÿ^8ÿ7
  ]U8ÿ[ÿ^ÿ7^ÿ^ÿ_78ÿ^_789U^7UVÿ87ÿ7V]ÿ678 778^^ÿ_78ÿUÿÿ̀^               8^][ÿUYU^VUZVÿ^Y9ÿ78
  U87V8ÿ̀^ÿUÿ9Z8ÿ34[ÿ245ÿU\ÿ]U8ÿ[ÿVU ÿfY9ÿTY^8ÿ7VVÿÿZZÿÿUlVV7^UUZVÿÿ^7ÿÿUÿ9U   8ÿZV^YÿZ]
  7Vÿ]78ÿU\ÿUY^8ÿUÿ7ÿÿ8^ÿ7_ÿ^ÿ7^ÿ678 78ÿU7ÿcÿfY9ÿTY^8ÿUV7ÿÿ9U               6ÿUÿ
                                                                                                                                      ]ÿUaa8aU
  ÿ_^UVÿ]U8ÿÿ9Z8ÿ34[ÿ245[ÿÿ6ÿ^
  ^aU^aÿÿ_7VV7`^aÿ^9ÿ̀^ÿ8aU8ÿ7ÿU8^aÿ_78ÿ 77888ÿUÿ7ÿ78UÿTV
                                                                                                  ÿUÿVVÿ8^^ÿ_78ÿÿ6ÿUÿ
                                                                                                    7aÿÿfY9ÿTY^8ÿZV^YÿU[
  ]U8
  ÿ                                                                      7 Y8ÿ
                                                                               ^9   [ÿ   ÿ  7 
                                                                                                    ^UVÿZ_^ÿ7_ÿU8^^U^aÿ^ÿY7V9
                    b7ac89ÿ               e8^U8]
  8ÿ7_ÿ         U^UVÿdU^ÿ            f79            c7UV 8UU^     7ÿUÿa7^U^aÿV7`8ÿ8UU^7ÿ7ÿ7V
     U^UVÿ        ^8^Z^7ÿ          ^8^Z^7ÿ    ^8^Z^7 Z_^ ÿUVVÿU7ÿ^V^aÿÿ6[ÿ^ÿ79ÿUÿ
    2g ÿ             444g ÿ             2 0g ÿ         54444g U^    Y^^
                                                                                ÿ9U]ÿUY8V]ÿU__ÿÿ8^ÿU^ÿ78ÿ8^YÿZ]ÿ
  ÿ                                                                      6  ÿ78ÿÿ^tÿ7_ÿÿ7^^7ÿ7ZU^ÿ78ÿ^7ÿ7_ÿZ]ÿ
    ^Y^ÿ h   UV^_^       f8        78c89 hUV^_]^a
    ^Y ^Y^j2kÿ VUj3k U^UVÿdUj^k i^j0k 6
  ^7j5ÿkÿ f79 ÿ ^Y^ ÿ ^Y^ ÿ f79
    54444g ÿ 54444gÿ 542g ÿ 444g ÿ 444g                                           .=uSPRu9F?ÿRXÿ59:<ÿvWC?:u?u
                                                                                        TÿUÿU87V8ÿ7_ÿUÿ6[ÿ]7ÿ^8ÿ`7ÿ]ÿ7_ÿ7
  j5khUV^_]^aÿ^Y^ÿ88ÿ^Y^ÿ̀^ÿlUV^_]ÿ_78ÿÿ7878U
  ÿ

     ^Y^ÿ8^Yÿ^7ÿUÿ^ÿ8_VÿUÿUÿ8Uaÿ7_ÿ78^U8]
     ^79ÿ^8^Z^7ÿjÿ7UVÿ7_ÿ7889ÿU^UVÿaU^ÿUÿÿ^Y9       j5kÿ8UU^7ÿ7[ÿ^V^aÿUVÿU8aÿjV7Ukÿ7
     ^79ÿ^8^Z^7k                                                             8UÿUÿ89^7ÿ_wÿUÿj2kÿ7a7^aÿ7[
  j2kcÿ8Uaÿ^ÿ^ÿ7V9ÿ88ÿÿU97ÿ7_ÿmhUV^_]^aÿ^Y^        ^V^aÿ9UUa9ÿ_wÿ^8^Z^7ÿj52Z5kÿUÿ8Y^
     f79nÿUÿ8UÿZ]ÿÿo7ZÿUÿd87`ÿcU\ÿV^_ÿ7^V^U^7ÿTÿ7_
     2443ÿUÿ^ÿ8_VÿUÿUÿ8Uaÿ7_ÿ78^U8]ÿ^79ÿ^8^Z^7ÿj        _wÿUÿ78ÿ6ÿ\ÿc^ÿ\U9Vÿ^ÿ^ÿ7
     7UVÿ7_ÿ7889ÿU^UVÿaU^ÿUÿÿ^Y9ÿ^79ÿ^8^Z^7kÿfÿ^    Vÿ]7ÿ8Uÿÿ7a7^aÿ7ÿj^ÿ7VVU8kÿ7_ÿ^Y^a
     ÿ^^7ÿ7_ÿUÿ7_ÿÿU_789^7ÿ6ÿ7ÿ^aUÿÿ9U\^99         ^ÿ]78ÿ6ÿUÿ7ÿ79U8ÿÿ7ÿ̀^ÿÿ7a7^a
     U97ÿ89^ÿZ]ÿVU`
  j3kcÿ8Uaÿ^ÿ^ÿ7V9ÿ88ÿÿU97ÿ7_ÿmf8ÿVU           7ÿ7_ÿ^Y^aÿ^ÿ78ÿ9UVÿ_ÿcÿ\U9Vÿ^ÿZU
     ^Y^nÿUÿ8UÿZ]ÿÿT98^Uÿo7Zÿ8U^7ÿTÿ7_ÿ244ÿUÿ^              7ÿUÿ^Y9ÿ7_ÿx5[444ÿ^YÿUÿÿZa^^aÿ7_ÿ
     8_VÿUÿUÿ8Uaÿ7_ÿÿ^Y9ÿ^8^Z^7ÿUÿ^ÿ\9ÿ_879      8^7ÿUÿVÿ_78ÿÿ^\97ÿ8^7ÿT8^Vÿ5[ÿ245ÿ87a
     pÿ̀^7V^aÿU\ÿ̀ÿU^ÿ7ÿ_78^aÿ^Y78
  jkcÿ8Uaÿ^ÿ^ÿ7V9ÿ88ÿÿU97ÿ7_ÿm78c89ÿU^UV           9Z8ÿ34[ÿ245[ÿVÿ78`^ÿ^^Uÿc^ÿUZV
     dU^ÿ^Y^nÿUÿ8UÿZ]ÿÿT98^Uÿo7Zÿ8U^7ÿTÿ7_ÿ244ÿUÿ^
     8_VÿUÿUÿ8Uaÿ7_ÿ7889ÿU^UVÿaU^ÿ^8^Z^7ÿUÿ^
                                                                                        ^VV8Uÿ]78ÿ6yÿ7ÿ^ÿ`7ÿ̀U]
     \9ÿ_879ÿpÿ̀^7V^aÿU\ÿ̀ÿU^ÿ7ÿ_78^aÿ^Y78                   -S>9;PÿvWC?:u?uzÿcÿ_^8ÿU8ÿ7_ÿÿUZVÿ87Y^
  j0kcÿ8Uaÿ7_ÿ^ÿ7V9ÿ88ÿUÿU97ÿ7_ÿ78^U8]ÿ^Y^          ^_789U^7ÿUZ7ÿUUVÿU7ÿYUVÿUÿUUVÿ\
     ^79ÿUÿlUV^_^ÿ_78ÿ24gÿi^ÿf79ÿ^7                           {7ÿ9U]ÿÿÿ^_789U^7ÿ^ÿ^ÿV^[ÿ7a8ÿ̀^ÿ
  -<<=>=R:;PÿqRF>XRP=Rÿ/:XRFD;>=R:                                                      U97ÿ]7ÿ^Y[ÿ7ÿ^9Uÿÿ\ÿUÿ]7ÿU^
  cÿfY9ÿTY^8ÿUÿ^ÿU__^V^Uÿ9UUaÿ78                                7Y8ÿÿ8^7ÿ^9V]ÿ^Y^ÿ]78ÿU7ÿYUVÿZ]ÿx5[444
  U7[ÿ^V^aÿ8a^8ÿUÿ8^YUÿ_ÿUÿ^^Y^UV                       j_78ÿ\U9V[ÿUÿx[44ÿU7ÿYUVÿ^Y^ÿZ]ÿx5[444ÿ|
  U7ÿTV7aÿ^Y9ÿ^^7ÿ_78ÿÿ6ÿU8                              k[ÿÿ9V^V]ÿÿ8VÿZ]ÿÿ9Z8ÿ^ÿÿ_^8ÿV^
  9Uÿ^V]ÿ_879ÿ7ÿ7_ÿÿ78ÿU7[ÿ                             8ÿÿU^aÿ^Vÿm}\ÿ~U^ÿ8^aÿ~8^7nÿ7
  fY9ÿTY^8ÿ9U][ÿ7^ÿ̀^ÿUV^UZVÿVU`[ÿ9Ur                          ^9Uÿÿ\ÿ]7ÿU^ÿ7ÿ]78ÿU7ÿ8^aÿ^
  ^Y9ÿ8799U^7ÿ7ÿ78ÿV^ÿ78ÿU7ÿU                          8^7
  9U]ÿZÿÿU9ÿ78ÿ^__8ÿ_879ÿ7ÿ9Uÿ7ÿÿ6[                             MCR>O?>=S;PÿvW;DCP?ÿXRFÿRDC;F=uR:ÿq9FCRu?uzÿc
  ^V^aÿ^Y9ÿ^ÿ^__8ÿVYVÿ7_ÿÿU^UVÿ88                    7ÿU8ÿ7_ÿÿUZVÿ87Y^ÿ^_789U^7ÿUZ7ÿ]7^UV
  7_ÿUÿ79U][ÿÿUÿl^]ÿY8ÿ^78ÿV7U[ÿ78ÿU                             U7ÿYUVÿUÿ]7^UVÿ\ÿZUÿ7ÿ]78
  ^Y7VYÿUr^aÿ78U^78]ÿ7^^7ÿ^ÿ9V^VÿVYVÿ7_ÿ                      6yÿUUVÿ\ÿ8U^7ÿUÿUÿU9ÿ8Uÿ7_ÿ88ÿ7_
  U^UVÿ88ÿcÿfY9ÿTY^8ÿUÿU7ÿ7V^^                        0gÿ8ÿ]U8ÿZ_78ÿ\[ÿ̀^ÿ^ÿ7ÿ]78ÿ6yÿUUV
  Uÿ878ÿUÿU8ÿÿUVV7U^7ÿ7_ÿ^Y9                              88ÿcÿUUVÿ\ÿ8U^7ÿ^VÿY7VU8]ÿ_ÿ̀U^Y8
  778^^[ÿ\^7ÿ7_ÿ78_7V^7ÿ8UU^7[ÿ87UV                          78ÿ\ÿ8^9Z89ÿZ]ÿÿ6yÿ^Y9ÿUY^8
  8U^aÿZ]ÿ9V7]ÿUÿ78ÿ7^UVÿ7_V^ÿ7_ÿ^8                        cÿ\ÿ8U^7ÿ̀7VÿZÿ^a8ÿUÿÿ_ÿ̀U^Y8ÿ78
  UÿU8ÿ^aÿ7ÿ8ÿUÿUVVÿV^ÿU7ÿU8ÿ8U                      \ÿ8^9Z89ÿ7ÿZÿ^ÿ__ÿcÿ]7^UV
  l^UZV]ÿ7Y8ÿ^9ÿY8V[ÿ^ÿ9U]ÿ8Uÿ^U^7                          U7ÿYUVÿUÿ\ÿ9U]ÿ7ÿZÿÿ7ÿ^9Uÿ
  `8ÿUÿV^ÿ7VÿZÿ^UYUUaÿZUÿ7_ÿ                                  UUVÿ^aÿU7ÿZUVUÿ78ÿ\ÿ]7ÿU^ÿ_78ÿ
  ^Y9ÿU^Y^^ÿ7ÿZ]ÿÿfY9ÿTY^8                             8^7ÿ{7ÿ9U]ÿÿ^ÿ^_789U^7ÿ7ÿ79U8ÿÿ7a7^a
                                                                                        7ÿ7_ÿ^Y^aÿ^ÿ]78ÿ6ÿUÿ78ÿ_ÿc7ÿ7ÿ7[
                                                                                        79U8ÿ^ÿ0gÿ]7^UVÿ\U9Vÿ̀^ÿÿ0g
                                                                                        ]7^UVÿ\U9VÿUÿUU8ÿ^ÿÿU87V8ÿ878
  ÿ
                                                                                                                              TUVÿ78ÿÿÿ3
118781791444553520534401224489                                                                                      1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                      6789ÿ 05/24/21
                                                                                     Entered        10:22:39           Page 319 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -../
  ÿ
     0/12-3ÿ/25167-0/12ÿ89:;9<=>?<@ÿ8AB:>=:9?<@
  ÿ
  ÿ
  D?
  ÿ
    E>?FG?HÿIJKÿLJMN                                                                 ÿ                                O=PQR;:<ÿSRBG;Rÿ-RRBA;>=B:ÿ59:<
  7Wÿÿ78ÿWÿXVUÿ7ÿUÿÿYÿ7Zÿ[                          [V[]ÿ̀5aÿ[W789U[7ÿ8]U8[]ÿÿW[U[UVÿ7ÿ7W
  ÿU\VÿU8ÿ9Uÿ7ÿ[]V[]ÿ^78ÿ7]7[]ÿ7ÿ7V^ÿU                        ÿdc9ÿTc[8ÿUÿ7ÿÿU[[Uÿ87W[U\[V[^ÿ7Wÿ
  7ÿ7ÿ8WVÿU^ÿ8UU[7UVÿ7_ÿÿUÿUVÿU8]                       Tc[78^ÿT]89ÿ7ÿÿdc9ÿTc[8ÿ̀2aÿ[W789U[7
  `V7Uaÿ78ÿ89[7ÿWÿb8W78_ÿÿ7ÿU8ÿ7Wÿ                       7ÿÿUc[78^ÿUÿ79V[Uÿ87Vÿ7Wÿÿdc9
  U\Vÿ[ÿWVÿ[ÿ79U8[]ÿ7]7[]ÿ7ÿ7V^_ÿUÿZ[VVÿ7                       Tc[8_ÿ[V[]ÿ79U[7ÿU88U]9ÿW78ÿ78W7V[7
  Vÿ^7ÿ89[ÿÿ8VU[cÿ7UVÿ7ÿ7Wÿ7Z[]ÿ[WW8                     9UU]8ÿ̀3aÿ[W789U[7ÿ7ÿ[8UVÿ79V[Uÿ878ÿ7W
  WÿdÿU[[7_ÿ[Wÿÿ8UU[7UVÿ7ÿZ8ÿ[V_                     ÿdc9ÿTc[8_ÿ[V[]ÿ7V[[ÿUÿ878ÿW78
  ^78ÿ7ÿZ7VÿUcÿ\ÿ[]8                                                  87UVÿ8[[ÿ8UU[7ÿUÿZ[ÿ8ÿ7
  ÿ
                       e][[] g[]ÿ                               gYÿ      ^\88[^_ÿ\[ÿ7[[^ÿUÿ[U8ÿ87c8^
                        T7ÿ T7ÿ TUV[h                      XU[ÿ       `aÿ79U8U[cÿ[W789U[7ÿ7Z[]ÿ7Zÿÿ6ÿWÿU
  ÿÿ
  ijklmnÿplqrÿstkluq
                         f UV          f UV
                                                     gY  
                      ÿ 414515ÿÿÿ 413415ÿÿ ÿ U[7ÿÿ ÿX8[7`5ÿaÿ
                                                                          8[]
                                                                                 ÿ
                                                                                      Yÿ79U8ÿ7ÿ7ÿ7Wÿ78ÿ8][8ÿ[c9
                                                                                      79U[ÿUÿ79U8U\VÿWÿ9UU]ÿ\^ÿÿdc9
                      ÿv5_44444ÿÿv5_4224ÿ ÿÿ 5wÿÿv 2ÿ                        Tc[8ÿUÿW7VV7Zÿ[c9ÿ8U][ÿ[9[VU8ÿ7ÿ7ÿ7Wÿ
  xyz{k|tk}jmnÿ~ÿstkluqÿt{utÿtztqt
                      ÿv5_44444ÿÿv5_4504ÿ ÿÿ 5wÿÿv 20ÿ
                                                                                 ÿ    6_ÿ[WÿU^ÿ̀0aÿ[W789U[7ÿ8]U8[]ÿÿ[c9
  `5agYÿU8ÿUVÿ7ÿÿ6ÿUUV[hÿYÿ8U[7ÿ9V[V[ÿ\^ÿ      8W789Uÿ7Wÿ78ÿU7ÿ9UU]ÿ\^ÿÿdc9
                                                                                      Tc[8ÿUÿW7VV7Zÿ[c9ÿ8U][ÿ[9[VU8ÿ7ÿÿ6_ÿ[W
  ÿ

     Uc8U]ÿU7ÿcUVÿ7c8ÿÿ8[7_ÿ9V[V[ÿ\^ÿÿ9\8ÿ7WÿU^ÿ[
     ÿ97ÿ8ÿW[UVÿUVW^U8_ÿ[c[ÿ\^ÿÿ9\8ÿ7WÿU^ÿ[ÿÿWVV       U^ÿ̀aÿ89[9ÿUÿ[7ÿ[W789U[7ÿZ[ÿ8ÿ7ÿ
     W[UVÿ^U8ÿ̀53130a                                                           6ÿUÿ̀ aÿ[W789U[7ÿ7ÿU^ÿV]UVÿ87[]ÿ78
  -EEHB;RÿBÿO=PQR;:<ÿ59:<ÿ//ÿ/:?>F?:>                                            8]VU78^ÿU[ÿ78ÿ[c[]U[7ÿUWW[]ÿÿdc9
  -<=BHÿ-PH??F?:>ÿ8O=PQR;:<ÿSRBG;R                                                 Tc[8ÿ78ÿ[ÿUWW[V[UÿdÿU[[7_ÿÿe7U8ÿ7Wÿb8
  -RRBA;>=B:ÿ59:<@                                                                    8[cÿUÿ[ÿ878ÿW879ÿ6gÿU8ÿZ78
                                                                                      `6ga_ÿUÿ[ÿ78ÿ7Wÿ[c9ÿ79U^ÿUU_
  bÿ6ÿUÿ8U[ÿÿdc9ÿTc[8ÿ7ÿ9UU]ÿ                          8VU[]ÿ7ÿÿ6ÿ8W789UÿUÿYÿ79U8ÿ7
  Uÿ7Wÿÿ6ÿ8Uÿ7ÿUÿ[c9ÿUc[78^                               ÿ8W789UÿUÿYÿ7WÿUÿ]87ÿ7WÿWÿ9ÿ\^
  U]89ÿ\Zÿÿdc9ÿTc[8ÿUÿÿ6ÿ̀                          6gÿ7ÿ\ÿ79U8U\Vÿ7ÿÿ6ÿ̀ÿ8ÿ]87a_ÿUÿ7
  Tc[78^ÿT]89aÿbÿTc[78^ÿT]89ÿUÿ\                              UÿVU8]8ÿ]87ÿ7Wÿ79U8U\VÿWÿ̀ÿ8ÿ[c8a
  U87cÿ\^ÿÿ6ÿe7U8ÿ7Wÿb8_ÿ[V[]ÿU                               bÿe7U8ÿ7Wÿb8ÿcUVU[7ÿ87ÿZ[ÿ8ÿ7ÿ
  9U78[^ÿ7Wÿÿdÿb8ÿbÿTc[78^                                  dc9ÿTc[8ÿ[ÿUÿ7]7[]ÿ7ÿdÿ[ÿ8]U8_ÿÿe7U8
  T]89ÿ7[ÿ[ÿWWÿW879ÿ^U87^U8_ÿ87c[ÿU                        7Wÿb8ÿUV7ÿ77ÿ[7ÿU7ÿ[[7ÿZ[
  ÿ7[Uÿ[ÿ[W[UVV^ÿU87cÿUÿVUÿUUVV^ÿ\^                      9UU]9ÿUÿ[W789U[7ÿ87c[ÿ7ÿÿe7U8ÿ7Wÿb8
  ÿc7ÿ7Wÿ7V8ÿ7WÿUÿVUÿUÿ9U78[^ÿ7Wÿÿ7U[]                       Uÿ8[7[ÿ9[]ÿ7Wÿÿe7U8ÿ7Wÿb8ÿ7c8ÿÿ78
  U8ÿ7Wÿÿ6ÿ78ÿ\^ÿÿe7U8ÿ7Wÿb8ÿU_ÿ[ÿ[8                       7Wÿÿ^U8ÿZ[ÿ8ÿ7ÿÿ8c[ÿ87c[ÿ\^ÿ
  c_ÿ\^ÿUÿ9U78[^ÿ7Wÿÿdÿb8ÿ7Wÿÿ6                        dc9ÿTc[8ÿ7ÿÿ6_ÿ[V[]ÿU88V^
  U[]ÿc7ÿ[ÿ87ÿUÿUÿ9[]ÿUVVÿW78ÿÿ87                       8W789Uÿ878ÿ8U8ÿ\^ÿ9UU]9ÿ7U[[]
  8[]ÿUÿV7[ÿ9[]ÿVÿ7ÿT]ÿ50_ÿ245_ÿ                            8c[Zÿ7Wÿ[c9ÿ8VÿUÿ8[78ÿ8U[7ÿW879ÿ
  e7U8ÿ7Wÿb8ÿ]Ucÿ8V[9[U8^ÿ7[8U[7ÿ7                                 dc9ÿTc[8ÿZ[ÿ8ÿ7ÿÿ6ÿbÿ[W789U[7
  [W789U[7ÿ\U8[]ÿ7ÿÿ7[U[7ÿ7WÿÿT]89ÿW78ÿU                      8[cÿUÿ7[8ÿ\^ÿÿe7U8ÿ7Wÿb8ÿ[
  7^U8ÿ8[7ÿ799[]ÿ7c9\8ÿ5_ÿ245ÿZ[ÿ8                              7[7ÿZ[ÿÿ9\8ÿ524_ÿ245ÿ9[]ÿU
  7ÿÿ6ÿbÿ8[9U8^ÿ7\[cÿ7Wÿÿ9[]ÿZUÿ7                            87]7ÿÿ^U8ÿZUÿ\7ÿZ8[ÿUÿ78UV
  8ÿUÿÿb8ÿUÿÿ778[^ÿ7ÿ7[8                            bÿe7U8ÿ7Wÿb8ÿ8c[ZÿcU8[7ÿWU78ÿUÿZ8
  9U8ÿ^ÿ9ÿ8VcUÿ[ÿcUVU[]ÿÿ7[U[7ÿ7W                      [ÿ[ÿUÿV]UVÿ9978U9ÿ87c[ÿ\^ÿ[
  ÿT]89_ÿUÿ7ÿ8ÿU^ÿU[[7UVÿ[W789U[7ÿ^                       7Vÿ8]U8[]ÿ8ÿ87[\[V[[ÿ[ÿ7[8[]ÿ
  7[8ÿ8U7U\V^ÿU8^ÿW78ÿ[8ÿV[\8U[7                            Tc[78^ÿT]89_ÿÿU[Vÿ[W789U[7ÿ87c[ÿ\^ÿ
  TÿUÿ[87ÿ9[]ÿVÿ7ÿ9\8ÿ524_ÿ245_ÿ                            dc9ÿTc[8ÿUÿ78ÿ8VcUÿ[W789U[7ÿUÿWU78
  e7U8ÿ7Wÿb8_ÿ[V[]ÿÿdÿb8_                              bÿe7U8ÿ7Wÿb8ÿUV7ÿ7[8ÿ78ÿWU78ÿ̀[V[]
  U87cÿÿ7[Uÿ7WÿÿT]89ÿW78ÿUÿ7^U8                             7[[7ÿUÿ8ÿ8cU[V[]ÿ]8UVV^ÿ[ÿÿ779^_ÿ
  8[7ÿ799[]ÿ7ÿ7c9\8ÿ5_ÿ245ÿTÿU8ÿ7Wÿ[                                8[[ÿ9U8_ÿUÿÿ[8^aÿbÿe7U8ÿ7Wÿb8
  8c[Zÿ87_ÿÿe7U8ÿ8_ÿ87]ÿ[ÿ[                        7V[7ÿUÿ7ÿÿU87cUVÿ7WÿÿTc[78^ÿT]89ÿZ8
  V]UVÿ7V_ÿUÿ8[cÿW879ÿÿdc9ÿTc[8_                            \Uÿ7ÿUÿ798[cÿ7[8U[7ÿ7WÿUVVÿ[W789U[7
  cU8[7ÿ[W789U[7ÿUÿZ8[ÿ9U8[UV_                                          87c[ÿ7ÿÿb8ÿZ[7ÿU^ÿ[]VÿWU78ÿ\[]
                                                                                      [7[[cÿ[ÿUÿ7Wÿ[VW
  ÿ
  3ÿÿÿTUVÿ78
118781791444553520534401224489                                                                                    1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                      6789ÿ 05/24/21
                                                                     Entered        10:22:39         Page 320 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -../
  ÿ
     0/12-3ÿ/25167-0/12ÿ89:;9<=>?<@ÿ8AB:>=:9?<@
  ÿ
  ÿ
  D?
  ÿ
    E>?FG?HÿIJKÿLJMN                                                 ÿ                                O=PQR;:<ÿSRBG;Rÿ-RRBA;>=B:ÿ59:<
  79ÿ7WÿÿWU78ÿUÿWXY8ÿU8XVU8VZÿXÿÿ[7U8ÿ7W       TaX8]ÿ79VXUÿ7a8XYÿ87Y8U9ÿ_Xÿ8ÿ7ÿ
  \8]ÿVX^8UX7ÿU8ÿ8X^ÿ^V7_ÿ̀UV7Y               6]ÿ8aXÿ87aX8ÿ\ÿ[7U8ÿ7Wÿ\8ÿUV7
  XXaXUVÿ\8ÿ9UZÿUaÿaUVUÿÿXW789UX7              7X8ÿ^7ÿÿXa9ÿUaX78Zÿ8aXÿUÿ
  8ÿXWW8VZÿW879ÿ7ÿU78̀ÿYXaXYÿXWW8            U8ÿ̀dUVXZÿUÿeÿ7WÿUZÿU9XX8UXaÿUÿ78
  _XYÿ7ÿaU8X7ÿWU78ÿbÿUXX7ÿ̀ÿ[7U8ÿ7Wÿ\8]     7UaX78Zÿ8aXÿUÿU8ÿ87aXÿ7ÿÿ6ÿUÿX
  7VX7ÿ9UZÿ^ÿ^UÿXÿU8ÿ7ÿXÿ7X8UX7ÿ7Wÿ        U87V8ÿ^Zÿÿba9ÿTaX8ÿUÿXÿUWWXVXUÿ\
  UaX78ZÿU88UY9ÿXÿ8X78ÿZU8ÿUÿ7ÿÿ[7U8]             [7U8ÿUV7ÿ7X8ÿÿXYXWXUÿ8XcÿU9ÿ^Zÿ
  7Y7XYÿ8YVU8ÿ8aX_ÿ7WÿWÿ8W789UÿUÿ78UX7           ba9ÿTaX8ÿXÿ7X7ÿ_Xÿÿ8aXÿ87aXÿ7
  87Y7ÿÿZU8                                                ÿ6ÿ̀XVXYÿ888XUVÿ8XcÿUÿ7Y7XYÿ8Xc
  \87Y7ÿÿ87ÿ̀ÿ[7U8ÿ7Wÿ\8ÿUÿ               XVXYÿXa9ÿ̀78UX7UV̀ÿ88Xÿ̀VXXYUX7`
  778XZÿ7ÿUcÿdX7ÿ7WÿUÿ8dÿUXX7UV              8YVU78ZÿUÿ79VXUÿ8Xcÿ_Xÿ8ÿ7ÿÿ6ÿ\
  XW789UX7ÿW879ÿÿba9ÿTaX8ÿ\ÿ[7U8ÿ7W               [7U8ÿ7Wÿ\8ÿUV7ÿ7ÿaU8X7ÿ7UaXYÿXXXUXa
  \8ÿ_UÿUXÿ^ZÿVYUVÿ7VÿW78ÿÿ\8ÿUÿ        UÿUÿ^ÿX9V9ÿ^ZÿÿTaX8ÿ_Xÿ8ÿ7ÿ
  bÿ\8ÿ_8ÿUV7ÿU8UVZÿUXÿ^Z               6ÿUÿÿ78ÿWÿXÿÿnXYVUÿ79Veÿ7a8ÿ
  XÿVYUVÿ7Vÿ87Y7ÿÿ87ÿ\               ZU8
  bÿ\8ÿ_8ÿUaXÿ^ZÿUÿ9ÿXÿeXa           \ÿ[7U8ÿ7Wÿ\8ÿUV7ÿ7ÿUÿ7ÿUÿ8YVU8ÿ^UXÿX
  X7ÿ_XÿX8ÿXÿVYUVÿ7VÿUÿ_Xÿ7           8XaÿUÿ8aX_ÿXW789UX7ÿW879ÿÿ6]ÿXW
  88UXaÿ7Wÿ9UUY9ÿ_8ÿ8ÿ7ÿXÿ             79VXUÿoWWX8ÿp oqÿ8YU8XYÿÿ6]ÿ79VXU
  877ÿ7XUX7ÿ7WÿÿTaX78ZÿTY89ÿ̀XVXY          7VXXÿUÿ878ÿU^VXÿ8Uÿ7ÿVÿ3U5
  8X78ÿ7ÿÿ9^8ÿ524ÿ̀245ÿ9XY                          8ÿÿba9ÿ79UZÿTÿ7Wÿ54
  0Q?ÿ:;>9H?Kÿ?f>?:>Kÿ;:<ÿg9;R=>hÿBiÿ>Q?ÿj?Hk=A?jÿ>BÿG?               bÿ7X8XYÿÿU8ÿ̀eÿ̀UÿdUVXZÿ7Wÿÿ8aX
  EHBk=<?<ÿGhÿ>Q?ÿ/:k?j>F?:>ÿ-<k=j?Hlÿ\ÿ[7U8ÿ7X8            87aXÿ^Zÿÿba9ÿTaX8̀ÿÿ[7U8ÿUV7ÿ77cÿX7
  ÿ78W7VX7ÿ9UUY9ÿ8aXÿ7ÿ^ÿ87aXÿ^Zÿ             U7ÿXÿc7_VYÿ7Wÿÿba9ÿTaX8]
  ba9ÿTaX8ÿ8ÿÿTaX78ZÿTY89ÿUÿ             9UUY9ÿUÿÿdUVXZÿ7Wÿÿ8W789Uÿ7WÿXÿX`
  UXaXXÿ8VUÿ7ÿ78W7VX7ÿ9UUY9ÿ̀XVXYÿÿ7W        87YÿXX7ÿUÿ878ÿ8XYÿÿ8XYÿZU8ÿU
  7V7YZÿ̀8U8ÿUU^XVXXÿUÿXa9                    XÿUÿZU8
  9UUY9ÿUWWÿ\ÿ[7U8ÿXÿÿ8VaU                  \ÿ[7U8ÿ77cÿX7ÿU7ÿÿba9ÿTaX8]ÿ8Xc
  e8XÿUÿdUVXWXUX7ÿ7Wÿÿ87Vÿ_7ÿ_7V            U9ÿ̀97X78XYÿ87ÿUÿ8YVU78ZÿX78Zÿ\
  87aXÿUaX78Zÿ8aXÿ̀XVXYÿÿ^UcY87ÿU             [7U8ÿ7VÿUÿÿba9ÿTaX8ÿUÿÿdUVXZ
  e8Xÿ7Wÿÿ99^8ÿ7Wÿÿ6]ÿ78W7VX7                   Uÿÿ7Wÿ87VÿUÿXa9ÿ97ÿXUVÿ7
  9UUY9ÿU9ÿ\ÿ\8ÿ8aX_ÿÿ9UUY9               8W789XYÿXÿXÿ8ÿÿTaX78ZÿTY89ÿ̀UÿU
  88ÿ̀Uÿ8ÿ9UUY9ÿUÿXa9                   ÿU8ÿUÿÿdUVXZÿ7WÿÿUaX78Zÿ8aXÿ78
  XV77XÿUÿ87ÿ7Wÿÿba9ÿTaX8̀               ÿU87aUVÿ7WÿÿTaX78ZÿTY89
  XVXYÿ_Xÿ8ÿ7ÿVXdXXZÿ9UUY9ÿ\ÿ[7U8           0Q?ÿ/:k?j>F?:>ÿ-<k=j?HrjÿQ=j>BH=A;RÿE?HiBHF;:A?lÿb
  UV7ÿ8aX_ÿUÿXÿXW789UX7ÿ8YU8XYÿ               7X8XYÿÿ6]ÿ8W789Uÿ̀ÿ[7U8ÿ7Wÿ\8
  ba9ÿTaX8]ÿ79VXUÿ7VXXÿ̀878ÿU            7ÿUÿXÿ8aX_ÿUÿXÿ8YVU8VZÿVÿ9XY
  87V̀ÿXVXYÿ79UX7ÿU88UY9ÿUÿ_X             XW789UX7ÿU^7ÿÿ6]ÿ8W789Uÿ8Vÿ\ÿ[7U8ÿ7W
  8ÿ7ÿaUVUX7ÿ̀Z^88XZÿ̀^Xÿ7XXZÿU        \8ÿ8aX_ÿÿX78XUVÿ8W789Uÿ7Wÿÿ6ÿ7a8
  XU8ÿ87a8Zÿ\ÿ[7U8ÿUV7ÿ7X8ÿÿba9         aU8X7ÿX9ÿ8X7ÿUÿ8WVÿ7ÿ8aX7ÿXX7
  TaX8]ÿ8Xcÿ9UUY9ÿ87ÿ\ÿ[7U8ÿ7Wÿ\8          8YU8XYÿ9U8ÿ^U8XYÿ7ÿÿba9ÿTaX8]
  77cÿX7ÿU7ÿÿ89ÿ7WÿÿTaX78ZÿTY89ÿU           8W789UÿUÿXÿ9XYÿ87Y7ÿÿZU8ÿ\ÿ[7U8ÿ7W
  7X8ÿUÿ̀ÿba9ÿTaX8̀ÿ^mÿ7ÿ             \8ÿXÿÿ8W789Uÿ7Wÿÿ6ÿU
  X8X7ÿ7Wÿÿ[7U8ÿ7Wÿ\8ÿ̀Xÿ87X^VÿW78ÿ87aXXY    7X8ÿÿ8VUXaÿ8W789Uÿ7Wÿÿ6ÿUÿX
  UaXÿUÿYXUÿ_Xÿ8ÿ7ÿÿ6ÿUÿW78                78W7VX7ÿ9UUY9ÿU9ÿUÿ79U8ÿ7ÿUÿ7Wÿÿ6]
  9UUYXYÿÿXa9ÿ7WÿÿUÿ7Wÿÿ6ÿ\              8ÿY87ÿUÿVÿ^Zÿ6stÿ̀Uÿ_VVÿUÿ79U8U^V
  [7U8ÿ7Wÿ\8ÿUV7ÿ77cÿX7ÿU7ÿUÿÿ7ÿ7W          XXÿT97Yÿ78ÿUUÿ̀ÿ[7U8ÿ7Wÿ\8ÿUV7ÿ8Xa
  8aXÿ87aXÿ^Zÿÿba9ÿTaX8ÿUÿ                 UUÿ_Xÿ8ÿ7ÿÿ6]ÿVa8UYÿUÿX8X^X7ÿ8U
  8UcXYÿ8dX8ÿ7Wÿÿba9ÿTaX8ÿXÿ7X7       Uÿ79U8ÿ7ÿXÿ8ÿY87ÿ\ÿ[7U8ÿ7Wÿ\8ÿ7
  _Xÿ7ÿ8aXÿ̀XVXYÿ9UXUXXYÿUÿ97X78XYÿX       Uÿ_XVÿXÿW7ÿÿUUÿ87aXÿ^Zÿ6stÿ̀ÿX
  7_ÿUÿÿ6]ÿ79VXUÿ87Y8U9ÿ̀UÿeUÿ7a8            X8U8ZÿUUÿ87aX8̀ÿY8UVVZÿWV̀ÿXÿ87YXuÿX
  X9ÿUÿUÿ8Vÿ7Wÿ8YVU78Zÿ̀9U8cÿUÿ78ÿaV79      VX9XUX7ÿ̀XVXYÿXÿU8XVU8
  \ÿ[7U8ÿ7Wÿ\8ÿUV7ÿ7X8ÿÿdUVXZÿ7Wÿ
  ba9
  ÿ
                                                                                                           TUVÿ78ÿÿÿ3
118781791444553520534401224489                                                                 1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                     6789ÿ 05/24/21
                                                                    Entered        10:22:39             Page 321 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>
  ÿ
    D=>EF>GÿHIJÿKILM                                                ÿ                               N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  UÿÿUUÿ9UWÿXU8WÿYZÿ7ÿÿÿUÿV          8Y9c8ÿcWÿÿgX9ÿTXY8ÿ[78ÿ87XYYZ
  Uÿÿ8Vÿ7[ÿÿ8[789Uÿ79U8Y7ÿ9UWÿXU8W            U9YY8UYXÿ8XYÿaYÿ8ÿ7ÿÿ6ÿ8ÿU8U
  YZÿ7ÿÿVY7ÿ7[ÿÿ8ÿZ87ÿ\ÿ]7U8ÿ7[         UZ89ÿUÿa8ÿÿ[ÿU8ÿU878YUÿ\ÿ]7U8
  \8ÿUV7ÿ77^ÿY7ÿU7ÿ9UUZ9_ÿYY7ÿ7[         7[ÿ\8ÿ77^ÿY7ÿU7ÿÿ9UUZ9ÿ[ÿ88b
  ÿ̀78YZU8ÿUZ78WÿYÿaYÿÿ6ÿaUÿVUÿ[78          YVYZÿUÿ9UUZ9ÿ[ÿ[78ÿÿ6ÿa8ÿcUÿ7
  79U8UYXÿ87bÿYVYZÿUWÿY[[8ÿcaÿ        ÿ6_ÿ7UVÿ9UUZÿU
  6_ÿYX9ÿ8UZWÿUÿÿ8UZWÿ7[ÿÿ[ÿY        T97Zÿ78ÿUUbÿÿ]7U8ÿ7[ÿ\8ÿ7ÿUÿÿ
  ÿ6_ÿ8YXÿUZ78WbÿUÿaVVÿUÿ79U8ÿ7ÿ         9UUZ9ÿ[ÿqYVYZÿU9YY8UYXÿ[rÿ7[ÿÿ6
  8ÿZ87ÿVÿcWÿ6de                                       aUÿcV7aÿÿ9YUÿ7[ÿYÿ8ÿZ87ÿ\ÿ]7U8ÿUV7ÿ7
  T97Zÿ78ÿUUÿ8VUYZÿY[YUVVWÿ7ÿÿ6_               Uÿÿ7UVÿÿhÿUÿUÿ8UZÿ7[ÿUX8UZ
  8[789Ubÿÿ]7U8ÿ77^ÿ7ÿ7[ÿÿ6_ÿ7X8Y7          9UUZÿUÿ7[ÿÿ6ÿU8ÿUc7Xÿÿ9YUÿ7[ÿYÿ8
  [879ÿUÿ7ÿ7ÿUÿV7ÿ88ÿ\ÿ]7U8                Z87ÿ\ÿ]7U8ÿ7[ÿ\8ÿ77^ÿY7ÿU7ÿ9UUZ9_
  7Y8ÿUÿÿ6ÿ8UYVÿYÿc9U8^bÿÿ6\eÿTVV       YY7ÿ7[ÿÿ6_ÿhÿUÿUV7ÿ77^ÿY7
  f78Vÿ\ÿdÿghÿ[78ÿÿ7bÿ8bÿ[YXÿUÿWU8            7Y8UY7ÿÿU97ÿaUYXÿU178ÿ8Y9c8ÿcWÿ
  8Y7ÿÿiÿ34bÿ245ÿ\ÿ]7U8ÿ[88ÿ7Y8          gX9ÿTXY8ÿYÿÿ8Y78ÿWU8ÿUÿYÿWU8ÿUÿaY
  Uÿÿ6ÿUÿ88[789ÿYÿ8ÿZ87ÿ9YUÿ[78         8ÿ7ÿÿ6
  ÿ8bÿ[YXÿUÿWU8ÿ8Y7ÿÿiÿ34bÿ245            \ÿ]7U8ÿ7[ÿ\8ÿUV7ÿ7Y8ÿÿ7UVVÿt[UVV7
  UÿUÿ78[789ÿYÿ8ÿZ87ÿ9YUÿ[78ÿÿ7WU8         c[Yuÿ7ÿÿgX9ÿTXY8ÿaYÿ8ÿ7ÿÿ6b
  8Y7ÿÿiÿ34bÿ245ÿ\ÿ]7U8ÿ7[ÿ\8ÿUV7ÿ77^        ÿUÿÿ8UY7UVÿXUVÿ7[ÿ8XYZÿUÿgX9ÿTXY8
  Y7ÿU7ÿ9UUZ9_ÿYY7ÿ7[ÿÿ6_                 7ÿÿ6bÿ7YUVÿ[ÿUYÿ7ÿÿgX9ÿTXY8_
  88[789UbÿYVYZÿUÿYY7ÿ7[ÿ8UYÿ7[ÿ         U[[YVYUÿcWÿÿ6ÿ78ÿ78[7VY7ÿ79UYÿ[78ÿ8XY
  6_ÿ7VYZÿUÿVUÿ7ÿY987Xÿ6ÿ8[789Uÿ\          87XYbÿYVYZÿU9YY8UYXÿ8XYÿ87XYÿ7ÿ
  ]7U8ÿUV7ÿ77^ÿY7ÿU7ÿY[789UY7ÿUc7ÿÿ6_          6ÿcWÿÿgX9ÿTXY8ÿ8Uÿ7ÿU8U
  Y7189Y9ÿ8U^YZÿ8VUYXÿ7ÿ78ÿ8ÿUÿUY7       UZ89bÿÿc[Yÿ7[ÿUVÿ[879ÿYX9ÿcWÿÿ6
  U^ÿ7ÿU8ÿÿ6_ÿY7                              YÿU[[YVYUÿ[bÿUÿÿc[Yÿ7[ÿ8U8ÿ9UÿUXUYVUcV
  \ÿ]7U8ÿ7[ÿ\8ÿ7VÿUÿÿ6_ÿ7X8UVV            7ÿÿgX9ÿTXY8ÿcWÿ8U7ÿ7[ÿc87^8UZÿ799YY7
  8[789UÿUÿ78ÿ8VXUÿ[U78bÿYVYZÿ              qY[ÿUWrÿZ8UÿcWÿÿ6_ÿ8YYÿ8UUY7ÿ\
  TXY8_ÿUY7ÿ7ÿU8ÿUWÿ88[789Ub                 ]7U8ÿ7[ÿ\8ÿ7VÿUÿÿc[Yÿ8YXÿcWÿ
  78ÿÿ7YUY7ÿ7[ÿÿTZ89ÿaYÿ8ÿ7        gX9ÿTXY8ÿUÿYÿU[[YVYUÿa8ÿ8U7UcVÿYÿ
  ÿ6ÿ[78ÿUÿUYY7UVÿ7WU8ÿ8Y7                         7hÿ7[ÿÿ8VUY7YÿcaÿÿgX9ÿTXY8ÿU
  /P>ÿ@Aj=jÿAkÿ=P>ÿj>Gl<@>jÿ=AÿF>ÿDGAl<;>;ÿFmÿ=P>                    ÿ6
  .9l>j=E>9=ÿ,;l<j>Gÿ:9;ÿ=P>ÿDGAk<=jÿ=AÿF>ÿG>:Q<n>;ÿFmÿ=P>           T[8ÿÿ8XYabÿÿ]7U8ÿ7[ÿ\8ÿ89YÿUÿ
  .9l>j=E>9=ÿ,;l<j>Gÿ:9;ÿ<=jÿ:kk<Q<:=>jÿkGAEÿ=P>ÿG>Q:=<A9jP<D        87[YUcYVYWÿ7ÿÿgX9ÿTXY8ÿUÿYÿU[[YVYUÿ[879ÿY8
  o<=Pÿ=P>ÿ489;pÿ\ÿ]7U8ÿ7[ÿ\8ÿUV7ÿZUX                     8VUY7YÿaYÿÿ6ÿaUÿ7ÿhYXÿ\ÿ\8
  7Y8UY7ÿ7ÿÿ[ÿUWUcVÿ8ÿÿTZ89bÿ         UV7ÿ77^ÿY7ÿ7Y8UY7ÿÿU97ÿaUYXÿU178
  hÿÿgX9ÿTXY8ÿY8ÿYÿ87XYYZÿUXY78W        8Y9c8bÿY[ÿUWbÿa8ÿhÿUÿ78ÿUXY78Wÿ[ÿaUYX8
  8XYÿUÿÿ87[YUcYVYWÿ7ÿÿgX9ÿTXY8ÿ[879      UÿcÿY9V9
  9UUZYZÿÿ6bÿYVYZÿq5rÿY[789UY7ÿ8ZU8YZÿ        /P>ÿ>v=>9=ÿ=AÿoP<@Pÿ>@A9AE<>jÿAkÿj@:Q>ÿoA8Q;ÿF>ÿG>:Q<n>;
  [YUYUVÿ7YY7ÿ7[ÿÿgX9ÿTXY8sÿq2rÿY[789UY7     :jÿ=P>ÿ489;ÿOGAojÿ:9;ÿoP>=P>Gÿk>>ÿQ>l>QjÿG>kQ>@=ÿ=P>j>
  8ZU8YZÿÿ7UVÿ[ÿUÿUW9ÿ8YXÿcWÿ              >@A9AE<>jÿAkÿj@:Q>ÿkAGÿ=P>ÿF>9>k<=ÿAkÿjP:G>PAQ;>Gjpÿ\
  gX9ÿTXY8ÿ[78ÿYÿ8XYÿUbÿaYÿ8ÿ7ÿ       ]7U8ÿ7Y8ÿÿ[[YXÿ[ÿ8ÿÿTXY78W
  gX9ÿTXY8bÿa8ÿÿ[ÿU8ÿU878YUÿZYX        TZ89ÿ[78ÿÿ6ÿUÿUÿ8UZÿ7[ÿUÿUÿY[[8
  779Yÿ7[ÿUVÿUÿ78ÿ7Y8UY7sÿq3rÿ79U8UYX       UÿVXVÿUÿ7YcVÿ779Yÿ7[ÿUVÿUÿ9UWÿc
  Y[789UY7ÿ7aYZÿqUrÿÿ[ÿUWUcVÿ8ÿ                 8UVYwÿY[ÿÿUÿ7[ÿÿ6ÿZ87aÿ\ÿ]7U8ÿ7ÿU
  TZ89ÿX8ÿÿYX9ÿUXY78Wÿ[ÿ7[ÿ8UY           ÿUXY78Wÿ[ÿ[78ÿÿ6ÿYÿ7ÿUXÿc8U^7Yÿ\
  8ZY8ÿYX9ÿ79UYÿUÿ79U8UcVÿ[ÿU          ]7U8ÿ7Y8ÿÿgX9ÿTXY8_ÿYY7ÿ7[ÿ
  [7VV7aÿYX9ÿ8UZYÿY9YVU8ÿ7ÿ7ÿ7[ÿÿ6ÿU      6_ÿUXY78Wÿ[ÿ88ÿ\ÿ]7U8ÿ7[ÿ\8ÿUV7
  qcrÿÿhÿ8UY7ÿ7[ÿÿ6ÿX8ÿÿhÿ8UY7       7ÿUÿÿgX9ÿTXY8ÿUÿ8Y9c8ÿU178
  7[ÿ8UYÿ8ZY8ÿYX9ÿ79UYÿUÿ79U8UcV          aUYXÿhÿaYÿ8ÿ7ÿÿ6ÿ7X8ÿÿWU8ÿ\
  [ÿUÿ[7VV7aÿYX9ÿ8UZYÿY9YVU8ÿ7ÿ7ÿ7[ÿ    ]7U8ÿUV7ÿ7ÿUÿÿ6_ÿ78UUVÿUXY78Wÿ[ÿaU
  6sÿUÿqSrÿY[789UY7ÿ8ZU8YZÿÿ7UVÿ[ÿU             V7a8ÿUÿYÿ8ÿYX8ÿUÿUVVÿUÿVXVÿ\
  UW9ÿ8YXÿUÿÿ8VUÿU97ÿaUYXÿU178
  ÿ
  S4ÿÿÿTUVÿ78
118781791444553520534401224489                                                                      041
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39         Page 322 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>
  ÿ
    D=>EF>GÿHIJÿKILM                                              ÿ                            N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  W7T8ÿ7XÿY8ÿ7UÿTÿÿXÿ88ÿT8         S`89[ÿ7ÿ]`UÿXT78ÿ\Tÿ89]T]_ÿ7ÿÿ]]7
  8T7TZU[ÿTÿ\]ÿ8ÿ7ÿÿ^_9ÿS_]8[         7XÿÿW7T8ÿ7XÿY8ÿT8[ÿTX8ÿ\]`]`ÿTUUÿXT78ÿT
  7Uÿ8Uÿ]ÿTÿT8]`ÿ7Xÿ779]ÿ7XÿTUÿ]ÿ_]\ÿ7Xÿ 7]8T]7[ÿ]U]`ÿ7ÿ]ÿTZ7_[ÿÿW7T8ÿ7X
  ]X789T]7ÿ87_]ÿYÿW7T8ÿ89]ÿ7ÿ7]ÿ7       Y8[ÿ]U]`ÿT8TUa[ÿÿ^ÿY8[
  8_]\ÿ\Ta[ÿTÿÿbÿ7ÿ\][ÿ779]ÿ7XÿTU        T]97UaÿT`8ÿTÿÿS_]78aÿS`89[ÿ]U]`ÿ
  9]`ÿZÿT8ÿZ\ÿÿ^_9ÿS_]8ÿ7ÿÿ7 T_]78aÿXÿ7ÿZÿT]ÿ7ÿÿ^_9ÿS_]8[ÿ]ÿXT]8ÿT
  TÿTÿT87U8ÿ7Xÿÿ6ÿ7ÿÿ78                 8T7TZUÿ7ÿÿ6ÿ]ÿU]`ÿ7Xÿÿ8_]ÿTÿ
  cA9@Q8d<A9e                                                     ^_9ÿS_]8ÿ877ÿ7ÿ87_][ÿÿbÿTÿ]
  67UU7\]`ÿTÿX88ÿ]]7ÿ7XÿÿXT78ÿTZ7_[ÿ]ÿ\T     ]8ÿTÿÿ8T7TZUaÿX78TZUÿTÿU_Uÿ7Xÿÿ6
  7ÿTÿ]ÿ7]8]`ÿÿT87_TUÿ7XÿÿS_]78a
  ÿ
                                                                                                        STUÿ78ÿÿÿV5




118781791444553520534401224489                                                              051
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39            Page 323 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>D=>EF>GÿHIJÿKILM                                                  ÿ                            N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  /
  ÿ
    G
    8S  =
        > >Sÿ: 9;ÿ0TT<@> GS
  UÿV7W8ÿXÿ87XYZÿ[78ÿÿ7\8WZZÿ9WW]9ÿ7[ÿÿ6^ÿXZX]ÿ8\XX7ÿ7[ÿÿXÿ8[789ÿY_ÿÿ̀\9
  a\X8ÿUÿW9ÿWÿYX8ÿWÿ7[ÿÿU8ÿWÿ7[[X8ÿ7[ÿÿ6^ÿÿ_W8ÿWÿbWÿ[X8ÿZÿ78ÿW7Xÿ7ÿ7[[X^
  X8ÿ8XXWZÿYXÿ7WX7ÿ8X]ÿÿZWÿ[X\ÿ_W8^ÿÿ9Y8ÿ7[ÿ[ÿ7\8ÿY_ÿWÿU8ÿWÿ78
  X878Xÿ_ÿ7ZÿW8ÿ7bÿYZ7bÿUÿYXÿW8ÿ[78ÿWÿU8ÿWÿ7[[X8ÿ7[ÿÿ6ÿXÿ17ÿcX]ZWÿWXWZ
  dWW]9ÿ6ÿa\X78^ÿef^ÿ344ÿ8ÿ78^ÿXÿ44^ÿWZZW^ÿUgÿ0245
  ÿ
                                                                             9Y8ÿ7[
                                                                         f78[7ZX7ÿXÿ
                                                                            cX]ZW
                                                                              6               j8
                                U89ÿ 7[                                      79  Zl        X878X1         ml8X^
                   f7XX7hij[[Xÿ
                                    5ÿW                                  j\8           U8X          nWZX[XWX7^
    W9ÿW bXÿ e]ÿ7[ f8XXWZÿjWX7hi Y_ÿ                              cZÿ8X]ÿÿfW a8XY^ÿoXZZÿ[78
  Wÿ7[ÿVX8 ÿ 6 ÿUX9ÿ8\ÿ 8X]ÿfWÿ6X\ÿkW8 ÿ U82 ÿ 6X\ÿkW8 ÿÿV7W8ÿd9Y8Xÿ
                                                          .9;>D>9;>9=ÿ/G8S=>>S




118781791444553520534401224489                                                                  021
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39     Page 324 of 600
  8ÿ7! (8 )*## #8                                     23       (8ÿ7*ÿ, ÿ-". #8#*#-
  687"#      (89+                                                           6#-ÿ(8/ÿ)ÿ$*879 ?8#ÿ#ÿ
  $%121503&    (8                                                           0--8.ÿ2453ÿ7ÿ1-. *#-#-"ÿ#8.+
                 #                                                             245&+ÿ#878ÿ7*ÿ2        #8#*#-
                 9!8                                                          7#7/ÿ)ÿ$# 9--88#-"ÿ-
                 2453                                                            0--8.ÿ2453&+ÿ(8 ?#5
                                                                                 7*ÿ-".ÿ-#-"ÿ)79 ?8#+
                                                                                      6ÿ(8ÿ$*879        #8#*#-
                                                                                       0--8.ÿ245%ÿ7       ?8#ÿ7
                                                                                      9!8ÿ245&+ 78ÿ!7-8ÿ7*
                                                                                    #878ÿ7*ÿ,98#- #878/ÿ#"#8
                                                                                         -".ÿ-#-" -ÿ-ÿ99!8ÿ7*
                                                                                 3-"-8ÿ(8ÿ))ÿ$*879 58-"ÿ-#
                                                                                   0--8.ÿ2453ÿ7ÿ0 799#
                                                                                        245&+ÿ#878/
                                                                                 ,98#-ÿ-".ÿ-#-"
                                                                                   -#".ÿÿ,ÿ4-"
                                                                                       (8/ÿ)ÿ$*879
                                                                                    759!8ÿ2452ÿ7ÿ0".
                                                                                      245&+ÿ#878ÿ7*
                                                                                       ,98#-ÿ78
                                                                                   688#/ÿ)ÿ$#
                                                                                 0--8.ÿ2453&+ÿ#878
                                                                                 7*ÿ-5#7ÿ)59
                                                                                     ,5#78ÿ$*879ÿ0".
                                                                                     244ÿ7ÿ0".ÿ245&+
                                                                                      -#89-ÿ-ÿ778/
                                                                                   2-ÿ7.ÿ78-8
                                                                                      -!-""ÿ"!ÿ$#
                                                                                 0--8.ÿ2453&+ÿ,5#78.
                                                                                       7-8ÿ7*ÿ#878/
                                                                                    )8ÿ7#5#.
                                                                                       987/ÿ)ÿ$*879
                                                                                   0--8.ÿ245%ÿ7ÿ,8#"
                                                                                 245&+ÿ#878ÿ7*ÿ,:,
                                                                                       ,;###7ÿ78
                                                                                    $*7898".ÿ,ÿ-#-"
                                                                                 ,;###7ÿ78&ÿ$*879
                                                                                       <7!8ÿ245%ÿ7
                                                                                 <7!8ÿ245&+ÿ#878
                                                                                 7*ÿ(ÿ1#7ÿ=-8
                                                                                 7*ÿ>87*#7-"ÿ-!-""
                                                                                     "!/ÿ)+ÿ#878ÿ7*
                                                                                   2-ÿ7.ÿ78-8
                                                                                       67-#7/ÿ)+
                                                                                       #878ÿ7*ÿ9-"
                                                                                 7!7#/ÿ)+ÿ-#89-
                                                                                      -ÿ#878ÿ7*ÿ6
                                                                                 9"7!-"ÿ-"./ÿ)ÿ$*879
                                                                                      1-.ÿ245ÿ7ÿ0
                                                                                      245&+ÿ-#89-+
                                                                                  #878ÿ7*ÿ6#8ÿ-#-"
                                                                                  )59ÿ78ÿ$*879
                                                                                   1-8ÿ245ÿ7ÿ1-8
                                                                                 245&+ÿ-ÿ#878ÿ-
                                                                                 #-"ÿ,5#78ÿ7ÿ4-"
                                                                                       --/ÿ== ÿ$#
                ÿ           ÿ             ÿ                         ÿ           ÿ 6!8-8.ÿ245& ÿ
  ÿ
  %2ÿÿÿ,-"ÿ78



118781791444553520534401224489                                                          031
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39        Page 325 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -../
  ÿ
     0/12-3ÿ/25167-0/12ÿ89:;9<=>?<@ÿ8AB:>=:9?<@
  ÿ
  ÿ
  D?E>?FG?HÿIJKÿLJMN                                              ÿ                          O=PQR;:<ÿSRBG;Rÿ-RRBA;>=B:ÿ59:<
  0H9T>??Tÿ;:<ÿ1UU=A?HT
  ÿ
                                                                        9e8ÿ7W
                                                                    Z78W7cY7ÿYÿ
                                                                       fYacV
                                                                         6                _8
                               ^89ÿ 7W                                  79  cg         Y878Y1          ig8Yj
                 Z7YY7[\_WWYÿ5ÿV                              _b8            ^8Y          kVcYWYVY7j
    V9ÿV ]Yÿ `aÿ7W Z8YYVcÿ_VY7[\ ehÿ fcÿ8YaÿÿZV l8YejÿmYccÿW78
  Vÿ7WÿXY8 ÿ 6 ÿ^Y9ÿ8bÿ 8YaÿZVÿ6YbÿdV8 ÿ ^82 ÿ 6YbÿdV8 ÿX7V8ÿn9e8Y
                                                       /:<?E?:<?:>ÿ0H9T>??T
  o7ÿf7Y3 ^8 pWYY Z8Yÿ7WÿV                         23          nVVa8ÿ7Wÿ^8cÿXVh YaYWYV
  [15150\               ^89q lbY78jÿ̀` ÿY                                  78jÿ̀` ÿ[la g8YÿYÿ
                            ^8 laÿ2453qÿVÿZV88                            2455ÿtÿ9e8 WYVYVcÿY8hq
                            Yÿoch 7WÿfYacVÿVYVc                               245\qÿnVVa8ÿ7W          YaYWYV
                            2453 nVVa9jÿ̀Zÿ[rf ns\                            l98YVÿf79ÿZVY 9VVa8YVcÿV
                                         W879ÿ6e8V8hÿ244 ÿYc                       [7b9e8ÿ2455ÿ7            gYb
                                         Yÿ8YaVY7ÿY                              6e8V8hÿ245\          g8Yj
                                           7b9e8ÿ245                                                            YcYa
                                                                                                                 g8YÿV
                                                                                                                8YjÿYW
                                                                                                             gYbÿ7WWY8ÿ78
                                                                                                              YWÿ888Ya
                                                                                                                  7WWY8ÿ7WÿWYb
                                                                                                             c799YVY7
                                                                                                              WY89qÿg8Y
                                                                                                             7ÿ78ÿe7V8ÿ7W
                ÿ          ÿ            ÿ                          ÿ                 ÿ                      ÿ Y      878




118781791444553520534401224489                                                             01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39      Page 326 of 600
   !ÿ"7#$$= (8)
                      -+** "8*ÿ!ÿ678ÿ7+                 23         (8ÿ7+ÿ-9!        *6*+*!
  %124150& !*89! (89) -9!ÿ!8ÿ44 ÿ*                                 !8ÿ6ÿ-ÿ(8 /8*ÿ*ÿ
              7+ÿ (8 9.8ÿ2450)                                                              +*!*!$ÿ*87)
              ,7!8 *          (81*878ÿ7+ÿ                                                     *6*+*!
                      9.8 5*6$!ÿ6ÿ79$/                                                           /*0
                      2453) +879ÿ3ÿ2452ÿ*$ÿ3$7                                                         /8*
                        !*89!ÿ7+2453ÿ!ÿ*ÿ9.8                                                   *$*6ÿ!
                      ÿ,7!8 2453)ÿ*+ÿ"87                                                           80*ÿ!ÿ!
                      *        8!6*ÿ7+ÿ5*6$!                                                7++*8ÿ7+ÿ+ÿ*
                      9.8 !*!$ÿ8!!69ÿ6                                                        ÿ5*6$!
                      2453)ÿ! 90*78:ÿ4"ÿ%;5 869<&                                                  6ÿ79$/)
                        /*0 +879ÿ2452ÿ*$ÿ9.8                                                      *6*+*!
                      1*         2450)ÿ*78ÿ!*$ÿ6                                              !9**8!*0ÿ!
                      "8* 9!$7ÿ7+ÿ5 8ÿ+879ÿ244                                                      9!!68*!$
                      !          *$ÿ9.8ÿ2450ÿ!                                                    /8*
                      "8**!$ 5 869ÿ+879ÿ*ÿ**7
                        /*0 *$ÿ9.8ÿ2450)
                      2++*8ÿ+879 "8*ÿ!ÿ"8**!$
                      3ÿ2452 /*0ÿ2++*8ÿ7+ÿ56
                      *$        +879ÿ3ÿ2452ÿ*$ÿ8!7
                      9.8 2450)ÿ8!87ÿ7+ÿ56
                      2450 +879ÿ8!7ÿ2450ÿ*$
                                   9.8ÿ2450)ÿ/*0
                                   1*ÿ"8*ÿ!
                                   "8**!$ÿ/*0ÿ2++*8
                                   7+ÿ56-ÿ!ÿ56--ÿ+879ÿ3
                                   2452ÿ*$ÿ9.8ÿ2450)
                                   !ÿ8!87ÿ7+ÿ56-ÿ!
                                   56--ÿ+879ÿ709.8ÿ2454
             ÿ       ÿ            ÿ7ÿ8!7ÿ2450              ÿ                  ÿ                       ÿ
  ÿ
                                                                                                    9!$ÿ78ÿÿÿ=3




118781791444553520534401224489                                                         001
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39      Page 327 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>D=>EF>GÿHIJÿKILM                                              ÿ                        N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  /G8S=>>Sÿ:9;ÿ0TT<@>GS
  ÿ
                                                                         9d8ÿ7V
                                                                     Y78V7bX7ÿXÿ
                                                                        eX̀bU
                                                                          6               ^8
                               ]89ÿ 7V                                   79  bf       X 8
                                                                                             78X1         hf8Xi
                 Y7XX7Z[^VVXÿ5ÿU                               ^a8           ]8X        jUbXVXUX7i
    U9ÿU \Xÿ _`ÿ7V Y8XXUbÿ^UX7Z[ dgÿ ebÿ8X`ÿÿYU k8XdiÿlXbbÿV78
  Uÿ7VÿWX8 ÿ 6 ÿ]X9ÿ8aÿ 8X`ÿYUÿ6XaÿcU8 ÿ ]82 ÿ 6XaÿcU8 ÿW7U8ÿm9d8Xÿ
                                                       .9;>D>9;>9=ÿ/G8S=>>S
  W8gUÿk ]8 pVXX X78ÿkaX78iÿ876X8                     23          X878ÿ7VÿhrXg        X̀XVXU
  nU8                      ]89q WUlÿXÿk8Xbÿ245q                                   m8Xfiÿ__       f8XÿXÿ
  Z21o1500[                ]8 Y8XaUÿpa78iÿWn                                                    VXUXUbÿX8gq
                            X         7bX`iÿ__ ÿX                                                    X̀XVXU
                            XX7ÿX 245oqÿX78ÿmUU`8i                                                    fXa
                            244 k8iÿ__YÿZU                                                              f8X
                                         7bX`ÿVX89[ÿV879ÿ55                                            XbX`ÿU
                                         Xbÿ8X89ÿXÿ245o                                              8aXÿUÿU
                                                                                                            7VVX8ÿ7VÿVÿX
                                                                                                                ÿeX̀bU
                                                                                                             6ÿ79bfq
                                                                                                                  X̀XVXU
                                                                                                            U9XX8UXaÿU
                                                                                                                 9UU`8XUb
                ÿ          ÿ            ÿ                           ÿ                 ÿ                    ÿ f8X     
  ÿ
  ooÿÿÿkUbÿ78




118781791444553520534401224489                                                           01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 328 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>D=>EF>GÿHIJÿKILM                                              ÿ                     N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  /G8S=>>Sÿ:9;ÿ0TT<@>GS
  ÿ
                                                                  9d8ÿ7V
                                                              Y78V7bX7ÿXÿ
                                                                 eX̀bU
                                                                   6           ^8
                             ]89ÿ  7V                             79  bf     X
                                                                                 878X1  hf8Xi
                 Y7XX7Z[^VVXÿ
                                  5ÿU                         ^a8        ]8X  jUbXVXUX7i
   U9ÿU \Xÿ _`ÿ7V Y8XXUbÿ^UX7Z[ dgÿ ebÿ8X`ÿÿYU k8XdiÿlXbbÿV78
  Uÿ7VÿWX8 ÿ 6 ÿ]X9ÿ8aÿ 8X`ÿYUÿ6XaÿcU8 ÿ ]82 ÿ 6XaÿcU8 ÿW7U8ÿm9d8X
                                                 .9=>G>S=>;ÿ/G8S=>>




118781791444553520534401224489                                                    01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39    Page 329 of 600
  ÿ788 %8 &'              3*ÿ7'ÿ8)7ÿ*          23             7               4'*
  !5115"#         %89(                   'ÿ087ÿ8*4ÿ*                                   -8ÿÿ
                     %8                 -07ÿÿ5*8                                          '**2ÿ8+(
                                       245(ÿ08ÿ7'                                               4'*
                     6)8*8+                -07ÿ86ÿ&                                       9**48*2ÿ*
                     245(                 !'78982+6ÿ342*ÿ**2                                        -.
                     ,-.              6ÿ8)786ÿ&#                                         -86
                     /                   ÿ182ÿ245(ÿ3*ÿ7'                                          24
                     08              8)7ÿ*ÿ3 561                                           -8ÿ*ÿ*
                     ÿ182             '879ÿ7.9)8ÿ245ÿ2                                         7''8ÿ7'ÿ
                     245                  5*8ÿ245(ÿ8*8+ÿ7'                                      342*ÿ6
                                           3676ÿ8166ÿ36&ÿ*ÿ36&&                                        792-ÿ
                                           '879ÿ77)8ÿ245ÿ2                                            2452
                                           182ÿ245(ÿ1*
                                           8*8+ÿ7'ÿ367ÿ*
                                           816ÿ&&ÿ'879ÿ14ÿ245
                                           7ÿ77)8ÿ245(ÿ'
                                           087ÿ8*4ÿ*
                                           3 561ÿ'879ÿ9)8
                                           2450ÿ7ÿ5*8ÿ245(
                                           878ÿ7'ÿ087
                                           8*4+ÿ*ÿ3 561ÿ'879
                                           5*+ÿ245"ÿ7ÿ9)8
                                           2450(ÿ1*ÿ8*8+
                                           7'ÿ36&ÿ*ÿ36&&ÿ'879
                                           5*8ÿ245ÿ7ÿ77)8
                                           245(ÿ8*8+ÿ7'ÿ36
                                           '879ÿ9)8ÿ2450ÿ2
                                           182ÿ245(ÿ1*
                                           %8*88ÿ7'ÿ-07ÿ*2
                                           ,*ÿ1.786ÿ90ÿ
                                           5*+ÿ2450(ÿ1*
                                           %8*88ÿ7'ÿ-07ÿ*2
                                           ,*ÿ1.78ÿ&&6ÿ90
                                           ÿ:ÿ245(ÿ1*
                                           %8*88ÿ7'ÿ36&ÿ*ÿ36&&
                                           '879ÿ7.9)8ÿ2452ÿ7
                                           5*8ÿ245(ÿ1*
                                           %8*88ÿ7'ÿ36ÿ'879
                                             7.9)8ÿ2452ÿ7
                                           9)8ÿ2450(ÿ8*8+
                                           7'ÿÿ; ÿ'879ÿ245"ÿ2
                                           182ÿ245(ÿ*ÿ8*8+
                                           7'ÿÿ&8.*2ÿ6ÿ'879
                                           5*8ÿ245ÿ2ÿ182
                ÿ           ÿ             ÿ245                      ÿ         ÿ                   ÿ
  ÿ
                                                                                                 1*2ÿ78ÿÿÿ"0




118781791444553520534401224489                                                      01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                                     6789ÿ 05/24/21
                                                                                    Entered        10:22:39                       Page 330 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9=<98>;?
  ÿ
  ÿ
  C>D=>EF>GÿHIJÿKILM                                                                 ÿ                                      N<OPQ:9;ÿRQAF:Qÿ,QQA@:=<A9ÿ489;
  /G8S=>>Sÿ:9;ÿ0TT<@>GS
  ÿ
  ÿ
  5 UÿVÿVVWÿXVYZÿVÿVÿ9V8ÿ7[ÿ\7V8ÿ7WY]Zÿÿ^7_8VÿVÿ79WYVÿ799Yÿ8_Y`ÿVÿa8bÿ8[789VÿVÿ89Yÿ̀8ÿ7
     cÿVÿÿa8bÿ8_Yÿ[78ÿV78ÿ]V8ÿd[[Y_ÿeÿ2453Zÿÿ\7V8ÿV7ÿVÿ8Y89ÿ7WY]ÿ̀8Yÿÿ^7_8VÿVÿ79WYV
       799YÿVWWÿ7ÿ8799ÿÿ7Yÿ8_YÿVÿVÿa8ÿ7[ÿVÿ\7V8ÿ99X8ÿ̀7ÿYÿ7W8ÿVÿ4ÿ]V8ÿ7[ÿVfÿVÿÿY9ÿÿ^7_8VÿV
        79WYVÿ799Yÿ878ÿYÿ[YYfÿ7ÿÿ\7V8
  2 aÿghYfWVÿ6ÿ79Wciÿ7Yÿ7[ÿh6ZÿVÿ8Yÿ7[ÿh6jZÿVÿ8Yÿ7[ÿh6jjZÿh6UZÿ^k6Zÿÿj8_VWÿ6ZÿVÿcl7YÿVYVWZÿjZÿVÿW7
     9VVf9ÿY_9ÿ79V]ÿVÿVÿWÿ7ÿXÿ8VÿVÿVÿXYÿ_W79ÿ79V]ÿ8ÿÿ5m4ÿk
  3 YÿnV]ÿ5Zÿ2450Zÿn8ÿh7YÿVÿXÿ8VÿVÿVÿjÿa8ÿ7[ÿÿa8ÿl8Y78ÿ7ÿVÿVZÿn8ÿh7Yÿ̀Vÿ8VÿVÿVÿj8ÿa8ÿXV
     ÿ̀VÿVÿV88ÿ7[ÿVÿY_9ÿV_Y8ÿV[[YWYVÿ̀Yÿÿk_Y8ÿYWÿYÿ8YfVY7ÿYÿ7_9X8ÿ245mÿkÿ7[ÿ9X8ÿ34Zÿ245Zÿn8ÿh7Yÿ̀VÿYWÿ7
     8Y_ÿVff8fVÿ_8VÿV178ÿ[88ÿ79VY7ÿV]9ÿ7[ÿV87cY9VW]ÿo234Z444ÿ[879ÿV78ÿV[[YWYVÿ7[ÿÿk_Y8ÿn8ÿh7YÿVW7ÿ8_ÿVÿV
     Y878ÿ7[ÿVÿ78[7WY7ÿ79V]ÿV[[YWYVÿ̀Yÿÿk_Y8
  ÿÿ jÿVYY7Zÿn8ÿh7Yÿ8_ÿVÿVÿ8ÿ7[ÿVÿ8ÿVÿ7`ÿXVYVWW]ÿVWWÿ7[ÿÿ779YÿY8ÿYÿVÿY_9ÿV_Y8ÿV[[YWYVÿ̀Yÿÿk_Y8
     n8ÿh7YÿYY8W]ÿ8Y_ÿVÿVXVÿ[ÿYÿ8ÿ7[ÿÿY8Zÿ̀YÿYÿ87pÿ7ÿ8Vfÿ[879ÿom04Z444o004Z444ÿVVWW]ÿkYY7VWW]ZÿV
     Y_9ÿV_Y8ÿ787WWÿX]ÿn8ÿh7YÿVÿ8ÿY7ÿVÿV8ÿ8_YÿV88Vf9ÿ̀YÿVÿV[[YWYVÿ7[ÿÿk_Y8Zÿ8Vÿ7ÿ̀YÿÿV[[YWYVÿ87_Y
     XVqÿ7[[Yÿ78ÿYÿcVfÿ[78ÿV87cY9VW]ÿo04Z444ÿ8ÿrV88ÿaÿV[[YWYVÿV_Y8ÿ̀VÿVYÿo5mZ444ÿVÿo24Z444ÿYÿ245ÿVÿ245Zÿ8Y_W]ÿj
     WYfÿ7[ÿÿ8WVY7YÿX`ÿn8ÿh7YÿVÿV[[YWYVÿ7[ÿÿk_Y8ZÿYÿYÿ7YXWÿVÿÿd ÿ9YfÿYÿÿ[8ÿ89Yÿn8ÿh7Yÿ7ÿXÿVÿY8
     87ÿ7[ÿÿa8
  m l8Y78ÿ7ÿ9X8ÿZÿ245Zÿn8ÿl7`WWÿ̀Vÿ8VÿVÿVÿj8ÿa8ÿ7[ÿÿa8ÿ[78ÿVWWÿ87ÿ78ÿVÿ79VY7ÿVÿÿa8bÿ7ÿ7[ÿY
  ÿ
                                                 a89ÿ7[
                                    l7YY7st U[[YÿV
   V9ÿV                           `Yÿ   ufÿ7[                                                   l8YYVWÿUVY7st
  Vÿ7[ÿ\Y8                 ÿ     6 ÿ aY9ÿ8_ ÿ                                                  8YfÿlVÿ6Y_ÿvV8
                                                                        0TT<@>GS
  68VqÿwV87               a8V88Z           j[YYÿa89xlV88ÿVÿY[ÿ6YVYVWÿU[[Y8ÿ7[ÿh nxÿa8V88ÿ7[ÿÿhYfWV
  sm15m155t                    l8YYVW            a8V88 6ÿ79WcÿYÿnV]ÿ2450
                                 k7Yf           YÿnV]
                                 U[[Y8Z             2450ÿl8YYVW
                                 l8YYVW            6YVYVW
                                 6YVYVW            U[[Y8ÿV
                                 U[[Y8ÿV          l8YYVW
                                 l8YYVW            k7Yf
                                 dcY_            U[[Y8ÿY
                                 U[[Y8              U7X8ÿ245
                                                      l8YYVW
                                                      dcY_
                                                      U[[Y8ÿY
                                ÿ                    ÿ6X8V8]ÿ245ÿ
    WY[[78ÿ77               kYV            j[YYÿa89x Y[ÿk7YfÿU[[Y8ÿVÿh nxÿkYVÿa8V88ÿ7[ÿÿhYfWV
  s5515154t                   a8V88            kYV 6ÿ79WcÿYÿnV8ÿ245
                                                      a8V88
                                                      YÿnV8
                                ÿ                    ÿ245          ÿ
  eV7ÿl7                      Y[                j[YYÿa89x Y[ÿ79WYVÿU[[Y8ÿ[78ÿh n6kÿVÿcl7YÿYÿ9X8
  s5115t                      79WYV             Y[          2450xÿY[ÿ79WYVÿU[[Y8ÿVÿkYn7]ÿuV8YfÿU[[Y8ÿ7[
                                 U[[Y8                79WYV ÿhYfWVÿ6ÿ79WcÿYÿ9X8ÿ2450ÿl8Y78ÿ7ÿY
                                                      U[[Y8ÿY 88ÿ87WÿVÿh n6kÿVÿcl7YZÿn8ÿl7ÿ8_ÿVÿ]ÿY[
                                                      9X8 79WYVÿU[[Y8ÿVÿY878ÿ7[ÿ79WYVÿ[78ÿh n
                                ÿ                    ÿ2450          ÿ
  ÿ
  mÿÿÿkVWÿ78


118781791444553520534401224489                                                                                                      01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39     Page 331 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,--.
  ÿ
     /.01,2ÿ.14056,/.01ÿ789:8;<=>;?ÿ7@A9@B8;>;?
  ÿ
  ÿ
  D>E=>FG>HÿIJKÿLJMN                                              ÿ                       O<PQB:9;ÿRBAG:Bÿ,BBA@:=<A9ÿ489;
  /H8S=>>Sÿ:9;ÿ0TT<@>HS
  ÿ
                                           ]89ÿ7V
                              Y7XX7Z[ ^VVXÿU
   U9ÿU                     \Xÿ   _`ÿ7V                            Y8XXUbÿ^UX7Z[
  Uÿ7VÿWX8           ÿ     6 ÿ ]X9ÿ8a ÿ                           8X`ÿYUÿ6XaÿcU8
                                                           0TT<@>HS
  Xÿ788X             efXaÿgX iVXXÿ]89hmUÿ7VÿX8XkX7ÿUÿXVÿY87ÿ8U`XÿUÿfY7XÿX
  Z5115d[               Y8Xh efXaÿgX nU8ÿ245hÿY8Xÿ7VÿfY7Xÿ8XXoÿiÿXÿj8Xbÿ245h
                           ]8        Y8XÿX mUÿ7VÿX8XkX7ÿUÿm n6jÿV879ÿ7a9k8ÿ245ÿXbÿnU8ÿ245h
                                          j8Xbÿ245h XVÿY87ÿ8U`XÿUÿm n6jÿV879ÿ9k8ÿ2450ÿ7ÿnU8
                                          ]8ÿX 245hÿX878ÿ7VÿY87ÿ8U`lÿUÿm n6jÿV879ÿnUlÿ245dÿ7
                                          6k8U8lÿ245 9k8ÿ2450hÿ^VVX8ÿ7VÿÿmX̀bUÿ6ÿ79bfÿX
                          ÿ              ÿ               ÿ 7a9k8ÿ2452
  _U8ÿ]V78          8U8l iVXXÿ]89j7XUÿp8Ubÿ7bÿUÿm nÿXÿ9k8ÿ245hÿim7
  Z5115[               Xÿj8Xb 8U8l           7bÿUÿm nÿV879ÿqUU8lÿ2450ÿXbÿ9k8ÿ245hÿ8U8l
                           245           Xÿj8Xb 7VÿÿmX̀bUÿ6ÿ79bfÿXÿj8Xbÿ245hÿ99k8ÿ7Vÿÿj]r]
                                          245            Y8V789Uÿj8ÿ8oÿeUX7ÿUÿ799Xlÿ799XÿX
                          ÿ              ÿ               ÿnU8ÿ245
  ÿ
                                                                                                    jUbÿ78ÿÿÿd




118781791444553520534401224489                                                        41
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                    6789ÿ 05/24/21
                                                                   Entered        10:22:39             Page 332 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,
  -./01231ÿ,35/0-21,/3ÿ26/71ÿ18,9ÿ0:./01
  ÿ
  ÿ
  ÿ
  ,@ABCDEB@Dÿ2FAGCBH                                   QJÿ878ÿ>ÿiÿ8>8ÿW78ÿ>87?8ÿ7WÿIJK?>ÿc?7i>?ÿ=??7>J7
  IJK?>ÿ>J>?ÿL>>K9ÿ6ÿ=MJ78N            6ÿjÿk6lmÿQÿ6ÿ9>J?ÿ7ÿ>87?8ÿ878ÿ7ÿ>
  OP                                                 >87?8ÿ>8ÿ^WÿY7ÿb7?ÿ?JVÿ978ÿ>ÿ7ÿ878Nÿ?>ÿ>??
  344ÿ8ÿ78NÿJÿ44                          >87?8ÿ8MJÿ>ÿ5052ÿ7ÿ8nÿ>ÿ>JJ7>?ÿ878ÿi
  >??>NÿQRÿ0245                                     ÿ7ÿY7
  1HS@CTBHÿ2UB@D                                       =ÿ8JJ7ÿ7Wÿÿ7?JJÿ>ÿ878ÿ>ÿÿ6ÿÿ7ÿ89J
  =98J>ÿ7VÿQ8>W8ÿXÿQ8ÿ79>YN              7bÿ7ÿM7ÿ87]Jÿ8?>JKÿ7ÿJ8ÿ78W7?J7ÿ8JJNÿ>ÿÿ6oÿ87]Y
  OO                                                   M7JKÿ878ÿW78ÿÿ97ÿ8ÿ5297ÿ8J7ÿÿ9i8ÿ34Nÿ>8
  245ÿ50ÿ=M                                     >M>J?>i?ÿjJmÿbJ7ÿ>8KNÿ7ÿ8nNÿiYÿ>??JKÿ5052ÿ>
  Z877V?YNÿ[ÿ5525                                    jJJmÿ7ÿÿ8JJÿ>ÿp]>Kÿ799JJ7oÿbiJÿ>
  7@FBH\HGDBH                                          11bbb878
    ]P7Jÿ8JJNÿ^                           Qÿ6ÿWJ?ÿJÿ79?ÿ?ÿ7Wÿ78W7?J7ÿ7?JKÿbJÿÿ8JJ
  344ÿ8ÿ78NÿJÿ44                          >ÿp]>Kÿ799JJ7ÿW78ÿÿWJ8ÿ>ÿJ8ÿn>88ÿ7Wÿ>ÿWJ>?ÿY>8
  >??>NÿQRÿ0245                                     >ÿ>ÿ]JiJÿ7ÿJÿ878ÿ7ÿ6789ÿ PqQÿQÿ6oÿ6789ÿ PqQÿ>8
  _`CDaFGS@                                            >M>J?>i?ÿ7ÿÿ799JJ7oÿbiJÿ>ÿ11bbbK7Mÿ>ÿ>?7ÿ9>Y
  Z>Vÿ7Wÿbÿ[78VÿL??7                               iÿ8MJbÿ>ÿ7Jÿ>ÿÿ799JJ7oÿPi?JÿW8ÿ779ÿJ
  2<4ÿc8bJÿ8                                 r>JK7Nÿ ÿ^W789>J7ÿ7ÿÿPi?JÿW8ÿ779ÿ9>Yÿiÿ7i>J
    bÿ[78VNÿ[ÿ542                                   iYÿ>??JKÿ544p 4334ÿ>87?8ÿ9>Yÿ>?7ÿ7i>Jÿÿ6789ÿ PqQ
                                                       iYÿMJJJKÿÿ6oÿbiJÿ>ÿbbbJK?>W79
  ,@FBdB@FB@Dÿ0BUGCDBHBFÿ.`efGgÿ2gga`@DG@U             Qÿ>9ÿ7Wÿ=JJ7>?ÿ^W789>J7ÿJ?ÿ>JJ7>?ÿJW789>J7ÿ>i7
  5GHE                                                 ÿ6oÿQ8ÿ>ÿ>8ÿ>M>J?>i?ÿ7ÿ8nÿbJ7ÿ>8KÿiYÿ>??JK
  P8Jb>87 778ÿOOP                           5052
  2525ÿÿP>8?ÿ8NÿJÿ2444
  >??>NÿQRÿ0245
  5`@Fÿ_a`@CBf
  hXOÿc>ÿOOP
  5ÿOJ7?ÿ8
  Z77NÿL=ÿ42555
  ÿ
  <ÿÿÿ=>?ÿ78




118781791444553520534401224489                                                                    51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 333 of 600

   !"#$ÿ&'ÿ(&)*$)*+
                                        ,-./ÿ1234ÿ546,ÿ75289ÿ.8,48,.:8255;




118781791444553520534401224489                                                 21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                   6789ÿ 05/24/21
                                                                  Entered        10:22:39   Page 334 of 600

   !"#$ÿ&'ÿ(&)*$)*+

  ,-./0123ÿ56718ÿ9/23:;./ÿ<ÿ9/=:6ÿ>7-?23@AÿBB>
  CDEFÿFG6Hÿ,I.3=.
  J/778K@3AÿLMÿFFDFN
  P0
  ÿ
    QHK23RÿSK7T2Kÿ,KK7126073ÿU=3Rÿÿ                                              VWXÿ78Yÿ9Z8ÿ34Yÿ245
  [[[\]XW^79
  ÿ
                                 ÿÿ                                                                    _6``aV6V415




118781791444553520534401224489                                                  31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39                Page 335 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -
  ÿ
   +%.ÿ/0 )'1%ÿ'(ÿ2+345,0
  789 :;<=>8?@ÿA>BC8>ÿD>>BE8F;B?ÿGH?@ÿ7F=IÿJKI<;LFM8?FN9Oÿ8LÿBPÿF=IÿI?@ÿBPÿF=IÿQIM;B@ÿEBRIMI@ÿCSÿF=;LÿMIQBMFOÿ=8Lÿ8@BQFI@ÿ8ÿEB@IÿBPÿIF=;EL
        F=8Fÿ8QQ>;ILÿFBÿF=IÿKI<;LFM8?FTLÿQM;?E;Q8>ÿIUIEHF;RIÿBPP;EIMOÿQM;?E;Q8>ÿP;?8?E;8>ÿBPP;EIMOÿQM;?E;Q8>ÿ8EEBH?F;?<ÿBPP;EIMÿBMÿEB?FMB>>IMOÿBM
  ÿ
        QIMLB?LÿQIMPBMV;?<ÿL;V;>8MÿPH?EF;B?LOÿMI<8M@>ILLÿBPÿW=IF=IMÿF=ILIÿ;?@;R;@H8>Lÿ8MIÿIVQ>BSI@ÿCSÿF=IÿKI<;LFM8?FÿBMÿ8ÿF=;M@ÿQ8MFSX
  7
  ÿ
   C9 YBFÿ8QQ>;E8C>IX
  7E9 Z=IMIÿ=8RIÿCII?ÿ?Bÿ8VI?@VI?FLOÿ@HM;?<ÿF=IÿQIM;B@ÿEBRIMI@ÿCSÿF=;LÿMIQBMFOÿFBÿ8ÿQMBR;L;B?ÿBPÿF=IÿEB@IÿBPÿIF=;ELÿF=8Fÿ8QQ>;ILÿFBÿF=I
        KI<;LFM8?FTLÿQM;?E;Q8>ÿIUIEHF;RIÿBPP;EIMOÿQM;?E;Q8>ÿP;?8?E;8>ÿBPP;EIMOÿQM;?E;Q8>ÿ8EEBH?F;?<ÿBPP;EIMÿBMÿEB?FMB>>IMOÿBMÿQIMLB?LÿQIMPBMV;?<
        L;V;>8MÿPH?EF;B?LOÿMI<8M@>ILLÿBPÿW=IF=IMÿF=ILIÿ;?@;R;@H8>Lÿ8MIÿIVQ>BSI@ÿCSÿF=IÿKI<;LFM8?FÿBMÿ8ÿF=;M@ÿQ8MFSOÿ8?@ÿF=8FÿMI>8FILÿFBÿ8?S
  ÿ
        I>IVI?FÿBPÿF=IÿEB@IÿBPÿIF=;ELÿ@ILEM;QF;B?X
  7@9 Z=IÿKI<;LFM8?Fÿ=8Lÿ?BFÿ<M8?FI@ÿ8?SÿW8;RIMOÿ;?E>H@;?<ÿ8?Sÿ;VQ>;E;FÿW8;RIMOÿPMBVÿ8ÿQMBR;L;B?ÿBPÿF=IÿEB@IÿBPÿIF=;ELÿF=8Fÿ8QQ>;ILÿFBÿF=I
        KI<;LFM8?FTLÿQM;?E;Q8>ÿIUIEHF;RIÿBPP;EIMOÿQM;?E;Q8>ÿP;?8?E;8>ÿBPP;EIMOÿQM;?E;Q8>ÿ8EEBH?F;?<ÿBPP;EIMÿBMÿEB?FMB>>IMOÿBMÿQIMLB?LÿQIMPBMV;?<
        L;V;>8MÿPH?EF;B?LOÿMI<8M@>ILLÿBPÿW=IF=IMÿF=ILIÿ;?@;R;@H8>Lÿ8MIÿIVQ>BSI@ÿCSÿF=IÿKI<;LFM8?FÿBMÿ8ÿF=;M@ÿQ8MFSOÿF=8FÿMI>8FILÿFBÿB?IÿBMÿVBMI
  ÿ
        BPÿF=Iÿ;FIVLÿLIFÿPBMF=ÿ;?ÿQ8M8<M8Q=ÿ7C9ÿBPÿF=;Lÿ[FIVTLÿ;?LFMHEF;B?LX
  7
  ÿ
   I9 YBFÿ8QQ>;E8C>IX
  7P9 Z=IÿKI<;LFM8?FTLÿEB@IÿBPÿIF=;ELÿF=8Fÿ8QQ>;ILÿFBÿF=IÿKI<;LFM8?FTLÿQM;?E;Q8>ÿIUIEHF;RIÿBPP;EIMOÿQM;?E;Q8>ÿP;?8?E;8>ÿBPP;EIMOÿQM;?E;Q8>
        8EEBH?F;?<ÿBPP;EIMÿBMÿEB?FMB>>IMOÿBMÿQIMLB?LÿQIMPBMV;?<ÿL;V;>8MÿPH?EF;B?Lÿ;LÿP;>I@ÿ=IMIW;F=ÿ8Lÿ\U=;C;Fÿ7897]9X
  ÿ
  -+%.ÿ^0      _`14+ÿ)'..4++%%ÿa4*"*54"$ÿ2bc%d+0
  DLÿBPÿF=IÿI?@ÿBPÿF=IÿQIM;B@ÿEBRIMI@ÿCSÿF=IÿMIQBMFOÿF=IÿKI<;LFM8?FTLÿeB8M@ÿBPÿZMHLFIILÿ7F=IÿJeB8M@N9ÿ=8Lÿ@IFIMV;?I@ÿF=8FÿeMS8?ÿDXÿf8M@Oÿ8
  VIVCIMÿBPÿF=IÿDH@;FÿgÿhH8>;P;I@ÿiI<8>ÿjBVQ>;8?EIÿjBVV;FFIIÿBPÿF=IÿeB8M@ÿ7F=IÿJDH@;FÿjBVV;FFIIN9Oÿ;Lÿ8?ÿ8H@;FÿEBVV;FFIIÿP;?8?E;8>
  IUQIMFÿ8Lÿ@IP;?I@ÿCSÿF=IÿkXlXÿlIEHM;F;ILÿ8?@ÿ\UE=8?<IÿjBVV;LL;B?ÿ7F=IÿJl\jN9ÿ;?ÿ[FIVÿmÿBPÿGBMVÿYnjlKXÿoMXÿf8M@ÿ;LÿJ;?@IQI?@I?FNÿ8L
  @IP;?I@ÿCSÿF=Iÿl\jÿPBMÿQHMQBLILÿBPÿF=;Lÿ[FIVÿmÿBPÿGBMVÿYnjlKX
  ÿ
  -+%.ÿp0     qd4*54c"$ÿ_55'`*+"*+ÿa%%,ÿ"*1ÿr%ds45%,0
  DH
  ÿ
    @;FÿGIIL
  789 Z=Iÿ8<<MI<8FIÿPIILÿC;>>I@ÿPBMÿI8E=ÿBPÿF=Iÿ>8LFÿFWBÿP;LE8>ÿSI8MLÿPBMÿQMBPILL;B?8>ÿLIMR;EILÿMI?@IMI@ÿCSÿF=IÿQM;?E;Q8>ÿ8EEBH?F8?FÿPBMÿF=I
        8H@;FÿBPÿF=IÿKI<;LFM8?FTLÿ8??H8>ÿP;?8?E;8>ÿLF8FIVI?FLÿBMÿLIMR;EILÿF=8Fÿ8MIÿ?BMV8>>SÿQMBR;@I@ÿCSÿF=Iÿ8EEBH?F8?Fÿ;?ÿEB??IEF;B?ÿW;F=
        LF8FHFBMSÿ8?@ÿMI<H>8FBMSÿP;>;?<LÿBMÿI?<8<IVI?FLÿPBMÿF=BLIÿP;LE8>ÿSI8MLÿ8MIÿtmuvOvvvÿPBMÿF=IÿP;LE8>ÿSI8MÿI?@I@ÿlIQFIVCIMÿmvOÿuv]wÿ8?@
        tmxvOvvvÿPBMÿF=IÿP;LE8>ÿSI8MÿI?@I@ÿlIQFIVCIMÿmvOÿuv]yX
  DH
  ÿ
    @;FnKI>8FI@ÿGIIL
  7C9 Z=Iÿ8<<MI<8FIÿPIILÿC;>>I@ÿ;?ÿI8E=ÿBPÿF=Iÿ>8LFÿFWBÿP;LE8>ÿSI8MLÿPBMÿ8LLHM8?EIÿ8?@ÿMI>8FI@ÿLIMR;EILÿCSÿF=IÿQM;?E;Q8>ÿ8EEBH?F8?FÿF=8Fÿ8MI
        MI8LB?8C>SÿMI>8FI@ÿFBÿF=IÿQIMPBMV8?EIÿBPÿF=Iÿ8H@;FÿBPÿF=IÿKI<;LFM8?FTLÿP;?8?E;8>ÿLF8FIVI?FLÿ8?@ÿ8MIÿ?BFÿMIQBMFI@ÿH?@IMÿQ8M8<M8Q=ÿ789ÿBP
        F=;Lÿ[FIVÿ8MIÿtmyyOzvvÿPBMÿF=IÿP;LE8>ÿSI8MÿI?@I@ÿlIQFIVCIMÿmvOÿuv]wÿ8?@ÿtmxvOvvvÿPBMÿF=IÿP;LE8>ÿSI8MÿI?@I@ÿlIQFIVCIMÿmvOÿuv]yX




118781791444553520534401224489                                                                              1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                        6789ÿ 05/24/21
                                                                       Entered        10:22:39               Page 336 of 600

    !"#$ÿ&'ÿ(&)*$)*+
  ,
  ÿ
   -.ÿ0112
  345 ,61ÿ-77817-91ÿ:112ÿ;<==1>ÿ<?ÿ1-46ÿ@:ÿ961ÿ=-29ÿ9A@ÿ:<24-=ÿB1-82ÿ:@8ÿC8@:122<@?-=ÿ218D<412ÿ81?>181>ÿ;Bÿ961ÿC8<?4<C-=ÿ-44@E?9-?9ÿ:@8ÿ9-.
         4@FC=<-?41Gÿ9-.ÿ->D<41Gÿ-?>ÿ9-.ÿC=-??<?7ÿ-81ÿHIJGJJJÿ:@8ÿ961ÿ:<24-=ÿB1-8ÿ1?>1>ÿK1C91F;18ÿLJGÿIJMNÿ-?>ÿHLOGJJJÿ:@8ÿ961ÿ:<24-=ÿB1-8
         1?>1>ÿK1C91F;18ÿLJGÿIJMPQÿ,61ÿ?-9E81ÿ@:ÿ961ÿ218D<412ÿ81=-91>ÿ9@ÿ-22<29-?41ÿ@?ÿ961ÿR17<298-?9S2ÿ9-.ÿ819E8?2ÿ-?>ÿ1.4<21ÿ9-.ÿ4-=4E=-9<@?2Q
  T=
  ÿ
     =ÿU9618ÿ0112
  3>5 ,61ÿ-77817-91ÿ:112ÿ;<==1>ÿ<?ÿ1-46ÿ@:ÿ961ÿ=-29ÿ9A@ÿ:<24-=ÿB1-82ÿ:@8ÿC8@>E492ÿ-?>ÿ218D<412ÿC8@D<>1>ÿ;Bÿ961ÿC8<?4<C-=ÿ-44@E?9-?9Gÿ@9618
         96-?ÿ961ÿ218D<412ÿ81C@891>ÿ<?ÿC-8-78-C62ÿ3-5ÿ968@E76ÿ345ÿ@:ÿ96<2ÿV91Fÿ-81ÿHJÿ:@8ÿ961ÿ:<24-=ÿB1-8ÿ1?>1>ÿK1C91F;18ÿLJGÿIJMNÿ-?>ÿHJÿ:@8
  ÿ
         961ÿ:<24-=ÿB1-8ÿ1?>1>ÿK1C91F;18ÿLJGÿIJMPQ
  3153M5W<24=@21ÿ961ÿTE><9ÿX@FF<9911S2ÿC81Y-CC8@D-=ÿC@=<4<12ÿ-?>ÿC8@41>E812ÿ>1248<;1>ÿ<?ÿC-8-78-C6ÿ3453Z5ÿ@:ÿRE=1ÿIYJMÿ@:ÿR17E=-9<@?ÿKY[\
               ,61ÿTE><9ÿX@FF<9911ÿ26-==\
                     3-5ÿ6-D1ÿ><8149ÿ812C@?2<;<=<9Bÿ:@8ÿ961ÿ-CC@<?9F1?9Gÿ4@FC1?2-9<@?Gÿ8191?9<@?ÿ-?>ÿ@D182<769ÿ@:ÿ961ÿR17<298-?9S2ÿ<?>1C1?>1?9
                     -E><9@82ÿ-?>Gÿ<?ÿ4@??149<@?ÿ96181A<96Gÿ9@ÿ81D<1Aÿ-?>ÿ1D-=E-91ÿF-99182ÿC@91?9<-==Bÿ-::149<?7ÿ961ÿ<?>1C1?>1?41ÿ-?>
                     4-C-;<=<9<12ÿ@:ÿ961ÿ-E><9@82]ÿ-?>
                     3;5ÿ81D<1Aÿ-?>ÿC81Y-CC8@D1ÿ3<?4=E><?7ÿ-22@4<-91>ÿ:1125ÿ-==ÿ-E><9ÿ-?>ÿ@9618ÿ218D<412ÿ9@ÿ;1ÿC8@D<>1>ÿ;Bÿ961ÿ<?>1C1?>1?9
                     -E><9@82ÿ9@ÿ961ÿR17<298-?9ÿ-?>ÿ-==ÿ?@?Y-E><9ÿ218D<412ÿ9@ÿ;1ÿC8@D<>1>ÿ;Bÿ961ÿ<?>1C1?>1?9ÿ-E><9@82ÿ9@ÿ961ÿR17<298-?9S2
                     <?D129F1?9ÿ->D<218ÿ@8ÿ-?Bÿ1?9<9Bÿ4@?98@==<?7Gÿ4@?98@==1>ÿ;Bÿ@8ÿE?>18ÿ4@FF@?ÿ4@?98@=ÿA<96ÿ961ÿ<?D129F1?9ÿ->D<218ÿ3-?
                     ^T>D<218ÿT::<=<-91_5ÿ96-9ÿC8@D<>12ÿ@?7@<?7ÿ218D<412ÿ9@ÿ961ÿR17<298-?9Gÿ<:ÿ961ÿ1?7-71F1?9ÿ81=-912ÿ><8149=Bÿ9@ÿ961ÿ@C18-9<@?2
                     -?>ÿ:<?-?4<-=ÿ81C@89<?7ÿ@:ÿ961ÿR17<298-?9]ÿ-?>
                     345ÿ129-;=<26Gÿ9@ÿ961ÿ1.91?9ÿC18F<991>ÿ;Bÿ=-Aÿ-?>ÿ>11F1>ÿ-CC8@C8<-91ÿ;Bÿ961ÿTE><9ÿX@FF<9911Gÿ>19-<=1>ÿC81Y-CC8@D-=
                     C@=<4<12ÿ-?>ÿC8@41>E812ÿ:@8ÿ2E46ÿ218D<412]ÿ-?>
                     3>5ÿ81D<1Aÿ-?>ÿ4@?2<>18ÿA619618ÿ961ÿ<?>1C1?>1?9ÿ-E><9@82SÿC8@D<2<@?ÿ@:ÿ-?Bÿ?@?Y-E><9ÿ218D<412ÿ9@ÿ961ÿR17<298-?9Gÿ961
                     R17<298-?9S2ÿ<?D129F1?9ÿ->D<218ÿ@8ÿ-?ÿT>D<218ÿT::<=<-91ÿ?@9ÿC81Y-CC8@D1>ÿ;Bÿ961ÿTE><9ÿX@FF<9911ÿ-81ÿ4@FC-9<;=1ÿA<96
  ÿ
                     F- <?9-<?<?7ÿ961ÿ<?>1C1?>1?41ÿ@:ÿ961ÿ<?>1C1?>1?9ÿ-E><9@82Q
  3153I5,61ÿC1841?9-71ÿ@:ÿ218D<412ÿ>1248<;1>ÿ<?ÿ1-46ÿ@:ÿC-8-78-C62ÿ3;5ÿ968@E76ÿ3>5ÿ@:ÿ96<2ÿV91Fÿ96-9ÿA181ÿ-CC8@D1>ÿ;Bÿ961ÿTE><9ÿX@FF<9911
         CE82E-?9ÿ9@ÿC-8-78-C6ÿ3453Z53<53X5ÿ@:ÿRE=1ÿIYJMÿ@:ÿR17E=-9<@?ÿKY[ÿ-81ÿ-2ÿ:@==@A2\
                     3;5ÿMJJ`
                     345ÿMJJ`
  ÿ
                     3>5ÿabT
  3:5 ,61ÿC1841?9-71ÿ@:ÿ6@E82ÿ1.C1?>1>ÿ@?ÿ961ÿC8<?4<C-=ÿ-44@E?9-?9S2ÿ1?7-71F1?9ÿ9@ÿ-E><9ÿ961ÿR17<298-?9S2ÿ:<?-?4<-=ÿ29-91F1?92ÿ:@8ÿ961
         F@29ÿ8141?9ÿ:<24-=ÿB1-8ÿ96-9ÿA181ÿ-998<;E91>ÿ9@ÿA@8cÿC18:@8F1>ÿ;BÿC182@?2ÿ@9618ÿ96-?ÿ961ÿC8<?4<C-=ÿ-44@E?9-?9S2ÿ:E==Y9<F1GÿC18F-?1?9
         1FC=@B112ÿA-2ÿ=122ÿ96-?ÿ:<:9BÿC1841?9Q




118781791444553520534401224489                                                                             01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                       6789ÿ 05/24/21
                                                                      Entered        10:22:39               Page 337 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-. /01ÿ3--41-351ÿ676839:;5ÿ<11=ÿ>;??1:ÿ>@ÿ501ÿA1-;=54365B=ÿC4;6D;C3?ÿ3DD7965365ÿ<74ÿ=14E;D1=ÿ416:141:ÿ57ÿ501ÿA1-;=54365Fÿ36:ÿ416:141:ÿ57
        501ÿA1-;=54365B=ÿ;6E1=5G165ÿ3:E;=14ÿ,675ÿ;6D?9:;6-ÿ36@ÿ=9>83:E;=14ÿH07=1ÿ47?1ÿ;=ÿC4;G34;?@ÿC745<7?;7ÿG363-1G165ÿ36:ÿ;=
        =9>D76543D51:ÿH;50ÿ74ÿ7E14=116ÿ>@ÿ3675014ÿ;6E1=5G165ÿ3:E;=14.Fÿ36:ÿ36ÿI:E;=14ÿI<<;?;351ÿ5035ÿC47E;:1=ÿ76-7;6-ÿ=14E;D1=ÿ57ÿ501
        A1-;=54365ÿ<74ÿ13D0ÿ7<ÿ501ÿ?3=5ÿ5H7ÿ<;=D3?ÿ@134=ÿ7<ÿ501ÿA1-;=54365ÿH3=ÿJKLFLLLÿ<74ÿ501ÿ<;=D3?ÿ@134ÿ16:1:ÿM1C51G>14ÿNLFÿKLOPÿ36:
  ÿ
        JNQFLLLÿ<74ÿ501ÿ<;=D3?ÿ@134ÿ16:1:ÿM1C51G>14ÿNLFÿKLORS
  ,0. /01ÿA1-;=54365B=ÿI9:;5ÿT7GG;5511ÿ03=ÿD76=;:141:ÿH015014ÿ501ÿC47E;=;76ÿ7<ÿ676839:;5ÿ=14E;D1=ÿ5035ÿH141ÿ416:141:ÿ57ÿ501ÿA1-;=54365B=
        ;6E1=5G165ÿ3:E;=14ÿ,675ÿ;6D?9:;6-ÿ36@ÿ=9>83:E;=14ÿH07=1ÿ47?1ÿ;=ÿC4;G34;?@ÿC745<7?;7ÿG363-1G165ÿ36:ÿ;=ÿ=9>D76543D51:ÿH;50ÿ74
        7E14=116ÿ>@ÿ3675014ÿ;6E1=5G165ÿ3:E;=14.Fÿ36:ÿ36ÿI:E;=14ÿI<<;?;351ÿ5035ÿC47E;:1=ÿ76-7;6-ÿ=14E;D1=ÿ57ÿ501ÿA1-;=54365ÿ5035ÿH141ÿ675
        C4183CC47E1:ÿC94=9365ÿ57ÿC343-43C0ÿ,D.,U.,;;.ÿ7<ÿA9?1ÿK8LOÿ7<ÿA1-9?35;76ÿM8Vÿ;=ÿD7GC35;>?1ÿH;50ÿG3;653;6;6-ÿ501ÿC4;6D;C3?
        3DD7965365B=ÿ;6:1C16:16D1S
  ÿ
  W*$XÿYZ     [\]^*ÿ(&XX^**$$ÿ&'ÿ_^+*$]ÿ̀$a^+*b!)*+Z
  /01ÿA1-;=54365ÿ03=ÿ3ÿ=1C34351?@8:1=;-6351:ÿ=536:;6-ÿI9:;5ÿT7GG;5511ÿ1=53>?;=01:ÿ;6ÿ3DD74:36D1ÿH;50ÿM1D5;76ÿN,3.,cP.,I.ÿ7<ÿ501ÿM1D94;5;1=
  deD036-1ÿID5ÿ7<ÿORNfFÿ3=ÿ3G16:1:Sÿg5ÿ;=ÿD7GC7=1:ÿ7<ÿ501ÿ<7??7H;6-ÿ/49=511=Fÿ13D0ÿ7<ÿH07Gÿ;=ÿ675ÿ36ÿh;65141=51:ÿC14=76iÿ3=ÿ:1<;61:ÿ;6ÿ501
  ORfLÿID5j
              k4Sÿl7>ÿm4710?;D0
              l4@36ÿISÿn34:
              d5036ÿo7H1??
  ÿ
  W*$XÿpZ  W)q$+*X$)*+Z
  ÿ
  ,3. MD01:9?1ÿ7<ÿg6E1=5G165=ÿ;6ÿ=1D94;5;1=ÿ7<ÿ963<<;?;351:ÿ;==914=ÿ3=ÿ7<ÿ501ÿD?7=1ÿ7<ÿ501ÿ41C745;6-ÿC14;7:ÿ;=ÿ;6D?9:1:ÿ3=ÿC345ÿ7<ÿ501ÿI6693?
  ÿ
      A1C745ÿ57ÿM034107?:14=ÿ<;?1:ÿ96:14ÿg51GÿOÿ7<ÿ50;=ÿ<74GS
  ,>. r75ÿ3CC?;D3>?1S
  ÿ
  W*$XÿsZ     t^+u#&+\b$ÿ&'ÿvb&wxÿy&*^)aÿv&#^u^$+ÿ!)]ÿvb&u$]\b$+ÿ'&bÿ(#&+$]z{)]ÿ|!)!a$X$)*ÿW)q$+*X$)*ÿ(&X}!)^$+Z
                                    ~W~_[tÿ([vW[_ÿ|[[{|{ ÿtÿ[tyW`ÿ_ZvZ
                                                           v`ÿy Wÿv_W(
                                                                v\b}&+$ÿ!)]ÿu&}$
       /01ÿC94C7=1ÿ7<ÿ501=1ÿE75;6-ÿC7?;D;1=ÿ36:ÿC47D1:941=ÿ,501ÿho7?;D@i.ÿ;=ÿ57ÿ=15ÿ<7450ÿ501ÿC4;6D;C?1=ÿ36:ÿC47D1:941=ÿ>@ÿH0;D0ÿ;-0?36:
  T3C;53?ÿ363-1G165ÿm96:ÿI:E;=74=FÿSoSÿ,501ÿhT7GC36@i.ÿE751=ÿ74ÿ-;E1=ÿD76=165=ÿH;50ÿ41=C1D5ÿ57ÿ501ÿ=1D94;5;1=ÿ7H61:ÿ>@ÿT?;165=ÿ<74
  H0;D0ÿ501ÿT7GC36@ÿ1e14D;=1=ÿE75;6-ÿ395074;5@ÿ36:ÿ:;=D415;76SOÿm74ÿ3E7;:36D1ÿ7<ÿ:79>5Fÿ50;=ÿ;6D?9:1=ÿ36@ÿC47e@ÿ36:ÿ36@ÿ=034107?:14ÿE751ÿ74
  D76=165Fÿ;6D?9:;6-ÿ3ÿE751ÿ74ÿD76=165ÿ<74ÿ3ÿC4;E351ÿD7GC36@ÿ74ÿ75014ÿ;==914ÿ5035ÿ:71=ÿ675ÿ;6E7?E1ÿ3ÿC47e@Sÿ/01=1ÿC7?;D;1=ÿ36:ÿC47D1:941=ÿ03E1
  >116ÿ:1=;-61:ÿ57ÿ01?Cÿ16=941ÿ5035ÿE751=ÿ341ÿD3=5ÿ;6ÿ501ÿ>1=5ÿ;65141=5=ÿ7<ÿT?;165=ÿ;6ÿ3DD74:36D1ÿH;50ÿ501ÿT7GC36@B=ÿ<;:9D;34@ÿ:95;1=ÿ36:ÿA9?1
  KLQ,f.8Qÿ96:14ÿ501ÿg6E1=5G165ÿI:E;=14=ÿID5ÿ7<ÿORfLÿ,501ÿhI:E;=14=ÿID5i.S
  ÿ
  ÿ
  Oÿ g6ÿ36@ÿD3=1ÿH0141ÿ3ÿT?;165ÿ03=ÿ;6=549D51:ÿ501ÿT7GC36@ÿ57ÿE751ÿ;6ÿ3ÿC345;D9?34ÿG36614ÿ76ÿ501ÿT?;165B=ÿ>103?<Fÿ507=1ÿ;6=549D5;76=ÿH;??
     -7E146ÿ;6ÿ?;19ÿ7<ÿC343G1514=ÿ=15ÿ<7450ÿ;6ÿ501ÿo7?;D@S




118781791444553520534401224489                                                                           1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                        6789ÿ 05/24/21
                                                                       Entered        10:22:39                Page 338 of 600

    !"#$ÿ&'ÿ(&)*$)*+
        ,-./ÿ123.45ÿ6773.8/ÿ92ÿ/84:;.9.8/ÿ-83<ÿ.=ÿ633ÿ>3.8=9ÿ6442:=9/ÿ?.=43:<.=@ÿA896.3ÿB:=</ÿ6=<ÿ29-8;ÿ72238<ÿ.=C8/9D8=9ÿC8-.438/Eÿ6/ÿ92ÿF-.4-
  9-8ÿ>2D76=5ÿ-6/ÿ8G73.4.9ÿ2;ÿ.D73.4.9ÿC29.=@ÿ6:9-2;.95HÿID73.4.9ÿC29.=@ÿ6:9-2;.95ÿ8G./9/ÿF-8;8ÿ9-8ÿ>2D76=5J/ÿC29.=@ÿ6:9-2;.95ÿ./ÿ.D73.8<ÿK5ÿ6
  @8=8;63ÿ<838@69.2=ÿ2Lÿ.=C8/9D8=9ÿ6:9-2;.95ÿF.9-2:9ÿ;8/8;C69.2=ÿ2Lÿ7;2G5ÿC29.=@ÿ6:9-2;.95ÿ92ÿ9-8ÿ>3.8=9H
        ILÿ9-8ÿ>2D76=5ÿ-6/ÿ<838@698<ÿC29.=@ÿ6:9-2;.95ÿ92ÿ6=ÿ.=C8/9D8=9ÿ/:KM6<C./8;ÿF.9-ÿ;8/7849ÿ92ÿ6=5ÿA896.3ÿB:=<Nÿ/:4-ÿ/:KM6<C./8;ÿF.33ÿK8
  ;8/72=/.K38ÿL2;ÿC29.=@ÿ633ÿ7;2G.8/ÿL2;ÿ/:4-ÿA896.3ÿB:=</ÿ.=ÿ6442;<6=48ÿF.9-ÿ9-8ÿ/:KM6<C./8;J/ÿ7;2G5ÿC29.=@ÿ723.4.8/Hÿ,-8ÿ>2D73.6=48
  O876;9D8=9Nÿ92ÿ7;2C.<8ÿ2C8;/.@-9ÿ2C8;ÿ9-8ÿ7;2G5ÿC29.=@ÿK5ÿ/:KM6<C./8;/ÿ6=<ÿ92ÿ8=/:;8ÿ9-69ÿC298/ÿ6;8ÿ8G84:98<ÿ.=ÿ9-8ÿK8/9ÿ.=98;8/9/ÿ2Lÿ9-8
  A896.3ÿB:=</Nÿ/-633ÿ?.Eÿ;8C.8Fÿ9-8ÿ7;2G5ÿC29.=@ÿ723.4.8/ÿ6=<ÿ7;248<:;8/ÿ2Lÿ864-ÿA896.3ÿB:=<ÿ/:KM6<C./8;ÿ92ÿ42=L.;Dÿ9-69ÿ9-85ÿ42D735ÿF.9-
  A:38ÿPQR?SEMRNÿK29-ÿ:72=ÿ8=@6@8D8=9ÿ2Lÿ9-8ÿ/:KM6<C./8;ÿ6=<ÿ:72=ÿ6=5ÿD698;.63ÿ4-6=@8ÿ92ÿ9-8ÿ/:KM6<C./8;J/ÿ7;2G5ÿC29.=@ÿ723.4.8/ÿ6=<
  7;248<:;8/Nÿ6=<ÿ?..Eÿ;8T:.;8ÿ864-ÿ/:4-ÿ/:KM6<C./8;ÿ92ÿ7;2C.<8ÿT:6;98;35ÿ48;9.L.469.2=/ÿ9-69ÿ633ÿ7;2G.8/ÿF8;8ÿC298<ÿ7:;/:6=9ÿ92ÿ9-8
  /:KM6<C./8;J/ÿ723.4.8/ÿ6=<ÿ7;248<:;8/ÿ2;ÿ92ÿ<8/4;.K8ÿ6=5ÿ.=42=/./98=9ÿC298/H
                                                                  U$)$V!#ÿWVX)YXZ#$+
        ,-8ÿ>2D76=5ÿ6=<ÿ.9/ÿ6LL.3.698/ÿ8=@6@8ÿ.=ÿ6ÿK;26<ÿ;6=@8ÿ2Lÿ649.C.9.8/Nÿ.=43:<.=@ÿ.=C8/9D8=9ÿ649.C.9.8/ÿL2;ÿ9-8.;ÿ2F=ÿ6442:=9/ÿ6=<ÿL2;ÿ9-8
  6442:=9/ÿ2LÿC6;.2:/ÿ>3.8=9/ÿ6=<ÿ7;2C.<.=@ÿ.=C8/9D8=9ÿ6<C./2;5ÿ6=<ÿ29-8;ÿ/8;C.48/ÿ92ÿ>3.8=9/HÿI=ÿ9-8ÿ2;<.=6;5ÿ42:;/8ÿ2Lÿ42=<:49.=@ÿ9-8
  >2D76=5J/ÿ649.C.9.8/Nÿ9-8ÿ.=98;8/9/ÿ2Lÿ6ÿ>3.8=9ÿD65ÿ42=L3.49ÿF.9-ÿ9-8ÿ.=98;8/9/ÿ2Lÿ9-8ÿ>2D76=5Nÿ29-8;ÿ>3.8=9/ÿ6=<[2;ÿ9-8ÿ>2D76=5J/ÿ6LL.3.698/
  6=<ÿ9-8.;ÿ43.8=9/Hÿ\=5ÿ42=L3.49/ÿ2Lÿ.=98;8/9ÿ;8369.=@ÿ92ÿ9-8ÿC29.=@ÿ2Lÿ7;2G.8/Nÿ;8@6;<38//ÿ2LÿF-89-8;ÿ649:63ÿ2;ÿ78;48.C8<NÿF.33ÿK8ÿ6<<;8//8<ÿ.=
  6442;<6=48ÿF.9-ÿ9-8/8ÿ723.4.8/ÿ6=<ÿ7;248<:;8/Hÿ,-8ÿ@:.<.=@ÿ7;.=4.738ÿK5ÿF-.4-ÿ9-8ÿ>2D76=5ÿC298/ÿ633ÿ7;2G.8/ÿ./ÿ92ÿC298ÿ.=ÿ9-8ÿK8/9ÿ.=98;8/9/
  2Lÿ864-ÿ>3.8=9ÿK5ÿD6G.D.].=@ÿ9-8ÿ842=2D.4ÿC63:8ÿ2Lÿ9-8ÿ;838C6=9ÿ>3.8=9J/ÿ-23<.=@/Nÿ96^.=@ÿ.=92ÿ6442:=9ÿ9-8ÿ;838C6=9ÿ>3.8=9J/ÿ.=C8/9D8=9
  -2;.]2=Nÿ9-8ÿ42=9;649:63ÿ2K3.@69.2=/ÿ:=<8;ÿ9-8ÿ;838C6=9ÿ6<C./2;5ÿ6@;88D8=9/ÿ2;ÿ42D76;6K38ÿ<24:D8=9/ÿ6=<ÿ633ÿ29-8;ÿ;838C6=9ÿL649/ÿ6=<
  4.;4:D/96=48/ÿ69ÿ9-8ÿ9.D8ÿ2Lÿ9-8ÿC298Hÿ,-8ÿ>2D76=5ÿ<28/ÿ=29ÿ78;D.9ÿC29.=@ÿ<84./.2=/ÿ92ÿK8ÿ.=L3:8=48<ÿ.=ÿ6=5ÿD6==8;ÿ9-69ÿ./ÿ42=9;6;5ÿ92Nÿ2;
  <.3:9.C8ÿ2LNÿ9-./ÿ@:.<.=@ÿ7;.=4.738H
                                                              _&*X)`ÿWV&Y$abV$+
  cdefghijfklÿifnolÿpgqernfr
        ,-8ÿ>2D76=5ÿD65ÿ8=@6@8ÿ6ÿ9-.;<M76;95ÿ7;2G5ÿ6<C./2;ÿ?s1;2G5ÿ\<C./2;tEÿ92ÿ7;2C.<8ÿ7;2G5ÿC29.=@ÿ;842DD8=<69.2=/ÿF.9-ÿ;8/7849ÿ92
  >3.8=9ÿ7;2G.8/Hÿ1;2G5ÿ\<C./2;ÿC29.=@ÿ;842DD8=<69.2=ÿ@:.<83.=8/ÿ6;8ÿ@8=8;6335ÿ<8/.@=8<ÿ92ÿ.=4;86/8ÿ.=C8/92;/Jÿ7298=9.63ÿL.=6=4.63ÿ@6.=H
  u-8=ÿ42=/.<8;.=@ÿF-89-8;ÿ92ÿ;896.=ÿ2;ÿ42=9.=:8ÿ;896.=.=@ÿ6=5ÿ76;9.4:36;ÿ1;2G5ÿ\<C./2;Nÿ9-8ÿ>2D73.6=48ÿO876;9D8=9ÿF.33ÿ6/48;96.=Nÿ6D2=@
  29-8;ÿ9-.=@/NÿF-89-8;ÿ9-8ÿ1;2G5ÿ\<C./2;ÿ-6/ÿ9-8ÿ46764.95ÿ6=<ÿ42D7898=45ÿ92ÿ6<8T:69835ÿ6=635]8ÿ7;2G5ÿ.//:8/HÿI=ÿ9-./ÿ;8@6;<Nÿ9-8
  >2D73.6=48ÿO876;9D8=9ÿF.33ÿ42=/.<8;Nÿ6D2=@ÿ29-8;ÿ9-.=@/vÿ9-8ÿ6<8T:645ÿ6=<ÿT:63.95ÿ2Lÿ9-8ÿ1;2G5ÿ\<C./2;J/ÿ/96LL.=@ÿ6=<ÿ78;/2==83wÿ9-8
  ;2K:/9=8//ÿ2Lÿ.9/ÿ723.4.8/ÿ6=<ÿ7;248<:;8/ÿ;8@6;<.=@ÿ.9/ÿ6K.3.95ÿ92ÿ?6Eÿ8=/:;8ÿ9-69ÿ.9/ÿ7;2G5ÿC29.=@ÿ;842DD8=<69.2=/ÿ6;8ÿK6/8<ÿ2=ÿ4:;;8=9ÿ6=<
  644:;698ÿ.=L2;D69.2=ÿ6=<ÿ?KEÿ.<8=9.L5ÿ6=<ÿ6<<;8//ÿ6=5ÿ42=L3.49/ÿ2Lÿ.=98;8/9ÿ6=<ÿ6=5ÿ29-8;ÿ42=/.<8;69.2=/ÿ9-69ÿ9-8ÿ>2D73.6=48ÿO876;9D8=9
  <898;D.=8/ÿF2:3<ÿK8ÿ677;27;.698ÿ.=ÿ42=/.<8;.=@ÿ9-8ÿ=69:;8ÿ6=<ÿT:63.95ÿ2Lÿ9-8ÿ/8;C.48/ÿ7;2C.<8<ÿK5ÿ9-8ÿ1;2G5ÿ\<C./2;Hÿ,2ÿ.<8=9.L5ÿ6=<
  6<<;8//ÿ6=5ÿ42=L3.49/ÿ9-69ÿD65ÿ6;./8ÿ2=ÿ9-8ÿ76;9ÿ2Lÿ9-8ÿ1;2G5ÿ\<C./2;Nÿ9-8ÿ>2D73.6=48ÿO876;9D8=9ÿF.33ÿ8=/:;8ÿ9-69ÿ9-8ÿ1;2G5ÿ\<C./2;
  =29.L.8/ÿ9-8ÿ>2D73.6=48ÿO876;9D8=9ÿ2Lÿ6=5ÿ;838C6=9ÿK:/.=8//ÿ4-6=@8/ÿ2;ÿ4-6=@8/ÿ92ÿ.9/ÿ723.4.8/ÿ6=<ÿ7;248<:;8/ÿ;8@6;<.=@ÿ42=L3.49/H
  cdefghijfklÿifnolÿxnkeyzÿ{|fqe}|r
       ,-8ÿ>2D76=5ÿD65ÿ:9.3.]8ÿ6ÿ9-.;<M76;95ÿ7;2G5ÿC29.=@ÿ/8;C.48ÿ?s1;2G5ÿ~29.=@ÿ8;C.48tEÿ92ÿD2=.92;ÿ-23<.=@/ÿ.=ÿ>3.8=9ÿ6442:=9/ÿL2;
  7:;72/8/ÿ2Lÿ<898;D.=.=@ÿF-89-8;ÿ9-8;8ÿ6;8ÿ:742D.=@ÿ/-6;8-23<8;ÿD889.=@/ÿ2;ÿ/.D.36;ÿ42;72;698




118781791444553520534401224489                                                                             1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                          6789ÿ 05/24/21
                                                                         Entered        10:22:39                Page 339 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ,-./012ÿ,14ÿ.0ÿ565-7.5ÿ89/51.ÿ:;06/52ÿ01ÿ<5=,9>ÿ0>ÿ.=5ÿ80?:,1@ÿ:7;27,1.ÿ.0ÿ.=5ÿ80?:,1@A2ÿ/12.;7-./012BÿC=/-=ÿ2=,99ÿ<5ÿD/E51ÿ/1ÿ,ÿ?,115;
  -012/2.51.ÿC/.=ÿ.=/2ÿF09/-@GÿH=5ÿ80?:9/,1-5ÿI5:,;.?51.ÿC/99ÿ0E5;255ÿ5,-=ÿF;06@ÿJ0./1DÿK5;E/-5ÿ.0ÿ5127;5ÿ.=,.ÿ:;06/52ÿ=,E5ÿ<551ÿE0.54ÿ/1ÿ,
  ?,115;ÿ-012/2.51.ÿC/.=ÿ.=5ÿ80?:,1@A2ÿ/12.;7-./012G
  LMNOPMQONR
       K7<S5-.ÿ.0ÿ.=5ÿ:;0-547;52ÿ;5D,;4/1DÿT012.,14,;4ÿF;06@ÿT0./-52ÿ452-;/<54ÿ<590CBÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.ÿ0>ÿ.=5ÿ80?:,1@ÿ2=,99
  =,E5ÿ;52:012/</9/.@ÿ>0;ÿ?01/.0;/1Dÿ89/51.ÿ,--071.2ÿ>0;ÿ:;06@ÿ10./-52GÿU6-5:.ÿ,2ÿ45.,/954ÿ<590CBÿ/>ÿ:;06@ÿ10./-52ÿ,;5ÿ;5-5/E54ÿ<@ÿ0.=5;
  5?:90@552ÿ0>ÿ.=5ÿ80?:,1@Bÿ27-=ÿ5?:90@552ÿ?72.ÿ:;0?:.9@ÿ>0;C,;4ÿ,99ÿ:;06@ÿ0;ÿ0.=5;ÿE0./1Dÿ?,.5;/,92ÿ.0ÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.G
  VMQPWMXOMÿLZNZR[Qÿ\[]O[^ÿZN_ÿ̀NaPQbcPOMN
        d;0?ÿ./?5ÿ.0ÿ./?5Bÿ.=5ÿ25..95?51.ÿD;07:ÿ0>ÿ.=5ÿ80?:,1@ÿ?,@ÿ;5-5/E5ÿ1012.,14,;4ÿ:;06@ÿ10./-52Bÿ;5D,;4/1Dÿ?,..5;2ÿ/1-974/1DBÿ<7.ÿ10.
  9/?/.54ÿ.0Bÿ:;0:02,92ÿ;5D,;4/1Dÿ-0;:0;,.5ÿ,-./012ÿ0;ÿ,?514?51.2ÿefT012.,14,;4ÿF;06@ÿT0./-52ghÿC/.=ÿ;52:5-.ÿ.0ÿ25-7;/./52ÿ=594ÿ<@ÿ89/51.2G
  i:01ÿ;5-5/:.ÿ0>ÿ,ÿT012.,14,;4ÿF;06@ÿT0./-5Bÿ,ÿ?5?<5;ÿ0>ÿ.=5ÿ25..95?51.ÿD;07:ÿe.=5ÿfK5..95?51.ÿI52/D155ghÿ2=,99ÿ2514ÿ,1ÿ5?,/9
  10./>/-,./01ÿ-01.,/1/1Dÿ,99ÿ;595E,1.ÿ/1>0;?,./01ÿ.0ÿ.=5ÿF0;.>09/0ÿj,1,D5;e2hÿC/.=ÿ;52:012/</9/.@ÿ>0;ÿ.=5ÿ25-7;/.@ÿ,14
  \kl[PPX[m[NPnoORoXZN_cZpOPZXqcMmGÿr515;,99@Bÿ.=5ÿ;595E,1.ÿF0;.>09/0ÿj,1,D5;e2hÿ2=,99ÿ459/E5;ÿE0./1Dÿ/12.;7-./012ÿ>0;ÿT012.,14,;4ÿF;06@
  T0./-52ÿ<@ÿ;5:9@/1Dÿ.0ÿ.=5ÿ5?,/9ÿ10./-5ÿ251.ÿ.0ÿ.=5ÿF0;.>09/0ÿj,1,D5;e2hÿ,14ÿ\kl[PPX[m[NPnoORoXZN_cZpOPZXqcMmÿ<@ÿ.=5ÿK5..95?51.ÿI52/D155
  0;ÿ<@ÿ2514/1DÿE0./1Dÿ/12.;7-./012ÿ.0ÿ\kl[PPX[m[NPnoORoXZN_cZpOPZXqcMmÿ,14ÿ\kl[PPX[m[NPnoORoXZN_cZpOPZXqcMmGÿs1@ÿ-01>9/-.2ÿ>0;
  T012.,14,;4ÿF;06@ÿT0./-52ÿ2=0794ÿ,920ÿ<5ÿ4/2-90254ÿ.0ÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.Gÿt1ÿ.=5ÿ5E51.ÿ,ÿF0;.>09/0ÿj,1,D5;ÿ0;,99@ÿ-01E5@2ÿE0./1D
  /12.;7-./012ÿ.0ÿ.=5ÿK5..95?51.ÿI52/D155ÿ0;ÿ,1@ÿ0.=5;ÿ?5?<5;ÿ0>ÿ.=5ÿ80?:,1@A2ÿ25..95?51.ÿD;07:Bÿ.=,.ÿK5..95?51.ÿI52/D155ÿ0;ÿ?5?<5;ÿ0>
  .=5ÿ80?:,1@A2ÿ25..95?51.ÿD;07:ÿ2=,99ÿ;52:014ÿ.0ÿ.=5ÿ0;/D/1,9ÿ10./-5ÿ5?,/9ÿ251.ÿ.0ÿuvK5..95?51.w=/D=9,14-,:/.,9G-0?ÿ45.,/9/1Dÿ.=5
  F0;.>09/0ÿj,1,D5;e2hÿE0./1Dÿ/12.;7-./012G
        x/.=ÿ;5D,;4ÿ.0ÿ2.,14,;4ÿ:;06@ÿ10./-52Bÿ01ÿ,ÿC55y9@ÿ<,2/2Bÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.ÿC/99ÿ2514ÿ,ÿ10./-5ÿ0>ÿ7:-0?/1Dÿ:;06@ÿE0.52
  ;59,.54ÿ.0ÿ25-7;/./52ÿ=594ÿ<@ÿ89/51.2ÿ,14ÿ.=5ÿ-0;;52:014/1DÿE0./1Dÿ;5-0??514,./012ÿ0>ÿ.=5ÿF;06@ÿs4E/20;ÿ.0ÿ.=5ÿ;595E,1.ÿF0;.>09/0
  j,1,D5;e2hGÿi:01ÿ;5-5/:.ÿ0>ÿ,ÿ:;06@ÿ10./-5ÿ>;0?ÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.Bÿ.=5ÿF0;.>09/0ÿj,1,D5;e2hÿC/99ÿ;5E/5Cÿ,14ÿ5E,97,.5ÿ.=5
  7:-0?/1DÿE0.52ÿ,14ÿ;5-0??514,./012GÿH=5ÿF0;.>09/0ÿj,1,D5;2ÿ?,@ÿ;59@ÿ01ÿ,1@ÿ/1>0;?,./01ÿ,14z0;ÿ;525,;-=ÿ,E,/9,<95ÿ.0ÿ=/?ÿ0;ÿ=5;ÿ,14
  ?,@Bÿ/1ÿ=/2ÿ0;ÿ=5;ÿ4/2-;5./01Bÿ?55.ÿC/.=ÿ?5?<5;2ÿ0>ÿ,1ÿ/2275;A2ÿ?,1,D5?51.ÿ.0ÿ4/2-722ÿ?,..5;2ÿ0>ÿ/?:0;.,1-5ÿ.0ÿ.=5ÿ;595E,1.ÿ89/51.2ÿ,14
  .=5/;ÿ5-010?/-ÿ/1.5;52.2GÿK=0794ÿ.=5ÿF0;.>09/0ÿj,1,D5;ÿ45.5;?/15ÿ.=,.ÿ45E/,./1Dÿ>;0?ÿ.=5ÿF;06@ÿs4E/20;A2ÿ;5-0??514,./01ÿ/2ÿ/1ÿ,ÿ89/51.A2
  <52.ÿ/1.5;52.Bÿ.=5ÿF0;.>09/0ÿj,1,D5;ÿ2=,99ÿ-0??71/-,.5ÿ=/2ÿ0;ÿ=5;ÿE0./1Dÿ/12.;7-./012ÿ.0ÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.G
        t1ÿ.=5ÿ5E51.ÿ.=,.ÿ?0;5ÿ.=,1ÿ015ÿF0;.>09/0ÿj,1,D5;ÿ/2ÿ;52:012/<95ÿ>0;ÿ?,y/1Dÿ,ÿ:,;./-79,;ÿE0./1Dÿ45-/2/01ÿ,14ÿ27-=ÿF0;.>09/0ÿj,1,D5;2
  ,;5ÿ71,<95ÿ.0ÿ,;;/E5ÿ,.ÿ,1ÿ,D;55?51.ÿ,2ÿ.0ÿ=0Cÿ.0ÿE0.5ÿC/.=ÿ;52:5-.ÿ.0ÿ,ÿ:,;./-79,;ÿ:;0:02,9Bÿ.=5@ÿ2=0794ÿ-01279.ÿC/.=ÿ.=5ÿ,::9/-,<95ÿ8=/5>
  80?:9/,1-5ÿ{>>/-5;ÿe.=5ÿf88{ghÿ>0;ÿD7/4,1-5G
  |MPONR
        i:01ÿ;5-5/:.ÿ0>ÿ.=5ÿ;595E,1.ÿF0;.>09/0ÿj,1,D5;2AÿE0./1Dÿ/12.;7-./012Bÿ/>ÿ,1@Bÿ.=5ÿ80?:9/,1-5ÿI5:,;.?51.ÿC/99ÿ-0??71/-,.5ÿ.=5
  /12.;7-./012ÿ.0ÿ.=5ÿF;06@ÿJ0./1DÿK5;E/-5ÿ.0ÿ565-7.5ÿ.=5ÿ:;06@ÿE0.52G
  }MNk|MP[a
         t.ÿ/2ÿ.=5ÿD515;,9ÿ:09/-@ÿ0>ÿ.=5ÿ80?:,1@ÿ.0ÿE0.5ÿ0;ÿD/E5ÿ-01251.ÿ01ÿ,99ÿ?,..5;2ÿ:;5251.54ÿ.0ÿ25-7;/.@ÿ=0945;2ÿ/1ÿ,1@ÿE0.5Bÿ,14ÿ.=525
  :09/-/52ÿ,14ÿ:;0-547;52ÿ=,E5ÿ<551ÿ452/D1,.54ÿC/.=ÿ.=,.ÿ/1ÿ?/14Gÿ~0C5E5;Bÿ.=5ÿ80?:,1@ÿ;525;E52ÿ.=5ÿ;/D=.ÿ.0ÿ,<2.,/1ÿ01ÿ,1@ÿ:,;./-79,;ÿE0.5
  />Bÿ/1ÿ.=5ÿS74D?51.ÿ0>ÿ.=5ÿ88{Bÿ0;ÿ.=5ÿ;595E,1.ÿF0;.>09/0ÿj,1,D5;Bÿ.=5ÿ5>>5-.ÿ01ÿ.=5ÿ;595E,1.ÿ89/51.A2ÿ5-010?/-ÿ/1.5;52.2ÿ0;ÿ.=5ÿE,975ÿ0>ÿ.=5
  :0;.>09/0ÿ=094/1Dÿ/2ÿ/12/D1/>/-,1.ÿ/1ÿ;59,./01ÿ.0ÿ.=5ÿ89/51.A2ÿ:0;.>09/0Bÿ/>ÿ.=5ÿ-02.2ÿ,220-/,.54ÿC/.=ÿE0./1Dÿ/1ÿ,1@ÿ:,;./-79,;ÿ/12.,1-5ÿ07.C5/D=
  .=5ÿ<515>/.2ÿ.0ÿ.=5ÿ;595E,1.ÿ89/51.2ÿ0;ÿ/>ÿ.=5ÿ-/;-7?2.,1-52ÿ?,y5ÿ27-=ÿ,1ÿ,<2.51./01ÿ0;ÿC/.==094/1Dÿ0.=5;C/25ÿ,4E/2,<95ÿ,14ÿ/1ÿ.=5ÿ<52.




118781791444553520534401224489                                                                                1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                          6789ÿ 05/24/21
                                                                         Entered        10:22:39                Page 340 of 600

    !"#$ÿ&'ÿ(&)*$)*+
  ,-./0/1.1ÿ34ÿ.5/ÿ0/6/78-.ÿ96,/-.1ÿ-3.ÿ.3ÿ73./:ÿ;<=5ÿ>/./0?,-8.,3-ÿ?8@ÿ8AA6@ÿ,-ÿ0/1A/=.ÿ34ÿ866ÿ96,/-.ÿ536>,-B1ÿ34ÿ.5/ÿ1/=<0,.,/1ÿ30ÿ3-6@ÿ=/0.8,-
  1A/=,4,/>ÿ96,/-.1Cÿ81ÿ.5/ÿ93?A8-@ÿ>//?1ÿ8AA03A0,8./ÿ<->/0ÿ.5/ÿ=,0=<?1.8-=/1:ÿD1ÿ/E8?A6/1Cÿ8ÿF30.436,3ÿG8-8B/0ÿ?8@ÿ>/./0?,-/HÿI8Jÿ-3.ÿ.3
  0/=866ÿ1/=<0,.,/1ÿ3-ÿ638-ÿ,4Cÿ,-ÿ5,1ÿ30ÿ5/0ÿK<>B?/-.Cÿ.5/ÿ?8../01ÿL/,-Bÿ73./>ÿ<A3-ÿ80/ÿ-3.ÿ?8./0,86ÿ/7/-.1ÿ844/=.,-Bÿ.5/ÿ1/=<0,.,/1ÿ8->ÿ.5/
  -/B8.,7/ÿ=3-1/M</-=/1ÿ.3ÿ96,/-.1ÿ34ÿ>,10<A.,-Bÿ.5/ÿ1/=<0,.,/1ÿ6/->,-BÿA03B08?ÿN3<6>ÿ3<.N/,B5ÿ.5/ÿL/-/4,.1ÿ34ÿ73.,-Bÿ,-ÿ.5/ÿA80.,=<680
  ,-1.8-=/ÿ30ÿILJÿ-3.ÿ.3ÿ73./ÿA03E,/1ÿ0/68.,-Bÿ.3ÿ=/0.8,-ÿ430/,B-ÿ1/=<0,.,/1ÿ,4Cÿ,-ÿ5,1ÿ30ÿ5/0ÿK<>B?/-.Cÿ.5/ÿ/EA/-1/ÿ8->ÿ8>?,-,1.08.,7/
  ,-=3-7/-,/-=/ÿ3<.N/,B51ÿ.5/ÿL/-/4,.1ÿ.3ÿ96,/-.1ÿ34ÿ73.,-Bÿ.5/ÿ1/=<0,.,/1:
  OPQRSTUVWÿPRÿYQVZ[ZWV
        \5/ÿ93?A8-@]1ÿ93?A6,8-=/ÿ^/A80.?/-.ÿ,1ÿ0/1A3-1,L6/ÿ430ÿ?3-,.30,-Bÿ73.,-Bÿ>/=,1,3-1ÿ430ÿ8-@ÿ=3-46,=.1ÿ34ÿ,-./0/1.Cÿ0/B80>6/11ÿ34
  N5/.5/0ÿ.5/@ÿ80/ÿ8=.<86ÿ30ÿA/0=/,7/>:ÿD66ÿ73.,-Bÿ>/=,1,3-1ÿ=3-.080@ÿ.3ÿ.5/ÿ0/=3??/->8.,3-ÿ34ÿ8ÿF03E@ÿD>7,130ÿ0/M<,0/ÿ8ÿ?8->8.30@ÿ=3-46,=.1
  34ÿ,-./0/1.ÿ0/7,/NÿL@ÿ.5/ÿ93?A6,8-=/ÿ^/A80.?/-.CÿN5,=5ÿN,66ÿ,-=6<>/ÿ8ÿ=3-1,>/08.,3-ÿ34ÿN5/.5/0ÿ.5/ÿ93?A8-@ÿ30ÿ8-@ÿF30.436,3ÿG8-8B/0ÿ30
  3.5/0ÿA/013-ÿ0/=3??/->,-Bÿ30ÿA037,>,-Bÿ,-A<.ÿ3-ÿ53Nÿ.3ÿ73./ÿ581ÿ8-ÿ,-./0/1.ÿ,-ÿ.5/ÿ73./ÿ.58.ÿ?8@ÿA0/1/-.ÿ8ÿ=3-46,=.ÿ34ÿ,-./0/1.:
        _-ÿ8>>,.,3-Cÿ866ÿ93?A8-@ÿ,-7/1.?/-.ÿA034/11,3-861ÿ80/ÿ/EA/=./>ÿ.3ÿA/0430?ÿ.5/,0ÿ.81`1ÿ0/68.,-Bÿ.3ÿ.5/ÿ73.,-Bÿ34ÿA03E,/1ÿ,-ÿ8==30>8-=/
  N,.5ÿ.5/ÿA0,-=,A6/1ÿ1/.ÿ430.5ÿ8L37/Cÿ8==30>,-Bÿ.5/ÿ4,01.ÿA0,30,.@ÿ.3ÿ.5/ÿL/1.ÿ,-./0/1.ÿ34ÿ.5/ÿ0/6/78-.ÿ96,/-.1:ÿ_4ÿ8.ÿ8-@ÿ.,?/ÿ8ÿF30.436,3ÿG8-8B/0
  30ÿ8-@ÿ3.5/0ÿ,-7/1.?/-.ÿA034/11,3-86ÿL/=3?/1ÿ8N80/ÿ34ÿ8ÿA3./-.,86ÿ30ÿ8=.<86ÿ=3-46,=.ÿ34ÿ,-./0/1.ÿ0/B80>,-Bÿ8-@ÿA80.,=<680ÿ73.,-Bÿ>/=,1,3-Cÿ5/
  30ÿ15/ÿ?<1.ÿ=3-.8=.ÿ.5/ÿ93?A6,8-=/ÿ^/A80.?/-.ÿA03?A.6@ÿ8->Cÿ,4ÿ,-ÿ=3--/=.,3-ÿN,.5ÿ8ÿA03E@ÿ.58.ÿ581ÿ@/.ÿ.3ÿL/ÿ73./>CÿA0,30ÿ.3ÿ1<=5ÿ73./:ÿ_4
  8-@ÿ,-7/1.?/-.ÿA034/11,3-86ÿ,1ÿA0/11<0/>ÿ30ÿ63LL,/>CÿN5/.5/0ÿ403?ÿ,-1,>/ÿ30ÿ3<.1,>/ÿ.5/ÿ93?A8-@CÿN,.5ÿ0/1A/=.ÿ.3ÿ8-@ÿA80.,=<680ÿ73.,-B
  >/=,1,3-Cÿ5/ÿ30ÿ15/ÿ153<6>ÿ=3-.8=.ÿ.5/ÿ93?A6,8-=/ÿ^/A80.?/-.ÿA03?A.6@:ÿ\5/ÿ99aÿN,66ÿ<1/ÿ5,1ÿ30ÿ5/0ÿL/1.ÿK<>B?/-.ÿ.3ÿ8>>0/11ÿ8-@ÿ1<=5
  =3-46,=.ÿ34ÿ,-./0/1.ÿ8->ÿ/-1<0/ÿ.58.ÿ,.ÿ,1ÿ0/1367/>ÿ,-ÿ8==30>8-=/ÿN,.5ÿ5,1ÿ30ÿ5/0ÿ,->/A/->/-.ÿ811/11?/-.ÿ34ÿ.5/ÿL/1.ÿ,-./0/1.1ÿ34ÿ.5/ÿ0/6/78-.
  96,/-.1:
        _-ÿ.5/ÿ/7/-.ÿ34ÿ8ÿ=3-46,=.Cÿ.5/ÿ93?A8-@ÿ?8@ÿ=5331/ÿ.3ÿ8>>0/11ÿ1<=5ÿ=3-46,=.ÿL@HÿI,Jÿ73.,-Bÿ,-ÿ8==30>8-=/ÿN,.5ÿ.5/ÿF03E@ÿD>7,130]1
  0/=3??/->8.,3-bÿI,,Jÿ.5/ÿ99aÿ>/./0?,-,-Bÿ53Nÿ.3ÿ73./ÿ.5/ÿA03E@ÿI,4ÿ.5/ÿ99aÿ8AA037/1ÿ>/7,8.,3-ÿ403?ÿ.5/ÿF03E@ÿD>7,130]1
  0/=3??/->8.,3-Cÿ.5/-ÿ.5/ÿ99aÿ15866ÿ>3=<?/-.ÿ.5/ÿ08.,3-86/ÿ430ÿ.5/ÿ73./JbÿI,,,Jÿc/=53ÿ73.,-Bdÿ30ÿc?,0030ÿ73.,-Bdÿ.5/ÿA03E@ÿ,-ÿ.5/ÿ18?/
  A03A30.,3-ÿ81ÿ.5/ÿ73./1ÿ34ÿ3.5/0ÿA03E@ÿ536>/01ÿ.58.ÿ80/ÿ-3.ÿ96,/-.1bÿ30ÿI,7JÿN,.5ÿ0/1A/=.ÿ.3ÿ96,/-.1ÿ3.5/0ÿ.58-ÿe/.8,6ÿf<->1Cÿ-3.,4@,-Bÿ.5/
  844/=./>ÿ96,/-.ÿ34ÿ.5/ÿ?8./0,86ÿ=3-46,=.ÿ34ÿ,-./0/1.ÿ8->ÿ1//`,-Bÿ8ÿN8,7/0ÿ34ÿ.5/ÿ=3-46,=.ÿ30ÿ3L.8,-,-Bÿ1<=5ÿ96,/-.]1ÿ73.,-Bÿ,-1.0<=.,3-1:ÿg5/0/
  .5/ÿ93?A6,8-=/ÿ^/A80.?/-.ÿ>//?1ÿ8AA03A0,8./Cÿ.5,0>ÿA80.,/1ÿ?8@ÿL/ÿ<1/>ÿ.3ÿ5/6Aÿ0/1367/ÿ=3-46,=.1:ÿ_-ÿ.5,1ÿ0/B80>Cÿ.5/ÿ99aÿ30ÿ5,1ÿ30ÿ5/0
  >/6/B8./ÿ15866ÿ587/ÿ.5/ÿA3N/0ÿ.3ÿ0/.8,-ÿ4,><=,80,/1Cÿ=3-1<6.8-.1ÿ30ÿA034/11,3-861ÿ.3ÿ811,1.ÿN,.5ÿ73.,-Bÿ>/=,1,3-1ÿ8->h30ÿ.3ÿ>/6/B8./ÿ73.,-Bÿ30
  =3-1/-.ÿA3N/01ÿ.3ÿ1<=5ÿ4,><=,80,/1Cÿ=3-1<6.8-.1ÿ30ÿA034/11,3-861:
        g5/0/ÿ8ÿ=3-46,=.ÿ34ÿ,-./0/1.ÿ80,1/1ÿN,.5ÿ0/1A/=.ÿ.3ÿ8ÿ73.,-Bÿ>/=,1,3-ÿ430ÿ8ÿe/.8,6ÿf<->Cÿ.5/ÿ93?A8-@ÿ15866ÿ>,1=631/ÿ.5/ÿ=3-46,=.ÿ8->ÿ.5/
  08.,3-86/ÿ430ÿ.5/ÿ73./ÿ.8`/-ÿ.3ÿ.5/ÿe/.8,6ÿf<->]1ÿi380>ÿ34ÿ^,0/=.301h\0<1.//1ÿ8.ÿ.5/ÿ-/E.ÿ0/B<6806@ÿ1=5/><6/>ÿM<80./06@ÿ?//.,-B:ÿ\5/
  93?A6,8-=/ÿ^/A80.?/-.ÿN,66ÿ?8,-.8,-ÿ8ÿ63Bÿ>3=<?/-.,-Bÿ.5/ÿL81,1ÿ430ÿ.5/ÿ>/=,1,3-ÿ8->ÿN,66ÿ4<0-,15ÿ.5/ÿ63Bÿ.3ÿ.5/ÿi380>ÿ34ÿ\0<1.//1:
  jkVZ[TkSÿOPQRSTUVWÿPRÿYQVZ[ZWV
        \5/ÿ43663N,-Bÿ0/68.,3-15,A1ÿ30ÿ=,0=<?1.8-=/1ÿ80/ÿ/E8?A6/1ÿ34ÿ1,.<8.,3-1ÿ.58.ÿ?8@ÿB,7/ÿ0,1/ÿ.3ÿ8ÿ?8./0,86ÿ=3-46,=.ÿ34ÿ,-./0/1.ÿ430
  A<0A31/1ÿ34ÿ.5,1ÿF36,=@:ÿ\5,1ÿ6,1.ÿ,1ÿ-3.ÿ/E=6<1,7/ÿ30ÿ>/./0?,-8.,7/bÿ8-@ÿA3./-.,86ÿ=3-46,=.ÿI,-=6<>,-BÿA8@?/-.1ÿ34ÿ.5/ÿ.@A/1ÿ>/1=0,L/>ÿL/63N
  L<.ÿ6/11ÿ.58-ÿ.5/ÿ1A/=,4,/>ÿ.50/1536>Jÿ153<6>ÿL/ÿ,>/-.,4,/>ÿ.3ÿ.5/ÿ93?A8-@]1ÿ93?A6,8-=/ÿ^/A80.?/-.H
  ÿ
  ÿ I,J \5        0/7
                     /ÿ,11</0ÿ,1ÿ8ÿ96,/-.ÿ34ÿ.5/ÿ93?A8-@Cÿ30ÿ34ÿ8-ÿ844,6,8./Cÿ8==3<-.,-Bÿ430ÿ?30/ÿ.58-ÿlmÿ34ÿ.5/ÿ93?A8-@]1ÿ30ÿ844,6,8./]1ÿ8--<86
                     /-</1:
  ÿ
  ÿ I,,J \5       .5/
                     /ÿ,11</0ÿ,1ÿ8-ÿ/-.,.@ÿ.58.ÿ0/813-8L6@ÿ=3<6>ÿL/ÿ/EA/=./>ÿ.3ÿA8@ÿ.5/ÿ93?A8-@ÿ30ÿ,.1ÿ844,6,8./1ÿ?30/ÿ.58-ÿnoÿ?,66,3-ÿ.503<B5
                     ÿ/->ÿ34ÿ.5/ÿ93?A8-@]1ÿ-/E.ÿ.N3ÿ4<66ÿ4,1=86ÿ@/801:
  ÿ
         I,,,J \5/ÿ,11</0ÿ,1ÿ8-ÿ/-.,.@ÿ,-ÿN5,=5ÿ8ÿc937/0/>ÿF/013-dÿI81ÿ>/4,-/>ÿ,-ÿ.5/ÿ93?A8-@]1ÿF36,=,/1ÿ8->ÿF03=/><0/1ÿ^/1,B-/>ÿ.3
  ÿ               ^/./=.ÿ8->ÿF0/7/-.ÿ_-1,>/0ÿ\08>,-Bÿ8->ÿ.3ÿ93?A6@ÿN,.5ÿe<6/ÿopKqoÿ34ÿ.5/ÿ_-7/1.?/-.ÿ93?A8-@ÿD=.ÿ34ÿorstCÿ81ÿ8?/->/>
                  I.5/ÿc93>/ÿ34ÿu.5,=1dJJÿ581ÿ8ÿL/-/4,=,86ÿ,-./0/1.ÿ=3-.080@ÿ.3ÿ.5/ÿA31,.,3-ÿ5/6>ÿL@ÿ.5/ÿ93?A8-@ÿ3-ÿL/5864ÿ34ÿ96,/-.1:




118781791444553520534401224489                                                                                1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39                Page 341 of 600

    !"#$ÿ&'ÿ(&)*$)*+
         -./0 123ÿ.44536ÿ.4ÿ78ÿ389.9:ÿ.8ÿ;2.<2ÿ78ÿ=>>.<36ÿ=6ÿ?769836ÿ=>ÿ923ÿ@=A?78:ÿ=6ÿ7ÿ63B79./3ÿ=>ÿ78:ÿ45<2ÿ?364=8ÿ.4ÿ=6ÿ;74ÿ78ÿ=>>.<36C
                  D.63<9=6ÿ=6ÿ3A?B=:33Cÿ=6ÿ45<2ÿ?364=8ÿ=6ÿ63B79./3ÿ=9236;.43ÿ274ÿ63<3./3DÿA=63ÿ9278ÿEFGHCHHHÿ.8ÿ>334Cÿ<=A?38479.=8ÿ78Dÿ=9236
  ÿ               ?7:A389ÿ>6=Aÿ923ÿ.44536ÿD56.8Iÿ923ÿ@=A?78:J4ÿB749ÿ92633ÿ>.4<7Bÿ:3764Kÿ?6=/.D3DCÿ2=;3/36Cÿ9279ÿ923ÿ@=A?B.78<3ÿL3?769A389
                  A7:ÿD33Aÿ45<2ÿ7ÿ63B79.=842.?ÿ8=9ÿ9=ÿM3ÿ7ÿA7936.7Bÿ<=8>B.<9ÿ=>ÿ.8936349ÿ.>ÿ923ÿ@=A?78:ÿ63?63438979./3ÿ436/34ÿ74ÿ78ÿ=>>.<36ÿ=6
  ÿ
                  D.63<9=6ÿ=>ÿ923ÿ.44536ÿ79ÿ923ÿD.63<9.=8ÿ=>ÿ923ÿ@=A?78:ÿ>=6ÿ?56?=434ÿ=>ÿ433N.8Iÿ<=896=Bÿ=/36ÿ923ÿ.44536O
         -/0 123ÿA79936ÿ58D36ÿ<=84.D3679.=8ÿ<=5BDÿ6374=87MB:ÿM3ÿ3P?3<93Dÿ9=ÿ6345B9ÿ.8ÿ7ÿA7936.7Bÿ>.878<.7BÿM383>.9ÿ9=ÿ923ÿ@=A?78:ÿ=6ÿ.94
  ÿ               7>>.B.7934ÿ926=5I2ÿ923ÿ38Dÿ=>ÿ923ÿ@=A?78:J4ÿ83P9ÿ9;=ÿ>5BBÿ>.4<7Bÿ:3764ÿ->=6ÿ3P7A?B3Cÿ7ÿ/=93ÿ9=ÿ.8<63743ÿ78ÿ.8/349A389ÿ7D/.4=6:
  ÿ
                  >33ÿ>=6ÿ7ÿQ397.BÿR58Dÿ7D/.43DÿM:ÿ923ÿ@=A?78:ÿ=6ÿ78ÿ7>>.B.7930O
  ÿ -/.0 S8       =8
                     =9236ÿ@B.389ÿ=6ÿ?6=4?3<9./3ÿ@B.389ÿ=>ÿ923ÿ@=A?78:CÿD.63<9B:ÿ=6ÿ.8D.63<9B:Cÿ<=8D.9.=84ÿ>59563ÿ38I7I3A389ÿ=>ÿ923ÿ@=A?78:
                     ÿ/=9.8Iÿ?6=P.34ÿ.8ÿ634?3<9ÿ=>ÿ78:ÿ@B.389J4ÿ43<56.9.34ÿ=8ÿ7ÿ?769.<5B76ÿA79936ÿ.8ÿ7ÿ?769.<5B76ÿ;7:O
  ÿ
  ÿ -/..0 12      D.>
                     3ÿ@=A?78:ÿ2=BD4ÿ/76.=54ÿ<B74434ÿ78Dÿ9:?34ÿ=>ÿ3T5.9:ÿ78DÿD3M9ÿ43<56.9.34ÿ=>ÿ923ÿ47A3ÿ.44536ÿ<=893A?=6783=54B:ÿ.8
                     >36389ÿ@B.389ÿ?=69>=B.=4O
  ÿ
  ÿ -/...0 S8        :ÿ=9236ÿ<.6<5A4978<3ÿ;2363ÿ923ÿ@=A?78:J4ÿD59:ÿ9=ÿ436/3ÿ.94ÿ@B.3894Jÿ.89363494Cÿ9:?.<7BB:ÿ63>3663Dÿ9=ÿ74ÿ.94ÿUD59:ÿ=>
                  B=:7B9:CVÿ<=5BDÿM3ÿ<=A?6=A.43DO
        W=9;.924978D.8Iÿ923ÿ>=63I=.8ICÿ7ÿ<=8>B.<9ÿ=>ÿ.8936349ÿD34<6.M3Dÿ7M=/3ÿ427BBÿ8=9ÿM3ÿ<=84.D363DÿA7936.7Bÿ>=6ÿ923ÿ?56?=434ÿ=>ÿ92.4ÿX=B.<:ÿ.8
  634?3<9ÿ=>ÿ7ÿ4?3<.>.<ÿ/=93ÿ=6ÿ<.6<5A4978<3ÿ.>Y
                     123ÿ43<56.9.34ÿ.8ÿ634?3<9ÿ=>ÿ;2.<2ÿ923ÿ@=A?78:ÿ274ÿ923ÿ?=;36ÿ9=ÿ/=93ÿ7<<=589ÿ>=6ÿB344ÿ9278ÿFZÿ=>ÿ923ÿ.44536J4ÿ=594978D.8I
                     /=9.8Iÿ43<56.9.34CÿM59ÿ=8B:ÿ.>Yÿ-.0ÿ45<2ÿ43<56.9.34ÿD=ÿ8=9ÿ63?634389ÿ=83ÿ=>ÿ923ÿFHÿB76I349ÿ2=BD.8I4ÿ=>ÿ45<2ÿ.44536J4
                     =594978D.8Iÿ/=9.8Iÿ43<56.9.34ÿ78Dÿ-..0ÿ45<2ÿ43<56.9.34ÿD=ÿ8=9ÿ63?634389ÿA=63ÿ9278ÿ[Zÿ=>ÿ923ÿ@B.389J4ÿ2=BD.8I4ÿ;.92ÿ923
                     @=A?78:O
                     123ÿA79936ÿ9=ÿM3ÿ/=93Dÿ=8ÿ63B7934ÿ9=ÿ7ÿ634965<956.8Iÿ=>ÿ923ÿ936A4ÿ=>ÿ3P.49.8Iÿ43<56.9.34ÿ=6ÿ923ÿ.44578<3ÿ=>ÿ83;ÿ43<56.9.34ÿ=6
                     7ÿ4.A.B76ÿA79936ÿ76.4.8Iÿ=59ÿ=>ÿ923ÿ2=BD.8Iÿ=>ÿ43<56.9.34Cÿ=9236ÿ9278ÿ<=AA=8ÿ3T5.9:Cÿ.8ÿ923ÿ<=893P9ÿ=>ÿ7ÿM78N65?9<:ÿ=6
                     926379383DÿM78N65?9<:ÿ=>ÿ923ÿ.44536O
                                                                 \$]&^_`$$ab)c
      R=BB=;.8Iÿ923ÿ45MA.44.=8ÿ=>ÿ7ÿ?6=P:ÿ/=93Cÿ923ÿQ3I.496789ÿ;.BBÿA7.897.8ÿ7ÿ63?=69ÿ=>ÿ923ÿ/=93ÿ78Dÿ7BBÿ63B3/789ÿD=<5A38979.=8O
      123ÿQ3I.496789ÿ427BBÿ6397.8ÿ63<=6D4ÿ63B79.8Iÿ9=ÿ923ÿ/=9.8Iÿ=>ÿ?6=P.34ÿ78Dÿ923ÿ@=A?78:ÿ427BBÿ<=8D5<9ÿD53ÿD.B.I38<3Cÿ.8<B5D.8Iÿ=8ÿX6=P:
  d
  ÿ
   =9
    .8Iÿe36/.<34ÿ78DÿX6=P:ÿSD/.4=64Cÿ74ÿ7??B.<7MB3Cÿ9=ÿ384563ÿ923ÿ>=BB=;.8Iÿ63<=6D4ÿ763ÿ7D3T5793B:ÿA7.897.83DÿM:ÿ923ÿ7??6=?6.793ÿ?769:Y
  ÿ
  ÿ
       -.0 @=?.34ÿ=>ÿ92.4ÿX=B.<:ÿ78Dÿ78:ÿ7A38DA3894ÿ923639=O
  ÿ
  ÿ
       -..0 Sÿ<566389ÿ<=?:ÿ=>ÿ923ÿX6=P:ÿSD/.4=6J4ÿ/=9.8IÿI5.D3B.834Cÿ74ÿ7A38D3DO
       -...0 Sÿ<=?:ÿ=>ÿ37<2ÿ?6=P:ÿ49793A389ÿ9279ÿ923ÿ@=A?78:ÿ63<3./34ÿ63I76D.8Iÿ@B.389ÿ43<56.9.34Oÿ123ÿ@=A?78:ÿA7:ÿ63B:ÿ=8ÿ7ÿ92.6D
  ÿ            ?769:ÿ9=ÿA7N3ÿ78Dÿ6397.8Cÿ=8ÿ923ÿ@=A?78:J4ÿM327B>Cÿ7ÿ<=?:ÿ=>ÿ7ÿ?6=P:ÿ49793A389Cÿ?6=/.D3Dÿ9279ÿ923ÿ@=A?78:ÿ274ÿ=M97.83Dÿ78
  ÿ
               58D3697N.8Iÿ>6=Aÿ923ÿ92.6Dÿ?769:ÿ9=ÿ?6=/.D3ÿ7ÿ<=?:ÿ=>ÿ923ÿ?6=P:ÿ49793A389ÿ?6=A?9B:ÿ5?=8ÿ63T5349O
       -./0 Q3<=6D4ÿ=>ÿ37<2ÿ/=93ÿ<749ÿM:ÿ923ÿ@=A?78:ÿ=8ÿM327B>ÿ=>ÿ@B.3894Oÿ123ÿ@=A?78:ÿA7:ÿ479.4>:ÿ92.4ÿ63T5.63A389ÿM:ÿ63B:.8Iÿ=8ÿ7
  ÿ            92.6Dÿ?769:ÿ9=ÿA7N3ÿ78Dÿ6397.8Cÿ=8ÿ923ÿ@=A?78:J4ÿM327B>Cÿ7ÿ63<=6Dÿ=>ÿ923ÿ/=93ÿ<749Cÿ?6=/.D3Dÿ9279ÿ923ÿ@=A?78:ÿ274ÿ=M97.83D
  ÿ
               78ÿ58D3697N.8Iÿ>6=Aÿ923ÿ92.6Dÿ?769:ÿ9=ÿ?6=/.D3ÿ7ÿ<=?:ÿ=>ÿ923ÿ63<=6Dÿ?6=A?9B:ÿ5?=8ÿ63T5349O
  ÿ -/0 Sÿ     92
                  <=?:ÿ=>ÿ78:ÿD=<5A3894ÿ<63793DÿM:ÿ923ÿ@=A?78:ÿ9279ÿ;363ÿA7936.7Bÿ9=ÿA7N.8Iÿ7ÿD3<.4.=8ÿ2=;ÿ9=ÿ/=93ÿ=6ÿ9279ÿA3A=6.7B.f34
                  3ÿM74.4ÿ>=6ÿ9279ÿD3<.4.=8O
  ÿ
  ÿ -/.0 Sÿ       <=?:ÿ=>ÿ37<2ÿ;6.9938ÿ63T5349ÿ>=6ÿ.8>=6A79.=8ÿ=8ÿ2=;ÿ923ÿ@=A?78:ÿ/=93Dÿ?6=P.34ÿ=8ÿM327B>ÿ=>ÿ923ÿ@B.389Cÿ78Dÿ7ÿ<=?:ÿ=>
               78:ÿ;6.9938ÿ634?=843ÿM:ÿ923ÿ@=A?78:ÿ9=ÿ78:ÿ-=67Bÿ=6ÿ;6.99380ÿ63T5349ÿ>=6ÿ.8>=6A79.=8ÿ=8ÿ2=;ÿ923ÿ@=A?78:ÿ/=93DO




118781791444553520534401224489                                                                              41
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                       6789ÿ 05/24/21
                                                                      Entered        10:22:39               Page 342 of 600

    !"#$ÿ&'ÿ(&)*$)*+
        ,-./.ÿ1.2314/ÿ/-566ÿ7.ÿ859:;59:.4ÿ5:4ÿ<1./.1=.4ÿ9:ÿ5:ÿ.5/96>ÿ522.//976.ÿ<652.ÿ?31ÿ5ÿ<.1934ÿ3?ÿ:3;ÿ6.//ÿ;-5:ÿ?9=.ÿ>.51/ÿ?138ÿ;-.ÿ.:4ÿ3?
  ;-.ÿ@38<5:>A/ÿ?9/256ÿ>.51ÿ4B19:CÿD-92-ÿ;-.ÿ65/;ÿ.:;1>ÿD5/ÿ854.ÿ9:ÿ;-.ÿ1.2314/Eÿ;-.ÿ?91/;ÿ;D3ÿ>.51/ÿ9:ÿ5:ÿ5<<13<195;.ÿ3??92.ÿ3?ÿ;-.ÿ@38<5:>FG
                                                           H)'&IJ$K$)*ÿ&'ÿ*LM+ÿN&#MJO
        P;ÿ/-566ÿ7.ÿ;-.ÿ1./<3:/97969;>ÿ3?ÿ;-.ÿ@38<695:2.ÿQ.<51;8.:;ÿ;3ÿ-5:46.ÿ31ÿ233149:5;.ÿ;-.ÿ.:?312.8.:;ÿ3?ÿ;-9/ÿR3692>Fÿ,-.ÿ@38<695:2.
  Q.<51;8.:;ÿD966ÿ<.193492566>ÿ/58<6.ÿ<13S>ÿ=3;9:Cÿ1.2314/ÿ;3ÿ.:/B1.ÿ;-5;ÿ<13S9./ÿ-5=.ÿ7..:ÿ=3;.4ÿ9:ÿ5223145:2.ÿD9;-ÿ;-9/ÿR3692>EÿD9;-ÿ5
  <51;92B651ÿ?32B/ÿ3:ÿ5:>ÿ<13S>ÿ=3;./ÿ;-5;ÿ1.TB91.ÿ5449;93:56ÿ5:56>/9/ÿU.FCFEÿ<13S9./ÿ=3;.4ÿ23:;151>ÿ;3ÿ;-.ÿ1.2388.:45;93:/ÿ3?ÿ5ÿR13S>
  V4=9/31WF
  ÿ
  ÿ
  Gÿ P?ÿ;-.ÿ@38<5:>ÿ-5/ÿ.//.:;9566>ÿ988.495;.ÿ522.//ÿ;3ÿ5ÿ733Xÿ31ÿ1.2314ÿU3:ÿ;-.ÿ@38<5:>A/ÿ<13<19.;51>ÿ/>/;.8ÿ31ÿ3;-.1D9/.Wÿ;-13BC-ÿ5
     238<B;.1ÿ6325;.4ÿ5;ÿ5:ÿ5<<13<195;.ÿ3??92.ÿ3?ÿ;-.ÿ@38<5:>Eÿ;-.:ÿ;-5;ÿ733Xÿ31ÿ1.2314ÿD966ÿ7.ÿ23:/94.1.4ÿ;3ÿ7.ÿ859:;59:.4ÿ5;ÿ5:
        5<<13<195;.ÿ3??92.ÿ3?ÿ;-.ÿ@38<5:>FÿYP88.495;.ÿ522.//Zÿ;3ÿ733X/ÿ5:4ÿ1.2314/ÿ9:26B4./ÿ;-5;ÿ;-.ÿ@38<5:>ÿ-5/ÿ;-.ÿ57969;>ÿ;3ÿ<13=94.
        <138<;6>ÿ;3ÿ[.2B19;9./ÿ5:4ÿ\S2-5:C.ÿ@3889//93:ÿU;-.ÿY[\@ZWÿ.S589:5;93:ÿ/;5??ÿ-514ÿ23<9./ÿ3?ÿ;-.ÿ733X/ÿ5:4ÿ1.2314/ÿ31ÿ522.//ÿ;3ÿ;-.
        /;315C.ÿ8.49B8Fÿ,-.ÿ<51;>ÿ1./<3:/976.ÿ?31ÿ;-.ÿ5<<692576.ÿ733X/ÿ5:4ÿ1.2314/ÿ5/ÿ4./2197.4ÿ573=.ÿ/-566ÿ56/3ÿ7.ÿ1./<3:/976.ÿ?31ÿ.:/B19:C
        ;-5;ÿ;-3/.ÿ733X/ÿ5:4ÿ1.2314/ÿ?31ÿ;-.ÿ?91/;ÿ;D3ÿ>.51/ÿ51.ÿ.9;-.1ÿ<->/92566>ÿ859:;59:.4ÿ9:ÿ5:ÿ5<<13<195;.ÿ3??92.ÿ3?ÿ;-.ÿ@38<5:>ÿ31ÿ;-5;
        ;-.ÿ@38<5:>ÿ3;-.1D9/.ÿ-5/ÿ.//.:;9566>ÿ988.495;.ÿ522.//ÿ;3ÿ;-.ÿ1.TB91.4ÿ733X/ÿ5:4ÿ1.2314/ÿ?31ÿ;-.ÿ?91/;ÿ;D3ÿ>.51/F
        P?ÿ;-.ÿ@38<695:2.ÿQ.<51;8.:;ÿ4.;.189:./ÿ;-5;ÿ5ÿR13S>ÿV4=9/31ÿ31ÿR13S>ÿ]3;9:Cÿ[.1=92.ÿ85>ÿ-5=.ÿ23889;;.4ÿ5ÿ85;.1956ÿ.1131Eÿ;-.
  @38<695:2.ÿQ.<51;8.:;ÿD966ÿ9:=./;9C5;.ÿ;-.ÿ.1131Eÿ;5X9:Cÿ9:;3ÿ5223B:;ÿ;-.ÿ:5;B1.ÿ3?ÿ;-.ÿ.1131Eÿ5:4ÿ/..Xÿ;3ÿ4.;.189:.ÿD-.;-.1ÿ;-.ÿR13S>
  V4=9/31ÿ31ÿR13S>ÿ]3;9:Cÿ[.1=92.ÿ9/ÿ;5X9:Cÿ1.5/3:576.ÿ/;.</ÿ;3ÿ1.4B2.ÿ/989651ÿ.1131/ÿ9:ÿ;-.ÿ?B;B1.F
        P:ÿ5449;93:Eÿ:3ÿ6.//ÿ?1.TB.:;6>ÿ;-5:ÿ5::B566>Eÿ;-.ÿ@38<695:2.ÿQ.<51;8.:;ÿD966ÿ1.=9.Dÿ;-.ÿ54.TB52>ÿ3?ÿ;-9/ÿR3692>ÿ;3ÿ.:/B1.ÿ;-5;ÿ9;ÿ-5/
  7..:ÿ98<6.8.:;.4ÿ.??.2;9=.6>ÿ5:4ÿ;3ÿ23:?918ÿ;-5;ÿ;-9/ÿR3692>ÿ23:;9:B./ÿ;3ÿ7.ÿ1.5/3:576>ÿ4./9C:.4ÿ;3ÿ.:/B1.ÿ;-5;ÿ<13S9./ÿ51.ÿ=3;.4ÿ9:ÿ;-.
  7./;ÿ9:;.1./;ÿ3?ÿ@69.:;/F
                                                       ^M+J#&+_I$+ÿ*&ÿ(#M$)*+ÿ!)`ÿa)b$+*&I+
        ,-.ÿ@38<5:>ÿ9:26B4./ÿ5ÿ4./219<;93:ÿ3?ÿ9;/ÿ<36929./ÿ5:4ÿ<132.4B1./ÿ1.C5149:Cÿ<13S>ÿ=3;9:Cÿ9:ÿR51;ÿGÿ3?ÿc318ÿVQ]Eÿ563:CÿD9;-ÿ5
  /;5;.8.:;ÿ;-5;ÿ@69.:;/ÿ25:ÿ23:;52;ÿ;-.ÿ@@dÿ;3ÿ37;59:ÿ5ÿ23<>ÿ3?ÿ;-./.ÿ<36929./ÿ5:4ÿ<132.4B1./ÿ5:4ÿ9:?3185;93:ÿ573B;ÿ-3Dÿ;-.ÿ@38<5:>
  =3;.4ÿD9;-ÿ1./<.2;ÿ;3ÿ5ÿ@69.:;A/ÿ/.2B19;9./Fÿ,-9/ÿR3692>ÿ9/Eÿ-3D.=.1Eÿ/B7e.2;ÿ;3ÿ2-5:C.ÿ5;ÿ5:>ÿ;98.ÿD9;-3B;ÿ:3;92.F
        V/ÿ5ÿ85;;.1ÿ3?ÿ<3692>Eÿ;-.ÿ@38<5:>ÿ43./ÿ:3;ÿ49/263/.ÿ-3Dÿ9;ÿ.S<.2;/ÿ;3ÿ=3;.ÿ3:ÿB<2389:Cÿ<13S9./FÿV449;93:566>Eÿ;-.ÿ@38<5:>ÿ43./
  :3;ÿ49/263/.ÿ;-.ÿD5>ÿ9;ÿ=3;.4ÿ<13S9./ÿ;3ÿB:5??9695;.4ÿ;-914ÿ<51;9./ÿD9;-3B;ÿ5ÿ6.C9;985;.ÿ:..4ÿ;3ÿX:3Dÿ/B2-ÿ9:?3185;93:F
  ÿ
  a*$Kÿfg    N&I*'&#M&ÿh!)!i$I+ÿ&'ÿ(#&+$`jH)`ÿh!)!i$K$)*ÿa)b$+*K$)*ÿ(&Kk!)M$+g
  ÿ
  U5WUlWa`$)*M'MJ!*M&)ÿ&'ÿN&I*'&#M&ÿh!)!i$Im+nÿ&Iÿh!)!i$K$)*ÿ$!Kÿh$K"$I+ÿ!)`ÿ^$+JIMk*M&)ÿ&'ÿo&#$ÿ&'ÿN&I*'&#M&ÿh!)!i$Im+nÿ&I
        h!)!i$K$)*ÿ$!Kÿh$K"$I+




118781791444553520534401224489                                                                           51
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39               Page 343 of 600

    !"#$ÿ&'ÿ(&)*$)*+
              ,-.ÿ0.1234567483ÿ9:54;:<2:ÿ=6761.5>ÿ?-:ÿ23ÿ952=652<@ÿ5.39:732A<.ÿ;:5ÿ4-.ÿB6@C4:CB6@ÿ=6761.=.74ÿ:;ÿ4-.ÿ0.1234567483ÿ9:54;:<2:>
              23ÿD6=.3ÿE:7B.5:F
              GHIJKÿMNOPJQNÿRÿS5FÿE:7B.5:ÿ-63ÿ:T.5ÿUVÿ@.653ÿ:;ÿ.W9.52.7X.ÿ27ÿX5.B24ÿ=65Y.43FÿZ7ÿ6BB242:7ÿ4:ÿ-23ÿ5:<.ÿ64ÿ[21-<67Bÿ\69246<
              S6761.=.74ÿ]^7Bÿ_BT23:53>ÿ̀FaFÿbc[\S]_dÿ:5ÿ4-.ÿc_BT23.5de>ÿS5FÿE:7B.5:ÿ23ÿ4-.ÿX:C;:^7B.5ÿ67Bÿa5.32B.74ÿ:;ÿ[21-<67B
              \69246<ÿS6761.=.74>ÿ̀FaFÿ67Bÿf.Wa:274ÿ_BT23:53>ÿ̀FaFÿS5FÿE:7B.5:ÿ-63ÿ:T.5ÿghÿ@.653ÿ:;ÿ.W9.52.7X.ÿ27T.34271ÿ27ÿX5.B24ÿ67B
              .i^24@ÿ=65Y.43ÿ67Bÿ-63ÿ-.<9.Bÿ92:7..5ÿX5.B24ÿ633.4ÿX<633.3Fÿa52:5ÿ4:ÿ;:^7B271ÿ[21-<67Bÿ\69246<ÿS6761.=.74ÿ27ÿjkkg>
              S5FÿE:7B.5:ÿ3.5T.Bÿ63ÿ\-2.;ÿZ7T.34=.74ÿl;;2X.5ÿ:;ÿa5:4.X42T.ÿ̀2;.83ÿmZ\ÿ3^A32B265@ÿ67Bÿ-.<9.Bÿ15:?ÿ4-.ÿA^327.33ÿ;5:=
              X:7X.94ÿ4:ÿ:T.5ÿnUÿA2<<2:7ÿA.4?..7ÿjkokÿ67BÿjkkgFÿ[23ÿ9:54;:<2:ÿ=6761.=.74ÿ.W9.52.7X.ÿ27X<^B.3ÿ=:54161.CA6XY.Bÿ3.X^5242.3>
              27T.34=.74ÿ156B.ÿX:59:564.3>ÿ<.T.561.BÿA67Yÿ<:673>ÿ-21-C@2.<BÿA:7B3>ÿ.=.51271ÿ=65Y.4ÿB.A4>ÿ5.6<ÿ.3464.>ÿB.52T642T.3>ÿ95.;.55.B
              34:XY3ÿ67BÿX:==:7ÿ34:XY3Fÿ]5:=ÿjkoVÿ4:ÿjkok>ÿ-.ÿ=6761.Bÿ6995:W2=64.<@ÿnjÿA2<<2:7ÿ27ÿ;2W.Bÿ27X:=.ÿ;^7B3ÿ;:5ÿ_=.52X67
              pW95.33FÿS5FÿE:7B.5:ÿ5.X.2T.Bÿ6ÿqrÿ27ÿ\:==.5X.ÿb_XX:^74271ÿ67Bÿ]2767X.eÿ;5:=ÿ4-.ÿs72T.5324@ÿ:;ÿt2512726>ÿ67Bÿ23ÿ6
              \.542;2.BÿS6761.526<ÿ_XX:^74674FÿS5FÿE:7B.5:ÿ-63ÿ.657.Bÿ4-.ÿ521-4ÿ4:ÿ^3.ÿ4-.ÿ\-654.5.Bÿ]2767X26<ÿ_76<@34ÿB.3217642:7F
              S5FÿE:7B.5:ÿX^55.74<@ÿ3.5T.3ÿ63ÿ\-625=67ÿ:;ÿf.Wq67Yÿrrqÿ67Bÿ3.5T.3ÿ:7ÿ4-.ÿq:65Bÿ:;ÿE25.X4:53ÿ:;ÿS.45:Cm:<B?@7CS6@.5>
  ÿ
              D.572167ÿ\69246<>ÿZ7XF>ÿ\:57.534:7.ÿ[.6<4-X65.ÿm5:^9>ÿ,.W=65Yÿ,2=A.5ÿ,5.63^5@>ÿ̀FaFÿ67Bÿr.6l7.ÿ[:<B2713>ÿ̀`\F
  b6ebUeu*v$wÿxyy&z)*+ÿ{!)!|$}ÿ"~ÿ&w*'&#&ÿ{!)!|$w+ÿ&wÿ{!)!|$$)*ÿ$!ÿ{$"$wÿ!)}ÿ&*$)*!#ÿ(&)'#y*+ÿ&'ÿ)*$w$+*
              u*v$wÿxyy&z)*+ÿ{!)!|$}ÿ"~ÿ&w*'&#&ÿ{!)!|$w+ÿ&wÿ{!)!|$$)*ÿ$!ÿ{$"$w
              ,-.ÿ;:<<:?271ÿ46A<.ÿ95:T2B.3ÿ27;:5=642:7ÿ6A:^4ÿ;^7B3ÿ67Bÿ6XX:^743>ÿ:4-.5ÿ4-67ÿ4-.ÿ0.12345674>ÿ;:5ÿ?-2X-ÿ4-.ÿ0.1234567483
              9:54;:<2:ÿ=6761.5ÿ23ÿ952=652<@ÿ5.39:732A<.ÿ;:5ÿ4-.ÿB6@C4:CB6@ÿ9:54;:<2:ÿ=6761.=.74ÿ63ÿ:;ÿr.94.=A.5ÿgh>ÿUhjkF
   ÿ
  ÿ                                                                                                   ÿ&'ÿxyy&z)*+         &*!#ÿx++$*+ÿ*vÿ
                                                                                                      {!)!|$}ÿ*vÿÿ        $w'&w!)y$ÿ
                                                                        &*!#                          $w'&w!)y$ÿ              !+$}
                                                                  ÿ&'ÿxyy&zÿ)*+ÿ       &*!#ÿx++$*+ÿ      !+$}             x}+&w~ÿÿ$$ÿ
        ~$ÿ&'ÿxyy&z)*+                                        ÿÿ {!)!|$} ÿÿ            ##&)+ÿÿÿ x}+&w~ÿÿ$$ÿÿÿ        ##&)+ ÿ
       0.1234.5.BÿZ7T.34=.74ÿ\:=9672.3                        ÿÿ ÿ          jUÿÿÿ n U>ghÿÿÿ ÿ                  jÿÿÿ n                khÿ
       l4-.5ÿa::<.BÿZ7T.34=.74ÿt.-2X<.3                       ÿÿ ÿ           Uÿÿÿ n ÿj>hjUÿÿÿ ÿ                 Uÿÿÿ n            ÿj>hjUÿ
       l4-.5ÿ_XX:^743                                         ÿÿ ÿ          Rÿÿÿÿÿ n Rÿÿÿÿÿ ÿ                  Rÿÿÿÿÿ n              Rÿÿÿ
  &*$)*!#ÿ(&)'#y*+ÿ&'ÿ)*$w$+*+
         ,-.ÿ_BT23.5ÿ23ÿ67ÿ6;;2<264.ÿ:;ÿf.Wa:274ÿ_BT23:53>ÿ̀FaFÿbcf.Wa:274deFÿ,-.ÿ_BT23.5ÿ67B:5ÿ243ÿ1.7.56<ÿ96547.5>ÿ<2=24.Bÿ96547.53>ÿ:;;2X.53>
  6;;2<264.3ÿ67Bÿ.=9<:@..3ÿ95:T2B.ÿ27T.34=.74ÿ6BT2X.ÿ4:ÿ:4-.5ÿ96542.3ÿ67Bÿ=6761.ÿ:4-.5ÿ6XX:^743ÿ67Bÿ952T64.ÿ27T.34=.74ÿT.-2X<.3ÿ32=2<65ÿ4:
  4-.ÿ,5^34Fÿ]:5ÿ4-.ÿ9^59:3.3ÿ:;ÿ4-23ÿ3.X42:7>ÿ4-.ÿ4.5=ÿc[21-<67Bdÿ3-6<<ÿ27X<^B.ÿ4-.ÿ_BT23.5ÿ67Bÿ243ÿ6;;2<264.Bÿ27T.34=.74ÿ6BT23:53>ÿ27X<^B271
  [21-<67Bÿ\69246<ÿS6761.=.74>ÿ̀FaFÿ67Bÿ243ÿ6;;2<264.3FÿZ7ÿX:77.X42:7ÿ?24-ÿ3^X-ÿ:4-.5ÿ27T.34=.74ÿ=6761.=.74ÿ6X42T242.3>ÿ4-.ÿ_BT23.5ÿ67B:5
  243ÿ1.7.56<ÿ96547.5>ÿ<2=24.Bÿ96547.53>ÿ:;;2X.53>ÿ6;;2<264.3ÿ67Bÿ.=9<:@..3ÿ=6@ÿB.X2B.ÿ4:ÿ27T.34ÿ4-.ÿ;^7B3ÿ:;ÿ:7.ÿ:5ÿ=:5.ÿ:4-.5ÿ6XX:^743ÿ:5
  5.X:==.7Bÿ4-.ÿ27T.34=.74ÿ:;ÿ;^7B3ÿA@ÿ:4-.5ÿ96542.3>ÿ564-.5ÿ4-67ÿ4-.ÿ0.1234567483ÿ=:72.3>ÿ27ÿ6ÿ96542X^<65ÿ3.X^524@ÿ:5ÿ34564.1@FÿZ7ÿ6BB242:7>ÿ4-.
  _BT23.5ÿ67Bÿ3^X-ÿ:4-.5ÿ9.53:73ÿ?2<<ÿB.4.5=27.ÿ4-.ÿ6<<:X642:7ÿ:;ÿ;^7B3ÿ;5:=ÿ4-.ÿ0.12345674ÿ67Bÿ3^X-ÿ:4-.5ÿ6XX:^743ÿ4:ÿ27T.34=.74ÿ34564.12.3
  67Bÿ4.X-72i^.3ÿ:7ÿ?-64.T.5ÿA6323ÿ4-.@ÿX:732B.5ÿ6995:95264.ÿ:5ÿB.3256A<.ÿ27ÿ4-.25ÿ3:<.ÿ67Bÿ6A3:<^4.ÿB23X5.42:7F




118781791444553520534401224489                                                                                 21
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39                Page 344 of 600

    !"#$ÿ&'ÿ(&)*$)*+
        ,-./0123ÿ/15ÿ67-08ÿ1ÿ9:;<=55-;210ÿ>;:?-2.ÿ=2@-:;2A=28Bÿ1ÿ<-:AC>-3=ÿD;A90-12D=ÿD7087:=ÿ123ÿD;A90-12D=ÿ9:;D=37:=5ÿ123ÿ5E58=A5
  3=5-.2=3ÿ8;ÿ9:;8=D8ÿ1.1-258ÿ9;8=28-10ÿ-2D=28-@=5ÿ8/18ÿA1Eÿ<1@;:ÿ;2=ÿ1DD;728ÿ;@=:ÿ12;8/=:Fÿ,-./0123ÿ/15ÿ13;98=3ÿ9;0-D-=5ÿ123ÿ9:;D=37:=5ÿ8/18
  133:=55ÿ8/=ÿ100;D18-;2ÿ;<ÿ-2@=58A=28ÿ;99;:872-8-=5Bÿ=G=D78-;2ÿ;<ÿ9;:8<;0-;ÿ8:1251D8-;25Bÿ9=:5;210ÿ8:13-2.ÿ6Eÿ=A90;E==5ÿ123ÿ;8/=:ÿ9;8=28-10
  D;2<0-D85ÿ;<ÿ-28=:=58ÿ8/18ÿ1:=ÿ3=5-.2=3ÿ8;ÿ=257:=ÿ8/18ÿ100ÿD0-=28ÿ1DD;7285ÿ1:=ÿ8:=18=3ÿ=H7-8160Eÿ;@=:ÿ8-A=FÿI=@=:8/=0=55Bÿ,-./0123ÿ<7:2-5/=5
  13@-5;:Eÿ5=:@-D=5ÿ8;ÿ27A=:;75ÿD0-=285ÿ-2ÿ133-8-;2ÿ8;ÿ8/=ÿJ=.-58:128Bÿ123ÿ,-./0123ÿA1EBÿD;25-58=28ÿ>-8/ÿ1990-D160=ÿ01>BÿA1?=ÿ-2@=58A=28
  :=D;AA=2318-;25ÿ8;ÿ;8/=:ÿD0-=285ÿ;:ÿ1DD;7285ÿK-2D073-2.ÿ1DD;7285ÿ8/18ÿ/1@=ÿ9=:<;:A12D=ÿ;:ÿ/-./=:ÿ<==5ÿ91-3ÿ8;ÿ,-./0123ÿ;:ÿ-2ÿ>/-D/
  9;:8<;0-;ÿA121.=:5ÿ/1@=ÿ1ÿ9=:5;210ÿ-28=:=58ÿ-2ÿ8/=ÿ:=D=-98ÿ;<ÿ57D/ÿ<==5Lÿ8/18ÿA1Eÿ6=ÿ8/=ÿ51A=ÿ15ÿ;:ÿ3-<<=:=28ÿ<:;Aÿ8/;5=ÿA13=ÿ8;ÿ8/=
  J=.-58:128FÿM2ÿ133-8-;2Bÿ,-./0123Bÿ-85ÿ1<<-0-18=5ÿ123ÿ12Eÿ;<ÿ8/=-:ÿ91:82=:5Bÿ3-:=D8;:5Bÿ;<<-D=:5Bÿ58;D?/;03=:5ÿ;:ÿ=A90;E==5ÿA1Eÿ;:ÿA1Eÿ2;8ÿ/1@=
  12ÿ-28=:=58ÿ-2ÿ8/=ÿ5=D7:-8-=5ÿ>/;5=ÿ97:D/15=ÿ123ÿ510=ÿ8/=ÿN3@-5=:ÿ:=D;AA=235ÿ8;ÿ8/=ÿJ=.-58:128FÿND8-;25ÿ>-8/ÿ:=59=D8ÿ8;ÿ5=D7:-8-=5ÿ;<ÿ8/=
  51A=ÿ?-23ÿA1Eÿ6=ÿ8/=ÿ51A=ÿ15ÿ;:ÿ3-<<=:=28ÿ<:;Aÿ8/=ÿ1D8-;2ÿ8/18ÿ8/=ÿN3@-5=:Bÿ;:ÿ12Eÿ;<ÿ-85ÿ1<<-0-18=5Bÿ;:ÿ12Eÿ;<ÿ8/=-:ÿ91:82=:5Bÿ3-:=D8;:5B
  ;<<-D=:5Bÿ58;D?/;03=:5ÿ;:ÿ=A90;E==5ÿ;:ÿ12EÿA=A6=:ÿ;<ÿ8/=-:ÿ<1A-0-=5ÿA1Eÿ81?=ÿ>-8/ÿ:=59=D8ÿ8;ÿ8/=ÿ51A=ÿ5=D7:-8-=5FÿO;:=;@=:Bÿ8/=ÿN3@-5=:
  A1Eÿ:=<:1-2ÿ<:;Aÿ:=23=:-2.ÿ12Eÿ13@-D=ÿ;:ÿ5=:@-D=5ÿD;2D=:2-2.ÿ5=D7:-8-=5ÿ;<ÿD;A912-=5ÿ;<ÿ>/-D/ÿ12Eÿ;<ÿ8/=ÿN3@-5=:P5ÿK;:ÿ-85ÿ1<<-0-18=5PL
  91:82=:5Bÿ3-:=D8;:5Bÿ;<<-D=:5ÿ;:ÿ=A90;E==5ÿ1:=ÿ3-:=D8;:5ÿ;:ÿ;<<-D=:5Bÿ;:ÿD;A912-=5ÿ15ÿ8;ÿ>/-D/ÿ8/=ÿN3@-5=:ÿ;:ÿ12Eÿ;<ÿ-85ÿ1<<-0-18=5ÿ;:ÿ91:82=:5B
  3-:=D8;:5Bÿ;<<-D=:5ÿ123ÿ=A90;E==5ÿ;<ÿ12Eÿ;<ÿ8/=Aÿ/15ÿ12Eÿ57658128-10ÿ=D;2;A-Dÿ-28=:=58ÿ;:ÿ9;55=55=5ÿA18=:-10ÿ2;2C9760-Dÿ-2<;:A18-;2FÿM2
  133-8-;2ÿ8;ÿ-85ÿ@1:-;75ÿ9;0-D-=5ÿ123ÿ9:;D=37:=5ÿ3=5-.2=3ÿ8;ÿ133:=55ÿ8/=5=ÿ-557=5Bÿ,-./0123ÿ-2D073=5ÿ3-5D0;57:=ÿ:=.1:3-2.ÿ8/=5=ÿA188=:5ÿ8;ÿ-85
  D0-=285ÿ-2ÿ6;8/ÿ-85ÿQ;:AÿNRSÿ123ÿ-2@=58A=28ÿ13@-5;:Eÿ1.:==A=285F
        T/=ÿN3@-5=:Bÿ-85ÿ1<<-0-18=5ÿ;:ÿ8/=-:ÿ91:82=:5Bÿ3-:=D8;:5Bÿ;<<-D=:5ÿ;:ÿ=A90;E==5ÿ5-A-01:0Eÿ5=:@=ÿ;:ÿA1Eÿ5=:@=ÿ;8/=:ÿ=28-8-=5ÿ8/18ÿ;9=:18=ÿ-2
  8/=ÿ51A=ÿ;:ÿ:=018=3ÿ0-2=5ÿ;<ÿ675-2=55Bÿ-2D073-2.ÿ1DD;7285ÿA121.=3ÿ6Eÿ12ÿ-2@=58A=28ÿ13@-5=:ÿ1<<-0-18=3ÿ>-8/ÿ8/=ÿN3@-5=:FÿNDD;:3-2.0EBÿ8/=5=
  -23-@-37105ÿA1Eÿ/1@=ÿ;60-.18-;25ÿ8;ÿ-2@=58;:5ÿ-2ÿ8/;5=ÿ=28-8-=5ÿ;:ÿ<7235ÿ;:ÿ8;ÿ;8/=:ÿD0-=285Bÿ8/=ÿ<70<-00A=28ÿ;<ÿ>/-D/ÿA-./8ÿ2;8ÿ6=ÿ-2ÿ8/=ÿ6=58
  -28=:=585ÿ;<ÿ8/=ÿJ=.-58:128FÿN5ÿ1ÿ:=5708Bÿ8/=ÿN3@-5=:ÿ>-00ÿ<1D=ÿD;2<0-D85ÿ-2ÿ8/=ÿ100;D18-;2ÿ;<ÿ-2@=58A=28ÿ;99;:872-8-=5ÿ8;ÿ8/=ÿJ=.-58:128ÿ123
  ;8/=:ÿ<7235ÿ123ÿD0-=285FÿM2ÿ;:3=:ÿ8;ÿ=2160=ÿ57D/ÿ1<<-0-18=5ÿ8;ÿ<70<-00ÿ8/=-:ÿ<-37D-1:Eÿ378-=5ÿ8;ÿ=1D/ÿ;<ÿ8/=ÿD0-=285ÿ<;:ÿ>/-D/ÿ8/=Eÿ/1@=
  :=59;25-6-0-8EBÿ8/=ÿN3@-5=:ÿ>-00ÿ=23=1@;:ÿ8;ÿ100;D18=ÿ-2@=58A=28ÿ;99;:872-8-=5ÿ-2ÿ1ÿ<1-:ÿ123ÿ=H7-8160=ÿA122=:Bÿ97:57128ÿ8;ÿ9;0-D-=5ÿ123
  9:;D=37:=5ÿ13;98=3ÿ6Eÿ8/=ÿN3@-5=:ÿ123ÿ-85ÿ13@-5;:Eÿ1<<-0-18=5ÿ8/18ÿ1:=ÿ3=5-.2=3ÿ8;ÿA121.=ÿ9;8=28-10ÿD;2<0-D85ÿ;<ÿ-28=:=58Bÿ>/-D/ÿA1EBÿ576U=D8
  8;ÿ1990-D160=ÿ:=.7018;:EÿD;258:1-285Bÿ-2@;0@=ÿ9:;ÿ:181ÿD;C-2@=58A=28ÿ6Eÿ8/=ÿ<7235ÿ123ÿ57D/ÿ;8/=:ÿD0-=285ÿ;:ÿA1Eÿ-2@;0@=ÿ1ÿ:;818-;2ÿ;<
  ;99;:872-8-=5ÿ1A;2.ÿ8/=ÿ<7235ÿ123ÿ57D/ÿ;8/=:ÿD0-=285FÿT/=ÿJ=.-58:128ÿ>-00ÿ;20EÿA1?=ÿ-2@=58A=285ÿ-2ÿ>/-D/ÿ8/=ÿN3@-5=:ÿ;:ÿ12ÿ1<<-0-18=ÿ/;03
  12ÿ-28=:=58ÿ8;ÿ8/=ÿ=G8=28ÿ9=:A-88=3ÿ723=:ÿ8/=ÿVWXYÿND8ÿ123ÿZ[\ÿ581<<ÿ-28=:9:=818-;25ÿ;:ÿ97:57128ÿ8;ÿ8/=ÿ8=:A5ÿ123ÿD;23-8-;25ÿ;<ÿ8/=ÿ=G=A98-@=
  ;:3=:ÿ:=D=-@=3ÿ6Eÿ8/=ÿN3@-5=:ÿ123ÿD=:81-2ÿ<7235ÿ1<<-0-18=3ÿ>-8/ÿ8/=ÿJ=.-58:128Bÿ318=3ÿN9:-0ÿVWBÿ]YV^FÿQ;:ÿ=G1A90=Bÿ=G=A98-@=ÿ:=0-=<ÿ-5ÿ2;8
  :=H7-:=3ÿ<;:ÿ8/=ÿJ=.-58:128ÿ8;ÿ-2@=58ÿ-2ÿ5E23-D18=3ÿ3=105ÿ123ÿ5=D;231:Eÿ0;12ÿA1:?=8ÿ8:1251D8-;25ÿ-2ÿ>/-D/ÿ8/=ÿN3@-5=:ÿ;:ÿ12ÿ1<<-0-18=ÿ/15ÿ12
  -28=:=58ÿ>/=:=ÿ9:-D=ÿ-5ÿ8/=ÿ;20Eÿ2=.;8-18=3ÿ9;-28FÿT/=ÿ;:3=:ÿ1990-=5ÿ8;ÿ100ÿ_M2@=58A=28ÿ\;A912-=5B̀ÿ>/-D/ÿ-2D073=5ÿ<787:=ÿD0;5=3C=23
  -2@=58A=28ÿD;A912-=5ÿ:=.-58=:=3ÿ723=:ÿ8/=ÿVWXYÿND8ÿ8/18ÿ1:=ÿA121.=3ÿ6Eÿ8/=ÿN3@-5=:Bÿ>/-D/ÿ-2D073=5ÿ8/=ÿJ=.-58:128FÿT/=ÿJ=.-58:128B
  8/=:=<;:=BÿA1Eÿ-2ÿ8/=ÿ<787:=ÿ-2@=58ÿ-2ÿ1DD;:312D=ÿ>-8/ÿ8/=ÿ8=:A5ÿ123ÿD;23-8-;25ÿ;<ÿ8/=ÿ=G=A98-@=ÿ;:3=:FÿT;ÿA-8-.18=ÿ12Eÿ1D8710ÿ;:ÿ9=:D=-@=3
  D;2<0-D85ÿ;<ÿ-28=:=58Bÿ100;D18-;2ÿ;<ÿ0-A-8=3ÿ;<<=:-2.ÿ5=D7:-8-=5ÿK57D/ÿ15ÿMab5ÿ123ÿ:=.-58=:=3ÿ5=D;231:Eÿ;<<=:-2.5Lÿ8;ÿ9:-2D-910ÿ1DD;7285ÿ8/18ÿ3;
  2;8ÿ-2D073=ÿ8/-:3ÿ91:8Eÿ-2@=58;:5ÿA1Eÿ;20Eÿ6=ÿA13=ÿ1<8=:ÿ100ÿ;8/=:ÿD0-=28ÿ1DD;728ÿ;:3=:5ÿ<;:ÿ8/=ÿ5=D7:-8Eÿ/1@=ÿ6==2ÿ<-00=3Fÿ,;>=@=:Bÿ8/=:=ÿD12
  6=ÿ2;ÿ1557:12D=ÿ8/18ÿ57D/ÿ9;0-D-=5ÿ123ÿ9:;D=37:=5ÿ>-00ÿ-2ÿ=@=:EÿD15=ÿ=257:=ÿ<1-:ÿ123ÿ=H7-8160=ÿ100;D18-;25ÿ;<ÿ-2@=58A=28ÿ;99;:872-8-=5B
  91:8-D701:0Eÿ>/=2ÿD;25-3=:=3ÿ-2ÿ/-235-./8F
        \;2<0-D85ÿA1Eÿ1:-5=ÿ-2ÿD15=5ÿ>/=2ÿD0-=285ÿ-2@=58ÿ-2ÿ3-<<=:=28ÿ91:85ÿ;<ÿ12ÿ-557=:P5ÿD19-810ÿ58:7D87:=Bÿ-2D073-2.ÿD-:D7A5812D=5ÿ-2ÿ>/-D/
  ;2=ÿ;:ÿA;:=ÿD0-=285ÿ;>2ÿ9:-@18=ÿ5=D7:-8-=5ÿ;:ÿ;60-.18-;25ÿ;<ÿ12ÿ-557=:ÿ123ÿ;8/=:ÿD0-=285ÿA1Eÿ;>2ÿ9760-Dÿ5=D7:-8-=5ÿ;<ÿ8/=ÿ51A=ÿ-557=:FÿM2
  133-8-;2Bÿ;2=ÿ;:ÿA;:=ÿD0-=285ÿA1Eÿ-2@=58ÿ-2ÿ5=D7:-8-=5Bÿ;:ÿ;8/=:ÿ<-212D-10




118781791444553520534401224489                                                                               31
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                         6789ÿ 05/24/21
                                                                        Entered        10:22:39                Page 345 of 600

  !"#$%ÿ'(ÿ)'*+%*+,
  -./01234.0/5ÿ78ÿ9.ÿ-//241ÿ0:90ÿ914ÿ/4.-71ÿ71ÿ;2.-71ÿ07ÿ/4<21-0-4/5ÿ71ÿ8-.9.<-9=ÿ-./01234.0/5ÿ78ÿ0:4ÿ/934ÿ-//241ÿ0:90ÿ914ÿ:4=>ÿ?@ÿ71ÿ9<A2-14>ÿ8715
  7.4ÿ71ÿ3714ÿ70:41ÿ<=-4.0/BÿC71ÿ4D93E=45ÿ-8ÿ/2<:ÿ-//241ÿ4.<72.041/ÿ8-.9.<-9=ÿE17?=43/5ÿ>4<-/-7./ÿ14=904>ÿ07ÿ/2<:ÿ/4<21-0-4/ÿF/2<:ÿ9/ÿ7G41ÿ0:4
  0413/ÿ78ÿ9.@ÿH71I720ÿ71ÿE17E7/4>ÿH9-G41/ÿ9.>ÿ934.>34.0/ÿ07ÿ>4?0ÿ<7G4.9.0/Jÿ39@ÿ19-/4ÿ<7.8=-<0/ÿ78ÿ-.0414/0/BÿK.ÿ/2<:ÿ9ÿ>-/014//4>
  /-0290-7.5ÿ9ÿ<=-4.0ÿ:7=>-.Lÿ>4?0ÿ/4<21-0-4/ÿ78ÿ0:4ÿ-//241ÿ39@ÿ?4ÿ?40041ÿ/41G4>ÿ?@ÿ9ÿ=-A2->90-7.ÿ78ÿ0:4ÿ-//241ÿ-.ÿH:-<:ÿ-0ÿ39@ÿ?4ÿE9->ÿ-.ÿ82==5
  H:4149/ÿ9ÿ<=-4.0ÿ:7=>-.Lÿ4A2-0@ÿ/4<21-0-4/ÿ78ÿ0:4ÿ-//241ÿ3-L:0ÿE14841ÿ9ÿ1471L9.-M90-7.ÿ0:90ÿ:7=>/ÿ0:4ÿE704.0-9=ÿ07ÿ<14904ÿG9=24ÿ871ÿ0:4ÿ4A2-0@
  :7=>41/BÿK.ÿ0:4ÿ4G4.0ÿ78ÿ<7.8=-<0-.Lÿ-.0414/0/ÿH-0:-.ÿ9.ÿ-//241N/ÿ<9E-09=ÿ/012<02145ÿO-L:=9.>ÿH-==ÿL4.419==@ÿE21/24ÿ0:4ÿ/01904L@ÿ0:90ÿO-L:=9.>
  ?4=-4G4/ÿ?4/0ÿ148=4<0/ÿH:90ÿH72=>ÿ?4ÿ4DE4<04>ÿ07ÿ?4ÿ.4L70-904>ÿ-.ÿ9.ÿ913N/ÿ=4.L0:ÿ019./9<0-7.ÿH-0:ÿ>24ÿ<7./->4190-7.ÿ?4-.LÿL-G4.ÿ07
  O-L:=9.>N/ÿ8->2<-91@ÿ>20-4/ÿ07ÿ49<:ÿ78ÿ-0/ÿ9<<72.0/ÿFH-0:720ÿ14L91>ÿ07ÿ0:4ÿ.90214ÿ78ÿ0:4ÿ9<<72.0/ÿ-.G7=G4>ÿ71ÿ844/ÿ14<4-G4>ÿ8173ÿ/2<:
  9<<72.0/JBÿP:-/ÿ/01904L@ÿ39@ÿ?4ÿ14<7334.>4>ÿ?@ÿ7.4ÿ71ÿ3714ÿO-L:=9.>ÿ-.G4/034.0ÿE1784//-7.9=/BÿQÿ/-.L=4ÿE41/7.ÿ39@ÿ14E14/4.0ÿ3714ÿ0:9.
  7.4ÿE910ÿ78ÿ9.ÿ-//241N/ÿ<9E-09=ÿ/012<0214BÿP:4ÿ14<7334.>4>ÿ<721/4ÿ78ÿ9<0-7.ÿH-==ÿ?4ÿE14/4.04>ÿ07ÿ0:4ÿ<7.8=-<0/ÿ<733-0044ÿ871ÿ8-.9=
  >40413-.90-7.ÿ9/ÿ07ÿ:7Hÿ07ÿE17<44>BÿO-L:=9.>ÿ39@ÿ4=4<05ÿ?20ÿ-/ÿ.70ÿ14A2-14>5ÿ07ÿ9//-L.ÿ>-88414.0ÿ0493/ÿ07ÿ39I4ÿ14<7334.>90-7./ÿ871
  >-88414.0ÿE910/ÿ78ÿ0:4ÿ<9E-09=ÿ/012<0214ÿ9/ÿ0:4ÿ<7.8=-<0/ÿ<733-0044ÿ>40413-.4/ÿ-.ÿ-0/ÿ>-/<140-7.BÿK.ÿ0:4ÿ4G4.0ÿ9.@ÿO-L:=9.>ÿE41/7..4=ÿ/41G4ÿ7.
  0:4ÿ?791>ÿ78ÿ0:4ÿ/2?;4<0ÿ<73E9.@5ÿ0:4@ÿL4.419==@ÿ14<2/4ÿ0:43/4=G4/ÿ8173ÿG70-.Lÿ7.ÿ9.@ÿ?791>ÿ390041ÿH-0:ÿ14/E4<0ÿ07ÿ9ÿ019./9<0-7.ÿ0:90ÿ:9/
  9.ÿ9/@33401-<9=ÿ-3E9<0ÿ7.ÿ0:4ÿ<9E-09=ÿ/012<0214BÿO-L:=9.>ÿE41/7..4=ÿ?791>ÿ343?41/ÿ39@ÿ/0-==ÿ39I4ÿ14<7334.>90-7./ÿ07ÿ0:4ÿ<7.8=-<0/
  <733-0044BÿK8ÿ9.@ÿ/2<:ÿE41/7./ÿ914ÿ9=/7ÿ7.ÿ0:4ÿ<7.8=-<0/ÿ<733-00445ÿ0:4@ÿ39@ÿ14<2/4ÿ0:43/4=G4/ÿ8173ÿ0:4ÿ<733-0044N/ÿ>40413-.90-7.BÿQ
  E71087=-7ÿ39.9L41ÿH-0:ÿ14/E4<0ÿ07ÿ9.@ÿ9EE=-<9?=4ÿO-L:=9.>ÿ14L-/0414>ÿ-.G4/034.0ÿ<73E9.@ÿ<=-4.0/ÿFRS409-=ÿQ<<72.0/TJÿE910-<-E904/ÿ-.ÿ/2<:
  >-/<2//-7./5ÿ?20ÿ39I4/ÿ9.ÿ-.>4E4.>4.0ÿ>40413-.90-7.ÿ9/ÿ07ÿH:-<:ÿ<721/4ÿ78ÿ9<0-7.ÿ:4ÿ71ÿ/:4ÿ>40413-.4/ÿ-/ÿ-.ÿ0:4ÿ?4/0ÿ-.0414/0ÿ78ÿ0:4
  9EE=-<9?=4ÿS409-=ÿQ<<72.0/BÿO-L:=9.>ÿ39@ÿ2/4ÿ4D041.9=ÿ<72./4=ÿ871ÿL2->9.<4ÿ9.>ÿ9//-/09.<4B
        P:4ÿQ>G-/41ÿ9.>ÿ-0/ÿ988-=-904/ÿ:9G4ÿ?70:ÿ/2?;4<0-G4ÿ9.>ÿ7?;4<0-G4ÿE17<4>214/ÿ9.>ÿE7=-<-4/ÿ-.ÿE=9<4ÿ>4/-L.4>ÿ07ÿ39.9L4ÿE704.0-9=
  <7.8=-<0/ÿ78ÿ-.0414/0ÿ-.G7=G-.Lÿ<=-4.0/ÿ/7ÿ0:905ÿ871ÿ4D93E=45ÿ-.G4/034.0ÿ7EE7102.-0-4/ÿ914ÿ9==7<904>ÿ-.ÿ9ÿ89-1ÿ9.>ÿ4A2-09?=4ÿ39..41ÿ937.Lÿ0:4
  S4L-/019.0ÿ9.>ÿ/2<:ÿ70:41ÿ<=-4.0/BÿQ.ÿ-.G4/034.0ÿ7EE7102.-0@ÿ0:90ÿ-/ÿ/2-09?=4ÿ871ÿ32=0-E=4ÿ<=-4.0/ÿ78ÿ0:4ÿQ>G-/41ÿ9.>ÿ-0/ÿ988-=-904/ÿ39@ÿ.70ÿ?4
  <9E9?=4ÿ78ÿ?4-.Lÿ/:914>ÿ937.Lÿ/734ÿ71ÿ9==ÿ78ÿ/2<:ÿ<=-4.0/ÿ>24ÿ07ÿ0:4ÿ=-3-04>ÿ/<9=4ÿ78ÿ0:4ÿ7EE7102.-0@ÿ71ÿ70:41ÿ89<071/5ÿ-.<=2>-.Lÿ14L2=9071@
  14/01-<0-7./ÿ-3E7/4>ÿ?@ÿ0:4ÿUVWXÿQ<0BÿP:414ÿ<9.ÿ?4ÿ.7ÿ9//219.<4ÿ0:90ÿ0:4ÿQ>G-/41N/ÿ71ÿ-0/ÿ988-=-904/Nÿ488710/ÿ07ÿ9==7<904ÿ9.@ÿE910-<2=91
  -.G4/034.0ÿ7EE7102.-0@ÿ89-1=@ÿ937.Lÿ9==ÿ<=-4.0/ÿ871ÿH:73ÿ/2<:ÿ7EE7102.-0@ÿ-/ÿ9EE17E1-904ÿH-==ÿ14/2=0ÿ-.ÿ9.ÿ9==7<90-7.ÿ78ÿ9==ÿ71ÿE910ÿ78ÿ/2<:
  7EE7102.-0@ÿ07ÿ0:4ÿS4L-/019.0BÿY70ÿ9==ÿ<7.8=-<0/ÿ78ÿ-.0414/0ÿ<9.ÿ?4ÿ4DE4<04>ÿ07ÿ?4ÿ14/7=G4>ÿ-.ÿ89G71ÿ78ÿ0:4ÿS4L-/019.0B
  ÿ
  F9JFZJ)'[\%*,"+]'*ÿ^+_`a+`_%ÿ'(ÿb'_+('$]'ÿc"*"d%_e,fÿ'_ÿc"*"d%[%*+ÿ!%"[ÿc%[#%_,
        OghCQN/ÿ8-.9.<-9=ÿ9119.L434.0/ÿH-0:ÿ-0/ÿE71087=-7ÿ39.9L41/5ÿ-0/ÿ<73E40-0-G4ÿ<73E4./90-7.ÿ9.>ÿ-0/ÿ<91441ÿE90:ÿ43E:9/-/ÿ90ÿ9==ÿ=4G4=/
  148=4<0ÿ0:4ÿG9=24ÿ/4.-71ÿ39.9L434.0ÿE=9<4/ÿ7.ÿI4@ÿ14/721<4/Bÿg73E4./90-7.ÿ39@ÿ-.<=2>4ÿ9ÿG91-40@ÿ78ÿ<73E7.4.0/ÿ9.>ÿ39@ÿG91@ÿ8173ÿ@491
  07ÿ@491ÿ?9/4>ÿ7.ÿ9ÿ.23?41ÿ78ÿ89<071/5ÿ-.<=2>-.Lÿ0:4ÿ14=90-G4ÿE4187139.<4ÿ78ÿ9ÿE71087=-7ÿ39.9L41N/ÿ2.>41=@-.Lÿ9<<72.05ÿ0:4ÿ<73?-.4>
  E4187139.<4ÿ78ÿ0:4ÿE71087=-7ÿ39.9L41/Nÿ2.>41=@-.Lÿ9<<72.0/5ÿ9.>ÿ0:4ÿ14=90-G4ÿE4187139.<4ÿ78ÿ0:4ÿE71087=-7ÿ39.9L41/Nÿ2.>41=@-.Lÿ9<<72.0/
  349/214>ÿ9L9-./0ÿ70:41ÿ43E=7@44/BÿP:4ÿE1-.<-E9=ÿ<73E7.4.0/ÿ78ÿ<73E4./90-7.ÿ-.<=2>4ÿ9ÿ?9/4ÿ/9=91@5ÿ9ÿ>-/<140-7.91@ÿ?7.2/ÿ9.>ÿG91-72/
  140-1434.0ÿ?4.48-0/B
        ijklÿnopqlrkjstorBÿu4.419==@5ÿE71087=-7ÿ39.9L41/ÿ14<4-G4ÿ?9/4ÿ<73E4./90-7.ÿ?9/4>ÿ7.ÿ0:4-1ÿ/4.-71-0@ÿ9.>v71ÿ0:4-1ÿE7/-0-7.ÿH-0:
  OghCQ5ÿH:-<:ÿ39@ÿ-.<=2>4ÿ0:4ÿ9372.0ÿ78ÿ9//40/ÿ/2E41G-/4>ÿ9.>ÿ70:41ÿ39.9L434.0ÿ17=4/ÿH-0:-.ÿOghCQBÿw9/4ÿ<73E4./90-7.ÿ-/
  >40413-.4>ÿ?@ÿ09I-.Lÿ-.07ÿ9<<72.0ÿ<2114.0ÿ-.>2/01@ÿ.713/ÿ9.>ÿ391I40ÿ>909ÿ07ÿ4./214ÿ0:90ÿOghCQÿE9@/ÿ9ÿ<73E40-0-G4ÿ?9/4ÿ<73E4./90-7.B
        xtknylstorjyzÿnopqlrkjstorBÿK.ÿ9>>-0-7.ÿ07ÿ?9/4ÿ<73E4./90-7.5ÿE71087=-7ÿ39.9L41/ÿ39@ÿ14<4-G4ÿ>-/<140-7.91@ÿ<73E4./90-7.5ÿH:-<:
  <9.ÿ?4ÿ9ÿ/2?/09.0-9=ÿE710-7.ÿ78ÿ0709=ÿ<73E4./90-7.Bÿ{-/<140-7.91@ÿ<73E4./90-7.ÿ<9.ÿ-.<=2>4ÿ9ÿ>-/<140-7.91@ÿ<9/:ÿ?7.2/ÿE9->ÿ07ÿ14<7L.-M4
  /E4<-8-<ÿ?2/-.4//ÿ<7.01-?20-7./ÿ9.>ÿ07ÿ4./214ÿ0:90ÿ0:4ÿ0709=ÿ=4G4=ÿ78ÿ<73E4./90-7.ÿ-/ÿ<73E40-0-G4ÿH-0:ÿ0:4ÿ391I40B




118781791444553520534401224489                                                                                1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                               6789ÿ 05/24/21
                                                                              Entered        10:22:39                      Page 346 of 600

   !"#$ÿ&'ÿ(&)*$)*+
        ,-./01-ÿ-/.3ÿ4-516781ÿ.694-71/:;67ÿ;1ÿ</1-=ÿ67ÿ3;1ÿ65ÿ3-5ÿ;7=;>;=0/?ÿ4-5@659/7.-AÿBCDEFÿ=6-1ÿ76:ÿ3/>-ÿ/ÿ:G4;./?ÿ4-5.-7:/H-ÿ14?;:
  /967Hÿ</1-ÿ1/?/5GAÿ<6701ÿ/7=ÿ6:3-5ÿ.694-71/:;67IÿJ-7;65ÿ465:@6?;6ÿ9/7/H-51ÿK36ÿ4-5@659ÿ/==;:;67/?ÿ9/7/H-9-7:ÿ@07.:;671ÿ9/Gÿ5-.-;>-
  /==;:;67/?ÿ.694-71/:;67ÿ;7ÿ:3-1-ÿ6:3-5ÿ./4/.;:;-1IÿC694-71/:;67ÿ;1ÿ1:50.:05-=ÿ10.3ÿ:3/:ÿL-Gÿ456@-11;67/?1ÿ<-7-@;:ÿ@569ÿ5-9/;7;7HÿK;:3
  BCDEFI
  ÿ
  M/NMONP;1.?6105-ÿ6@ÿJ-.05;:;-1ÿQK7-513;4
       R3-ÿ@6??6K;7Hÿ:/<?-ÿ1-:1ÿ@65:3ÿ:3-ÿ=6??/5ÿ5/7H-ÿ6@ÿ-S0;:Gÿ1-.05;:;-1ÿ<-7-@;.;/??Gÿ6K7-=ÿ<Gÿ:3-ÿ465:@6?;6ÿ9/7/H-5ÿ;7ÿ:3-ÿT-H;1:5/7:ÿ/1ÿ6@
  J-4:-9<-5ÿUVAÿWVXYI
  ÿ                                                                                      a&##!]ÿb!)`$+ÿ&'ÿcde^*fÿg$he]^*^$+ÿi$)$'^h^!##fÿ
                                                                                                           jk)$lÿ"f
                        Z![$ÿ&'ÿ\&]*'&#^&ÿ_!)!`$]                ÿÿ                                   \&]*'&#^&ÿ_!)!ÿ`$]
                    m/9-1ÿP67=-56                                ÿÿ                                   Q>-5ÿnXAVVVAVVV
  ÿ
  M<N o6:ÿ/44?;./<?-I
  ÿ
  p*$[ÿqr     \e]hs!+$+ÿ&'ÿcde^*fÿg$he]^*^$+ÿ"fÿ(#&+$ltc)lÿ_!)!`$[$)*ÿp)u$+*[$)*ÿ(&[v!)fÿ!)lÿw''^#^!*$lÿ\e]hs!+$]+r
  ÿ                                                                                      xhyÿ&*!#ÿZe["$]ÿ&' xlyÿwvv]&{^[!*$ÿa&##!]
                                                                x!yÿ&*!#ÿ                gs!]$+ÿ\e]hs!+$lÿ!+ÿÿ |!#e$ÿ&'ÿgs!]$+ÿ*s!*ÿÿ
                                                               Ze["$]ÿ&'ÿ x"yÿwu$]!`$ÿ     \!]*ÿ&'ÿ\e"#^h#f     _!fÿ}$*ÿi$ÿ\e]hs!+$lÿ
  \$]^&l                                                         gs!]$+ÿ    \]^h$ÿ\!^lÿ w))&e)h$lÿ\#x!z)y+ÿÿ&]ÿ  ~)l$]ÿ*s$ÿ\#!xz)y+ÿ&]ÿ
                                                            ÿÿ \e]hs!+$lÿÿÿ v$]ÿgs!]$ÿÿÿ     \]&`]![+ ÿÿ            \]&`]![+ ÿ
  F45;?ÿXAÿWVXYÿ:6ÿF45;?ÿUVAÿWVXY                              ÿÿ ÿYAWUÿÿÿ ÿ XWIOÿÿÿ ÿ                    YAWUÿÿÿ n XIÿ9;??;67ÿ
  D/GÿXAÿWVXYÿ:6ÿD/GÿUXAÿWVXY                                  ÿÿ ÿUYUAUWÿÿÿ ÿ XXIYÿÿÿ ÿ UYUAUWÿÿÿ n XOIXÿ9;??;67ÿ
  m07-ÿXAÿWVXYÿ:6ÿm07-ÿUVAÿWVXY                                ÿÿ ÿWAXVÿÿÿ ÿ XXIXYÿÿÿ ÿ WAXVÿÿÿ n XXIVÿ9;??;67ÿ
  m0?GÿXAÿWVXYÿ:6ÿm0?GÿUXAÿWVXY                                ÿÿ ÿYAVÿÿÿ ÿ XXIXÿÿÿ ÿ                    YAVÿÿÿ n XVIVÿ9;??;67ÿ
    &*!#                                                    ÿÿ




                                                               ÿÿ ÿUAVÿÿÿ ÿ XXIWÿÿÿ ÿ UAVÿÿÿ n XVIVÿ9;??;67ÿ
                                                                      ÿ   ÿ     ÿ   ÿÿ    ÿ   ÿ       ÿ   ÿÿ   ÿ   ÿ             ÿ   ÿÿ   ÿ   ÿ    ÿ




  ÿ                                                         ÿÿ        ÿ   ÿ
                                                                                ÿ
                                                                                    ÿÿ    ÿ   ÿ
                                                                                                      ÿ
                                                                                                          ÿÿ   ÿ   ÿ
                                                                                                                                 ÿ
                                                                                                                                     ÿÿ   ÿ




  MXNÿQ7ÿF0H01:ÿUAÿWVXAÿ:3-ÿ,6/5=ÿ6@ÿ:3-ÿE07=ÿ/0:365;-=ÿ:3-ÿ5-405.3/1-ÿ6@ÿ04ÿ:6ÿ:3-ÿ?-11-5ÿ6@ÿnWVÿ9;??;67ÿ65ÿÿ6@ÿ:3-ÿE07=81ÿ13/5-1ÿ6>-5
                                                                                                                                              ÿ
                                                                                                                                                   ÿ




        /ÿ1;967:3ÿ4-5;6=ÿ@6??6K;7Hÿ.67>-51;67ÿ6@ÿ:3-ÿE07=ÿ@569ÿ/7ÿ64-7-7=ÿE07=ÿ:6ÿ/ÿ.?61-=-7=ÿ@07=IÿR3-ÿE07=ÿ.67>-5:-=ÿ;7:6ÿ/
        .?61-=-7=ÿ@07=ÿ67ÿE-<50/5GÿXUAÿWVXYIÿ7=-5ÿ:3;1ÿ456H5/9Aÿ:3-ÿE07=ÿ5-405.3/1-=ÿUAVÿ13/5-1ÿ:3560H3ÿm0?GAÿWVXYAÿ/:ÿ/7ÿ/>-5/H-
        45;.-ÿ6@ÿnXXIWAÿ@65ÿ/ÿ:6:/?ÿ;7>-1:9-7:ÿ6@ÿnXVIVÿ9;??;67IÿQ7ÿF0H01:ÿWVAÿWVXYAÿ:3-ÿ,6/5=ÿ6@ÿ:3-ÿE07=ÿ/4456>-=ÿ/7ÿ-:-71;67ÿ6@ÿ:3-
        5-405.3/1-ÿ456H5/9ÿ@65ÿ/ÿ4-5;6=ÿ6@ÿ1;ÿ967:31ÿ04ÿ:6ÿ/7ÿ/==;:;67/?ÿnWVÿ9;??;67ÿ6@ÿ:3-ÿE07=81ÿ13/5-1I
  ÿ
  p*$[ÿzr     ge"[^++^&)ÿ&'ÿ_!**$]+ÿ*&ÿ!ÿ|&*$ÿ&'ÿg$he]^*fÿ&#l$]+r
  R3-5-ÿ3/>-ÿ<--7ÿ76ÿ9/:-5;/?ÿ.3/7H-1ÿ:6ÿ:3-ÿ456.-=05-1ÿ<GÿK3;.3ÿ:3-ÿ13/5-36?=-51ÿ9/Gÿ5-.699-7=ÿ769;7--1ÿ:6ÿ:3-ÿT-H;1:5/7:81ÿ,6/5=I




118781791444553520534401224489                                                                                   01
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                          6789ÿ 05/24/21
                                                                         Entered        10:22:39                 Page 347 of 600

    !"#$ÿ&'ÿ(&)*$)*+
  ,
  ÿ
   *$-ÿ../ (&)*0&#+ÿ!)1ÿ20&3$140$+/
  678 9:7;<7=>?@ÿ?AÿB>CD;?C<EFÿG?@=E?;Cÿ7@HÿIE?DFH<EFCJÿKLFÿMFN>C=E7@=ÿO7>@=7>@CÿH>CD;?C<EFÿD?@=E?;Cÿ7@HÿPE?DFH<EFCÿ=L7=ÿ7EFÿHFC>N@FHÿ=?
        F@C<EFÿ=L7=ÿ>@A?EO7=>?@ÿEFQ<>EFHÿ=?ÿRFÿH>CD;?CFHÿ>@ÿ=LFÿMFN>C=E7@=SCÿA>;>@NCÿ<@HFEÿ=LFÿTFD<E>=>FCÿ9UDL7@NFÿVD=ÿ?AÿWXYZÿ6=LFÿ[9UDL7@NF
        VD=\8ÿ7@Hÿ=LFÿ]@:FC=OF@=ÿG?OP7@^ÿVD=ÿ?AÿWXZ_ÿ>CÿEFD?EHFHÿ̀PE?DFCCFHÿ̀C<OO7E>aFHÿ7@HÿEFP?E=FHÿb>=L>@ÿ=LFÿPFE>?HCÿCPFD>A>FHÿ>@ÿ=LF
        E<;FCÿ7@HÿA?EOCÿ?Aÿ=LFÿTFD<E>=>FCÿ7@Hÿ9UDL7@NFÿG?OO>CC>?@JÿT<DLÿ>@A?EO7=>?@ÿ>Cÿ7DD<O<;7=FHÿ7@HÿD?OO<@>D7=FHÿ=?ÿ=LFÿMFN>C=E7@=SC
        O7@7NFOF@=ÿ̀>@D;<H>@Nÿ>=CÿPE>@D>P7;ÿFUFD<=>:Fÿ?AA>DFEÿ7@HÿPE>@D>P7;ÿA>@7@D>7;ÿ?AA>DFÈÿ7Cÿ7PPE?PE>7=Fÿ̀=?ÿ7;;?bÿ=>OF;^ÿHFD>C>?@C
        EFN7EH>@NÿEFQ<>EFHÿH>CD;?C<EFJÿKLFÿMFN>C=E7@=SCÿO7@7NFOF@=ÿ̀>@D;<H>@Nÿ=LFÿPE>@D>P7;ÿFUFD<=>:Fÿ?AA>DFEÿ7@HÿPE>@D>P7;ÿA>@7@D>7;ÿ?AA>DFÈ
        EFD?N@>aFCÿ=L7=ÿ7@^ÿCF=ÿ?AÿD?@=E?;Cÿ7@HÿPE?DFH<EFCÿ̀@?ÿO7==FEÿL?bÿbF;;ÿHFC>N@FHÿ7@Hÿ?PFE7=FHÿ̀D7@ÿPE?:>HFÿ?@;^ÿEF7C?@7R;Fÿ7CC<E7@DF
        ?Aÿ7DL>F:>@Nÿ=LFÿHFC>EFHÿD?@=E?;ÿ?RcFD=>:FCJ
        MFOFH>7=>?@ÿ?Aÿd7=FE>7;ÿeF7f@FCCÿ>@ÿ]@=FE@7;ÿG?@=E?;ÿ?:FEÿg>@7@D>7;ÿMFP?E=>@NJÿVCÿ?Aÿh<@FÿY_ÿ̀i_WXÿ̀O7@7NFOF@=ÿEFOFH>7=FHÿ=LF
        O7=FE>7;ÿbF7f@FCCÿPEF:>?<C;^ÿ>HF@=>A>FHÿ7Cÿ?AÿTFP=FORFEÿY_ÿ̀i_WjÿEF;7=>@Nÿ=?ÿ=LFÿ7PP;>D7=>?@ÿ?AÿVTGÿji_ÿ7@Hÿ=LFÿEF7C?@7R;F@FCCÿ7@H
        EF;>7R>;>=^ÿ?Aÿ7CC<OP=>?@Cÿ<CFHÿ>@ÿ=LFÿA7>Eÿ:7;<FÿO?HF;ÿbL>DLÿ>CÿO?@>=?EFHÿR^ÿ=LFÿk7;<7=>?@ÿG?OO>==FFÿ=LE?<NLÿ=LFÿ?PFE7=>?@ÿ?Aÿ7
        EF:>FbÿD?@=E?;ÿ6=LFÿ[d7=FE>7;ÿeF7f@FCC\8JÿKL>CÿD?@=E?;ÿb7Cÿ@?=ÿHFC>N@FHÿ7=ÿ7@ÿ7PPE?PE>7=Fÿ;F:F;ÿ?AÿPEFD>C>?@ÿ=?ÿF@C<EFÿ=LFÿ7DD<E7=F
        :7;<7=>?@ÿ?AÿlF:F;ÿYÿCFD<E>=>FCJÿKLFÿd7=FE>7;ÿeF7f@FCCÿEFC<;=FHÿ>@ÿO7=FE>7;ÿPE>D>@NÿFEE?ECÿEF;7=FHÿ=?ÿ7ÿL7EHm=?m:7;<FÿCFD<E>=^ÿLF;Hÿ?:FE
        7ÿPFE>?Hÿ?Aÿ=>OFÿR^ÿn>NL;7@Hÿo;?R7;ÿV;;?D7=>?@ÿg<@Hÿ̀7@ÿ7AA>;>7=Fÿ?Aÿ=LFÿMFN>C=E7@=ÿbL>DLÿ7=ÿ=L7=ÿ=>OFÿb7Cÿ7ÿCFE>FCÿ?Aÿ=LFÿMFN>C=E7@=`
        R<=ÿbL>DLÿb7CÿD?@:FE=FHÿ>@=?ÿ7ÿH>AAFEF@=ÿ=E<C=ÿFAAFD=>:FÿgFRE<7E^ÿWYÿ̀i_WXJ
        KLFÿC=FPCÿO7@7NFOF@=ÿ=??fÿ=?ÿEFOFH>7=Fÿ=L>Cÿd7=FE>7;ÿeF7f@FCCÿ>@D;<HFHpÿ6>8ÿF@L7@D>@Nÿ7ÿCFP7E7=FÿEF:>FbÿD?@=E?;ÿR^ÿ7HH>@NÿD?@=E?;
        7D=>:>=>FCÿHFC>N@FHÿ=?ÿ?PFE7=Fÿ7=ÿ7ÿ;F:F;ÿ?AÿPEFD>C>?@ÿbL>DLÿb>;;ÿF@7R;FÿC<DLÿFEE?ECÿ=?ÿRFÿHF=FD=FHÿ7@HÿR^ÿ7HH>@Nÿ7@ÿ7HH>=>?@7;ÿOFORFE
        =?ÿ=LFÿk7;<7=>?@ÿT<RmG?OO>==FFÿ=?ÿD?@H<D=ÿC<DLÿD?@=E?;ÿ7D=>:>=>FCqÿ6>>8ÿPE?:>H>@Nÿ7HH>=>?@7;ÿ=E7>@>@Nÿ=?ÿOFORFECÿ?Aÿ>=Cÿk7;<7=>?@
        T<RmG?OO>==FFÿ7@Hÿk7;<7=>?@ÿG?OO>==FFÿb>=LÿEFCPFD=ÿ=?ÿ=LFÿ7PP;>D7=>?@ÿ?AÿVTGÿji_ÿ7@Hÿ=LFÿ<C7NFÿ?AÿC<RcFD=ÿO7==FEÿFUPFE=ÿ>@P<=Cÿ7C
        >@P<=Cÿ=?ÿA7>Eÿ:7;<FÿHF=FEO>@7=>?@Cqÿ7@Hÿ6>>>8ÿDEF7=>@Nÿ7@Hÿ>OP;FOF@=>@Nÿ7ÿN<>HFÿA?Eÿ<CFÿ?Aÿ=LFÿk7;<7=>?@ÿT<RmG?OO>==FFÿ7@Hÿ=LF
        k7;<7=>?@ÿG?OO>==FFÿA?Eÿ=LFÿ7PP;>D7=>?@ÿ?AÿVTGÿji_ÿ=?ÿA7>Eÿ:7;<FÿO?HF;CJ
        VCÿ7ÿEFC<;=ÿ?Aÿ=LFÿEFOFH>7=>?@ÿ7D=>:>=>FCÿ̀O7@7NFOF@=ÿL7CÿHF=FEO>@FHÿ=L7=ÿ>=CÿD?@=E?;CÿbFEFÿHFC>N@FHÿ7PPE?PE>7=F;^ÿ7@Hÿ7=ÿ7ÿC<AA>D>F@=
        ;F:F;ÿ?AÿPEFD>C>?@ÿ̀7@HÿL7:FÿRFF@ÿ?PFE7=>@NÿFAAFD=>:F;^ÿA?Eÿ7ÿC<AA>D>F@=ÿPFE>?Hÿ?Aÿ=>OFÿ̀C<DLÿ=L7=ÿ=LFÿd7=FE>7;ÿeF7f@FCCÿPEF:>?<C;^
        >HF@=>A>FHÿ7Cÿ?AÿBFDFORFEÿYWÿ̀i_WjÿL7CÿRFF@ÿEFOFH>7=FHÿ7Cÿ?Aÿh<@FÿY_ÿ̀i_WXJ
  ÿ
  6R8 GL7@NFCÿ>@ÿ]@=FE@7;ÿG?@=E?;CJÿr=LFEÿ=L7@ÿ=LFÿP;7@@FHÿF@L7@DFOF@=Cÿ=?ÿD?@=E?;Cÿ@?=FHÿ7R?:Fÿ̀=LFEFÿL7:FÿRFF@ÿ@?ÿDL7@NFCÿ>@ÿ=LF
        MFN>C=E7@=SCÿ>@=FE@7;ÿD?@=E?;Cÿ?Eÿ>@ÿ?=LFEÿA7D=?ECÿ=L7=ÿD?<;HÿO7=FE>7;;^ÿ7AAFD=ÿ=LFÿ>@=FE@7;ÿD?@=E?;Cÿ?:FEÿA>@7@D>7;ÿEFP?E=>@NÿC<RCFQ<F@=ÿ=?
        =LFÿH7=Fÿ?Aÿ=LF>EÿF:7;<7=>?@ÿ>@ÿD?@@FD=>?@ÿb>=Lÿ=LFÿPEFP7E7=>?@ÿ?Aÿ=L>CÿTL7EFL?;HFEÿMFP?E=ÿ?@ÿg?EOÿsmGTM
  ÿ
  ,*$-ÿ.t/      uv+3#&+40$ÿ&'ÿw$340v*v$+ÿx$)1v)yÿz3*v{v*v$+ÿ'&0ÿ(#&+$1|})1ÿ~!)!y$-$)*ÿ,){$+*-$)*ÿ(&-!)v$+/
  678
  ÿ
  ÿ
  ÿ
               6W8 oE?CCÿ>@D?OFÿAE?OÿCFD<E>=>FCÿ;F@H>@Nÿ7D=>:>=>FCpÿ_
  ÿ
  ÿ
               6i8 V;;ÿAFFCÿ7@H?EÿD?OPF@C7=>?@ÿA?EÿCFD<E>=>FCÿ;F@H>@Nÿ7D=>:>=>FCÿ7@HÿEF;7=FHÿCFE:>DFCpÿ_
  ÿ            6Y8 VNNEFN7=FÿAFFCD?OPF@C7=>?@pÿ_




118781791444553520534401224489                                                                                 1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                        6789ÿ 05/24/21
                                                                       Entered        10:22:39               Page 348 of 600

   !"#$ÿ&'ÿ(&)*$)*+
  ÿ
  ÿ
               -./ 012ÿ345671ÿ8967ÿ:15;93231:ÿ<14=34>ÿ?523@3231:AÿBC
  -D/ EF1ÿG1>3:29?42ÿ7?Hÿ<14=ÿ;Iÿ26ÿJJÿKLJMÿ68ÿ2F1ÿG1>3:29?42N:ÿ262?<ÿ?::12:ÿF1<=ÿDHÿ2F1ÿO;4=N:ÿ5;:26=3?4ÿ26ÿ5192?34ÿP;?<3831=ÿD96Q19:Rÿ1S51I2
       2F6:1ÿ:15;93231:ÿTF35Fÿ2F1ÿG1>3:29?42ÿ69ÿ2F1ÿU=@3:69ÿ:I153835?<<Hÿ3=1423831:ÿ?:ÿ462ÿD134>ÿ?@?3<?D<1VÿWHÿ<14=34>ÿ32:ÿ34@1:27142ÿ:15;93231:R
       2F1ÿG1>3:29?42ÿ?2217I2:ÿ26ÿ34591?:1ÿ32:ÿ412ÿ34@1:27142ÿ345671ÿ2F96;>Fÿ2F1ÿ91513I2ÿ68ÿ342191:2ÿ64ÿ2F1ÿ<6?4VÿU4Hÿ>?34ÿ69ÿ<6::ÿ34ÿ2F1ÿ7?9Q12
       I9351ÿ68ÿ2F1ÿ:15;93231:ÿ<6?41=ÿ2F?2ÿ73>F2ÿ655;9ÿ?4=ÿ?4Hÿ342191:2ÿ69ÿ=3@3=14=:ÿ=15<?91=ÿ=;934>ÿ2F1ÿ2197ÿ68ÿ2F1ÿ<6?4ÿT6;<=ÿ?559;1ÿ26ÿ2F1
       ?556;42ÿ68ÿ2F1ÿG1>3:29?42VÿG3:Q:ÿ68ÿ=1<?Hÿ34ÿ9156@19Hÿ68ÿ2F1ÿ:15;93231:ÿ69ÿ1@14ÿ<6::ÿ68ÿ93>F2:ÿ34ÿ2F1ÿ56<<?219?<ÿ7?Hÿ655;9ÿ:F6;<=ÿ2F1
       D6996T19ÿ68ÿ2F1ÿ:15;93231:ÿ8?3<ÿ834?453?<<HVÿG3:Q:ÿ7?Hÿ?<:6ÿ?93:1ÿ26ÿ2F1ÿ1S2142ÿ2F?2ÿ2F1ÿ@?<;1ÿ68ÿ2F1ÿ56<<?219?<ÿ=1591?:1:ÿD1<6Tÿ2F1ÿ@?<;1
       68ÿ2F1ÿ:15;93231:ÿ<6?41=VÿXI64ÿ1421934>ÿ3426ÿ?ÿ:15;93231:ÿ<14=34>ÿ29?4:?52364Rÿ2F1ÿG1>3:29?42ÿ91513@1:ÿ5?:Fÿ69ÿ62F19ÿ:15;93231:ÿ?:
       56<<?219?<ÿ34ÿ?4ÿ?76;42ÿ1P;?<ÿ26ÿ69ÿ1S511=34>ÿKCCMÿ68ÿ2F1ÿ5;99142ÿ7?9Q12ÿ@?<;1ÿ68ÿ2F1ÿ<6?41=ÿ:15;93231:ÿT32Fÿ91:I152ÿ26ÿ:15;93231:ÿ68
       2F1ÿXVYVÿ>6@1947142ÿ69ÿ32:ÿ?>14531:RÿKCZMÿ68ÿ2F1ÿ5;99142ÿ7?9Q12ÿ@?<;1ÿ68ÿ2F1ÿ<6?41=ÿ:15;93231:ÿT32Fÿ91:I152ÿ26ÿXVYVÿ:15;93231:ÿ?4=
       KC[Mÿ68ÿ2F1ÿ5;99142ÿ7?9Q12ÿ@?<;1ÿ68ÿ2F1ÿ<6?41=ÿ:15;93231:ÿT32Fÿ91:I152ÿ26ÿ86913>4ÿ:15;93231:VÿU4Hÿ5?:Fÿ91513@1=ÿ?:ÿ56<<?219?<ÿ3:
       >1419?<<Hÿ34@1:21=ÿDHÿ2F1ÿO;4=N:ÿ5;:26=3?4ÿ?5234>ÿ34ÿ32:ÿ5?I?532Hÿ?:ÿ:15;93231:ÿ<14=34>ÿ?>142Vÿ064\5?:Fÿ56<<?219?<ÿ3:ÿ462ÿ=3:5<6:1=ÿ34ÿ2F1
       G1>3:29?42N:ÿY2?217142ÿ68ÿU::12:ÿ?4=ÿ]3?D3<3231:ÿ?:ÿ32ÿ3:ÿF1<=ÿDHÿ2F1ÿ<14=34>ÿ?>142ÿ64ÿD1F?<8ÿ68ÿ2F1ÿG1>3:29?42ÿ?4=ÿ2F1ÿG1>3:29?42ÿ=61:
       462ÿF?@1ÿ2F1ÿ?D3<32Hÿ26ÿ91\FHI62F15?21ÿ2F6:1ÿ:15;93231:VÿUÿI692364ÿ68ÿ2F1ÿ=3@3=14=:ÿ91513@1=ÿ64ÿ2F1ÿ56<<?219?<ÿ7?HÿD1ÿ91D?21=ÿ26ÿ2F1
       D6996T19ÿ68ÿ2F1ÿ:15;93231:ÿ?4=ÿ2F1ÿ917?34=19ÿ3:ÿ:I<32ÿD12T114ÿ2F1ÿO;4=N:ÿ5;:26=3?4Rÿ?:ÿ2F1ÿ:15;93231:ÿ<14=34>ÿ?>142Rÿ?4=ÿ2F1ÿG1>3:29?42V
  ÿ
  ^*$_ÿ̀ab     cdef"f*+b
  ÿ
  -?/-K/ÿÿ    g6=1ÿ68ÿ12F35:Rÿ69ÿ?714=7142ÿ2F19126Rÿ2F?2ÿ3:ÿ2F1ÿ:;Dh152ÿ68ÿ=3:5<6:;91ÿ91P;391=ÿDHÿi217ÿZÿ3:ÿ?22?5F1=ÿF19126V
  -?/-Z/      g1923835?2364:ÿI;9:;?42ÿ26ÿG;<1ÿJC?\Z-?/ÿ;4=19ÿ2F1ÿKj.CÿU52ÿ?4=ÿY152364ÿJCZÿ68ÿ2F1ÿY?9D?41:\kS<1HÿU52ÿ68ÿZCCZÿ?91ÿ?22?5F1=
        ÿÿ    F19126V
  -?/-J/ÿÿ    062ÿ?II<35?D<1V
  -?/-./ÿÿ    062ÿ?II<35?D<1V
  -D/         g1923835?2364:ÿI;9:;?42ÿ26ÿG;<1ÿJC?\Z-D/ÿ;4=19ÿ2F1ÿKj.CÿU52ÿ?4=ÿY152364ÿjClÿ68ÿ2F1ÿY?9D?41:\kS<1HÿU52ÿ68ÿZCCZÿ?91ÿ?22?5F1=
        ÿÿ    F19126V
  V




118781791444553520534401224489                                                                             1
012312425 Case 21-03005-sgj Doc 29 Filed 05/24/21                     6789ÿ 05/24/21
                                                                    Entered        10:22:39              Page 349 of 600

   !"#$ÿ&'ÿ(&)*$)*+
                                                                  ,-./0 123,
  4567589:ÿ:<ÿ:=>ÿ6>?5@6>A>9:7ÿ<Bÿ:=>ÿC>D56@:@>7ÿEFD=89G>ÿHD:ÿ<BÿIJKLMÿ87ÿ8A>9N>NMÿ89Nÿ:=>ÿO9P>7:A>9:ÿQ<AR89SÿHD:ÿ<BÿIJLTMÿ87ÿ8A>9N>NM
  :=>ÿU>G@7:689:ÿ=87ÿN5VSÿD857>Nÿ:=@7ÿ6>R<6:ÿ:<ÿW>ÿ7@G9>Nÿ<9ÿ@:7ÿW>=8VBÿWSÿ:=>ÿ59N>67@G9>NMÿ:=>6>59:<ÿN5VSÿ85:=<6@X>NY
  Z-.Z[0/\ÿ.[]^0[ÿ0[[](0 -]/ÿ_1/\
  ÿ̀SÿaC@G98:56>ÿ89Nÿb@:V>cd e7eÿf689gÿh8:>6=<57>
                             ÿÿ                                            ÿ
                             ÿÿf689gÿh8:>6=<57>                            ÿ
                               b6>8756>6Mÿ46@9D@R8VÿEF>D5:@P>ÿiBB@D>6ÿ89N
                             ÿÿ46@9D@R8Vÿf@989D@8Vÿ89NÿHDD<59:@9GÿiBB@D>6ÿ
  j8:>dÿj>D>AW>6ÿJMÿkTIJ
  4567589:ÿ:<ÿ:=>ÿ6>?5@6>A>9:7ÿ<Bÿ:=>ÿC>D56@:@>7ÿEFD=89G>ÿHD:ÿ<BÿIJKLMÿ87ÿ8A>9N>NMÿ89Nÿ:=>ÿO9P>7:A>9:ÿQ<AR89SÿHD:ÿ<BÿIJLTMÿ87ÿ8A>9N>NM
  :=@7ÿ6>R<6:ÿ=87ÿW>>9ÿ7@G9>NÿW>V<lÿWSÿ:=>ÿB<VV<l@9GÿR>67<97ÿ<9ÿW>=8VBÿ<Bÿ:=>ÿU>G@7:689:ÿ89Nÿ@9ÿ:=>ÿD8R8D@:@>7ÿ89Nÿ<9ÿ:=>ÿN8:>7ÿ@9N@D8:>NY
  ÿ̀SÿaC@G98:56>ÿ89Nÿb@:V>cd e7eÿf689gÿh8:>6=<57>
                             ÿÿ                                            ÿÿ
                             ÿÿf689gÿh8:>6=<57>                            ÿÿ
                               b6>8756>6Mÿ46@9D@R8VÿEF>D5:@P>ÿiBB@D>6ÿ89N
                             ÿÿ46@9D@R8Vÿf@989D@8Vÿ89NÿHDD<59:@9GÿiBB@D>6ÿÿ
  j8:>dÿj>D>AW>6ÿJMÿkTIJ                                                   ÿÿ
  `SÿaC@G98:56>ÿ89Nÿb@:V>cdÿÿe7eÿQV@BB<6NÿC:<<R7                           ÿÿ
                               QV@BB<6NÿC:<<R7
                             ÿÿH77@7:89:ÿb6>8756>6                         ÿÿ
  j8:>dÿj>D>AW>6ÿJMÿkTIJ                                                   ÿÿ




118781791444553520534401224489                                                                       1
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 350 of 600




                                EXHIBIT 40
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 351 of 600




            AMENDED AND RESTATED SHARED SERVICES AGREEMENT

         This Amended and Restated Shared Services Agreement (as amended, modified, waived,
 supplemented or restated from time to time in accordance with the terms hereof, this
 "Agreement"), dated effective as of January 1, 2018, is entered into by and between NexPoint
 Advisors, LP., a Delaware limited partnership, as the management company hereunder (in such
 capacity, the "Management Company"), and Highland Capital Management, L.P., a Delaware
 limited partnership ("Highland"), as the staff and services provider hereunder (in such capacity,
 the "Staff and Services Provider" and together with the Management Company, the "Parties").



       WHEREAS, the Staff and Services Provider is a registered investment adviser under the
Jnvestment Advisers Act of 1940, as amended (the "Advisers Act");

        WHEREAS, the Staff and Services Provider and the Management Company are engaged
in the business of providing investment management services;

        WHEREAS, the Parties entered into that certain Shared Services Agreement, dated
effective as of January 1, 2013 (the "Original Agreement");

       WHEREAS, the Paities desire to amend and restated the Original Agreem.ent and the Staff
and Services Provider is hereby being retained to provide certain back- and middle-office services
and administrative, infrastructure and other services to assist the Management Company in
conducting its business, and the Staff and Services Provider is willing to make such services
available to the Management Company, in each case, on the te1ms and conditions hereof;

        WHEREAS, the Management Company may employ certain individuals to perform
portfolio selection and asset management functions for the Management Company, and certain of
these individuals may also be employed simultaneously by the Staff and Services Provider during
their employment v.,rith the Management Company; and

        WHEREAS, each Person employed by both the Management Company and the Staff and
Services Provider as described above (each, a "Shared Employee"), if any, is and shall be identified
on the books and records of each of the Management Company and the Staff and Services Provider
(as amended, modified, supplemented or restated from time to time).

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, the Parties hereby agree, and the Original Agreement is hereby
amended, restated and replaced in its entirety as follows.

                                           ARTICLE I

                                         DEFINITIONS

        Section 1.01 Certain Defined Terms. As used in this Agreement, the following tenns
shall have the following meanings:
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39          Page 352 of 600




        "Affiliate" shall mean with respect to a Person, any other Person that directly, or indirectly
through one or more intermediaries, controls, is controlled by, or is under common control with
the first Person. The- tenn "control" means (i) the legal or beneficial ownership of securities
representing a majority of the voting power of any person or (ii) the possession, directly or
indirectly, of the power to direct or cause the direction of the management and policies of a person,
whether by contract or otherwise.

        "Applicable Asset Criteria and Concentrations" means any applicable eligibility criteria,
portfolio concentration limits and other similar criteria or limits which the Management Company
instructs in writing to the Staff and Services Provider in respect of the Portfolio or one or more
Accounts, ~s such criteria or limits may be modified, amended or supplemented from time to time
in writing by the Management Company;

        "Applicable Law" shall mean, with respect to any Person or property of such Person, any
action, code, consent decree, constitution, decree, directive, enactment, finding, guideline, law,
injunction, interpretation, judgment, order, ordinance, policy statement, proclamation, formal
guidance, promulgation, regulation, requirement, rule, rule oflaw, rule of public policy, settlement
agreement. statute, writ, or any particular section, part or provision thereof of any Governmental
Authority to which tl1e Person in question is subject or by which it or any of its property is bound.

     "Client or Account" shall mean any fund, client or account advised by the Management
Company, as applicable.

        "Covered Person" shall mean the Staff and Services Provider, any ofits Affiliates, and any
of their respective managers, members, principals, partners, directors, officers, shareholders,
employees and agents (but shall not include the Management Company, its subsidiaries or
member(s) and any managers, members, plincipals, partners, directors, officers, shareholders,
employees and agents of the Management Company or its subsidiaries or member(s) (in their
capacity as such)).

        "Governmental Authority" shall mean (i) any government or quasi-governmental autl1ority
or political subdivision thereof, whether national, state, county, municipal or regional, whether
U.S. or non-U.S.; (ii) any agency, regulator, arbitrator, board, body, branch, bmeau, commission,
corporation, department, master, mediator, panel, referee, system or instrumentality of any such
govermnent, political subdivision or other government or quasi-government entity, whether non-
U.S. or U.S.; and (iii) any court, whether U.S. or non-U.S.

        "Indebtedness" shall mean: (a) all indebtedness for borrowed money and all other
obligations, contingent or otherwise, with respect to surety bonds, guarantees of borrowed money,
letters of credit and bankers' acceptances whether or not matured, and hedges and other derivative
contracts and financial instruments; (b) all obligations evidenced by notes, bonds, debentures; or
similar instruments, or incurred under bank guaranty or letter of credit facilities or credit
agreements; (c) all indebtedness created or arising under any conditional sale or other title retention
agreement with respect to any property of the Management Company or any subsidiary; (d) all
capital lease obligations; (e) all indebtedness guaranteed by such Person or any of its subsidiaries;
and (f) all indebtedness guaranteed by such Person or any of its subsidiaries.




                                                   2
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 353 of 600




       "Operating Guidelines" means any operating guidelines attached to any portfolio
 management agreement, investment management agreement or similar agreement entered into
 between the Management Company and a Client or Account.

        "Po1ifo1io" means the portfolio of securities and other assets, including without limitation,
financial instruments, equity investments, collateral loan obligations, debt securities, preferred
return notes and other similar obligations held directly or indirectly by, or on behalf of, Clients
and Accounts from time to time;

        "Securities Act" shall mean the Securities Act of 1933, as amended.

         Section 1.02 Interpretation. The following rules apply to the use of defined terms and
the interpretation of this Agreement: (i) the singular includes the plural and the plural includes the
singular; (ii) "or" is not exclusive (unless preceded by "either") and "include" and "including" are
not limiting; (iii) unless the context otherwise requires, references to agreements shall be deemed
to mean and include such agreements as the same may be amended, supplemented, waived and
otherwise modified from time to time; (iv) a reference to a law includes any amendment or
modification to such law and any rules or regulations issued thereunder or any law enacted in
substitution or replacement therefor; (v) a reference to a Person includes its successors and assigns;
(vi) a reference to a Section without further reference is to the relevant Section of this Agreement;
(vii) the headings of the Sections and subsections are for convenience and shall not affect the
meaning of this Agreement; (viii) "writing", "written" and comparable terms refer to printing,
typing, lithography and other shall mean of reproducing words in a visible form (including
telefacsimile and electronic mail); (ix) "hereof', "herein", "hereunder" and comparable terms refer
to the entire instrument in which such terms are used and not to any particular article, section or
other subdivision thereof or attachment thereto; and (x) references to any gender include any other
gender, masculine, feminine or neuter, as the context requires.

                                           ARTICLE II

                                            SERVICES

        Section 2.01 General Au:thoritv. Highland is hereby appointee} as Staff and Services
Provider for the purpose of providing such services and assistance a·s the Management Company
may request from time to time to, and if applicable., to make available the Shared Employees to,
the Management Company in accordance with and subject to the provisions of this Agreement and
the Staff and Services Provider hereby accepts such appoinhnent. The Staff and Services Provider
hereby agrees to such engagement during the term hereof and to render the services described
herein for the compensation provided herein, subject to the limitations contained herein.

        Section 2.02 Provision of Services. Without limiting the generality of Section 2.01 and
subject to Section 2.04 (Applicable Asset Criteria and Concentrations) below, the Staff and
Services Provider hereby agrees, from the date hereof, to provide the following back- and middle-
office services and administrative, infrastructure and oth~r services to the Mmmgement Company.

                (a)    Back- and Middle-O.fjice: Assistm1ce and advice with respect to back- and
 middle-office functions including, but not limited to, investment research, trade desk services,



                                                  3
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39         Page 354 of 600




including trade execution and settlement, finance and accounting, payments, operations_, book
keeping, cash management, cash forecasting, accmmts payable, accounts receivable, expense
reimbursement, vendor management, and information technology (including, without limitation,
general suppo1t and maintenance (OMS, development, support), telecom (cellphones, telephones
and broadband) and WSO);

               (b)     Legal/Compliance/Risk Analysis. Assistance and advice with respect to
legal issues, litigation support, management of outside cmmsel, compliance support and
implementation and general risk analysis;

                  (c)    Tax. Assistance and advice with respect to tax audit- support, tax planhing
a.JJ.d tax preparation and filing.

                (d)    Management of Clients and Accounts. Assistance and advice with respect
to (i) the adherence to Operating Guidelines by the Management Company, and (ii) performing
any obligations of the Management Company under or in connection with any back- and middle-
office function set forth in any pd,rtfolio management agreement, investment management
agreement or similar agreement in effect between the Management Company and any Client or
Account from time to time.

                (e)      Valuation. Advice relating to the appointment of suitable third parties to
provide valuations on assets comprising the Portfolio and including, but not limited to, such
valuations required to facilitate the preparation of financial statements by the Management
Company or the provision of valuations in connection with, or preparation of reports otherwise
relating to, a Client or Account for which the Management Company serves as portfolio manager
or investment manager or in a similar capacity;

               (t)    Execution and Documentation. Assistance relating to the negotiation of the
terms of, and the execution and delivery by the Management Company of, any and all documents
which the Management Company considers to be necessary in connection with the acquisition and
disposition of an asset in the Portfolio by the Management Company or a Client or Account
managed by the Management Company, transactions involving the Management Company or a
Client or Account managed by the Management Company, and any other rights and obligations of
the Management Company or a Client or Account managed by the Management Company;

              (g)    Marketing. Provide access to marketing team representatives to assist with
the marketing of the Management Company and any specified Clients or Accounts managed by
the Management Company conditional on the Management Company's agreement that any
incentive compensation related to such marketing shall be borne by the Management Company;

                 (h)     Reporting. Assistance relating to any reporting the Management Company
is required to make in relation to the Portfolio or any Client or Account, including reports relating
to (i) credit facility reporting and purchases, sales, liquidations, acquisitions, disposals,
sub-stitutions and exchmi.ges of assets in the Portfolio, (ii) the requirements Of an applicable
regulator, or (iii) other type of reporting which the Management Company and Staff and Services
Provider may agree from time to time;




                                                  4
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 355 of 600




                (i)     Administrative Services. The prov1s1on of office space, information
 technology services and equipment, infrastructure, rent and parking and other related services
 requested or utilized by the Management Company from time to time;

             G)    Shared Employees. To the extent applicable, the prov1s1on of Shared
Employees and such additional human capital as may be mutually agreed by the Management
Company and the Staff and Services Provider in accordance with the provisions of Section 2.03
hereof;

                 (k)    Ancillary Services.   Assistance and advice on all things ancillary or
 incidental to the foregoing; and

              (])    Other. Assistance and advice relating to such other back- and middle-office
services in connection with the day-to-day business of the Management Company as the
Management Company and the Staff and Services Provider may from time to time agree.

For the avoidance of doubt, none of the services contemplated hereunder shall constitute
investment advisory services, and the Staff & Services Provider shall not provide any advice to
the Management Company or perform any duties on behalf of the Mmmgement Company, other
than the back- and middle-office services contemplated herein, with respect to (a) the general
management of the Management Company, its bus_iness or activities, (b) the initiation or
structuring of any Client or Account or similar securitization, (c) the substantive investment
management decisions with respect to any Client or Account or any related collateral obligations
or securitization, (d) the actual selection of any collateral obligation or assets by the Management
Company, (e) binding recommendations as to any disposal of or amendment to any Collateral
Obligation or (f) any similar fW1ctions.

        Section 2.03   Shared Employees.

                (a)    The Staff and Services Provider hereby agrees and consents that each
Shared Employee, if any, shall be employed by the Management Company, and the Management
Company hereby agrees and consents that each Shared Employee shall be employed by the Staff
and Services Provider. E_xcept as may otherwise separately be agreed in writing between the
applicable Shared Employee and the Management Company and/or the Staff and Services
Provider, in each of their discretion, each Shared Employee is an at-will employee and no
guaranteed employment or other employment arrangement is agreed or implied by this Agreement
with respect to any Shared Employee, and for avoidance of doubt this Agreement Shall not amend,
limit, constrain or modify in any way the employment auangements as between any Shared
Employee and the Staff and Services Provider or as between any Shared Employee and the
Management Company, it being understood that the Management Company may enter into a short-
form employment agreement with any Shared Employee memorializing such Shared Employee's
status as an employee of the Management Company. To the extent applicable, the Staff m1d
Services Provider shall ensure that the Management Company has sufficient access to the Shared
Employees so that the Shared Employees spend adequate time to provide the services required
hereunder. The Staff and Services Provider may also employ the services of persons other than
the- Specified Persons as it deems fit in its sole discretion




                                                 5
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 356 of 600




                 (b)    Notwithstanding that the Shared Employees, if any, shall be employed by
 both the Staff and Services Provider and the Management Company, the Parties acknowledge and
 agree that any and all salary and benefits of each Shared Employee shall be paid exclusively by
 the Staff and Services Provider and shall not be paid or borne by the Management Company and
 no additional amounts in connection therewith shall be due from the Management Company to the
 Staff and Services Provider.

                 (c)     To the extent that a Shared Employee participates in the rendering of
 services to the Management Company's clients, the Shared Employee shall be subject to the
 oversight and control of the Management Company and such services shall be provided by the
 Shared Employee exclusively in his or her capacity as a "supervised person" of, or "person
 associated with", the Management Company (as such terms are defined in Sections 202(a)(25) and
 202(a)(l 7), respectively, of the Advisers Act).

                 (d)    Each Party may continue to oversee, supervise and manage the services of
each Shared Employee in order to (1) ensure compliance \Vl.th the Party's compliance policies and
procedures, (2) ensure compliance with regulations applicable to the Party and (3) protect the
interests of the Party and its clients; provided that Staff and Services Provider shall (A) cooperate
with the Management Company's supervisory efforts and (B) make periodic reports to the
Management Company regarding the adherence of Shared Employees to Applicable Law,
including but not limited to the 1940 Act, the Advisers Act and the United States Commodity
Exchange Act of 1936, as amended, in performing the services hereunder.

                 (e)     \Vhere a Shared Employee provides services hereunder through both
 Parties, the Parties shall cooperate to ensure that all such services are performed consistently with
 Applicable Law and relevant compliance controls and procedures designed to prevent, among
 other things, breaches in infonnation security or the communication of confidential, proprietary or
 material non-public information.

                 (f)    The Staff and Services Provider shall ensure that each Shared Employee has
 any registrations, qualifications and/or licenses necessary to provide the services hereunder.

                (g)     The Parties will cooperate to ensure that information about the Shared
 Employees is adequately and appropriately disclosed to clients, investors (and potential investors),
 investment banks operating as initial purchaser or placement agent with respect to m1y Client or
 Account, and regulators, as applicable. To facilitate such disclosure, the Staff and Services
 Provider agrees to provide, or cause to be provided 1 to the Management Company such information
 as is deemed by the Management Company to be necessary or appropriate with respect to the Staff
 and Services Provider and the Shm·ed Employees (including, but not limited to, biographical
 information about each Shared Employee).

                (h)    The Parties shall cooperate to ensure that, when so required, each has
 adopted a Code of Ethics meeting the requirements of the Advisers Act ("Code of Ethics") that is
 consistent with applicable !aw and which is substantially similar to the other Party's Code of
 Ethics.




                                                   6
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 357 of 600




               (i)    The Staff and Services Provider shall make reasonably available for use by
the Management Company, including through Shared Employees providing services pursuant to
this Agreement, any relevant intellectual property and systems necessary for the provision of the
services hereunder,

               G)      The Staff and Services Provider shall require that each Shared Employee:

                      (i)     certify that he or she is subject to, and has been provided with, a
       copy of each Party's Code of Ethics and will make such reports, and seek prior clearance
       for such actions and activities, as may be required under the Codes of Ethics;

                         (ii)   be subject to the supervision and oversight of each Paiiy's officers
       ru.1d directors, including without limitation its Chief Compliance Officer ("CCO"), which
       CCO may be the same Person, with respect to the services provided to that Party or its
       clients;

                     (iii) provide services hereunder and take actions hereunder only as
       approved by the Management Company;

                     (iv)   provide any information requested by a Patty, as necessary to
       comply with applicable disclosure or regulatory obligations;

                      (v)     to the extent authorized to transact on behalf of the Management
       Company or a Client or Account) take reasonable steps to ensure that any such transaction
       is consistent with any policies and procedures that may be established by the Parties and
       all Applicable Asset Criteria and Concentrations; and

                       (vi)    act, at all times, in a manner consistent with the fiduciary duties and
       standard of care owed by the Management Company to its members and direct or indirect
       investors or to a Client or Account as well as clients of Staff and Services Provider by
       seeking to ensure that, among other things, information about any investment advisory or
       trading activity applicable to a pmticular client or group of clients is not used to benefit the
       Shared Employee, any Party or any other client or group of clients in contravention of such
       fiduciary duties or standard of care,

               (k)     Unless specifically authorized to do so, or appointed as an officer or
authorized person of the Management Company with such authority, no Shared Employee may
contract on behalf or in ihe name of the Management Company, acting as principal.

        Section 2.04 Applicable Asset Criteria and Concentrations, The Management Company
will promptly inform the Staff and Services Provider in writing of any Applicable Asset Criteria
and Concentrations to which it agrees from time to time and the Staff and Services Provider shall
take such Applicable Asset Criteria and Concentrations into account when providing assistance,
and advice in accordance with Section 2.02 above and any other assistance or advice provided in
accordance with this Agreement.

      Section 2.05 Compliance with Management Company Policies and Procedures. The
Management Company will from time to time provide the Staff and Services Provider and the


                                                  7
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 358 of 600




Shared Employees, if any, with any policy and procedure documentation which it establishes
internally and to which it is bound to adhere in conducting its business pursuant to regulation,
conh·act or otherwise. Subject to any other limitations in this Agreement, the Staff and Services
Provider will use reasonable efforts to ensure any services it and the Shared Employees provide
pursuant to this Agreement complies with or takes account of such internal policies and
procedures.

        Section 2.06 Authority. The Staff and Services Provider's scope of assistance and advice
hereunder is limited to the services specifically provided for in this Agreement. The Staff and
Services Provider shall not assume or be deemed to assume any rights or obligations of the
Management Company under any other document or agreement to which the Management
Company is a party. Notwithstanding any other express or implied provision to the contrary in
this Agreement, the activities of the Staff and Services Provider pursuant to this Agreement shall
be subject to the overall policies of the Management Company, as notified to the Staff and Services
Provider from time to time. The Staff and Services Provider shall not have any duties or
obligations to the Management Company unless those duties and obligations are specifically
provided for in this Agreement (or in any amendment, 1nodification or novation hereto or hereof
to which the Staff and Services Provider is a party).

        Section 2.07   Third Parties.

                (a)    The Staff and Services Provider may employ third parties, including its
affiliates, to render advice, provide assistance and to perform any of its duties under this
Agreement; provided that notwithstanding the employment of third parties for any such purpose,
the Staff and Services Provider shall not be relieved of any of its obligations or liabilities under
this Agreement.

                 (b)      In providing services hereunder, the Staff and Services Provider may rely
in good faith upon and will incur no liability for relying upon advice of nationally recognized
counsel (which may be counsel for the Management Company, a Client or Account or any Affiliate
of the foregoing), accountants or other advisers as the Staff and Services Provider detennines, in
its sole discretion, is reasonably appropriate in connection with the services provided by the Staff
and Services Provider under this Agreement.

        Section 2.08 Management Company to Cooperate with the- Staff and Services Provider.
In furtherance of the Staff and Services Provider's obligations under this Agreement the
Management Company shall cooperate with, provide to, and fully infonn the Staff and Services
Provider of, any and all documents and information the Staff and Services Provider reasonably
requires to perfonn its obligations under this Agreement.

        Section 2.09 Power of Attorney. If the Management Company considers it necessary for
the provision by the Staff and Services Provider of the assistance and advice under this Agreement
(after consultation with the Staff and Services Provider), it may appoint the Staff and Services
Provider as its true and lawful agent and attorney, with full power and authority in its nan1e to sign,
execute, certify, swear to, acknowledge, deliver, file, receive and record any and all documents
that the Staff and Services Provider reasonably deems appropriate or necessary in connection with
the execution and settlement of acquisitions of assets as directed by the Management Company


                                                   8
Case 21-03005-sgj Doc 29 Filed 05/24/21             Entered 05/24/21 10:22:39         Page 359 of 600




 and the Staff and Services Provider's powers and duties hereunder (which for the avoidance of
 doubt shall in no way involve the discretion and/or authority of the Management Company with
 respect to investments). Any such power shall be revocable in the sole discretion of the
 Management Company.

                                             ARTICLE III

                               CONSIDERATION AND EXPENSES

         Section 3.01 Consideration. As compensation for its perfommnce of its obligations as
 Staff and Services Provider under this Agreement, the Staff and Services Provider will be entitled
 to receive a flat fee of $168,000 per month (the "Staff and Services Fee"), payable monthly in
 advance on the first business day of each month.

        Section 3.62 Costs and Expenses. Each party shall bear its own expenses; provided that
 the Management Company shall reimburse the Staff and Services Provider for any and all costs
 and expenses that may be borne properly by the Management Company.

         Section 3.03 Deferral. Notwithstanding anything to the contrary contained herein, if on
any date the Management Company determines that it would not have sufficient funds available
to it to make a payment ofindebtedness, it shall have the right to defer any all and an1ounts payable
to the Sta.ff and Services Provider pursuant to this Agreement, including any fees and expenses;
provided that the Management Company shall promptly pay all such amounts on the first date
thereafter that sufficient amounts exist to make payment thereof.

                                             ARTICLE IV

                            REPRESENTATIONS AND COVENANTS

         Section 4.01    Representations. Each of the Parties hereto represents and warrants that:

                (a)     It has full power and authority to execute and deliver, and to perform its
 obligations under, this Agreement;

                  (b)    this Agreement has been duly authorized, executed and delivered by it and
 Constitutes its valid and binding, obligation, enforceable in accordance with its terms except as the
 enforceability hereof may be subject to (i) bankruptcy, insolvency, reorganization moratorium,
 receivership, conservatorship or other similar laws now or hereafter in effect relating to creditors'
 rights and (ii) general principles of equity (regardless of whe,ther such enforcement is considered
 in a proceeding, in equity or at law);

                  (c)     no. consent, approval, authorization or order of or declaration or filing with
 any Governmental Authority is required for the execution of this Agreement or the performance
 by it of its duties hereunder, except such as have been duly made or obtained; and

                  (d)     neither the execution and delivery of this Agreement nor the fulfillment of
 the terms hereof conflicts with or results in a breach or violation of any of the terms or provisions
 of, or constitutes a default under, (i) its constituting and organizational documents; or (ii) the terms


                                                    9
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39        Page 360 of 600




of any niaterial indenture, contract, lease, mortgage, deed of trust, note, agreement or other
evidence of indebtedness or other material agreement, obligation, condition, covenant or
instrument to which it is a party or by which it is bound.

                                           ARTICLEV

                                          COVENANTS

       Section 5.01    Compliance: Advisory Restrictions.

               (a)    The Staff and Services Provider shall reasonably cooperate with the
Management Company in connection with the Management Companfs compliance with its
policies and procedures relating to oversight of the Staff and Services Provider. Specifically, the
Staff and Services Provider agrees that it will provide the Management Company with reasonable
access to information relating to the perfo1111ance of Staff and Services Provider's obligations
under this Agreement.

                (b)     This Agreement is not intended to and shall not constitute an assignment,
pledge or transfer of any portfolio management agreement or m1y part thereof. It is the express
intention of the parties hereto ·that this Agreement m1d all services performed hereunder comply in
all respects with all (a) applicable contractual provisions and restrictions contained in each
portfolio management agreement, investment management agreement or similar agreement and
each document contemplated thereby; and (b) Applicable Laws (collectively, the "Advisory
Restrictions"). If any provision of this Agreement is detennined to be in violation of any Advisory
Restriction, then the services to be provided under this Agreement shall automatically be limited
without action by any person or entity, reduced or modified to the extent necessary and appropriate
to be enforceable to the maximum extent permitted by such Advisory Restriction.

       Section 5.02    Records; Confidentiality.

               The Staff and Services Provider shall maintain or cause to be maintained
appropriate books of account m1d records relating to its services performed hereunder, and such
books of account and records shall be accessible for inspection by representatives of the
Management Company and its accountants and other agents at any time during normal business
hours and upon not less than three (3) Business Days' prior notice; provided that the Staff and
Services Provider shall not be obligated to provide access to any non-public information if it in
good faith dete1mines that the disclosure of such information would violate m1y applicable law,
regulation or contractual an-angement.

                 The Staff and Services Provider shall follow its customm·y procedures to keep
confidential any and all information obtained in connection with the services rendered hereunder
that is either (a) of a type that would ordinarily be considered proprietary or confidential 1 such as
information concerning the composition of assets, rates of return, credit quality, structure or
ownership of securities, or (b) designated as confidential obtained in connection with the services
rendered by the Staff and Services Provider hereunder and shall not disclose any such information
to non-affiliated third parties, except (i) with the prior written consent of the Management
Company, (ii) such information as a rating agency shall reasonably request in connection with its



                                                   10
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 361 of 600




rating of notes issued by a CLO or supplying credit estimates on any obligation included in the,
Portfolio, (iii) in connection with establishing trading or investment accounts or otherwise in
connection with effecting transactions on behalf of the Management Company or any Client or
Account for which the Management Company serves as portfolio manager or investment manager
or in a similar capacity, (iv) as required by (A) Applicable Law or (B) the mies or regulations of
any selt:regulating organization, body or official having jurisdiction over the Staff and Services
Provider or any of its Affiliates, (v) to its professional advisors (including, without limitation 1
legal, tax and accounting advisors), (vi) such inf01mation as shall have been publicly disclosed
other than in known violation of this Agreement or shall have been obtained by the Staff and
Services Provider on a non-confidential basis, (vii) such information as is necessary or appropriate
to disclose so that the Staff and Services Provider may perform its duties hereunder, (viii) as
expressly permitted in the final offering memorandwn or any definitive transaction documents
relating to any Client or Account, (ix) information relating to perfonn_ance of the Po1tfolio as may
be used by the Staff and Services Provider in the ordinary course of its business or (xx) such
infonnation as is routinely disclosed to the trustee, custodian or collateral administrator of any
Client or Account in connection with such trustee's, custodian's or collateral administrator's
performance of its obligations under the transaction documents related to such Client or Account.
Notwithstanding the foregoing, it is agreed that the Staff and Services Provider may disclose
without the consent of any Person (1) that it is serving as staff and services provider to the
Management Company, (2) the nature, aggregate principal amount and overall perfonnance of the
Portfolio, (3) the amount of earnings on the Portfolio, (4) such other information about the
Management Company, the Portfolio and the Clients or Accounts as is customarily disclosed by
staff and services providers to management vehicles similar to the Management Company~ and (5)
the United States federal income tax treatment and United States federal income tax structure of
the transactions contemplated by this Agreement and the related documents and all materials of
any kind (including opinions and other tax analyses) that are provided to them relating to such
United States federal income tax treatment and United States income tax structure. This
authorization to disclose the U.S. tax treatment and tax structure does not permit disclosure of
information identifying the Staff and Services Provider, the Clients or Accounts or any other party
to the transactions contemplated by this Agreement (except to the extent such infonnation is
relevant to U.S. tax structure or tax treatment of such transactions).

                                          ARTICLE VI

                        EXCULPATION AND INDEMNIFICATION

        Section 6.0 I Standmd of Care. Except as otherwise expressly provided herein, each
Covered Person shall discharge its duties under this Agreement with the care, skill, prudence and
diligence under the circumstances then prevailing that a prudent person acting in a like capacity
and familiar with such matters would use in the conduct of an enterprise of a like character and
with like aims. To the extent not inconsistent with the foregoing, each Covered Person shall follow
its customary standards, policies and procedures in performing its duties hereunder. No Covered
Person shall deal with the income or assets of the Management Company in such Covered Person's
own interest or for its own account. Each Covered Person in its respective sole and absolute
discretion may separately engage or invest in any other business ventures, including those that may
be in competition with the Management Company, and the Management Company will not have
any rights in or to such ventures or the income or profits derived therefrom


                                                11
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39         Page 362 of 600




         Section 6.02 Exculpation. To the fullest extent permitted by law, no Covered Person will
be liable to the Management Company, any Member, or any shareholder, partner or member
thereof, for (i) any acts or omissions by such Covered Person arising out of or in connection with
the conduct of the business of the Management Company or its General Partner, or any investment
made or held by the Management Company or its General Pruiner, unless it is determined
ultimately by a court of competent jurisdiction, in a final nonappealable judgment, to be the result
of gross negligence or to constitute fraud or willful misconduct (as interpreted under the laws of
the State of Delaware) (each, a "Disabling Conduct") on the part of such Covered Person, (ii) any
act or omission of any Investor, (iii) any mistake, gross,negligence~ misconduct or bad faith of any
employee, broker, administrator or other agent or representative of such Covered Person,provided
that such employee, broker, administrator or agent was selected, engaged or retained by or on
behalf of such Covered Person with reasonable care, or (iv) any consequential (including loss of
profit), indirect, special or punitive damages. To the extent that, at law or in equity, any Covered
Person has duties (including fiduciary duties) and liabilities relating thereto to the Mm1agement
Company or any Member, no Covered Person acting under this Agreement shall be liable to the
Management Compm1y or to any such Member for its good-faith reliance on the provisions of this
Agreement. The exculpations set forth in this Section 6.02 shall exculpate any Covered Person
regardless of such Covered Person's sole, comparative, joint, concurrent, or subsequent
negligence.

         To the fullest extent permitted by law, no Covered Person shall have any personal liability
 to the Management Company or any Member solely by reason of any change in U.S. federal, state
 or local or foreign income tax laws, or in interpretations thereof, as they apply to the Management
 Company or the Members, wl1ether the change occurs through legislative, judicial or
 administrative action.

         Any Covered Person in its sole and absolute discretion may consult legal counsel,
 accountants or other advisers selected by it, and any act or omission taken, or made in good faith
 by such Person on behalf of the Management Company or in furtherance of the_ business of the
 Management Company in good-faith relim1ce on and in accordance with the advice of such
 counsel, accountants or other advisers shall be full justification for the act or omission, and to the
 fullest extent permitted by applicable law, no Covered Person shall be liable to the Management
 Compm1y or any Member in so acting or omitting to act if such counsel, accountants or other
 advisers were selected, engaged or reJained with reasonable care.

          Section 6.03 .Indemnification by the Management Company.                   The Management
 Company shall and hereby does, to the fullest extent permitted by applicable law, indemnify and
 hold hannless any Covered Person from and against any and all claims, causes of action (including,
 but not limited to, 'stTict liability, negligence, statutory violation, regulat01y violation, breach of
 contract, and all other torts and claims arising under common law), demands, liabilities, costs,
 expenses, damages, losses, suits, proceedings, judgments, assessments, actions and other
 liabilities, whether judicial, administrative, investigative or otherwise, of whatever nature, known
 or unknown, liquidated or u_nliquidated ("Claims"), that may accrue to or be incurred by any
 Covered Person, or in which any Covered Person may become involved, as a party or otherwise,
 or with which any Covered Person may be threatened, relating to or arising out of the investment
 or other activities of the Management Company or its General Partner, or activities undertaken in
 connection with the Management Company or its General Partner, or otherwise relating to or


                                                   12
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 363 of 600




arising out of this Agreement, including amoW1ts paid in satisfaction of judgments, in compromise
or as fines or penalties, and attorneys' fees and expenses incun-ed in connection with the
preparation for or defense or disposition of any investigation, action, suit, arbitration or other
proceeding (a "Proceeding"), whether civil or criminal (all of such Claims, amounts and expenses
referred to therein are referred to collectively as "Damages"), except to the extent that it sha11 have
been determined ultimately by a court of competent jurisdiction, in a final nonappealable
judgment, that such Damages arose primarily from Disabling Conduct of such Covered Person,
The termination of any Proceeding by settlement, judgment order, conviction or upon a plea of
nolo contendere or its equivalent shall not, of itself, create a presumption that any Damages relating
to such settlement, judgment, order, conviction or plea of nolo contendere or its equivalent or
otherwise relating to such Proceeding arose primarily from Disabling Conduct of any Covered
Persons. Any Covered Person shall be indemnified under the terms of this Section 6.03 regardless
of such Covered Person's sole, comparative, joint, concurrent, or subsequent negligence.

        Expenses (including attorneys' fees) incurred by a Covered Person in defense or settlement
of any Claim that may be subject to a right of indemnification hereunder shall be advanced by the
Management Company prior to the final disposition thereof upon receipt of a written undertaking
by or on behalf of the Covered Person to repay the amount advanced to the extent that it shall be
determined ultimately by a court of competent jurisdiction that the Covered Person is not entitled
to be indemnified hereunder. The right of any Covered Persons to the indemnification provided
herein shall be cumulative of, and in addition to, any and all rights to which the Covered Person
may otherwise be entitled by contract or as a matter of law or equity and shall be extended to the
Covered Person's successors, assigns and legal representatives, Any judgments against the
Management Company and/or any Covered Persons in respect of which such Covered Person is
entitled to indemnification shall first be satisfied from the assets of the Management Company,
including Drawdowns, before such Covered Person is responsible therefor.

        Notwithstanding any provision of this Agreement to the contrary, the provisions of this
Section 6.03 shall not be construed so as to provide for the indemnification of any Covered Person
for any liability (including liability under Federal securities laws which, under certain
circumstances, impose liability even on persons that act in good faith), to the extent (but only to
the extent) that such indemnification would be in violation of applicable law, but shall be construed
so as to effectuate the provisions of this Section 6.03 to the fullest extent permitted by law.

        Section 6.04 Other Sources of Recovery etc. The indemnification rights set forth in
Section 6.03 are in addition to, and shall not exclude, limit or otherwise adversely affect, any other
indemnification or similar rights to which any Covered Person may be entitled. If and to the extent
that other sources of recovery (including proceeds of any applicable policies of insurance or
indemnification from any Person in which any of the Clients or Accounts has an investment) are
available to any Covered Person, such Covered Person shall use reasonable efforts to obtain
recove1y from such other sources before the Company shall be required to make any payment in
respect of its indemnification obligations hereunder; provided that, if such other recovery is not
available without delay, the Covered Person shall be entitled to such payment by the Management
Company and the Management Company shall be entitled to reimbursement qut of such other
recovery when and if obtained.




                                                  13
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39          Page 364 of 600




       Section 6.05 Rights of Heirs. Successors and Assigns. The indemnification rights
provided by Section 6.03 shall inure to the benefit of the_ heirs, executors, administrators,
successors and assigns of each Covered Person.

         Section 6.06 Reliance. A Covered Person shall incur no liability to the Management
Company or any Member in acting upon any signature or writing reasonably believed by him, her
or it to be genuine, and may rely in good faith on a certificate signed by an officer of any Person
in order to ascertain any fact with respect to s_uch Person or within such Person's knowledge. Each
Covered Person may act directly or through his, her or its agents or attorneys.

                                            ARTICLE VII

                                          TER!VIINATION

         Section 7.01 Termination. Either Party may terminate this Agreement at any time upon
at least thirty (30) days' written notice to the other.

                                           ARTICLE VIII

                                        MISCELLANEOUS

        Section 8.01 Amendments. This Agreement may not be amended or modified except by
an instrument in writing signed by each Party.

        Section 8.02    Assignment and Delegation.

                (a)      Neither Party may assign, pledge, grant or otherwise encumber or transfer
all or any-part of its rights or responsibilities under this Agreement, in whole or in part, except (i)
as provided in clauses (b) and (c) of this Section 8.02, without the prior written consent of the other
Party and (ii) in accordance with Applicable Law.

              (b)    Except as otherwise provided in this Section 8.02, the Staff and, Services
Provider may not assign its Tights or responsibilities under this Agreement unless (i) the
Management Company consents in writing thereto and (ii) such assignment is made in accordance
with Applicable Law.

                 (c)     The Staff and Services Provider may, without satisfying any of the
conditions of Section 8.02(a) other than clause (ii) thereof, (1) assign any of its rights or obligations
under this Agreement to an Affiliate; provided that such Affiliate (i) has demonstrated ability,
whether as an entity or by its principals and employees, to professionally and cbrnpetently perform
duties similar to those imposed upon the Staff and Services Provider pursuant to this Agreement
and (ii) has the legal right and capacity to act as Staff and Services Provider under this Agreement,
or (2) enter into (or have its parent enter into) any consolidation or amalgamation with, or merger
with or into, or transfer of all or substantially all of its assets to, another entity; provided that, at
the time of such consolidation, merger, amalgamation or transfer the resulting, surviving or
transferee entity assumes all the obligations of the Staff and Services Provider under this
Agreement generally (whether by operation of law or by contract) and the other entity is a
continuation of the Staff and Services Provider in another corporate or similar form and has


                                                   14
Case 21-03005-sgj Doc 29 Filed 05/24/21           Entered 05/24/21 10:22:39         Page 365 of 600




substantially the same staff; provided fi1rther that the Staff and Services Provider shall deliver ten
(10) Business Days' prior notice to the Management Company of any assignment or combination
made pursuant to this sentence, Upon the execution and delivery of any such assignment by the
assignee, the Staff and Services Provider will be released from further obligations pursuant to this
Agreement except to the extent expressly provided herein.

        Section 8.03   Non-Recourse: Non-Petition.

                (a)     The Staff and Services Provider agrees that the payment of a11 amounts to
which it is entitkd pursuant to this Agreement shall be payable by the Management Company only
to the extent of assets held in the Portfolio.

                (b)     Notwithstanding anything to the contrary contained herein, the liability of
the Management Company to the Staff and Services Provider hereunder is limited in recourse to
the P01tfolio, and if the proceeds of the Portfolio followirtg the liquidation thereof are insufficient
to meet the obligations of the Management Company hereunder in full~ the Management Company
shall have no further liability in respect of any such outstanding obligations, and such obligations
and all claims of the Staff and Services Provider or any other Person against the Management
Company hereunder shall thereupon extinguish and not thereafter revive. ,The Staff and Services
Provider accepts that the obligations of the Management Company hereunder are the corporate
obligations of the Management Company and are not the obligations of any employee, member,
officer, director or administrator of the Management Company and no action may be taken against
any such Person in relation to the obligations of the Management Company hereunder,

               (c)     Notwithstanding anything to the contrary contained herein, any Staff and
Services Provider agrees not to institute against, or join any other Person in instituting against, the
Management Company any bankruptcy, reorganization, arrangement, insolvency, moratorium or
liquidation proceedings, or other proceedings under United States federal or state bankruptcy laws,
or similar laws until at least one year and one day (or, if longer, the then applicable preference
period plus one day) after the payment in full all amounts payable in respect of any Indebtedness
incurred to finance any p01tion of the Portfolio; provided that nothing in this provision shall
preclude, or be deemed to stop, the Staff and Services Provider from taking any action prior to the
expiration of the aforementioned one year and one day period (or, if longer, the applicable
preference period then in effect plus one day) in (i) any case or proceeding voluntarily filed or
commenced by the Management Company, or (ii) any involuntary insolvency proceeding filed or
commenced against the Management Company by a Person other than the Staff and Services
Provider.

                (d)     The Management Company hereby acknowledges and agrees that the Staff
and Services Provider's obligations hereunder shall be solely the corporate obligations of the Staff
and Services Provider, and are not the obligations of any employee, member, officer, director or
administrator of the Staff and Services Provider and no action may be taken against any such
Person in relation to the obligations of the Staff and Services Provider hereunder.

               (e)    The provisions of this Section 8.03 shall survive tennination of this
 Agreement for any reason whatsoever.




                                                  15
Case 21-03005-sgj Doc 29 Filed 05/24/21            Entered 05/24/21 10:22:39         Page 366 of 600




        Section 8.04    Governing Law.

                 (a)   This Agreement shall be governed by, and construed in accordance with,
the laws ofthe State of Texas, The Pruties unconditionally and irrevocably consent to the exclusive
jurisdiction of the comts located in the State of Texas and waive any objection with respect thereto,
for the purpose of any action, suit or proceeding arising out of or relating to this Agreement or the
transactions contemplated hereby.

                (b)    The Parties iITevocabJy agree for the benefit of each other that the comts of
the State of Texas and the United States District Court located in the Northern District of Texas in
Dallas are to have exclusive jurisdiction to settle any disputes (whether contractual or non~
contractual) which may arise out of or in connection with this Agreement and that accordingly any
action arising out of or in connection therewith (together refe1Ted to as "Proceedings") may be
brought in such courts. The Parties irrevocably submit to the jurisdiction of such courts and waive
any objection which they may have now or hereafter to the laying of the venue of any Proceedings
in any such court and any claim that ru1y Proceedings have been brought in an inconvenient forwn
and fu1ther irrevocably agree that a judgment in any Proceedings brought in such courts shall be
conclusive and binding upon the Patties and may be-enforced in the courts of any other jurisdiction.

     Section 8.05 WAIVER OF mRY TRIAL. EACH OF THE PARTIES HERETO
HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVES ANY RIGHTS
IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION BASED
HEREON, OR ARISING OUT OF, UNDER, OR IN CONNECTION WITH, THIS
AGREEMENT. EACH PARTY HERETO ACKNOWLEDGES AND AGREES THAT IT HAS
RECENED FULL AND SUFFICIENT CONSIDERATION FOR THIS PROVISION AND
THAT THIS PROVISION IS A MATERIAL INDUCEMENT FOR ITS ENTERING INTO THIS
AGREEMENT.

         Section 8.06 Severability. The provisions of this Agreement are independent of and
 severable from each other, and no provision shall be affected or rendered invalid or unenforceable
 by virtue of the fact that for any reason any other or others of them may be invalid 'or unenforceable
 in whole or in part. Upon such determination th8t any term or other provision is invalid, illegal or
 incapable of being enforced, the Parties shall negotiate in good faith to modify this Agreement so
 as to effect the original intent of the Parties.

         Section 8.07 No Waiver. The performance of any condition or obligation imposed upon
 any Party may be waived only upon the written consent of the Pmties. Such waiver shall be limited
 to the terms thereof and shall not constitute a waiver of any other condition or obligation of the
 other Party. Any failure by any Party to enforce any provision shall not constitute a waiver of that
 or any other provision or this Agreement.

         Section 8.08 Counterparts. This Agreement may be executed in any number of
 counterparts by facsimile or other written or electronic form of communication, each of which
 shall be deemed to be an original as against any Party whose signature appears thereon, and all of
 which shall together constitute one and the same instrument. This Agreement shall become
 binding when one or more counterparts hereof, individually or taken together, shall bear the
 signatures of all of the Parties reflected hereon as the signatories.



                                                   16
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39        Page 367 of 600




        Section 8.09 Third Party Beneficiaries. This Agreement is for the sole benefit of the
Parties hereto and their permitted assigns and nothing herein express or implied shall give or be
construed to give to any Person, other than the Parties hereto and such permitted assigns, any legal
or equitable rights hereunder. For avoidance of doubt, this Agreement is not for the benefit or and
is not enforceable by any Shared Employee, Client or Account or any investor (directly or
indirectly) in the Management Company.

        Section 8.10 No Pmtnership or Joint Venture. Nothing set forth in this Agreement shall
constitute, or be construed to create, an employment relationship, a pmtnership or a joint venture
between the Parties. Except as expressly provided herein or in any other written agreement
between the Parties, no Party has any authority, express or implied, to bind or to incur liabilities
on behalf of, or in the name of, any other Patty.

        Section 8.11 Independent Contractor. Notwithstanding anything to the contrary, the
Staff and Services Provider shall be deemed to be an independent contractor and, except as
expressly provided or authorized herein, shall have no authority to act for or represent the
Management Company or any Client or Account in which the Management Company acts as
portfolio manager or investment manager or in a similar capacity in any manner or otherwise be
deemed an agent of the Management Company or any Client or Account in which the Management
Company acts as portfolio manager or investment manager or in a similar capacity.

        Section 8.12 Written Disclosure Statement. The Mmmgement Company acknowledges
receipt of Part 2 of the Staff and Services Provider's Form ADV, as required by Rule 204-3 under
the Advisers Act, on or before the date of execution of this Agreement.

       Section 8.13 Headings. The descriptive headings contained in this Agreement are for
convenience ofreference only and shall not affect in any way the meaning or interpretation of this
Agreement.

        Section 8.14 Entire Agreement. This Agreement constitutes the entire agreement of the
Parties with respect to the subject matter hereof and supersedes all prior agreements and
undertakings, both written and oral, between the Parties with respect to such subject matter.

       Section 8.15 Notices. Any notice or demand to any Party to be given, made or served
for any purposes under this Agreement shall be given, made or served by sending the same by
overnight mail or email transmission or by delivering it by hand as follows:

               (a)     If to the Management Company:

                       NexPoint Advisors, L.P.
                       200 Crescent Court
                       Suite 700
                       Dallas, TX 75201




                                                 17
Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39         Page 368 of 600




               (b)     Ifto the Staff and Services Provider:

                       Highland Capital Management, L.P.
                       300 Crescent Court
                       Suite 700
                       Dallas, TX 75201

or to such other address or email address as shall have been notified to the other Parties.




                       [The remainder of this page intentionally left blank.}




                                                 18
Case 21-03005-sgj Doc 29 Filed 05/24/21    Entered 05/24/21 10:22:39      Page 369 of 600




       IN WITNESS WHEREOF, each Party has caused this Agreement to be executed as of the
date hereof by its duly authorized representative.


                                               NEXPOINT ADVISORS, L.P.

                                               By: NexPoint Advisors GP, LLC, its
                                               General Partner



                                               By:._ _ _ _ _ _ _ _ _ _ _ __
                                               Name: Frank Waterhouse
                                               Title: Treasurer



                                               HIGHLAND CAPITAL
                                               MANAGEMENT, L.P.




                                               ~:in~
                                               By: Strand Advisors, Inc., its General




                                               Name: Frank Waterhouse
                                               Tit1e: Treasurer
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 370 of 600




                                EXHIBIT 41
      Case
    Case   21-03010-sgj
         21-03005-sgj   Doc
                      Doc 2925  Filed
                             Filed    02/24/21Entered
                                    05/24/21    Entered 02/24/21
                                                      05/24/21   18:55:35Page
                                                               10:22:39    Page 1 of 5
                                                                              371    600
                                                                                            Docket #0025 Date Filed: 2/24/2021




The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 24, 2021
______________________________________________________________________



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION



         In re:                                                        §
                                                                       §   Chapter 11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.                      §
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                       §
                                                                       §   Adversary Proceeding No.
                                          Plaintiff,
                                                                       §
         vs.                                                           §
                                                                       §   Case No. 21-03010-sgj11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT FUND
         ADVISORS, L.P., AND NEXPOINT ADVISORS,                        §
         L.P.,                                                         §
                                                                       §
                                Defendants.



                                                         ORDER




     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



     DOCS_NY:42406.7 36027/002                                                   ¨1¤}HV5"8                  -¤«
                                                                                     1934054210224000000000013
  Case
Case   21-03010-sgj
     21-03005-sgj   Doc
                  Doc 2925  Filed
                         Filed    02/24/21Entered
                                05/24/21    Entered 02/24/21
                                                  05/24/21   18:55:35Page
                                                           10:22:39    Page 2 of 5
                                                                          372    600




           This matter having come before the Court on the Emergency Motion for a Mandatory

Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of Services by

February 28, 2021 [Docket No. 2] (the “Motion”) 2 filed by Highland Capital Management, L.P.,

the debtor and debtor-in-possession in the above-captioned chapter 11 case (the “Bankruptcy

Case”), and the plaintiff in the above-captioned adversary proceeding, and this Court having

considered (i) the Motion; (ii) Plaintiff Highland Capital Management, L.P.’s Verified Original

Complaint for Damages and for Declaratory and Injunctive Relief [Docket No. 1] (the

“Complaint”); (iii) the arguments and law cited in the Debtor’s Memorandum of Law in Support of

its Motion for a Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for

the Transition of Services by February 28, 2021 [Docket No. 3] (the “Memorandum of Law,” and

together with the Motion and Complaint, the “Debtor’s Papers”); (iv) the Objection to Mandatory

Injunction and Brief in Support Thereof [Docket No. 20] (the “Objection”), filed on February 22,

2021, by the Advisors; (v) the testimonial and documentary evidence admitted into evidence during

the hearing held on February 23, 2021 (the “Hearing”), including the credibility of witnesses Mr.

James P. Seery, Jr., Mr. James Dondero, and Mr. Dustin Norris; and (vi) the arguments made during

the Hearing; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and this Court having found that this is a core proceeding 3 pursuant to 28 U.S.C. § 157(b)(2);



2
    Capitalized terms used but not herein defined shall have the meanings ascribed to such terms in the Motion.
3
 The court orally stated at the hearing that, at a minimum, there is bankruptcy subject matter jurisdiction in
this action, since: (a) there is a conceivable effect on the bankruptcy estate being administered (i.e., the pre-
confirmation test for bankruptcy subject matter jurisdiction), since there is a risk of potential liability or
regulatory actions being pursued against the estate, if the Debtor does not obtain relief in this action, and,
also (b) the outcome of this action could bear on the interpretation, implementation, and execution of a
confirmed plan (i.e., the post-confirmation test for bankruptcy subject matter jurisdiction). The court also
concluded, upon further analysis, that the action should be deemed to present a “core” matter, with regard to
which the bankruptcy court may issue final orders and exercise Constitutional authority, since, among other
things, the relief sought is, in essence, supplemental to the confirmation order and in furtherance of
implementation of the confirmed plan. See 11 U.S.C. § 1142(b). In all events, should this order ever be
subject to an appeal, and the District Court concludes that “noncore” matters are involved, the bankruptcy

                                                           2
DOCS_NY:42406.7 36027/002
  Case
Case   21-03010-sgj
     21-03005-sgj   Doc
                  Doc 2925  Filed
                         Filed    02/24/21Entered
                                05/24/21    Entered 02/24/21
                                                  05/24/21   18:55:35Page
                                                           10:22:39    Page 3 of 5
                                                                          373    600




and this Court having found that venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtor’s notice of

the Motion and opportunity for a hearing on the Motion were appropriate and that no other notice

need be provided; and upon all of the proceedings had before this Court, the legal and factual bases

set forth in the Debtor’s Papers, and the evidence submitted at the Hearing; and after due

deliberation and sufficient cause appearing therefor, and for the reasons set forth in the record on

this Motion, the Court makes the following findings of fact:

        1.       Each of the Advisors is controlled by Mr. Dondero.

        2.       The Debtor had the contractual right to terminate the HCMFA Shared Services

Agreement on 60 days’ written notice.

        3.       The Debtor properly exercised its right to terminate the HCMFA Shared Services

Agreement by providing at least 60 days’ written notice.

        4.       The HCMFA Shared Services Agreement and the Debtor’s obligation to provide

services to HCMFA under the HCMFA Shared Services Agreement terminated on February 19,

2021.

        5.       The Debtor had the contractual right to terminate the NPA Shared Services

Agreement on 30 days’ written notice.

        6.       The Debtor properly exercised its right to terminate the NPA Shared Services

Agreement by providing at least 30 days’ written notice.

        7.       The NPA Shared Services Agreement and the Debtor’s obligation to provide

services to NPA under the NPA Shared Services Agreement terminated on February 19, 2021.




court requests that the District Court regard this ruling as a proposed set of findings, conclusions and order
from the bankruptcy court and that the District Court adopt this ruling, pursuant to 28 U.S.C. § 157(c)(1).

                                                       3
DOCS_NY:42406.7 36027/002
  Case
Case   21-03010-sgj
     21-03005-sgj   Doc
                  Doc 2925  Filed
                         Filed    02/24/21Entered
                                05/24/21    Entered 02/24/21
                                                  05/24/21   18:55:35Page
                                                           10:22:39    Page 4 of 5
                                                                          374    600




       8.      Except as expressly set forth herein, effective as of February 19, 2021, the Debtor

has no obligation to provide any services, software, or assistance to any of HCMFA, NPA, the

Funds, or any servicer or personnel retained by any of HMCFA, NPA, or the Funds.

       9.      As of February 20, 2021, each of HCMFA and NPA had adopted an operating plan

to obtain or provide all services previously provided by the Debtor that are necessary to fully

perform under their agreements with the Funds without the aid or assistance of the Debtor.

       10.     Except as expressly set forth herein, as of February 20, 2021, neither HCMFA nor

NPA needs any services, including contractual arrangements and software, previously provided

by the Debtor or its employees under the Shared Services Agreements that are necessary to fully

perform under their agreements with the Funds.

       11.     On or prior to February 28, 2021, the Advisors will promptly provide the Debtor

with written notice of the documents, data, and books and records (collectively, the “Data”) that

the Advisors’ believe constitute their property. If the Debtor in reasonable good faith determines

such Data is the Advisors’ property, the Debtor will take reasonable efforts to provide the Advisors

with a copy of such Data. Subject to paragraph 13 below, on and prior to February 28, 2021,

each party will bear its own costs and expenses associated with the copying of the Data. Under

no circumstances will the Debtor be required to erase or otherwise remove any Data from the

Debtor’s systems. For the avoidance of doubt, the Debtor will have no obligation to provide any

Data that constitutes the Debtor’s privileged, confidential, or proprietary information.

       12.     Subject to paragraph 14, the Debtor will have no obligation to provide any Data to

the Advisors after February 28, 2021. If the Debtor in reasonable good faith cannot satisfy any

request for Data made pursuant to paragraph 11 by the close of business on February 28, 2021, the

Debtor will have no further obligation to provide such Data.



                                                 4
DOCS_NY:42406.7 36027/002
  Case
Case   21-03010-sgj
     21-03005-sgj   Doc
                  Doc 2925  Filed
                         Filed    02/24/21Entered
                                05/24/21    Entered 02/24/21
                                                  05/24/21   18:55:35Page
                                                           10:22:39    Page 5 of 5
                                                                          375    600




       13.     The Debtor will not be required to incur any material time, cost, or expense in

furtherance of its obligations set forth in paragraph 11—the Advisors’ witness having

represented to the court that the copying and/or transfer of the Data would be fairly easy to

achieve and that the Advisors stood by ready to receive the Data. To the extent any requests

require material time, cost, or expense, the Debtor may petition this Court for the payment of any

fees, costs, or expenses incurred in connection with the fulfillment of its obligations under

paragraph 11 (including the cost of such petition) and shall have no obligation to provide such

Data until the Court has ruled on such petition.

       14.     If the Debtor cannot in reasonable good faith provide requested Data by February

28, 2021, or if the Advisors request any Data after February 28, 2021, and in each case if the parties

cannot agree on the propriety of such request after conferring in good faith, the Advisors may

petition this Court for access to such Data. Regardless, the Advisors will bear any and all costs

associated with any requests for Data and the delivery of such Data under this paragraph.

       15.     Notwithstanding anything herein to the contrary, the delivery of Data to the

Advisors will not constitute a waiver of any privileges, including attorney-client privilege, or any

confidentiality requirements.

       16.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

       17.     Based on the foregoing, the Motion is dismissed as moot.

                                       ### End of Order ###




                                                   5
DOCS_NY:42406.7 36027/002
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 376 of 600




                                EXHIBIT 42
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 377 of 600




                        OPERATING RESULTS
                                   February 2018
              Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 378 of 600
Highland Capital Management, L.P.
Significant Items Impacting HCMLP's Balance Sheet
February 2018


CLOs


Operating Activities




Investments




Other
- ($3.8M) partner loan




                                                                                                 1
Case 21-03005-sgj Doc 29 Filed 05/24/21                       Entered 05/24/21 10:22:39                 Page 379 of 600

                                    Highland Capital Management, L.P.
                                     Financial/Operational Highlights
                                       February 2018 Close Package
                                               (in millions)

                                                11/30/2017      12/31/2017     1/31/2018          2/28/2018
Cash                                            $       6.4     $      10.2   $       2.2     $           9.6
Operating Revenue                               $         4.3   $      13.9   $         4.2   $           4.4
Operating Expenses (1)                                  (4.2)         (19.7)         (3.7)               (4.5)
Operating Income                                $        0.1 $         (5.8) $        0.5 $              (0.1)
Add back: Non-Recurring Items                   $       -       $         -   $       -       $          -
Adjusted Operating Income                       $         0.1   $      (5.8) $          0.5   $          (0.1)

Net Income/(Loss)                               $      20.4     $      17.0   $         7.2   $         (26.1)



                                                    MTD             YTD           LTM
Operating Cash Flow (2)                         $       (6.0) $        (4.2) $       (7.6)
 Interest Expense                                       (0.1)          (0.2)         (1.6)
Adjusted Operating Cash Flow                    $       (6.1) $        (4.4) $       (9.2)

Assets Under Management (billions)              11/30/2017      12/31/2017     1/31/2018
   CLO 1.0                                      $       2.1     $       1.9   $       1.8
   Sep. Accounts                                        1.9             2.0           2.0
   Hedge/PE                                             1.1             1.1           1.1
Total                                           $       5.0     $       5.0   $       4.9

Headcount - including affiliates                 11/30/2017     12/31/2017     1/31/2018          2/28/2018
Front Office                                         47             45             45                42
Institutional Marketing and Client Service           7              7              9                  8
Legal                                                14             15             15                16
Admin                                                13             14             13                13
Retail Operations (HCMLP)                             4              4             4                   4
Back Office                                          41             38             39                 39
HCFD/NSI                                             21             21             17                16
HCMF Strategy/Marketing                               5              5             5                   5
Total                                               152            149            147                143

Notes:
(1) Excludes deferred compensation MTM
(2) Operating Cash Flow = Operating Income + Dep. + Deferred Comp + Non-Cash Bonus Expense




                                                                                                                     2
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 380 of 600
                                Case 21-03005-sgj Doc 29 Filed 05/24/21                                   Entered 05/24/21 10:22:39                            Page 381 of 600
HCMLP Monthly Management Fees
(in thousands)

                                     3/31/2017      4/30/2017      5/31/2017       6/30/2017       7/31/2017       8/31/2017       9/30/2017        10/31/2017    11/30/2017    12/31/2017        1/31/2018         2/28/2018
CLO 1 0                        $        1,433 $        1,081 $          961 $           961 $         1,644 $           793 $           802 $           1,082 $         768 $         765 $            817 $             713
Sep Accounts                              577            762            586             327             792             635             563               516           678           584              622               626
Subadvised Account                        566            526            505             588             538             520             529               447           620           621              491               497
Hedge/PE Funds                            414            446            409           2,617             797             837             831               814           818           817            1,177             1,138
Total                          $        2,990 $        2,815 $        2,462 $         4,494 $         3,771 $         2,785 $         2,725 $           2,860 $       2,885 $       2,786 $          3,107 $           2,974


                                                                                      Highland Capital Management, LP


                 $5,000

                 $4,500

                 $4,000
                                                                                                                                                                                                           Total
                 $3,500
                            $2,990                                                                                                                                                                         $3,107
                 $3,000
                                                                                                                                                                                                     Other Instruments
                 $2,500

                 $2,000

                 $1,500
                                                                                                                                                                                                        CLO 1 0
                 $1,000

                     $500

                      $-
                            Mar-17         Apr-17         May-17          Jun-17          Jul-17          Aug-17          Sep-17           Oct-17            Nov-17        Dec-17        Jan-18            Feb-18




                                                                                                                                                                                                                      4
                                        Case 21-03005-sgj Doc 29 Filed 05/24/21                                                                  Entered 05/24/21 10:22:39                                                   Page 382 of 600


                                                                                                                                       Statement of Income
                                                                                                                                 Twelve Months Ended February 2018
                                                                                                                                           (in thousands)


                                                                    Mar-17          Apr-17          May-17          Jun-17            Jul-17          Aug-17          Sep-17           Oct-17             Nov-17             Dec-17             Jan-18             Feb-18              LTM            YTD

Revenue:
 Management fees                                                $      2,990    $      2,815    $      2,462    $      4,494      $      3,771    $      2,785    $      2,725     $       2,860      $       2,885      $       3,265      $       3,129      $       2,974       $    37,154    $    6,103
 Shared services fees                                                    817             871             794             620               779             803             757               732                871                873                930                866             9,713         1,796
 Incentive fees                                                          -               -               -               -                 -               -               -                 -                  -               10,057                -                  -              10,057           -
 Other income                                                            431             217             560             477               274             614             562               234                586                912                215                596             5,679           811
   Total operating revenue                                             4,237           3,904           3,816           5,591             4,824           4,202           4,043             3,827              4,342             15,107              4,274              4,436            62,603         8,710
Operating expenses:
 Compensation and benefits                                             2,769           2,539           2,495           2,702             2,885           2,800           2,368             2,308              2,795              2,692              2,755              2,769            31,876         5,524
 Deferred compensation                                                   222             243             157             214               426              50             297               286                755                291                159                101             3,201           260
 Professional services                                                   629             307           1,168             511               616           1,531             472             1,031                649             16,650                181                314            24,060           495
 Investment research and consulting                                      226             175               8             208                14              15             160                22                  8                242                 13                 20             1,111            33
 Depreciation                                                            110             110             110             114               112             112             113               112                112                108                109                108             1,328           217
 Other operating expenses                                                875             684             702           1,021               645             988             805               723                497                662                580                683             8,866         1,263
   Total operating expenses                                            4,831           4,057           4,640           4,770             4,697           5,495           4,216             4,482              4,816             20,646              3,798              3,995            70,442         7,793
Operating income                                                        (594)           (153)           (824)            821               127          (1,292)           (172)             (655)              (474)            (5,539)                  476                441         (7,839)          917
Other income/expense:
 Interest and investment income, net                                     478             454             493             661               606             558             532               574                937                839                612                   473          7,219         1,086
 Interest expense                                                       (143)           (141)           (149)           (146)             (142)           (148)           (136)             (141)              (134)              (147)              (141)                  (65)        (1,632)         (206)
 Other income/expense                                                     59             170           4,060             947                39              13              63                77                 64             19,147                 81                    64         24,784           145
   Total other income/expense                                           394              484           4,405           1,462               503            424              459                  510                867          19,839                   552                472         30,370         1,024
Realized and unrealized gain/(loss) from investments:
 Net realized gain/(loss) on sale of investment transactions           1,547             (20)          2,560             272               496           2,811             -                  22                -               (1,155)               -                  -               6,533           -
 Net change in unrealized gain/(loss) of investments                    (189)           (460)          4,729           4,338             3,144          (9,361)          9,180            (1,004)             6,375              2,170             10,678            (10,201)           19,398           477
   Total realized and unrealized gain/(loss) from investments          1,358            (480)          7,290           4,610             3,640          (6,550)          9,180              (982)             6,375              1,015             10,678            (10,201)           25,931           477
Earnings and losses from equity method investees
              .                                                          225             235             (16)            258                44            (201)             333               12                200                329                926               (210)            2,135            716
                                                                      (2,857)           (558)           (624)            818            (1,908)          1,709           (1,136)            (203)             4,333                529             (1,674)            (5,137)           (6,708)        (6,811)
                                                                      (5,870)         (1,935)         (1,352)          1,692            (3,860)          3,454           (2,300)            (419)             8,353              1,019             (3,731)           (11,446)          (16,395)       (15,177)
                                                                         -               -               -               -                 -                 9                0               15                -                   18                -                  -                  42            -
                                                                         -              (184)            -                 (6)             (15)            -                (14)             (18)                11                102                -                  -                (125)           -
                                                                         -               -               -               -                 -               -                -                -                  768                -                  -                  -                 768            -
                                                                         -               -            (1,534)            -                 -               -                -                -                  -                  -                  -                  -              (1,534)           -
                                                                         -               -               -               -                 -               -                -                -                  -                  -                  -                  -                 -              -
   Total earnings/(loss) from equity method investees                 (8,502)         (2,441)         (3,525)          2,762            (5,740)          4,971           (3,118)            (613)            13,664              1,996             (4,479)           (16,794)          (21,817)       (21,273)
   Net income                                                         (7,345)         (2,591)          7,345           9,655            (1,470)         (2,447)          6,348            (1,739)            20,432             17,311              7,227            (26,081) $         26,645    $   (18,854)

   Profit margin                                                       -173%            -66%           192%            173%               -30%            -58%            157%              -45%              471%               115%               169%               -588%              43%          -216%

     Operating Cash Flow Calculation:
     Operating income                                                   (594)           (153)           (824)            821               127          (1,292)           (172)             (655)              (474)            (5,539)               476                441            (7,839)           917
     Add Depreciation expense                                            110             110             110             114               112             112             113               112                112                108                109                108             1,328            217
     Adjustment Deferred compensation                                 (2,767)            243             157             214               426              50             297               286                755                291                159               (489)             (378)          (330)
                   Bonus awards                                        1,000             956           1,000           1,000             1,000          (5,190)            986             1,000              1,300              1,300              1,000             (6,049)             (696)        (5,049)
     Operating Cash Flow                                              (2,251)          1,155             442           2,149             1,664          (6,320)          1,224               743              1,693             (3,840)             1,744             (5,989) $         (7,585) $      (4,245)


     Less Interest expense                                              (143)           (141)           (149)           (146)             (142)           (148)           (136)             (141)              (134)              (147)              (141)               (65)           (1,632)          (206)
     Adjusted Operating Cash Flow                                     (2,395)          1,015             293           2,003             1,523          (6,468)          1,087               603              1,559             (3,987)             1,603             (6,054) $         (9,217) $      (4,451)


     Add cash bonus expense                                            1,063           1,001           1,000           1,100             1,032           1,025           1,000             1,008              1,304              1,300              1,000              1,000            12,832          2,000
     Less cash bonuses paid                                              (63)            (45)            -              (100)              (32)         (6,215)            (14)               (8)                (4)               -                  -               (7,049)          (13,528)        (7,049)
     Non-cash bonus add-back                                           1,000             956           1,000           1,000             1,000          (5,190)            986             1,000              1,300              1,300              1,000             (6,049)             (696)        (5,049)
     Add deferred compensation MTM                                       222             243            157              214               426              50             297                  286                755                291                159             101             3,201           260
     Less cash deferred awards paid                                   (2,989)            -              -                -                 -               -               -                    -                  -                  -                  -              (590)           (3,579)         (590)
     Non-cash deferred award add-back                                 (2,767)            243            157              214               426              50             297                  286                755                291                159            (489)             (378)         (330)




                                                                                                                                                                                                                                                                                                             5
     Case 21-03005-sgj Doc 29 Filed 05/24/21                           Entered 05/24/21 10:22:39             Page 383 of 600




                                                              Balance Sheet
                                                      February 2018 vs. January 2018
                                                              (in thousands)

                                                                                                              Increase/       Increase/
                                                                  February 28,          January 31,          (Decrease)      (Decrease)
                                                                     2018                  2018                   $              %
Assets

    Cash and cash equivalents                                 $            9,607    $            2,161   $         7,446            344.6%
    Investments, at fair value                                           266,615               277,888           (11,273)            -4.1%
    Equity method investees                                               59,692                82,690           (22,997)           -27.8%
    Management and incentive fee receivable                                1,918                 4,988            (3,070)           -61.5%
    Deferred incentive fees                                                  -                   6,944            (6,944)             0.0%
    Fixed assets, net                                                      5,557                 5,665              (109)            -1.9%
    Due from affiliates                                                  181,222               175,605             5,617              3.2%
    Other assets                                                           9,408                10,353              (945)            -9.1%
Total assets                                                  $          534,020    $          566,295   $       (32,275)           (5.7%)



Liabilities and Partners' Capital

    Accounts payable                                          $            2,036    $            2,667   $           (631)          -23.7%
    Due to brokers                                                        35,777                35,842                (64)           -0.2%
    Accrued expenses and other liabilities                                54,361                59,860             (5,498)           -9.2%

    Partners' capital                                                    441,846               467,927           (26,081)            -5.6%
Total liabilities and partners' capital                       $          534,020    $          566,295   $       (32,275)           (5.7%)



                                Partners' Capital Walk
                                 Partners' capital at 1/31 $             467,927
                         Net subscriptions/(redemptions)                     -
                                          Net income/(loss)              (26,081)
                                 Partners' capital at 2/28 $             441,846




                                                                                                                                6
Case 21-03005-sgj Doc 29 Filed 05/24/21                                Entered 05/24/21 10:22:39                     Page 384 of 600




                                                              Income Statement
                                                     February 2018 YTD vs. January 2017 YTD
                                                                   (in thousands)

                                                                                                                Increase/      Increase/
                                                                              2018                2017         (Decrease)     (Decrease)
                                                                              YTD                 YTD               $             %

  Revenue:
    Management fees                                                       $       6,103       $      6,106     $       (3)          0.0%
    Shared services fees                                                          1,796              1,574            221          14.1%
    Other income                                                                    811                808              3           0.4%
       Total operating revenue                                                    8,710              8,488            222           2.6%
  Operating expenses:
   Salaries and overtime                                                          2,331              2,274             57           2.5%
   Bonus                                                                          2,000              1,995              5           0.2%
   Other compensation and benefits                                                1,193              1,125             68           6.1%
   Deferred compensation                                                            260                666           (406)        -61.0%
   Professional services                                                            495                740           (245)        -33.1%
   Investment research and consulting                                                33                 23             10          45.5%
   Marketing and advertising expense                                                341                460           (119)        -25.8%
   Depreciation expense                                                             217                221             (4)         -2.0%
   Other operating expenses                                                         922                747            175          23.4%
       Total operating expenses                                                   7,793              8,252           (460)         -5.6%

  Operating income/(loss)                                                            917                 236          681         288.5%
  Other income/expense:
    Interest income                                                               1,086                916            170          18.6%
    Interest expense                                                               (206)              (244)            39         -15.8%
    Other income/expense                                                            145                251           (106)        -42.3%
       Total other income/expense                                                 1,024                  922          103          11.1%

  Realized and unrealized gains from investments:
    Net realized losses on sales of investment transactions                            -                 -             -            0.0%
    Net change in unrealized gains/(losses) of investments                           477            10,093          (9,616)        95.3%
       Total realized and unrealized gains from investments                          477            10,093          (9,616)       -95.3%
  Net earnings/(losses) from equity method investees                            (21,273)             6,393         (27,666)       432.8%
       Net income/(loss)                                                  $     (18,854)      $     17,644     $   (36,498)       206.9%

       Profit margin                                                             -216%               208%

  Other operating expenses detail
    Rent expense                                                                     258                 196            61          31 2%
    Fees and dues                                                                     44                  55           (11)         -19 6%
    Travel and entertainment                                                         137                 201           (63)         -31 6%
    Insurance expense                                                                128                  50            78         155 8%
    Bad debt expense                                                                   -                   -           -             0 0%
    Miscellaneous expenses                                                           354                 245           110          44 9%
       Total other operating expenses                                                922                 747           175          23.4%




                                                                                                                                             7
Case 21-03005-sgj Doc 29 Filed 05/24/21                                                                      Entered 05/24/21 10:22:39                                            Page 385 of 600
HCMLP Analytics
(in thousands)
Accounts Payable Aging Analysis
                                                                                                                                                        Greater Than 120
Vendor Type                         Current                  30 Days                45 Days                   90 Days                   120 Days             Days               Grand Total                    %
Overhead                        $               678    $                   45   $                 433   $                     86   $               -    $            -     $                 1,242                      61%
Legal                                           -                      -                          -                       -                        -                 794                       794                      39%
Grand Total                     $               678    $                   45   $                 433   $                     86   $               -    $            794   $                 2,036                     100%

% Outstanding                                   33%                    2%                         21%                     4%                       0%                39%


                               Overhead                                                                     Legal                                                          Grand Total




                    Current          30 Days                                            Current                 30 Days                                         Current            30 Days
                    45 Days          90 Days                                            45 Days                 90 Days                                         45 Days            90 Days
                    120 Days         Greater Than 120 Days                              120 Days                Greater Than 120 Days                           120 Days           Greater Than 120 Days




Top 5 Legal Greater than 120 Days                                                 February 2018         Top 5 Overhead Greater than 120 Days*                                  February 2018
                                                                                $            292        N/A                                                                                        -
                                                                                             200
                                                                                             180
                                                                                             112
                                                                                              10
Total                                                                           $            794        Total                                                              $                   -
% Total of AP Outstanding                                                                    39%        % Total of AP Outstanding                                                                  0%




Fund Reimbursements                                                                                                                                         Self-Insurance Summary
                                                                                                                   Year-Over-Year                                                                           Premium
Funds                               2/28/2018                1/31/2018              2/28/2017                 $ Change        % Change                      Entity                                           Balance
US CLOs                         $                851   $             1,893      $              633      $              217            34%                                                                               693
Hedge/Private Equity                             611                   622                     497                     114            23%                                                                               370
Separate Accounts                                 30                    30                      17                       13           77%                                                                                89
Retail                                           194                   194                     557                   (363)           -65%                                                                                 9
International/Portfolio Co                     3,413                 3,668                   3,954                   (541)           -14%                                                                              (156)
Research Unallocated                             759                   311                     888                   (129)           -15%                                                                              (154)
Unallocated                                    1,345                 1,297                   1,350                     -               0%                                                                              (197)
Total                           $              7,202   $             8,015      $            7,896      $            (688)            -9%                                                                              (392)
                                                                                                                                                                                                                       (258)
                                                                                                                                                            Total over/(under) funded                   $                 4
                                                             1/31/2018            Net Additions               Receipts                  2/28/2018
Month to Month Change                                  $             8,015      $             330       $           (1,143) $                   7,202       Shared Services Receivables Summary

                                                             2/28/2017              2/28/2018                2017 YTD                   2018 YTD            Entity                                          Balance
Fund Reimbursement Receipts                            $             1,620      $           1,143       $           2,225          $           2,256                                                                  3,730
                                                                                                                                                                                                                        367
 HCMLP Invoice Metrics                                   February 2018            January 2018                                                                                                                          200
Invoices Processed:                                                 162                      120                                                                                                                          40
$ Amount Processed:                                    $          8,077         $         11,918                                                                                                                          54
# of Payments                                                       166                      152                                                                                                                        -
$ Amount of Payments:                                  $          8,558         $         13,302                                                                                                                        -
                                                                                                                                                            Total                                       $             4,391




                                                                                                                                                                                                                               8
Case 21-03005-sgj Doc 29 Filed 05/24/21       Entered 05/24/21 10:22:39                                                 Page 386 of 600
                               Highland Capital Management, LP
                                    Schedule of Investments
                                      As of February 2018
                                                                                    Contributions,
                                                              Monthly Change in    (Distributions) &
                                                                 Unrealized            Realized
              Fund                         MV @ 1/31/2018       Gain/(Loss)           Gain/(Loss)      MV @ 2/28/2018




                                                  5,660,653             (29,409)                -             5,631,244




                                                                                                                            9
                                    Case 21-03005-sgj Doc 29 Filed 05/24/21          Entered 05/24/21 10:22:39           Page 387 of 600
Historical Legal Summary through February 28, 2018
Includes only matters allocated to HCMLP
in thousands

HCMLP Legal by Matter                                                                      HCMLP Legal by Vendor




    Sub-Total Top 25 Matters                                 3,469   3,513   8,039   512      Sub-Total Top 25 Vendors                          2,865     3,045     7,450     450

    Sub-Total Other Matters                                     31       1     -     -        Sub-Total Other Vendors                             635       469       589      61
    Total Matters                                            3,500   3,514   8,039   512      Total Vendors                                     3,500     3,514     8,039     512

Sorted largest to smallest Matter by 2018 dollars invoiced                                 Sorted largest to smallest Vendor by cumulative dollars invoiced ('12 - YTD '18)




                                                                                                                                                                    10
                       Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39       Page 388 of 600


Employee Expenses through February 28, 2018
Excludes all Dondero Reimbursements
HCMLP & Certain Affiliated Advisors
in thousands

Employee Expenses - Including Reimbursable                                       Employee Expenses - Non-Reimbursable Only

                                                                    2018                                                                            2018
Company       2015          2016         2017         2018                       Company       2015         2016         2017         2018
                                                                  Annualized                                                                      Annualized
          $      838    $      707   $      818   $          93   $     557      HCMLP     $      387   $      174   $      396   $          61   $     363
               2,447         1,860        1,041              85         509      HCFD           2,219          933          543              39         231
                 742           511          292              23         139      HCMFA            450          380          256              18         110
                 -              57          141              18         108      NPA              -             16           61               9          55

Total     $    4,027    $    3,135   $    2,293   $      219      $   1,312      Total     $    3,056   $    1,503   $    1,257   $      127      $     759




                                                                                                                                                      11
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 389 of 600




                                EXHIBIT 3
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 390 of 600




                        OPERATING RESULTS
                                    August 2018
              Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 391 of 600
Highland Capital Management, L.P.
Significant Items Impacting HCMLP's Balance Sheet
August 2018




Operating Activities




Investments




Other
- ($5.0M) partner loan
Case 21-03005-sgj Doc 29 Filed 05/24/21                      Entered 05/24/21 10:22:39                    Page 392 of 600

                                    Highland Capital Management, L.P.
                                     Financial/Operational Highlights
                                        August 2018 Close Package
                                               (in millions)

                                                 5/31/2018       6/30/2018       7/31/2018          8/31/2018
Cash                                            $       6.9     $       7.8     $       7.7     $           3.4
Operating Revenue                               $         5.0   $         4.4   $         4.8   $           3.2
Operating Expenses (1)                                  (4.8)          (4.9)           (4.4)               (3.9)
Operating Income                                $        0.2 $         (0.5) $          0.4 $              (0.7)
Add back: Non-Recurring Items (3)               $         0.9   $         0.9   $         0.7   $          -
Adjusted Operating Income                       $         1.1   $         0.4   $         1.1   $          (0.7)

Net Income/(Loss)                               $       (1.3) $        (2.2) $         12.1     $         11.9



                                                    MTD             YTD             LTM
Operating Cash Flow (2)                         $       (5.9) $         3.5 $          (8.2)
 Interest Expense                                       (0.2)          (1.1)           (1.6)
Adjusted Operating Cash Flow                    $       (6.1) $         2.4 $          (9.8)

Assets Under Management (billions)               5/31/2018       6/30/2018       7/31/2018
   CLO 1.0                                      $       1.4     $       1.4     $       1.4
   Sep. Accounts                                        2.5             2.5             2.5
   Hedge/PE                                             0.6             0.2             0.2
Sub-total                                       $       4.5     $       4.1     $       4.1

Headcount - including affiliates                 5/31/2018       6/30/2018       7/31/2018          8/31/2018
Front Office                                         38              38              38                38
Institutional Marketing and Client Service           4               4               3                  2
Legal                                                15              15              15                15
Admin                                                15              15              15                15
Retail Operations (HCMLP)                            6               6               6                   6
Back Office                                          34              35              35                 35
HCFD/NSI                                             16              17              17                17
HCMF Strategy/Marketing                              8               8               8                   8
Total                                               136             138             137                136

Notes:
(1) Excludes deferred compensation MTM
(2) Operating Cash Flow = Operating Income + Dep. + Deferred Comp + Non-Cash Bonus Expense
(3) Receivables reserve
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 393 of 600
                                     Case 21-03005-sgj Doc 29 Filed 05/24/21                                        Entered 05/24/21 10:22:39                          Page 394 of 600
HCMLP Monthly Management Fees
(in thousands)

                                          8/31/2017       9/30/2017       10/31/2017       11/30/2017       12/31/2017       1/31/2018       2/28/2018       3/31/2018        4/30/2018        5/31/2018        6/30/2018          7/31/2018
Intercompany Retail Advisors         $          -   $           -   $            -   $            -   $           252 $           252 $           252 $           252 $          1,500 $            668 $          1,500 $              668
Sep Accounts                                 1,036             938            1,100            1,361            1,107           1,068             963             987              967              961              894                893
CLO 1 0                                        802           1,082              768              871              818             713             713             837              589              585              643                473
Hedge/PE Funds                                 358             393              396              404              440             443             448             408              206               77               95                 90
Other                                             -               -                -                9                -               -               -             87                 -              43               22                 65
Sub-total                            $       2,196 $         2,413 $          2,265 $          2,644 $          2,617 $         2,476 $         2,375 $         2,571 $          3,262 $          2,334 $          3,154 $            2,189
CLO 2 0*                                       529             447              620              561              491             497             497             500              497              497              407                   -
Grand Total                                  2,725           2,860            2,885            3,205            3,108           2,974           2,873           3,071            3,760            2,832            3,561              2,189



                                                                                                Highland Capital Management, LP


                    1,600


                    1,400


                    1,200


                    1,000                                                                                                                                                                                                  Sep Accts


                      800


                      600                                                                                                                                                                                                     Int Retail

                      400                                                                                                                                                                                       CLO 1 0


                      200                                                                                                                                                                                                 Hedge PE


                         -
                                 Aug-17          Sep-17          Oct-17           Nov-17           Dec-17           Jan-18          Feb-18          Mar-18           Apr-18           May-18           Jun-18             Jul-18




*CLO 2 0 fees are reserved against
                                        Case 21-03005-sgj Doc 29 Filed 05/24/21                                                                Entered 05/24/21 10:22:39                                                   Page 395 of 600


                                                                                                                                     Statement of Income
                                                                                                                                Twelve Months Ended August 2018
                                                                                                                                         (in thousands)


                                                                    Sep-17          Oct-17          Nov-17          Dec-17          Jan-18          Feb-18          Mar-18           Apr-18             May-18             Jun-18              Jul-18             Aug-18           LTM            YTD

Revenue:
 Management fees                                                $      2,725    $      2,860    $      2,885    $      3,205    $      3,108    $      2,974    $      2,873     $       3,071      $       3,760      $       2,832       $       3,561      $       2,189    $    36,041    $    24,366
 Shared services fees                                                    757             732             871             826             915             866             866               890              1,038                937                 827                657         10,182          6,995
 Incentive fees                                                          -               -               -            10,043             -               -               -                 -                  -                   18                 -                  -           10,061             18
 Other income                                                            562             234             586             912             215             596             339               482                304                653                 458                348          5,689          3,395
   Total operating revenue                                             4,043           3,827           4,342          14,987           4,237           4,436           4,079             4,442              5,102              4,440               4,846              3,193         61,973         34,774
Operating expenses:
 Compensation and benefits                                             2,368           2,308           2,795           3,651           2,755           2,769           2,711             3,283              2,277              2,529               2,515              2,676         32,636         21,514
 Deferred compensation                                                   297             286             755             291             159             101               9               479                 87                179                 700                204          3,547          1,918
 Professional services                                                   472           1,031             649          18,821         (15,051)            314             606               344                814                608                 408                342          9,358          1,819
 Investment research and consulting                                      160              22               8             242              13              20             226                26                 20                170                  43                 18            966            535
 Depreciation                                                            113             112             112             108             109             108             108               108                108                108                 108                108          1,310            865
 Bad debt                                                                -               -               -             2,279             -               -                 5             3,497                866                870                 713                -            8,229          5,951
 Other operating expenses                                                805             723             497           1,180             580             683             951               871                684                665                 606                803          9,049          5,844
   Total operating expenses                                            4,216           4,482           4,816          26,571         (11,435)          3,995           4,616             8,608              4,857              5,130               5,092              4,151         65,097         38,446
Operating income                                                        (172)           (655)           (474)        (11,585)         15,672             441            (537)           (4,166)              245                (690)               (246)              (957)        (3,124)        (3,672)
Other income/expense:
 Interest and investment income, net                                     532             574             937             839             612             473             524               886                554                462                 978                529          7,899          5,018
 Interest expense                                                       (136)           (141)           (134)           (145)           (143)            (65)           (131)             (140)              (151)              (141)               (152)              (156)        (1,634)        (1,078)
 Other income/expense                                                     63              77              64          19,134         (13,353)             64              96               124                 96                584                 127                108          7,184          1,280
   Total other income/expense                                            459             510             867          19,828         (12,883)            472             489                  870            500                    904                 953            481          13,449          5,219
Realized and unrealized gain/(loss) from investments:
 Net realized gain/(loss) on sale of investment transactions             -                22             -            (1,196)            -               -              3,961              -                  -                  351                  89                 48          3,276          4,450
 Net change in unrealized gain/(loss) of investments                   9,180          (1,004)          6,375          (2,125)         10,678         (10,201)         (16,002)           3,030             (1,476)            (1,170)              6,011              7,563         10,859         (1,567)
   Total realized and unrealized gain/(loss) from investments          9,180            (982)          6,375          (3,320)         10,678         (10,201)         (12,041)           3,030             (1,476)              (819)              6,100              7,611         14,135          2,882
Earnings and losses from equity method investees
                                                                         333              12             200             329             926            (210)           (821)              726               (617)               (91)                223                122          1,130            257
                                                                      (1,136)           (203)          4,333             529          (1,674)         (5,137)           (726)           (2,108)                57               (554)              1,482              1,362         (3,776)        (7,299)
                                                                      (2,300)           (419)          8,353           1,019          (3,731)        (11,446)           (199)           (5,483)               138             (1,348)              3,601              3,311         (8,505)       (15,157)
                                                                           0              15             -                22             -               -               -                 -                  -                  -                   -                  -               38            -
                                                                         (14)            (18)             11             (18)            -               -              (126)              -                  -                   88                 -                  -              (77)           (38)
                                                                         -               -               768             (89)            -               -               -                 -                  (37)               -                   -                  -              641            (37)
                                                                         -               -               -               -               -               -               -                 -                  -                  -                   -                  -              -              -
                                                                         -               -               -                75             -               -               -                 -                  -                  -                   -                  -               75            -
   Total earnings/(loss) from equity method investees                 (3,118)           (613)         13,664           1,866          (4,479)        (16,794)          (1,872)          (6,865)              (459)            (1,905)              5,305              4,795        (10,474)       (22,274)
   Net income                                                          6,348          (1,739)         20,432           6,790           8,988         (26,081)         (13,962)          (7,130)            (1,190)            (2,510)             12,112             11,929    $    13,986    $   (17,844)

   Profit margin                                                       157%             -45%           471%             45%            212%            -588%           -342%             -161%              -23%                -57%               250%               374%            23%           -51%

     Operating Cash Flow Calculation:
     Operating income                                                   (172)           (655)           (474)        (11,585)         15,672             441             (537)          (4,166)               245               (690)               (246)              (957)        (3,124)         9,762
     Add Depreciation expense                                            113             112             112             108             109             108              108              108                108                108                 108                108          1,310            865
     Adjustment Deferred compensation                                    297             286             755             291             159             101             (581)          (2,381)                87                125                 700                204             43         (1,586)
                   Bonus awards                                       (5,215)            994           1,296           1,984           1,000           1,000           (6,001)             964                889                900                 945             (5,210)        (6,455)        (5,514)
     Operating Cash Flow                                              (4,977)            737           1,690          (9,201)         16,939           1,650           (7,012)          (5,475)             1,329                443               1,507             (5,855) $      (8,225) $       3,527


     Less Interest expense                                              (136)           (141)           (134)           (145)           (143)            (65)            (131)            (140)              (151)              (141)               (152)              (156)        (1,634)        (1,078)
     Adjusted Operating Cash Flow                                     (5,114)            596           1,556          (9,346)         16,797           1,585           (7,143)          (5,614)             1,178                302               1,355             (6,011) $      (9,859) $       2,449


     Add cash bonus expense                                            1,000           1,008           1,304           1,988           1,000           1,000            1,048            1,011               900                    900                 945             900         13,003          7,703
     Less cash bonuses paid                                           (6,215)            (14)             (8)             (4)            -               -             (7,049)             (48)              (11)                   -                   -            (6,110)       (19,458)       (13,217)
     Non-cash bonus add-back                                          (5,215)            994           1,296           1,984           1,000           1,000           (6,001)             964               889                    900                 945          (5,210)        (6,455)        (5,514)
     Add deferred compensation MTM                                       297             286             755             291             159             101               9               479                    87                179                 700            204           3,547          1,918
     Less cash deferred awards paid                                      -               -               -               -               -               -              (590)           (2 860)                  -                  (54)                -              -            (3 504)        (3 504)
     Non-cash deferred award add-back                                    297             286             755             291             159             101            (581)           (2,381)                   87                125                 700            204              43         (1,586)
     Case 21-03005-sgj Doc 29 Filed 05/24/21                          Entered 05/24/21 10:22:39           Page 396 of 600




                                                              Balance Sheet
                                                         August 2018 vs. July 2018
                                                             (in thousands)

                                                                                                           Increase/       Increase/
                                                                  August 31,           July 31,           (Decrease)      (Decrease)
                                                                    2018                2018                   $              %
Assets

    Cash and cash equivalents                                 $           3,396    $          7,741   $         (4,344)       -56.1%
    Investments, at fair value                                          265,622             257,648              7,974          3.1%
    Equity method investees                                              60,752              60,958               (205)        -0.3%
    Management and incentive fee receivable                               1,626               3,577             (1,951)       -54.5%
    Fixed assets, net                                                     4,927               5,035               (108)        -2.2%
    Due from affiliates                                                 179,404             173,894              5,510          3.2%
    Other assets                                                         10,921              11,310               (389)        -3.4%
Total assets                                                  $         526,648    $        520,162   $         6,487          1.25%



Liabilities and Partners' Capital

    Accounts payable                                          $           1,355    $          2,688   $         (1,333)       -49.6%
    Due to brokers                                                       31,464              31,724               (260)        -0.8%
    Accrued expenses and other liabilities                               61,580              65,430             (3,850)        -5.9%

    Partners' capital                                                   432,249             420,320            11,929           2.8%
Total liabilities and partners' capital                       $         526,648    $        520,162   $         6,487          1.25%



                                Partners' Capital Walk
                                 Partners' capital at 7/31 $            420,320
                         Net subscriptions/(redemptions)                       -
                                          Net income/(loss)              11,929
                                 Partners' capital at 8/31 $            432,249
Case 21-03005-sgj Doc 29 Filed 05/24/21                              Entered 05/24/21 10:22:39                       Page 397 of 600




                                                              Income Statement
                                                     August 2018 YTD vs. August 2017 YTD
                                                                 (in thousands)

                                                                                                                Increase/      Increase/
                                                                             2018               2017           (Decrease)     (Decrease)
                                                                             YTD                YTD                 $             %

  Revenue:
    Management fees                                                      $     24,366       $     25,288       $     (922)         -3.6%
    Shared services fees                                                        6,995              6,258              737          11.8%
    Incentive fees                                                                 18                  -               18            N/A
    Other income                                                                3,395              3,381               14           0.4%
       Total operating revenue                                                 34,774             34,927             (153)         -0.4%
  Operating expenses:
   Salaries and overtime                                                         9,189             9,427              (238)        -2.5%
   Bonus                                                                         7,703             8,216              (513)        -6.2%
   Other compensation and benefits                                               4,623             4,547                76          1.7%
   Deferred compensation                                                         1,918             1,372               546         39.8%
   Professional services                                                         1,819             5,502            (3,683)       -66.9%
   Investment research and consulting                                              535               669              (134)       -20.1%
   Marketing and advertising expense                                             1,478             1,774              (296)       -16.7%
   Depreciation expense                                                            865               887               (22)        -2.5%
   Bad debt                                                                      5,951                 -             5,951        100.0%
   Other operating expenses                                                      4,366             4,359                 7          0.2%
       Total operating expenses                                                38,446             36,753            1,693           4.6%

  Operating income/(loss)                                                      (3,672)            (1,826)           (1,846)       101.1%
  Other income/expense:
    Interest income                                                             5,018              4,167               851         20.4%
    Interest expense                                                           (1,078)            (1,113)               35         -3.1%
    Other income/expense                                                        1,280              5,539            (4,259)       -76.9%
       Total other income/expense                                                5,219             8,593            (3,374)       -39.3%

  Realized and unrealized gains from investments:
    Net realized gains on sales of investment transactions                      4,450              7,666            (3,216)       -42.0%
    Net change in unrealized gains/(losses) of investments                     (1,567)            12,293           (13,860)       112.8%
       Total realized and unrealized gains from investments                      2,882            19,959           (17,077)       -85.6%
  Net earnings/(losses) from equity method investees                          (22,274)            (6,081)          (16,193)      -266.3%
       Net income/(loss)                                                $     (17,844)      $     20,645       $   (38,489)       186.4%

       Profit margin                                                             -51%                  59%

  Other operating expenses detail
    Rent expense                                                                    1,041               979             61           6 3%
    Fees and dues                                                                    166                211            (45)         -21 2%
    Travel and entertainment                                                         840               1,036          (196)         -18 9%
    Insurance expense                                                                496                431             64          15 0%
    Miscellaneous expenses                                                          1,823              1,701           122           7 1%
       Total other operating expenses                                               4,366              4,359             7           0.2%
Case 21-03005-sgj Doc 29 Filed 05/24/21      Entered 05/24/21 10:22:39                                      Page 398 of 600
                               Highland Capital Management, LP
                                    Schedule of Investments
                                      As of August 2018
                                                                                                Contributions,
                                                                          Monthly Change in    (Distributions) &
                                                                             Unrealized            Realized
     Fund                                    Ticker    MV @ 7/31/2018       Gain/(Loss)          Gain/(Loss)       MV @ 8/31/2018




                                                              6,854,674             (68,692)                -             6,785,982
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 399 of 600




                                EXHIBIT 44
   Case
   Case21-03005-sgj DocDoc
        19-34054-sgj11  29 Filed
              Case 19-12239-CSS  05/24/21
                           82 Filed  Doc 83Entered
                                    12/04/19 Filed 05/24/21
                                              Entered
                                                   10/31/19 10:22:39
                                                      12/05/19
                                                             Page
                                                               09:25:02 Page
                                                                   1 of #0082 4001of
                                                                        14 Page    of600
                                                                                       1412/4/2019
                                                                Docket        Date Filed:




                                                               UNITED STATES SAN[CX2tIPTCY COURT
                                                                           bISTRiCT OF
In re. Highland Capitat Management, LP                                                                                    Case No,
                     Debtor


                                                        [NITLIL MONTfILY OPERATING REPORT
                              F{le report and nttnchnt eats itith Cour!and submit aapy to United Stntea Trusex: v+ithin t5 drays nRer ordx;.(nr retixt,

 Cenificales ofinsurw~ce must name United Statts Trustee s;e early to be noli Cind in the ev~ti of policy czncti~ntian. Bank accounts aid checks must bear the r.~re of the de9ror,
the case nember,end the desig~a~ian °pebtar in Passrssion," Examples of acceptable evidence of Oebwr in Possr;sion Bank ~acounis imctude aoide3 checks, copy of bank deposit
                                            agreemenUeertificet¢ of autL-oriry, sigrsture szrd, enJ/or corporate chu:tcing resofueion.




                    ;iF:C~f,'I4ii;ll IlCYCCt~SE~#'S                                                                  ~Tccume~! litkcfscd               f.inlueia~ino: +.ti:~cAcd,
                 ---
IL~tonth Cush l~lativ Pr~jcction ([arm iR-i)                                                              See attached
Certificates of Ensnrance:
Workers Compensation                                                                                      See attached
Property                                                                                                  See attached
Genera! Liability                                                                                         See attached
Vehicle                                                                                                   See attached
Other, Se(f•insured MedieaVDental; Employers and Professional Liability                                   See attached                                 See attaehed
Identify areas ofself-insuranee wlliability caps                                                          See attached                                 See attached
Evidence of Debtor in 4ossessian Bank Accounts
Txx Escrow Account                                                                                         NA
General Operating Account                                                                                 In Process at East West Bank
Money Market Account pursuantto Locgl Rule 4001.3 for the                                                  NA
District of Delaware only. Refer to:
F,~tlp;!/www.deb.us~u rts.a ov!

Other: Professional Fees Account/[nsurance Account                                                        1n Process at East b'JeSt Bank
Retainers Paid {Form !Tt-2)                                                                               See attached

1 declare racier penalty of perjury(28 U.S.C, Section i 746)[hat ttris report and the documents atlached
ere true    V correct to the bend of my kno+viedge anJ belief.




Signature of Debtor                                                                       Aate



Signa~ure of Joint pcbto                                                                  Dafe
   f                                ~_~
   ~"~.~
Signature ofAuthorized Individual'                                                          Qate



Printed Name ofAuthorized Individual                                                        Tit e of Authorized Individual
+Authorized indivldunl muse be an officer, director or sharchoider if debtor is a corporation; a ps~tret if debtor                                                 FORM tR (-0l07)
fs a partretship; a menngar or tnem6er iPdebtoz is a limited liability evmpa~ay,




                                                                                                                                        ¨1¤}HV3,&                !)i«
                                                                                                                                            1934054191206000000000109
$ighEsnd Capital AiHisa~emcnt, L.P.-Cash Forecast
                                                                                                                                                                                                                                                                                                                                                       Case




Ncrt IS Wcc~a Cmm~uncia~; Ottuiu~ iR,"_d 19.
(n: rhuu~axts7

                                                                            A«uulN~              pouf               ndmaR               F~rc                Pun:cuc           Fwaz               Forccaa            ~'or«aa            fvnras                  Fwewa            Fwxan             Farw~n            lon~:aa


Wis be 'nnitl                                                                IB716               11N3               7tlfSr               SSN                 4Uli             Il/t8               ll/?S              !32                SZf9                   411[6            1'Jii             1:f30               IM                13 Wceb
Be~tanitt~uorertri<fe~i nprrv~in¢cmh                                   S        2,€2G    S         2126         1       2I'/N       S          3,771    4       4.(K1     5       2,815      E       :,b17      5        I.OiO     S       Z.WI            Y      ]OGY      5       1,C93     5           47G   S           109     3        2,12fi.

Onrredae R<rri~;
  ~~_spent tecs aui u:lkr roWi~l nr iFra                               3             -   S               id     E       t,7~5 3                I,Wi7 S              -     S      (,844 S                   27 S         I,iX7 5                 -          E           -    S           -     S        I.iiS S              633 E            ft,agb
raw.~~..   .~a t~n~rn.
 *aynd{bmc5ts.and win+ pmpxb ~:0                                                     -                   (7].            f(~?)                                   fG3i)                -               <fi~.l)              -                   tC+'>7J                                                 fl3!}                -               l?.7987
                                                                                                                                                                                                                                                                                                                                                       Case21-03005-sgj




 Sc~Ymrcc ~mml
 C.r~Mru a>urds ~incluJur dcte2edi
  Toculwmpcvuti~m and l+rncfits                                        S             -   i              (7) 5            f4Gi) 5                 -      5        (Uii) 5              -      1        (633) b              -       5           S6~l~ i                 -    $           -     S        (6i1) S              -       Y       (5.196)
                                                                                                                                                                                                                                                                                                                                                            19-34054-sgj11




Cearrvi overhenrl
 OufsiZu~k~a7(nr<Inussy cuwx~)                                                       -                  -                                       .lr)                               -                   (7i1                                     -                   -                i7i)               -                   -                 (2i5)
 Gern~al uval~ea~•cnUal ~tf~ro(phy~cliliun7                                          -                  ~                  C~J                  (2i}              (25)             ('J)                {23)                 (1P)                (]()j               (3R)             (111               (2f1)               (:,$)             („3f1)
                                                                                                        (!nl             (a2H}                 (i59)             f:fH)            f2a97               (2(~J)               C25U)               QS(~7               (15(x)           (14(I)             (25tq                                (3.713)
                                                                                                                                                                                                                                                                                                                                                                        DocDoc




 G+ncral uvdm^ad-~nnty.ti~on ~crvlan                                                 -                                                                                                                                                                                                                                     (2Yi1
 $m,n~.ire xr~'i.e ics                                                               -                  R41               lli} ~                                  _                (35j                -                    -                   ~                   (2Y)                                                                      (IU,)
 Ini~         me and Cnu - 'ewes
   Totvf~genmio.-erhead                                                S             -   5              (Y+7 8           i4aa) $               (45Y) 3           Q347 S           (270) S             (309) S            (2767 E               R70) 5              (304 S           (3V5) S            i2~0) 3             (2>9} 5          4i.d73)

 Nc: ehanCc in cac4 dnc lu a~erntin• xetivin~                                                           (2'n                 5'17              ISR%              (NGY)            7X79                <9I61             1.217              (91117                  (31N1            (3351                 =V'               31i              ~i6ti
                                                                                                                                                                                                                                                                                                                                                                            29 Filed




Rn rctu~eJ'„ a,y~K~lrr en rofi~w not fc. swerve n
 Del.iw k+ank+u;~Vc)                                                                                                                                                             tt,C.t S)            ~2f•91             l`J•'11               l'.•'•'~1           i~~77            (=G9?              f:~~)               r2(9)           (3Sm)
                                                                                                                                                                                                                                                                                                                                                                  Case 19-12239-CSS




                                                                                                                                                                                   (~f%i)                                 /sU)                   t5f1)              fiU)             ~>n~          ~    (3l~)               (N~~             r630)
                                                                                                                                                                                                                                                                                                                                                                               82 Filed




 IkMw'PNCAO                                                                                                                                                                                            (SUi
 Cnm~a.xima cm~suftaiit                                                                                                                                                              C74)              (IG}               (IGi                  (IG1                {)41             C1G)               ftG?                (IGI            ((~J
 G+nmiRcc eaun:cl                                                                    -                  ~.                                                                           Ci3)              {lfl               (131                  (IS)                (381             Clgl               (I$)                !IS)             Rte]
 Grmmittee EA                                                                        -       ~          -                                                           _               (7i)               (14)               {I4)                  (13)                (~[)             (IS)               (1a1                (~%)            (2W1
 ifSYQic                                                                                                                                                                                                                                                                                               291+}                                 (~50~
  Tn~ul merR rel~d                                                     3             -   4              -       5            -      S            -      5           -     3     (2,077) 5             rr:7 Y               S~T~1 5         (37.) 3                 S;7S) S          1i72) S            (6Z;.7 5            (372) 5         (4.f2x~
                                                                                                                                                                                                                                                                                                                                                                                     05/24/21




   erchanCc in casf~fn~m nry~+Hors cnxt                                                                 R"n                  597               1.5(iN            (I(6N)            p98)             (1'^U71                Wi5            (I}T!1                   (!Tl)            (71~               (S6N1                    -           (,7fJ)

i;veuir.P e..~a M•v<1nnM ov7 onl.~o noro~9
 Jefi~m's one koknop.(srcucitr~i..x4                                                                                                                                                 _
                                                                                                                                                                                                                                                                                                                                                                                        12/04/19




 S.:Iccl TAR'Fmd cy~itg m{anptium                                                    -                                                                                            IZSf~                   -             !
                                                                                                                                                                                                                        [W7                     -                  Ii0I                 -                                                    i.l.IR
 ?2iuJf~tyYdnpiwl col?ebli¢atinns                                                                                                                                                CI GSn7.                 _                                                          _                                                                      Ct A50)
 Zhir3 Fvq'lmsJ a.:tcvikx4vsi~ti Gi>piErfta~as                                       _                  79                                                                          4fN1                                                                                                                                                       37M
 !fi&dlu~d Cgn~ai ~i~wegemeat E~uu~
 M.uiu!imlc~'Cmlit i:yrvl                                                                                                                                        (>!pi                                                                     (SLWi                       -            (SW)                 -                 (SIAM]           21K#~)
 tiecA]aml Ca~:ml Mrox~gttn<nt[min Amcriu                                            -                  -                    ~                 (IIX1)                                                                    (t(K~l             ~                                                          (:Ikl)               -                (309)
                                                                                                                                                                                                                                                                                                                                                                                                 Filed




                                                                                                                                                                                                                                                                                                        TUI                 -                 7U1
                                                                                                                                                                                                                                                                                                                                                                                         Doc 83Entered




 PmcceSs li~~ni o+0.aenA~~~H~m¢
 P~«rnY.from o~ha ai.•es:m~mis(mk-PRj

                                                                                                                                                                                                                                           (SIIfq                                   (S(K~                                  (500}               W8
                                                                                                                                                                                                                                                                                                                                                                                                  Entered




 tic[ humor "u nk6 dx b inve#inp v<tniNK                                                                '!9                                    (110)             (SUO)                                    -                9R7                                    1,301                                   60S

Ffwacin:. rn<h Oa~e~
 R~uiiNaryit?~JisviLu~ioa+
 rH„aY«Ka~winm                                                                       -                  -                    -                   -                  -                 -                   -                -                    -                      -                -
                                                                                                                                                                                                                                                                                                                                                                                                       10/31/19
                                                                                                                                                                                                                                                                                                                                                                                                       05/24/21




~ Yc1 cb ~e in cah due ~u finaacim~ ac! ~iti«.r                                                                                                                                                                                                                        -

                                                                                                                                                                                                                                                                  1,693                 17G   5           i1N) S                              21I
                                                                                                                                                                                                                                                                                                                                                                                                          12/05/19




Ending unrc+lri<teC n~rv~'er~ei~.8                                      S       2L'6     S-        ?1?II        5       ,']79       S          J.IS'_   S       ',NIS     S      2317 S              1.IW       $       1%ll       A       ]A67 'S                          S                                               21! 3


YmfesrSatwl kes es<mw vcmuM u~
 Rco dad i fe..'a i tv                                                 S                 5                      S                   S                   S                 8                  S       2.077 8            2~9 Y              2,sZU 5                3.192 S          I;i2R 5             1.70 S           2.?71 S                -
                                                                                                                                                                                                                                                                                                                                                                                                                 Page




                                wtx~'n'r hala k~
  intww~>;rom o~+caiunF. nui                                                         -                  -                    -                   _                  -             2.nT7               }7:                i72                 i.                     ~?2              3Il                 G22              372                a.92Y
  f'aynw~nts in pmf.•.aiaiuts~.
                                                                                                                                                                                                                                                                                                                                                                                                                10:22:39




     Lkl4ur luuilzuPu~~<ounxcl                                                                                                                                                                                                                                   (I.SO'J)                                                                   (1.34#1
     Qebk+r FNCFO                                                                                       _                                                                                                                                                          (35E11                                                                     c3i0t
                                                                                                                                                                                                                                                                                                                                                                                                                   09:25:02




     UST at~                                                                                                                                                                                                                                                                                           f25U7                                 f159)
   z~~to~m~u:io        f' ~ulx                                         S                 3                      S                   5                   3                 4                  Y                  ~                  f                       S     (:.DiS) 5                    f        f3501 S                      5      (SIBS]
                                                                                                                                                                                                                                                                                                                                                                                                                       2 of Page




  Re-~+rc rclatcd ixufe..<ionslfeuin.re~uli~e fivlmice                 S                 A                      4                   F                   S                 S       2,077 S            7.519 I            ?.R?0 4            3.79: S                1.S1Y 4          I.90tl S            ?271     S       ?.E-03 4            2.EJ;
                                                                                                                                                                                                                                                                                                                                                                                                                            14 Page




I:IR+µwa'~ro+annrJ prlu;v,~.v~h nq~m.~.ui th Mrt «uA bu4vr<~A~ 1.>~Fea.i yvauq w'.u.e o~ eJ'✓e P.n...n Wrc.
f:fAen'1Kn ~rv.~miMVJ<a~..wM~Geul+k r~unv<.-<Ja~mxilw yn~jAw elv yvrv~wque~umiu~M~~rt+vru.t<an•.mu. N'xhu/~t ~nnn~h~e xeam~iv.MAlrr•.+wmro.rrc rwineJoa~rn nvJN~+n'sfv~mr rW ~.Mnui~+nix <q~+~•'t.~ue xlf w~meiy4n
f3. Fir.tt~+~ cexmv ~Rw wwmu~ v.ehw4df^m Mr~9'~'^x,~a..mr1+n IW I+rw:.u•u+af iv~~ sav~w u~uw.v.~:~!!.. ~Arx ~Arfn<iJvu•ra~fJ.~ry es~.w urwm w unJirl~n~ m~+'.l rc4+tN~rwnn.VY,: u/euvaeJfs<:1~kM.mS ro JceMMrl01%. eu~Yf~u:Hw O~!fw:.l~~RO. vlisr n Nu fR.~.
                                                                                                                                                                                                                                                                                                                                                                                                                                 4012of  14
                                                                                                                                                                                                                                                                                                                                                                                                                                      of600
               Case
               Case21-03005-sgj DocDoc
                    19-34054-sgj11  29 Filed
                          Case 19-12239-CSS  05/24/21
                                       82 Filed  Doc 83Entered
                                                12/04/19 Filed 05/24/21
                                                          Entered
                                                               10/31/19 10:22:39
                                                                  12/05/19
                                                                         Page  3 of Page
                                                                           09:25:02      4023of
                                                                                    14 Page   of600
                                                                                                 14


                                                                                                                                                                     Page i of I

   ~~~
   ~~ ~                                       CERT(FtC,ATE OF LlABtLlTY II\ISURANCE                                                                             ~~ioiz~iaox9
     TFitS~ERTIFTI ~ATE:75"IS~SUEt~S                                     tON ONLY - AND CONFERS NO RIGHTS UPt7N THE G~RTIFICATE HOtOER. THIS
     CE#2TIFtCATE dOES N07 AFFIRMATIVELY qR NE(3ATfVECY Ati1END, ~XT6Np QR A1.7ER THE COVERAGE
                                                                                                                      AFFdf2DED BY THE PQ~ICIES
     BLOW. TNIS CERT1FiCAT~ OF INSURANCE DQES NOT CONSTfifUT~ A CONTRACT BETWEEN
                                                                                                           7NE ISSUING 1N5URER(S), AUTHQRtZEA
     REPRE5ENTA`CIVH OR PRQDUCER,AND THE CERT{FICATE HOLQER.
     IMPORTANT: 1# the certificate holder is an AdbI710NAL INSURED, tFYe poltcy(les) must have ADDtTlONAL
                                                                                                                INSURED provisions or be endorsed,
     It 5UBt20GA71QN IS WAIVED, suhJect to fhe terms and co~d(ttons of the policy, certain policies
                                                                                                        may require an endorsement, A statement on
     this certificate does not confer rlcthts to the cerEfficate holder to fleu of such endorsement(s).
PRODUCER
Willia o~f Texaa~ Inc.
                                                                                          rnvnc
a/o 26 Century Hivd                                                                       (QlC.Ne. Evti~ x-877-9A5-7378                               IAtC. Nel: 1-888-467-2379
B.O. Hox 305191
Nashville, TN    372305191            U9A

                                                                                                       Gzaat Northern Inauxaacet Company                                   203D3
1NSUREP
Highland Capital Management, L.P.
                                                                                                       ~'ecisral Inau=anca Goatpany                                        zozai
300 Cseacent Couxt                                                                                     Chu3ab YJational Insuranoct Company                                 10052
Suite 700
Dallas r TX 75201



C:CIVFRAGER                        rFRTIFtt:ATF NIIMRFR• W1349fi935                              RG1tl.RtAN AIitIYdKtKR•
   THf5 fS TO CERTIFY THA7 THE POLICIES OF INSURANCE LISTED 9ELOW HAVE BEEN t3SUE0 70 TWE
                                                                                           INSURED NAMED ABOVE FOR THE PQLICY PERIOD
   INfJICA'TED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITlC3N OF ANY CONTRACT OR
                                                                                         OTHER DOCUMENT WITH RESPECT Td WMICH THIS
   CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, TWE INSURAtJCE AFFORDED BY THE POLICIES DESCRIBED
                                                                                                   HEREIN IS SUBJECT 70 ALL THE TERMS,
   EXCLUSIONS ANb CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCEQ BY PAID CLAIMS.
                                                  AbDl 5U6R                                       pOL(C EFF      POLICY EXP
~t~,TR               TYPE OF INSURANCE                                 PtlLICY NUM9@R             MMIDD          MM/¢p/YYYY                                LIMITS
          X   CDMMERCIALGENERALLIA91liTY
                                                                                                                                    EACHOCCURR6NCE               $        1,000,000
                    CiA~MS-MADE a QCCUR                                                                                             DAIvlAY4e"f6~REN~O
                                                                                                                                    PREMISES Ea occurrence       S        1,000,000
  A
                                                                                                                                    MED EXP(     arrE person)    S           1D,000
                                                                        3592-17-94               47/29/2019 07/29/2020
                                                                                                                                    pE~ONAL3RDVINIURY            $        1,040,000
         GEMLAGGREGATELiMITAPPUESpER:
                                                                                                                                    GENERAIAGGREGATE             $        2,000,000
              POLICY ~ jE~f     ~ LOC                                                                                              PRODUCTS-CflMPlOPAGG          5        Z~OOO~Q00
             OTHER:
                                                                                                                                                                 s
         AUTOM081LE LIABILfTY                                                                                                      COMBWED SWG. E Ni             ~
                                                                                                                                    Ea accident                           1,~00~000
          )( ANY AUTO
                                                                                                                                   BODILY INJURY (P¢r persnnj    $
 A            OWNED              SCHEDULED.
              AUTOS ONLY         AUTOS                                  7358-99-26               07/29/2019 U7/29/2Q20 pop~.Y1NJURY(Peracc~donij $
              HfREO               NON•OWNED                                                                            pROPER7Y'DAMAGE
              AUTOS ONLY        .AUTOS ONLY                                                                                                      5
                                                                                                                       .Per acci rt
                                                                                                                                                                 5
 $        X UMORELLA UAB        X CCCUR
                                                                                                                                   EACH OCCURRENCE               $       20~000~OOa
            EXCESS UAB              CLAIMS•MADE                         79x6-96-8A               87/29/2019 07/29(2020 pGGREdA7E
                                                                                                                                                                 g       ~o,000,000
              DEO    x RETENTIONS ~
                                                                                                                                                                 S
         WORKERS C6MPENSATION                                                                                                      x    PER             OTN-
         AN.OEMPIDYERS'UABILITY                                                                                                         &TATUT          ER
 C       ANYPROPRfETORlPAF2TNEWEX£CUTIVE    YID                                                                                    E.L.EgCHACC08NT               $        1,Op0,000
         OPPICER/MEMBEREXCLUDED7            N~ N!A                  (201 7174-63-32              07/29/2019 07/29/2020
         {Mantlatary t~ NN1
                                                                                                                                   E.L, DISEASE -FA EMPLOYES 5            X ,000,000
         t{ y~es,descrioeunder
         DESCRIP7lON QF gPEftATIbNS below                                                                                                                                 1,000,000
                                                                                                                                   E.l. DISEASE - pOL(CY LIMIT   $




OESCRfPTI0~1 QF OPERATIONS t LOCA7}O!JS 1 VEHICLES {ACOR610S,Add)tlonal Remarks Schedule, maybe attachg3 ki mora cpaca
                                                                                                                         Is raqul~gd~




                                                                                         LA[Vt~C1,,.L/~


                                                                                           SHOULd ANY OP THE ABOVE DE9CRIBE~ POLICIES BE CANCEl.lEO BEFORE
                                                                                           THE E:4PIRATION DATE 'THEREOF, NOTICE WILL EiE bELIVERED tN
                                                                                           ACCORDANCE Wt7H 7NE POLICY PROVISIONS.
Officct of The United States Tru6tea
844 King Stxeet, Suite 2207                                                              AUTHORIZEp REPRESENTATIVE

Lockhax 35
WiiminQton, nS 19801
                                                                                           09988-201G ACORD COf2PORATION. Ail rights reserved.
ACQRD,25(2016103}                                  Tha ACORO name and sago are registered inerks of ACORD
                                                                   sa =o~ se72o~so                 PATCH: 7,425092
          Case
          Case21-03005-sgj DocDoc
               19-34054-sgj11  29 Filed
                     Case 19-12239-CSS  05/24/21
                                  82 Filed  Doc 83Entered
                                           12/04/19 Filed 05/24/21
                                                     Entered
                                                          10/31/19 10:22:39
                                                             12/05/19
                                                                    Page  4 of Page
                                                                      09:25:02      4034of
                                                                               14 Page   of600
                                                                                            14



/~CC~RLJ                                                                                                                                                ~ATE(MM!DDIYYYY)
                              ~V~D~IVl~✓[:. OF C6JIYtiYIERl~It4L P{'T►VP~T`aTY 11`ASS~7R/''1lY6sG
                                                                                                                                                          10/2d/2059
          V D~ E O COMMERGiAL PROPHR7Y INSURANCE 15 IS5UE0 A5 A MAT7`ER OF IN~ORMATIOtd
                                                                                                        dNLY AND CQNFERS NO RIGH75
   UPQN THE ADD171t}NAL tNTEE2EST NAMED BELOW.TH[S EVIDENCE DQES NdT AFFIRMATIVELY OR
                                                                                                NEGATIVELY AMEND,EXTEND OR ALTER
   THE COVERAGE AFFORDEQ HY THE POLICIES 6~LOW. THIS EViD~NCE QF ihlSURANCE DOES
                                                                                               NOT CONSTtTitTE A CONTRACT BETWEEN
   THE ISSUING INSUFtEFt(5j, AUTHORIZED REPRE3EN"i'A'i`(V~ t3it PFtOaUCER,AND THE ADDITIONAL
                                                                                               INTEREST.
  RODUCEftNAM              PHONE
CONTAGTPERSONANOAQ~RE55       C N    1^877-445-7398                    COMPANYNAMEANDADORESS                     NAICNO: 20303
Trtillia o£ Texas, xac,                                                 Grsat fios6hesn Insurance C¢n..~any
c/o 26 Century 81vd                                                     15 Mountain Viaa Road
R.p. Rox 305191                                                         43arren, hJ   07059
Nashville, TN     3723Q5191 U6A

~Ap No; 1-898-467-2378           AppR~~ss: perti£icatms@~rillis.aom                                  IF MULTIPLE COMPANIES,COMPLETESEPARA7EFORMROREACH
CODE:                                        3U8 CDtiE:                                  POLICY TYp6
AGENQY      ~                                                                            Co[ranoroial Property
NAME~7 lN~SURED,ANU A~ORESS                                       ~                      GOAN NUMBER                                    POtIL1'NUMBER
High an Capxtai Managett;euC~ L.A.
300 crescent coast                                                                                                                      3592-17-94
Suite 700
                                                                                         EFFECTfVE GATE            EXPIRATION DATE
Dallas ?X 75202                                                                                                                                   CONTWUED UNTIL
                                                                                         07j29/2019                47/29J2020                     T~RMINATEOIFCMECK@D
ApDI710NA1.NAMEO(NSUREO(S)                                                               Tf{IS REPLACES PRIOR EVIDENCE RATE:


fKVYCK 1 Y INYVKMA~ IUN             AGORD 701 ma be attached If more s ace is re ulred                  D BUILDING OR C~J BUSfNESS PERSONAL pROpERTY
~ocanot~jn~sca~anoN


 THE POLICIES flF ]NSURANCE LISTED BELOW HAVE BEEN ISSUED TQ THE INSURED NAMED A80VE FOR THE ppLICY PERIOD INDICATED.
                                                                                                                       NOTWITHSTANDING
 ANY REQUIREMENT,TERM OR CON~iTION OF ANY CONTRACT QR OTN~R DOCUMENT WITH RESPECT TO WHICH 7819 EVIDENCE OF PROPERTY
                                                                                                                         ~N3URANCE MAY
 BE ISSUED OR MAY PERTAW,THE INSURANCE AFFORDED BY THE POLtCIE5 DESCRIBED HEREIN t8 SUBJECT TO All THE TERMS,
                                                                                                              EXCLUSIONS AND CONDITIONS
 ~F SUCH PDL4CIES. LIMITS SWOWN MAY HAVE 6EEN REDUCED BY pAtD CLAIMS.
(~A\l~q AY]F I~f CtlD 0.aAT~A AI      ...-..~~ .. ~..... ~.,..~ _. _._ __ _ : _ ., _
CQMMERCIAL PROPERTY COVERAGE AMOUNT OF WSURANCE:                       S 9,062,000                                                        DED: 2,500
                                                                          YES NO N/A
[~]x BUSINESS INCQME      ~x RENTAL VALUE                                  X            if YES,LIMIT: 7. r 2Z7 ~ 500.              )( AcEual Loss Sustained;# 01 moNhs:
 B~ANKE'f COVERAGE                                                         X            If YES,fndicals values)reported on prcpeKy Identified above:$
TERRORISM CQVERAGE                                                         X            AMach Disclosure NaClco 1 ISEC
    ISTHERE ATERRORISM-SPECIFIC EXCLUSION?                                          x
    IS ~OMEBTlC TERRORISM EXCI.UDED7                                           x
lfMiTED FUM1GUS CQVERAGE                                                            X   ~tYES, LIM17:                                         pip;
FUNGUS ~XCLUSiON (It"YES",spedfy arganfzatlon's form used}                     X
RBP4ACEMENTCOST                                                            x
AGREED VALUE                                                                   x
COINSURANCE                                                                         X If YES,        %
EQUIPMENT Bf2EAKDCSWN(l6Applicahlo)                                        X           1fYES,UM17: xnciuded                                   pEp;2,5o0
ORgiNANCE OR LAW -Coverage tar loss to undamaged portion of bldg                    X If YES,LIMIT:                                           DEG;
                       - Qemolltlan Costs                                           y~ RYES,LIMIT:                                            pip;
                       - Incr, Cost of Construction                                 }~ IfYE9, LIMIT:                                          DEo:
EAf2TH MOV~lvtENT(i(AppYcabfe)                                                 >{       IFYES,IIMiT:                                          DED:
F~OOD(IfApplicabie)                                                       ~{            IfYEB,I,IMI7; 1,000,000                               DED:25,o00
WIND /HAIL WCL     Q YES (]ND SubJect to Different Provisions; X                        If YES,LIMIT: Inclndsd                                DEa: 50,000
NAMEd STORM tNCL ❑ vEs Q No Su6Ject ~o Dlilerent Provislonst     X                      If YES,LIMIT:                                         DED;
PERMISSION TO WAIVE SUBROGATION IN FAVOR OF MORTGAGE
HOLDER PRIOR TO LOSS                                             ~


  SHQULD ANY OP THE ABOVE t3ESCRtRED POLICIES BE CANCELLED BEFORE TNT EXPIRATION DATE THEREOF, NOTICE WItL SE
  DELIVEf2ED IN ACCORDANCE WITH TWE POLICY PROVISIQN3,
nnnim~nn€eF iNr~R~cr
   CONTRACT OF SALE               L~NQER'S LASS PAYA9lE               105S PAYEE        6~NDER SERVICING AGENT NAMEANO AOOR85S
   NOt2TGA0EE
NAME AND ADDRESS


0£fice of the United BtaCes 'Prustee
84d King BtreQt~ Suite 2207                                                             AU7HORf2E0 REPR@SENTAI7VE
Lockbox 35
Wilmington DE 19802                                                                      ~,..~
                                                                                               c~ ;~uu3•zoz~ AcaKt~ cDr~PURATION. Ali r9ght& reserved.
ACORD 28 (2018!03)                                    The ACOFtD name and logo are registered marks of ACt~Rd
                                                                           SR SD: 18720730                    &ATCHt 1425032             csxr: X23996936
         Case
         Case21-03005-sgj DocDoc
              19-34054-sgj11  29 Filed
                    Case 19-12239-CSS  05/24/21
                                 82 Filed  Doc 83Entered
                                          12/04/19 Filed 05/24/21
                                                    Entered
                                                         10/31/19 10:22:39
                                                            12/05/19
                                                                   Page  5 of Page
                                                                     09:25:02      4045of
                                                                              14 Page   of600
                                                                                           14



                                                             AC.~ENCY CUSTOMER ID:
                                                                           LOC #:

A~~4~~                               ADDlT14tV/4L REMARKS SCHEDULE.                                               pa~Q z o~ a
AGENCY                                                               NAMED ~NSUREC3
W1213s of Taxas~ Sna.                                                HighSand Capital M.anagemeat, L,B.
                                                                     300 Czesaent Conrt
POLICY NUMBER
                                                                     Suite 700
9oe.Page 1                                                           Wallas, TX 75201
CARRIER                                                 NA~C COD£
See Pag6 1                                              See BagA 1 ~EFFEC7IVE DATE:
                                                                                    Sap Page 1


TNIS ADDlTIONAI REMARKS FORM IS A SCHEDULE TO ACORp FflitM,
FQRPJt NtlMBER:         28   FORM T17LE: Enidenee o~ Commeraiai Property
Building I,i,mit fos 8355 Gaylord Pkwy, Srisao, TX:       $3,000,000

Covered Looatione:
300 Crescanb CT., She. 700., Dallas, TX 732Q1
$355 Gaylord Pkwy,i Psisoo~ xX 75039
7 Times SQ., Ste, 9309 (d3rd Floor), New Yorks NY IQ03b
3909 Rosedale Ave., Dallas, TX 75205




                8/~1)                                                                  2008 ACRD CORP~JRA7iON. AI! rights reserved.
                                     The ACOf2D Warne and toga are registered marks of AGORD
                                  ST2 TD: 1872073Q      S1~.TCH: SA2S432           CERT: 4723996936
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed
           Case 19-12239-CSS  05/24/21
                        82 Filed  Doc 83Entered
                                 12/04/19 Filed 05/24/21
                                           Entered
                                                10/31/19 10:22:39
                                                   12/05/19
                                                          Page  6 of Page
                                                            09:25:02      4056of
                                                                     14 Page   of600
                                                                                  14




  Initial Mon#hly Reporfi

  Highland Capital Management, LP ("Debtcsr"j

  Other InsurancejSelf-Insurance Coverages



  Se(f-Insurance:

  The Debtor and twelve of its affiliates ("ThE Group") participate in aself-insured rnedicai and dental
  insurance program, which is administered by BlueCross BlueShield. The Group is responsible far paying
  Insurance claims as incurred unless astop-loss limit is reached. Stap loss limits are $100k per Individual
  and $5.2M for the plant as a whale.



  Employers and Professional Liability:

  The Debtor holds Employers and Professional Uability coverage through an affiliate, Governance Re,
  ttd., an insurance captive. The captive is owned by an affiliate, Wighland Capital Management Services,
  inc., which is majority owned by James Dondero. The annual premium an the policy is $300k and there
  is a $10M limit of liability.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed
           Case 19-12239-CSS  05/24/21
                        82 Filed  Doc 83Entered
                                 12/04/19 Filed 05/24/21
                                           Entered
                                                10/31/19 10:22:39
                                                   12/05/19
                                                          Page  7 of Page
                                                            09:25:02      4067of
                                                                     14 Page   of600
                                                                                  14
             Case 19-12239-CSS Doc 42 Filed 10/18/19 Page 1 of 7



                              IN THE UNITED STATES BANKRUPTCY COURT

                                      FOR THE DISTRICT OF DELAWARE


     In r~;                                                           ) Chapter 11

     HIGHLAND CAPITAL MANAGEMENT,L.P.,                                 ) Case Na. 19-12239(CSS)

                                          Debtor.                      ~   Related to Docket No.5


               INTERIM ODDER AUTHORIZING(A)CONTINUANCE OF
      EXISTING CASH MANAGEMENT SYSTEM,(B} CONTINUED USE OF THE PRIIVIE
     ACCOUNT,(C)LIMITED WADER OF SECTION 3450)DEPOSIT AND INVESTMENT
               REQUIREMENTS,AND(D)GRANTING RELATED RELIEF

                        Upon consideration of the Motion ofDebtorfor Interzm and Final Orders

    Authorizing(A) Continuance ofExisting Cash Management System, (13) Continued Use ofthe

    Prime Account,(C)Limited Waiver ofSection 345(6) Deposit and Investment Requirements, and

    (D) Granting Related Relief(the "Motion")2 filed by the above-captioned debtor and debtor in

    possession (the "Debtor")in the above-captioned chapter 11 case; and this Court finding that(a)

    this Court has jurisdiction aver this matter pursuant to 28 U.S.C. §§ 157 and 1334;(b)this matter

     is a core proceeding pursuant to 28 U,S.C. § 157(6)(2); and (c) due and adequate notice ofthe

     Motion was given under the circumstances; and after due deliberation and cause appearing

     therefor;

                        IT IS HEREBY ORDERED THAT:

                        1.      The Motion is GRANTED on an interim basis as set forth herein.




     ~ The Debtor's last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     Z Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



     DOGS NY:39652.15
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed
           Case 19-12239-CSS  05/24/21
                        82 Filed  Doc 83Entered
                                 12/04/19 Filed 05/24/21
                                           Entered
                                                10/31/19 10:22:39
                                                   12/05/19
                                                          Page  8 of Page
                                                            09:25:02      4078of
                                                                     14 Page   of600
                                                                                  14
                 Case 19-12239-CSS         Doc 42     Filed 10/18/19     Page 2 of 7




                       2.   The Debtor is authorized to continue operating the Cash Management

    System as described in the Motion and in a manner consistent with the Debtor's prepetition

    practices and this (3rder.

                       3.   The Debtor is authorized, but not directed, in the reasonable exercise of its

    businessjudgment,to:(a)designate, maintain and continue to use, with the same account numbers,

    the Bank Accounts and the Prime Account in existence as of the Petition Date;(b)treat the Bank

     Accounts and the Prime Account for all purposes as debtor in possession accounts; and (c) use all

    existing Business Forms without reference to the Debtor's status as "debtor in possession" until

    such supply is depleted, after which the Debtor will use new Business Forms with the "debtor in

    possession" reference and the corresponding bankruptcy case number; provided that, with respect

    to checks which the Debtor or its agents print themselves, the Debtor shall begin printing the

    "Debtor in Possession" legend and the bankruptcy case number on such items within ten(10)days

    of the date of entry of this Order.

                       4.   The Banks — NexBank, SSB,and BBVA USA —are authorized to continue

    to service and administer the Bank Accounts as debtor in possession accounts without interruption

    and in the usual and ordinary course of business, and to receive, process, honor, and pay any and

    all checks and drafts drawn on the Bank Accounts after the Petition Date by the holders or makers

    thereof, as the case may be; provided, however, that any check that the Debtor advises to have

     been drawn or issued by the Debtor before the Petition Date may be honored only if specifically

    authorized by order of this Court.




                                                      2
    DOCS NY:39652.15
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed
           Case 19-12239-CSS  05/24/21
                        82 Filed  Doc 83Entered
                                 12/04/19 Filed 05/24/21
                                           Entered
                                                10/31/19 10:22:39
                                                   12/05/19
                                                          Page  9 of Page
                                                            09:25:02      4089of
                                                                     14 Page   of600
                                                                                  14
                 Case 19-12239-CSS         Doc 42     Filed 10/18/19     Page 3 of 7




                       5.   Except as modified by this Order,the Debtor's existing agreements with the

    Banks and with respect to the transfers to and from the Bank Accounts shall continue to govern

    the postpetitiaY~ cash rr,a~iagement relationship between the Debtor and the Panks. In the course

    of providing cash management services to the Debtor, the Banks are authorized, without further

    order ofthis Court,to continue to deduct from the appropriate accounts ofthe Debtor,their routine

    and ordinary course fees and expenses associated with the nature of the deposit and cash

    management services rendered to the Debtor.

                       6.   The Debtor shall maintain detailed records reflecting all transfers of funds

    under the terms and conditions provided for by the existing agreements with the institutions

    participating in the Cash Management System. In connection with the ongoing utilization of its

    Cash Management System, the Debtor shall continue to maintain accurate and detailed records in

    the ordinary course of business with respect to all transfers including intercompany transfers so

    that all transactions may be readily ascertained, traced and recorded properly on the applicable

    accounts and distinguished between prepetition and postpetition transactions.

                       7.   Nothing contained herein shall prevent the Debtor from closing any

     Accounts as they may deem necessary, and any relevant Bank is authorized to honor the Debtor's

    request to close such Accounts, and the Debtor shall give notice ofthe closure of any Accounts to

    the U.S. Trustee and to any statutory committee appointed in this case.

                       8.   The Debtor is authorized to open new bank accounts; provided, however,

    that all accounts opened by the Debtor nn ar after the Petition Date at any bank shall., fox purposes

    of this Order, be deemed a Bank Account as if it had been listed in the Motion; provided, further,


                                                      3
    DOCS NY:39652.15
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   2982
                        Filed
           Case 19-12239-CSS
                    Doc       05/24/21
                           Filed  Doc 83 Entered
                                 12/04/19 Filed  05/24/21
                                           Entered
                                                10/31/19  10:22:39
                                                   12/05/19Page 10 ofPage
                                                            09:25:02      409
                                                                      14Page 10ofof600
                                                                                    14
                  Case 19-12239-CSS          Doc 42     Filed 10/18/19     Page 4 of 7




    that (a) any such new bank account shall be opened at a bank that has executed a Uniform

    Depository Agreement with the U.S. Trustee for the District of Delaware, or at a bank that is

    ~vvilling ~o immediately execute such an agreement, (b) and such ne~v bank acca~tit shall be

    designated as a "debtor in possession" account by the relevant bank, and (c) such opening shall be

    timely indicated on the Debtor's monthly operating report and notice of such opening shall be

    provided within 14 days to the U.S. Trustee and counsel to any statutory committee appointed in

    this chapter 11 case.

                        9.    The Debtor is authorized to make the Intercompany Transactions consistent

     with the Motion and this Order; provided, however, that Intercompany Transactions shall not

    exceed $1,700,000.00 on an interim basis absent further Order of the Court.

                        10.   The Debtor is authorized to continue using the Prime Account as described

    in the Motion and in a manner consistent with the Debtor's prepetition practices and this Order;

     provided, however that the Debtor does not intend to barrow any additional amounts on margin,

     absent further order of this Court.

                        11.   The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the

     contents of the Motion.

                        12.   Nothing herein shall, or is intended to,(i) create any rights in favor of or

     enhance the status of any claim held by any party or (ii) alter or impair any security interest or

     perfection thereof, in favor of any person or entity, that existed as of the Petition Date.

                        13.   The Debtor is granted a 30 day extension of time to comply with the

     investment and deposit requirements of section 345 of the Bankruptcy Code, which extension is


                                                       4
     DOCS NY:39652.15
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   2982
                        Filed
           Case 19-12239-CSS
                    Doc       05/24/21
                           Filed  Doc 83 Entered
                                 12/04/19 Filed  05/24/21
                                           Entered
                                                10/31/19  10:22:39
                                                   12/05/19Page 11 ofPage
                                                            09:25:02      410
                                                                      14Page 11ofof600
                                                                                    14
                  Case 19-12239-CSS         Doc 42     Filed 10/18/19      Page 5 of 7




    without prejudice to the Debtor's ability to seek a further extension or final waiver of those

    requirements. For banks at which the Debtor holds accounts that are party to a Uniform Depository

    agreement tivith the Office of'the United States TY~ustee iar the L3ist~ict of Delaware, within fifteen

    (15) days from the date of entry of this Order the Debtor shall(a) contact each bank,(b) provide

    the bank with the Debtor's employer identification numbers, and (c} identify each of the accounts

     held at such banks as being held by a debtor in possession. For banks that are not party to a

     Uniform Depository Agreement with the Office of the United States Trustee for the District of

     Delaware, the Debtor shall use its good faith efforts to cause the bank to execute a Uniform

     Depository agreement in a form prescribed by the Office ofthe United States Trustee within thirty

    (30) days of the date of entry ofthis Order.

                        14.   The notice requirements under Bankruptcy Rule 6004(a)and the stay under

     Bankruptcy Rule 6004(h) are hereby waived, to the extent that they apply.

                        15.   This Order shall be served promptly by the Debtor an the Banks and all

     parties in interest who were served by the Motion and all other parties who file a request for notice

     under Bankruptcy Rule 2002.

                        16.   The final hearing (the "Final Hearing") on the Motion shall be held on

  ~/UV~~ j ,2019,at~:o~~~.m., prevailing Eastern Time. Any objections or responses to entry of

     a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

 /V~'~        ~ Z'2019, and shall be served on: (a) proposed counsel for the Debtor, Pachulski Stang

     Ziehl &Jones LLP, 919 N. Market Street, 17t" Floor, Wilmington, DE 19801, Attn: James E.

     O'Neill, Esq.;(b)counsel to any statutory committee appointed in this case; and {c) the Office of


                                                      5
     DOCS NY:39652.15
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   2982
                        Filed
           Case 19-12239-CSS
                    Doc       05/24/21
                           Filed  Doc 83 Entered
                                 12/04/19 Filed  05/24/21
                                           Entered
                                                10/31/19  10:22:39
                                                   12/05/19Page 12 ofPage
                                                            09:25:02      411
                                                                      14Page 12ofof600
                                                                                    14
             Case 19-12239-CSS Doc 42 Filed 10/18/19 Page 6 of       7




     The United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware

     19801. In the event no objections to entry of a final order an the Motion are timely received, this

     Court may enter° such ~i~al order -without need for the Final Hearing.




                                                      6
     ROCS NY:39652.15
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   2982
                        Filed
           Case 19-12239-CSS
                    Doc       05/24/21
                           Filed  Doc 83 Entered
                                 12/04/19 Filed  05/24/21
                                           Entered
                                                10/31/19  10:22:39
                                                   12/05/19Page 13 ofPage
                                                            09:25:02      412
                                                                      14Page 13ofof600
                                                                                    14
                 Case 19-12239-CSS           Doc 42      Filed 10/18/19     Page 7 of 7




                        17.   This Court shall retain jurisdiction to hear and determine all matters arising

    from the enforcement,implementation, or interpretation of this Order.



    Dated:         (d ~ ~ _,2019


                                                     Honorable Christopher S. Sontchi
                                                     United States Bankruptcy Judge




                                                        7
     DOCS NY:39652,15
Schedule of Retainers Paic! to Rrofess"sonals
                                                                                                                                       Case




Oeve{opment Specialists, Inc.           20/7/2019   Wire:   Nighfand Capital Management, LP    $ 750,OOdi.00 $         9,660 $ 2G4,:
Pachulsk3 Stang Zieh! &inner LLP        10J2/20Z4   Wire    Highland Capital Ntanagement, LP   $ 50d,Qd0.D0      TBD            TBD
Kurtzman Carson Consultants PLC         1Q/7/2Q29   Wire    Highland Capita! Management, LP    $ SO,000.QO       TBD            TBD
                                                                                                                                       Case 21-03005-sgj
                                                                                                                                            19-34054-sgj11
                                                                                                                                                         Doc
                                                                                                                                                           Doc
                                                                                                                                                             2982
                                                                                                                                                               Filed
                                                                                                                                                  Case 19-12239-CSS
                                                                                                                                                                  Filed
                                                                                                                                                                     05/24/21
                                                                                                                                                                        12/04/19 Filed
                                                                                                                                                                         Doc 83 Entered
                                                                                                                                                                                  Entered
                                                                                                                                                                                       10/31/19
                                                                                                                                                                                        05/24/21
                                                                                                                                                                                          12/05/19Page
                                                                                                                                                                                                 10:22:39
                                                                                                                                                                                                   09:25:02
                                                                                                                                                                                                       14 ofPage
                                                                                                                                                                                                             14Page
                                                                                                                                                                                                                 413       14
                                                                                                                                                                                                                    14ofof600
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     1 of    414 of
                                                                          7 Page    600
                                                                                 1 of 7



                            IN THE I7NITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE


  In re:                                                           ~   Chapter 11

  HIGHLAND CAPITAL MANAGEMENT,L.P.,'                               ~   Case No. 19-12239(CSS)

                                      Debtor.                      ~



                                       CERTIFICATE OF SERVICE


                    I, James E. O'Neill, hereby certify that on the 31st day of October, 2019, I caused

 a copy of the following documents)to be served on the individuals) on the attached service

 lists) in the manner indicated:

                                     Initial Monthly' Operating Report


                                                      /s/James E. O'Neill
                                                      James E. O'Neill(Bar No. 4042)




'The Debtor's last four digits of its taxpayer identification number are (6725). The headquat•ters and service
address for• the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.




 UO(:S DE:22~837.2 3ti027%OOI
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     2 of    415 of
                                                                          7 Page    600
                                                                                 2 of 7



Highland Capita12002 Service List FCM          HAND DELIVERY
Case No. 19-12239(CSS)                         Zillah A. Frampton
Document No. 225797                            Bankruptcy Administrator
O1 —Interoffice Mail                           Delaware Division of Revenue
10 —Hand Delivery                              Carvel State Office Building, 8th Floor
55 —First Class Mail                           820 N. French Street
                                               Wilmington, DE 19801

(~PNoposedJ Counselfor the DebtoN and          HAND DELIVERY
DebtoN in Possession)                          (United States Attorney)
James O'Neill, Esquire                         David C. Weiss
Pachulski Stang Ziehl &Jones LLP               c/o Ellen Slights
919 N. Market Street, 17th Floor               US Attorney's Office
Wilmington, DE 19899(Courier 19801)            District of Delaware
                                               Hercules Building, Suite 400
INTEROFFICE MAIL                               1313 N. Market Street
([Proposed) CounselfoN the Debtor and          Wilmington, DE 19801
Debtor in Possession)
Richard M.Pachulski, Esquire                  HAND DELIVERY
Jeffrey N. Pomerantz, Esquire                 (Top 20 Unsecured Creditor)
Ira D. Kharasch, Esquire                      Ryan P. Newell, Esquire
Maxim B. Litvak, Esquire                      Connolly Gallagher LLP
Pachulski Stang Ziehl &Jones LLP              1201 N. Market Street, 20th Floor
10100 Santa Monica Blvd, 13th Floor           Wilmington, DE 19801
Los Angeles, CA 90067
                                               HAND DELIVERY
HAND DELIVERY                                  (Counsel to Alvarez & Marsal CRF
(United States Trustee)                        Management, LLC)
Jane M. Leamy, Esquire                         Sean M. Beach, Esquire
Office of the U.S. Trustee                     Jaclyn C. Weissgerber, Esquire
J. Caleb Boggs Federal Building                Young Conaway Stargatt &Taylor, LLP
844 King Street, Suite 2207                    1000 North King Street, Rodney Square
Lockbox 35                                     Wilmington, DE 19801
Wilmington, DE 19801
                                               HAND DELIVERY
~IAI~TD DELIV~I2I'                             (Counsel to the Redeemer Committee of the
(State Attorney General)                       Highland Crusader Fund)
Kathy Jennings, Esquire                        Curtis S. Miller, Esquire
Delaware Department of Justice                 Morris, Nichols, Arsht &tunnel LLP
Carvel State Office Building, 6th Floor        Kevin M. Coen, Esquire
820 N. French Street                           1201 North Market Street, Suite 1600
Wilmington, DE 19801                           Wilmington, DE 19801




 ilOCS DE:225797.i 36627%OOi
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     3 of    416 of
                                                                          7 Page    600
                                                                                 3 of 7



HAND DELIVERY                                  FIRST CLASS MAIL
(Counsel to Acis Capital Management GP         State of Delaware
LLC and Acis Capital Management, L.P.)         Division of Corporations -Franchise Tax
John E. Lucian, Esquire                        PO Box 898
Josef W. Mintz, Esquire                        Dover, DE 19903
Jose F. Bibiloni, Esquire
Blank Rome LLP                                 ~IIZS'I' CLASS Ii~AIL
1201 N Market Street, Suite 800                Delaware Secretary of Treasury
Wilmington, DE 19801                           820 Silver Lake Blvd, Suite 100
                                               Dover, DE 19904
HAND DELIVERY
(Counsel to Patrick Daugherty)                 FIRST CLASS MAIL
Michael L. Vild, Esquire                       Office of General Counsel
Cross &Simon,LLC                               U.S. Department of the Treasury
1105 N. Market Street, Suite 901               1500 Pennsylvania Avenue, NW
Wilmington, DE 19801                           Washington, DC 20220

HAND DELIVERY                                  FIRST CLASS MAIL
(Counsel to Hunter Mountain Trust)             Office of General Counsel
William A. Hazeltine, Esquire                  Securities &Exchange Commission
Sullivan Hazeltine Allinson LLC                100 F Street, NE
901 North Market Street, Suite 1300            Washington, DC 20554
Wilmington, DE 19801
                                               FIRST CLASS MAIL
FIRST CLASS MAIL                               Sharon Binger, Regional Director
(Counsel to Acis Capital Management GP         Philadelphia Regional Office
LLC and Acis Capital Management, L.P.)         Securities &Exchange Commission
Rakhee V. Patel, Esquire                       One Penn Center, Suite 520
Phillip Lamberson, Esquire                     1617 JFK Boulevard
Winstead PC                                    Philadelphia, PA 19103
2728 N. Harwood Street, Suite 500
Dallas, TX 75201                               FIRST CLASS MAIL
                                               Andrew Calamari, Regional Director
FIRST CLASS MAIL                               New York Regional Office
(United States Attorney General)               Securities &Exchange Commission
William Barr, Esquire                          Brookfield Place, Suite 400
Office of the US Attorney General              200 Vesey Street
U.S. Department of Justice                     New York, NY 10281
950 Pennsylvania Avenue, NW,
Room 4400                                      FIRST CLASS MAIL
Washington, DC 20530-0001                      Office of the General Counsel
                                               Michael I. Baird, Esquire
                                               Pension Benefit Guaranty Corporation
                                               1200 K Street, NW
                                               Washington, DC 20005-4026




 DOCS DG:225797. i :i6027i`GOl             ~
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     4 of    417 of
                                                                          7 Page    600
                                                                                 4 of 7



FIRST CLASS MAIL                               FIRST CLASS MAIL
Internal Revenue Service                       Director of Compliance
Centralized Insolvency Operation               Re: Prime Brokerage Services
PO Box 7346                                    Jefferies LLC
Philadelphia, PA 19101                         520 Madison Avenue, 16`h Floor
                                               New York, NY 10022
FIRST' CLASS li~IAIY,
BBVA                                           FIRST CLASS MAIL
Michael Doran                                  Frontier State Bank
8080 N. Central Expressway                     Attn: Steve Elliot
Suite 1500                                     5100 South I-35 Service Road
Dallas, TX 75206                               Oklahoma City, OK 73129

FIRST CLASS MAIL                               FIRST CLASS MAIL
NexBank                                        Strand Advisors, Inc.
John Danilowicz                                300 Crescent Court
2515 McKinney Avenue                           Suite 700
Suite 1100                                     Dallas, TX 75201
Dallas, TX 75201
                                               FIRST CLASS MAIL
 FIRST CLASS MAIL                              The Dugaboy Investment Trust
 KeyBank National Association                  300 Crescent Court
 as Administrative Agent                       Suite 700
 225 Franklin Street, 18th Floor               Dallas, TX 75201
 Boston, MA 02110
                                               FIRST CLASS MAIL
 FIRST CLASS MAIL                              Mark K. Okada
 KeyBank National Association                  300 Crescent Court
 as Agent                                      Suite 700
 127 Public Square                             Dallas, TX 75201
 Cleveland, OH 44114
                                               FIRST CLASS MAIL
 FIRST CLASS MAIL                              The Mark and Pamela Okada Family
 Prime Brokerage Services                      Trust —Exempt Trust #1
 Jefferies LLC                                 300 Crescent Court
 520 Madison Avenue                            Suite 700
 New York, NY 10022                            Dallas, TX 75201

 FIRST CLASS MAIL                              FIRST CLASS MAIL
 Office of the General Counsel                 The Mark and Pamela Okada Family
 Re: Prime Brokerage Services                  Trust —Exempt Trust #2
 Jefferies LLC                                 300 Crescent Court
 520 Madison Avenue, 16t~' Floor               Suite 700
 New Yorlc, NY 10022                           Dallas, TX 75201




 D'JCS DE:225i97.1 3602ii'00i              3
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     5 of    418 of
                                                                          7 Page    600
                                                                                 5 of 7



 FIRST CLASS MAIL                              FIRST CLASS MAIL
 Hunter Mountain Investment Trust              Cole, Schotz, Meisel, Forman &Leonard,
 c/o Rand Advisors LLC                         P.A.
 John Honis                                    Michael D. Warner, Esquire
 87 Railroad Place Ste 403                     301 Commerce Street, Suite 1700
 Saratoga Springs, NY 12866                    Fort Worth, TX 76102

FIRST CLASS MAIL                               FIRST CLASS MAIL
(Top 20 Unsecured Creditor)                    (Top ZO Unsecured Creditor)
Acis Capital Management, L.P.                  Debevoise &Plimpton LLP
  and Acis Capital Management GP,LLC           Michael Harrell, Esquire
c/o Brian P. Shaw,Esquire                      c/o Accounting Dept 28th Floor
Rogge Dunn Group,PC                            919 Third Avenue
500 N. Akard Street, Suite 1900                New York, NY 10022
Dallas, TX 75201
                                               FIIZST CLASS MAIL,
FIRST CLASS MAIL                               (Top 20 Unsecured Creditor)
(Top 20 Unsecured Creditor)                    DLA Piper LLP(US)
American Arbitration Association               Marc D. Katz, Esquire
Elizabeth Robertson, Esquire                   1900 N Pearl St, Suite 2200
120 Broadway, 21st Floor,                      Dallas, TX 75201
New York, NY 10271
                                               FIRST CLASS MAIL
FIRST CLASS MAIL                               (Top 20 Unsecured Creditor)
(Top 20 Unsecured Creditor)                    Duff &Phelps, LLC
Andrews Kurth LLP                              c/o David Landman
Scott A. Brister, Esquire                      Benesch, Friedlander, Coplan & Aronoff
111 Congress Avenue, Ste 1700                  LLP
Austin, TX 78701                               200 Public Square, Suite 2300
                                               Cleveland, OH 44114-2378
FIRST CLASS lYIAIL
(Top 20 Unsecured Creditor)                    FIRST CLASS MAIL
Bates White, LLC                               (Top 20 Unsecured Creditor)
Karen Goldberg, Esquire                        Foley Gardere
2001 K Street NW                               Holly O'Neil, Esquire
North Bldg Suite 500                           Foley & Lardner LLP
Washington, DC 20006                           2021 McKinney Avenue Suite 1600
                                               Dallas, TX 75201
FIRST CLASS MAIL
(Top 20 Unsecured Creditor)                    FIRST CLASS MAIL
CLO Holdco, Ltd.                               (Top 20 Unsecured Creditor)
Grant Scott, Esquire                           Joshua &Jennifer Terry
Myers Bigel Sibley & Sajovec, P.A.             c/o Brian P. Shaw, Esquire
4140 Park Lake Ave, Ste 600                    Rogge Dunn Group,PC
Raleigh, NC 27612                              500 N. Akard Street, Suite 1900
                                               Dallas, TX 75201



 ROCS D~:225797.1 36C27/001
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     6 of    419 of
                                                                          7 Page    600
                                                                                 6 of 7



                                              FIRST CLASS MAIL
FIRST CLASS MAIL                              (Top 20 Unsecured Creditor)
(Top 20 Unsecured Creditor)                   Redeemer Committee of the Highland
Lackey Hershman LLP                           Crusader Fund
Paul Lackey, Esquire                          c/o Terri Mascherin, Esquire
Stinson LLP                                   Jenner &Block
3102 Oak Lawn Avenue, Ste 777                 353 N. Clark Street
Dallas, TX 75219                              Chicago, IL 60654-3456

FIRST CLASS MAIL                              FIRST CLASS MAIL
Lynn Pinker Cox &Hurst, L.L.P.                (Top 20 Unsecured Creditor)
Michael K. Hurst, Esquire                     Reid Collins &Tsai LLP
2100 Ross Avenue, Ste 2700                    William T. Reid, Esquire
Dallas, TX 75201                              810 Seventh Avenue, Ste 410
                                              New York, NY 10019
~'IR~T CLASS MAIL
(Top 20 Unsecured Creditor)                   FIRST CLASS MAIL
McKool Smith, P.C.                            (Top 20 Unsecured Creditor)
(Top 20 Unsecured Creditor)                   UBS AG,London Branch and UBS
Gary Cruciani, Esquire                        Securities LLC
300 Crescent Court, Suite 1500                c/o Andrew Clubock, Esquire
Dallas, TX 75201                              Latham &Watkins LLP
                                              555 Eleventh Street NW Suite 1000
FIRST CLASS MAIL                              Washington, DC 20004-130
(Top 20 Unsecured Creditor)
Meta-e Discovery LLC                          FIRST CLASS MAIL
Paul McVoy                                    (Top 20 Unsecured Creditor)
Six Landmark Square, 4th Floor                Scott E. Gant, Esquire
Stamford, CT 6901                             Boies, Schiller & Flexner LLP
                                              1401 New York Avenue, NW
FIRST CLASS MAIL                              Washington, DC 20005
(Top 20 Unsecured Creditor)
NWCC,LLC                                      FIRST CLASS MAIL
c/o of Michael A. Battle, Esquire             (Counsel to Alvarez & Marsal CRF
Barnes &Thornburg, LLP                        Management, LLC)
1717 Pennsylvania Ave N.W. Ste 500            Marshall R. King, Esquire
Washington, DC 20006-4623                     Michael A. Rosenthal, Esquire
                                              Alan Moskowitz, Esquire
FIRST CLASS MAIL                              Gibson, Dunn & Crutcher LLP
(Top 20 Unsecured Creditor)                   200 Park Avenue
Patrick Daugherty                             New York, NY 10066
c/o Thomas A. Uebler, Esquire
McCollom D'Emilio Smith Uebler LLC
2751 Centerville Rd #401
Wilmington, DE 19808




DCCS DE:225797.i 36027jOGiJ
Case
Case 21-03005-sgj Doc
     19-34054-sgj11   29 82-1
                    Doc  FiledFiled
           Case 19-12239-CSS   05/24/21
                                   Doc    Entered
                                    12/04/19
                                       83-1   Filed05/24/21
                                               Entered
                                                    10/31/1910:22:39
                                                       12/05/19Page    Page
                                                                09:25:02
                                                                     7 of    420 of
                                                                          7 Page    600
                                                                                 7 of 7



FIRST CLASS MAIL                               FIRST CLASS MAIL
(Counsel to California Public Employees'       (Proposed Official Committee of Unsecured
Retirement System ("Ca1PERS")                  Creditors)
Louis J. Cisz, III, Esquire                    Bojan Guzina, Esquire
Nixon Peabody LLP                              Matthew Clemente, Esquire
One Embarcadero Center, 32nd Floor             Alyssa Russell, Esquire
San Francisco, CA 94111                        Sidley Austin LLP
                                               One South Dearborn Street
FIRST CLASS MAIL                               Chicago, IL 60603
(Counsel to Alvarez & Marsal CRF
Management, LLC)                               FIRST CLASS MAIL
Matthew G. Bouslog, Esquire                    (Proposed Official Committee of Unsecured
Gibson, Dunn & Crutcher LLP                    Creditors)
3161 Michelson Drive                           Jessica Boelter, Esquire
Irvine, CA 92612                               Sidley Austin LLP
                                               787 Seventh Avenue
FIRST CLASS MAIL                               New York, NY 10019
(Counsel to Redeemer Committee ofthe
Highland Crusader Fund)                        FIRST CLASS MAIL
Marc B. Hankin, Esquire                        (Proposed Official Committee of Unsecured
Richard Levin, Esquire                         Creditors)
Jenner &Block LLP                              Penny P. Reid, Esquire
919 Third Avenue                               Paige Holden Montgomery, Esquire
New York, New York 10022-3908                  Sidley Austin LLP
                                               2021 McKinney Avenue, Suite 2000
FIRST CLASS MAIL                               Dallas, TX 75201
(Counsel to Coleman County TAD,et al.)
Elizabeth Weller, Esquire
Linebarger Goggan Blair &Sampson,LLP
2777 N. Stemmons Freeway, Suite 1000
Dallas, TX 75207

FIRST CLASS MAIL
(Counsel to Jefferies)
Lee S. Attanasio, Esq.
Sidley Austin LLP
787 Seventh Avenue
New York, NY 10019




 DUi,S DE:225797.1 36027/OOi               ~
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 421 of 600




                                EXHIBIT 45
  Case
  Case 21-03005-sgj Doc
       19-34054-sgj11   29405
                      Doc FiledFiled
                                 05/24/21   Entered
                                     01/27/20       05/24/21
                                               Entered       10:22:39
                                                        01/27/20 16:49:55Page 4221ofof600
                                                                 Docket #0405Page
                                                                              Date Filed:11
                                                                                          01/27/2020
In re: Highland Capital Management, L.P.                                                                                                            Case No. 19.12239-CSS
                                                                                                                                Reporting Period: 10/16/2019 - 10/31/2019



                                                     UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF DELAWARE

  In re:                                                                                           Chapter 1 I

  HIGHLAND CAPITAL MANGEMENT,LP                                                                    Case No. 19-12239-CSS

                                     Debtors.
                                                                                                   Reporting Period:                         10/31/2019


                                                        MONTHLY OPERATING REPORT
                              File with Court and submit copy to United States Trustee within 20 days after end of month.



                                                                                                                                          Affidavit(
                                                                                                    IIsrumenC            Exptaastioa     Supplement
  Re aired 1}ocuments                                                          Form ~u.              AttacBed             Attached        Attached
  Schedule of Cash Recei is and Disbursements                                 MOR-I                      x
   Attestation of Bank Reconciliation b the CRO                               MOR-la                     x
   Schedule ofProfessional Fees and Ex enses Paid                                                       n/a
   Cash Disbursements Journals                                                MOR-lb
  Statement of O erations                                                     MOR-2                      x
  Balance Sheet                                                               MOR-3                      x
  Status of Postpetition Taxes
   Co ies ofIRS Form 6123 or Pa ment Recei t                                  MOR-4a                      x
   Copies of Tax Returns Filed During Reporting Period                                                   n/a
  Summary of Unpaid Postpetition Debts
   Listin of A ed Accounts Pa able                                            MOR-4b                      x
  Accounts Receivable Reconciliation and Aging                                MOR-Sa                      x
  Debtor Questionnaire                                                        MOR-Sb                      x
  Budget                                                                      MOR-6


  I declare under penalty of perjury(28 U.S.C. Section 1746)that this report and the attached documents are true and coaect to the best of my knowledge
  and belief



  Signature of Debtor                                                                       Date




  Signature of Joint Debto                                                                  Date


             ~-                                                                                 ~2^ ~-" l9
  Signature o    ut     zed Individual                                                      Date


  Bradley Sharp                                                                             Chief Restructuring Officer
  Printed Name of Authorized Individual                                                     Title of Authorized Individual



      /s/ Frank Waterhouse
    ___________________________________________                                                 12-2-19
                                                                                                 _______________________
    Signature of Authorized Individual

       Frank Waterhouse
    ___________________________________________                                                  Chief   Financial Officer
                                                                                                 _______________________
    Printed Name of Authorized Individual                                                       Title of Authorized Individual




                                                                                                               ¨1¤}HV4!;                  ':«
                                                                                                                   1934054200127000000000007
                                                                                                                                                               MOR Cover
                                                                                                                                                                  1 of11
  Case
  Case 21-03005-sgj Doc
       19-34054-sgj11   29405
                      Doc FiledFiled
                                 05/24/21   Entered
                                     01/27/20       05/24/21
                                               Entered       10:22:39
                                                        01/27/20        Page
                                                                 16:49:55    4232ofof600
                                                                           Page       11
In re: Highland Capital Management,l.P.                                                                                            Case No.19-12239-055
                                                                                                               Reporting Period: 10/16/2019 -10/31/2019




     Cash Disbursements and Receipts from 10/16/2019 - 10/31/2019
     (in ~horrsands)




       Beginning cash                                       $       2,126   -     $   135 $   291 $    -   $    -    $          1 $    2,554

       Operating Receipts
        Other                                                          4    -         -            3   -       -            -              7
         Management fees and other related receipts                   62    -         -        -       -       -            -             62

       Compensation and beneSits
        Payroll, benefits, and taxes + exp reimb                    (526)   -         -       (212)    -        -           -           (738)
        Severvice payments                                           -      -         -        -
         Tot~I compensation and benefits                            (526)   -         -       (212)    -        -           -           (738)

       General overhead
        General overhead -critical vendors (pre-petition)             (2)   -         -        -       -        -           -            (2)
        General overhead -poshpetition vendors                       (35)   -         -        -       -        -           -            (35)
        Singapore service fees                                       (35)   -         -        -       -        -           -            (35)
         Total generfll overhead                                     (72)   -         -        -       -        -           -            (7z)


       Investing cash flows(principal only on notes)
        Third party fund actual/expected distributions                 79   -         -        -       -        -           -             79
        Divs, paydowns, misc from investment assets                   -     410       -        -       -        -           -            410



       Ending cash                                                  1,673   410       135       82     -        -               1      2,302




                                                                                                                                                 MOR-1
                                                                                                                                                 2of11
 Case
 Case 21-03005-sgj Doc
      19-34054-sgj11   29405
                     Doc FiledFiled
                                05/24/21   Entered
                                    01/27/20       05/24/21
                                              Entered       10:22:39
                                                       01/27/20        Page
                                                                16:49:55    4243ofof600
                                                                          Page       11
In re: Highland Capital Management, L,P.                                                                                         Case No.19-12239-CSS
                                                                                                             Reporting Period: 10/16/2019 - 10/31/2019




                                                    Attestation of Bank Reconciliation by the CRO




                                                                                                                          1eCo~,~nt ~~     t'.z~ttin~; Bs~n[~
                     E~tifv`                           ~;ase AD.              ~3s~k              ~Seeoune ~f'_yPe      (IatiE~ d~it~t         Ltats~ce

Hi hland Ca ital Mana ement, LP                      19-12239-CSS BBVA Com ass              O eratin                        x6342             1,672,176.25
Hi hland Ca ital Mana ement, LP                      19-12239-CSS Nexbank                   O eratin                        x4130                     250.70
Hi hland Ca ital Mana ement, LP                      19-12239-CSS Nexbank                   Insurance                       x7513                 82,272.52
Hi hland Ca ital Mana ement, LP                      19-12239-CSS Jefferies LLC             Brokera e                       x0932               410,107.71
Hi hland Ca ital Mana ement, LP                      1 9-12239-CSS Maxim Grou               Brokera e                       x1885                     163.61
Hi hland Ca ital Mana ement, LP                      19-12239-CSS Nexbank                   CD                              x5891                135,205.21
Hi bland Ca ital Mana ement, LP                      19-12239-CSS Nexbank                   O eratin                        x668                          -
Hi bland Ca ital Maua ement, LP                      19-12239-CSS Nexbank                   O eratin                        x0735                  1,453.59
                                                                                                                                i otar            ~,~vi,o~u

No bank statements are being provided with this report. I attest that the bank statements for the above-listed accounts have been reconciled to the Debtor's
books and records.

Following month end, The Debtor opened three bank accounts at East West Bank. On November 21,2019, the Debtor closed accounts ending in x735,
x668 x 130 and x513.




Signature of Authorized Individual                                     Date


Frank Waterhouse                                                       Chief Financial Officer
Printed Name of Authorized Individual                                  Title of Authorized Individual

                                                                         C 1-~'l~
Si        e of Authorized Individual                                   Date


Bradley Sharp                                                          Chief Restructuring Officer
Printed Name of Authorized Individual                                  Title of Authorized Individual




                                                                                                                                                          MOR-1a
                                                                                                                                                           3 of11
  Case
  Case 21-03005-sgj Doc
       19-34054-sgj11   29405
                      Doc FiledFiled
                                 05/24/21   Entered
                                     01/27/20       05/24/21
                                               Entered       10:22:39
                                                        01/27/20        Page
                                                                 16:49:55    4254ofof600
                                                                           Page       11
In re: Highland Capital Management, L.P.                                                                              Case No. 19-12239-CSS
                                                                                                  Reporting Period: 10/16/2019 -10/31/2019


RECEIPTS LISTING

      Date       Amount        Sfnder                                                 Bank
      10/16/2019     2,777.24 Discovery Benefits                                       x6342
      10/16/2019       592.8 Discovery Be~iefits                                       x6342
      10/21/2019        46.00 Co-op                                                    x4130
      10/22/2019    79,266.46 Third party fiord distribution                           x6342
      10/22/2019        93.83 Paylocity                                                x6342
      10/24/2019    14,128.70 Fund Reimbursement                                       x6342
      10/25/2019       438.00 Discovery Benefits                                       x6342
      10/28/2019    15,000.00 Shared Services                                          x6342
      10/31/2019    17,763.15 Fund Reimbursement                                       x6342
      10/31/2019    14,533.49 Fund Reimbursement-                                      x6342
      10/31/2019        13.88 Interest                                                 x4130
      10/30/2019       592.82 Insurance Premiums                                       x7513
      10/31/2019     2,371,27 Insurance Premituns                                      x7513
      10/31/2019         0.19 Interest                                                 x0735
      10/25/2019   369,973.45 Inveshnentreceipts                                       x0932
      10/28/2019    12,766.83 Inveshnent receipts                                      x0932
      10/28/2019    27,367.43 Inveshnentr~ceipts                                       x0932
      10/31/2019        67.44 Dividend                                                 x1885
                   557.792.99

DISBURSEMENT LISTING

      Bate        Amount          Yencior                                             ~n~
      10/16/2019      2,047.22. Zayo                                                  x6342
      10/16/2019        836.22 Discovery Benefits                                     x6342
      10/16/2019          52.79 Discovery Benefits                                    x6342
      10/16/2019          20.00 Discovery Benefits                                    x6342
      10/22/2019     11,813.33 Singapore Service Fee Fwiding                          x6342
      10/22/2019     12,600.88 Singapore Service Fee Funding                          x6342
      ]0/22/2019          40.00 DiscovzryBenefits                                     x6342,
      10/22/2019          20.00 Discovery Benefits                                    x6342
      10/23/2019     10,335.00 Delta Risk                                              x6342
      10/23/2019      4,944.58 Discovery Benefits                                      x6342
      10/23/2019        550.60 Discovery Benefits                                      x6342
      10/23/2019          25.00 Discovery Benefits                                     x6342
      10/23/2019          15.00 Discovery Benefits                                     x6342
      10/24/2019            9.73 Discovery Benefits                                    x6342
      10/25/2019          75.00 Discovery Benefits                                     x6342
      10/25/2019         215.00 Discovery Benefits                                     x6342
      10/25/2019         305.46 Discovery Benefits                                     x6342
      10/25/2019       1,303.80 Discovery Benefits                                     x6342
      10/28/2019         (26.00) Discovery Benefits                                    x6342
      ]0/28/2019          20.00 Discovery Benefits                                     x6342
      10/28/2019       1,350.04 Discovery Benefits                                     x6342
      10/28/2019          20.00 Discovery Benefits                                     x6342
      10/29/2019         245.00 Discovery Benefits                                     x6342
      10/29/2019            5.00 Discovery Benefits                                    x6342
      10/29/2019         370.00 Discovery Benefits                                     x6342
      10/29/2019            5.00 Discovery Benefits                                    x6342
      10/29/2019      9,770.39 CDW                                                     x6342
      10/29/2019       1,876.88 Third Party Consultant                                 x6342
      10/30/2019         S 18.51 Discovery Be~~efits                                   x6342
       10/31/2019    1 1,000.00 Third Party Consaltant                                 x6342
       10/31/2019        100.00 Discovery Benefits                                     x6342
       10/29/2019      1,475.38 Tltird Party Consultant                                x6342
       10/31/2019      1,667.78 Third PaiTy Considtant                                 x6342
      ]0/31/2019     10,219.19 Singapore Service Fee Funding                            x6342
       10/30/2019    50,233.99 Paytocity                                                x6342
       10,30/2019   311,831.36 Paylocity                                                x6342
       10/31/2019      1,974.64 Paylociry                                             . x6342
      ]0/30/2019    110,396.48 Paylocity                                                x6342
       10/29/2019        771.24 Standard Insurance                                      x6342
       10/29/2019      4,459.96 Standardlnsurance                                       x6342
       10/30/2019    33,670.47 Charles Schwab                                           x6342
       10/30/2019      1,227.80 Paylocity                                               x6342
       10/21/2019    59,268.63 Blue Cross Blue Shield ofTexas                           x7513
       10/25/2019    152,732.21 Blue Cross Blue Shield of Texas                         x7513
                    810,393.55

  * Payments to Discovery Benefits are for employee Flexible Sp~ndiug Account(FSA)reimbursement




                                                                                                                                    MOR-ib
                                                                                                                                     4 of i1
  Case
  Case 21-03005-sgj Doc
       19-34054-sgj11   29405
                      Doc FiledFiled
                                 05/24/21   Entered
                                     01/27/20       05/24/21
                                               Entered       10:22:39
                                                        01/27/20        Page
                                                                 16:49:55    4265ofof600
                                                                           Page       11
In re: Highland Capital Management, L.P.                                                                             Case No. 19-12239-CSS
                                                                                                 Reporting Period: 10/16/2019 - 10/31/2019

Income Statement ~1~
(in thousands)
                                                                                                         Date
                                                                                                10/16/19 - 10/31/19
          Revenue:
             Management fees                                                                                    975
             Shared services fees                                                                               283
             Other income                                                                                        99

                Total operating revenue                                                                       1,357

          Operating expenses:
           Compensation and Benefits                                                                            997
           Professional services                                                                                256
           Investment research and consulting                                                                    10
             Depreciation expense ~3~                                                                            82
             Other operating expenses                                                                           201

                Total operating expenses                                                                      1,545

          Operating income/(loss)                                                                             (188)

          Other income/expense:
           Interest income                                                                                     250
           Interest expense                                                                                   (107)
             Re-org related expenses ~z~
             Other income/expense                                                                                 32

                Total other income/expense                                                                       175


             Net realized gains on investments                                                                   339
             Net change in unrealized gains/(losses) of investments ~4~                                       2,654

                                                                                                              2,993

          Net earnings/(losses)from equity method investees ~4~                                                 (20)

                Net income/(loss)                                                                   $         2,959

(1)Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and
 normal course operating accruals, but do not reflect estimates for other incurred, but not yet received invoices.


(2)Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. No additional
 amounts were accrued between October 16, 2019 and October 31,2019
(3)Includes full month of depreciation as depreciation is run monthly at month end. Estimated pro-rated depreciation October 16, 2019 to
 October 31,2019 is $42k
(4) Mark to market gains/(losses) on investments include normal course pricing updates for publicly traded securities and other positions with
 readily available market price information. Limited partnership interests normally marked to a NAV statement have not been updated as of
 period end as statements are generally available o~~ a one-month lag.




                                                                                                                                                    MOR-2
                                                                                                                                                    5 of11
  Case
  Case 21-03005-sgj Doc
       19-34054-sgj11   29405
                      Doc FiledFiled
                                 05/24/21   Entered
                                     01/27/20       05/24/21
                                               Entered       10:22:39
                                                        01/27/20        Page
                                                                 16:49:55    4276ofof600
                                                                           Page       11
In re: Highland Capital Management, L.P.                                                                                  Case No.19-12239-CSS
                                                                                                      Reporting Period: 10/16/2019 -10/31/2019

 Balance Sheet
(in thousands)

                                                                   Date
                                                                10/31/2019
   Assets

       Cash and cash equivalents                            $             2,286
       Investments, at fair value ~3~                                  359,448
       Equity method investees ~3~                                      37,508
       Management and incentive fee receivable                           3,202
       Fixed assets, net                                                 3,6'72
       Due from affiliates ~~~                                         152,124
       Other assets                                                     11,261
   Total assets                                             $          569,501



   Liabilities and Partners' Capital

       Pre-petition accounts payable ~4~                    $             1,135
       Post-petition accounts payable ~4~                                   102
       Secured debt                                                      35,510
       Accrued expenses and other liabilities ~4~                        59,184
        Accrued re-organization related fees ~S~                             -
        Claim accrual ~Z~                                                73,997

        Partners' capital                                              399,573

    Total liabilities and partners' capital                 $          569,501




     ~~~ Includes various notes receivable at carrying value (fv undetermined).
     ~2~ Uncontested portion of claim less appplicable offsets. Potential for additional liability based on future events.
     ~3~ Mark to market gains/(losses) on investments include normal course pricing updates for publicly traded securities and other
         positions with readily available market price information. Limited partnership interests normally marked to a NAV statement
         have not been updated as of period end as statements are generally available on a one-month lag.

     ~4> Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices recorded
         through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other
         incurred, but not yet received invoices.
    (S) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed prior to the petition date.
        No additional amounts were accrued between October 16, 2019 and October 31,2019




                                                                                                                                          MOR-3
                                                                                                                                          6 of11
 Case
 Case 21-03005-sgj Doc
      19-34054-sgj11   29405
                     Doc FiledFiled
                                05/24/21   Entered
                                    01/27/20       05/24/21
                                              Entered       10:22:39
                                                       01/27/20        Page
                                                                16:49:55    4287ofof600
                                                                          Page       11
In re: Highland Capital Management, L.P.                                                                                                                           Case No.19-12239-CSS
                                                                                                                                   Reporting Period: 10/16/2019 - 10/31/2019




      ~t7B3 ~f~.~                                                             T16          tDY ~t~9d          I~     ]~RY6~StC ~FY1+(~
     rev. a~-p~a                                                      verif#ratio~e of                 e~i~ ':t ~      r~l ux.            sit
                                                                      t ate         this       tip t       +air ~t    tar°
              ~
              '~                       18l?DCf Bt{`66IO C..[HtClF11~ TS'ViLf~E3C uA:7V3C3~
                                       ete: Chtef S ta1.lraewdu~z€ €raxactimn
             3~IiQP1'[z                   r of'C x      t-~tg~1 Ca~t~l ~ea9ient,~-.5~.
                                       ax cr Add7¢aa 3[N7 Cre~eeatY ~f. Ste. 7~0, ~3~#5s T?C 7'2€11
             ~Ol~tFWiPd~y ~}l.~tlfCL1~IICYtF ~3 ~b [kiTiYtY' j/6ll Of kC~GTB~ 137k.             t►;5~~~~~~ iLS YCGtU3E'Ca ~7j+ f}7C ~Ti7~C~ r~J'tA1CS ~#fi~K7U~Tt~C}r
                           G 5~k032S ~ ~Rf~l~Ot ~ AS B                 fE~tt .

         t       i                     orm 9G1 Federal I`#~ ~e~as~i {                          j 1~P~srm~tlan
                                      ~a~the~yralip~rigd ~xosrf 14~#~,''~Di9 io 3Q,~'~120~9
      L7tC~: ~6}'lOP46i~ 00                ~~PL1I~ C~fttL"'   ~     ~f~~~
      Ol'Ht ~ ~ • ~ttf~IOp47"3
      ~artsrly Fodsesi ~'ex                oss w~~es ~Sai4i xa can~f~ay~$ 557.45.72
       fora                                ~tt~ test +~trit~ttttfd3 1D5,3 93.71
                                       4CIg~            Et31ty (~~s~dj^~!'~6 j1~tIS EXT~ilAy4aC°~ S trR t3~SirCfB~ S~Ci~sSi}''C83C) S. ~,~3.1[3
                                       sx 1~e~asiCcd S 341h9'!~.$4
                                       a~        sC~d 9E11311~C199
         t9on 2                        a+~n 94t# ~ed~r~t Taa~ Xlc~as!# (FT~7} Caf       ~t~ta~

      s~ces Ra~rtcd ~e                 ar the ~l~yi9T1 pr178d £Fc~m ~~.7t6~+ZIt45 tq '40f i91~0'!~
     Oftl1 ~1O~F.IIR}~~OyYti°14              S$ K`A,~£S ~:IS3 ~O E'fl'l;9~OYE~$ S J
                                                                                  tS~,~2~.7~
      noun{ F~e7ak
      i4tAlf1~J~Afi~lt~ T3X            ~C              $ttCL~ .~   r
                                                                   J~'a'-~~
      c€um                                 to            'fed      1C1~3912~99
                                                                     Cestil~:#i~~
                                   (CertL#S~cxian Ss lirnita~ t~ rdc~fpf or c c►^~imbc trawsrnittat a[ dap~it ts~1g?
      is acrtai5eg rcc+sspt ca c&+czrmx~sc tr         aidxl ~Yd~paslts dmaxsrihad bctow i3tr ~`a$.a'at i~~s aA to      ci ~a ,(`    ~:              'fic;E


       posit twletYnod                     9 farm ~T091~ lt39F3 Federal Ta.+c I?tgoaiY (F'tI~) canpna
     C~3CC.3C      X                .~i ~ ~~~.TCM776 ~£dt'€8~ `~87C ~8.                         .EIF! ~` ' ~~~~~`       SBL

        aa~t {Pcrrcn $~1                    to a#'    oa6t                       ~6cno~rrlad +xrk nurrabes of Form $Ii1~ F'T~ t ~w~d by
       149,596.84                          ~G13712ti59                       EST ~t7~11,St~3t it~3~43{}7
                                            ~t ~rf ~cposzt                 ~ TF3 sc6e~ihwvled er~i naure~ oa Fna~xt. ~ i~3 ~'TT~ re~~ived by:
      rn~ttt Fame 9A0
       s~a.s~3                             1~r~~s~a~~                               - co~~o~ ~a~asaa-T-~aa~s'
         ptaitara~s ~mp~aper                         ~r+t asul Axlcfr~s~ of 8atc~s
          t~Csc~tina Numiaet: 75-271 775           Ccsrrzpt~s Sink.
       rider      dti~ cif     Ieetti thae Abe abo~ fec~~raM tax         it ia~fo~ntx~i~ is teu~ and euzscc#
      i.                             Data•
      T.R2@~ ST6~ ~i&IO         -~ili QT




                                                                                                                                                                                MOR-4a
                                                                                                                                                                                 7 of11
 Case
 Case 21-03005-sgj Doc
      19-34054-sgj11   29405
                     Doc FiledFiled
                                05/24/21   Entered
                                    01/27/20       05/24/21
                                              Entered       10:22:39
                                                       01/27/20        Page
                                                                16:49:55    4298ofof600
                                                                          Page       11
In re: Highland Capital Management, L.P.                                                                           Case No. 19-12239-CSS
                                                                                               Reporting Period: 10/16/2019 -10/31/2019

           Post-Petition Accounts Payable Aging as of 10/31/2019



                                               0-30 days   31 - 60 days old 61 - 90 days old  91 +days old    Grand Total
                RemainineAmount            $       102,132 $            -   $            -   $          -      $ 102,132




                                                                                                                                MOR-4b
                                                                                                                                 8 of11
 Case
 Case 21-03005-sgj Doc
      19-34054-sgj11   29405
                     Doc FiledFiled
                                05/24/21   Entered
                                    01/27/20       05/24/21
                                              Entered       10:22:39
                                                       01/27/20        Page
                                                                16:49:55    4309ofof600
                                                                          Page       11
In re: Highland Capital Management, L.P.                                                                                    Case No.19-12239-CSS
                                                                                                        Reporting Period: 10/16/2019 -10/31/2019




      Accounts Receivable Reconciliation

                                                                                                        91 +days old net of         Accounts
                                                                                                       uncollectable balances      Receivable
                                            0 - 30 days old ~l~ 31 - 60 days old Gl - 90 days old                 ~Z~                (Net)
           Management Fees                  $       3,201,548 $             -    $           -    $                          -   $    3,201,548
           Shared Services Fees ~3~                   516,469                                                                            516,469
           Expense Reimbursements ~3~                 537,514              84,081            155,514                    3,440,751      4,217,859
           Total Receivable                  $      4,255,531 $            84,081 $         .155,514 $                  3,440,751 $    7,935,877

           ~~~ All management fees and shared services fees are considered to be 0-30 days old as all such receivables are paid current per their
           investment management contracts.

           ~Z~ Receivables shown above are net of certain potentially uncollectible amounts. The net balances also do not include amounts that
           have been reserved against in prior years relating to management fees, shared services, and fund reimbursements, including but not
           limited to amounts paid on other entities' behalf with respect to legal related expenses as well as receivable escrowed distributions
           from fund holdings.

           ~3~ Accounts Receivable from Shared Services Fees and Expense Reimbursements is included in the Other Assets line item on the
           Balance Sheet(see MOR-3).




                                                                                                                                             MOR-5a
                                                                                                                                              9 of11
Case19-34054-sgj11
Case 21-03005-sgj Doc
                   Doc29405
                         Filed  05/24/21
                             Filed 01/27/20Entered 05/24/21
                                              Entered       10:22:39
                                                      01/27/20 16:49:55Page 43110
                                                                         Page   ofof
                                                                                  60011
In re: Highland Capital Management, L,P.                                                                                              Case No.19-12239-CSS
                                                                                                                  Reporting Period: l0/16/2019 -10/31/2019




                                                 DEBTOR QUCSTIONNAIRE
    143ust tie ~ccmplei~cc~ ~~e#~ ~no~ith                                                                                           Ycy           ~a
        I     Have any assets been sold or transferred outside the normal course of business this reporting period? If yes,
              provide an explanation below.

                                                                                                                                                    x




        2    Have any fiords been disbursed from any account other than a debtor in possession account this reporting
             period? If yes, provide an explanation below.

             $598,419 of funds transferred from non-debtor in possession accounts, while those accounts were in process of            x
             being opened. These debtor in possession accounts were opened following month end and are being used for
             operating activities as of the date of this submission.

        3    Have all postpetition tax returns been timely filed? If no, provide an explanation below.


                                                                                                                                      x




        4    Are workers compensation, general liability and other necessary insurance coverages in effect? If no, provide an
             explanation below.

                                                                                                                                      x




        5    Has any bank account been opened during the reporting period? If yes, provide documentation identifying the
             opened account(s). If an investment account has been opened provide the required documentation pursuant to
             the Delaware Local Rule 4001-3.
                                                                                                                                                    x
             Following month end, The Debtor opened three bank accowits at East West Bank. On November 21, 2019, the
             Debtor closed accounts ending in x735, x668 x130 and x513..




                                                                                                                                                   MOR-Sb
                                                                                                                                                   10 of 11
Case19-34054-sgj11
Case 21-03005-sgj Doc
                   Doc29405
                         Filed  05/24/21
                             Filed 01/27/20Entered 05/24/21
                                              Entered       10:22:39
                                                      01/27/20 16:49:55Page 43211
                                                                         Page   ofof
                                                                                  60011




                                                                                                                  S         > S          i S                ~       t     ~       f    ~' S         ~      S   ~ S




                                                                                                                  i   I.F» S         l) f      I.JBi f      ~       f     ~       S    ~       S   1,155 f     6U t        &MN


                                                                                                         (6~1~                      (6»1                                                           !6)1
                                                                                                         (6il) 1        ~       5   (cvl f      ~      5   (6)1) f        ~       5    ~       5   (6)1) t      ~      t   (3.198)


 Ow..4 hit ~: i~.:n'a.+t~                                                                     Ifs)                                   ()51                                              (~51                                 (t~s)
                         'aa(v:~~)                        ~                        (51        l~s)         (:5)         l]5)         1151       (~1         00)          (m)           l~ol         Iii         Il5)        It~o~
                        ..wl.~                                        (~c)       (ral        ()ssy        lips)        (lual        (7091      (asn)       l~su/         (~So)        (ss~         lam!        fuel        p.911)
           u~ru'~'~                                                               ni                                                                                      rs                                                Siam
            ,~                                                        ~xi s      ~++n s      tasa~ s      ao+~         avm ~        i~en~ s    ~avo~ s     aom s         ~wc~ s       wn s         o~o~ s      css~ s      o.+~n
                                                                      ~n                                  «m f                         s~                  i                n         ~ r                                   x

      ~i,mrya..,~i                                             -                                                      o.eu~                    tea         ao»                        ~a,~         ~.-:y       <xt~        o.swi
                                                                                                                       ~xo~         ~~oi        <7          tm~          ~~wi          ~~           cup         ~m~         ~esoi
                                                                                                                        oar          ns~        oc~         om            nc~          c~e~         as          oe~         a:z,
                                                                                                                        ~,n                     <~m         on                         oar                      oR,         ~r~i
 ~.F~...to                                                                                                              ~m           ~..~       nm          oe~           u,           oei          iiai        oar         awe

                                                                      ~n                                  i -               n       ~ •~                        n        rm                n       ~.~wi                   ~ ~n~


 mue ~.M.,~'n~~xa~a:~ no                                                                                              tiewe          -                                                                          -          c sw~
                                                                                                                                                                                                                             A~9
     ~p'f~rdr.•...i~ukd M?....bf..                                                                                                                                                                                         li.mol
                                                                                  -                      (swl                                              (`mil          ~           f~l                      f~
  Ag:1W n~at\~an~a<mx~lau~A:..-.n                                                            (IWI                                              Ilan]                                               (;wl         ~           (>al



                                                                                              ~ n         ~~sm                                              wm                        aom                      coop
                                                                                                                      xiv s

                                                                             s                                                                                                          re s
                                                                                                                      :.o» s         ~w         m           m             ~r~          ~v:          c~:         ~n          avva
          tv.4p~Y~aH.n                                                                                                                                                  (I.vel                                             f1.we1
                                                                                                                                                                        (Jw)                                                lJw)
                      ~                                                                                                                          _                         tJE)                      -          -            011
                                                                                                                                                                           ~1l)                                              (]))




 nrs             ,:~.eor...        ,.r~z    w.x::n -os,.,~n.r>.n                     ~Ha.r
 aix~       :~
            .,                  .~nn c.,x          ,~k..,,n.or                  m„orc.4_.>.,r. n~:n;,m.~m,,...,~>.,,,mM.,.Mry
                            ~ ,:t wim~n~:..wom.-~..~;.r nk..fiMn.~~aAo
 O1 Ym~«~a.-.,mr:~b~am..r..ur,GW„/cm.W:nrc..m =.rn,nrro ~nrry.3'e>..urJe~.~v..rov w~_.a~.rcll: mmenrpryexe.vl/err.uoe aw.
   ~.+ rrrc B te...,s.-:a.S:.N..~o..✓Jrr:t~s...oa mch.»4.+wn..~<rVw m.txkw Fn rrso..~.xt:xn~e icav:
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 433 of 600




                                EXHIBIT 46
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19 13:34:55Page 434 of    600
                                                             Docket #0289 Page   1 of
                                                                           Date Filed: 912/31/2019




                                                          ¨1¤}HV3,?                  "[«
                                                              1934054191231000000000002
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   435 of 600
                                                                            2 of 9



                                                                                               Monthly Operating Report
                                                                                                             ACCRUAL BASIS-1

      CASE NAME:                                                          Highland Capital Management, LP

      CASE NUMBER:                                                        19-12239-CSS

   Comparative Balance Sheet
   (in thousands)


                                                                              10/15/2019           10/31/2019          11/30/2019

      Assets

              Cash and cash equivalents                                               2,529              2,286               6,343
              Investments, at fair value(3)                                         232,620            235,144             233,776
              Equity method investees(3)                                            161,819            161,813             175,381
              Management and incentive fee receivable                                 2,579              3,202               1,223
              Fixed assets, net                                                       3,754              3,672               3,601
              Due from affiliates (1)                                               151,901            152,124             152,523
              Other assets                                                           11,311             11,260              10,621
      Total assets                                                        $         566,513        $   569,501        $    583,468


      Liabilities and Partners' Capital

              Pre-petition accounts payable(4)                                         1,176             1,135               1,250
              Post-petition accounts payable(4)                                          -                 102                 236
              Secured debt:
                    Frontier                                                          5,195              5,195               5,195
                    Jefferies                                                        30,328             30,315              30,268
              Accrued expenses and other liabilities(4)                              59,203             59,184              60,848
              Accrued re-organization related fees(5)                                   -                  -                   -
              Claim accrual (2)                                                      73,997             73,997              73,997
              Partners' capital                                                     396,614            399,573             411,674
      Total liabilities and partners' capita                              $         566,513        $   569,501        $    583,468




        (1)
              Includes various notes receivable at carrying value (fv undetermined).
        (2)   Uncontested portion of claim less appplicable offsets. Potential for additional liability based on future events. No interest has
              been accrued beyond petition date.
        (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
              readily available market price information. Limited partnership interests normally marked to a NAV statement have not been
              updated as of period end as statements are generally available on a one-month lag.
        (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
              recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates
              for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts include both
              pre-petition and post-petition liabilities.
        (5)   Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed prior to the petition
              date. No additional amounts were accrued between October 16, 2019 and November 30, 2019
     Case
     Case21-03005-sgj DocDoc
          19-34054-sgj11  29 Filed 05/24/21
                             289 Filed       Entered
                                       12/31/19      05/24/21
                                                 Entered      10:22:39
                                                         12/31/19       PagePage
                                                                  13:34:55   436 of 600
                                                                                 3 of 9


                                                                                                                                      Monthly Operating Report
                                                                                                                                                          ACCRUAL BASIS-2
        CASE NAME:                              Highland Capital Management, LP

        CASE NUMBER:                            19-12239-CSS

                             1
Income Statement
(in thousands)
                                                                                         Date                        Month ended                   Filing to Date
                                                                                  10/16/19 - 10/31/19                 11/30/2019
        Revenue:
         Management fees                                                                              975                          1,638                        2,613
         Shared services fees                                                                         283                            709                          992
         Other income                                                                                     99                         418                          517

              Total operating revenue                                                               1,357                          2,765                        4,122

        Operating expenses:
         Compensation and Benefits                                                                    997                          1,936                        2,932
         Professional services                                                                        256                             90                          346
         Investment research and consulting                                                               10                          34                               44
         Marketing and advertising expense                                                            -                               35                               35
         Depreciation expense                                                                             82                          82                          164
         Other operating expenses                                                                     201                            480                          681

              Total operating expenses                                                              1,545                          2,657                        4,202

        Operating income/(loss)                                                                      (188)                           108                           (80)

        Other income/expense:
         Interest income                                                                              250                            484                          735
         Interest expense                                                                            (107)                          (103)                         (211)
         Re-org related expenses(2)                                                                        -                            -                          -
         Other income/expense                                                                             32                            -                              32

              Total other income/expense                                                              175                            381                          555


           Net realized gains/(losses) on investments                                                 339                            279                          618
           Net change in unrealized gains/(losses) of investments(3)                                2,654                         (2,004)                         650

                                                                                                    2,993                         (1,725)                       1,268
                                                                           (3)
        Net earnings/(losses) from equity method investees                                            (20)                        13,468                       13,448

              Net income/(loss)                                                   $                 2,959        $                12,232       $               15,192

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating
accruals, but do not reflect estimates for other incurred, but not yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. No additional amounts were accrued
between October 16, 2019 and November 30, 2019
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price
information. Limited partnership interests normally marked to a NAV statement have not been updated as of period end as statements are generally available on a one-
month lag.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   437 of 600
                                                                            4 of 9



                                                                                                                     Monthly Operating Report
                                                                                                                                  ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054


CASH RECEIPTS AND DISBURSEMENTS                                               OCTOBER              NOVEMBER            DECEMBER              QUARTER
1. CASH - BEGINNING OF MONTH 2                                                    $2,554,230          $2,286,160                                $2,554,230
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                                       $6,911.97           $972,733                                  $979,644
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                                      $15,000.00          $1,764,749                               $1,779,749
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                                     $46,425          $2,962,108                                $3,008,534
5    POSTPETITION 1                                                                       -                   -                                         -
6  TOTAL OPERATING RECEIPTS                                                          $68,337          $5,699,590                                $5,767,928
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                                    $79,266            $320,836                                  $400,103
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                                    $410,189            $501,983                                  $912,172
9    OTHER (ATTACH LIST)                                                                                                                                $0
10   TOTAL NON-OPERATING RECEIPTS                                                   $489,456            $822,820                                $1,312,275
11   TOTAL RECEIPTS                                                                 $557,793          $6,522,410                                $7,080,203
12 TOTAL CASH AVAILABLE                                                           $3,112,023          $8,808,570
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                                       $737,588            $961,282                                $1,698,869
14   SINGAPORE SERVICE FEES                                                          $34,633              $32,555                                  $67,189
15   HCM LATIN AMERICA                                                                                  $100,000                                  $100,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                                                           $967,555                                  $967,555
17   UTILITIES                                                                                                                                           $0
18   INSURANCE                                                                                                                                           $0
19   INVENTORY PURCHASES                                                                                                                                 $0
20   VEHICLE EXPENSES                                                                                                                                    $0
21   TRAVEL                                                                                                                                              $0
22   ENTERTAINMENT                                                                                                                                       $0
23   REPAIRS & MAINTENANCE                                                                                                                               $0
24   SUPPLIES                                                                                                                                            $0
25   ADVERTISING                                                                                                                                         $0
26   OTHER (ATTACH LIST)                                                             $53,642            $404,581                                  $458,223
27 TOTAL OPERATING DISBURSEMENTS                                                    $825,863          $2,465,973                                $3,291,836
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                                                                                                   $0
29   U.S. TRUSTEE FEES                                                                                                                                   $0
30   OTHER (ATTACH LIST)                                                                                                                                 $0
31   TOTAL REORGANIZATION EXPENSES                                                            $0               $0                                        $0
32   TOTAL DISBURSEMENTS                                                            $825,863          $2,465,973                                $3,291,836
33   NET CASH FLOW                                                                 ($268,070)         $4,056,437                                $3,788,367
34   CASH - END OF MONTH                                                          $2,286,160          $6,342,598                                $6,342,598

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
2    Beginning cash in October represents the bank balance as of the filing date, while the cash amount shown on the balance sheet includes any outstanding checks.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   438 of 600
                                                                            5 of 9


                                                                     Monthly Operating Report
                                                                                ACCRUAL BASIS-3B
            CASE NAME:    Highland Capital Management

            CASE NUMBER: 19-34054



            OPERATING DISBURSMENTS - OTHER

                                       Date             Amount        Vendor
                                     11/1/2019          $ 155,983    Crescent TC Invest
                                     11/1/2019             26,667    Third Party Consultant
                                     11/1/2019             13,636    Third Party Consultant
                                     11/8/2019             33,007    Platinum Parking
                                     11/8/2019              1,053    Gold's Gym International
                                    11/12/2019              1,525    MicroTel
                                    11/15/2019              1,951    Compass Bank Operating
                                    11/18/2019              2,047    Zayo
                                    11/20/2019              2,894    Third Party Consultant
                                    11/25/2019             24,232    Coleman Research Group, Inc.
                                    11/26/2019              3,092    Canteen Vending
                                    11/26/2019                 925   UPS Small Package
                                    11/26/2019                 671   SolarWinds
                                    11/26/2019              7,995    Intralinks Inc
                                    11/26/2019             56,522    Houlihan Lokey Financial Advisors
                                    11/26/2019              9,259    Willis of Texas, Inc.
                                    11/26/2019              8,846    GrubHub for Work
                                    11/29/2019             31,894    Third Party Consultant
                                    11/29/2019             11,000    Third Party Consultant
                                    11/29/2019             11,382    Verity Group
                                                        $ 404,581


                                                               -
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   439 of 600
                                                                            6 of 9



                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054

                                                                   SCHEDULE
 MGMT FEE RECEIVABLE AGING 2                                        AMOUNT                   October                   November                 December
 1. 0-30                                                         $    2,578,744 $                 3,201,548     $           1,222,880
 2. 31-60                                                                                                $0
 3. 61-90                                                                                                $0
 4. 91+                                                                                                 -
 5.       TOTAL MGMT FEE RECEIVABLE                              $       2,578,744    $             3,201,548   $             1,222,880                        $0
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       2,578,744    $             3,201,548   $             1,222,880                        $0


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                     November 2019

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $215,777              $20,059                                                                        $235,836


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                     November 2019

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                                $0
 9.  SALES                                                                                                                                                      $0
 10. EXCISE                                                                                                                                                     $0
 11. UNEMPLOYMENT                                                                                                                                               $0
 12. REAL PROPERTY                                               $          16,472                         $0                         $0                   $16,472
 13. PERSONAL PROPERTY                                                                                                                                          $0
 14. OTHER (ATTACH LIST)                                                                                                                                        $0
 15. TOTAL STATE & LOCAL                                                   $16,472                         $0                         $0                   $16,472
 16. TOTAL TAXES                                                           $16,472                         $0                         $0                   $16,472

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   440 of 600
                                                                            7 of 9



                                                                                                                                                                              Monthly Operating Report
                                                                                                                                                                                              ACCRUAL BASIS-5
CASE NAME:                     Highland Capital Management


CASE NUMBER:                   19-34054


                                                                                              MONTH:                   November                                                                   2019
BANK RECONCILIATIONS
                                                               Account #1              Account #2               Account #3            Account #4          Account #5          Account #6
A.      BANK:                                                BBVA Compass            East West Bank           East West Bank         Maxim Group         Jefferies LLC         Nexbank
B.      ACCOUNT NUMBER:                                           x6342                   x4686                   x4693                 x1885               x0932               x5891                    TOTAL
C.      PURPOSE (TYPE):                                         Operating               Operating                Insurance            Brokerage           Brokerage              CD
                                                1
1.     BALANCE PER BANK STATEMENT                                     $229,247               $5,477,826                   $105,067                $164             $410,108            $135,205           $6,357,616
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                           $0
3.     SUBTRACT: OUTSTANDING CHECKS                                    $15,019                                                                                                                               $15,019
4.     OTHER RECONCILING ITEMS                                                                                                                                                                                    $0
5.     MONTH END BALANCE PER BOOKS                                    $214,228              $5,477,826                    $105,067                $164             $410,108            $135,205           $6,342,598
6.     NUMBER OF LAST CHECK WRITTEN                               18133                  100001                     n/a                  n/a                 n/a                 n/a




INVESTMENT ACCOUNTS

                                                               DATE OF                 TYPE OF                 PURCHASE                                                                              CURRENT
BANK, ACCOUNT NAME & NUMBER                                   PURCHASE               INSTRUMENT                  PRICE                                                                                VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                          $0                                                                                $0


CASH

12.                            CURRENCY ON HAND                                                                                                                                                                  $0

13.                            TOTAL CASH - END OF MONTH                                                                                                                                                  $6,342,598

1      For Compass account x6342, funds transferred in December such that only sufficient cash to cover outstanding checks remains
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   441 of 600
                                                                            8 of 9



                                                                                                                                              Monthly Operating Report
                                                                                                                                                             ACCRUAL BASIS-6
CASE NAME:                                               Highland Capital Management

CASE NUMBER:                                             19-34054


                                                                                                                                  MONTH:               November 2019

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                  INSIDERS
                                                                     TYPE OF                    AMOUNT                 TOTAL PAID
            NAME                                                    PAYMENT                      PAID                   TO DATE
1      Frank Waterhouse                                  Salary                                       $29,167                      $43,750
2      Frank Waterhouse                                  Expense Reimbursement                           $339                         $506
3      Scott Ellington                                   Salary                                       $37,500                      $56,250
4      Scott Ellington                                   Expense Reimbursement                            $84                        $2,010
5      James Dondero                                     Salary                                       $46,875                      $70,313
                                                                                  1
6      James Dondero                                     Expense Reimbursement                        $11,255                      $15,269
7      Thomas Surgent                                    Salary                                       $33,333                      $50,000
8      Thomas Surgent                                    Expense Reimbursement                           $224                         $248
9      Trey Parker                                       Salary                                       $29,167                      $43,750
10 Trey Parker                                 Expense Reimbursement                                     $207                         $425
                             TOTAL PAYMENTS TO INSIDERS                                              $188,151                     $282,519

     1 The total amount of reimbursements also included $83,358 for use of the credit card by the Debtor for office related expenses such as subscriptions, employee lunches, vending
       supplies, IT equipment/software, employee gifts/awards, training, postage and charitable donations.

                                                                          PROFESSIONALS 2
                                                               DATE OF COURT                                                                                            TOTAL
                                                             ORDER AUTHORIZING      AMOUNT                               AMOUNT                 TOTAL PAID            INCURRED
               NAME                                              PAYMENT           APPROVED                               PAID                   TO DATE              & UNPAID
1.
2.
3.
4.
5.
6.     TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   $0                      $0               $0

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                              SCHEDULED                 AMOUNTS
                                                                                               MONTHLY                    PAID                    TOTAL
                                                                                              PAYMENTS                   DURING                   UNPAID
                                   NAME OF CREDITOR                                              DUE                     MONTH                 POSTPETITION
1.     Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                   -
2.
3.
4.
5.
6.     TOTAL                                                                                          130,364                     $130,364                    $0
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        289 Filed       Entered
                                  12/31/19      05/24/21
                                            Entered      10:22:39
                                                    12/31/19       PagePage
                                                             13:34:55   442 of 600
                                                                            9 of 9



                                                                                               Monthly Operating Report
                                                                                                             ACCRUAL BASIS-7
   CASE NAME:                 Highland Capital Management


   CASE NUMBER:               19-34054

                                                                                      MONTH:           November 2019

   QUESTIONNAIRE

                                                                                                       YES                NO
   1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                           x
         THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
   2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                         x
         OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
   3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                         x
         LOANS) DUE FROM RELATED PARTIES?
   4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                         x
         THIS REPORTING PERIOD?
   5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                           x
         DEBTOR FROM ANY PARTY?
   6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                      x
   7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                           x
         PAST DUE?
   8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                  x
   9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                        x
   10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                           x
         DELINQUENT?
   11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                           x
         REPORTING PERIOD?
   12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                   x

   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
   EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
     2 $1,206,592 of funds paid from non-debtor in possession accounts, while those accounts were in the process of being opened.
     3 Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
       further discussion.
     4 Payments have been made on prepetition liabilities, as approved in the critical vendor motion.

   INSURANCE
                                                                                                       YES                NO
   1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                         x
         NECESSARY INSURANCE COVERAGES IN EFFECT?
   2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                          x
   3.    PLEASE ITEMIZE POLICIES BELOW.


   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
   CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
   BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                                                       INSTALLMENT PAYMENTS
           TYPE OF                                                                                      PAYMENT AMOUNT
           POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 443 of 600




                                 EXHIBIT 47
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 1 of
                                                                        444 of   9
                                                                               600




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                   December        2019
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp                                               1/31/2020
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE




    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE

    Frank Waterhouse
    PRINTED NAME OF PREPARER                                                   DATE
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 2 of
                                                                        445 of   9
                                                                               600



                                                                                                                          Monthly Operating Report
                                                                                                                                        ACCRUAL BASIS-1

           CASE NAME:                                                        Highland Capital Management, LP

           CASE NUMBER:                                                      19-12239-CSS


        Comparative Balance Sheet
        (in thousands)


                                                                                                                                                           (6)
                                                                                   10/15/2019          10/31/2019         11/30/2019          12/31/2019

            Assets

                   Cash and cash equivalents                                              2,529              2,286              6,343                   9,501
                   Investments, at fair value (3)                                       232,620           235,144             233,776                235,054
                   Equity method investees (3)                                          161,819           161,813             175,381                174,815
                   Management and incentive fee receivable                                2,579             3,202               1,223                  1,828
                   Fixed assets, net                                                      3,754             3,672               3,601                  3,521
                   Due from affiliates (1)                                              151,901           152,124             152,523                146,245
                   Reserve against notes recievable                                                                                                  (57,963)
                   Other assets                                                          11,311             11,260             10,621                 10,663
            Total assets                                                      $         566,513       $   569,501         $   583,468        $       523,664



            Liabilities and Partners' Capital

                                                    (4)
                   Pre-petition accounts payable                                          1,176              1,135              1,250                   1,068
                                                     (4)
                   Post-petition accounts payable                                            -                 102                236                     624
                   Secured debt:
                         Frontier                                                         5,195              5,195              5,195                  5,195
                         Jefferies                                                       30,328             30,315             30,268                 30,020
                                                             (4)
                   Accrued expenses and other liabilities                                59,203             59,184             60,848                 66,423
                                                           (5)
                   Accrued re-organization related fees                                      -                 -                   -                    5,693
                   Claim accrual (2)                                                     73,997             73,997             73,997                 73,997
                   Partners' capital                                                    396,614           399,573             411,674                340,644
            Total liabilities and partners' capital                            $        566,513       $   569,501         $   583,468        $       523,664




             (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully reserved
                   against ($58M reserve). Fair value has not been determined with respect to any of the notes.
             (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No interest has
                   been accrued beyond petition date.
             (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily
                   available market price information. Limited partnership interests normally marked to a NAV statement have been updated based upon
                   the most recent statement available, or marked to an estimate to the extent available.
             (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices recorded through
                   accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not
                   yet received invoices. For balance sheet dates other than the Petition Date, amounts include both pre-petition and post-petition
                   liabilities.
             (5)   At December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees incurred to date.
             (6)   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
      Case21-03005-sgj
      Case 19-34054-sgj11
                       DocDoc 418 Filed
                           29 Filed     01/31/20
                                    05/24/21      Entered
                                              Entered     01/31/20
                                                      05/24/21     13:52:27
                                                               10:22:39  PagePage 3 of
                                                                              446 of   9
                                                                                     600


                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                            ACCRUAL BASIS-2
         CASE NAME:                              Highland Capital Management, LP

         CASE NUMBER:                            19-12239-CSS

Income Statement 1
(in thousands)
                                                                                           Date                         Month ended                   Month ended (4)                Filing to Date
                                                                                    10/16/19 - 10/31/19                  11/30/2019                    12/31/2019
         Revenue:
          Management fees                                                                               975                           1,638                         1,804                         4,417
          Shared services fees                                                                          283                              709                          596                         1,588
          Other income                                                                                       99                          418                        1,032                         1,549

              Total operating revenue                                                                 1,357                           2,765                         3,433                         7,555

         Operating expenses:
          Compensation and benefits                                                                     997                           1,936                         2,256                         5,188
          Professional services                                                                         256                               90                          354                            700
          Investment research and consulting                                                                 10                           34                            10                            54
          Marketing and advertising expense                                                              -                                35                           (15)                           20
          Depreciation expense                                                                               82                           82                            80                           244
          Bad debt expense reserve                                                                            -                             -                       8,420                         8,420
          Other operating expenses                                                                      201                              480                          310                            991

              Total operating expenses                                                                1,545                           2,657                        11,415                        15,617

         Operating income/(loss)                                                                        (188)                            108                       (7,982)                       (8,062)

         Other income/expense:
          Interest income                                                                               250                              484                          495                         1,230
          Interest expense                                                                              (107)                           (103)                        (135)                          (346)
          Reserve against notes receivable                                                                    -                             -                     (57,963)                      (57,963)
           Re-org related expenses(2)                                                                         -                             -                      (5,693)                       (5,693)
           Other income/expense                                                                              32                             -                             -                           32

              Total other income/expense                                                                175                              381                      (63,296)                      (62,741)


           Net realized gains/(losses) on investments                                                   339                              279                              -                          618
           Net change in unrealized gains/(losses) of investments(3)                                  2,654                          (2,004)                          988                         1,638

                                                                                                      2,993                          (1,725)                          988                         2,256
                                                                              (3)
         Net earnings/(losses) from equity method investees                                              (20)                        13,468                          (692)                       12,756

              Net income/(loss)                                                     $                 2,959         $                12,232       $               (70,982)       $              (55,791)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
estimates for other incurred, but not yet received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. At December 31st, 2019, Debtor accrued for post-petition re-
organization fees based upon an estimate of fees incurred to date.
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Limited partnership interests
normally marked to a NAV statement have been updated based upon the most recent statement available, or marked to an estimate to the extent available.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 4 of
                                                                        447 of   9
                                                                               600



                                                                                                                    Monthly Operating Report
                                                                                                                                 ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054


CASH RECEIPTS AND DISBURSEMENTS                                               OCTOBER              NOVEMBER             DECEMBER            QUARTER
1. CASH - BEGINNING OF MONTH 2                                            $        2,554,230   $       2,286,160    $       6,342,598   $       2,554,230
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $            6,912   $         972,733    $         883,113   $       1,862,757
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $           15,000   $       1,764,749    $       1,376,993   $       3,156,742
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $           46,425   $       2,962,108    $         584,575   $       3,593,108
5    POSTPETITION 1                                                       $              -     $              -     $              -    $              -
6  TOTAL OPERATING RECEIPTS                                               $           68,337   $       5,699,590    $       2,844,680   $       8,612,608
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $           79,266   $         320,836    $          23,365   $         423,468
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $         410,189    $         501,983    $         425,897   $       1,338,069
9    OTHER (ATTACH LIST)                                                                                            $       3,390,286   $       3,390,286
10   TOTAL NON-OPERATING RECEIPTS                                         $         489,456    $         822,820    $       3,839,547   $       5,151,822
11   TOTAL RECEIPTS                                                       $         557,793    $       6,522,410    $       6,684,227   $      13,764,430
12 TOTAL CASH AVAILABLE                                                   $        3,112,023   $       8,808,570    $      13,026,825
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB (3)                         $         737,588    $         961,282    $       2,077,577   $       3,776,446
14   SINGAPORE SERVICE FEES                                               $           34,633   $          32,555    $          27,930   $           95,118
15   HCM LATIN AMERICA                                                                         $         100,000    $         100,000   $         200,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                                                  $         967,555    $         459,432   $       1,426,987
17   UTILITIES                                                                                                                          $              -
18   INSURANCE                                                                                                                          $              -
19   INVENTORY PURCHASES                                                                                                                $              -
20   VEHICLE EXPENSES                                                                                                                   $              -
21   TRAVEL                                                                                                                             $              -
22   ENTERTAINMENT                                                                                                                      $              -
23   REPAIRS & MAINTENANCE                                                                                                              $              -
24   SUPPLIES                                                                                                                           $              -
25   ADVERTISING                                                                                                                        $              -
26   OTHER (ATTACH LIST)                                                  $           53,642   $         404,581    $         860,477   $       1,318,700
27 TOTAL OPERATING DISBURSEMENTS                                          $         825,863    $       2,465,973    $       3,525,415   $       6,817,251
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                                                                                  $              -
29   U.S. TRUSTEE FEES                                                                                                                  $              -
30   OTHER (ATTACH LIST)                                                                                                                $              -
31   TOTAL REORGANIZATION EXPENSES                                        $              -     $              -     $              -    $              -
32   TOTAL DISBURSEMENTS                                                  $         825,863    $       2,465,973    $       3,525,415   $       6,817,251
33   NET CASH FLOW                                                        $         (268,070) $        4,056,437    $       3,158,812   $       6,947,179
34   CASH - END OF MONTH                                                  $       2,286,160    $       6,342,598    $       9,501,409   $       9,501,409

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
2    Beginning cash in October represents the bank balance as of the filing date, while the cash amount shown on the balance sheet includes any outstanding checks.
3    November 30th, 2019 payroll in the amount of $478,337 did not debit the account until December 2nd, 2019. For comparability purposes this $478,337 amount
     should be added to the November total and subtracted from the December total.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 5 of
                                                                        448 of   9
                                                                               600


                                                                       Monthly Operating Report
                                                                                   ACCRUAL BASIS-3B
         CASE NAME:     Highland Capital Management

         CASE NUMBER:   19-34054

         NON-OPERATING RECEIPTS - OTHER

                                      Date            Amount           Description
                                    12/9/2019           1,518,575.34   Note principal or interest
                                    12/9/2019                 739.72   Note principal or interest
                                   12/23/2019             783,011.86   Note principal or interest
                                   12/30/2019             530,112.36   Note principal or interest
                                   12/30/2019              65,360.49   Note principal or interest
                                   12/30/2019             201,994.40   Note principal or interest
                                   12/30/2019             275,487.21   Note principal or interest
                                   12/31/2019              15,004.30   Voided Checks
                                                      $ 3,390,285.68

         OPERATING DISBURSMENTS - OTHER

                                      Date            Amount            Vendor
                                    12/2/2019           155,084.39     Crescent TC Investors LP
                                    12/3/2019            18,289.49     Platinum Parking
                                    12/3/2019               672.72     ProStar Services, Inc
                                    12/3/2019             1,191.25     Gold's Gym International
                                    12/3/2019             1,021.44     Chick-fil-A
                                    12/3/2019             5,052.88     Iron Mountain Records Management
                                    12/3/2019             1,472.00     Platinum Parking
                                    12/5/2019               110.00     FINRA
                                   12/11/2019             5,780.50     Third Party Consultant
                                   12/13/2019               110.00     FINRA
                                   12/13/2019               163.35     Arkadin Inc
                                   12/13/2019               356.00     Jordan Fraker Photography
                                   12/13/2019               480.00     Action Shred of Texas
                                   12/13/2019             1,023.67     UPS Small Package
                                   12/13/2019             1,489.20     Canteen
                                   12/13/2019             3,032.73     Greenwood Office Outfitters, Inc.
                                   12/13/2019             3,659.07     Third Party Consultant
                                   12/13/2019             2,887.50     Centroid Systems, Inc.
                                   12/13/2019             2,394.28     Thomson Reuters West
                                   12/13/2019             8,642.37     Concur Technologies Inc
                                   12/13/2019            23,950.60     Flexential Colorado Corp
                                   12/13/2019             3,234.81     ICE Data Pricing Ref Data LLC
                                   12/13/2019               226.25     Third Party Consultant
                                   12/13/2019             1,155.00     Centroid Systems, Inc.
                                   12/13/2019             4,788.56     Thomson Reuters West
                                   12/13/2019             4,090.46     Concur Technologies Inc
                                   12/16/2019           155,452.35     Bloomberg Finance LP
                                   12/16/2019             1,582.66     Compass Bank Oper
                                   12/16/2019            32,508.98     Bloomberg Finance LP
                                   12/17/2019               259.60     East West Bank
                                   12/17/2019            13,516.50     ATT Mobility
                                   12/17/2019               516.91     DIRECTV
                                   12/19/2019               477.59     PITNEY BOWES
                                   12/19/2019               400.00     PITNEY BOWES
                                   12/19/2019             1,611.00     PITNEY BOWES
                                   12/20/2019               348.00     Visix, Inc.
                                   12/20/2019             1,000.00     Marco Quintana
                                   12/20/2019                21.40     CHASE COURIERS, INC
                                   12/20/2019               751.26     Four Seasons Plantscaping, LLC
                                   12/20/2019            36,084.06     SIEPE SOFTWARE
                                   12/20/2019           248,637.49     SIEPE SERVICES
                                   12/20/2019            31,050.00     McLagan
                                   12/20/2019             6,495.61     ATT Mobility
                                   12/23/2019            27,891.43     Third Party Consultant
                                   12/23/2019             6,942.54     TW Telecom
                                   12/23/2019             6,934.01     TW Telecom
                                   12/24/2019               398.22     Xerox
                                   12/26/2019               548.83     Pitney Bowes
                                   12/27/2019             5,076.50     Third Party Consultant
                                   12/31/2019            17,147.40     Wolters Kluwer
                                   12/31/2019             1,419.08     Oracle America, Inc.
                                   12/31/2019             2,047.22     Zayo Group
                                   12/31/2019            11,000.00     Third Party Consultant
                                                      $ 860,477.16
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 6 of
                                                                        449 of   9
                                                                               600



                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054

                                                                   SCHEDULE
 MGMT FEE RECEIVABLE AGING 2                                        AMOUNT                   October                   November                 December
 1. 0-30                                                         $    2,578,744 $                 3,201,548     $           1,222,880               $1,828,180
 2. 31-60
 3. 61-90
 4. 91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       2,578,744    $             3,201,548   $             1,222,880              $1,828,180
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       2,578,744    $             3,201,548   $             1,222,880              $1,828,180


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                     December 2019

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $413,201              $60,483                  $150,355                                              $624,038


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                     December 2019

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                         $0                        $0                         $0                       $0
 16. TOTAL TAXES                                                                 $0                        $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 7 of
                                                                        450 of   9
                                                                               600



                                                                                                                                                                                           Monthly Operating Report
                                                                                                                                                                                                           ACCRUAL BASIS-5
CASE NAME:                     Highland Capital Management


CASE NUMBER:                   19-34054


                                                                                               MONTH:                     December                                                                             2019
BANK RECONCILIATIONS
                                                                Account #1               Account #2              Account #3               Account #4               Account #5              Account #6
A.      BANK:                                                 BBVA Compass             East West Bank          East West Bank            Maxim Group              Jefferies LLC             Nexbank
B.      ACCOUNT NUMBER:                                           x6342                    x4686                   x4693                    x1885                    x0932                   x5891                    TOTAL
C.      PURPOSE (TYPE):                                         Operating                Operating               Insurance                Brokerage                Brokerage                  CD
                                                1
1.     BALANCE PER BANK STATEMENT                         $               15,004   $           8,562,272   $               132,822   $              245,849   $              410,108   $             136,105   $        9,502,160
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                        $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                $                 751                                                                                                       $              751
4.     OTHER RECONCILING ITEMS                                                                                                                                                                                 $              -
5.     MONTH END BALANCE PER BOOKS                        $               15,004   $          8,561,521    $               132,822   $              245,849   $              410,108   $             135,205   $        9,501,409
6.     NUMBER OF LAST CHECK WRITTEN                               18133                   100009                    n/a                      n/a                      n/a                     n/a




INVESTMENT ACCOUNTS

                                                                DATE OF                  TYPE OF                PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                    PURCHASE                INSTRUMENT                 PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                           $0                                                                                            $0


CASH

12.                            CURRENCY ON HAND                                                                                                                                                                               $0

13.                            TOTAL CASH - END OF MONTH                                                                                                                                                               $9,501,409

1      For Compass account x6342, subsequent to year end balance was transferred to the East West operating account and the account was closed.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 8 of
                                                                        451 of   9
                                                                               600



                                                                                                                                               Monthly Operating Report
                                                                                                                                                              ACCRUAL BASIS-6
CASE NAME:                                               Highland Capital Management

CASE NUMBER:                                             19-34054


                                                                                                                                   MONTH:               December 2019

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                  INSIDERS
                                                                     TYPE OF                     AMOUNT                TOTAL PAID
            NAME                                                    PAYMENT                       PAID                POST PETITION
1      Frank Waterhouse                                  Salary                                       $29,167                       $72,917
2      Frank Waterhouse                                  Expense Reimbursement                          $1,003                       $1,508
3      Scott Ellington                                   Salary                                       $37,500                       $93,750
4      Scott Ellington                                   Expense Reimbursement                             $24                       $2,034
5      James Dondero                                     Salary                                       $46,875                      $117,188
                                                                                   1
6      James Dondero                                     Expense Reimbursement                          $1,077                      $16,346
7      Thomas Surgent                                    Salary                                       $33,333                       $83,333
8      Thomas Surgent                                    Expense Reimbursement                          $1,007                       $1,254
9      Trey Parker                                       Salary                                       $29,167                       $72,917
10 Trey Parker                                  Expense Reimbursement                                    $240                          $665
                              TOTAL PAYMENTS TO INSIDERS                                             $179,393                      $461,911

     1 The total amount of reimbursements during the reporting month also included $24,556 for use of the credit card by the Debtor for office related expenses such as subscriptions,
       employee lunches, vending supplies, IT equipment/software, employee gifts/awards, non-employee related travel, training and postage.

                                                                          PROFESSIONALS 2
                                                               DATE OF COURT                                                                                             TOTAL
                                                             ORDER AUTHORIZING      AMOUNT                               AMOUNT                  TOTAL PAID            INCURRED
               NAME                                              PAYMENT           APPROVED                               PAID                    TO DATE              & UNPAID
1.
2.
3.
4.
5.
6.     TOTAL PAYMENTS TO PROFESSIONALS                                                                                                    $0                      $0               $0

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                               SCHEDULED                 AMOUNTS
                                                                                                MONTHLY                    PAID                    TOTAL
                                                                                               PAYMENTS                   DURING                   UNPAID
                                   NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1.     Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                    -
2.
3.
4.
5.
6.     TOTAL                                                                                          130,364                      $130,364                    $0
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 418 Filed
                     29 Filed     01/31/20
                              05/24/21      Entered
                                        Entered     01/31/20
                                                05/24/21     13:52:27
                                                         10:22:39  PagePage 9 of
                                                                        452 of   9
                                                                               600




                                                                                               Monthly Operating Report
                                                                                                             ACCRUAL BASIS-7
   CASE NAME:                 Highland Capital Management


   CASE NUMBER:               19-34054

                                                                                      MONTH:           December 2019

   QUESTIONNAIRE

                                                                                                       YES                NO
   1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                           x
         THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
   2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                         x
         OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
   3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                         x
         LOANS) DUE FROM RELATED PARTIES?
   4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                         x
         THIS REPORTING PERIOD?
   5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                           x
         DEBTOR FROM ANY PARTY?
   6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                      x
   7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                           x
         PAST DUE?
   8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                  x
   9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                        x
   10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                           x
         DELINQUENT?
   11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                           x
         REPORTING PERIOD?
   12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                   x

   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
   EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
     2 $272,727 of funds transferred from non-debtor-in-possession accounts to debtor-in-possession account.
     3 Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
       further discussion.
     4 Payments have been made on prepetition liabilities, as approved in the critical vendor motion.

   INSURANCE
                                                                                                       YES                NO
   1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                         x
         NECESSARY INSURANCE COVERAGES IN EFFECT?
   2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                          x
   3.    PLEASE ITEMIZE POLICIES BELOW.


   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
   CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
   BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                                                       INSTALLMENT PAYMENTS
           TYPE OF                                                                                      PAYMENT AMOUNT
           POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 453 of 600




                                EXHIBIT 48
   Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39   Page 454 of 600


December 2019 Due From Affiliates

14585 DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $    57,963,118
14532 DUE FROM NEXPOINT ADVISORS                                23,034,644
14750 LONG TERM NOTES RECEIVABLE                                18,286,268
14531 DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS        10,413,540
14533 DUE FROM HCRE PARTNERS                                    10,192,686
14565 DUE FROM OTHER - TAX LOANS                                 9,946,805
14530 DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES              7,543,781
14590 DUE FROM OTHER AFFILIATE                                   5,088,256
14595 DUE FROM HIGHLAND CAPITAL KOREA                            3,132,278
14140 SHARED SVCS FEE RECVBL - PYXIS                               298,283
14010 CASH INTEREST RECEIVABLE                                     285,626
14580 DUE FROM NEXBANK                                              60,000
 Total Due From Affiliates                                 $   146,245,285
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 455 of 600




                                EXHIBIT 49
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        497 Filed       Entered
                                  03/03/20      05/24/21
                                            Entered      10:22:39
                                                    03/03/20 10:21:42Page 456 of    600
                                                             Docket #0497 Page   1 of
                                                                           Date Filed: 903/03/2020




                                                            3/02/2020




                                                          ¨1¤}HV4##                  !i«
                                                              1934054200303000000000001
                        Case
                        Case21-03005-sgj DocDoc
                             19-34054-sgj11  29 Filed 05/24/21
                                                497 Filed       Entered
                                                          03/03/20      05/24/21
                                                                    Entered      10:22:39
                                                                            03/03/20       PagePage
                                                                                     10:21:42   457 of 600
                                                                                                    2 of 9




                                                                                                   Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-1

   CASE NAME:                                                        Highland Capital Management, LP

   CASE NUMBER:                                                      19-12239-CSS

Comparative Balance Sheet
(in thousands)


                                                                          10/15/2019          12/31/2019 (6)               1/31/2020 (6)

   Assets

           Cash and cash equivalents                                             2,529                   9,501                     7,645
           Investments, at fair value (3)                                      232,620                 235,224                   240,649
           Equity method investees (3)                                         161,819                 174,815                   174,893
           Management and incentive fee receivable                               2,579                   1,895                     2,913
           Fixed assets, net                                                     3,754                   3,521                     3,441
           Due from affiliates (1)                                             151,901                 146,245                   146,818
           Reserve against notes recievable                                                            (57,963)                  (57,963)
           Other assets                                                         11,311                  10,986                    10,842
   Total assets                                                       $        566,513       $         524,224         $         529,238


   Liabilities and Partners' Capital

           Pre-petition accounts payable (4)                                     1,176                   1,079                      1,620
           Post-petition accounts payable (4)                                      -                       961                        153
           Secured debt:
                 Frontier                                                        5,195                   5,195                     5,195
                 Jefferies                                                      30,328                  30,020                    29,950
           Accrued expenses and other liabilities (4)                           59,203                  66,592                    67,391
           Accrued re-organization related fees (5)                                -                     5,762                     7,326
           Claim accrual (2)                                                    73,997                  73,997                    73,997
           Partners' capital                                                   396,614                 340,618                   343,605
   Total liabilities and partners' capital                            $        566,513       $         524,224         $         529,238


     (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
           reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
     (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
           interest has been accrued beyond petition date.
     (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
           readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
           not been updated as of period end as statements are generally available on a one-month lag.
     (4) Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
         recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
         estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
         include both pre-petition and post-petition liabilities.
     (5) Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees

         incurred to date.
     (6)   All balances at 12/31/2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to the
           normal year-end closing process. As a result, balances for subsequent months will fluctuate.
                      Case
                      Case21-03005-sgj DocDoc
                           19-34054-sgj11  29 Filed 05/24/21
                                              497 Filed       Entered
                                                        03/03/20      05/24/21
                                                                  Entered      10:22:39
                                                                          03/03/20       PagePage
                                                                                   10:21:42   458 of 600
                                                                                                  3 of 9



                                                                                                                                           Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-2
         CASE NAME:                               Highland Capital Management, LP

         CASE NUMBER:                             19-12239-CSS

Income Statement 1
(in thousands)
                                                                                     Filing to Year Ended                 Month ended                   Filing to date
                                                                                              2019                         1/31/2020
         Revenue:
          Management fees                                                                                 4,484                         1,705                        6,189
          Shared services fees                                                                            1,588                           646                        2,234
          Other income                                                                                    1,582                           172                        1,754

               Total operating revenue                                                                    7,654                         2,523                       10,177
         Operating expenses:
          Compensation and benefits                                                                       5,188                         1,929                        7,117
          Professional services                                                                             702                             85                         787
          Investment research and consulting                                                                 54                              7                          61
          Marketing and advertising expense                                                                  20                             37                          57
          Depreciation expense                                                                              244                             79                         323
          Bad debt expense reserve                                                                        8,420                           -                          8,420
          Other operating expenses                                                                        1,046                           335                        1,381

               Total operating expenses                                                                 15,674                          2,472                       18,146

         Operating income/(loss)                                                                         (8,020)                            51                      (7,969)
         Other income/expense:
          Interest income                                                                                1,230                            495                        1,725
          Interest expense                                                                                (346)                          (114)                        (460)
          Reserve against notes receivable                                                             (57,963)                             -                      (57,963)
          Re-org related expenses (2)                                                                    (5,762)                       (2,590)                      (8,352)
          Independent director fees                                                                         -                            (134)                        (134)
          Other income/expense                                                                                32                            -                          -32
               Total other income/expense                                                              (62,809)                        (2,343)                     (65,152)


            Net realized gains/(losses) on investments                                                      618                                 6                      624
            Net change in unrealized gains/(losses) of investments (3)                                    1,638                         5,409                        7,047

                                                                                                          2,256                         5,415                        7,671

         Net earnings/(losses) from equity method investees (3)                                         12,756                           (136)                      12,620

               Net income/(loss)                                                        $              (55,817)       $                 2,987       $              (52,830)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating
accruals, but do not reflect estimates for other incurred, but not yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. At December 31st, 2019, Debtor accrued for
post-petition re-organization fees based upon an estimate of fees incurred to date.
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information.
Certain limited partnership interests normally marked to a NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
                                         Case
                                         Case21-03005-sgj DocDoc
                                              19-34054-sgj11  29 Filed 05/24/21
                                                                 497 Filed       Entered
                                                                           03/03/20      05/24/21
                                                                                     Entered      10:22:39
                                                                                             03/03/20       PagePage
                                                                                                      10:21:42   459 of 600
                                                                                                                     4 of 9




                                                                                                                                     Monthly Operating Report
                                                                                                                                               ACCRUAL BASIS-3A
CASE NAME:                      Highland Capital Management

CASE NUMBER:                    19-34054



                                                                           FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                    2019                   JANUARY         FEBRUARY     MARCH           QUARTER
                                           2
1. CASH - BEGINNING OF MONTH                                               $              2,554,230   $      9,501,409                             $     9,501,409
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $              1,862,757   $       437,863                              $       437,863
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $              3,156,742   $      1,149,280                             $     1,149,280
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $              3,593,108   $            -                               $            -
                      1
5    POSTPETITION                                                          $                    -     $            -                               $            -
6  TOTAL OPERATING RECEIPTS                                                $              8,612,608   $      1,587,143                             $     1,587,143
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $                423,468   $            -                               $            -
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $              1,338,069   $        80,114                              $        80,114
9    OTHER (ATTACH LIST)                                                   $              3,390,286   $        43,550                              $        43,550
10   TOTAL NON-OPERATING RECEIPTS                                          $              5,151,822   $       123,664                              $       123,664
11   TOTAL RECEIPTS                                                        $            13,764,430    $      1,710,807                             $     1,710,807
12 TOTAL CASH AVAILABLE                                                                               $     11,212,217
OPERATING DISBURSEMENTS
                                                            (3)
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $              3,776,446   $      1,483,225                             $     1,483,225
14   SINGAPORE SERVICE FEES                                                $                 95,118   $        32,607                              $        32,607
15   HCM LATIN AMERICA                                                     $                200,000   $       100,000                              $       100,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $              1,426,987   $            -                               $            -
17   UTILITIES                                                             $                    -                                                  $            -
18   INSURANCE                                                             $                    -                                                  $            -
19   INVENTORY PURCHASES                                                   $                    -                                                  $            -
20   VEHICLE EXPENSES                                                      $                    -                                                  $            -
21   TRAVEL                                                                $                    -                                                  $            -
22   ENTERTAINMENT                                                         $                    -                                                  $            -
23   REPAIRS & MAINTENANCE                                                 $                    -                                                  $            -
24   SUPPLIES                                                              $                    -                                                  $            -
25   ADVERTISING                                                           $                    -                                                  $            -
26   OTHER (ATTACH LIST)                                                   $              1,318,700   $       792,268                              $       792,268
27 TOTAL OPERATING DISBURSEMENTS                                           $              6,817,251   $      2,408,100                             $     2,408,100
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -     $      1,025,308                             $     1,025,308
29   U.S. TRUSTEE FEES                                                     $                    -                                                  $            -
30   OTHER (ATTACH LIST)                                                   $                    -     $        133,869                             $       133,869
31   TOTAL REORGANIZATION EXPENSES                                         $                    -     $      1,159,176                             $     1,159,176
32   TOTAL DISBURSEMENTS                                                   $              6,817,251   $      3,567,277                             $     3,567,277
33   NET CASH FLOW                                                         $              6,947,179   $     (1,856,469)                            $     (1,856,469)
34   CASH - END OF MONTH                                                   $              9,501,409   $      7,644,940                             $     7,644,940

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
       Case
       Case21-03005-sgj DocDoc
            19-34054-sgj11  29 Filed 05/24/21
                               497 Filed       Entered
                                         03/03/20      05/24/21
                                                   Entered      10:22:39
                                                           03/03/20       PagePage
                                                                    10:21:42   460 of 600
                                                                                   5 of 9




                                                                        Monthly Operating Report
                                                                                   ACCRUAL BASIS-3B
CASE NAME:     Highland Capital Management

CASE NUMBER: 19-34054

NON-OPERATING RECEIPTS - OTHER

                           Date              Amount       Description
                         1/9/2020               43,550.00 Cash Receipt from Multi Strategy
                                             $ 43,550.00

OPERATING DISBURSMENTS - OTHER

                           Date              Amount          Vendor
                         1/2/2020              158,748.85   Crescent TC Investors LP
                         1/3/2020               43,550.00   Cash Disbursement to Multi Strategy
                         1/3/2020                  637.13   AT&T
                         1/7/2020                7,729.05   CDW Direct LLC
                         1/8/2020                7,150.74   AT&T
                        1/13/2020                6,846.47   TW Telecom
                        1/15/2020               18,042.03   Siepe Software LLC
                        1/15/2020                2,500.00   Maples and Calder
                        1/17/2020                2,017.51   Zayo Group
                        1/22/2020                6,367.28   AT&T
                        1/22/2020                3,749.90   AT&T
                        1/23/2020               11,210.06   Fidelity National Information Svcs
                        1/24/2020               94,963.62   Houlihan Lokey
                        1/24/2020              130,530.12   Siepe Services, LLC
                        1/24/2020                3,120.36   UPS Small Package
                        1/24/2020                  844.00   CSC
                        1/24/2020                  225.00   Action Shred of Texas
                        1/24/2020               11,380.24   AT&T
                        1/24/2020                5,985.38   Third Party Consultant
                        1/24/2020               70,400.00   Intex Solutions, Inc.
                        1/24/2020               15,448.54   Compass Group USA dba Canteen
                        1/27/2020                  260.58   DirecTV
                        1/28/2020                1,633.42   Xerox
                        1/30/2020              117,957.04   HE Peoria Place
                        1/30/2020               36,564.20   HE Asante
                        1/30/2020                  518.96   HE Fox Trails
                        1/31/2020               18,650.19   Ace Parking
                        1/31/2020               11,000.00   Third Party Consultant
                        1/31/2020                3,787.76   Oak Cliff Office Supply & Printing (OCOP)
                        1/31/2020                  450.00   Action Shred of Texas
                                             $ 792,268.43

REORGANIZATION EXPENSES - OTHER

                           Date              Amount          Description
                        1/13/2020               44,836.63   Russell F. Nelms
                        1/13/2020               44,516.00   Dubel & Associates, LLC
                        1/13/2020               44,516.00   James P. Seery, Jr.
                                               133,868.63
                            Case
                            Case21-03005-sgj DocDoc
                                 19-34054-sgj11  29 Filed 05/24/21
                                                    497 Filed       Entered
                                                              03/03/20      05/24/21
                                                                        Entered      10:22:39
                                                                                03/03/20       PagePage
                                                                                         10:21:42   461 of 600
                                                                                                        6 of 9




                                                                                                                            Monthly Operating Report
                                                                                                                                             ACCRUAL BASIS-4
CASE NAME:                                Highland Capital Management

CASE NUMBER:                              19-34054


MGMT FEE RECEIVABLE AGING 2                                           October                 November                  December '3                 January
1. 0-30                                                          $       3,201,548     $           1,222,880      $           1,894,850                $2,912,832
2. 31-60
3. 61-90
4. 91+
5. TOTAL MGMT FEE RECEIVABLE                                     $        3,201,548    $             1,222,880    $             1,894,850                $2,912,832
6. AMOUNT CONSIDERED UNCOLLECTIBLE
7. MGMT FEE RECEIVABLE (NET)                                     $        3,201,548    $             1,222,880    $             1,894,850                $2,912,832


AGING OF POSTPETITION TAXES AND PAYABLES                                                             MONTH:                         January 2020

                                                  0-30                 31-60                   61-90                        91+
TAXES PAYABLE                                    DAYS                  DAYS                    DAYS                        DAYS                     TOTAL
1.  FEDERAL                                                                                                                                                     $0
2.  STATE                                                                                                                                                       $0
3.  LOCAL                                                                                                                                                       $0
4.  OTHER (ATTACH LIST)                                                                                                                                         $0
5.  TOTAL TAXES PAYABLE                                     $0                   $0                          $0                         $0                      $0

6.       ACCOUNTS PAYABLE                 545917.96-65                      $43,229                    $10,712                    $99,547                 $153,488


STATUS OF POSTPETITION TAXES 1                                                                       MONTH:                         January 2020

                                                                     BEGINNING                AMOUNT                                                ENDING
                                                                        TAX                WITHHELD AND/                AMOUNT                        TAX
FEDERAL                                                              LIABILITY              0R ACCRUED                   PAID                      LIABILITY
1.  WITHHOLDING                                                                                                                                                 $0
2.  FICA-EMPLOYEE                                                                                                                                               $0
3.  FICA-EMPLOYER                                                                                                                                               $0
4.  UNEMPLOYMENT                                                                                                                                                $0
5.  INCOME                                                                                                                                                      $0
6.  OTHER (ATTACH LIST)                                                                                                                                         $0
7.  TOTAL FEDERAL TAXES                                                          $0                          $0                         $0                      $0
STATE AND LOCAL
8.  WITHHOLDING                                                                                                                                                 $0
9.  SALES                                                                                                                                                       $0
10. EXCISE                                                                                                                                                      $0
11. UNEMPLOYMENT                                                                                                                                                $0
12. REAL PROPERTY                                                                 $0                         $0                         $0                      $0
13. PERSONAL PROPERTY                                                                                                                                           $0
14. OTHER (ATTACH LIST)                                                                                                                                         $0
15. TOTAL STATE & LOCAL                                                          $0                          $0                         $0                      $0
16. TOTAL TAXES                                                                  $0                          $0                         $0                      $0

     1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
         withholdings.
     2   Aging based on when management fee is due and payable.
     3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
                                                     Case
                                                     Case21-03005-sgj DocDoc
                                                          19-34054-sgj11  29 Filed 05/24/21
                                                                             497 Filed       Entered
                                                                                       03/03/20      05/24/21
                                                                                                 Entered      10:22:39
                                                                                                         03/03/20       PagePage
                                                                                                                  10:21:42   462 of 600
                                                                                                                                 7 of 9




                                                                                                                                                                                Monthly Operating Report
                                                                                                                                                                                               ACCRUAL BASIS-5
CASE NAME:                   Highland Capital Management

CASE NUMBER:                 19-34054


                                                                                       MONTH:                     January                                                                          2020
BANK RECONCILIATIONS
                                                         Account #1              Account #2             Account #3               Account #4              Account #5             Account #6
A.      BANK:                                           BBVA Compass           East West Bank         East West Bank            Maxim Group             Jefferies LLC            Nexbank
B.      ACCOUNT NUMBER:                                      x6342                 x4686                  x4693                    x1885                   x0932                  x5891                   TOTAL
C.      PURPOSE (TYPE):                                    Operating             Operating              Insurance                Brokerage               Brokerage                 CD
1.     BALANCE PER BANK STATEMENT 1                 $                  -   $          6,389,954   $              382,809    $             325,963   $             410,108   $            136,105   $       7,644,939
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                            $             -
3.     SUBTRACT: OUTSTANDING CHECKS                                        $                 -                                                                                                     $             -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                     $             -
5.     MONTH END BALANCE PER BOOKS                  $                  -   $          6,389,954   $              382,809    $             325,963   $             410,108   $            135,205   $       7,644,939
6.     NUMBER OF LAST CHECK WRITTEN                          18133                100011                   n/a                      n/a                     n/a                    n/a



INVESTMENT ACCOUNTS

                                                            DATE OF              TYPE OF               PURCHASE                                                                                        CURRENT
BANK, ACCOUNT NAME & NUMBER                                PURCHASE            INSTRUMENT                PRICE                                                                                          VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                  $0                                                                                         $0


CASH

12.                          CURRENCY ON HAND                                                                                                                                                                     $0

13.                          TOTAL CASH - END OF MONTH                                                                                                                                                    $7,644,939

1      Account x6342 is now closed.
                                          Case
                                          Case21-03005-sgj DocDoc
                                               19-34054-sgj11  29 Filed 05/24/21
                                                                  497 Filed       Entered
                                                                            03/03/20      05/24/21
                                                                                      Entered      10:22:39
                                                                                              03/03/20       PagePage
                                                                                                       10:21:42   463 of 600
                                                                                                                      8 of 9




                                                                                                                                                Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                    MONTH:                  January 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                    INSIDERS
                                                                       TYPE OF                    AMOUNT                TOTAL PAID
              NAME                                                    PAYMENT                      PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                       $29,167                     $102,083
2        Frank Waterhouse                                  Expense Reimbursement                           $334                        $1,842
3        Scott Ellington                                   Salary                                       $37,500                     $131,250
4        Scott Ellington                                   Expense Reimbursement                           $144                        $2,177
5        James Dondero                                     Salary                                       $12,784                     $129,972
6        James Dondero                                     Expense Reimbursement 1                         $572                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                     $116,667
8        Thomas Surgent                                    Expense Reimbursement                           $224                        $1,478
9        Trey Parker                                       Salary                                       $29,167                     $102,083
10 Trey Parker                                   Expense Reimbursement                                   $169                          $834
                               TOTAL PAYMENTS TO INSIDERS                                             $143,393                      $605,304

         The total amount of reimbursements during the reporting month also included $49,940 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         employee lunches, vending supplies, IT equipment/software, employee gifts/awards, non-employee related travel and training.

                                                                            PROFESSIONALS 2
                                                                 DATE OF COURT                                                                                            TOTAL
                                                               ORDER AUTHORIZING      AMOUNT                               AMOUNT                 TOTAL PAID            INCURRED
                 NAME                                              PAYMENT           APPROVED                               PAID                   TO DATE              & UNPAID
1.       Pachulski Stang Ziehl & Jones LLP                          1/22/20 & 1/22/20                 $982,158                      $982,158             $982,158            $236,470
2.
3.
4.
5.
6.       TOTAL PAYMENTS TO PROFESSIONALS                                                                                            $982,158             $982,158            $236,470

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                SCHEDULED                 AMOUNTS
                                                                                                 MONTHLY                    PAID                    TOTAL
                                                                                                PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                              DUE                     MONTH                 POSTPETITION
1.       Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                   -
2.
3.
4.
5.
6.       TOTAL                                                                                          130,364                     $130,364                    $0
                Case
                Case21-03005-sgj DocDoc
                     19-34054-sgj11  29 Filed 05/24/21
                                        497 Filed       Entered
                                                  03/03/20      05/24/21
                                                            Entered      10:22:39
                                                                    03/03/20       PagePage
                                                                             10:21:42   464 of 600
                                                                                            9 of 9




                                                                                           Monthly Operating Report
                                                                                                          ACCRUAL BASIS-7
CASE NAME:                 Highland Capital Management

CASE NUMBER:               19-34054

                                                                                   MONTH:             January 2020

QUESTIONNAIRE

                                                                                                    YES               NO
1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                       x
      THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                      x
      OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                      x
      LOANS) DUE FROM RELATED PARTIES?
4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                      x
      THIS REPORTING PERIOD?
5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                       x
      DEBTOR FROM ANY PARTY?
6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                     x
7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                       x
      PAST DUE?
8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                 x
9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                       x
10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                       x
      DELINQUENT?
11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                       x
      REPORTING PERIOD?
12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                  x

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.
  2 $15,004 of funds transferred from non-debtor-in-possession accounts to debtor-in-possession account.
  3 Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
    further discussion.
  4 Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


INSURANCE
                                                                                                    YES               NO
1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                      x
      NECESSARY INSURANCE COVERAGES IN EFFECT?
2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                          x
3.    PLEASE ITEMIZE POLICIES BELOW.


IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                    INSTALLMENT PAYMENTS
        TYPE OF                                                                                     PAYMENT AMOUNT
        POLICY                     CARRIER                      PERIOD COVERED                        & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 465 of 600




                                EXHIBIT 50
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20 09:28:01Page 466 of    600
                                                             Docket #0558 Page   1 of
                                                                           Date Filed: 904/02/2020




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                    February       2020
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE



    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE

    Frank Waterhouse                                       03.31.20
    PRINTED NAME OF PREPARER                                                   DATE




                                                            ¨1¤}HV4$"                  !h«
                                                                1934054200402000000000001
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   467 of 600
                                                                            2 of 9


                                                                                                                                                 Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-1

          CASE NAME:                                                                   Highland Capital Management, LP

          CASE NUMBER:                                                                 19-12239-CSS

       Comparative Balance Sheet
       (in thousands)


                                                                                            10/15/2019           12/31/2019 (6)              1/31/2020
                                                                                                                                                         (6)
                                                                                                                                                                      2/29/2020
                                                                                                                                                                                  (6)



          Assets

                              Cash and cash equivalents                                            2,529                   9,501                    7,645                    6,466
                                                         (3)
                              Investments, at fair value                                         232,620                 235,391                  240,816                  238,960
                                                        (3)
                              Equity method investees                                            161,819                 174,892                  174,970                  156,657
                              Management and incentive fee receivable                              2,579                   1,903                    2,922                    1,614
                              Fixed assets, net                                                    3,754                   3,521                    3,441                    3,363
                              Due from affiliates (1)                                            151,901                 146,245                  146,818                  147,083
                              Reserve against notes recievable                                                           (57,963)                 (57,963)                 (57,963)
                              Other assets                                                         11,311                 11,480                   11,430                   11,162
          Total assets                                                                  $        566,513       $         524,970         $        530,079         $        507,342


          Liabilities and Partners' Capital

                              Pre-petition accounts payable (4)                                     1,176                  1,092                    1,090                    1,064
                                                              (4)
                              Post-petition accounts payable                                          -                    1,660                    1,526                      948
                              Secured debt:
                                    Frontier                                                       5,195                   5,195                    5,195                    5,195
                                    Jefferies                                                     30,328                  30,020                   29,950                   29,894
                              Accrued expenses and other liabilities (4)                          59,203                  63,336                   64,131                   63,289
                                                                   (5)
                              Accrued re-organization related fees                                   -                     5,475                    7,040                    9,386
                                             (2)
                              Claim accrual                                                       73,997                  73,997                   73,997                   73,997
                              Partners' capital                                                  396,614                 344,195                  347,150                  323,569
          Total liabilities and partners' capital                                       $        566,513       $         524,970         $        530,079         $        507,342




                        (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is
                              fully reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                        (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events.
                              No interest has been accrued beyond petition date.
                        (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions
                              with readily available market price information. Certain limited partnership interests normally marked to a NAV statement
                              have not been updated as of period end as statements are generally available on a one-month lag.
                        (4) Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                            recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                            estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                            include both pre-petition and post-petition liabilities.
                        (5) Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees

                            incurred to date.
                        (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant
                              to the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
      Case
      Case21-03005-sgj DocDoc
           19-34054-sgj11  29 Filed 05/24/21
                              558 Filed       Entered
                                        04/02/20      05/24/21
                                                  Entered      10:22:39
                                                          04/02/20       PagePage
                                                                   09:28:01   468 of 600
                                                                                  3 of 9


                                                                                                                                                                        Monthly Operating Report
                                                                                                                                                                                              ACCRUAL BASIS-2
         CASE NAME:                               Highland Capital Management, LP

         CASE NUMBER:                             19-12239-CSS

Income Statement 1
(in thousands)
                                                                                   Filing to Year Ended (4)               Month ended (4)               Month ended (4)               Filing to date (4)
                                                                                             2019                           1/31/2020                     2/29/2020
         Revenue:
          Management fees                                                                                4,502                         1,706                          1,641                         7,849
          Shared services fees                                                                           1,588                           646                            593                         2,827
          Other income                                                                                   1,582                           172                            472                         2,226

              Total operating revenue                                                                    7,672                         2,524                          2,706                        12,902

         Operating expenses:
          Compensation and benefits                                                                      1,488                         1,929                          1,848                         5,265
          Professional services                                                                            823                             86                           187                         1,096
          Investment research and consulting                                                                59                              8                              8                           75
          Marketing and advertising expense                                                                370                             37                           (15)                          392
          Depreciation expense                                                                             244                             79                             79                          402
          Bad debt expense reserve                                                                       8,420                           -                              -                           8,420
          Other operating expenses                                                                       1,095                           367                            275                         1,737

              Total operating expenses                                                                  12,499                         2,506                          2,382                        17,387

         Operating income/(loss)                                                                        (4,827)                            18                           324                         (4,485)

         Other income/expense:
          Interest income                                                                                1,230                            495                           463                         2,188
          Interest expense                                                                                (346)                          (114)                         (108)                         (568)
          Reserve against notes receivable                                                             (57,963)                             -                             -                       (57,963)
          Re-org related expenses(2)                                                                    (5,475)                       (2,590)                        (2,658)                      (10,723)
          Independent director fees(5)                                                                      -                            (134)                         (293)                         (427)
          Other income/expense                                                                                  32                          -                            11                            43
              Total other income/expense                                                               (62,523)                       (2,343)                        (2,585)                      (67,451)


            Net realized gains/(losses) on investments                                                     618                               6                          -                             624
            Net change in unrealized gains/(losses) of investments(3)                                    1,616                         5,409                         (3,006)                        4,019

                                                                                                         2,234                         5,416                         (3,006)                        4,643

         Net earnings/(losses) from equity method investees (3)                                         12,833                           (136)                     (18,313)                         (5,616)

              Net income/(loss)                                                        $               (52,283)       $                2,955        $              (23,581)       $               (72,909)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
estimates for other incurred, but not yet received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date. At December 31st, 2019, Debtor accrued for post-petition re-
organization fees based upon an estimate of fees incurred to date.
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership
interests normally marked to a NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries
       d
(5) Independent  director fees are recognized when paid, please refer to Accrual Basis-3B for expense detail.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   469 of 600
                                                                            4 of 9



                                                                                                                                            Monthly Operating Report
                                                                                                                                                    ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   JANUARY            FEBRUARY          MARCH         QUARTER
1. CASH - BEGINNING OF MONTH 2                                            $             2,554,230    $      9,501,409   $      7,644,940                $      9,501,409
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       437,863    $       611,963                 $      1,049,826
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $      1,149,280   $      4,383,115                $      5,532,395
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $            -     $            -                  $            -
5    POSTPETITION 1                                                       $                    -     $            -     $            -                  $            -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $      1,587,143   $      4,995,078                $      6,582,221
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $            -     $       222,267                 $       222,267
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        80,114    $       191,642                 $       271,756
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $        43,550    $           -                   $        43,550
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $       123,664    $       413,909                 $       537,573
11   TOTAL RECEIPTS                                                       $            13,764,430    $      1,710,807   $      5,408,987                $      7,119,794
12 TOTAL CASH AVAILABLE                                                                              $     11,212,217   $     13,053,927
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB (3)                         $             3,776,446    $      1,483,225   $      3,394,787                $      4,878,011
14   SINGAPORE SERVICE FEES                                               $                95,118    $        32,607    $        25,522                 $        58,129
15   HCM LATIN AMERICA                                                    $               200,000    $       100,000    $            -                  $       100,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $            -     $      1,378,361                $      1,378,361
17   UTILITIES                                                            $                    -                                                        $            -
18   INSURANCE                                                            $                    -                                                        $            -
19   INVENTORY PURCHASES                                                  $                    -                                                        $            -
20   VEHICLE EXPENSES                                                     $                    -                                                        $            -
21   TRAVEL                                                               $                    -                                                        $            -
22   ENTERTAINMENT                                                        $                    -                                                        $            -
23   REPAIRS & MAINTENANCE                                                $                    -                                                        $            -
24   SUPPLIES                                                             $                    -                                                        $            -
25   ADVERTISING                                                          $                    -                                                        $            -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       792,268    $      1,183,911                $      1,976,180
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      2,408,100   $      5,982,581                $      8,390,682
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $      1,025,308   $       243,795                 $      1,269,102
29   U.S. TRUSTEE FEES                                                    $                    -                        $        68,173                 $        68,173
30   OTHER (ATTACH LIST)                                                  $                    -     $        133,869   $       293,212                 $        427,081
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $      1,159,176   $       605,180                 $      1,764,356
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      3,567,277   $      6,587,761                $     10,155,038
33   NET CASH FLOW                                                        $             6,947,179    $     (1,856,469) $      (1,178,774)               $     (3,035,244)
34   CASH - END OF MONTH                                                  $             9,501,409    $      7,644,940   $      6,466,165                $      6,466,165

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   470 of 600
                                                                            5 of 9


                                                                                  Monthly Operating Report
                                                                                             ACCRUAL BASIS-3B
         CASE NAME:     Highland Capital Management

         CASE NUMBER:   19-34054



         OPERATING DISBURSMENTS - OTHER

                                      Date            Amount           Vendor
                                    2/5/2020                  654.50   PACER Service Center
                                    2/5/2020                1,319.76   ProStar Services, Inc
                                    2/3/2020              158,760.94   Crescent TC Investors LP
                                    2/3/2020               33,884.60   Third Party Consultant
                                    2/4/2020                  289.36   AT&T
                                    2/5/2020              324,494.13   S&P Global Market Intelligence LLC
                                    2/7/2020               11,975.30   Flexential Colorado Corp
                                    2/7/2020                8,604.84   Pershing LLC
                                    2/7/2020                3,573.58   AT&T
                                    2/5/2020                   12.00   PACER Service Center
                                    2/4/2020                    1.50   Kaufman County Property Taxes
                                    2/4/2020               12,081.17   Kaufman County Property Taxes
                                    2/5/2020                  706.10   Denton County Property Taxes
                                   2/11/2020                6,771.26   Level 3 Communications
                                   2/14/2020              327,271.09   Bloomberg Finance LP
                                   2/14/2020               48,145.61   HE Fox Trails
                                   2/14/2020               22,726.00   HE Asante
                                   2/14/2020               11,575.00   4CAST Inc.
                                   2/14/2020               10,335.00   Delta Risk LLC
                                   2/14/2020                7,367.25   Third Party Consultant
                                   2/14/2020                   12.42   Markit WSO Corporation
                                   2/14/2020                9,985.73   Bloomberg Finance LP
                                   2/14/2020                   59.01   Markit WSO Corporation
                                   2/21/2020                2,439.85   Gold's Gym International
                                   2/18/2020                  964.72   AT&T
                                   2/18/2020                4,479.65   Thomson Reuters West
                                   2/19/2020                3,730.99   LogMeIn USA, Inc.
                                   2/19/2020                1,997.44   Zayo Group
                                   2/21/2020                  263.81   Directv
                                   2/21/2020               36,073.94   Thomson Reuters Tax & Accounting
                                   2/21/2020               15,227.15   GrubHub for Work
                                   2/21/2020               11,975.30   Flexential Colorado Corp
                                   2/21/2020                3,373.98   NYSE Market (DE), Inc.
                                   2/21/2020                7,401.14   NYSE Market (DE), Inc.
                                   2/21/2020                7,995.00   Intralinks Inc
                                   2/21/2020                4,016.75   Oak Cliff Office Supply & Printing
                                   2/21/2020                1,362.00   Ace Parking Lot 3749
                                   2/21/2020                1,039.22   Prostar Services Inc.
                                   2/21/2020                  450.00   Action Shred of Texas
                                   2/21/2020                   42.22   American Solutions for Business
                                   2/21/2020                6,395.02   AT&T
                                   2/24/2020                  298.00   PCA Valet, INC
                                   2/25/2020                1,000.00   ImageMAKER Development Inc.
                                   2/26/2020               19,902.98   Compliance Science, Inc.
                                   2/26/2020                1,348.89   CT Corporation System
                                   2/28/2020               31,277.58   Third Party Consultant
                                   2/28/2020               11,607.49   Third Party Consultant
                                   2/28/2020                6,254.37   Payne & Smith LLC
                                   2/28/2020                2,387.73   Prostar Services Inc.
                                                      $ 1,183,911.37

         REORGANIZATION EXPENSES - OTHER

                                      Date            Amount            Description
                                    2/3/2020             70,000.00     Dubel & Associates, LLC
                                    2/3/2020             70,000.00     James P. Seery, Jr.
                                    2/3/2020             65,000.00     Russell F. Nelms
                                   2/18/2020             10,800.13     James P. Seery, Jr.
                                   2/24/2020             11,003.01     Dubel & Associates, LLC
                                   2/28/2020             66,409.29     Russell F. Nelms
                                                        293,212.43
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   471 of 600
                                                                            6 of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                          November              December '3                January '3               February '3
 1.       0-30                                                   $       1,232,527 $              1,902,935     $            2,921,692              $1,614,232
 2.       31-60
 3.       61-90
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       1,232,527    $             1,902,935   $             2,921,692              $1,614,232
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       1,232,527    $             1,902,935   $             2,921,692              $1,614,232


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                      February 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $654,833             $110,059                    $20,750                  $162,608                   $948,249


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                      February 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                       $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   472 of 600
                                                                            7 of 9



                                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                                 ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                               MONTH:                    February                                                    2020
BANK RECONCILIATIONS
                                                              Account #2              Account #3               Account #4                Account #5              Account #6
A.      BANK:                                               East West Bank          East West Bank            Maxim Group               Jefferies LLC             Nexbank
B.      ACCOUNT NUMBER:                                         x4686                   x4693                    x1885                     x0932                   x5891                    TOTAL
C.      PURPOSE (TYPE):                                       Operating               Insurance                Brokerage                 Brokerage                  CD
1.     BALANCE PER BANK STATEMENT 1                   $            5,311,925    $             204,208     $           406,259       $           410,108      $             136,105   $        6,468,605
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                              $              -
3.     SUBTRACT: OUTSTANDING CHECKS                   $                 2,440                                                                                                        $            2,440
4.     OTHER RECONCILING ITEMS                                                                                                                                                       $              -
5.     MONTH END BALANCE PER BOOKS                    $            5,309,485    $               204,208   $              406,259    $              410,108   $             135,205   $        6,466,165
6.     NUMBER OF LAST CHECK WRITTEN                            100016                    n/a                      n/a                       n/a                     n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                 TYPE OF                 PURCHASE                                                                   CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE               INSTRUMENT                  PRICE                                                                     VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                        $0                                                                     $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                      $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                      $6,466,165

1      Account x6342 is now closed.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   473 of 600
                                                                            8 of 9



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                     MONTH:                February 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                    INSIDERS
                                                                       TYPE OF                     AMOUNT                TOTAL PAID
              NAME                                                    PAYMENT                       PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                       $29,167                      $131,250
2        Frank Waterhouse                                  Expense Reimbursement                            $320                       $2,163
3        Scott Ellington                                   Salary                                       $37,500                      $168,750
4        Scott Ellington                                   Expense Reimbursement                          $1,531                       $3,708
5        James Dondero                                     Salary                                             $0                     $129,972
6        James Dondero                                     Expense Reimbursement 1                            $0                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                      $150,000
8        Thomas Surgent                                    Expense Reimbursement                            $236                       $1,714
9        Trey Parker                                       Salary                                       $29,167                      $131,250
10 Trey Parker                                    Expense Reimbursement                                  $5,233                        $6,067
                                TOTAL PAYMENTS TO INSIDERS                                             $136,487                      $741,791

         The total amount of reimbursements during the reporting month also included $36,225 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         employee lunches, vending supplies, IT equipment/software, employee gifts/awards, non-employee related travel and marketing. An additional $9,359 was paid for meals and
         entertainment, but this $9,359 amount was reimbursed to the Debtor on 3/27/2020.


                                                                            PROFESSIONALS 2
                                                                 DATE OF COURT                                                                                             TOTAL
                                                               ORDER AUTHORIZING      AMOUNT                               AMOUNT                  TOTAL PAID            INCURRED
                 NAME                                              PAYMENT           APPROVED                               PAID                    TO DATE              & UNPAID
1. Development Specialists, Inc.                                          N/A                         N/A                            $243,795             $243,795                   $0
2.
3.
4.
5.
6. TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   $243,795             $243,795                   $0

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                      $130,364                    $0
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        558 Filed       Entered
                                  04/02/20      05/24/21
                                            Entered      10:22:39
                                                    04/02/20       PagePage
                                                             09:28:01   474 of 600
                                                                            9 of 9




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:            February 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                             x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.
       4   Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 475 of 600




                                EXHIBIT 51
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20 17:08:52Page 476 of    600
                                                             Docket #0634 Page   1 of
                                                                           Date Filed: 905/14/2020




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                     March         2020
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp                                              5/13/2020
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE



    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE

    Frank Waterhouse                                                    5/13/2020
    PRINTED NAME OF PREPARER                                                  DATE




                                                            ¨1¤}HV4%.                  !h«
                                                                1934054200514000000000001
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   477 of 600
                                                                            2 of 9


                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                   Highland Capital Management, LP


            CASE NUMBER:                                                                 19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                              10/15/2019             12/31/2019 (6)              3/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                     12,532
                                Investments, at fair value (3)                                     232,620                 234,021                     122,166
                                Equity method investees (3)                                        161,819                 174,892                      87,635
                                Management and incentive fee receivable                              2,579                   1,903                       1,685
                                Fixed assets, net                                                    3,754                   3,521                       3,285
                                                    (1)
                                Due from affiliates                                                151,901                 146,245                     147,219
                                Reserve against notes recievable                                                           (57,963)                    (57,963)
                                Other assets                                                        11,311                  11,312                      32,429
            Total assets                                                                  $        566,513          $      523,432           $         348,988



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,073                      1,037
                                Post-petition accounts payable (4)                                      -                     1,722                        727
                                Secured debt:
                                      Frontier                                                       5,195                    5,195                      5,195
                                      Jefferies                                                     30,328                   30,020                     18,716
                                                                       (4)
                                Accrued expenses and other liabilities                              59,203                   63,336                     59,374
                                                                       (5)
                                Accrued re-organization related fees                                    -                     5,313                      7,989
                                Claim accrual (2)                                                   73,997                   73,997                     73,997
                                Partners' capital                                                  396,614                 342,776                     181,954
            Total liabilities and partners' capital                                       $        566,513          $      523,432           $         348,988




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Limited partnership interests normally marked to a NAV statement have been
                                updated based upon the most recent statement available, or marked to an estimate to the extent available.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
         Case
         Case21-03005-sgj DocDoc
              19-34054-sgj11  29 Filed 05/24/21
                                 634 Filed       Entered
                                           05/14/20      05/24/21
                                                     Entered      10:22:39
                                                             05/14/20       PagePage
                                                                      17:08:52   478 of 600
                                                                                     3 of 9


                                                                                                                                                                                                                                                Monthly Operating Report
                                                                                                                                                                                                                                                                 ACCRUAL BASIS-2
         CASE NAME:                               Highland Capital Management, LP

         CASE NUMBER:                             19-12239-CSS

                              1
Income Statement
(in thousands)
                                                                                                                                                           (4)
                                                                                                 Date                   Filing to Year Ended                         Month ended (4)             Month ended (4)             Month ended (4)             Filing to date (4)
                                                                                        10/16/19 - 10/31/19                            2019                            1/31/2020                   2/29/2020                   3/31/2020
         Revenue:
          Management fees                                                                                    975                               4,502                            1,706                       1,641                       1,892                          9,741
          Shared services fees                                                                               283                               1,588                               646                         593                         603                         3,431
          Other income                                                                                           99                            1,582                               172                         472                         448                         2,673

              Total operating revenue                                                                     1,357                                7,672                            2,524                       2,706                       2,944                        15,845

         Operating expenses:
            Compensation and benefits (6)                                                                    997                               1,498                            1,934                       1,960                          (343)                       5,050
            Professional services                                                                            256                                 824                               105                         324                         385                         1,638
            Investment research and consulting                                                                   10                              266                                     8                           8                     271                          553
            Marketing and advertising expense                                                                -                                   370                                    37                      (15)                             8                      401
            Depreciation expense                                                                                 82                              244                                    79                          79                          78                      479
            Bad debt expense reserve                                                                              -                            8,410                                -                           -                           -                          8,410
            Other operating expenses                                                                         201                               1,098                               417                         309                         412                         2,236

              Total operating expenses                                                                    1,545                               12,710                            2,580                       2,665                          811                       18,766

         Operating income/(loss)                                                                            (188)                              (5,039)                              (57)                            41                  2,133                         (2,921)

         Other income/expense:
          Interest income                                                                                    250                               1,230                               495                         463                         492                         2,680
          Interest expense                                                                                  (107)                               (346)                              (114)                       (108)                        (94)                        (661)
          Reserve against notes receivable                                                                        -                           (57,963)                                   -                           -                           -                   (57,963)
            Re-org related expenses (2)                                                                           -                            (5,313)                          (3,517)                    (2,936)                     (1,752)                       (13,518)
            Independent director fees (5)                                                                         -                               -                                (134)                       (293)                       (288)                        (715)
            Other income/expense                                                                                 32                                   32                                 -                          11                     (130)                         (87)

              Total other income/expense                                                                     175                              (62,361)                          (3,270)                    (2,863)                     (1,772)                       (70,265)


            Net realized gains/(losses) on investments                                                       339                                 618                                     6                      -                      (8,139)                        (7,515)
            Net change in unrealized gains/(losses) of investments (3)                                    2,654                                  247                            5,409                      (3,006)                    (61,883)                       (59,233)

                                                                                                          2,993                                  865                            5,416                      (3,006)                    (70,022)                       (66,748)

         Net earnings/(losses) from equity method investees (3)                                              (20)                             12,833                               (136)                  (18,313)                    (68,974)                       (74,590)

              Net income/(loss)                                                         $                 2,959            $                  (53,702)           $              1,953        $            (24,141)       $           (138,634)       $              (214,524)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet received invoices.


(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Limited partnership interests normally marked to a NAV statement have been updated based upon
the most recent statement available, or marked to an estimate to the extent available.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
(5) Independent director fees are recognized when paid, please refer to Accrual Basis-3B for expense detail.
(6) This line item includes accruals for various deferred compensation awards, which are tracked and marked to various funds’ performance. Due to market volatility, some months experience a negative expense accrual
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   479 of 600
                                                                            4 of 9



                                                                                                                                           Monthly Operating Report
                                                                                                                                                     ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   JANUARY            FEBRUARY           MARCH             QUARTER
1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $      9,501,409   $      7,644,940   $     6,466,165   $      9,501,409
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       437,863    $       611,963    $      329,512    $      1,379,338
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $      1,149,280   $      4,383,115   $     2,022,902   $      7,555,297
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $            -     $            -     $       76,569    $        76,569
5    POSTPETITION 1                                                       $                    -     $            -     $            -     $           -     $            -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $      1,587,143   $      4,995,078   $     2,428,983   $      9,011,204
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $            -     $       222,267    $    18,770,519   $     18,992,786
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        80,114    $       191,642    $      205,723    $       477,479
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $        43,550    $           -      $     1,363,553   $      1,407,103
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $       123,664    $       413,909    $    20,339,796   $     20,877,369
11   TOTAL RECEIPTS                                                       $            13,764,430    $      1,710,807   $      5,408,987   $    22,768,779   $     29,888,573
12 TOTAL CASH AVAILABLE                                                                              $     11,212,217   $     13,053,927   $    29,234,944
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $      1,483,225   $      3,394,787   $     3,947,030   $      8,825,042
14   SINGAPORE SERVICE FEES                                               $                95,118    $        32,607    $        25,522    $           -     $        58,129
15   HCM LATIN AMERICA                                                    $               200,000    $       100,000    $            -     $           -     $       100,000
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $            -     $      1,378,361   $     6,434,108   $      7,812,469
17   UTILITIES                                                            $                    -                                                             $            -
18   INSURANCE                                                            $                    -                                           $      533,940    $       533,940
19   INVENTORY PURCHASES                                                  $                    -                                                             $            -
20   VEHICLE EXPENSES                                                     $                    -                                                             $            -
21   TRAVEL                                                               $                    -                                                             $            -
22   ENTERTAINMENT                                                        $                    -                                                             $            -
23   REPAIRS & MAINTENANCE                                                $                    -                                                             $            -
24   SUPPLIES                                                             $                    -                                                             $            -
25   ADVERTISING                                                          $                    -                                                             $            -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       792,268    $      1,183,911   $     1,307,718   $      3,283,898
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      2,408,100   $      5,982,581   $    12,222,797   $     20,613,478
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $      1,025,308   $       243,795    $     4,191,444   $      5,460,546
29   U.S. TRUSTEE FEES                                                    $                    -                        $        68,173    $           -     $        68,173
30   OTHER (ATTACH LIST)                                                  $                    -     $        133,869   $       293,212    $       288,236   $        715,317
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $      1,159,176   $       605,180    $     4,479,680   $      6,244,037
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      3,567,277   $      6,587,761   $    16,702,477   $     26,857,515
33   NET CASH FLOW                                                        $             6,947,179    $     (1,856,469) $      (1,178,774) $      6,066,302   $      3,031,058
34   CASH - END OF MONTH                                                  $             9,501,409    $      7,644,940   $      6,466,165   $    12,532,467   $     12,532,467

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   480 of 600
                                                                            5 of 9


                                                                                  Monthly Operating Report
                                                                                             ACCRUAL BASIS-3B
      CASE NAME:    Highland Capital Management

      CASE NUMBER: 19-34054

      NON-OPERATING RECEIPTS - OTHER

                                 Date             Amount           Type
                              3/18/20202           1,363,553.44    Loan Repyament


      OPERATING DISBURSMENTS - OTHER

                                 Date             Amount            Vendor
                               3/2/2020               159,064.83   Crescent TC Investors LP
                               3/4/2020                   290.75   AT&T
                               3/6/2020                20,371.06   Liberty Life Assurance Co of Boston
                               3/6/2020                 7,253.30   Chick-fil-A
                               3/6/2020               183,346.70   Siepe Services LLC
                               3/6/2020                51,677.01   Flamingo Vegas Holdco LLC
                               3/6/2020                50,217.02   HE Asante
                               3/6/2020                22,519.69   GrubHub for Work
                               3/6/2020                18,042.03   Siepe Software LLC
                               3/6/2020                14,154.02   Willis of Texas, Inc.
                               3/6/2020                11,535.21   Flexential Colorado Corp
                               3/6/2020                11,167.14   Compass Group USA dba Canteen
                               3/6/2020                 4,906.69   Canteen
                               3/6/2020                 3,035.59   Arkadin Inc
                               3/6/2020                   195.39   Arkadin Inc
                               3/6/2020                 2,361.99   Pershing LLC
                               3/6/2020                 2,316.94   Thomson Reuters West
                               3/6/2020                 1,534.00   Ace Parking Lot 3749
                               3/6/2020                   689.31   CDW Direct LLC
                               3/6/2020                   450.00   Action Shred of Texas
                               3/6/2020                   267.93   Secured Access Systems, LLC
                               3/9/2020                   299.00   Franke Coffee Systems Americas, LLC
                               3/9/2020                 1,145.75   Pitney Bowes
                               3/9/2020                   548.83   Pitney Bowes
                              3/10/2020                 6,233.56   TW Telecom
                              3/10/2020                 3,573.58   AT&T
                              3/11/2020                 1,189.30   Xerox
                              3/11/2020               116,600.00   Third Party Consultant
                              3/11/2020                27,000.00   Third Party Consultant
                              3/11/2020                27,000.00   Third Party Consultant
                              3/16/2020                   727.26   AT&T
                              3/17/2020                 1,997.44   Zayo Group
                              3/18/2020                   848.34   AT&T
                              3/20/2020                33,884.91   Bruchou
                              3/20/2020                24,862.72   CDW Direct
                              3/20/2020                24,144.90   Portfolio Media
                              3/20/2020                20,240.75   Canteen
                              3/20/2020                18,042.03   Siepe Software
                              3/20/2020                 4,708.08   DTCC
                              3/20/2020                 5,007.18   DTCC
                              3/20/2020                 2,488.03   Verity
                              3/20/2020                 7,092.89   Verity
                              3/20/2020                 8,378.68   Advent Software
                              3/20/2020                 4,752.72   Venture Mechanical
                              3/20/2020                 1,492.73   UPS
                              3/20/2020                 1,188.00   Total Uptime
                              3/20/2020                   772.91   Connex
                              3/20/2020                 6,254.21   AT&T
                              3/20/2020                 1,087.85   Xerox
                              3/23/2020                 4,975.90   ASW Law
                              3/23/2020                34,064.40   Meta-e
                              3/23/2020                40,115.00   Carey Olsen
                              3/23/2020                75,004.87   Hunton Andrews Kurth
                              3/23/2020                   263.81   DIRECTV
                              3/25/2020                    40.00   FINRA
                              3/25/2020                   225.00   FINRA
                              3/26/2020                   106.79   Deluxe
                              3/27/2020                 1,368.29   Compliance Science, Inc.
                              3/27/2020                 2,206.62   Salesforce.com Inc
                              3/27/2020                11,261.87   Hedgeye Risk Mgmt, LLC
                              3/27/2020                13,271.70   Refinitiv US LLC
                              3/27/2020                23,539.04   ABM
                              3/27/2020                53,309.06   CDW Direct LLC
                              3/27/2020                95,000.00   Guidepoint Global, LLC
                              3/31/2020                36,007.88   Third Party Consultant
                                                  $ 1,307,718.48

      REORGANIZATION EXPENSES - OTHER

                                 Date             Amount            Description
                               3/2/2020              62,374.52     Dubel & Associates, LLC
                               3/2/2020              61,562.30     James P. Seery, Jr.
                              3/31/2020              53,803.32     James P. Seery, Jr.
                              3/31/2020              54,953.64     Dubel & Associates, LLC
                              3/31/2020              55,542.59     Russell F. Nelms
                                                    288,236.37
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   481 of 600
                                                                            6 of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                         December '3             January '3               February '3                March '3
 1.       0-30                                                   $       1,902,935 $               2,921,692    $           1,614,232              $1,685,109
 2.       31-60
 3.       61-90
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       1,902,935    $             2,921,692   $             1,614,232              $1,685,109
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       1,902,935    $             2,921,692   $             1,614,232              $1,685,109


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                         March 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $379,444             $152,828                    $20,527                  $174,257                   $727,056


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                         March 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                       $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   482 of 600
                                                                            7 of 9



                                                                                                                                                                                     Monthly Operating Report
                                                                                                                                                                                                       ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                        March                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2              Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank           Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                   x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance               Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $          11,607,784    $              75,623    $           612,046      $                   -   $             137,009   $             100,004     $       12,532,467
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                    $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                        $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                             $              -
5.     MONTH END BALANCE PER BOOKS                    $           11,607,784   $               75,623   $              612,046   $                   -   $             137,009   $               100,004   $       12,532,467
6.     NUMBER OF LAST CHECK WRITTEN                            100018                   n/a                     n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                 PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                      $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                            $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                           $12,532,467

1      Account x6342 is now closed.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   483 of 600
                                                                            8 of 9



                                                                                                                                               Monthly Operating Report
                                                                                                                                                              ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                   MONTH:                   March 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                        TYPE OF                   AMOUNT                TOTAL PAID
              NAME                                                     PAYMENT                     PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                      $29,167                      $160,417
2        Frank Waterhouse                                  Expense Reimbursement                            $414                      $2,577
3        Scott Ellington                                   Salary                                      $37,500                      $206,250
4        Scott Ellington                                   Expense Reimbursement                             $84                      $3,792
5        James Dondero                                     Salary                                             $0                    $129,972
                                                                                    1
6        James Dondero                                     Expense Reimbursement                              $0                     $16,918
7        Thomas Surgent                                    Salary                                      $33,333                      $183,333
8        Thomas Surgent                                    Expense Reimbursement                            $293                      $2,007
9        Trey Parker                                       Salary                                             $0                    $131,250
10 Trey Parker                                   Expense Reimbursement                                    $145                        $6,212
                               TOTAL PAYMENTS TO INSIDERS                                             $100,936                      $842,727

         The total amount of reimbursements during the reporting month also included $11,732 for use of the credit card by the Debtor for office related expenses such as employee
     1
         lunches, vending supplies, and IT equipment/software. An additional $474 was paid for meals and entertainment, but this $474 amount was reimbursed to the Debtor on
         4/29/2020.

                                                                                                        2
                                                                                 PROFESSIONALS
                                                                         DATE                                                                                            TOTAL
                                                                      OF MONTHLY           AMOUNT                         AMOUNT                 TOTAL PAID            INCURRED
                 NAME                                               FEE APPLICATION       APPROVED                         PAID                   TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                          Oct 19, Nov 19, Dec 19, Jan 19            $214,005                      $214,005             $214,005            $153,979
2. Sidley Austin LLP                                                 Nov 19 & Dec 19                $1,538,374                    $1,538,374           $1,538,374          $2,283,291
3. Young Conaway Stargatt & Taylor LLP                                   Nov 19                       $281,156                      $281,156            $281,156                     $0
4. FTI Consulting, Inc.                                              Nov 19 & Dec 19                  $620,133                      $620,133            $620,133             $734,998
5. Pachulski Stang Ziehl & Jones LLP                                 Dec 19 & Jan 20                $1,245,342                    $1,245,342           $2,227,499          $1,963,793
6        Hayward & Associates PLLC                                       Dec 19                        $15,037                       $15,037              $15,037            $160,702
7        Development Specialists, Inc.                                    N/A                         $277,398                     $277,398             $804,683                   $0
8        TOTAL PAYMENTS TO PROFESSIONALS                                                                                          $4,191,444           $5,700,886          $5,296,763

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                SCHEDULED                AMOUNTS
                                                                                                 MONTHLY                   PAID                    TOTAL
                                                                                                 PAYMENTS                 DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                   MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                        130,364                      130,364                   -
2.
3.
4.
5.
6. TOTAL                                                                                               130,364                      $130,364                   $0
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        634 Filed       Entered
                                  05/14/20      05/24/21
                                            Entered      10:22:39
                                                    05/14/20       PagePage
                                                             17:08:52   484 of 600
                                                                            9 of 9




                                                                                                  Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:                 March 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                             x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.
       4   Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 485 of 600




                                EXHIBIT 52
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20 12:00:55Page 486 of    600
                                                             Docket #0686 Page   1 of
                                                                           Date Filed: 906/02/2020




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                      April        2020
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp                                              6/1/2020
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE




    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE

    Frank Waterhouse
    PRINTED NAME OF PREPARER                                                   DATE




                                                            ¨1¤}HV4&"                  #+«
                                                                1934054200602000000000003
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   487 of 600
                                                                            2 of 9


                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                  Highland Capital Management, LP


            CASE NUMBER:                                                                19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                              10/15/2019             12/31/2019 (6)              4/30/2020 (6)

             Assets

                                Cash and cash equivalents                                            2,529                    9,501                     10,343
                                                             (3)
                                Investments, at fair value                                         232,620                 232,820                     129,757
                                                            (3)
                                Equity method investees                                            161,819                 174,892                      87,339
                                Management and incentive fee receivable                              2,579                   1,903                       2,584
                                Fixed assets, net                                                    3,754                   3,521                       3,208
                                                      (1)
                                Due from affiliates                                                151,901                 146,245                     147,219
                                Reserve against notes recievable                                                           (57,963)                    (57,963)
                                Other assets                                                        11,311                  11,481                      16,233
             Total assets                                                                $         566,513          $      522,400           $         338,719



             Liabilities and Partners' Capital

                                                                   (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,063
                                                                    (4)
                                Post-petition accounts payable                                         -                      1,891                      1,059
                                Secured debt:
                                      Frontier                                                       5,195                   5,195                       5,195
                                      Jefferies                                                     30,328                  30,020                       7,101
                                                                           (4)
                                Accrued expenses and other liabilities                              59,203                  63,336                      56,339
                                                                          (5)
                                Accrued re-organization related fees                                   -                      5,298                     11,615
                                                (2)
                                Claim accrual                                                       73,997                  73,997                      73,997
                                Partners' capital                                                  396,614                 341,521                     182,351
             Total liabilities and partners' capital                                      $        566,513          $      522,400           $         338,719




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
       Case
       Case21-03005-sgj DocDoc
            19-34054-sgj11  29 Filed 05/24/21
                               686 Filed       Entered
                                         06/02/20      05/24/21
                                                   Entered      10:22:39
                                                           06/02/20       PagePage
                                                                    12:00:55   488 of 600
                                                                                   3 of 9


                                                                                                                                                                                                        Monthly Operating Report
                                                                                                                                                                                                                        ACCRUAL BASIS-2
                                CASE NAME:                              Highland Capital Management, LP

                                CASE NUMBER:                            19-12239-CSS


Income Statement1
(in thousands)
                                                                                                                                                 (4)
                                                                                                                                                            Quarter (4)
                                                                                                                                                                                                  (4)                             (4)
                                                                                                              Filing to Year Ended                                              Month ended                     Filing to date
                                                                                                                        2019                           1/1/2020 - 3/31/2020       4/30/2020
                                Revenue:
                                 Management fees                                                                                       4,502                          5,199                     1,958                        11,659
                                 Shared services fees                                                                                  1,588                          1,842                       645                         4,076
                                 Other income                                                                                          1,582                          1,092                       341                         3,015

                                     Total operating revenue                                                                       7,672                             8,134                     2,944                        18,750

                                Operating expenses:
                                 Compensation and benefits                                                                             1,498                          3,567                     1,755                         6,820
                                 Professional services                                                                                      35                         829                            (1)                        863
                                 Investment research and consulting                                                                     266                            287                            2                          555
                                 Marketing and advertising expense                                                                      370                                30                         29                         430
                                 Depreciation expense                                                                                   244                            235                            77                         556
                                 Bad debt expense reserve                                                                              8,410                           -                          -                           8,410
                                 Other operating expenses                                                                              1,156                          1,150                       369                         2,675

                                     Total operating expenses                                                                     11,980                             6,099                     2,231                        20,309

                                Operating income/(loss)                                                                           (4,308)                            2,035                        714                       (1,559)

                                Other income/expense:
                                 Interest income                                                                                       1,230                          1,450                       477                         3,157
                                 Interest expense                                                                                      (346)                          (315)                       (57)                           (719)
                                 Reserve against notes receivable                                                                (57,963)                                   -                           -                   (57,963)
                                                         (2)
                                 Re-org related expenses                                                                           (5,298)                           (8,477)                   (1,997)                      (15,773)
                                 Independent director fees                                                                              -                             (715)                      (100)                           (815)
                                 Other income/expense                                                                                       32                        (119)                           (8)                         (95)
                                     Total other income/expense                                                                  (62,346)                           (8,177)                   (1,685)                      (72,208)


                                  Net realized gains/(losses) on investments                                                            618                          (8,133)                  (14,991)                      (22,506)
                                  Net change in unrealized gains/(losses) of investments (3)                                           (955)                        (59,748)                   18,534                       (42,168)

                                                                                                                                       (337)                       (67,881)                    3,543                       (64,674)
                                                                                                      (3)
                                Net earnings/(losses) from equity method investees                                                12,833                            (87,423)                     (296)                      (74,886)

                                     Net income/(loss)                                                            $              (54,157)              $          (161,445)     $              2,275          $           (213,327)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not
yet received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.

(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a
NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   489 of 600
                                                                            4 of 9



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                           ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER            APRIL          MAY      JUNE           QUARTER
1. CASH - BEGINNING OF MONTH                                               $             2,554,230 $        9,501,409   $   12,532,467                         $     12,532,467
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757 $        1,379,338   $      825,387                         $       825,387
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742 $        7,555,297   $    1,708,720                         $      1,708,720
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108 $          76,569 $           3,727                         $          3,727
5    POSTPETITION 1                                                        $                    -    $            -     $           -                          $            -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608 $        9,011,204   $    2,537,834                         $      2,537,834
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468 $       18,992,786   $           -                          $            -
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069 $         477,479    $       36,007                         $        36,007
9    OTHER (ATTACH LIST)                                                   $             3,390,286 $        1,407,103   $       10,000                         $        10,000
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822 $       20,877,369   $       46,007                         $        46,007
11   TOTAL RECEIPTS                                                        $            13,764,430 $       29,888,573   $    2,583,841                         $      2,583,841
12 TOTAL CASH AVAILABLE                                                                                                 $   15,116,308
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446 $        8,825,042   $    1,441,850                         $      1,441,850
14   SINGAPORE SERVICE FEES                                                $                95,118 $          58,129 $           2,965                         $          2,965
15   HCM LATIN AMERICA                                                     $               200,000 $         100,000    $           -                          $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987 $        7,812,469   $      726,000                         $       726,000
17   UTILITIES                                                             $                    -    $            -                                            $            -
18   INSURANCE                                                             $                    -    $       533,940    $       10,500                         $        10,500
19   INVENTORY PURCHASES                                                   $                    -    $            -                                            $            -
20   VEHICLE EXPENSES                                                      $                    -    $            -                                            $            -
21   TRAVEL                                                                $                    -    $            -                                            $            -
22   ENTERTAINMENT                                                         $                    -    $            -                                            $            -
23   REPAIRS & MAINTENANCE                                                 $                    -    $            -                                            $            -
24   SUPPLIES                                                              $                    -    $            -                                            $            -
25   ADVERTISING                                                           $                    -    $            -                                            $            -
26   OTHER (ATTACH LIST)                                                   $             1,318,700 $        3,283,898   $      851,659                         $       851,659
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251 $       20,613,478   $    3,032,974                         $      3,032,974
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $      5,460,546   $    1,740,298                         $      1,740,298
29   U.S. TRUSTEE FEES                                                     $                    -    $        68,173    $           -                          $            -
30   OTHER (ATTACH LIST)                                                   $                    -    $        715,317 $            -                           $            -
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $      6,244,037 $      1,740,298                         $      1,740,298
32   TOTAL DISBURSEMENTS                                                   $             6,817,251 $       26,857,515   $    4,773,272                         $      4,773,272
33   NET CASH FLOW                                                         $             6,947,179 $        3,031,058   $    (2,189,431)                       $     (2,189,431)
34   CASH - END OF MONTH                                                   $             9,501,409 $       12,532,467   $   10,343,036                         $     10,343,036

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   490 of 600
                                                                            5 of 9


                                                                                    Monthly Operating Report
                                                                                               ACCRUAL BASIS-3B
         CASE NAME:    Highland Capital Management

         CASE NUMBER: 19-34054

         NON-OPERATING RECEIPTS - OTHER

                                   Date              Amount         Type
                                 4/9/2020               10,000.00   SBA Grant
                                                        10,000.00

         OPERATING DISBURSMENTS - OTHER

                                    Date             Amount          Vendor
                                  4/1/2020               1,758.74   Pershing LLC
                                  4/1/2020              11,000.00   Third Party Consultant
                                  4/1/2020             158,702.63   Crescent TC Investors LP
                                  4/3/2020                 973.53   UPS Small Package
                                  4/3/2020               1,091.27   Prostar Services Inc.
                                  4/3/2020               2,728.19   Third Party Consultant
                                  4/3/2020               2,932.87   GrubHub for Work
                                  4/3/2020               4,982.18   Liberty Life Assurance Co of Boston
                                  4/3/2020              24,828.27   Bloomberg Finance LP
                                  4/3/2020              36,084.06   Siepe Software LLC
                                  4/3/2020              39,533.00   Willis Towers Watson Northeast, Inc
                                  4/3/2020              56,860.61   Ace Parking Lot 3749
                                  4/3/2020              62,718.37   Houlihan Lokey Financial Advisors
                                  4/3/2020                 347.89   AT&T
                                  4/3/2020                  52.64   Arkadin Inc
                                  4/3/2020             145,525.57   Siepe Services LLC
                                  4/3/2020               2,861.56   FPG CT Owner, LP
                                  4/6/2020               2,074.87   Pershing LLC
                                  4/7/2020                 390.78   Four Seasons Plantscaping, LLC
                                  4/7/2020               1,237.63   DTCC ITP LLC
                                  4/7/2020               2,145.00   Centroid Systems, Inc.
                                  4/7/2020               9,715.26   DTCC ITP LLC
                                  4/7/2020              66,882.21   Moody's Analytics, Inc.
                                  4/8/2020                 902.99   AT&T
                                  4/9/2020              11,975.30   Flexential Colorado Corp
                                  4/9/2020              14,473.72   ICE Data Pricing Ref Data LLC
                                  4/9/2020              59,182.19   Moody's Analytics, Inc.
                                  4/9/2020               6,244.73   TW Telecom
                                  4/9/2020               1,109.56   Four Seasons Plantscaping, LLC
                                  4/9/2020               1,317.57   Netwrix Corporation
                                  4/9/2020               9,070.41   GrubHub for Work
                                 4/13/2020                 150.00   FINRA
                                 4/17/2020               6,519.15   Third Party Consultant
                                 4/17/2020               5,884.76   ABM
                                 4/17/2020               1,731.35   DTCC ITP LLC
                                 4/17/2020                 150.00   Action Shred of Texas
                                 4/17/2020               3,822.04   Canteen Vending Services
                                 4/17/2020               1,971.88   Zayo Group
                                 4/17/2020              16,793.25   Fitch Solutions, Inc (Covenant)
                                 4/17/2020              19,746.97   James Dondero (ofc expense reimb)
                                 4/20/2020                 927.16   AT&T
                                 4/21/2020               6,155.39   AT&T
                                 4/24/2020              15,781.18   Oak Cliff Office Supply & Printing
                                 4/24/2020               5,884.76   ABM
                                 4/24/2020                 280.33   Franke Foodservice Solutions
                                 4/28/2020              15,156.86   Iron Mountain
                                 4/30/2020              11,000.00   Third Party Consultant
                                                     $ 851,658.68
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   491 of 600
                                                                            6 of 9



                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                          January '3            February '3                 March '3                  April '3
 1. 0-30                                                         $       2,921,692 $              1,614,232     $            1,645,609              $2,583,565
 2. 31-60
 3. 61-90
 4. 91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       2,921,692    $             1,614,232   $             1,645,609              $2,583,565
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       2,921,692    $             1,614,232   $             1,645,609              $2,583,565


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                          April 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                $0
 2.  STATE                                                                                                                                                  $0
 3.  LOCAL                                                                                                                                                  $0
 4.  OTHER (ATTACH LIST)                                                                                                                                    $0
 5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                    $0

 6.       ACCOUNTS PAYABLE                           $840,844              $13,423                    $40,522                  $164,555              $1,059,343


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                          April 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                            $0
 2.  FICA-EMPLOYEE                                                                                                                                          $0
 3.  FICA-EMPLOYER                                                                                                                                          $0
 4.  UNEMPLOYMENT                                                                                                                                           $0
 5.  INCOME                                                                                                                                                 $0
 6.  OTHER (ATTACH LIST)                                                                                                                                    $0
 7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                    $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                            $0
 9.  SALES                                                                                                                                                  $0
 10. EXCISE                                                                                                                                                 $0
 11. UNEMPLOYMENT                                                                                                                                           $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                    $0
 13. PERSONAL PROPERTY                                                                                                                                      $0
 14. OTHER (ATTACH LIST)                                                                                                                                    $0
 15. TOTAL STATE & LOCAL                                                         $0                        $0                         $0                    $0
 16. TOTAL TAXES                                                                 $0                        $0                         $0                    $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   492 of 600
                                                                            7 of 9



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management


CASE NUMBER:                  19-34054


                                                                                           MONTH:                         April                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
                                             1
1.     BALANCE PER BANK STATEMENT                     $            9,969,020   $               100,987   $              36,007    $                   -   $             137,009   $               100,012   $       10,343,036
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                         $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $            9,969,020   $               100,987   $              36,007    $                   -   $             137,009   $               100,012   $       10,343,036
6.     NUMBER OF LAST CHECK WRITTEN                            100018                   n/a                      n/a                      n/a                    n/a                       n/a




INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                      $0                                                                                              $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                            $10,343,036

1      Account x6342 is now closed.
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   493 of 600
                                                                            8 of 9



                                                                                                                                               Monthly Operating Report
                                                                                                                                                              ACCRUAL BASIS-6
CASE NAME:                                               Highland Capital Management

CASE NUMBER:                                             19-34054


                                                                                                                                  MONTH:                    April 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                   INSIDERS
                                                                      TYPE OF                   AMOUNT                TOTAL PAID
            NAME                                                     PAYMENT                     PAID                POST PETITION
1      Frank Waterhouse                                  Salary                                       $29,167                      $189,583
2      Frank Waterhouse                                  Expense Reimbursement                            $646                       $3,223
3      Scott Ellington                                   Salary                                       $37,500                      $243,750
4      Scott Ellington                                   Expense Reimbursement                            $268                       $4,060
5      James Dondero                                     Salary                                             $0                     $129,972
                                                                                   1
6      James Dondero                                     Expense Reimbursement                              $0                      $16,918
7      Thomas Surgent                                    Salary                                       $33,333                      $216,667
8      Thomas Surgent                                    Expense Reimbursement                            $224                       $2,231
9      Trey Parker                                       Salary                                             $0                     $131,250
10 Trey Parker                                  Expense Reimbursement                                      $0                        $6,212
                              TOTAL PAYMENTS TO INSIDERS                                             $101,137                      $943,864

     1 The total amount of reimbursements during the reporting month also included $43,394 for use of the credit card by the Debtor for office related expenses such as business
       transportation, subscriptions, groceries, employee lunches, vending supplies, marketing and IT equipment/software.


                                                                                                      2
                                                                               PROFESSIONALS
                                                                       DATE                                                                                             TOTAL
                                                                    OF MONTHLY           AMOUNT                          AMOUNT                 TOTAL PAID            INCURRED
               NAME                                               FEE APPLICATION       APPROVED                          PAID                   TO DATE              & UNPAID
1.     Kurtzman Carson Consultants LLC                                                                                                                  $214,005            $153,979
2.     Sidley Austin LLP                                                                                                                              $1,538,374          $2,283,291
3.     Young Conaway Stargatt & Taylor LLP                                                                                                              $281,156                   $0
4.     FTI Consulting, Inc.                                            Jan 20                      411,486.28                    411,486.28           $1,031,619            $734,998
5.     Pachulski Stang Ziehl & Jones LLP                               Feb 20                        $760,928                    760,927.74           $2,988,427          $1,963,793
6      Hayward & Associates PLLC                                                                                                                         $15,037            $160,702
7      Development Specialists, Inc.                              Feb 20 and Mar 20                  $567,884                    567,884.40           $1,372,567                  $0
8      TOTAL PAYMENTS TO PROFESSIONALS                                                                                           $1,740,298           $7,441,185          $5,296,763

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                              SCHEDULED                 AMOUNTS
                                                                                               MONTHLY                    PAID                    TOTAL
                                                                                              PAYMENTS                   DURING                   UNPAID
                                   NAME OF CREDITOR                                              DUE                     MONTH                 POSTPETITION
1.     Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                    -
2.
3.
4.
5.
6.     TOTAL                                                                                          130,364                      $130,364                   $0
Case
Case21-03005-sgj DocDoc
     19-34054-sgj11  29 Filed 05/24/21
                        686 Filed       Entered
                                  06/02/20      05/24/21
                                            Entered      10:22:39
                                                    06/02/20       PagePage
                                                             12:00:55   494 of 600
                                                                            9 of 9




                                                                                                    Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-7
   CASE NAME:                     Highland Capital Management


   CASE NUMBER:                   19-34054

                                                                                           MONTH:                 April 2020

   QUESTIONNAIRE

                                                                                                            YES                NO
   1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                                x
            THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
   2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                                x
            OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
   3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                              x
            LOANS) DUE FROM RELATED PARTIES?
   4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                              x
            THIS REPORTING PERIOD?
   5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                                x
            DEBTOR FROM ANY PARTY?
   6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
   7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                                x
            PAST DUE?
   8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
   9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
   10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                                x
            DELINQUENT?
   11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                                x
            REPORTING PERIOD?
   12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
   EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

        3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
            further discussion.
        4   Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


   INSURANCE
                                                                                                            YES                NO
   1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                              x
            NECESSARY INSURANCE COVERAGES IN EFFECT?
   2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
   3.       PLEASE ITEMIZE POLICIES BELOW.


   IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
   CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
   BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.




                                                           INSTALLMENT PAYMENTS
               TYPE OF                                                                                       PAYMENT AMOUNT
               POLICY                     CARRIER                       PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 495 of 600




                                EXHIBIT 53
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 1 of
                                                                        496 of   9
                                                                               600
                                                                        Docket #0800 Date Filed: 07/02/2020




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                       May         2020
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp                                              6/30/2020
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE



    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE

    Frank Waterhouse                                      06/30/2020
    PRINTED NAME OF PREPARER                                                   DATE




                                                            ¨1¤}HV4'"                  !}«
                                                                1934054200702000000000001
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 2 of
                                                                        497 of   9
                                                                               600



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                  Highland Capital Management, LP


            CASE NUMBER:                                                                19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                             10/15/2019              12/31/2019 (6)              5/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                      9,917
                                                           (3)
                                Investments, at fair value                                        232,620                  232,820                     127,724
                                Equity method investees (3)                                       161,819                  174,902                      98,844
                                Management and incentive fee receivable                             2,579                    1,929                       1,839
                                Fixed assets, net                                                   3,754                    3,521                       3,131
                                                    (1)
                                Due from affiliates                                               151,901                  146,245                     148,480
                                Reserve against notes recievable                                                           (57,963)                    (57,963)
                                Other assets                                                       11,311                   11,493                      16,751
            Total assets                                                                 $        566,513           $      522,448           $         348,722



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,044
                                Post-petition accounts payable (4)                                     -                      2,042                      1,055
                                Secured debt:
                                      Frontier                                                      5,195                    5,195                       5,195
                                      Jefferies                                                    30,328                   30,020                         -
                                                                       (4)
                                Accrued expenses and other liabilities                             59,203                   63,336                      60,583
                                                                       (5)
                                Accrued re-organization related fees                                   -                      5,532                     11,134
                                                (2)
                                Claim accrual                                                      73,997                   73,997                      73,997
                                Partners' capital                                                 396,614                  341,185                     195,713
            Total liabilities and partners' capital                                      $        566,513           $      522,448           $         348,722




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
       Case21-03005-sgj
       Case 19-34054-sgj11
                        DocDoc 800 Filed
                            29 Filed     07/02/20
                                     05/24/21      Entered
                                               Entered     07/02/20
                                                       05/24/21     09:17:01
                                                                10:22:39  PagePage 3 of
                                                                               498 of   9
                                                                                      600


                                                                                                                                                                                                       Monthly Operating Report
                                                                                                                                                                                                                      ACCRUAL BASIS-2
                                CASE NAME:                             Highland Capital Management, LP

                                CASE NUMBER:                           19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                                               (4)
                                                                                                                                                          Quarter (4)
                                                                                                                                                                                                 (4)                           (4)
                                                                                                             Filing to Year Ended                                             Month ended                     Filing to date
                                                                                                                       2019                          1/1/2020 - 3/31/2020       5/31/2020
                                Revenue:
                                 Management fees                                                                                   4,328                            5,453                      1,616                       11,397
                                 Shared services fees                                                                              1,638                            1,842                        603                        4,082
                                 Other income                                                                                        689                            1,261                      1,423                        3,373

                                     Total operating revenue                                                                      6,655                            8,555                      3,642                       18,852

                                Operating expenses:
                                 Compensation and benefits                                                                         4,867                            3,387                      1,670                        9,924
                                 Professional services                                                                               609                              824                        134                        1,567
                                 Investment research and consulting                                                                    52                             282                           5                         339
                                 Marketing and advertising expense                                                                     72                               22                       -                              94
                                 Depreciation expense                                                                                243                              233                          77                         553
                                 Bad debt expense reserve                                                                            -                                -                          -                            -
                                 Other operating expenses                                                                          1,126                            1,105                        544                        2,775

                                     Total operating expenses                                                                     6,969                            5,853                      2,430                       15,252

                                Operating income/(loss)                                                                                (313)                       2,702                      1,212                         3,600

                                Other income/expense:
                                 Interest income                                                                                   1,230                            1,432                        493                        3,155
                                 Interest expense                                                                                   (325)                            (259)                       (48)                        (631)
                                 Reserve against notes receivable                                                                (57,963)                               -                          -                      (57,963)
                                 Re-org related expenses (2)                                                                      (2,717)                          (8,256)                    (1,815)                     (12,788)
                                 Independent director fees                                                                           -                               (681)                      (100)                        (781)
                                 Other income/expense                                                                                  32                               3                         (6)                          29
                                     Total other income/expense                                                                 (59,744)                          (7,761)                    (1,475)                     (68,979)


                                  Net realized gains/(losses) on investments                                                            618                       (17,786)                    (8,566)                     (25,734)
                                                                                         (3)
                                  Net change in unrealized gains/(losses) of investments                                           6,065                          (51,967)                   12,434                       (33,468)

                                                                                                                                  6,683                          (69,753)                     3,868                      (59,202)
                                                                                                      (3)
                                Net earnings/(losses) from equity method investees                                               13,312                           (87,583)                   11,495                       (62,776)

                                     Net income/(loss)                                                           $              (40,062)             $          (162,395)    $               15,100          $          (187,357)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but
yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.

(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a
NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 4 of
                                                                        499 of   9
                                                                               600



                                                                                                                        Monthly Operating Report
                                                                                                                                    ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                           FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                    2019                  QUARTER            APRIL            MAY
1. CASH - BEGINNING OF MONTH                                               $             2,554,230   $      9,501,409   $   12,532,467   $   10,343,036
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757   $      1,379,338   $      825,387   $    1,687,854
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742   $      7,555,297   $    1,708,720   $    3,188,304
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108   $        76,569    $        3,727   $          -
5    POSTPETITION 1                                                        $                    -    $            -     $           -    $          -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608   $      9,011,204   $    2,537,834   $    4,876,158
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468   $     18,992,786   $           -    $     319,242
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069   $       477,479    $       36,007   $      36,007
9    OTHER (ATTACH LIST)                                                   $             3,390,286   $      1,407,103   $       10,000   $         -
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822   $     20,877,369   $       46,007   $     355,249
11   TOTAL RECEIPTS                                                        $            13,764,430   $     29,888,573   $    2,583,841   $    5,231,407
12 TOTAL CASH AVAILABLE                                                                                                 $   15,116,308   $   15,574,443
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446   $      8,825,042   $    1,441,850   $    1,183,140
14   SINGAPORE SERVICE FEES                                                $                95,118   $        58,129    $        2,965   $          -
15   HCM LATIN AMERICA                                                     $               200,000   $       100,000    $           -    $          -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987   $      7,812,469   $      726,000   $    2,000,000
17   UTILITIES                                                             $                    -    $            -     $           -    $          -
18   INSURANCE                                                             $                    -    $       533,940    $       10,500   $     330,000
19   INVENTORY PURCHASES                                                   $                    -    $            -     $           -    $          -
20   VEHICLE EXPENSES                                                      $                    -    $            -     $           -    $          -
21   TRAVEL                                                                $                    -    $            -     $           -    $          -
22   ENTERTAINMENT                                                         $                    -    $            -     $           -    $          -
23   REPAIRS & MAINTENANCE                                                 $                    -    $            -     $           -    $          -
24   SUPPLIES                                                              $                    -    $            -     $           -    $          -
25   ADVERTISING                                                           $                    -    $            -     $           -    $          -
26   OTHER (ATTACH LIST)                                                   $             1,318,700   $      3,283,898   $      851,659   $    1,277,268
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251   $     20,613,478   $    3,032,974   $    4,790,407
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $      5,460,546   $    1,740,298   $     550,170
29   U.S. TRUSTEE FEES                                                     $                    -    $        68,173    $           -    $     167,025
30   OTHER (ATTACH LIST)                                                   $                    -    $        715,317   $          -     $     150,000
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $      6,244,037   $    1,740,298   $     867,195
32   TOTAL DISBURSEMENTS                                                   $             6,817,251   $     26,857,515   $    4,773,272   $    5,657,602
33   NET CASH FLOW                                                         $             6,947,179   $      3,031,058   $    (2,189,431) $     (426,195)
34   CASH - END OF MONTH                                                   $             9,501,409   $     12,532,467   $   10,343,036   $    9,916,841

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 5 of
                                                                        500 of   9
                                                                               600


                                                                                       Monthly Operating Report
                                                                                                  ACCRUAL BASIS-3B
        CASE NAME:     Highland Capital Management

        CASE NUMBER:   19-34054



        OPERATING DISBURSMENTS - OTHER

                                     Date            Amount            Vendor
                                   5/1/2020                  389.32   UPS Small Package
                                   5/1/2020                   73.36   Markit WSO Corporation
                                   5/1/2020                  105.48   Arkadin Inc
                                   5/1/2020                1,100.00   Ace Parking Lot 3749
                                   5/1/2020                1,745.14   DTCC ITP LLC
                                   5/1/2020                4,812.82   Liberty Life Assurance Co of Boston
                                   5/1/2020                4,975.90   ASW Law Limited - USD Account
                                   5/1/2020               17,153.26   Concur Technologies Inc
                                   5/1/2020               18,700.47   Third Party Consultant
                                   5/1/2020              140,800.00   Intex Solutions, Inc.
                                   5/1/2020              158,453.88   Crescent TC Investors LP
                                   5/1/2020              307,026.32   Bloomberg Finance LP
                                   5/4/2020                  335.90   AT&T
                                   5/8/2020                  765.36   ProStar Services, Inc
                                   5/8/2020                  109.28   Chase Couriers, Inc.
                                   5/8/2020                3,598.16   AT&T
                                   5/8/2020               12,180.00   M.Q. Services Ltd.
                                   5/8/2020               61,699.50   Advent software, Inc.
                                   5/8/2020              189,332.14   Siepe Services LLC
                                  5/11/2020                  325.00   USI Southwest, Inc.
                                  5/11/2020                3,989.97   Chick-fil-A
                                  5/11/2020                1,476.50   Verity Group
                                  5/11/2020                2,439.85   Gold's Gym International
                                  5/11/2020                  750.00   Southland Property Tax Consultants, Inc
                                  5/12/2020                6,164.54   TW Telecom Holdings, llc
                                  5/14/2020                  228.05   AT&T
                                  5/15/2020                5,063.10   North Texas Trim And Hardware, LLC
                                  5/15/2020                   28.00   Ace Parking Management Inc.
                                  5/15/2020                7,995.00   Intralinks
                                  5/15/2020                3,500.00   MaplesFS Service Company Limited
                                  5/15/2020                  681.05   Houlihan Lokey
                                  5/12/2020                  400.00   Pitney
                                  5/14/2020                  531.87   Direct TV
                                  5/12/2020                2,584.26   Xerox
                                  5/15/2020                3,981.82   Standard Insurance
                                  5/19/2020               23,518.15   ConvergeOne, Inc.
                                  5/19/2020                  400.00   Pitney Bowes- Purchase Power
                                  5/22/2020                4,812.82   Liberty Life Assurance Company of Boston - Group Benefits
                                  5/22/2020                3,678.28   BOK Financial Asset Management
                                  5/22/2020                2,250.17   Arkadin, Inc.
                                  5/22/2020                1,828.02   CDW Direct
                                  5/22/2020                1,388.22   Ace Parking Management Inc.
                                  5/22/2020                  586.81   UPS Supply Chain Solutions
                                  5/22/2020                1,613.41   ProStar Services, Inc
                                  5/18/2020                  970.27   AT&T
                                  5/19/2020                1,971.88   Zayo Group
                                  5/19/2020                  300.00   Pitney Bowes Bank Inc- Reserve Acct
                                  5/20/2020                5,931.14   AT&T
                                  5/22/2020                7,670.53   Advent software, Inc.
                                  5/26/2020                  900.00   Crescent Research
                                  5/26/2020                  300.00   Delaware Secretary of State
                                  5/26/2020               25,835.58   The Bureau of National Affairs, Inc
                                  5/27/2020                2,464.33   Iron Mountain Records Management
                                  5/29/2020               20,065.56   HE Asante, LLC
                                  5/29/2020               11,975.30   Flexential Colorado Corp.
                                  5/26/2020                5,790.13   Third Party Consultant
                                  5/29/2020               12,231.30   Third Party Consultant
                                  5/29/2020               68,934.31   MaplesFS Service Company Limited
                                  5/29/2020              108,356.01   Maples and Calder
                                                     $ 1,277,267.52

        REORGANIZATION EXPENSES - OTHER

                                    Date             Amount         Description
                                  5/1/2020               50,000.00 Russell F. Nelms
                                  5/1/2020               50,000.00 Dubel & Associates, LLC
                                  5/4/2020               50,000.00 James P. Seery, Jr.
                                                        150,000.00
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 6 of
                                                                        501 of   9
                                                                               600



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                         February '3             March '3                    April '3                 May '3
 1.       0-30                                                   $       1,614,232    $           1,835,632                 $2,583,565             $1,839,132
 2.       31-60
 3.       61-90
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       1,614,232    $             1,835,632   $             2,583,565              $1,839,132
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       1,614,232    $             1,835,632   $             2,583,565              $1,839,132


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                           May 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                $0
 2.  STATE                                                                                                                                                  $0
 3.  LOCAL                                                                                                                                                  $0
 4.  OTHER (ATTACH LIST)                                                                                                                                    $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                    $0

 6.       ACCOUNTS PAYABLE                           $703,643              $24,656                  $123,368                   $203,806              $1,055,472


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                           May 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                            $0
 2.  FICA-EMPLOYEE                                                                                                                                          $0
 3.  FICA-EMPLOYER                                                                                                                                          $0
 4.  UNEMPLOYMENT                                                                                                                                           $0
 5.  INCOME                                                                                                                                                 $0
 6.  OTHER (ATTACH LIST)                                                                                                                                    $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                    $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                            $0
 9.  SALES                                                                                                                                                  $0
 10. EXCISE                                                                                                                                                 $0
 11. UNEMPLOYMENT                                                                                                                                           $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                    $0
 13. PERSONAL PROPERTY                                                                                                                                      $0
 14. OTHER (ATTACH LIST)                                                                                                                                    $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                    $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                    $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 7 of
                                                                        502 of   9
                                                                               600



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                            MONTH:                          May                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1              Account #2               Account #3              Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank          East West Bank            Maxim Group             Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                   x4693                    x1885                   x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating               Insurance                Brokerage               Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            9,220,374    $             393,363     $            72,013     $                   -   $             137,009   $             100,020     $        9,922,781
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                   $                 5,940                                                                                                                               $            5,940
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $            9,214,434    $               393,363   $              72,013   $                   -   $             137,009   $               100,020   $        9,916,841
6.     NUMBER OF LAST CHECK WRITTEN                            100505                    n/a                      n/a                     n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                 TYPE OF                 PURCHASE                                                                                          CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE               INSTRUMENT                  PRICE                                                                                            VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                       $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                             $9,916,841

1      Account x6342 is now closed.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 8 of
                                                                        503 of   9
                                                                               600



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                     MONTH:                     May 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                        TYPE OF                    AMOUNT                TOTAL PAID
              NAME                                                     PAYMENT                      PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                       $29,167                      $218,750
2        Frank Waterhouse                                  Expense Reimbursement                            $436                       $3,659
3        Scott Ellington                                   Salary                                       $37,500                      $281,250
4        Scott Ellington                                   Expense Reimbursement                            $766                       $4,826
5        James Dondero                                     Salary                                             $0                     $129,972
6        James Dondero                                     Expense Reimbursement 1                            $0                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                      $250,000
8        Thomas Surgent                                    Expense Reimbursement                            $545                       $2,775
9        Trey Parker                                       Salary                                             $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $101,747                    $1,045,611

         The total amount of reimbursements during the reporting month also included $11,573 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         vending supplies, marketing and IT equipment/software.



                                                                                 PROFESSIONALS 2
                                                                         DATE                                                                                              TOTAL
                                                                      OF MONTHLY           AMOUNT                          AMOUNT                  TOTAL PAID            INCURRED
                 NAME                                               FEE APPLICATION       APPROVED                          PAID                    TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                                                                                                                        $214,005            $165,739
2. Sidley Austin LLP                                                                                                                                    $1,538,374          $3,269,620
3. Young Conaway Stargatt & Taylor LLP                                                                                                                    $281,156                   $0
4. FTI Consulting, Inc.                                                                                                                                 $1,031,619          $1,966,009
5. Pachulski Stang Ziehl & Jones LLP                                                                                                                    $2,988,427          $3,888,635
6        Hayward & Associates PLLC                                                                      $97,043                       $97,043             $112,079              $63,659
7        Development Specialists, Inc.                                                                                                                  $1,099,973            $254,029
8        Foley & Lardner LLP                                                                                                       398,127.12           398,127.12           $157,832
         TOTAL PAYMENTS TO PROFESSIONALS                                                                                             $495,170           $7,663,760          $9,765,523

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                      $130,364                    $0
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 800 Filed
                     29 Filed     07/02/20
                              05/24/21      Entered
                                        Entered     07/02/20
                                                05/24/21     09:17:01
                                                         10:22:39  PagePage 9 of
                                                                        504 of   9
                                                                               600




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:                 May 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                             x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.
       4   Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 505 of 600




                                EXHIBIT 54
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 1 of
                                                                        506 of   9
                                                                               600
                                                                        Docket #0905 Date Filed: 07/30/2020




                                                                        Monthly Operating Report
                                                                        ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                Amended May        2020
                                                MONTH         YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                           Chief Restructuring Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                    TITLE

    Bradley Sharp                                                 7/29/2020
    PRINTED NAME OF RESPONSIBLE PARTY                                          DATE



    PREPARER:

                                                           Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                              TITLE
                                                           7.29.20
    Frank Waterhouse
    PRINTED NAME OF PREPARER                                                   DATE




                                                            ¨1¤}HV4'>                  "6«
                                                                1934054200730000000000002
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 2 of
                                                                        507 of   9
                                                                               600



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                  Highland Capital Management, LP


            CASE NUMBER:                                                                19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                             10/15/2019              12/31/2019 (6)              5/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                      9,917
                                                           (3)
                                Investments, at fair value                                        232,620                  232,820                     127,724
                                Equity method investees (3)                                       161,819                  174,902                      98,844
                                Management and incentive fee receivable                             2,579                    1,929                       1,839
                                Fixed assets, net                                                   3,754                    3,521                       3,131
                                                    (1)
                                Due from affiliates                                               151,901                  146,245                     148,480
                                Reserve against notes recievable                                                           (57,963)                    (57,963)
                                Other assets                                                       11,311                   11,493                      16,751
            Total assets                                                                 $        566,513           $      522,448           $         348,722



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,044
                                Post-petition accounts payable (4)                                     -                      2,042                      1,055
                                Secured debt:
                                      Frontier                                                      5,195                    5,195                       5,195
                                      Jefferies                                                    30,328                   30,020                         -
                                                                       (4)
                                Accrued expenses and other liabilities                             59,203                   63,336                      60,583
                                                                       (5)
                                Accrued re-organization related fees                                   -                      5,532                     11,134
                                                (2)
                                Claim accrual                                                      73,997                   73,997                      73,997
                                Partners' capital                                                 396,614                  341,185                     195,713
            Total liabilities and partners' capital                                      $        566,513           $      522,448           $         348,722




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
  Case21-03005-sgj
  Case 19-34054-sgj11
                   DocDoc 905 Filed
                       29 Filed     07/30/20
                                05/24/21      Entered
                                          Entered     07/30/20
                                                  05/24/21     15:36:34
                                                           10:22:39  PagePage 3 of
                                                                          508 of   9
                                                                                 600


                                                                                                                                                                                                            Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                               Highland Capital Management, LP

                                 CASE NUMBER:                             19-12239-CSS

 Income Statement 1                                                                                                                                                   Amended 5
(in thousands)
                                                                                                             Filing to Year Ended (4)                 Quarter (4)                     Month ended (4)                     Filing to date (4)
                                                                                                                       2019                      1/1/2020 - 3/31/2020                   5/31/2020
                                 Revenue:
                                  Management fees                                                                                  4,528                              5,199                          1,616                             13,302
                                  Shared services fees                                                                             1,588                              1,842                            603                              4,678
                                  Other income                                                                                     1,582                              1,092                          1,423                              4,438

                                       Total operating revenue                                                                     7,697                             8,134                          3,642                             22,418
                                 Operating expenses:
                                  Compensation and benefits                                                                        1,498                              3,567                          1,670                              8,490
                                  Professional services                                                                               64                                836                            134                              1,127
                                  Investment research and consulting                                                                 266                                287                               5                               561
                                  Marketing and advertising expense                                                                  370                                  30                           -                                  430
                                  Depreciation expense                                                                               244                                235                              77                               633
                                  Bad debt expense reserve                                                                         8,410                                -                              -                                8,410
                                  Other operating expenses                                                                         1,265                              1,152                            544                              3,331

                                       Total operating expenses                                                                  12,118                              6,107                          2,430                             22,981

                                 Operating income/(loss)                                                                          (4,421)                            2,026                          1,212                               (563)
                                 Other income/expense:
                                  Interest income                                                                                  1,230                              1,450                            493                              3,650
                                  Interest expense                                                                                  (346)                              (315)                           (48)                              (766)
                                  Reserve against notes receivable                                                               (57,963)                                 -                              -                            (57,963)
                                    Re-org related expenses (2)                                                                   (5,532)                            (9,201)                        (1,815)                           (19,120)
                                    Independent director fees                                                                        -                                 (715)                          (100)                              (915)
                                    Other income/expense                                                                               32                              (119)                            (6)                              (100)
                                       Total other income/expense                                                               (62,579)                            (8,901)                        (1,475)                           (75,214)


                                    Net realized gains/(losses) on investments                                                          973                          (8,133)                        (8,566)                           (24,332)
                                    Net change in unrealized gains/(losses) of investments (3)                                    (1,310)                           (59,748)                        12,434                            (36,475)

                                                                                                                                       (337)                       (67,881)                         3,868                            (60,806)
                                                                                                      (3)
                                 Net earnings/(losses) from equity method investees                                               12,844                            (87,423)                        11,495                            (63,381)

                                       Net income/(loss)                                                         $              (54,493)          $              (162,178)        $                15,100             $             (199,965)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not
yet received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.
(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a
NAV statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
(5) This page was amended due to the filing to date column not including the amounts for April 2020.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 4 of
                                                                        509 of   9
                                                                               600



                                                                                                                        Monthly Operating Report
                                                                                                                                    ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                           FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                    2019                  QUARTER            APRIL            MAY
1. CASH - BEGINNING OF MONTH                                               $             2,554,230   $      9,501,409   $   12,532,467   $   10,343,036
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757   $      1,379,338   $      825,387   $    1,687,854
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742   $      7,555,297   $    1,708,720   $    3,188,304
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108   $        76,569    $        3,727   $          -
5    POSTPETITION 1                                                        $                    -    $            -     $           -    $          -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608   $      9,011,204   $    2,537,834   $    4,876,158
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468   $     18,992,786   $           -    $     319,242
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069   $       477,479    $       36,007   $      36,007
9    OTHER (ATTACH LIST)                                                   $             3,390,286   $      1,407,103   $       10,000   $         -
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822   $     20,877,369   $       46,007   $     355,249
11   TOTAL RECEIPTS                                                        $            13,764,430   $     29,888,573   $    2,583,841   $    5,231,407
12 TOTAL CASH AVAILABLE                                                                                                 $   15,116,308   $   15,574,443
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446   $      8,825,042   $    1,441,850   $    1,183,140
14   SINGAPORE SERVICE FEES                                                $                95,118   $        58,129    $        2,965   $          -
15   HCM LATIN AMERICA                                                     $               200,000   $       100,000    $           -    $          -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987   $      7,812,469   $      726,000   $    2,000,000
17   UTILITIES                                                             $                    -    $            -     $           -    $          -
18   INSURANCE                                                             $                    -    $       533,940    $       10,500   $     330,000
19   INVENTORY PURCHASES                                                   $                    -    $            -     $           -    $          -
20   VEHICLE EXPENSES                                                      $                    -    $            -     $           -    $          -
21   TRAVEL                                                                $                    -    $            -     $           -    $          -
22   ENTERTAINMENT                                                         $                    -    $            -     $           -    $          -
23   REPAIRS & MAINTENANCE                                                 $                    -    $            -     $           -    $          -
24   SUPPLIES                                                              $                    -    $            -     $           -    $          -
25   ADVERTISING                                                           $                    -    $            -     $           -    $          -
26   OTHER (ATTACH LIST)                                                   $             1,318,700   $      3,283,898   $      851,659   $    1,277,268
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251   $     20,613,478   $    3,032,974   $    4,790,407
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $      5,460,546   $    1,740,298   $     550,170
29   U.S. TRUSTEE FEES                                                     $                    -    $        68,173    $           -    $     167,025
30   OTHER (ATTACH LIST)                                                   $                    -    $        715,317   $          -     $     150,000
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $      6,244,037   $    1,740,298   $     867,195
32   TOTAL DISBURSEMENTS                                                   $             6,817,251   $     26,857,515   $    4,773,272   $    5,657,602
33   NET CASH FLOW                                                         $             6,947,179   $      3,031,058   $    (2,189,431) $     (426,195)
34   CASH - END OF MONTH                                                   $             9,501,409   $     12,532,467   $   10,343,036   $    9,916,841

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 5 of
                                                                        510 of   9
                                                                               600


                                                                                       Monthly Operating Report
                                                                                                  ACCRUAL BASIS-3B
        CASE NAME:     Highland Capital Management

        CASE NUMBER:   19-34054



        OPERATING DISBURSMENTS - OTHER

                                     Date            Amount            Vendor
                                   5/1/2020                  389.32   UPS Small Package
                                   5/1/2020                   73.36   Markit WSO Corporation
                                   5/1/2020                  105.48   Arkadin Inc
                                   5/1/2020                1,100.00   Ace Parking Lot 3749
                                   5/1/2020                1,745.14   DTCC ITP LLC
                                   5/1/2020                4,812.82   Liberty Life Assurance Co of Boston
                                   5/1/2020                4,975.90   ASW Law Limited - USD Account
                                   5/1/2020               17,153.26   Concur Technologies Inc
                                   5/1/2020               18,700.47   Third Party Consultant
                                   5/1/2020              140,800.00   Intex Solutions, Inc.
                                   5/1/2020              158,453.88   Crescent TC Investors LP
                                   5/1/2020              307,026.32   Bloomberg Finance LP
                                   5/4/2020                  335.90   AT&T
                                   5/8/2020                  765.36   ProStar Services, Inc
                                   5/8/2020                  109.28   Chase Couriers, Inc.
                                   5/8/2020                3,598.16   AT&T
                                   5/8/2020               12,180.00   M.Q. Services Ltd.
                                   5/8/2020               61,699.50   Advent software, Inc.
                                   5/8/2020              189,332.14   Siepe Services LLC
                                  5/11/2020                  325.00   USI Southwest, Inc.
                                  5/11/2020                3,989.97   Chick-fil-A
                                  5/11/2020                1,476.50   Verity Group
                                  5/11/2020                2,439.85   Gold's Gym International
                                  5/11/2020                  750.00   Southland Property Tax Consultants, Inc
                                  5/12/2020                6,164.54   TW Telecom Holdings, llc
                                  5/14/2020                  228.05   AT&T
                                  5/15/2020                5,063.10   North Texas Trim And Hardware, LLC
                                  5/15/2020                   28.00   Ace Parking Management Inc.
                                  5/15/2020                7,995.00   Intralinks
                                  5/15/2020                3,500.00   MaplesFS Service Company Limited
                                  5/15/2020                  681.05   Houlihan Lokey
                                  5/12/2020                  400.00   Pitney
                                  5/14/2020                  531.87   Direct TV
                                  5/12/2020                2,584.26   Xerox
                                  5/15/2020                3,981.82   Standard Insurance
                                  5/19/2020               23,518.15   ConvergeOne, Inc.
                                  5/19/2020                  400.00   Pitney Bowes- Purchase Power
                                  5/22/2020                4,812.82   Liberty Life Assurance Company of Boston - Group Benefits
                                  5/22/2020                3,678.28   BOK Financial Asset Management
                                  5/22/2020                2,250.17   Arkadin, Inc.
                                  5/22/2020                1,828.02   CDW Direct
                                  5/22/2020                1,388.22   Ace Parking Management Inc.
                                  5/22/2020                  586.81   UPS Supply Chain Solutions
                                  5/22/2020                1,613.41   ProStar Services, Inc
                                  5/18/2020                  970.27   AT&T
                                  5/19/2020                1,971.88   Zayo Group
                                  5/19/2020                  300.00   Pitney Bowes Bank Inc- Reserve Acct
                                  5/20/2020                5,931.14   AT&T
                                  5/22/2020                7,670.53   Advent software, Inc.
                                  5/26/2020                  900.00   Crescent Research
                                  5/26/2020                  300.00   Delaware Secretary of State
                                  5/26/2020               25,835.58   The Bureau of National Affairs, Inc
                                  5/27/2020                2,464.33   Iron Mountain Records Management
                                  5/29/2020               20,065.56   HE Asante, LLC
                                  5/29/2020               11,975.30   Flexential Colorado Corp.
                                  5/26/2020                5,790.13   Third Party Consultant
                                  5/29/2020               12,231.30   Third Party Consultant
                                  5/29/2020               68,934.31   MaplesFS Service Company Limited
                                  5/29/2020              108,356.01   Maples and Calder
                                                     $ 1,277,267.52

        REORGANIZATION EXPENSES - OTHER

                                    Date             Amount         Description
                                  5/1/2020               50,000.00 Russell F. Nelms
                                  5/1/2020               50,000.00 Dubel & Associates, LLC
                                  5/4/2020               50,000.00 James P. Seery, Jr.
                                                        150,000.00
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 6 of
                                                                        511 of   9
                                                                               600



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                         February '3             March '3                    April '3                 May '3
 1.       0-30                                                   $       1,614,232    $           1,835,632                 $2,583,565             $1,839,132
 2.       31-60
 3.       61-90
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       1,614,232    $             1,835,632   $             2,583,565              $1,839,132
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       1,614,232    $             1,835,632   $             2,583,565              $1,839,132


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                Amended May 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                $0
 2.  STATE                                                                                                                                                  $0
 3.  LOCAL                                                                                                                                                  $0
 4.  OTHER (ATTACH LIST)                                                                                                                                    $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                    $0

 6.       ACCOUNTS PAYABLE                           $703,643              $24,656                  $123,368                   $203,806              $1,055,472


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                Amended May 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                            $0
 2.  FICA-EMPLOYEE                                                                                                                                          $0
 3.  FICA-EMPLOYER                                                                                                                                          $0
 4.  UNEMPLOYMENT                                                                                                                                           $0
 5.  INCOME                                                                                                                                                 $0
 6.  OTHER (ATTACH LIST)                                                                                                                                    $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                    $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                            $0
 9.  SALES                                                                                                                                                  $0
 10. EXCISE                                                                                                                                                 $0
 11. UNEMPLOYMENT                                                                                                                                           $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                    $0
 13. PERSONAL PROPERTY                                                                                                                                      $0
 14. OTHER (ATTACH LIST)                                                                                                                                    $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                    $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                    $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 7 of
                                                                        512 of   9
                                                                               600



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                            MONTH:               Amended May                                                                                2020
BANK RECONCILIATIONS
                                                              Account #1              Account #2               Account #3              Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank          East West Bank            Maxim Group             Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                   x4693                    x1885                   x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating               Insurance                Brokerage               Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            9,220,374    $             393,363     $            72,013     $                   -   $             137,009   $             100,020     $        9,922,781
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                   $                 5,940                                                                                                                               $            5,940
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $            9,214,434    $               393,363   $              72,013   $                   -   $             137,009   $               100,020   $        9,916,841
6.     NUMBER OF LAST CHECK WRITTEN                            100505                    n/a                      n/a                     n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                 TYPE OF                 PURCHASE                                                                                          CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE               INSTRUMENT                  PRICE                                                                                            VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                       $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                             $9,916,841

1      Account x6342 is now closed.
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 8 of
                                                                        513 of   9
                                                                               600



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                     MONTH:          Amended May 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                        TYPE OF                    AMOUNT                TOTAL PAID
              NAME                                                     PAYMENT                      PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                       $29,167                      $218,750
2        Frank Waterhouse                                  Expense Reimbursement                            $436                       $3,659
3        Scott Ellington                                   Salary                                       $37,500                      $281,250
4        Scott Ellington                                   Expense Reimbursement                            $766                       $4,826
5        James Dondero                                     Salary                                             $0                     $129,972
6        James Dondero                                     Expense Reimbursement 1                            $0                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                      $250,000
8        Thomas Surgent                                    Expense Reimbursement                            $545                       $2,775
9        Trey Parker                                       Salary                                             $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $101,747                    $1,045,611

         The total amount of reimbursements during the reporting month also included $11,573 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         vending supplies, marketing and IT equipment/software.



                                                                                 PROFESSIONALS 2
                                                                         DATE                                                                                              TOTAL
                                                                      OF MONTHLY           AMOUNT                          AMOUNT                  TOTAL PAID            INCURRED
                 NAME                                               FEE APPLICATION       APPROVED                          PAID                    TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                                                                                                                        $214,005            $165,739
2. Sidley Austin LLP                                                                                                                                    $1,538,374          $3,269,620
3. Young Conaway Stargatt & Taylor LLP                                                                                                                    $281,156                   $0
4. FTI Consulting, Inc.                                                                                                                                 $1,031,619          $1,966,009
5. Pachulski Stang Ziehl & Jones LLP                                                                                                                    $2,988,427          $3,888,635
6        Hayward & Associates PLLC                                                                      $97,043                       $97,043             $112,079              $63,659
7        Development Specialists, Inc.                                                                                                                  $1,099,973            $254,029
8        Foley & Lardner LLP                                                                                                       398,127.12           398,127.12           $157,832
         TOTAL PAYMENTS TO PROFESSIONALS                                                                                             $495,170           $7,663,760          $9,765,523

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                      $130,364                    $0
Case21-03005-sgj
Case 19-34054-sgj11
                 DocDoc 905 Filed
                     29 Filed     07/30/20
                              05/24/21      Entered
                                        Entered     07/30/20
                                                05/24/21     15:36:34
                                                         10:22:39  PagePage 9 of
                                                                        514 of   9
                                                                               600




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH: Amended May 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                             x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.
       4   Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 515 of 600




                                EXHIBIT 55
      Case21-03005-sgj
      Case 19-34054-sgj11
                       DocDoc 913 Filed
                           29 Filed     08/03/20
                                    05/24/21      Entered
                                              Entered     08/03/20
                                                      05/24/21     15:59:53
                                                               10:22:39  PagePage 1 of
                                                                              516 of   9
                                                                                     600




                                                                               Monthly Operating Report
                                                                              ACCRUAL BASIS
CASE NAME:           Highland Capital Management

CASE NUMBER:         19-34054

JUDGE: Stacey Jernigan


                     UNITED STATES BANKRUPTCY COURT
                                                    Docket #0913 Date Filed: 08/03/2020
                 NORTHERN & EASTERN DISTRICTS OF TEXAS

                                        REGION 6

                         MONTHLY OPERATING REPORT

         MONTH ENDING:                      June                    2020
                                            MONTH                    YEAR



IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
(ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


RESPONSIBLE PARTY:

                                                                  Chief Restructuring Officer/ CEO
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                               TITLE

James Seery
PRINTED NAME OF RESPONSIBLE PARTY                                                    DATE



PREPARER:

                                                                  Chief Financial Officer
ORIGINAL SIGNATURE OF PREPARER                                                         TITLE

Frank Waterhouse                                                  07.31.20
PRINTED NAME OF PREPARER                                                             DATE




                                            ¨1¤}HV4(#                  %]«
                                                1934054200803000000000005
                                   Case21-03005-sgj
                                   Case 19-34054-sgj11
                                                    DocDoc 913 Filed
                                                        29 Filed     08/03/20
                                                                 05/24/21      Entered
                                                                           Entered     08/03/20
                                                                                   05/24/21     15:59:53
                                                                                            10:22:39  PagePage 2 of
                                                                                                           517 of   9
                                                                                                                  600




                                                                                                                         Monthly Operating Report
                                                                                                                                        ACCRUAL BASIS-1

   CASE NAME:                                                                   Highland Capital Management, LP

   CASE NUMBER:                                                                 19-12239-CSS

Comparative Balance Sheet
(in thousands)


                                                                                     10/15/2019             12/31/2019 (6)              6/30/2020 (6)

   Assets

                       Cash and cash equivalents                                            2,529                    9,501                     14,994
                       Investments, at fair value (3)                                     232,620                  232,820                    119,991
                       Equity method investees (3)                                        161,819                  183,529                    102,914
                       Management and incentive fee receivable                              2,579                    1,929                      2,976
                       Fixed assets, net                                                    3,754                    3,521                      3,055
                       Due from affiliates (1)                                            151,901                  146,245                    150,814
                       Reserve against notes recievable                                                            (57,963)                   (57,963)
                       Other assets                                                        11,311                   11,493                     14,962
   Total assets                                                                  $        566,513          $       531,076          $         351,742


   Liabilities and Partners' Capital

                       Pre-petition accounts payable (4)                                     1,176                    1,141                     1,053
                       Post-petition accounts payable (4)                                      -                      2,042                       932
                       Secured debt:
                             Frontier                                                       5,195                    5,195                      5,195
                             Jefferies                                                     30,328                   30,020                        -
                       Accrued expenses and other liabilities (4)                          59,203                   63,336                     60,715
                       Accrued re-organization related fees (5)                               -                      5,532                     10,745
                       Claim accrual (2)                                                   73,997                   73,997                     73,997
                       Partners' capital                                                  396,614                  349,812                    199,105
   Total liabilities and partners' capital                                       $        566,513          $       531,076          $         351,742




                 (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                       reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                 (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                       interest has been accrued beyond petition date.
                 (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                       readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                       not been updated as of period end as statements are generally available on a one-month lag.
                 (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                       recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates
                       for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts include both
                       pre-petition and post-petition liabilities.
                 (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                       incurred to date.
                 (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                       the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
                                                        Case21-03005-sgj
                                                        Case 19-34054-sgj11
                                                                         DocDoc 913 Filed
                                                                             29 Filed     08/03/20
                                                                                      05/24/21      Entered
                                                                                                Entered     08/03/20
                                                                                                        05/24/21     15:59:53
                                                                                                                 10:22:39  PagePage 3 of
                                                                                                                                518 of   9
                                                                                                                                       600




                                                                                                                                                                                                          Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                               Highland Capital Management, LP

                                 CASE NUMBER:                             19-12239-CSS

Income Statement 1
(in thousands)
                                                                                                                       Date                    Filing to Year Ended (4)                Month ended (4)                    Filing to date (4)
                                                                                                                10/16/19 - 10/31/19                      2019                            6/30/2020
                                 Revenue:
                                  Management fees                                                                                      975                         4,528                             1,754                            15,206
                                  Shared services fees                                                                                 283                         1,588                               601                             5,279
                                  Other income                                                                                          99                         1,582                               145                             4,583

                                      Total operating revenue                                                                      1,357                           7,697                             2,500                            25,068
                                 Operating expenses:
                                  Compensation and benefits                                                                            997                         1,498                             2,044                            10,534
                                  Professional services                                                                                256                            64                               187                             1,332
                                  Investment research and consulting                                                                     10                          266                               148                               709
                                  Marketing and advertising expense                                                                    -                             370                                 (8)                             422
                                  Depreciation expense                                                                                   82                          244                                 76                              709
                                  Bad debt expense reserve                                                                                -                        8,410                               -                               8,410
                                  Other operating expenses                                                                             201                         1,265                               345                             3,731

                                      Total operating expenses                                                                     1,545                          12,118                             2,792                            25,846

                                 Operating income/(loss)                                                                               (188)                      (4,421)                             (292)                             (779)
                                 Other income/expense:
                                  Interest income                                                                                       250                        1,230                               482                             4,133
                                  Interest expense                                                                                     (107)                        (346)                              (47)                             (813)
                                  Reserve against notes receivable                                                                        -                      (57,963)                                -                           (57,963)
                                  Re-org related expenses (2)                                                                            -                        (5,532)                           (2,813)                          (21,932)
                                  Independent director fees                                                                              -                           -                                (207)                           (1,122)
                                  Other income/expense                                                                                  32                             32                               (1)                             (102)
                                                                                                                                                                                                                                         -
                                      Total other income/expense                                                                       175                       (62,579)                           (2,585)                          (77,799)


                                    Net realized gains/(losses) on investments                                                         339                            618                           (3,113)                          (27,800)
                                                                                           (3)
                                    Net change in unrealized gains/(losses) of investments                                         2,654                             (955)                           5,236                           (30,884)

                                                                                                                                   2,993                             (337)                           2,123                           (58,684)

                                 Net earnings/(losses) from equity method investees (3)                                                 (20)                      14,918                            (4,558)                          (65,864)

                                      Net income/(loss)                                                         $                  2,959         $               (52,419)          $                (5,311)           $             (203,126)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
                                                 Case21-03005-sgj
                                                 Case 19-34054-sgj11
                                                                  DocDoc 913 Filed
                                                                      29 Filed     08/03/20
                                                                               05/24/21      Entered
                                                                                         Entered     08/03/20
                                                                                                 05/24/21     15:59:53
                                                                                                          10:22:39  PagePage 4 of
                                                                                                                         519 of   9
                                                                                                                                600




                                                                                                                                                         Monthly Operating Report
                                                                                                                                                                    ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER           APRIL            MAY              JUNE               QUARTER
1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $     9,501,409   $   12,532,467   $   10,343,036   $    9,916,841     $    12,532,467
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $     1,379,338   $     825,387    $    1,687,854   $     469,980      $     2,983,221
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $     7,555,297   $    1,708,720   $    3,188,304   $    1,282,412     $     6,179,437
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $       76,569    $        3,727   $          -     $            -     $         3,727
                      1
5    POSTPETITION                                                         $                    -     $           -     $           -    $          -     $            -     $           -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $     9,011,204   $    2,537,834   $    4,876,158   $    1,752,392     $     9,166,385
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $    18,992,786   $           -    $     319,242    $     478,329      $      797,571
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $      477,479    $      36,007    $      36,007    $          2,363   $       74,376
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $     1,407,103   $      10,000    $         -      $   10,000,000     $    10,010,000
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $    20,877,369   $      46,007    $     355,249    $   10,480,691     $    10,881,947
11   TOTAL RECEIPTS                                                       $            13,764,430    $    29,888,573   $    2,583,841   $    5,231,407   $   12,233,084     $    20,048,331
12 TOTAL CASH AVAILABLE                                                                                                $   15,116,308   $   15,574,443   $   22,149,925
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $     8,825,042   $    1,441,850   $    1,183,140   $    2,261,324     $     4,886,314
14   SINGAPORE SERVICE FEES                                               $                95,118    $       58,129    $        2,965   $          -     $            -     $         2,965
15   HCM LATIN AMERICA                                                    $               200,000    $      100,000    $           -    $          -     $            -     $           -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $     7,812,469   $     726,000    $    2,000,000   $     361,163      $     3,087,163
17   UTILITIES                                                            $                    -     $           -     $           -    $          -     $            -     $           -
18   INSURANCE                                                            $                    -     $      533,940    $      10,500    $     330,000    $      35,876      $      376,376
19   INVENTORY PURCHASES                                                  $                    -     $           -     $           -    $          -     $            -     $           -
20   VEHICLE EXPENSES                                                     $                    -     $           -     $           -    $          -     $            -     $           -
21   TRAVEL                                                               $                    -     $           -     $           -    $          -     $            -     $           -
22   ENTERTAINMENT                                                        $                    -     $           -     $           -    $          -     $            -     $           -
23   REPAIRS & MAINTENANCE                                                $                    -     $           -     $           -    $          -     $            -     $           -
24   SUPPLIES                                                             $                    -     $           -     $           -    $          -     $            -     $           -
25   ADVERTISING                                                          $                    -     $           -     $           -    $          -     $            -     $           -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $     3,283,898   $     851,659    $    1,277,268   $    1,066,127     $     3,195,054
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $    20,613,478   $    3,032,974   $    4,790,407   $    3,724,490     $    11,547,870
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $     5,460,546   $    1,740,298   $     550,170    $    3,281,564     $     5,572,032
29   U.S. TRUSTEE FEES                                                    $                    -     $       68,173    $           -    $     167,025    $            -     $      167,025
30   OTHER (ATTACH LIST)                                                  $                    -     $       715,317   $          -     $     150,000    $      150,000     $       300,000
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $     6,244,037   $    1,740,298   $     867,195    $    3,431,564     $     6,039,057
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $    26,857,515   $    4,773,272   $    5,657,602   $    7,156,053     $    17,586,927
33   NET CASH FLOW                                                        $             6,947,179    $     3,031,058   $   (2,189,431) $      (426,195) $     5,077,030     $     2,461,404
34   CASH - END OF MONTH                                                  $             9,501,409    $    12,532,467   $   10,343,036   $    9,916,841   $   14,993,872     $    14,993,872

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
                Case21-03005-sgj
                Case 19-34054-sgj11
                                 DocDoc 913 Filed
                                     29 Filed     08/03/20
                                              05/24/21      Entered
                                                        Entered     08/03/20
                                                                05/24/21     15:59:53
                                                                         10:22:39  PagePage 5 of
                                                                                        520 of   9
                                                                                               600




                                                                             Monthly Operating Report
                                                                                         ACCRUAL BASIS-3B
CASE NAME:    Highland Capital Management

CASE NUMBER: 19-34054

NON-OPERATING RECEIPTS - OTHER

                          Date              Amount          Type
                                             10,000,000.00 Sale of Various Jefferies Assets


OPERATING DISBURSMENTS - OTHER

                           Date             Amount            Vendor
                         6/1/2020                      516   PACER Service Center
                         6/5/2020                   12,014   Flexential Colorado Corp.
                         6/5/2020                    8,427   GRUBHUB for Work
                         6/5/2020                   43,932   Metlife
                         6/5/2020                   11,770   ABM
                         6/5/2020                      100   UPS Supply Chain Solutions
                         6/5/2020                    5,074   Centroid
                         6/5/2020                      300   Action Shred of Texas
                         6/5/2020                    2,190   Canteen Vending Services
                         6/5/2020                      703   Arkadin, Inc.
                         6/1/2020                   29,853   Third Party Consultant
                         6/1/2020                  160,018   Crescent TC Investors LP
                         6/2/2020                      300   eCorp Tax E-CHECK
                         6/2/2020                      336   ATT
                         6/5/2020                   58,260   Carey Olsen
                         6/8/2020                    1,692   ORACLE AMERICA, INC
                         6/8/2020                  103,402   Markit North America Inc.
                         6/8/2020                   16,790   S&P Global Market Intelligence
                         6/8/2020                    7,117   MacroMavens, LLC
                         6/9/2020                    3,574   AT&T
                        6/10/2020                    6,392   TW Telecom Holdings, llc
                        6/12/2020                   35,200   Intex Solutions, Inc.
                        6/12/2020                   20,000   Sage Search Partners
                        6/12/2020                    8,120   Concur Technologies, Inc.
                        6/12/2020                    5,913   Thomson West
                        6/12/2020                    3,000   McLagan Partners
                        6/12/2020                    1,756   Ace Parking Management Inc.
                        6/12/2020                    1,192   CDW Direct
                        6/12/2020                      604   Frank Russell Company
                        6/12/2020                      299   Franke Foodservice Solutions
                        6/12/2020                      225   Four Seasons Plantscaping, LLC
                        6/12/2020                  183,912   Siepe Services, LLC
                        6/12/2020                       30   Chase Couriers
                        6/16/2020                      405   East West Bank
                        6/17/2020                      941   ATT
                        6/17/2020                    1,972   Zayo group
                        6/26/2020                      417   Four Seasons Plantscaping, LLC
                        6/26/2020                    4,854   Liberty Life Assurance Company of Boston - Group Benefits
                        6/26/2020                      146   Secured Access Systems, LLC
                        6/26/2020                       75   MARKIT WSO CORPORATION
                        6/26/2020                   23,750   Sage Search Partners
                        6/26/2020                    1,394   GRUBHUB for Work
                        6/26/2020                      389   UPS Supply Chain Solutions
                        6/26/2020                   18,042   Siepe Software, LLC
                        6/22/2020                    5,786   ATT
                        6/22/2020                   35,467   Ace Parking Lot 3749
                        6/23/2020                      549   Pitney Bowes
                        6/24/2020                      783   Xerox Corp
                        6/26/2020                   19,720   LinkedIn Corporation
                        6/26/2020                   38,930   Carey Olsen
                        6/26/2020                  142,594   Houlihan Lokey Financial Advisors
                        6/29/2020                   20,681   Strategas Securities LLC
                        6/30/2020                    2,498   Iron Mountain
                        6/30/2020                    2,722   Iron Mountain
                        6/30/2020                   11,000   Third Party Consultant
                                                 1,066,127

REORGANIZATION EXPENSES - OTHER

                          Date              Amount          Description
                        6/1/2020                    50,000 Nelms and Associates
                        6/1/2020                    50,000 J.P. Seery & Co. LLC
                        6/1/2020                    50,000 Dubel & Associates, LLC
                                                   150,000
                           Case21-03005-sgj
                           Case 19-34054-sgj11
                                            DocDoc 913 Filed
                                                29 Filed     08/03/20
                                                         05/24/21      Entered
                                                                   Entered     08/03/20
                                                                           05/24/21     15:59:53
                                                                                    10:22:39  PagePage 6 of
                                                                                                   521 of   9
                                                                                                          600




                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
CASE NAME:                               Highland Capital Management

CASE NUMBER:                             19-34054


MGMT FEE RECEIVABLE AGING 2                                           March '3                April '3                   May '3                    June '3
1. 0-30                                                          $      1,835,632     $            2,583,565               $1,839,132                $1,813,292
2. 31-60                                                                                                                                             $1,163,000
3. 61-90
4. 91+
5.       TOTAL MGMT FEE RECEIVABLE                              $        1,835,632    $             2,583,565   $              1,839,132             $2,976,292
6.       AMOUNT CONSIDERED UNCOLLECTIBLE
7.       MGMT FEE RECEIVABLE (NET)                              $        1,835,632    $             2,583,565   $              1,839,132             $2,976,292


AGING OF POSTPETITION TAXES AND PAYABLES                                                            MONTH:                           June 2020

                                                  0-30                 31-60                  61-90                       91+
TAXES PAYABLE                                    DAYS                  DAYS                   DAYS                       DAYS                     TOTAL
1.  FEDERAL                                                                                                                                                   $0
2.  STATE                                                                                                                                                     $0
3.  LOCAL                                                                                                                                                     $0
4.  OTHER (ATTACH LIST)                                                                                                                                       $0
5.  TOTAL TAXES PAYABLE                                    $0                   $0                         $0                         $0                      $0

6.       ACCOUNTS PAYABLE                           $679,568                $9,655                    $41,511                  $201,232                  $931,966


STATUS OF POSTPETITION TAXES 1                                                                      MONTH:                           June 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
FEDERAL                                                              LIABILITY             0R ACCRUED                   PAID                   LIABILITY
1.  WITHHOLDING                                                                                                                                               $0
2.  FICA-EMPLOYEE                                                                                                                                             $0
3.  FICA-EMPLOYER                                                                                                                                             $0
4.  UNEMPLOYMENT                                                                                                                                              $0
5.  INCOME                                                                                                                                                    $0
6.  OTHER (ATTACH LIST)                                                                                                                                       $0
7.  TOTAL FEDERAL TAXES                                                         $0                         $0                         $0                      $0
STATE AND LOCAL
8.  WITHHOLDING                                                                                                                                               $0
9.  SALES                                                                                                                                                     $0
10. EXCISE                                                                                                                                                    $0
11. UNEMPLOYMENT                                                                                                                                              $0
12. REAL PROPERTY                                                                $0                        $0                         $0                      $0
13. PERSONAL PROPERTY                                                                                                                                         $0
14. OTHER (ATTACH LIST)                                                                                                                                       $0
15. TOTAL STATE & LOCAL                                                         $0                         $0                         $0                      $0
16. TOTAL TAXES                                                                 $0                         $0                         $0                      $0

     1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
         withholdings.
     2   Aging based on when management fee is due and payable.
     3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
                                                          Case21-03005-sgj
                                                          Case 19-34054-sgj11
                                                                           DocDoc 913 Filed
                                                                               29 Filed     08/03/20
                                                                                        05/24/21      Entered
                                                                                                  Entered     08/03/20
                                                                                                          05/24/21     15:59:53
                                                                                                                   10:22:39  PagePage 7 of
                                                                                                                                  522 of   9
                                                                                                                                         600




                                                                                                                                                                                       Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                          June                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $           14,581,744   $               174,140   $                 30     $                   -   $             137,929   $               100,028   $       14,993,871
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                         $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $          14,581,744    $               174,140   $                 30     $                   -   $             137,929   $               100,028   $       14,993,871
6.     NUMBER OF LAST CHECK WRITTEN                            100508                   n/a                      n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                      $0                                                                                              $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                            $14,993,871

1      Account x6342 is now closed.
                                          Case21-03005-sgj
                                          Case 19-34054-sgj11
                                                           DocDoc 913 Filed
                                                               29 Filed     08/03/20
                                                                        05/24/21      Entered
                                                                                  Entered     08/03/20
                                                                                          05/24/21     15:59:53
                                                                                                   10:22:39  PagePage 8 of
                                                                                                                  523 of   9
                                                                                                                         600




                                                                                                                                                Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                     MONTH:                    June 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                       TYPE OF                    AMOUNT                 TOTAL PAID
              NAME                                                     PAYMENT                     PAID                 POST PETITION
1        Frank Waterhouse                                  Salary                                       $29,167                      $247,917
2        Frank Waterhouse                                  Expense Reimbursement                           $615                        $4,274
3        Scott Ellington                                   Salary                                       $37,500                      $318,750
4        Scott Ellington                                   Expense Reimbursement                           $244                        $5,069
5        James Dondero                                     Salary                                             $0                     $129,972
                                                                                     1
6        James Dondero                                     Expense Reimbursement                              $0                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                      $283,333
8        Thomas Surgent                                    Expense Reimbursement                           $224                        $2,999
9        Trey Parker                                       Salary                                             $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $101,082                    $1,146,694

         The total amount of reimbursements during the reporting month also included $16,497 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         vending supplies, marketing and IT equipment/software.



                                                                                   PROFESSIONALS 2
                                                                         DATE                                                                                              TOTAL
                                                                      OF MONTHLY                  AMOUNT                   AMOUNT                 TOTAL PAID             INCURRED
                  NAME                                              FEE APPLICATION              APPROVED                   PAID                   TO DATE               & UNPAID
1. Kurtzman Carson Consultants LLC                                                                      $44,399                       $44,399             $258,404             $82,851
2. Sidley Austin LLP                                                                                 $1,672,840                    $1,672,840           $3,211,214          $1,284,149
3. Young Conaway Stargatt & Taylor LLP                                                                                                                    $281,156                   $0
4. FTI Consulting, Inc.                                                                              734,998.00                    734,998.00           $1,766,617            $522,912
5. Pachulski Stang Ziehl & Jones LLP                                                                   $722,244                    722,243.95           $3,710,671          $1,852,579
6        Hayward & Associates PLLC                                                                      $26,620                       $26,620             $138,699             $24,914
7        Development Specialists, Inc.                                                                                                                  $1,864,005                   $0
8        Foley & Lardner LLP                                                                            $80,464                     80,463.92           446,956.52            $157,832
         TOTAL PAYMENTS TO PROFESSIONALS                                                                                           $3,281,564          $11,677,721          $3,925,237

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                   TOTAL
                                                                                                  PAYMENTS                  DURING                  UNPAID
                                     NAME OF CREDITOR                                                DUE                    MONTH                POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                      $130,364                       $0
                 Case21-03005-sgj
                 Case 19-34054-sgj11
                                  DocDoc 913 Filed
                                      29 Filed     08/03/20
                                               05/24/21      Entered
                                                         Entered     08/03/20
                                                                 05/24/21     15:59:53
                                                                          10:22:39  PagePage 9 of
                                                                                         524 of   9
                                                                                                600




                                                                                               Monthly Operating Report
                                                                                                             ACCRUAL BASIS-7
CASE NAME:                  Highland Capital Management

CASE NUMBER:                19-34054

                                                                                      MONTH:                 June 2020

QUESTIONNAIRE

                                                                                                       YES                NO
1.    HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                           x
      THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
2.    HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                           x
      OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
3.    ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                         x
      LOANS) DUE FROM RELATED PARTIES?
4.    HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                         x
      THIS REPORTING PERIOD?
5.    HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                           x
      DEBTOR FROM ANY PARTY?
6.    ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                         x
7.    ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                           x
      PAST DUE?
8.    ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                     x
9.    ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                           x
10.   ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                           x
      DELINQUENT?
11.   HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                           x
      REPORTING PERIOD?
12.   ARE ANY WAGE PAYMENTS PAST DUE?                                                                                      x

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

 3    Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
      further discussion.
 4    Payments have been made on prepetition liabilities, as approved in the critical vendor motion.


INSURANCE
                                                                                                       YES                NO
1.    ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                         x
      NECESSARY INSURANCE COVERAGES IN EFFECT?
2.    ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                             x
3.    PLEASE ITEMIZE POLICIES BELOW.


IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                      INSTALLMENT PAYMENTS
         TYPE OF                                                                                        PAYMENT AMOUNT
         POLICY                     CARRIER                       PERIOD COVERED                          & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 525 of 600




                                EXHIBIT 56
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  1 600
                                                                           526 of of 9
                                                                           Docket #1014 Date Filed: 09/01/2020




                                                                       Monthly Operating Report
                                                                       ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                      July        2020
                                                MONTH        YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                          Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                     TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                            DATE



    PREPARER:

                                                          Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                               TITLE

    Frank Waterhouse                                      8.31.20
    PRINTED NAME OF PREPARER                                                     DATE




                                                               ¨1¤}HV4)!                  !¤«
                                                                   1934054200901000000000001
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  2 600
                                                                           527 of of 9



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                  Highland Capital Management, LP


            CASE NUMBER:                                                                19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                             10/15/2019              12/31/2019 (6)              7/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                      9,824
                                                           (3)
                                Investments, at fair value                                        232,620                  232,820                     116,841
                                Equity method investees (3)                                       161,819                  183,529                      99,748
                                Management and incentive fee receivable                             2,579                    1,929                       3,714
                                Fixed assets, net                                                   3,754                    3,521                       2,977
                                                    (1)
                                Due from affiliates                                               151,901                  146,245                     148,633
                                Reserve against notes recievable                                                           (57,963)                    (57,963)
                                Other assets                                                       11,311                   11,493                      15,332
            Total assets                                                                 $        566,513           $      531,076           $         339,106



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,051
                                Post-petition accounts payable (4)                                     -                      2,042                        670
                                Secured debt:
                                      Frontier                                                      5,195                    5,195                       5,195
                                      Jefferies                                                    30,328                   30,020                         -
                                                                       (4)
                                Accrued expenses and other liabilities                             59,203                   63,275                      61,416
                                                                       (5)
                                Accrued re-organization related fees                                   -                      5,547                      6,561
                                                (2)
                                Claim accrual                                                      73,997                   73,997                      73,997
                                Partners' capital                                                 396,614                  349,857                     190,217
            Total liabilities and partners' capital                                      $        566,513           $      531,076           $         339,106




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($58M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
            19-34054-sgj11
       Case 21-03005-sgj   Doc
                         Doc 291014
                               Filed Filed 09/01/20
                                     05/24/21         Entered
                                                 Entered      09/01/20
                                                         05/24/21      10:47:24
                                                                  10:22:39   PagePage  3 600
                                                                                  528 of of 9


                                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                                      ACCRUAL BASIS-2
                                CASE NAME:                             Highland Capital Management, LP

                                CASE NUMBER:                           19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                                                                       (4)                      (4)                           (4)
                                                                                                                   Date         Filing to Year Ended                         Month ended                     Filing to date
                                                                                                            10/16/19 - 10/31/19           2019                                 7/31/2020
                                Revenue:
                                 Management fees                                                                                975                          4,528                            1,405                       16,611
                                 Shared services fees                                                                           283                          1,588                              721                        6,000
                                 Other income                                                                                    99                          1,582                               41                        4,624

                                     Total operating revenue                                                                  1,357                          7,697                           2,167                        27,234

                                Operating expenses:
                                 Compensation and benefits                                                                      997                          1,498                            1,686                       12,221
                                 Professional services                                                                          256                             64                              257                        1,589
                                 Investment research and consulting                                                               10                           266                                 5                         714
                                 Marketing and advertising expense                                                              -                              370                                30                         452
                                 Depreciation expense                                                                             82                           244                                78                         786
                                 Bad debt expense reserve                                                                          -                         8,410                              -                          8,410
                                 Other operating expenses                                                                       201                          1,265                              376                        4,106

                                     Total operating expenses                                                                 1,545                         12,118                           2,432                        28,278

                                Operating income/(loss)                                                                        (188)                        (4,421)                            (265)                      (1,044)

                                Other income/expense:
                                 Interest income                                                                                250                          1,230                              497                        4,630
                                 Interest expense                                                                              (107)                          (286)                             121                         (632)
                                 Reserve against notes receivable                                                                 -                        (57,963)                               -                      (57,963)
                                 Re-org related expenses (2)                                                                       -                        (5,547)                          (1,760)                     (23,708)
                                 Independent director fees                                                                         -                           -                               (495)                      (1,617)
                                 Other income/expense                                                                             32                             32                             (31)                        (132)
                                     Total other income/expense                                                                 175                        (62,534)                         (1,668)                      (79,422)


                                  Net realized gains/(losses) on investments                                                    339                             618                            (763)                     (28,562)
                                                                                         (3)
                                  Net change in unrealized gains/(losses) of investments                                      2,654                            (955)                         (3,073)                     (33,957)

                                                                                                                              2,993                           (337)                         (3,835)                      (62,519)
                                                                                                      (3)
                                Net earnings/(losses) from equity method investees                                               (20)                       14,918                           (3,166)                     (69,030)

                                     Net income/(loss)                                                      $                 2,959        $               (52,374)          $              (8,934)         $          (212,014)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but
not yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.

(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a
NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  4 600
                                                                           529 of of 9



                                                                                                     Monthly Operating Report
                                                                                                                ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                           FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                    2019                  QUARTER            QUARTER            JULY
1. CASH - BEGINNING OF MONTH                                               $             2,554,230   $      9,501,409   $     12,532,467   $   14,993,872
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757   $      1,379,338   $      2,983,221   $     758,938
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742   $      7,555,297   $      6,179,437   $    1,298,474
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108   $        76,569    $          3,727   $            -
5    POSTPETITION 1                                                        $                    -    $            -     $            -     $            -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608   $      9,011,204   $      9,166,385   $    2,057,412
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468   $     18,992,786   $       797,571    $            -
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069   $       477,479    $        74,376    $          1,772
9    OTHER (ATTACH LIST)                                                   $             3,390,286   $      1,407,103   $     10,010,000   $    3,750,000
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822   $     20,877,369   $     10,881,947   $    3,751,772
11   TOTAL RECEIPTS                                                        $            13,764,430   $     29,888,573   $     20,048,331   $    5,809,183
12 TOTAL CASH AVAILABLE                                                                                                                    $   20,803,055
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446   $      8,825,042   $      4,886,314   $    2,243,199
14   SINGAPORE SERVICE FEES                                                $                95,118   $        58,129    $          2,965   $            -
15   HCM LATIN AMERICA                                                     $               200,000   $       100,000    $            -     $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987   $      7,812,469   $      3,087,163   $     979,631
17   UTILITIES                                                             $                    -    $            -     $            -     $            -
18   INSURANCE                                                             $                    -    $       533,940    $       376,376    $            -
19   INVENTORY PURCHASES                                                   $                    -    $            -     $            -     $            -
20   VEHICLE EXPENSES                                                      $                    -    $            -     $            -     $            -
21   TRAVEL                                                                $                    -    $            -     $            -     $            -
22   ENTERTAINMENT                                                         $                    -    $            -     $            -     $            -
23   REPAIRS & MAINTENANCE                                                 $                    -    $            -     $            -     $            -
24   SUPPLIES                                                              $                    -    $            -     $            -     $            -
25   ADVERTISING                                                           $                    -    $            -     $            -     $            -
26   OTHER (ATTACH LIST)                                                   $             1,318,700   $      3,283,898   $      3,195,054   $    1,254,939
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251   $     20,613,478   $     11,547,870   $    4,477,770
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $      5,460,546   $      5,572,032   $    5,959,765
29   U.S. TRUSTEE FEES                                                     $                    -    $        68,173    $       167,025    $           505
30   OTHER (ATTACH LIST)                                                   $                    -    $        715,317   $        300,000   $      541,289
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $      6,244,037   $      6,039,057   $    6,501,559
32   TOTAL DISBURSEMENTS                                                   $             6,817,251   $     26,857,515   $     17,586,927   $   10,979,329
33   NET CASH FLOW                                                         $             6,947,179   $      3,031,058   $      2,461,404   $   (5,170,145)
34   CASH - END OF MONTH                                                   $             9,501,409   $     12,532,467   $     14,993,872   $    9,823,726

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  5 600
                                                                           530 of of 9


                                                                                                       Monthly Operating Report
                                                                                                                   ACCRUAL BASIS-3B
       CASE NAME:    Highland Capital Management

       CASE NUMBER: 19-34054

       NON-OPERATING RECEIPTS - OTHER

                                  Date             Amount        Type
                               7/29/2020            3,750,000.00 Highland Multi Strategy Credit Fund post-petition loan receipt


       OPERATING DISBURSMENTS - OTHER

                                  Date             Amount            Vendor
                               7/1/2020                  170,277    Crescent TC Investors LP
                               7/2/2020                   18,042    Siepe Software, LLC
                               7/2/2020                    2,977    Open Text Inc.
                               7/2/2020                    2,376    Nitro Software, Inc.
                               7/2/2020                    2,216    Options Price Reporting Authority
                               7/2/2020                    2,025    Crescent Research
                               7/2/2020                      863    Verity Group
                               7/2/2020                      600    Action Shred of Texas
                               7/2/2020                      354    PCA-VALET, INC
                               7/2/2020                      307    UPS Supply Chain Solutions
                               7/2/2020                      192    Canteen Vending Services
                               7/2/2020                       30    CHASE COURIERS, INC
                               7/2/2020                   18,284    Ace Parking Management Inc.
                               7/1/2020                   31,641    Third Party Consultant
                               7/1/2020                   18,236    Bloomberg Finance LP
                               7/2/2020                    7,000    EPC Group
                               7/2/2020                   23,384    John Hancock U.S.A.
                               7/2/2020                  160,139    Siepe Services LLC
                               7/3/2020                      336    ATT
                               7/3/2020                      532    DirecTV
                               7/10/2020                  70,400    Intex Solutions, Inc.
                               7/10/2020                     104    UPS Supply Chain Solutions
                               7/10/2020                   5,885    ABM
                               7/10/2020                   1,248    ProStar Services, Inc
                               7/10/2020                     915    Canteen Vending Services
                               7/10/2020                   9,592    Hedgeye Risk Mgmt, LLC
                               7/10/2020                  11,888    Flexential Colorado Corp.
                               7/7/2020                   20,658    CDW Direct LLC
                               7/10/2020                   2,787    ,Level 3 Communic
                               7/10/2020                   3,574    ATT
                               7/10/2020                   8,304    Third Party Consultant
                               7/10/2020                  23,920    Lantana Communications Corporation
                               7/10/2020                  25,690    HE Asante
                               7/10/2020                      50    Arizona Department of Revenue
                               7/10/2020                      50    Arizona Department of Revenue
                               7/10/2020                      50    Arizona Department of Revenue
                               7/10/2020                     651    Department of Treasury- Internal Revenue Service
                               7/13/2020                  35,416    Trend Macrolytics LLC
                               7/14/2020                     500    Pitney Bowes- Purchase Power
                               7/16/2020                     500    Pitney Bowes- Purchase Power
                               7/17/2020                     695    CDW Direct
                               7/17/2020                   8,960    GRUBHUB for Work
                               7/14/2020                 215,000    State Comptroller of Texas
                               7/17/2020                     941    AT&t
                               7/17/2020                   2,082    Zayo
                               7/17/2020                  14,964    PWC Singapore
                               7/25/2020                     320    PACER Service Center
                               7/21/2020                   6,060    ATT
                               7/22/2020                     441    ATT
                               7/22/2020                     786    XEROX CORP.
                               7/24/2020                  22,390    Compass Group USA dba Canteen
                               7/31/2020                  22,500    SNI Companies
                               7/31/2020                   1,043    DTCC ITP LLC
                               7/31/2020                   1,692    Oracle America, Inc.
                               7/31/2020                   4,308    Third Party Consultant
                               7/31/2020                   6,371    Level 3 Communic
                               7/31/2020                   8,700    Intralinks Inc
                               7/31/2020                   9,535    Hedgeye Risk Mgmt, LLC
                               7/31/2020                  12,643    Third Party Consultant
                               7/31/2020                  18,042    Siepe Software LLC
                               7/31/2020                  26,543    REFINITIV US LLC
                               7/31/2020                  31,694    Willis Towers Watson Insurance Svcs
                               7/31/2020                 157,238    Siepe Services LLC
                                                       1,254,939

       REORGANIZATION EXPENSES - OTHER

                                  Date             Amount            Description
                               7/1/2020                    35,591   J.P. Seery & Co. LLC
                               7/1/2020                    35,591   Nelms and Associates
                               7/1/2020                    35,591   Dubel & Associates, L.L.C.
                               7/17/2020                  434,516   J.P. Seery & Co. LLC
                                                          541,289
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  6 600
                                                                           531 of of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                           April '3               May '3                     June '3                  July '3
 1.       0-30                                                   $       2,583,565              $1,839,132                  $1,813,292              $2,163,766
 2.       31-60                                                                                                             $1,163,000              $1,550,667
 3.       61-90
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       2,583,565    $             1,839,132   $             2,976,292              $3,714,432
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       2,583,565    $             1,839,132   $             2,976,292              $3,714,432


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                           July 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $810,035            ($335,873)                    $2,845                  $192,607                   $669,614


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                           July 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                       $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  7 600
                                                                           532 of of 9



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                          July                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            9,235,042   $             351,010     $                 30     $                   -   $             137,929   $             100,036     $        9,824,046
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                   $                  320                                                                                                                                $              320
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $            9,234,721   $               351,010   $                 30     $                   -   $             137,929   $               100,036   $        9,823,726
6.     NUMBER OF LAST CHECK WRITTEN                            100508                   n/a                      n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                      $0                                                                                              $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                             $9,823,726

1      Account x6342 is now closed.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  8 600
                                                                           533 of of 9



                                                                                                                                                Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                    MONTH:                      July 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                        TYPE OF                   AMOUNT                TOTAL PAID
              NAME                                                     PAYMENT                     PAID                POST PETITION
1        Frank Waterhouse                                  Salary                                       $45,833                     $293,750
2        Frank Waterhouse                                  Expense Reimbursement                           $380                        $4,654
3        Scott Ellington                                   Salary                                       $37,500                     $356,250
4        Scott Ellington                                   Expense Reimbursement                           $180                        $5,249
5        James Dondero                                     Salary                                             $0                    $129,972
6        James Dondero                                     Expense Reimbursement 1                            $0                      $16,918
7        Thomas Surgent                                    Salary                                       $33,333                     $316,667
8        Thomas Surgent                                    Expense Reimbursement                           $543                        $3,542
9        Trey Parker                                       Salary                                             $0                    $131,250
10 Trey Parker                                   Expense Reimbursement                                       $0                        $6,212
                               TOTAL PAYMENTS TO INSIDERS                                              $117,769                    $1,264,463

         The total amount of reimbursements during the reporting month also included $9,749 for use of the credit card by the Debtor for office related expenses such as marketing,
     1
         vending supplies, IT serrvices and research.



                                                                                 PROFESSIONALS 2
                                                                         DATE                                                                                             TOTAL
                                                                      OF MONTHLY           AMOUNT                          AMOUNT                 TOTAL PAID            INCURRED
                 NAME                                               FEE APPLICATION       APPROVED                          PAID                   TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                                                                     $192,432                     $192,432             $450,836              $39,720
2. Sidley Austin LLP                                                                                 $1,282,010                    $1,282,010           $4,493,224            $937,766
3. Young Conaway Stargatt & Taylor LLP                                                                                                                   $281,156                     $0
4. FTI Consulting, Inc.                                                                              989,136.65                    989,136.65         2,755,753.64            $933,584
5. Pachulski Stang Ziehl & Jones LLP                                                               2,782,984.84                  2,782,984.84         6,493,655.63          $1,205,399
6        Hayward & Associates PLLC                                                                      $56,978                       $56,978            $195,676              $41,158
7        Development Specialists, Inc.                                                               491,437.83                    491,437.83         2,355,442.73            $249,391
8        Foley & Lardner LLP                                                                          48,829.40                     48,829.40           495,785.92            $130,589
9        Mercer (US) Inc.                                                                            115,956.33                    115,956.33          115,956.33                   $0
         TOTAL PAYMENTS TO PROFESSIONALS                                                                                           $5,959,765         $17,637,486           $3,537,606

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                SCHEDULED                 AMOUNTS
                                                                                                 MONTHLY                    PAID                    TOTAL
                                                                                                PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                              DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                   -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                     $130,364                    $0
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291014
                        Filed Filed 09/01/20
                              05/24/21         Entered
                                          Entered      09/01/20
                                                  05/24/21      10:47:24
                                                           10:22:39   PagePage  9 600
                                                                           534 of of 9




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:                 July 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                            x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                               x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.



  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                            x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                           x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 535 of 600




                                EXHIBIT 57
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  1 600
                                                                           536 of of 9
                                                                           Docket #1115 Date Filed: 09/30/2020




                                                                       Monthly Operating Report
                                                                       ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                     August       2020
                                                MONTH        YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                          Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                     TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                            DATE



    PREPARER:

                                                          Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                               TITLE

    Frank Waterhouse                                       9.30.20
    PRINTED NAME OF PREPARER                                                     DATE




                                                               ¨1¤}HV4)>                  1H«
                                                                   1934054200930000000000017
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  2 600
                                                                           537 of of 9



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                   Highland Capital Management, LP


            CASE NUMBER:                                                                 19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                              10/15/2019             12/31/2019 (6)              8/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                     10,026
                                                           (3)
                                Investments, at fair value                                         232,620                 232,820                     106,939
                                Equity method investees (3)                                        161,819                 183,529                     100,877
                                Management and incentive fee receivable                              2,579                   1,929                       2,541
                                Fixed assets, net                                                    3,754                   3,521                       2,899
                                                    (1)
                                Due from affiliates                                                151,901                 146,276                     152,160
                                Reserve against notes recievable                                                           (57,963)                    (59,016)
                                Other assets                                                        11,311                  11,463                      12,369
            Total assets                                                                  $        566,513          $      531,076           $         328,795



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,051
                                Post-petition accounts payable (4)                                      -                     2,042                      1,114
                                Secured debt:
                                      Frontier                                                       5,195                    5,195                      5,195
                                      Jefferies                                                     30,328                   30,020                        -
                                                                       (4)
                                Accrued expenses and other liabilities                              59,203                   63,275                     58,096
                                                                       (5)
                                Accrued re-organization related fees                                    -                     5,547                      5,869
                                Claim accrual (2)                                                   73,997                   73,997                     73,997
                                Partners' capital                                                  396,614                 349,857                     183,472
            Total liabilities and partners' capital                                       $        566,513          $      531,076           $         328,795




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($59M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                                approval by the court.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
             19-34054-sgj11
        Case 21-03005-sgj   Doc
                          Doc 291115
                                Filed Filed 09/30/20
                                      05/24/21         Entered
                                                  Entered      09/30/20
                                                          05/24/21      17:58:07
                                                                   10:22:39   PagePage  3 600
                                                                                   538 of of 9


                                                                                                                                                                                                             Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                        Date                    Filing to Year Ended (4)                Month ended (4)                   Filing to date (4)
                                                                                                                 10/16/19 - 10/31/19                      2019                            8/31/2020
                                 Revenue:
                                  Management fees                                                                                        975                         4,528                               887                           17,498
                                  Shared services fees                                                                                   283                         1,588                               603                            6,603
                                  Other income                                                                                            99                         1,582                                34                            4,658

                                       Total operating revenue                                                                         1,357                         7,697                             1,524                          28,758
                                 Operating expenses:
                                  Compensation and benefits                                                                              997                         1,498                             1,890                           14,111
                                  Professional services                                                                                  256                            64                               384                            1,973
                                  Investment research and consulting                                                                       10                          266                                 4                              718
                                  Marketing and advertising expense                                                                      -                             370                                33                              485
                                  Depreciation expense                                                                                     82                          244                                77                              863
                                  Bad debt expense reserve                                                                                  -                        8,410                             1,053                            9,462
                                  Other operating expenses                                                                               201                         1,265                               519                            4,248

                                       Total operating expenses                                                                        1,545                       12,118                              3,960                          31,861

                                 Operating income/(loss)                                                                               (188)                        (4,421)                           (2,436)                         (3,103)
                                 Other income/expense:
                                  Interest income                                                                                        250                         1,230                               498                            5,128
                                  Interest expense                                                                                      (107)                         (286)                              (22)                            (654)
                                  Reserve against notes receivable                                                                         -                       (57,963)                                -                          (57,963)
                                    Re-org related expenses (2)                                                                            -                        (5,547)                           (1,276)                         (24,983)
                                    Independent director fees                                                                              -                           -                                (330)                          (1,947)
                                    Other income/expense                                                                                  32                             32                               (6)                            (138)
                                       Total other income/expense                                                                       175                       (62,534)                            (1,135)                        (80,557)


                                    Net realized gains/(losses) on investments                                                           339                            618                             (310)                         (28,872)
                                    Net change in unrealized gains/(losses) of investments (3)                                         2,654                          (955)                           (4,369)                         (38,326)

                                                                                                                                       2,993                          (337)                           (4,679)                        (67,198)
                                                                                                       (3)
                                 Net earnings/(losses) from equity method investees                                                      (20)                       14,918                             1,129                          (67,901)

                                       Net income/(loss)                                                          $                    2,959      $               (52,374)          $                 (7,121)         $             (218,759)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  4 600
                                                                           539 of of 9



                                                                                                     Monthly Operating Report
                                                                                                                ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                           FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                    2019                  QUARTER            QUARTER            AUGUST
1. CASH - BEGINNING OF MONTH                                               $             2,554,230   $      9,501,409   $     12,532,467   $     9,823,726
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757   $      1,379,338   $      2,983,221   $      784,607
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742   $      7,555,297   $      6,179,437   $     2,762,104
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108   $        76,569    $          3,727   $            -
5    POSTPETITION 1                                                        $                    -    $            -     $            -     $            -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608   $      9,011,204   $      9,166,385   $     3,546,711
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468   $     18,992,786   $       797,571    $      220,898
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069   $       477,479    $        74,376    $         1,770
9    OTHER (ATTACH LIST)                                                   $             3,390,286   $      1,407,103   $     10,010,000   $     5,000,000
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822   $     20,877,369   $     10,881,947   $     5,222,668
11   TOTAL RECEIPTS                                                        $            13,764,430   $     29,888,573   $     20,048,331   $     8,769,379
12 TOTAL CASH AVAILABLE                                                                                                                    $    18,593,105
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446   $      8,825,042   $      4,886,314   $     5,135,559
14   SINGAPORE SERVICE FEES                                                $                95,118   $        58,129    $          2,965   $            -
15   HCM LATIN AMERICA                                                     $               200,000   $       100,000    $            -     $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987   $      7,812,469   $      3,087,163   $            -
17   UTILITIES                                                             $                    -    $            -     $            -     $            -
18   INSURANCE                                                             $                    -    $       533,940    $       376,376    $      163,400
19   INVENTORY PURCHASES                                                   $                    -    $            -     $            -     $            -
20   VEHICLE EXPENSES                                                      $                    -    $            -     $            -     $            -
21   TRAVEL                                                                $                    -    $            -     $            -     $            -
22   ENTERTAINMENT                                                         $                    -    $            -     $            -     $            -
23   REPAIRS & MAINTENANCE                                                 $                    -    $            -     $            -     $            -
24   SUPPLIES                                                              $                    -    $            -     $            -     $            -
25   ADVERTISING                                                           $                    -    $            -     $            -     $            -
26   OTHER (ATTACH LIST)                                                   $             1,318,700   $      3,283,898   $      3,195,054   $     1,091,762
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251   $     20,613,478   $     11,547,870   $     6,390,721
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $      5,460,546   $      5,572,032   $     1,689,437
29   U.S. TRUSTEE FEES                                                     $                    -    $        68,173    $       167,025    $      277,420
30   OTHER (ATTACH LIST)                                                   $                    -    $        715,317   $        300,000   $       210,000
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $      6,244,037   $      6,039,057   $     2,176,857
32   TOTAL DISBURSEMENTS                                                   $             6,817,251   $     26,857,515   $     17,586,927   $     8,567,577
33   NET CASH FLOW                                                         $             6,947,179   $      3,031,058   $      2,461,404   $      201,802
34   CASH - END OF MONTH                                                   $             9,501,409   $     12,532,467   $     14,993,872   $    10,025,528

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  5 600
                                                                           540 of of 9


                                                                                                      Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-3B
       CASE NAME:    Highland Capital Management

       CASE NUMBER: 19-34054

       NON-OPERATING RECEIPTS - OTHER

                                 Date              Amount         Type
                                                    5,000,000.00 Sale of Various Jefferies Assets


       OPERATING DISBURSMENTS - OTHER

                                  Date             Amount           Vendor
                                8/7/2020              165,619.98   Hunton Andrews Kurth, LLP
                                8/7/2020                3,573.58   AT&T
                                8/7/2020               31,709.37   CDW Direct
                                8/7/2020                  120.60   Iron Mountain Records Management
                                8/7/2020               47,647.36   Houlihan Lokey
                                8/7/2020               17,070.36   AT&T
                                8/7/2020                3,176.25   Centroid
                                8/7/2020                1,322.32   Canteen Vending Services
                                8/7/2020                1,693.03   NetWrix Corporation
                                8/7/2020                5,884.76   ABM
                                8/7/2020               10,468.52   Bloomberg Finance LP
                                8/7/2020                  225.16   Four Seasons Plantscaping, LLC
                                8/7/2020                   94.07   Chase Couriers, Inc
                                8/7/2020                  350.00   Crescent Research
                                8/7/2020               11,887.73   Flexential Colorado Corp.
                                8/7/2020                2,075.52   NYSE Market, Inc
                                8/5/2020                2,724.99   Iron Mountain Records Management
                                8/4/2020               31,747.76   Third party Consultant
                                8/3/2020                7,069.59   MacroMavens, LLC
                                8/3/2020                2,531.35   Siepe Services, LLC
                                8/3/2020              158,601.09   Crescent TC Investors LP
                                8/3/2020               25,000.00   InsiderScore, LLC
                                8/4/2020                  335.80   ATT Payment
                               8/12/2020               92,000.00   American Arbitration Association
                               8/14/2020                4,918.34   Liberty Life Assurance Company of Boston - Group Benefits
                               8/14/2020                  660.00   Centroid
                               8/14/2020                2,878.44   Grubhub for Work
                               8/14/2020                1,535.27   Canteen Vending Services
                               8/14/2020                2,668.57   Iron Mountain Records Management
                               8/14/2020                  567.13   Arkadin, Inc.
                               8/14/2020                3,818.42   ICE Data Pricing & Reference Data, LLC
                               8/14/2020                8,119.62   Concur Technologies, Inc.
                               8/14/2020                1,224.93   Oak Cliff Office Products
                               8/14/2020                  772.33   UPS Supply Chain Solutions
                               8/14/2020                4,932.20   Thomson West
                               8/14/2020                  718.35   ProStar Services, Inc
                               8/14/2020                  810.84   DTCC ITP LLC
                               8/14/2020                1,242.42   Options Price Reporting Authority
                               8/14/2020                  342.18   Verity Group
                               8/14/2020               18,765.08   Ace Parking Management Inc.
                               8/14/2020                3,031.00   Daltex Janitorial Services, LLC
                               8/14/2020                  690.00   Action Shred of Texas
                               8/14/2020                  265.48   American Solutions for Business
                               8/21/2020              314,488.40   Bloomberg Finance LP
                               8/21/2020               35,200.00   Intex Solutions, Inc.
                               8/21/2020                  137.50   AT&T
                               8/21/2020                  339.54   UPS Small Package
                               8/21/2020                  390.78   Four Seasons Plantscaping, LLC
                               8/21/2020                  516.57   Laser Works, Inc dba Verity Group
                               8/21/2020                  528.00   Ace Parking Lot 3749
                               8/21/2020                  978.62   CDW Direct LLC
                               8/21/2020                1,028.73   Iron Mountain
                               8/21/2020                1,381.40   Compass Group USA dba Canteen
                               8/21/2020                1,388.97   DTCC ITP LLC
                               8/21/2020                1,969.46   Standard Insurance Company
                               8/21/2020                2,373.40   Prostar Services Inc.
                               8/21/2020                2,845.06   Dawn US Holdings LLC
                               8/21/2020                3,192.11   Oak Cliff Office Supply & Printing
                               8/21/2020                3,889.87   Third party Consultant
                               8/21/2020                3,963.84   GrubHub for Work
                               8/21/2020                4,894.41   Liberty Life Assurance Co of Boston
                               8/21/2020                7,120.89   NYSE Market (DE), Inc.
                               8/19/2020                  325.00   USI Southwest, Inc.
                               8/18/2020                2,082.70   Zayo group
                               8/18/2020                  332.02   East West Bank
                               8/17/2020                  870.41   ATT
                               8/25/2020                  362.91   Xerox Corporation
                               8/25/2020                9,005.07   Visa Payment
                               8/31/2020               11,000.00   Third party Consultant
                               8/31/2020                  266.65   Directv, LLC
                                                       1,091,762

       REORGANIZATION EXPENSES - OTHER

                                 Date              Amount          Description
                               8/3/2020                    30,000 Nelms and Associates
                               8/3/2020                   150,000 J.P. Seery & Co. LLC
                               8/3/2020                    30,000 Dubel & Associates, L.L.C.
                                                          210,000
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  6 600
                                                                           541 of of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                           May '3                 June '3                    July '3                 August '3
 1.       0-30                                                   $      1,839,132                $1,813,292                 $2,428,715               $998,818
 2.       31-60                                                                                  $1,163,000                 $1,285,718               $770,000
 3.       61-90
 4.       91+                                                                                                                                         $772,384
 5.       TOTAL MGMT FEE RECEIVABLE                              $       1,839,132    $             2,976,292   $             3,714,432              $2,541,202
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       1,839,132    $             2,976,292   $             3,714,432              $2,541,202


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                        August 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                $0
 2.  STATE                                                                                                                                                  $0
 3.  LOCAL                                                                                                                                                  $0
 4.  OTHER (ATTACH LIST)                                                                                                                                    $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                    $0

 6.       ACCOUNTS PAYABLE                           $930,656              $12,140                    $26,596                  $144,936              $1,114,328


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                        August 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                            $0
 2.  FICA-EMPLOYEE                                                                                                                                          $0
 3.  FICA-EMPLOYER                                                                                                                                          $0
 4.  UNEMPLOYMENT                                                                                                                                           $0
 5.  INCOME                                                                                                                                                 $0
 6.  OTHER (ATTACH LIST)                                                                                                                                    $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                    $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                            $0
 9.  SALES                                                                                                                                                  $0
 10. EXCISE                                                                                                                                                 $0
 11. UNEMPLOYMENT                                                                                                                                           $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                    $0
 13. PERSONAL PROPERTY                                                                                                                                      $0
 14. OTHER (ATTACH LIST)                                                                                                                                    $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                    $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                    $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  7 600
                                                                           542 of of 9



                                                                                                                                                                                    Monthly Operating Report
                                                                                                                                                                                                      ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                      August                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2              Account #3              Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank           Maxim Group             Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                   x1885                   x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance               Brokerage               Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            9,718,445   $              69,399    $                 30    $                   -   $             137,929   $             100,044     $       10,025,848
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                   $              -
3.     SUBTRACT: OUTSTANDING CHECKS                   $                  320                                                                                                                              $              320
4.     OTHER RECONCILING ITEMS                                                                                                                                                                            $              -
5.     MONTH END BALANCE PER BOOKS                    $            9,718,125   $               69,399   $                 30    $                   -   $             137,929   $               100,044   $       10,025,527
6.     NUMBER OF LAST CHECK WRITTEN                            100510                   n/a                     n/a                     n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                PURCHASE                                                                                          CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                 PRICE                                                                                            VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                     $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                           $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                          $10,025,527

1      Account x6342 is now closed.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  8 600
                                                                           543 of of 9



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                ACCRUAL BASIS-6
CASE NAME:                                                  Highland Capital Management

CASE NUMBER:                                                19-34054


                                                                                                                                     MONTH:                  August 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                      INSIDERS
                                                                         TYPE OF                   AMOUNT                TOTAL PAID
              NAME                                                      PAYMENT                     PAID                POST PETITION
1        Frank Waterhouse                                   Salary                                       $33,333                     $327,083
2        Frank Waterhouse                                   Expense Reimbursement                           $457                        $5,111
3        Scott Ellington                                    Salary                                       $37,500                     $393,750
4        Scott Ellington                                    Expense Reimbursement                           $594                        $5,843
5        James Dondero                                      Salary                                            $0                     $129,972
6        James Dondero                                      Expense Reimbursement 1                              $0                   $16,918
7        Thomas Surgent                                     Salary                                       $33,333                     $350,000
8        Thomas Surgent                                     Expense Reimbursement                           $224                        $3,766
9        Trey Parker                                        Salary                                            $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $105,441                    $1,369,904

         The total amount of reimbursements during the reporting month also included $6,981 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         vending supplies, and IT equipment/software.



                                                                                  PROFESSIONALS 2
                                                                          DATE                                                                                             TOTAL
                                                                       OF MONTHLY           AMOUNT                         AMOUNT                  TOTAL PAID            INCURRED
                 NAME                                                FEE APPLICATION       APPROVED                         PAID                    TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                                                                        39,720                        39,720              490,555              41,966
2. Sidley Austin LLP                                                                                     499,548                      499,548             4,992,773           1,112,556
3. Young Conaway Stargatt & Taylor LLP                                                                                                     -                281,156                  -
4. FTI Consulting, Inc.                                                                                  225,205                      225,205             2,980,959             708,379
5. Pachulski Stang Ziehl & Jones LLP                                                                     658,235                      658,235             7,151,891           1,288,329
6        Hayward & Associates PLLC                                                                           -                             -                195,676              41,158
7        Development Specialists, Inc.                                                                   249,391                      249,391             2,113,396             237,828
8        Foley & Lardner LLP                                                                              17,337                        17,337              464,294             119,516
9        Mercer (US) Inc.                                                                                    -                            -                115,956               54,328
         TOTAL PAYMENTS TO PROFESSIONALS                                                                                           $1,689,437          $18,786,656           $3,604,059

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                          130,364                      130,364                   -
2.
3.
4.
5.
6. TOTAL                                                                                                 130,364                     $130,364                    $0
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291115
                        Filed Filed 09/30/20
                              05/24/21         Entered
                                          Entered      09/30/20
                                                  05/24/21      17:58:07
                                                           10:22:39   PagePage  9 600
                                                                           544 of of 9




                                                                                                  Monthly Operating Report
                                                                                                                   ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:                 August 2020

  QUESTIONNAIRE

                                                                                                           YES                 NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                               x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.



  INSURANCE
                                                                                                           YES                 NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 545 of 600




                                EXHIBIT 58
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  1 600
                                                                           546 of of 9




                                                                       Monthly Operating Report
                                                                       ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                   September      2020
                                                MONTH        YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                          Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                     TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                            DATE



    PREPARER:

                                                          Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                               TITLE

    Frank Waterhouse
    PRINTED NAME OF PREPARER                                                     DATE
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  2 600
                                                                           547 of of 9



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                  Highland Capital Management, LP


            CASE NUMBER:                                                                19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                             10/15/2019              12/31/2019 (6)              9/30/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                      5,888
                                                           (3)
                                Investments, at fair value                                        232,620                  232,820                     109,479
                                Equity method investees (3)                                       161,819                  183,529                     101,213
                                Management and incentive fee receivable                             2,579                    1,929                       3,350
                                Fixed assets, net                                                   3,754                    3,521                       2,823
                                                    (1)
                                Due from affiliates                                               151,901                  146,276                     152,585
                                Reserve against notes recievable                                                           (57,963)                    (59,140)
                                Other assets                                                       11,311                   11,463                      12,105
            Total assets                                                                 $        566,513           $      531,076           $         328,302



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                      1,051
                                Post-petition accounts payable (4)                                     -                      2,042                        583
                                Secured debt:
                                      Frontier                                                      5,195                    5,195                       5,195
                                      Jefferies                                                    30,328                   30,020                         -
                                                                       (4)
                                Accrued expenses and other liabilities                             59,203                   63,275                      58,733
                                                                       (5)
                                Accrued re-organization related fees                                   -                      5,547                      5,922
                                                (2)
                                Claim accrual                                                      73,997                   73,997                      73,997
                                Partners' capital                                                 396,614                  349,857                     182,821
            Total liabilities and partners' capital                                      $        566,513           $      531,076           $         328,302




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($59M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                                approval by the court.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
             19-34054-sgj11
        Case 21-03005-sgj   Doc
                          Doc 291329
                                Filed Filed 11/03/20
                                      05/24/21         Entered
                                                  Entered      11/03/20
                                                          05/24/21      15:44:31
                                                                   10:22:39   PagePage  3 600
                                                                                   548 of of 9


                                                                                                                                                                                                             Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                        Date                    Filing to Year Ended (4)                   Month ended (4)                Filing to date (4)
                                                                                                                 10/16/19 - 10/31/19                      2019                               9/30/2020
                                 Revenue:
                                  Management fees                                                                                        975                         4,528                               1,495                         18,993
                                  Shared services fees                                                                                   283                         1,588                                 645                          7,248
                                  Other income                                                                                            99                         1,582                                 401                          5,058

                                       Total operating revenue                                                                         1,357                         7,697                               2,541                        31,299
                                 Operating expenses:
                                  Compensation and benefits                                                                              997                         1,498                               1,668                         15,778
                                  Professional services                                                                                  256                            64                                 190                          2,167
                                  Investment research and consulting                                                                       10                          266                                 241                            960
                                  Marketing and advertising expense                                                                      -                             370                                  36                            521
                                  Depreciation expense                                                                                     82                          244                                  76                            940
                                  Bad debt expense reserve                                                                                  -                        8,410                                 124                          9,586
                                  Other operating expenses                                                                               201                         1,265                                 463                          4,665

                                       Total operating expenses                                                                        1,545                       12,118                                2,799                        34,617

                                 Operating income/(loss)                                                                               (188)                        (4,421)                               (258)                       (3,318)
                                 Other income/expense:
                                  Interest income                                                                                        250                         1,230                                  488                         5,616
                                  Interest expense                                                                                      (107)                         (286)                                 (21)                         (675)
                                  Reserve against notes receivable                                                                         -                       (57,963)                                   -                       (57,963)
                                    Re-org related expenses (2)                                                                            -                        (5,547)                             (3,816)                       (28,800)
                                    Independent director fees                                                                              -                           -                                   (30)                        (1,977)
                                    Other income/expense                                                                                  32                             32                                 (6)                          (144)
                                       Total other income/expense                                                                       175                       (62,534)                              (3,386)                      (83,943)


                                    Net realized gains/(losses) on investments                                                           339                            618                              1,133                        (27,738)
                                    Net change in unrealized gains/(losses) of investments (3)                                         2,654                          (955)                              1,480                        (36,847)

                                                                                                                                       2,993                          (337)                              2,613                       (64,585)
                                                                                                       (3)
                                 Net earnings/(losses) from equity method investees                                                      (20)                       14,918                                  337                       (67,564)

                                       Net income/(loss)                                                          $                    2,959      $               (52,374)             $                  (694)       $             (219,410)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  4 600
                                                                           549 of of 9



                                                                                                     Monthly Operating Report Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-3A                       ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER 1           QUARTER 2          SEPTEMBER           QUARTER 3
1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $       9,501,409   $     12,532,467   $      10,025,528   $     14,993,872
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       1,379,338   $      2,983,221   $        716,191    $      2,259,736
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $       7,555,297   $      6,179,437   $       1,515,102   $      5,575,680
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $         76,569    $          3,727   $             -     $             -
5    POSTPETITION 1                                                       $                    -     $             -     $            -     $             -     $             -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $       9,011,204   $      9,166,385   $       2,231,293   $      7,835,415
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $      18,992,786   $       797,571    $        389,357    $        610,254
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        477,479    $        74,376    $           1,769   $          5,311
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $       1,407,103   $     10,010,000   $         67,099    $      8,817,099
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $      20,877,369   $     10,881,947   $        458,225    $      9,432,664
11   TOTAL RECEIPTS                                                       $            13,764,430    $      29,888,573   $     20,048,331   $       2,689,517   $     17,268,080
12 TOTAL CASH AVAILABLE                                                                                                                     $      12,715,045   $     32,261,951
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $       8,825,042   $      4,886,314   $       1,428,122   $      8,806,880
14   SINGAPORE SERVICE FEES                                               $                95,118    $         58,129    $          2,965   $             -     $             -
15   HCM LATIN AMERICA                                                    $               200,000    $        100,000    $            -     $             -     $             -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $       7,812,469   $      3,087,163   $             -     $        979,631
17   UTILITIES                                                            $                    -     $             -     $            -     $             -     $             -
18   INSURANCE                                                            $                    -     $        533,940    $       376,376    $             -     $        163,400
19   INVENTORY PURCHASES                                                  $                    -     $             -     $            -     $             -     $             -
20   VEHICLE EXPENSES                                                     $                    -     $             -     $            -     $             -     $             -
21   TRAVEL                                                               $                    -     $             -     $            -     $             -     $             -
22   ENTERTAINMENT                                                        $                    -     $             -     $            -     $             -     $             -
23   REPAIRS & MAINTENANCE                                                $                    -     $             -     $            -     $             -     $             -
24   SUPPLIES                                                             $                    -     $             -     $            -     $             -     $             -
25   ADVERTISING                                                          $                    -     $             -     $            -     $             -     $             -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       3,283,898   $      3,195,054   $       1,286,630   $      3,633,331
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      20,613,478   $     11,547,870   $       2,714,752   $     13,583,243
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $       5,460,546   $      5,572,032   $       3,902,480   $     11,551,682
29   U.S. TRUSTEE FEES                                                    $                    -     $         68,173    $       167,025    $             -     $        277,924
30   OTHER (ATTACH LIST)                                                  $                    -     $         715,317   $        300,000   $         210,000   $        961,289
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $       6,244,037   $      6,039,057   $       4,112,480   $     12,790,896
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      26,857,515   $     17,586,927   $       6,827,232   $     26,374,138
33   NET CASH FLOW                                                        $             6,947,179    $       3,031,058   $      2,461,404   $      (4,137,715) $       (9,106,059)
34   CASH - END OF MONTH                                                  $             9,501,409    $      12,532,467   $     14,993,872   $       5,887,813   $      5,887,813

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  5 600
                                                                           550 of of 9


                                                                                                       Monthly Operating Report
                                                                                                                  ACCRUAL BASIS-3B
     CASE NAME:     Highland Capital Management

     CASE NUMBER:   19-34054

     OPERATING RECEIPTS - OTHER

                                 Date             Amount        Type
                                                      67,098.85 Nexpoint Real Estate Strategies Fund redemption

     OPERATING DISBURSMENTS - INVESTMENT

                                 Date             Amount        Type
                                                     383,041.29 Carey term-loan purchase


     OPERATING DISBURSMENTS - OTHER

                                  Date            Amount           Vendor
                                9/1/2020              18,412.07   Ace Parking Management Inc.
                                9/1/2020               2,257.01   Bloomberg Finance LP
                                9/1/2020               3,009.00   Brighthouse Life Insurance Company
                                9/1/2020              10,611.00   Brighthouse Life Insurance Company
                                9/1/2020               1,889.22   Canteen Vending Services
                                9/1/2020                 145.20   Chase Couriers, Inc
                                9/1/2020                 950.00   Crescent Research
                                9/1/2020             144,048.21   Crescent TC Investors LP
                                9/1/2020               2,067.50   CT Corporation System
                                9/1/2020              37,583.75   Third Party Consultant
                                9/1/2020               1,548.97   GRUBHUB for Work
                                9/1/2020              47,654.00   Houlihan Lokey
                                9/1/2020               7,617.26   ICE Data Pricing & Reference Data, LLC
                                9/1/2020               9,500.00   Ipreo Data Inc.
                                9/1/2020                  89.24   Iron Mountain Records Management
                                9/1/2020                 495.86   Jordan Fraker Photography
                                9/1/2020               3,392.01   NYSE MARKET, INC
                                9/1/2020               3,051.14   Oak Cliff Office Products
                                9/1/2020               1,625.00   Paessler
                                9/1/2020                 441.34   ProStar Services, Inc
                                9/1/2020                 107.15   UPS Supply Chain Solutions
                                9/9/2020               5,884.76   ABM
                                9/9/2020                 432.00   Ace Parking Management Inc.
                                9/9/2020                 600.00   Action Shred of Texas
                                9/9/2020               1,492.38   Canteen Vending Services
                                9/9/2020                 510.61   CDW Direct
                                9/9/2020              11,131.97   CT Corporation System
                                9/9/2020               1,617.81   GRUBHUB for Work
                                9/9/2020              47,470.00   Houlihan Lokey
                                9/9/2020              35,200.00   Intex Solutions, Inc.
                                9/9/2020               2,668.57   Iron Mountain Records Management
                                9/9/2020               7,500.00   MacroMavens, LLC
                                9/9/2020               1,570.00   MICRO-TEL
                                9/9/2020                 507.47   ProStar Services, Inc
                                9/9/2020              16,355.06   S&P Global Market Intelligence
                                9/9/2020             151,448.26   Siepe Services, LLC
                                9/9/2020              18,042.03   Siepe Software, LLC
                                9/9/2020                 535.34   Standard Insurance Company
                                9/9/2020               6,369.17   TW Telecom Holdings, llc
                                9/9/2020               6,866.42   Willis of Texas, Inc.
                               9/11/2020                 263.81   Directv, LLC
                               9/11/2020               1,000.00   Pitney Bowes- Purchase Power
                               9/11/2020               4,335.10   Third Party Consultant
                               9/14/2020                 500.00   Pitney Bowes
                               9/17/2020               2,082.70   Zayo Group, LLC
                               9/18/2020                 253.94   Arkadin, Inc.
                               9/18/2020               4,192.71   Third Party Consultant
                               9/18/2020               2,955.06   AT&T
                               9/18/2020                 137.50   AT&T
                               9/18/2020                 768.58   Audio Visual Innovations, Inc.
                               9/18/2020               8,140.16   Bloomberg Finance LP
                               9/18/2020               1,636.20   Canteen Vending Services
                               9/18/2020              21,863.25   CDW Direct
                               9/18/2020                 700.00   Centroid
                               9/18/2020               4,059.81   Concur Technologies, Inc.
                               9/18/2020                 369.00   CT Corporation System
                               9/18/2020               3,031.00   Daltex Janitorial Services, LLC
                               9/18/2020                 859.36   DTCC ITP LLC
                               9/18/2020              11,887.73   Flexential Colorado Corp.
                               9/18/2020               2,162.11   Grubhub for Work
                               9/18/2020               3,762.48   ICE Data Pricing & Reference Data, LLC
                               9/18/2020                 112.21   Iron Mountain Records Management
                               9/18/2020               3,766.00   MacroView Business Technology
                               9/18/2020               2,128.81   NYSE Market, Inc
                               9/18/2020                 548.83   Pitney Bowes Financial Services
                               9/18/2020               6,757.16   Proofpoint
                               9/18/2020               2,466.10   Thomson West
                               9/18/2020                 301.48   UPS Supply Chain Solutions
                               9/18/2020                 259.80   Venture Mechanical, Inc.
                               9/18/2020                 273.47   Verity Group
                               9/18/2020                 416.57   Analysis Charge
                               9/18/2020                  23.00   Chase Couriers
                               9/25/2020              16,750.65   Ace Parking Management Inc.
                               9/25/2020               1,740.82   AT&T
                               9/25/2020                 763.22   AT&T
                               9/25/2020               7,147.16   AT&T
                               9/25/2020               1,431.77   Canteen Vending Services
                               9/25/2020               2,491.11   CDW Direct
                               9/25/2020              15,000.00   Centroid
                               9/25/2020                  58.62   Chase Couriers
                               9/25/2020                 320.70   CT Corporation System
                               9/25/2020               7,752.34   Fitch Solutions, Inc.
                               9/25/2020                 484.96   Four Seasons Plantscaping, LLC
                               9/25/2020               1,480.74   Grubhub for Work
                               9/25/2020               4,840.01   Liberty Life Assurance Company of Boston - Group Benefits
                               9/25/2020                 562.50   Maples & Calder
                               9/25/2020             124,634.61   Siepe Services, LLC
                               9/28/2020               1,412.83   Southland Property Tax Consultants, Inc
                               9/29/2020                 980.96   Xerox Corporation
                               9/30/2020              11,000.00   Third Party Consultant
                               9/30/2020                  25.00   Bank fees returned Foley Wire
                                                        903,589

     REORGANIZATION EXPENSES - OTHER

                                 Date             Amount          Description
                               9/1/2020                   30,000 Dubel & Associates, L.L.C.
                               9/1/2020                  150,000 J.P. Seery & Co. LLC
                               9/1/2020                   30,000 Nelms and Associates
                                                         210,000
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  6 600
                                                                           551 of of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


 MGMT FEE RECEIVABLE AGING 2                                           June '3                July '3                   August '3              September '3
 1.       0-30                                                   $       1,813,292                $2,428,715                $1,768,818              $2,577,696
 2.       31-60                                                         $1,163,000               $1,285,718                   $772,384
 3.       61-90                                                                                                                                           $772,384
 4.       91+
 5.       TOTAL MGMT FEE RECEIVABLE                              $       2,976,292    $             3,714,432   $             2,541,202              $3,350,080
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       2,976,292    $             3,714,432   $             2,541,202              $3,350,080


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                    September 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                         $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $418,457              $16,057                         $0                  $320,995                   $755,509


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                    September 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                        $0                         $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                        $0                         $0                         $0                       $0
 16. TOTAL TAXES                                                                $0                         $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  7 600
                                                                           552 of of 9



                                                                                                                                                                                   Monthly Operating Report
                                                                                                                                                                                                     ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                 September                                                                              2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2              Account #3             Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank           Maxim Group            Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                   x1885                  x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance               Brokerage              Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            5,617,167   $              32,373    $                 30   $                   -   $             138,190   $             100,052     $        5,887,812
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                  $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                      $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                           $              -
5.     MONTH END BALANCE PER BOOKS                    $            5,617,167   $               32,373   $                 30   $                   -   $             138,190   $               100,052   $        5,887,812
6.     NUMBER OF LAST CHECK WRITTEN                            100510                   n/a                     n/a                    n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                PURCHASE                                                                                         CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                 PRICE                                                                                           VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                     $0                                                                                            $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                          $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                          $5,887,812

1      Account x6342 is now closed.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  8 600
                                                                           553 of of 9



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                ACCRUAL BASIS-6
CASE NAME:                                                  Highland Capital Management

CASE NUMBER:                                                19-34054


                                                                                                                                     MONTH:               September 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                      INSIDERS
                                                                         TYPE OF                   AMOUNT                TOTAL PAID
              NAME                                                      PAYMENT                     PAID                POST PETITION
1        Frank Waterhouse                                   Salary                                       $33,333                     $360,417
2        Frank Waterhouse                                   Expense Reimbursement                           $807                        $5,918
3        Scott Ellington                                    Salary                                       $37,500                     $431,250
4        Scott Ellington                                    Expense Reimbursement                           $252                        $6,095
5        James Dondero                                      Salary                                            $0                     $129,972
6        James Dondero                                      Expense Reimbursement 1                           $0                      $16,918
7        Thomas Surgent                                     Salary                                       $33,333                     $383,333
8        Thomas Surgent                                     Expense Reimbursement                           $456                        $4,222
9        Trey Parker                                        Salary                                            $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $105,681                    $1,475,585

         The total amount of reimbursements during the reporting month also included $5,675 for use of the credit card by the Debtor for office related expenses such as subscriptions,
     1
         vending supplies, and IT equipment/software.



                                                                                  PROFESSIONALS 2
                                                                          DATE                                                                                             TOTAL
                                                                       OF MONTHLY           AMOUNT                         AMOUNT                  TOTAL PAID            INCURRED
                 NAME                                                FEE APPLICATION       APPROVED                         PAID                    TO DATE              & UNPAID
1. Kurtzman Carson Consultants LLC                                                                        41,966                        41,966              532,521              95,605
2. Sidley Austin LLP                                                                                     814,318                      814,318             5,807,091           1,333,420
3. Young Conaway Stargatt & Taylor LLP                                                                                                     -                281,156                  -
4. FTI Consulting, Inc.                                                                                  626,333                      626,333             3,607,292             559,823
5. Pachulski Stang Ziehl & Jones LLP                                                                   1,283,329                     1,283,329            8,435,219           1,512,143
6        Hayward & Associates PLLC                                                                        60,736                        60,736              256,412              10,828
7        Development Specialists, Inc.                                                                   237,828                      237,828             2,351,224             249,129
8        Foley & Lardner LLP                                                                                 -                                              464,294             119,516
9        Mercer (US) Inc.                                                                                 54,328                        54,328              170,284                  -
10 Wilmer Cutler Pickering Hale and Dorr LLP                                                             618,643                      618,643               618,643
11 Meta-e Discovery LLC                                                                                  165,000                       165,000             165,000
   TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   3,902,480          22,689,136            3,880,463

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                          130,364                      130,364                   -
2.
3.
4.
5.
6. TOTAL                                                                                                 130,364                     $130,364                    $0
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291329
                        Filed Filed 11/03/20
                              05/24/21         Entered
                                          Entered      11/03/20
                                                  05/24/21      15:44:31
                                                           10:22:39   PagePage  9 600
                                                                           554 of of 9




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:           September 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                               x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.



  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 555 of 600




                                 EXHIBIT 59
    Case 21-03005-sgj Doc 29 Filed 05/24/21                 Entered 05/24/21 10:22:39   Page 556 of 600


September 2020 Due From Affiliates

 14585 DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $    57,963,118
 14532 DUE FROM NEXPOINT ADVISORS                                23,610,195
 14750 LONG TERM NOTES RECEIVABLE                                18,286,268
 14531 DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS        10,635,564
 14533 DUE FROM HCRE PARTNERS                                    10,436,597
 14565 DUE FROM OTHER - TAX LOANS                                 8,929,625
 14530 DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES              7,518,692
 14590 DUE FROM OTHER AFFILIATE                                   5,088,256
 14595 DUE FROM HIGHLAND CAPITAL KOREA                            3,832,358
 14536 DUE FROM SELECT                                            3,000,000
 14010 CASH INTEREST RECEIVABLE                                   2,718,375
 14140 SHARED SVCS FEE RECVBL - PYXIS                               308,093
 14137 SHARED SVCS FEE RECVBL - OSLI                                122,000
 14580 DUE FROM NEXBANK                                              60,000
 14148 SHARED SVCS FEE RECVBL - RAND ADVISORS                        40,182
 14142 SHARED SVCS FEE RECVBL - HCLOH                                24,592
 14535 DUE FROM HERA                                                 10,676
  Total Due From Affiliates                                 $   152,584,592
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 557 of 600




                                EXHIBIT 60
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  1 600
                                                                           558 of of 9
                                                                           Docket #1493 Date Filed: 12/01/2020




                                                                       Monthly Operating Report
                                                                       ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                    October       2020
                                                MONTH        YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                          Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                     TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                            DATE



    PREPARER:

                                                          Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                               TITLE

    Frank Waterhouse                                         12.1.20
    PRINTED NAME OF PREPARER                                                     DATE




                                                               ¨1¤}HV4,!                  !1«
                                                                   1934054201201000000000001
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  2 600
                                                                           559 of of 9



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                   Highland Capital Management, LP


            CASE NUMBER:                                                                 19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                              10/15/2019             12/31/2019 (6)           10/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                    8,753
                                                           (3)
                                Investments, at fair value                                         232,620                 232,820                   107,676
                                Equity method investees (3)                                        161,819                 183,529                    95,244
                                Management and incentive fee receivable                              2,579                   1,929                     4,703
                                Fixed assets, net                                                    3,754                   3,521                     2,746
                                                    (1)
                                Due from affiliates                                                151,901                 146,276                   149,822
                                Reserve against notes recievable                                                           (57,963)                  (59,269)
                                Other assets                                                        11,311                  11,463                    12,467
            Total assets                                                                  $        566,513          $      531,076           $       322,143



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                    1,077
                                Post-petition accounts payable (4)                                      -                     2,042                      923
                                Secured debt:
                                      Frontier                                                       5,195                    5,195                    5,195
                                      Jefferies                                                     30,328                   30,020                      -
                                                                       (4)
                                Accrued expenses and other liabilities                              59,203                   63,275                   59,815
                                                                       (5)
                                Accrued re-organization related fees                                    -                     5,547                    7,021
                                Claim accrual (2)                                                   73,997                   73,997                   73,997
                                Partners' capital                                                  396,614                 349,857                   174,115
            Total liabilities and partners' capital                                       $        566,513          $      531,076           $       322,143




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($59M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                                approval by the court.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
             19-34054-sgj11
        Case 21-03005-sgj   Doc
                          Doc 291493
                                Filed Filed 12/01/20
                                      05/24/21         Entered
                                                  Entered      12/01/20
                                                          05/24/21      17:45:18
                                                                   10:22:39   PagePage  3 600
                                                                                   560 of of 9


                                                                                                                                                                                                             Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                        Date                    Filing to Year Ended (4)                   Month ended (4)                Filing to date (4)
                                                                                                                 10/16/19 - 10/31/19                      2019                              10/31/2020
                                 Revenue:
                                  Management fees                                                                                        975                         4,528                               2,099                         21,113
                                  Shared services fees                                                                                   283                         1,588                                 638                          7,886
                                  Other income                                                                                            99                         1,582                                  19                          5,077

                                       Total operating revenue                                                                         1,357                         7,697                               2,756                        34,076
                                 Operating expenses:
                                  Compensation and benefits                                                                              997                         1,498                               1,634                         17,412
                                  Professional services                                                                                  256                            64                                 218                          2,385
                                  Investment research and consulting                                                                       10                          266                                   5                            965
                                  Marketing and advertising expense                                                                      -                             370                                   7                            528
                                  Depreciation expense                                                                                     82                          244                                  76                          1,016
                                  Bad debt expense reserve                                                                                  -                        8,410                                 128                          9,715
                                  Other operating expenses                                                                               201                         1,265                                 443                          5,108

                                       Total operating expenses                                                                        1,545                       12,118                                2,511                        37,129

                                 Operating income/(loss)                                                                               (188)                        (4,421)                                245                        (3,052)
                                 Other income/expense:
                                  Interest income                                                                                        250                         1,230                                  505                         6,121
                                  Interest expense                                                                                      (107)                         (286)                                 (22)                         (697)
                                  Reserve against notes receivable                                                                         -                       (57,963)                                   -                       (57,963)
                                    Re-org related expenses (2)                                                                            -                        (5,547)                             (1,309)                       (30,108)
                                    Independent director fees                                                                              -                           -                                     -                         (1,977)
                                    Other income/expense                                                                                  32                             32                                (24)                          (168)
                                       Total other income/expense                                                                       175                       (62,534)                                (850)                      (84,793)


                                    Net realized gains/(losses) on investments                                                           339                            618                              2,527                        (25,211)
                                    Net change in unrealized gains/(losses) of investments (3)                                         2,654                          (955)                             (4,680)                       (41,527)

                                                                                                                                       2,993                          (337)                             (2,153)                      (66,738)
                                                                                                       (3)
                                 Net earnings/(losses) from equity method investees                                                      (20)                       14,918                              (5,969)                       (73,533)

                                       Net income/(loss)                                                          $                    2,959      $               (52,374)             $                (8,728)       $             (228,116)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  4 600
                                                                           561 of of 9



                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                   ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER 1           QUARTER 2          QUARTER 3          OCTOBER
1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $       9,501,409   $     12,532,467   $     14,993,872   $      5,887,813
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       1,379,338   $      2,983,221   $      2,259,736   $       598,804
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $       7,555,297   $      6,179,437   $      5,575,680   $      1,367,428
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $         76,569    $          3,727   $            -     $            -
5    POSTPETITION 1                                                       $                    -     $             -     $            -     $            -     $            -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $       9,011,204   $      9,166,385   $      7,835,415   $      1,966,232
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $      18,992,786   $       797,571    $        610,254   $            -
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        477,479    $        74,376    $          5,311   $          1,242
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $       1,407,103   $     10,010,000   $      8,817,099   $      3,269,000
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $      20,877,369   $     10,881,947   $      9,432,664   $      3,270,242
11   TOTAL RECEIPTS                                                       $            13,764,430    $      29,888,573   $     20,048,331   $     17,268,080   $      5,236,475
12 TOTAL CASH AVAILABLE                                                                                                                     $     32,261,951   $     11,124,288
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $       8,825,042   $      4,886,314   $      8,806,880   $      1,347,709
14   SINGAPORE SERVICE FEES                                               $                95,118    $         58,129    $          2,965   $            -     $        10,547
15   HCM LATIN AMERICA                                                    $               200,000    $        100,000    $            -     $            -     $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $       7,812,469   $      3,087,163   $        979,631   $       110,220
17   UTILITIES                                                            $                    -     $             -     $            -     $            -     $            -
18   INSURANCE                                                            $                    -     $        533,940    $       376,376    $        163,400   $            -
19   INVENTORY PURCHASES                                                  $                    -     $             -     $            -     $            -     $            -
20   VEHICLE EXPENSES                                                     $                    -     $             -     $            -     $            -     $            -
21   TRAVEL                                                               $                    -     $             -     $            -     $            -     $            -
22   ENTERTAINMENT                                                        $                    -     $             -     $            -     $            -     $            -
23   REPAIRS & MAINTENANCE                                                $                    -     $             -     $            -     $            -     $            -
24   SUPPLIES                                                             $                    -     $             -     $            -     $            -     $            -
25   ADVERTISING                                                          $                    -     $             -     $            -     $            -     $            -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       3,283,898   $      3,195,054   $      3,633,331   $       653,828
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      20,613,478   $     11,547,870   $     13,583,243   $      2,122,305
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $       5,460,546   $      5,572,032   $     11,551,682   $        39,255
29   U.S. TRUSTEE FEES                                                    $                    -     $         68,173    $       167,025    $        277,924   $            -
30   OTHER (ATTACH LIST)                                                  $                    -     $         715,317   $        300,000   $        961,289   $       210,000
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $       6,244,037   $      6,039,057   $     12,790,896   $       249,255
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      26,857,515   $     17,586,927   $     26,374,138   $      2,371,560
33   NET CASH FLOW                                                        $             6,947,179    $       3,031,058   $      2,461,404   $      (9,106,059) $      2,864,915
34   CASH - END OF MONTH                                                  $             9,501,409    $      12,532,467   $     14,993,872   $      5,887,813   $      8,752,728

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  5 600
                                                                           562 of of 9


                                                                                                        Monthly Operating Report
                                                                                                                    ACCRUAL BASIS-3B
       CASE NAME:     Highland Capital Management

       CASE NUMBER:   19-34054



       OPERATING DISBURSMENTS - OTHER

                                    Date            Amount           Vendor
                                 10/1/2020             158,674.80   Crescent TC Investors LP
                                 10/1/2020              35,839.30   East West Visa pmt
                                 10/2/2020                  51.72   American Solutions for Business
                                 10/2/2020                  67.92   UPS Supply Chain Solutions
                                 10/2/2020                 300.00   Action Shred of Texas
                                 10/2/2020                 593.75   ProStar Services, Inc
                                 10/2/2020               1,649.07   GRUBHUB for Work
                                 10/2/2020               2,567.28   Canteen Vending Services
                                 10/2/2020               2,668.57   Iron Mountain Records Management
                                 10/2/2020               5,884.76   ABM
                                 10/2/2020               6,866.42   Willis of Texas, Inc.
                                 10/2/2020              11,423.25   Fitch Solutions, Inc.
                                 10/2/2020              18,042.03   Siepe Software, LLC
                                 10/2/2020              35,200.00   Intex Solutions, Inc.
                                 10/2/2020               3,102.00   Third Party Consultant
                                 10/2/2020               6,179.02   TW Telecom Holdings, llc
                                 10/2/2020              11,532.12   ICE Data Pricing & Reference Data, LLC
                                 10/2/2020              44,741.78   Third Party Consultant
                                 10/8/2020                 263.81   Directv, LLC
                                 10/8/2020                 664.00   PBGC
                                 10/9/2020                 158.36   UPS Supply Chain Solutions
                                 10/9/2020              13,271.70   Refinitiv US LLC
                                 10/9/2020                 330.77   ProStar Services, Inc
                                 10/9/2020               1,208.84   Options Price Reporting Authority
                                 10/9/2020               2,128.81   NYSE MARKET, INC
                                 10/9/2020                 112.21   Iron Mountain Records Management
                                 10/9/2020               6,863.93   ICE Data Pricing & Reference Data, LLC
                                 10/9/2020              47,729.56   Houlihan Lokey
                                 10/9/2020               1,622.46   GRUBHUB for Work
                                 10/9/2020                 100.32   CT Corporation System
                                 10/9/2020               4,059.81   Concur Technologies, Inc.
                                 10/9/2020              15,197.50   Centroid
                                 10/9/2020                 824.31   CDW Direct
                                 10/9/2020               1,590.12   Canteen Vending Services
                                 10/9/2020              20,731.98   Bloomberg Finance LP
                                 10/9/2020                 158.04   Arkadin, Inc.
                                 10/9/2020                 342.00   Ace Parking Management Inc.
                                 10/9/2020               2,466.10   Thomson West
                                 10/14/2020                550.67   Xerox Corporation
                                 10/14/2020             10,407.89   Pricewaterhouse Coopers, LLP
                                 10/15/2020              1,000.00   Pitney Bowes- Purchase Power
                                 10/16/2020              7,551.64   ICE Data Pricing & Reference Data, LLC
                                 10/16/2020                293.63   UPS Supply Chain Solutions
                                 10/16/2020                320.90   Verity Group
                                 10/16/2020                938.36   Standard Insurance Company
                                 10/16/2020              1,825.96   GRUBHUB for Work
                                 10/16/2020              2,391.37   Canteen Vending Services
                                 10/16/2020              3,236.64   DTCC ITP LLC
                                 10/16/2020             19,159.48   Strategas Securities LLC
                                 10/19/2020              2,092.34   Zayo Group, LLC
                                 10/20/2020                880.04   EastWest Bank
                                 10/22/2020                 24.60   CHASE COURIERS, INC
                                 10/22/2020                 87.50   UPS Supply Chain Solutions
                                 10/22/2020                303.10   Four Seasons Plantscaping, LLC
                                 10/22/2020              1,171.83   Canteen Vending Services
                                 10/22/2020              3,251.87   Third Party Consultant
                                 10/22/2020             11,887.73   Flexential Colorado Corp.
                                 10/22/2020             16,967.11   Ace Parking Management Inc.
                                 10/22/2020             18,673.13   MERGERMARKET LTD
                                 10/22/2020              4,629.14   Liberty Life Assurance Company of Boston - Group Benefits
                                 10/27/2020             34,520.76   Reorg Research, Inc.
                                 10/28/2020             12,250.00   Summit Management Limited
                                 10/30/2020              3,500.00   MaplesFS Service Company Limited
                                 10/30/2020              1,914.10   Canteen Vending Services
                                 10/30/2020              1,692.38   Oracle America, Inc.
                                 10/30/2020              1,642.86   GRUBHUB for Work
                                 10/30/2020              1,270.09   ICE Data Pricing & Reference Data, LLC
                                 10/30/2020                740.80   CDW Direct
                                 10/30/2020                715.53   ProStar Services, Inc
                                 10/30/2020                552.35   DTCC ITP LLC
                                 10/30/2020                495.00   Intralinks
                                 10/30/2020                172.44   UPS Supply Chain Solutions
                                 10/30/2020                146.14   Secured Access Systems, LLC
                                 10/30/2020             12,996.05   Third Party Consultant
                                 10/30/2020              6,866.42   Willis of Texas, Inc.
                                 10/30/2020                137.50   AT&T
                                 10/30/2020              1,362.60   Discovery Benefits Admin
                                                          653,828

       REORGANIZATION EXPENSES - OTHER

                                   Date             Amount         Description
                                 10/1/2020                 30,000 Dubel & Associates, L.L.C.
                                 10/1/2020                150,000 J.P. Seery & Co. LLC
                                 10/1/2020                 30,000 Nelms and Associates
                                                          210,000
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  6 600
                                                                           563 of of 9



                                                                                                                         Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


                                                                       July '3               August '3                September '3              October '3
 MGMT FEE RECEIVABLE AGING 2
 1.       0-30                                                          $2,428,715                $1,768,818                 $2,577,696              $3,148,887
 2.       31-60                                                         $1,285,718                 $772,384                                           $807,441
 3.       61-90                                                                                                                $772,384
 4.       91+                                                                                                                                         $746,913
 5.       TOTAL MGMT FEE RECEIVABLE                              $       3,714,432    $             2,541,202   $             3,350,080              $4,703,241
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $       3,714,432    $             2,541,202   $             3,350,080              $4,703,241


 AGING OF POSTPETITION TAXES AND PAYABLES                                                           MONTH:                       October 2020

                                                  0-30                 31-60                  61-90                       91+
 TAXES PAYABLE                                   DAYS                  DAYS                   DAYS                       DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                   $0                        $0                         $0                       $0

 6.       ACCOUNTS PAYABLE                           $723,031              $83,748                    $14,787                  $101,044                   $922,610


 STATUS OF POSTPETITION TAXES 1                                                                     MONTH:                       October 2020

                                                                     BEGINNING               AMOUNT                                             ENDING
                                                                        TAX               WITHHELD AND/                AMOUNT                     TAX
 FEDERAL                                                             LIABILITY             0R ACCRUED                   PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                         $0                        $0                         $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                               $0                        $0                         $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                         $0                        $0                         $0                       $0
 16. TOTAL TAXES                                                                 $0                        $0                         $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  7 600
                                                                           564 of of 9



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                       October                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $            8,286,354   $             228,102     $                  30    $                   -   $             138,190   $             100,060     $        8,752,736
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                         $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $            8,286,354   $               228,102   $                  30    $                   -   $             138,190   $               100,060   $        8,752,736
6.     NUMBER OF LAST CHECK WRITTEN                            100510                   n/a                      n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                       $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                             $8,752,736

1      Account x6342 is now closed.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  8 600
                                                                           565 of of 9



                                                                                                                                               Monthly Operating Report
                                                                                                                                                              ACCRUAL BASIS-6
CASE NAME:                                               Highland Capital Management

CASE NUMBER:                                             19-34054


                                                                                                                                   MONTH:                 October 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                   INSIDERS
                                                                     TYPE OF                     AMOUNT                TOTAL PAID
            NAME                                                     PAYMENT                      PAID                POST PETITION
1      Frank Waterhouse                                  Salary                                       $33,333                      $393,750
2      Frank Waterhouse                                  Expense Reimbursement                             $304                      $6,222
3      Scott Ellington                                   Salary                                       $37,500                      $468,750
4      Scott Ellington                                   Expense Reimbursement                             $244                      $6,338
5      James Dondero                                     Salary                                                 $0                 $129,972
6      James Dondero                                     Expense Reimbursement 1                                $0                  $16,918
7      Thomas Surgent                                    Salary                                       $33,333                      $416,667
8      Thomas Surgent                                    Expense Reimbursement                             $360                      $4,581
9      Trey Parker                                       Salary                                                 $0                 $131,250
10 Trey Parker                                  Expense Reimbursement                                      $0                        $6,212
                              TOTAL PAYMENTS TO INSIDERS                                             $105,074                    $1,580,659

     1 The total amount of reimbursements during the reporting month also included $8,194 for use of the credit card by the Debtor for office related expenses such as subscriptions
       and IT equipment/software.


                                                                                                       2
                                                                               PROFESSIONALS
                                                                       DATE                                                                                             TOTAL
                                                                    OF MONTHLY           AMOUNT                          AMOUNT                  TOTAL PAID           INCURRED
               NAME                                               FEE APPLICATION       APPROVED                          PAID                    TO DATE             & UNPAID
1.     Kurtzman Carson Consultants LLC                                                                      -                            -               532,521               54,170
2.     Sidley Austin LLP                                                                                    -                            -             5,807,091              821,421
3.     Young Conaway Stargatt & Taylor LLP                                                                  -                            -               281,156                  -
4.     FTI Consulting, Inc.                                                                                 -                            -             3,607,292              391,704
5.     Pachulski Stang Ziehl & Jones LLP                                                                    -                            -             8,435,219            2,109,271
6      Hayward & Associates PLLC                                                                            -                            -               256,412                5,957
7      Development Specialists, Inc.                                                                        -                            -             2,351,224                  -
8      Foley & Lardner LLP                                                                                  -                            -               464,294              127,594
9      Mercer (US) Inc.                                                                                     -                            -               170,284                  -
10 Wilmer Cutler Pickering Hale and Dorr LLP                                                                -                            -               618,643
11 Meta-e Discovery LLC                                                                                     -                            -               165,000
   TOTAL PAYMENTS TO PROFESSIONALS                                                                                                       -            22,689,136            3,510,117

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                               SCHEDULED                 AMOUNTS
                                                                                                MONTHLY                    PAID                    TOTAL
                                                                                               PAYMENTS                   DURING                   UNPAID
                                   NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1.     Crescent TC Investors LP (rent portion only)                                                   130,364                      130,364                    -
2.
3.
4.
5.
6.     TOTAL                                                                                          130,364                      $130,364                    $0
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291493
                        Filed Filed 12/01/20
                              05/24/21         Entered
                                          Entered      12/01/20
                                                  05/24/21      17:45:18
                                                           10:22:39   PagePage  9 600
                                                                           566 of of 9




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:             October 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                               x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.



  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 567 of 600




                                EXHIBIT 61
             19-34054-sgj11
        Case 21-03005-sgj   Doc
                          Doc 291710
                                Filed Filed 01/08/21
                                      05/24/21         Entered
                                                  Entered      01/08/21
                                                          05/24/21      16:54:41
                                                                   10:22:39   PagePage  1 600
                                                                                   568 of of 9




                                                                               Monthly Operating Report
                                                                               ACCRUAL BASIS
CASE NAME:           Highland Capital Management

CASE NUMBER:         19-34054

JUDGE: Stacey Jernigan


                     UNITED STATES BANKRUPTCY COURT

                NORTHERN & EASTERN DISTRICTS OF TEXAS
                                                    Docket #1710 Date Filed: 01/08/2021

                                        REGION 6

                         MONTHLY OPERATING REPORT

         MONTH ENDING:                   November                    2020
                                            MONTH                    YEAR



IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
(ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


RESPONSIBLE PARTY:

                                                                  Chief Restructuring Officer/ Chief Executive Officer
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                                 TITLE

James Seery
PRINTED NAME OF RESPONSIBLE PARTY                                                         DATE



PREPARER:

                                                                  Chief Financial Officer
ORIGINAL SIGNATURE OF PREPARER                                                           TITLE

Frank Waterhouse                                                  1.07.21
PRINTED NAME OF PREPARER                                                                  DATE




                                            ¨1¤}HV5!(                  (¥«
                                                1934054210108000000000008
                                         19-34054-sgj11
                                    Case 21-03005-sgj   Doc
                                                      Doc 291710
                                                            Filed Filed 01/08/21
                                                                  05/24/21         Entered
                                                                              Entered      01/08/21
                                                                                      05/24/21      16:54:41
                                                                                               10:22:39   PagePage  2 600
                                                                                                               569 of of 9




                                                                                                                         Monthly Operating Report
                                                                                                                                         ACCRUAL BASIS-1

   CASE NAME:                                                                   Highland Capital Management, LP

   CASE NUMBER:                                                                 19-12239-CSS

Comparative Balance Sheet
(in thousands)


                                                                                     10/15/2019              12/31/2019 (6)           11/30/2020 (6)

   Assets

                       Cash and cash equivalents                                            2,529                    9,501                   13,367
                       Investments, at fair value (3)                                     232,620                  232,820                  106,344
                       Equity method investees (3)                                        161,819                  183,529                   94,853
                       Management and incentive fee receivable                              2,579                    1,929                    1,496
                       Fixed assets, net                                                    3,754                    3,521                    2,670
                       Due from affiliates (1)                                            151,901                  146,276                  150,152
                       Reserve against notes recievable                                                            (57,963)                 (59,393)
                       Other assets                                                        11,311                   11,463                    8,961
   Total assets                                                                  $        566,513          $       531,076           $      318,449


   Liabilities and Partners' Capital

                       Pre-petition accounts payable (4)                                     1,176                    1,141                    1,077
                       Post-petition accounts payable (4)                                      -                      2,042                      750
                       Secured debt:
                             Frontier                                                       5,195                     5,195                    5,195
                             Jefferies                                                     30,328                    30,020                      -
                       Accrued expenses and other liabilities (4)                          59,203                    63,275                   58,254
                       Accrued re-organization related fees (5)                               -                       5,547                    7,823
                       Claim accrual (2)                                                   73,997                    73,997                   73,997
                       Partners' capital                                                  396,614                  349,857                  171,353
   Total liabilities and partners' capital                                       $        566,513          $       531,076           $      318,449




                 (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                       reserved against ($59M reserve). Fair value has not been determined with respect to any of the notes.
                 (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                       interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                       approval by the court.
                 (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                       readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                       not been updated as of period end as statements are generally available on a one-month lag.
                 (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                       recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates
                       for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts include both
                       pre-petition and post-petition liabilities. There are additional compensation accrual amounts of $5.7mm that are not
                       accounted for as of the report date
                 (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                       incurred to date.
                 (6)   All balances at December 31st, 2019 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                       the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
                                                             19-34054-sgj11
                                                        Case 21-03005-sgj   Doc
                                                                          Doc 291710
                                                                                Filed Filed 01/08/21
                                                                                      05/24/21         Entered
                                                                                                  Entered      01/08/21
                                                                                                          05/24/21      16:54:41
                                                                                                                   10:22:39   PagePage  3 600
                                                                                                                                   570 of of 9




                                                                                                                                                                                                     Monthly Operating Report
                                                                                                                                                                                                                          ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement 1
(in thousands)
                                                                                                                                                                             (4)                      (4)                           (4)
                                                                                                                       Date                    Filing to Year Ended                    Month ended                 Filing to date
                                                                                                                10/16/19 - 10/31/19                      2019                           11/30/2020
                                 Revenue:
                                  Management fees                                                                                      975                          4,528                          1,528                      22,641
                                  Shared services fees                                                                                 283                          1,588                            579                       8,465
                                  Other income                                                                                          99                          1,582                            296                       5,373

                                       Total operating revenue                                                                     1,357                            7,697                          2,403                      36,479
                                 Operating expenses:
                                  Compensation and benefits (5)                                                                        997                          1,498                          1,626                      19,038
                                  Professional services                                                                                256                             64                            273                       2,657
                                  Investment research and consulting                                                                     10                           266                              4                         969
                                  Marketing and advertising expense                                                                    -                              370                            (65)                        463
                                  Depreciation expense                                                                                   82                           244                             76                       1,092
                                  Bad debt expense reserve                                                                                -                         8,410                            124                       9,839
                                  Other operating expenses                                                                             201                          1,265                            539                       5,647

                                       Total operating expenses                                                                    1,545                          12,118                           2,577                      39,706

                                 Operating income/(loss)                                                                               (188)                       (4,421)                          (174)                     (3,227)
                                 Other income/expense:
                                  Interest income                                                                                       250                        1,230                             481                       6,602
                                  Interest expense                                                                                     (107)                        (286)                            (21)                       (718)
                                  Reserve against notes receivable                                                                        -                      (57,963)                              -                     (57,963)
                                  Re-org related expenses (2)                                                                            -                         (5,547)                        (2,738)                    (32,876)
                                  Independent director fees                                                                              -                            -                             (210)                     (2,187)
                                  Other income/expense                                                                                  32                              32                            (1)                       (170)
                                                                                                                                                                                                                                 -
                                       Total other income/expense                                                                      175                       (62,534)                         (2,490)                    (87,312)


                                    Net realized gains/(losses) on investments                                                         339                            618                         (4,819)                    (30,030)
                                    Net change in unrealized gains/(losses) of investments (3)                                     2,654                             (955)                         5,143                     (36,384)

                                                                                                                                   2,993                             (337)                           324                     (66,414)

                                 Net earnings/(losses) from equity method investees (3)                                                 (20)                      14,918                            (391)                    (73,925)

                                       Net income/(loss)                                                         $                 2,959         $               (52,374)          $              (2,732)      $            (230,878)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but
not yet received invoices.
(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a
NAV statement have not been updated as of period end as statements are generally available on a one-month lag.
(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.

(5) There are additional compensation accrual amounts of $5.7mm that are not accounted for as of the report date.
                                                      19-34054-sgj11
                                                 Case 21-03005-sgj   Doc
                                                                   Doc 291710
                                                                         Filed Filed 01/08/21
                                                                               05/24/21         Entered
                                                                                           Entered      01/08/21
                                                                                                   05/24/21      16:54:41
                                                                                                            10:22:39   PagePage  4 600
                                                                                                                            571 of of 9




                                                                                                                                                                        Monthly Operating Report
                                                                                                                                                                                      ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER 1           QUARTER 2          QUARTER 3          OCTOBER           NOVEMBER
1. CASH - BEGINNING OF MONTH                                              $             2,554,230    $       9,501,409   $     12,532,467   $     14,993,872   $     5,887,813   $      8,752,728
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                             $             1,862,757    $       1,379,338   $      2,983,221   $      2,259,736   $      598,804    $      1,568,241
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                             $             3,156,742    $       7,555,297   $      6,179,437   $      5,575,680   $     1,367,428   $      5,473,112
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                          $             3,593,108    $         76,569    $          3,727   $            -     $           -     $       197,173
                      1
5    POSTPETITION                                                         $                    -     $             -     $            -     $            -     $           -     $            -
6  TOTAL OPERATING RECEIPTS                                               $             8,612,608    $       9,011,204   $      9,166,385   $      7,835,415   $     1,966,232   $      7,238,525
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                         $               423,468    $      18,992,786   $       797,571    $        610,254   $           -     $       289,873
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                          $             1,338,069    $        477,479    $        74,376    $          5,311   $         1,242   $          1,244
9    OTHER (ATTACH LIST)                                                  $             3,390,286    $       1,407,103   $     10,010,000   $      8,817,099   $     3,269,000   $      2,623,121
10   TOTAL NON-OPERATING RECEIPTS                                         $             5,151,822    $      20,877,369   $     10,881,947   $      9,432,664   $     3,270,242   $      2,914,237
11   TOTAL RECEIPTS                                                       $            13,764,430    $      29,888,573   $     20,048,331   $     17,268,080   $     5,236,475   $     10,152,762
12 TOTAL CASH AVAILABLE                                                                                                                     $     32,261,951   $    11,124,288   $     18,905,490
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                             $             3,776,446    $       8,825,042   $      4,886,314   $      8,806,880   $     1,347,709   $      1,602,768
14   SINGAPORE SERVICE FEES                                               $                95,118    $         58,129    $          2,965   $            -     $       10,547    $            -
15   HCM LATIN AMERICA                                                    $               200,000    $        100,000    $            -     $            -     $           -     $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                             $             1,426,987    $       7,812,469   $      3,087,163   $        979,631   $      110,220    $       722,194
17   UTILITIES                                                            $                    -     $             -     $            -     $            -     $           -     $            -
18   INSURANCE                                                            $                    -     $        533,940    $       376,376    $        163,400   $           -     $            -
19   INVENTORY PURCHASES                                                  $                    -     $             -     $            -     $            -     $           -     $            -
20   VEHICLE EXPENSES                                                     $                    -     $             -     $            -     $            -     $           -     $            -
21   TRAVEL                                                               $                    -     $             -     $            -     $            -     $           -     $            -
22   ENTERTAINMENT                                                        $                    -     $             -     $            -     $            -     $           -     $            -
23   REPAIRS & MAINTENANCE                                                $                    -     $             -     $            -     $            -     $           -     $            -
24   SUPPLIES                                                             $                    -     $             -     $            -     $            -     $           -     $            -
25   ADVERTISING                                                          $                    -     $             -     $            -     $            -     $           -     $            -
26   OTHER (ATTACH LIST)                                                  $             1,318,700    $       3,283,898   $      3,195,054   $      3,633,331   $      653,828    $      1,022,221
27 TOTAL OPERATING DISBURSEMENTS                                          $             6,817,251    $      20,613,478   $     11,547,870   $     13,583,243   $     2,122,305   $      3,347,183
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                    $                    -     $       5,460,546   $      5,572,032   $     11,551,682   $       39,255    $      1,731,613
29   U.S. TRUSTEE FEES                                                    $                    -     $         68,173    $       167,025    $        277,924   $           -     $       250,000
30   OTHER (ATTACH LIST)                                                  $                    -     $         715,317   $        300,000   $        961,289   $      210,000    $        210,000
31   TOTAL REORGANIZATION EXPENSES                                        $                    -     $       6,244,037   $      6,039,057   $     12,790,896   $      249,255    $      2,191,613
32   TOTAL DISBURSEMENTS                                                  $             6,817,251    $      26,857,515   $     17,586,927   $     26,374,138   $     2,371,560   $      5,538,796
33   NET CASH FLOW                                                        $             6,947,179    $       3,031,058   $      2,461,404   $      (9,106,059) $     2,864,915   $      4,613,966
34   CASH - END OF MONTH                                                  $             9,501,409    $      12,532,467   $     14,993,872   $      5,887,813   $     8,752,728   $     13,366,694

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
                             19-34054-sgj11
                        Case 21-03005-sgj   Doc
                                          Doc 291710
                                                Filed Filed 01/08/21
                                                      05/24/21         Entered
                                                                  Entered      01/08/21
                                                                          05/24/21      16:54:41
                                                                                   10:22:39   PagePage  5 600
                                                                                                   572 of of 9




                                                                                               Monthly Operating Report
                                                                                                          ACCRUAL BASIS-3B
CASE NAME:    Highland Capital Management

CASE NUMBER: 19-34054

OPERATING RECEIPTS - OTHER

                           Date             Amount         Type
                        11/12/2020              2,623,121 SSP Loan


OPERATING DISBURSMENTS - OTHER

                           Date             Amount            Vendor
                         11/2/2020                  30,820   Third Party Consultant
                         11/2/2020                 159,061   Crescent TC Investors LP
                         11/4/2020                  46,292   East West Visa Payment
                         11/6/2020                     471   UPS Supply Chain Solutions
                         11/6/2020                     600   Action Shred of Texas
                         11/6/2020                   1,019   GRUBHUB for Work
                         11/6/2020                   1,443   S&P Global Market Intelligence
                         11/6/2020                   1,554   Canteen Vending Services
                         11/6/2020                   2,466   Thomson West
                         11/6/2020                   4,074   Concur Technologies, Inc.
                         11/6/2020                   4,996   Oak Cliff Office Products
                         11/6/2020                   5,885   ABM
                         11/6/2020                  14,520   Third Party Consultant
                         11/6/2020                  18,042   Siepe Software, LLC
                         11/6/2020                  31,388   Centroid
                         11/6/2020                  35,200   Intex Solutions, Inc.
                         11/6/2020                  47,471   Houlihan Lokey
                         11/6/2020                 199,718   Bloomberg Finance LP
                         11/6/2020                     446   Ace Parking Management Inc.
                        11/10/2020                   6,190   TW Telecom Holdings, llc
                        11/10/2020                  53,123   John R Ames, CTA
                        11/10/2020                   2,669   Iron Mountain Records Management
                        11/13/2020                   4,591   Third Party Consultant
                        11/13/2020                  95,940   Bloomberg Finance LP
                        11/13/2020                   6,271   Intelligent Discovery Solutions, Inc.
                        11/16/2020                     118   Arkadin, Inc.
                        11/16/2020                     224   American Solutions for Business
                        11/16/2020                     273   UPS Supply Chain Solutions
                        11/16/2020                     508   Verity Group
                        11/16/2020                   1,160   Canteen Vending Services
                        11/16/2020                   1,335   GRUBHUB for Work
                        11/16/2020                   2,129   NYSE MARKET, INC
                        11/16/2020                   5,391   ICE Data Pricing & Reference Data, LLC
                        11/16/2020                   7,995   Intralinks
                        11/16/2020                  11,496   KPMG LLP
                        11/17/2020                   2,092   Zayo Group, LLC
                        11/17/2020                     971   EastWest Bank
                        11/19/2020                     825   Xerox Corporation
                        11/20/2020                     138   AT&T
                        11/20/2020                   4,629   Liberty Life Assurance Company of Boston - Group Benefits
                        11/20/2020                  15,250   HE Peoria Place
                        11/20/2020                  12,500   Bloomberg Finance LP
                        11/20/2020                     549   Pitney Bowes Financial Services LLC
                        11/20/2020                      32   Pitney Bowes Financial Services LLC
                        11/20/2020                      32   Pitney Bowes Financial Services LLC
                        11/20/2020                   2,845   AT&T
                        11/20/2020                     790   AT&T
                        11/20/2020                     870   AT&T
                        11/20/2020                   7,251   AT&T
                        11/23/2020                  11,888   Flexential Colorado Corp.
                        11/23/2020                   7,500   MacroMavens, LLC
                        11/23/2020                   1,375   Canteen Vending Services
                        11/23/2020                     146   Secured Access Systems, LLC
                        11/23/2020                     289   UPS Supply Chain Solutions
                        11/23/2020                     249   CHASE COURIERS, INC
                        11/23/2020                     225   Four Seasons Plantscaping, LLC
                        11/23/2020                     481   DTCC ITP LLC
                        11/23/2020                 131,149   Siepe Services, LLC
                        11/25/2020                   1,422   GRUBHUB for Work
                        11/25/2020                   2,845   AT&T
                        11/30/2020                  11,000   Third Party Consultant
                                                 1,022,221

REORGANIZATION EXPENSES - OTHER

                          Date              Amount         Description
                        11/2/2020                  30,000 Dubel & Associates, L.L.C.
                        11/2/2020                 150,000 J.P. Seery & Co. LLC
                        11/2/2020                  30,000 Nelms and Associates
                                                  210,000
                                 19-34054-sgj11
                            Case 21-03005-sgj   Doc
                                              Doc 291710
                                                    Filed Filed 01/08/21
                                                          05/24/21         Entered
                                                                      Entered      01/08/21
                                                                              05/24/21      16:54:41
                                                                                       10:22:39   PagePage  6 600
                                                                                                       573 of of 9




                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
CASE NAME:                               Highland Capital Management

CASE NUMBER:                             19-34054


                                                                      August '3              September '3              October '3               November '3
MGMT FEE RECEIVABLE AGING 2
1. 0-30                                                                 $1,768,818                 $2,577,696                 $3,148,887             $1,495,877
2. 31-60                                                                 $772,384                                              $807,441
3. 61-90                                                                                             $772,384
4. 91+                                                                                                                         $746,913
5. TOTAL MGMT FEE RECEIVABLE                                     $       2,541,202     $            3,350,080    $             4,703,241             $1,495,877
6. AMOUNT CONSIDERED UNCOLLECTIBLE
7. MGMT FEE RECEIVABLE (NET)                                     $       2,541,202     $            3,350,080    $             4,703,241             $1,495,877


AGING OF POSTPETITION TAXES AND PAYABLES                                                             MONTH:                    November 2020

                                                  0-30                 31-60                   61-90                      91+
TAXES PAYABLE                                    DAYS                  DAYS                    DAYS                      DAYS                     TOTAL
1.  FEDERAL                                                                                                                                                   $0
2.  STATE                                                                                                                                                     $0
3.  LOCAL                                                                                                                                                     $0
4.  OTHER (ATTACH LIST)                                                                                                                                       $0
5.  TOTAL TAXES PAYABLE                                    $0                     $0                        $0                        $0                      $0

6.       ACCOUNTS PAYABLE                           $625,935                $6,277                     $17,276                 $100,881                  $750,368


STATUS OF POSTPETITION TAXES 1                                                                       MONTH:                    November 2020

                                                                     BEGINNING                AMOUNT                                             ENDING
                                                                        TAX                WITHHELD AND/               AMOUNT                      TAX
FEDERAL                                                              LIABILITY              0R ACCRUED                  PAID                    LIABILITY
1.  WITHHOLDING                                                                                                                                               $0
2.  FICA-EMPLOYEE                                                                                                                                             $0
3.  FICA-EMPLOYER                                                                                                                                             $0
4.  UNEMPLOYMENT                                                                                                                                              $0
5.  INCOME                                                                                                                                                    $0
6.  OTHER (ATTACH LIST)                                                                                                                                       $0
7.  TOTAL FEDERAL TAXES                                                           $0                        $0                        $0                      $0
STATE AND LOCAL
8.  WITHHOLDING                                                                                                                                               $0
9.  SALES                                                                                                                                                     $0
10. EXCISE                                                                                                                                                    $0
11. UNEMPLOYMENT                                                                                                                                              $0
12. REAL PROPERTY                                                                 $0                        $0                        $0                      $0
13. PERSONAL PROPERTY                                                                                                                                         $0
14. OTHER (ATTACH LIST)                                                                                                                                       $0
15. TOTAL STATE & LOCAL                                                           $0                        $0                        $0                      $0
16. TOTAL TAXES                                                                   $0                        $0                        $0                      $0

     1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
         withholdings.
     2   Aging based on when management fee is due and payable.
     3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
                                                               19-34054-sgj11
                                                          Case 21-03005-sgj   Doc
                                                                            Doc 291710
                                                                                  Filed Filed 01/08/21
                                                                                        05/24/21         Entered
                                                                                                    Entered      01/08/21
                                                                                                            05/24/21      16:54:41
                                                                                                                     10:22:39   PagePage  7 600
                                                                                                                                     574 of of 9




                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                       ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management


CASE NUMBER:                  19-34054


                                                                                          MONTH:                      November                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1            Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank        East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                 x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating             Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $          13,124,581   $                 3,842   $                  30    $                   -   $             138,190   $             100,068     $       13,366,710
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                    $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                        $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                             $              -
5.     MONTH END BALANCE PER BOOKS                    $          13,124,581   $                 3,842   $                  30    $                   -   $             138,190   $               100,068   $       13,366,710
6.     NUMBER OF LAST CHECK WRITTEN                            100510                  n/a                      n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF               TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE             INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                      $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                            $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                           $13,366,710

1      Account x6342 is now closed.
                                               19-34054-sgj11
                                          Case 21-03005-sgj   Doc
                                                            Doc 291710
                                                                  Filed Filed 01/08/21
                                                                        05/24/21         Entered
                                                                                    Entered      01/08/21
                                                                                            05/24/21      16:54:41
                                                                                                     10:22:39   PagePage  8 600
                                                                                                                     575 of of 9




                                                                                                                                                Monthly Operating Report
                                                                                                                                                               ACCRUAL BASIS-6
CASE NAME:                                                 Highland Capital Management

CASE NUMBER:                                               19-34054


                                                                                                                                    MONTH:               November 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                     INSIDERS
                                                                       TYPE OF                    AMOUNT                 TOTAL PAID
              NAME                                                     PAYMENT                     PAID                 POST PETITION
1        Frank Waterhouse                                  Salary                                       $33,333                      $427,083
2        Frank Waterhouse                                  Expense Reimbursement                           $384                        $6,605
3        Scott Ellington                                   Salary                                       $37,500                      $506,250
4        Scott Ellington                                   Expense Reimbursement                           $260                        $6,598
5        James Dondero                                     Salary                                                $0                  $129,972
                                                                                     1
6        James Dondero                                     Expense Reimbursement                                 $0                   $16,918
7        Thomas Surgent                                    Salary                                       $33,333                      $450,000
8        Thomas Surgent                                    Expense Reimbursement                           $400                        $4,981
9        Trey Parker                                       Salary                                                $0                  $131,250
10 Trey Parker                                    Expense Reimbursement                                      $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                             $105,210                    $1,685,869

         The total amount of reimbursements during the reporting month also included $3,129 for use of the credit card by the Debtor for office related expenses such as subscriptions
     1
         and IT equipment/software.



                                                                                   PROFESSIONALS 2
                                                                         DATE                                                                                              TOTAL
                                                                      OF MONTHLY                  AMOUNT                   AMOUNT                 TOTAL PAID             INCURRED
                  NAME                                              FEE APPLICATION              APPROVED                   PAID                   TO DATE               & UNPAID
1. Kurtzman Carson Consultants LLC                                                                       41,435                        41,435              573,957              54,170
2. Sidley Austin LLP                                                                                    511,998                       511,998            6,319,089             821,421
3. Young Conaway Stargatt & Taylor LLP                                                                       -                             -               281,156                  -
4. FTI Consulting, Inc.                                                                                 382,499                       382,499            3,989,791             425,593
5. Pachulski Stang Ziehl & Jones LLP                                                                    541,680                       541,680            8,976,900             970,463
6        Hayward & Associates PLLC                                                                         4,871                        4,871              261,283              67,488
7        Development Specialists, Inc.                                                                  249,129                       249,129            2,600,354             249,129
8        Foley & Lardner LLP                                                                                 -                             -               464,294             132,045
9        Mercer (US) Inc.                                                                                    -                             -               170,284                  -
10 Wilmer Cutler Pickering Hale and Dorr LLP                                                                 -                             -               618,643
11 Meta-e Discovery LLC                                                                                      -                            -                165,000
   TOTAL PAYMENTS TO PROFESSIONALS                                                                                                  1,731,613           24,420,749           2,720,310

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                SCHEDULED                 AMOUNTS
                                                                                                 MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                  DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                    MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                         130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                130,364                      $130,364                       $0
                         19-34054-sgj11
                    Case 21-03005-sgj   Doc
                                      Doc 291710
                                            Filed Filed 01/08/21
                                                  05/24/21         Entered
                                                              Entered      01/08/21
                                                                      05/24/21      16:54:41
                                                                               10:22:39   PagePage  9 600
                                                                                               576 of of 9




                                                                                                Monthly Operating Report
                                                                                                               ACCRUAL BASIS-7
CASE NAME:                    Highland Capital Management


CASE NUMBER:                  19-34054

                                                                                        MONTH:           November 2020

QUESTIONNAIRE

                                                                                                         YES                NO
1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                             x
         THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                             x
         OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                           x
         LOANS) DUE FROM RELATED PARTIES?
4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                             x
         THIS REPORTING PERIOD?
5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                             x
         DEBTOR FROM ANY PARTY?
6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                             x
         PAST DUE?
8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                             x
         DELINQUENT?
11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                             x
         REPORTING PERIOD?
12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

     3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
         further discussion.



INSURANCE
                                                                                                         YES                NO
1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                           x
         NECESSARY INSURANCE COVERAGES IN EFFECT?
2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
3.       PLEASE ITEMIZE POLICIES BELOW.


IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                        INSTALLMENT PAYMENTS
            TYPE OF                                                                                       PAYMENT AMOUNT
            POLICY                     CARRIER                       PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 577 of 600




                                EXHIBIT 62
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  1 600
                                                                           578 of of 9
                                                                           Docket #1949 Date Filed: 02/24/2021




                                                                       Monthly Operating Report
                                                                       ACCRUAL BASIS
    CASE NAME:           Highland Capital Management

    CASE NUMBER:         19-34054

    JUDGE: Stacey Jernigan


                         UNITED STATES BANKRUPTCY COURT

                     NORTHERN & EASTERN DISTRICTS OF TEXAS

                                            REGION 6

                             MONTHLY OPERATING REPORT

             MONTH ENDING:                   December       2020
                                                MONTH        YEAR



    IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
    PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
    (ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
    TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
    DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
    INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.


    RESPONSIBLE PARTY:

                                                          Chief Restructuring Officer/ Chief Executive Officer
    ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                     TITLE

    James Seery
    PRINTED NAME OF RESPONSIBLE PARTY                                            DATE



    PREPARER:

                                                          Chief Financial Officer
    ORIGINAL SIGNATURE OF PREPARER                                               TITLE

    Frank Waterhouse                                      2.10.21
    PRINTED NAME OF PREPARER                                                     DATE




                                                               ¨1¤}HV5"8                  )K«
                                                                   1934054210224000000000009
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  2 600
                                                                           579 of of 9



                                                                                                                                 Monthly Operating Report
                                                                                                                                                 ACCRUAL BASIS-1

            CASE NAME:                                                                   Highland Capital Management, LP


            CASE NUMBER:                                                                 19-12239-CSS


         Comparative Balance Sheet
         (in thousands)



                                                                                              10/15/2019             12/31/2019 (6)           12/31/2020 (6)

            Assets

                                Cash and cash equivalents                                            2,529                    9,501                   12,651
                                                           (3)
                                Investments, at fair value                                         232,620                 232,820                   109,211
                                Equity method investees (3)                                        161,819                 183,529                   103,174
                                Management and incentive fee receivable                              2,579                   1,929                     2,461
                                Fixed assets, net                                                    3,754                   3,521                     2,594
                                                    (1)
                                Due from affiliates                                                151,901                 146,276                   152,449
                                Reserve against notes recievable                                                           (57,963)                  (61,039)
                                Other assets                                                        11,311                  11,463                     8,258
            Total assets                                                                  $        566,513          $      531,076           $       329,758



            Liabilities and Partners' Capital

                                                                 (4)
                                Pre-petition accounts payable                                        1,176                    1,141                    1,077
                                Post-petition accounts payable (4)                                      -                     2,042                      900
                                Secured debt:
                                      Frontier                                                       5,195                    5,195                    5,195
                                      Jefferies                                                     30,328                   30,020                      -
                                                                       (4)
                                Accrued expenses and other liabilities                              59,203                   63,275                   60,446
                                                                       (5)
                                Accrued re-organization related fees                                    -                     5,547                    5,795
                                Claim accrual (2)                                                   73,997                   73,997                   73,997
                                Partners' capital                                                  396,614                 349,857                   182,347
            Total liabilities and partners' capital                                       $        566,513          $      531,076           $       329,758




                          (1)   Includes various notes receivable at carrying value, except note due from Hunter Mountain Investment Trust which is fully
                                reserved against ($61M reserve). Fair value has not been determined with respect to any of the notes.
                          (2)   Uncontested portion of Redeemer claim less appplicable offsets. Potential for additional liability based on future events. No
                                interest has been accrued beyond petition date. No additional accruals will be made on settlement claims until further
                                approval by the court.
                          (3)   Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with
                                readily available market price information. Certain limited partnership interests normally marked to a NAV statement have
                                not been updated as of period end as statements are generally available on a one-month lag.
                          (4)   Note on accruals: expenses recorded in Accounts Payable and Accrued Expenses and Other Liabilities reflect invoices
                                recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect
                                estimates for other incurred, but not yet received invoices. For balance sheet dates other than the Petition Date, amounts
                                include both pre-petition and post-petition liabilities.
                          (5)   Beginning December 31st, 2019, Debtor accrued for post-petition re-organization fees based upon an estimate of fees
                                incurred to date.
                          (6)   All balances at December 31st, 2020 are preliminary, unaudited, and subject to further year-end closing entries pursuant to
                                the normal year-end closing process. As a result, balances for subsequent months have and will fluctuate.
             19-34054-sgj11
        Case 21-03005-sgj   Doc
                          Doc 291949
                                Filed Filed 02/24/21
                                      05/24/21         Entered
                                                  Entered      02/24/21
                                                          05/24/21      16:44:04
                                                                   10:22:39   PagePage  3 600
                                                                                   580 of of 9


                                                                                                                                                                                                              Monthly Operating Report
                                                                                                                                                                                                                                  ACCRUAL BASIS-2
                                 CASE NAME:                                Highland Capital Management, LP

                                 CASE NUMBER:                              19-12239-CSS

Income Statement1
(in thousands)
                                                                                                                        Date                    Filing to Year Ended (4)              Month ended (4)                     Filing to date (4)
                                                                                                                 10/16/19 - 10/31/19                      2019                         12/31/2020
                                 Revenue:
                                  Management fees                                                                                        975                         4,528                          1,690                              24,331
                                  Shared services fees                                                                                   283                         1,588                            605                               9,070
                                  Other income                                                                                            99                         1,582                          3,022                               8,395

                                       Total operating revenue                                                                         1,357                         7,697                          5,317                             41,797
                                 Operating expenses:
                                  Compensation and benefits                                                                              997                         1,498                          3,101                              22,139
                                  Professional services                                                                                  256                            64                            344                               3,001
                                  Investment research and consulting                                                                       10                          266                              4                                 974
                                  Marketing and advertising expense                                                                      -                             370                            (22)                                441
                                  Depreciation expense                                                                                     82                          244                             76                               1,168
                                  Bad debt expense reserve                                                                                  -                        8,410                            128                               9,968
                                  Other operating expenses                                                                               201                         1,265                            466                               6,112

                                       Total operating expenses                                                                        1,545                       12,118                           4,097                             43,803

                                 Operating income/(loss)                                                                               (188)                        (4,421)                         1,220                             (2,006)
                                 Other income/expense:
                                  Interest income                                                                                        250                         1,230                             457                              7,059
                                  Interest expense                                                                                      (107)                         (286)                            (22)                              (740)
                                  Reserve against notes receivable                                                                         -                       (57,963)                              -                            (57,963)
                                    Re-org related expenses (2)                                                                            -                        (5,547)                        (1,657)                            (34,534)
                                    Independent director fees                                                                              -                           -                             (420)                             (2,607)
                                    Other income/expense                                                                                  32                             32                            (1)                               (171)
                                       Total other income/expense                                                                       175                       (62,534)                         (1,643)                           (88,956)


                                    Net realized gains/(losses) on investments                                                           339                            618                            896                            (29,134)
                                    Net change in unrealized gains/(losses) of investments (3)                                         2,654                          (955)                         3,717                             (32,667)

                                                                                                                                       2,993                          (337)                         4,614                            (61,801)
                                                                                                       (3)
                                 Net earnings/(losses) from equity method investees                                                      (20)                       14,918                          8,321                             (65,604)

                                       Net income/(loss)                                                          $                    2,959      $               (52,374)        $               12,511              $             (218,367)

(1) Note on accruals: expenses recorded in the Income Statement reflect invoices recorded through accounts payable, legal invoice accruals, and normal course operating accruals, but do not reflect estimates for other incurred, but not yet
received invoices.

(2) Debtor funded various retainers totaling $790k prior to the petition date, which were entirely expensed as of the petition date.


(3) Mark to market gains/(losses) on investments include pricing updates for publicly traded securities and other positions with readily available market price information. Certain limited partnership interests normally marked to a NAV
statement have not been updated as of period end as statements are generally available on a one-month lag.

(4) All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process. As a result, operating results will change as these entries are made.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  4 600
                                                                           581 of of 9



                                                                                                                                                                         Monthly Operating Report
                                                                                                                                                                                       ACCRUAL BASIS-3A
CASE NAME:                     Highland Capital Management

CASE NUMBER:                   19-34054



                                                                          FILING TO YEAR END
CASH RECEIPTS AND DISBURSEMENTS                                                   2019                   QUARTER 1           QUARTER 2          QUARTER 3          DECEMBER           QUARTER 4
1. CASH - BEGINNING OF MONTH                                               $             2,554,230 $         9,501,409   $     12,532,467   $     14,993,872   $     13,366,694   $      5,887,813
RECEIPTS FROM OPERATIONS
2.   OTHER OPERATING RECEIPTS                                              $             1,862,757 $         1,379,338   $      2,983,221 $        2,259,736   $       619,275    $      2,786,320
3  MANAGEMENT FEES AND OTHER RELATED RECEIPTS                              $             3,156,742 $         7,555,297   $      6,179,437 $        5,575,680   $       131,818    $      6,972,357
COLLECTION OF ACCOUNTS RECEIVABLE
4    PREPETITION                                                           $             3,593,108 $           76,569 $             3,727 $              -     $            -     $        197,173
                      1
5    POSTPETITION                                                          $                    -    $             -     $            -     $            -     $            -     $            -
6  TOTAL OPERATING RECEIPTS                                                $             8,612,608 $         9,011,204   $      9,166,385 $        7,835,415   $       751,093    $      9,955,850
NON-OPERATING RECEIPTS
   THIRD PARTY FUND ACTUAL/EXPECTED DISTRIBUTIONS
7                                                                          $               423,468 $        18,992,786   $        797,571 $          610,254   $      1,744,327   $      2,034,200
8    DIVS, PAYDOWNS, MISC FROM INVESTMENT ASSETS                           $             1,338,069 $          477,479    $         74,376 $            5,311 $        2,987,274   $      2,989,760
9    OTHER (ATTACH LIST)                                                   $             3,390,286 $         1,407,103 $       10,010,000 $        8,817,099 $        1,183,356 $        7,075,476
10   TOTAL NON-OPERATING RECEIPTS                                          $             5,151,822 $        20,877,369 $       10,881,947 $        9,432,664 $        5,914,957 $       12,099,436
11   TOTAL RECEIPTS                                                        $            13,764,430 $        29,888,573   $     20,048,331 $       17,268,080   $      6,666,050   $     22,055,287
12 TOTAL CASH AVAILABLE                                                                                                                     $      32,261,951 $      20,032,744   $     27,943,100
OPERATING DISBURSEMENTS
13   PAYROLL, BENEFITS, AND TAXES + EXP REIMB                              $             3,776,446 $         8,825,042   $      4,886,314 $        8,806,880   $      1,330,329   $      4,280,805
14   SINGAPORE SERVICE FEES                                                $                95,118 $           58,129 $             2,965 $              -     $            -     $         10,547
15   HCM LATIN AMERICA                                                     $               200,000 $          100,000    $            -     $            -     $            -     $            -
16   THIRD PARTY FUND CAPITAL CALL OBLIGATION                              $             1,426,987 $         7,812,469   $      3,087,163 $          979,631   $       908,675    $      1,741,089
17   UTILITIES                                                             $                    -    $             -     $            -     $            -     $            -     $            -
18   INSURANCE                                                             $                    -    $        533,940    $        376,376   $        163,400   $            -     $            -
19   INVENTORY PURCHASES                                                   $                    -    $             -     $            -     $            -     $            -     $            -
20   VEHICLE EXPENSES                                                      $                    -    $             -     $            -     $            -     $            -     $            -
21   TRAVEL                                                                $                    -    $             -     $            -     $            -     $            -     $            -
22   ENTERTAINMENT                                                         $                    -    $             -     $            -     $            -     $            -     $            -
23   REPAIRS & MAINTENANCE                                                 $                    -    $             -     $            -     $            -     $            -     $            -
24   SUPPLIES                                                              $                    -    $             -     $            -     $            -     $            -     $            -
25   ADVERTISING                                                           $                    -    $             -     $            -     $            -     $            -     $            -
26   OTHER (ATTACH LIST)                                                   $             1,318,700 $         3,283,898   $      3,195,054 $        3,633,331   $       928,252    $      2,604,301
27 TOTAL OPERATING DISBURSEMENTS                                           $             6,817,251 $        20,613,478   $     11,547,870 $       13,583,243   $      3,167,255   $      8,636,743
REORGANIZATION EXPENSES
28   PROFESSIONAL FEES                                                     $                    -    $       5,460,546   $      5,572,032 $       11,551,682   $      4,004,983   $      5,775,852
29   U.S. TRUSTEE FEES                                                     $                    -    $         68,173 $           167,025   $        277,924   $            -     $        250,000
30   OTHER (ATTACH LIST)                                                   $                    -    $         715,317 $          300,000 $          961,289 $          210,000 $          630,000
31   TOTAL REORGANIZATION EXPENSES                                         $                    -    $       6,244,037 $        6,039,057 $       12,790,896 $        4,214,983 $        6,655,852
32   TOTAL DISBURSEMENTS                                                   $             6,817,251 $        26,857,515   $     17,586,927 $       26,374,138   $      7,382,239   $     15,292,594
33   NET CASH FLOW                                                         $             6,947,179 $         3,031,058   $      2,461,404 $        (9,106,059) $       (716,189) $       6,762,692
34   CASH - END OF MONTH                                                   $             9,501,409 $        12,532,467   $     14,993,872 $        5,887,813   $     12,650,505   $     12,650,505

1    All postpetition receipts are included in line 3, Management Fees and Other Related Recepits.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  5 600
                                                                           582 of of 9


                                                                                                    Monthly Operating Report
                                                                                                            ACCRUAL BASIS-3B
       CASE NAME:    Highland Capital Management

       CASE NUMBER: 19-34054

        OPERATING RECEIPTS - OTHER

                                 Date              Amount         Type
                               12/2/2020               1,183,356 Trussway


        OPERATING DISBURSMENTS - OTHER

                                  Date             Amount           Vendor
                                12/1/2020                 42,599   Third Party Consultant
                                12/1/2020                158,696   Crescent TC Investors LP
                                12/4/2020                     53   Chase Couriers
                                12/4/2020                    386   ProStar Services, Inc
                                12/4/2020                    413   UPS Supply Chain Solutions
                                12/4/2020                    450   Action Shred of Texas
                                12/4/2020                    511   CDW Direct
                                12/4/2020                  1,518   GRUBHUB for Work
                                12/4/2020                  2,036   Canteen Vending Services
                                12/4/2020                  2,558   Markit WSO Corporation
                                12/4/2020                  4,064   Third Party Consultant
                                12/4/2020                  5,885   ABM
                                12/4/2020                  6,866   Willis of Texas, Inc.
                                12/4/2020                 15,000   Centroid
                                12/4/2020                 15,718   Ace Parking Management Inc.
                                12/4/2020                 18,042   Siepe Software, LLC
                                12/4/2020                 35,200   Intex Solutions, Inc.
                                12/4/2020                144,229   Siepe Services, LLC
                                12/4/2020                     14   PCA-Valet, Inc
                                12/7/2020                  1,750   Bermuda Monetary Authority
                                12/8/2020                    549   Pitney Bowes Financial Services
                                12/8/2020                  6,188   TW Telecom Holdings, llc
                                12/9/2020                  2,669   Iron Mountain Records Management
                                12/9/2020                 14,854   Visa Payment
                               12/10/2020                 62,900   Robert Half Legal
                               12/11/2020                     83   Arkadin, Inc.
                               12/11/2020                    199   UPS Supply Chain Solutions
                               12/11/2020                    216   Ace Parking Management Inc.
                               12/11/2020                    363   GRUBHUB for Work
                               12/11/2020                  1,442   Canteen Vending Services
                               12/11/2020                  2,022   NYSE Market, Inc
                               12/11/2020                  2,466   Thomson West
                               12/11/2020                  4,060   Concur Technologies, Inc.
                               12/11/2020                  5,081   ICE Data Pricing & Reference Data, LLC
                               12/11/2020                  9,970   Hedgeye Risk Mgmt, LLC
                               12/11/2020                 31,858   Centroid
                               12/11/2020                    107   ICE Data Pricing & Reference Data, LLC
                               12/11/2020                 10,564   Pricewaterhouse Coopers, LLP
                               12/14/2020                    110   FINRA
                               12/14/2020                     40   FINRA
                               12/15/2020                 22,635   Employee expense reimbursement
                               12/17/2020                  2,092   Zayo Group, LLC
                               12/17/2020                    532   DirecTV
                               12/18/2020                    138   AT&T
                               12/18/2020                    512   DTCC ITP LLC
                               12/18/2020                    459   Verity Group
                               12/18/2020                    176   UPS Supply Chain Solutions
                               12/18/2020                  1,473   Canteen Vending Services
                               12/18/2020                  2,845   AT&T
                               12/18/2020                 16,016   Ace Parking Management Inc.
                               12/18/2020                 11,693   Flexential Colorado Corp.
                               12/18/2020                    225   Four Seasons Plantscaping, LLC
                               12/18/2020                145,258   Siepe Services, LLC
                               12/21/2020                    898   East West Bank
                               12/23/2020                 36,000   Experienced Advisory Consultants LLC
                               12/24/2020                    931   Xerox Corporation
                               12/31/2020                    164   UPS Supply Chain Solutions
                               12/31/2020                    450   Action Shred of Texas
                               12/31/2020                    482   Four Seasons Plantscaping, LLC
                                                         928,252

        REORGANIZATION EXPENSES - OTHER

                                 Date              Amount         Description
                               12/1/2020                  30,000 Dubel & Associates, L.L.C.
                               12/1/2020                 150,000 J.P. Seery & Co. LLC
                               12/1/2020                  30,000 Nelms and Associates
                                                         210,000
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  6 600
                                                                           583 of of 9



                                                                                                                          Monthly Operating Report
                                                                                                                                           ACCRUAL BASIS-4
 CASE NAME:                               Highland Capital Management

 CASE NUMBER:                             19-34054


                                                                     September '3               October '3             November '3             December '3
 MGMT FEE RECEIVABLE AGING 2
 1.       0-30                                                          $2,577,696                   $3,148,887                $902,434              $2,460,863
 2.       31-60                                                                                       $807,441
 3.       61-90                                                           $772,384
 4.       91+                                                                                           746,913
 5.       TOTAL MGMT FEE RECEIVABLE                              $        3,350,080      $            4,703,241    $            902,434              $2,460,863
 6.       AMOUNT CONSIDERED UNCOLLECTIBLE
 7.       MGMT FEE RECEIVABLE (NET)                              $        3,350,080      $            4,703,241    $            902,434              $2,460,863


 AGING OF POSTPETITION TAXES AND PAYABLES                                                              MONTH:                  December 2020

                                                  0-30                 31-60                     61-90                    91+
 TAXES PAYABLE                                   DAYS                  DAYS                      DAYS                    DAYS                    TOTAL
 1.  FEDERAL                                                                                                                                                   $0
 2.  STATE                                                                                                                                                     $0
 3.  LOCAL                                                                                                                                                     $0
 4.  OTHER (ATTACH LIST)                                                                                                                                       $0
 5.  TOTAL TAXES PAYABLE                                    $0                  $0                           $0                       $0                       $0

 6.       ACCOUNTS PAYABLE                           $556,609             $179,791                       $37,722               $126,257                   $900,378


 STATUS OF POSTPETITION TAXES 1                                                                        MONTH:                  December 2020

                                                                     BEGINNING                  AMOUNT                                          ENDING
                                                                        TAX                  WITHHELD AND/             AMOUNT                     TAX
 FEDERAL                                                             LIABILITY                0R ACCRUED                PAID                   LIABILITY
 1.  WITHHOLDING                                                                                                                                               $0
 2.  FICA-EMPLOYEE                                                                                                                                             $0
 3.  FICA-EMPLOYER                                                                                                                                             $0
 4.  UNEMPLOYMENT                                                                                                                                              $0
 5.  INCOME                                                                                                                                                    $0
 6.  OTHER (ATTACH LIST)                                                                                                                                       $0
 7.  TOTAL FEDERAL TAXES                                                        $0                           $0                       $0                       $0
 STATE AND LOCAL
 8.  WITHHOLDING                                                                                                                                               $0
 9.  SALES                                                                                                                                                     $0
 10. EXCISE                                                                                                                                                    $0
 11. UNEMPLOYMENT                                                                                                                                              $0
 12. REAL PROPERTY                                                                  $0                       $0                       $0                       $0
 13. PERSONAL PROPERTY                                                                                                                                         $0
 14. OTHER (ATTACH LIST)                                                                                                                                       $0
 15. TOTAL STATE & LOCAL                                                        $0                           $0                       $0                       $0
 16. TOTAL TAXES                                                                $0                           $0                       $0                       $0

      1   The Debtor funds all state and federal employment taxes to Paylocity, who files all required federal and state related employment reports and
          withholdings.
      2   Aging based on when management fee is due and payable.
      3   All balances are preliminary, unaudited, and subject to further year-end closing entries pursuant to the normal year-end closing process.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  7 600
                                                                           584 of of 9



                                                                                                                                                                                      Monthly Operating Report
                                                                                                                                                                                                        ACCRUAL BASIS-5
CASE NAME:                    Highland Capital Management

CASE NUMBER:                  19-34054


                                                                                           MONTH:                      December                                                                             2020
BANK RECONCILIATIONS
                                                              Account #1             Account #2               Account #3               Account #4             Account #5                Account #6
A.      BANK:                                               East West Bank         East West Bank            Maxim Group              Jefferies LLC            Nexbank                East West Bank
B.      ACCOUNT NUMBER:                                         x4686                  x4693                    x1885                    x0932                  x5891                     x5848                    TOTAL
C.      PURPOSE (TYPE):                                       Operating              Insurance                Brokerage                Brokerage                 CD                    Prepaid Card
1.     BALANCE PER BANK STATEMENT 1                   $          12,216,465    $             195,510     $                  30    $                   -   $             138,448   $             100,076     $       12,650,529
2.     ADD: TOTAL DEPOSITS NOT CREDITED                                                                                                                                                                     $              -
3.     SUBTRACT: OUTSTANDING CHECKS                                                                                                                                                                         $              -
4.     OTHER RECONCILING ITEMS                                                                                                                                                                              $              -
5.     MONTH END BALANCE PER BOOKS                    $           12,216,465   $               195,510   $                  30    $                   -   $             138,448   $               100,076   $       12,650,529
6.     NUMBER OF LAST CHECK WRITTEN                            100510                   n/a                      n/a                      n/a                    n/a                       n/a



INVESTMENT ACCOUNTS

                                                              DATE OF                TYPE OF                 PURCHASE                                                                                           CURRENT
BANK, ACCOUNT NAME & NUMBER                                  PURCHASE              INSTRUMENT                  PRICE                                                                                             VALUE
7.
8.
9.
10.
11.                 TOTAL INVESTMENTS                                                                                       $0                                                                                             $0


CASH

12.                           CURRENCY ON HAND                                                                                                                                                                             $0

13.                           TOTAL CASH - END OF MONTH                                                                                                                                                            $12,650,529

1      Account x6342 is now closed.
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  8 600
                                                                           585 of of 9



                                                                                                                                                 Monthly Operating Report
                                                                                                                                                                 ACCRUAL BASIS-6
CASE NAME:                                                  Highland Capital Management

CASE NUMBER:                                                19-34054


                                                                                                                                     MONTH:                December 2020

PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                      INSIDERS
                                                                         TYPE OF                   AMOUNT                TOTAL PAID
              NAME                                                      PAYMENT                     PAID                POST PETITION
1        Frank Waterhouse                                   Salary                                       $33,333                     $460,417
2        Frank Waterhouse                                   Expense Reimbursement                           $383                        $6,988
3        Scott Ellington                                    Salary                                       $37,500                     $543,750
4        Scott Ellington                                    Expense Reimbursement                         $2,728                        $9,327
5        James Dondero                                      Salary                                            $0                     $129,972
6        James Dondero                                      Expense Reimbursement 1                               $0                   $16,918
7        Thomas Surgent                                     Salary                                       $33,333                     $483,333
8        Thomas Surgent                                     Expense Reimbursement                         $5,439                       $10,420
9        Trey Parker                                        Salary                                            $0                     $131,250
10 Trey Parker                                    Expense Reimbursement                                       $0                        $6,212
                                TOTAL PAYMENTS TO INSIDERS                                              $112,717                    $1,798,586

         The total amount of reimbursements during the reporting month also included $360 for use of the credit card by the Debtor for office related subscriptions.
     1




                                                                                  PROFESSIONALS 2
                                                                          DATE                                                                                           TOTAL
                                                                       OF MONTHLY           AMOUNT                          AMOUNT                 TOTAL PAID          INCURRED
                 NAME                                                FEE APPLICATION       APPROVED                          PAID                   TO DATE            & UNPAID
1. Kurtzman Carson Consultants LLC                                                                       139,664                       139,664              713,621              -
2. Sidley Austin LLP                                                                                     900,062                       900,062            7,219,151         628,987
3. Young Conaway Stargatt & Taylor LLP                                                                        -                             -               281,156              -
4. FTI Consulting, Inc.                                                                                  368,147                       368,147            4,357,938         293,326
5. Pachulski Stang Ziehl & Jones LLP                                                                   1,585,134                     1,585,134           10,562,034        1,050,155
6        Hayward & Associates PLLC                                                                        43,024                        43,024              304,307          16,465
7        Development Specialists, Inc.                                                                   476,711                       476,711            3,077,065              -
8        Foley & Lardner LLP                                                                                  -                             -               464,294              -
9        Mercer (US) Inc.                                                                                     -                             -               170,284              -
10 Wilmer Cutler Pickering Hale and Dorr LLP                                                              61,768                        61,768              680,411
11 Meta-e Discovery LLC                                                                                  360,384                       360,384              525,384
   TOTAL PAYMENTS TO PROFESSIONALS                                                                                                   3,934,895           28,355,644        1,988,933

     2 Does not include payments to ordinary course professionals.

POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE
PROTECTION PAYMENTS

                                                                                                 SCHEDULED                 AMOUNTS
                                                                                                  MONTHLY                    PAID                    TOTAL
                                                                                                 PAYMENTS                   DURING                   UNPAID
                                     NAME OF CREDITOR                                               DUE                     MONTH                 POSTPETITION
1. Crescent TC Investors LP (rent portion only)                                                          130,364                      130,364                    -
2.
3.
4.
5.
6. TOTAL                                                                                                 130,364                     $130,364                     $0
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 291949
                        Filed Filed 02/24/21
                              05/24/21         Entered
                                          Entered      02/24/21
                                                  05/24/21      16:44:04
                                                           10:22:39   PagePage  9 600
                                                                           586 of of 9




                                                                                                  Monthly Operating Report
                                                                                                                 ACCRUAL BASIS-7
  CASE NAME:                    Highland Capital Management


  CASE NUMBER:                  19-34054

                                                                                          MONTH:           December 2020

  QUESTIONNAIRE

                                                                                                           YES                NO
  1.       HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
                                                                                                                               x
           THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
  2.       HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
                                                                                                                               x
           OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?
  3.       ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES, OR
                                                                                                             x
           LOANS) DUE FROM RELATED PARTIES?
  4.       HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
                                                                                                                               x
           THIS REPORTING PERIOD?
  5.       HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
                                                                                                                               x
           DEBTOR FROM ANY PARTY?
  6.       ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?                                                                        x
  7.       ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
                                                                                                                               x
           PAST DUE?
  8.       ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE?                                                                    x
  9.       ARE ANY OTHER POSTPETITION TAXES PAST DUE?                                                                          x
  10.      ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS
                                                                                                                               x
           DELINQUENT?
  11.      HAVE ANY PREPETITION TAXES BEEN PAID DURING THE
                                                                                                                               x
           REPORTING PERIOD?
  12.      ARE ANY WAGE PAYMENTS PAST DUE?                                                                                     x

  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES," PROVIDE A DETAILED
  EXPLANATION OF EACH ITEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

       3   Debtor generates fee income and other receipts from various related parties in normal course, see cash management motion for
           further discussion.



  INSURANCE
                                                                                                           YES                NO
  1.       ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
                                                                                                             x
           NECESSARY INSURANCE COVERAGES IN EFFECT?
  2.       ARE ALL PREMIUM PAYMENTS PAID CURRENT?                                                            x
  3.       PLEASE ITEMIZE POLICIES BELOW.


  IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO," OR IF ANY POLICIES HAVE BEEN
  CANCELLED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN EXPLANATION
  BELOW. ATTACH ADDITIONAL SHEETS IF NECESSARY.



                                                          INSTALLMENT PAYMENTS
              TYPE OF                                                                                      PAYMENT AMOUNT
              POLICY                     CARRIER                      PERIOD COVERED                         & FREQUENCY
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 587 of 600




                                EXHIBIT 63
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  1 600
                                                                           588 of of 9
                                                               Docket #2030 Date Filed: 03/15/2021




                                                       ¨1¤}HV5#/                  !h«
                                                           1934054210315000000000001
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  2 600
                                                                           589 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  3 600
                                                                           590 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  4 600
                                                                           591 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  5 600
                                                                           592 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  6 600
                                                                           593 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  7 600
                                                                           594 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  8 600
                                                                           595 of of 9
     19-34054-sgj11
Case 21-03005-sgj   Doc
                  Doc 292030
                        Filed Filed 03/15/21
                              05/24/21         Entered
                                          Entered      03/15/21
                                                  05/24/21      13:08:01
                                                           10:22:39   PagePage  9 600
                                                                           596 of of 9
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 597 of 600




                                EXHIBIT 64
    Case 21-03005-sgj Doc 29 Filed 05/24/21                    Entered 05/24/21 10:22:39   Page 598 of 600


January 2021 Due From Affiliates

14585-DUE FROM HUNTER MOUNTAIN INVESTMENT TRUST            $     59,480,100
14532-DUE FROM NEXPOINT ADVISORS                                 23,034,644
14750-LONG TERM NOTES RECEIVABLE                                 18,286,268
14531-DUE FROM HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS         10,635,564
14533-DUE FROM HCRE PARTNERS                                     10,604,952
14565-DUE FROM OTHER - TAX LOANS                                  8,929,625
14530-DUE FROM HIGHLAND CAPITAL MANAGEMENT SERVICES               7,518,692
14536-DUE FROM SELECT                                             4,818,153
14595-DUE FROM HIGHLAND CAPITAL KOREA                             3,832,358
14590-DUE FROM OTHER AFFILIATE                                    2,651,256
14010-CASH INTEREST RECEIVABLE                                    1,111,875
14140-SHARED SVCS FEE RECVBL - PYXIS                                894,280
14146-SHARED SVCS FEE RECVBL - NEXPOINT                             336,000
14149-SHARED SVCS FEE RECVBL - NREA                                 160,000
14137-SHARED SVCS FEE RECVBL - OSLI                                 122,000
14580-DUE FROM NEXBANK                                               80,000
14142-SHARED SVCS FEE RECVBL - HCLOH                                 31,179
14535-DUE FROM HERA                                                  10,676
  Total Due From Affiliates                                $    152,537,622
Case 21-03005-sgj Doc 29 Filed 05/24/21   Entered 05/24/21 10:22:39   Page 599 of 600




                                EXHIBIT 65
    Case 21-03005-sgj Doc 29 Filed 05/24/21                                      Entered 05/24/21 10:22:39                           Page 600 of 600


Loan Summary

        HCMLP to HCMSI (GL 14530) - Outstanding Loans                                 Date                               Principal Amount
HCMSI Restructure                                                                                  5/31/2017                             6,572,061
HCMSI #46                                                                                          3/26/2018                               158,777
HCMSI #47                                                                                          6/25/2018                               212,403
HCMSI #48                                                                                          5/29/2019                               409,586
HCMSI #49                                                                                          6/26/2019                               153,565
BW Salary Recievable                                                                              12/31/2019                                12,301
                                                                                                    Sub-total                            7,518,692

Total HCMSI Debt to HCM Outstanding                                                                                                     7,518,692
Total HCMSI Debt per GL                                                                                                                 7,518,692

                                                            Reconciled Total                                                            7,518,692
                                                            Unreconciled Difference                                                           -

HCMLP to HCMFA (GL 14531) - Outstanding Loans               Date                                                Principal Amount
HCMFA #2                                                                                           2/26/2014                            2,092,825
HCMFA #5                                                                                           2/26/2016                              965,395
HCMFA #6                                                                                            5/2/2019                            2,457,517
HCMFA #7                                                                                            5/3/2019                            5,119,827
                                                                                                    Sub-total                          10,635,564

Total HCMFA Debt to HCM Outstanding                                                                                                    10,635,564
Total HCMFA Debt per GL                                                                                                                10,635,564

                                                            Reconciled Total                                                        10,635,564.44
                                                            Unreconciled Difference                                                           -

HCMLP to NexPoint Advisors (GL 14532) - Outstanding Loans   Date                                                Principal Amount
NexPoint Restructure                                                                               5/31/2017                           23,034,644
                                                                                                    Sub-total                          23,034,644

Total NexPoint Debt to HCM Outstanding                                                                                                 23,034,644
Total NexPoint Debt per GL                                                                                                             23,034,644


                                                            Reconciled Total                                                           23,034,644
                                                            Unreconciled Difference                                                          0.00

HCMLP to HCRE (GL 14533) - Outstanding Loans                Date                                                Principal Amount
HCRE #9                                                                                           11/27/2013                                  -
HCRE Restructure                                                                                   5/31/2017                            5,829,776
HCRE #10                                                                                          10/12/2017                            3,149,919
HCRE #11                                                                                          10/15/2018                              874,978
HCRE #12                                                                                           9/25/2019                              750,279
                                                                                                    Sub-total                          10,604,952

Total HCRE Debt to HCM Outstanding                                                                                                     10,604,952
Total HCRE Debt per GL                                                                                                                 10,604,952

                                                            Reconciling Items Compound Interest                                                -

                                                            Reconciled Total                                                        10,604,951.61
                                                            Unreconciled Difference                                                          0.01

HCMLP Partner Tax Loans (GL 14565) - Outstanding Loans      Date                                                Principal Amount
Dondero #4                                                                                          2/2/2018                            3,687,270
Dondero #5                                                                                          8/1/2018                            2,619,929
Dondero #6                                                                                         8/13/2018                            2,622,426
                                                                                                    Sub-total                           8,929,625

Total Partner Debt to HCM Outstanding                                                                                                   8,929,625
Total Partner Debt per GL                                                                                                               8,929,625
Reconciling Items
                                                            Reconciled Total                                                          8,929,624.74
                                                            Unreconciled Difference                                                            -

Get Good Loan (GL 14750) - Outstanding Loans                Date                                                Principal Amount
Dugaboy Restructure                                                                                5/31/2017                           18,286,268
                                                                                                    Sub-total                          18,286,268

Total Partner Debt to HCM Outstanding                                                                                                  18,286,268
Total Partner Debt per GL                                                                                                              18,286,268
Reconciling Items
                                                            Reconciled Total                                                        18,286,268.16
                                                            Unreconciled Difference                                                           -
